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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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IN RE:                                                        :   14-MD-2543 (JMF)
                                                              :
GENERAL MOTORS LLC IGNITION                                   :   FIFTH AMENDED CONSOLIDATED
                                                              :
SWITCH LITIGATION                                             :   COMPLAINT
                                                              :
This Document Relates to All Actions                          :   [Leave granted on November 15, 2017, Dkt. No. 4810]
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                                              [REDACTED VERSION]




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                           I.      PROCEDURAL INTRODUCTION

         This Fifth Amended Consolidated Complaint (“Complaint”) serves as the Plaintiffs’

master Class Action Complaint for purposes of discovery, pre-trial motions, and rulings

(including for class certification itself), and for trial of certified claims or common questions in

these multi-district litigation (“MDL”) proceedings. The Complaint details Old GM’s and New

GM’s unprecedented abrogation of basic standards of safety, truthfulness, and accountability to

the detriment of tens-of-millions of consumers and the public at large; New GM’s direct

unlawful actions and actions through an unlawful RICO1 Enterprise that harmed the Plaintiffs;

and repeated and flagrant violations of federal standards. This Complaint is not an

administrative Complaint, but one that supersedes all MDL transferee complaints, and whose

function is set forth in the Court’s Orders, including Order No. 50 (Dkt. No. 875) and the Court’s

Opinion and Order dated June 10, 2015 (Dkt. No. 1024). Notwithstanding the foregoing, certain

claims or issues for certain parties may, consistent with 28 U.S.C. § 1407 and the case law

thereunder, be matters for determination on remand by transferor courts. Consistent with the

November 9, 2015 Decision by the Bankruptcy Court presiding over the bankruptcy of General

Motors Corporation (“Old GM”), its subsequent Judgment dated December 4, 2015, and the

decision by the United States Court of Appeals for the Second Circuit dated July 13, 2016, this

Complaint also complies with those rulings concerning what Plaintiffs may properly plead

consistent with the Sale Order through which General Motors LLC (“New GM”) acquired




    1
     Plaintiffs understand the Court has dismissed the RICO claim and brand diminution claim.
These allegations remain in the Complaint to preserve these claims for appeal, though Plaintiffs
note that additional allegations as to the importance of a brand and the impact on the New GM
brand of the disclosure of New GM’s dishonesty and other failures, have been strengthened.



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substantially all of the assets of Old GM.2 Plaintiffs reserve the right to amend this Complaint

dependent upon the results of any further rulings by the Bankruptcy Court and any appeals of

any such rulings in any court of competent jurisdiction, and consider that all claims in their prior

Complaints filed in this MDL are still pending for purposes of any applicable statutes of

limitation.

         The term “Defective Vehicles” refers to the following vehicles, classified by defect and

NHTSA Recall No., as further alleged in this Complaint and as falling within the parameters of

the proposed Class definitions below:

         (i)      Delta Ignition Switch Vehicles (the vehicles included in Recall No. 14v047:
                  2005-2010 Chevy Cobalt; 2006-2011 Chevy HHR; 2007-2010 Pontiac G5; 2007-
                  2010 Saturn Sky; 2003-2007 Saturn ION; and 2006-2010 Pontiac Solstice);

         (ii)     Low Torque Ignition Switch Vehicles (the vehicles included in Recall Nos.
                  14v355, 14v396, and 14v400: 2005-2009 Buick Lacrosse, 2006-2014 Chevrolet
                  Impala, 2000-2005 Cadillac Deville, 2006-2011 Cadillac DTS, 2006-2011 Buick
                  Lucerne, and 2006-2008 Chevrolet Monte Carlo; 2003-2014 Cadillac CTS and
                  the 2004-2006 Cadillac SRX; and 1997-2005 Chevrolet Malibu, 2000-2005
                  Chevrolet Impala, 2000-2005 Chevrolet Monte Carlo, 2000-2005 Pontiac Grand
                  Am, 2004-2008 Pontiac Grand Prix, 1998-2002 Oldsmobile Intrigue, and 1999-
                  2004 Oldsmobile Alero);

         (iii)    Knee-to-Key Camaro Defect Vehicles (the vehicles included in Recall No.
                  14v346: 2010-2014 Chevrolet Camaro);

         (iv)     Side Airbag Defect Vehicles (the vehicles included in Recall No. 14v118: 2008-
                  2013 Buick Enclave, 2009-2013 Chevrolet Traverse, 2008-2013 GMC Acadia,
                  and 2008-2010 Saturn Outlook); and

         (v)      Power Steering Defect Vehicles (the vehicles included in Recall No. 14v153:
                  2004-2006 and 2008-2009 Chevrolet Malibu, 2004-2006 Chevrolet Malibu Maxx,


    2
     Plaintiffs believe that all the claims pled in this Complaint may proceed without
impediment from the Sale Order. While the Bankruptcy Court ruled that the claim for Fraud by
Concealment of the Right to File a Claim Against Old GM in Bankruptcy is barred by the Sale
Order, Plaintiffs have appealed that ruling to this Court as they believe that the claim is an
Independent Claim based solely on the conduct of New GM and may therefore proceed.



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                  2009-2010 Chevrolet HHR, 2010 Chevrolet Cobalt, 2005-2006 and 2008-2009
                  Pontiac G6, 2004-2007 Saturn Ion, and 2008-2009 Saturn Aura).

         The Delta Ignition Switch Vehicles, Low Torque Ignition Switch Vehicles, and Knee-to-

Key Camaro Defect Vehicles are sometimes collectively referred to as the “Defective Ignition

Switch Vehicles.”

         To the extent other defects were included in prior complaints they are no longer being

pursued by Lead Counsel on behalf of the economic loss plaintiffs in this MDL.

         A brief summary follows of Plaintiffs’ legal claims in this Complaint, which identifies

which claims are “free and clear” to proceed without impediment from the Sale Order, based on

the rulings of the Bankruptcy Court and the United States Court of Appeals for the Second

Circuit:3

         (i)      Independent Unfair and Deceptive Trade Practice Act claims for all class

members on behalf of (a) New GM purchasers of Defective Vehicles; and (b) Old GM

purchasers of Defective Vehicles.

         (ii)     Independent Fraudulent Concealment claims for all class members on behalf

of (a) New GM purchasers of Defective Vehicles and (b) Old GM purchasers of Defective

Vehicles.

         (iii)    Independent Implied Warranty claims for New GM Defective Vehicle

Purchasers only.

         (iv)     Independent Negligence claims on behalf of (a) purchasers of New GM

Defective Vehicles and (b) purchasers of Old GM Defective Vehicles.


    3
     This Complaint does not include successor liability claims for non-Delta Ignition Switch
Vehicles pending further rulings that the Bankruptcy Court is expected to make regarding such
claims (after which Plaintiffs will again amend, depending on how the Bankruptcy Court rules).



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         (v)      Independent Fraud by Concealment of the Right to File A Claim Against Old

GM in Bankruptcy on behalf of Old GM Delta Ignition Switch Purchasers who owned their

vehicles during the period between the approval of the Bankruptcy Sale and the Bar Date for

filing proof of claims.4

         (vi)     Independent Unjust Enrichment claim on behalf of all Plaintiffs, regardless of

whether they purchased their Defective Vehicles from New GM or Old GM.

         (vii)    Successor Liability UDTPA claim on behalf of Old GM Delta Ignition Switch

purchasers.

         (viii) Successor Liability Claim for Fraud by Concealment on behalf of Old GM

Delta Ignition Switch purchasers.

         (ix)     Successor Liability Claim for Implied Warranty on behalf of Old GM Delta

Ignition Switch purchasers.

         (x)      Successor Liability Claim for Negligence on behalf of Old GM Delta Ignition

Switch purchasers.

                      II.    INTRODUCTION—SUMMARY OF CLAIMS

         1.       Here is what New GM falsely promised its consumers:




    4
     The Bankruptcy Court previously ruled that this claim is based on the actions of Old GM
(and therefore is not an Independent Claim), and therefore was barred by the “free and clear”
provisions of the Bankruptcy Sale Order through which New GM acquired the assets of Old GM.
Plaintiffs respectfully believe that the Bankruptcy Court erred, and that this claim is an
Independent Claim based solely on the acts and omissions of New GM, and have therefore
appealed the Bankruptcy Court’s ruling to this Court.



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         2.       But, as demonstrated below, New GM was not something to believe in and was

not committed to delivering “award winning quality” or “advanced safety features” because it

was a company that continually broke the basic rules of the road car manufacturers must live by.

         3.       Rule No. 1: Manufacturers of any product—from toys to automobiles to medical

devices—must manufacture and sell products that are, above all else, safe for use. Safety

protects consumers, is essential to long-term brand and model value and corporate success, and is

required by law.

         4.       Rule No. 2: Manufacturers must also tell the complete truth about the safety of

their products. When a safety defect does occur in a consumer product, manufacturers must

disclose to consumers the problem and fully initiate a fulsome recall to address the problem.

         5.       Rule No. 3: Manufacturers of products whose operation can cause injuries and

fatalities must have manufacturing and inventory processes in place such that they can produce

safe products, detect and correct quality control issues, and know what safety-critical parts are

actually in their cars.




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         6.       Through its CEO Mary Barra, New GM admitted on June 5, 2014, that it had a

duty to build safe cars and failed:

                  Our job is clear: To build high quality, safe vehicles. In this case
                  with these vehicles, we didn’t do our job. We failed these
                  customers. We must face up to it and learn from it.

                                           …

                  Furthermore, numerous individuals did not accept any
                  responsibility to drive our organization to understand what was
                  truly happening. The report [commissioned by New GM]
                  highlights a company that operated in silos, with a number of
                  individuals seemingly looking for reasons not to act, instead of
                  finding ways to protect our customers.

                  Let me be clear: This should never have happened. It is
                  unacceptable. Our customers have to know they can count on our
                  cars, our trucks and our word. Because of the actions of a few
                  people, and the willingness of others in the company to condone
                  bureaucratic processes that avoided accountability, we let these
                  customers down.

         7.       Though Barra limited her confession to “these vehicles” (the vehicles in the first

two recalls) it is not reasonable to conclude that the institutional failures were limited to Cobalts

and Ions. Rather, as demonstrated below, these failures were widespread throughout New GM

and resulted in GM’s production and sale of millions of Defective Vehicles.

         8.       For example, more than 12 million New GM and Old GM vehicles contained a

defective ignition switch and cylinder. In all of these vehicles, the key position of the lock

module is located low on the steering column, in close proximity to the driver’s knee. The

ignition switch in the Defective Ignition Switch Vehicles is prone to fail during ordinary and

foreseeable driving situations. New GM initially recalled 2.1 million Defective Ignition Switch

Vehicles in February and March of 2014 (the “Delta Ignition Switch Vehicles”), and it was this

initial recall that set in motion the avalanche of recalls that is described in this Complaint. In




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June and July of 2014, New GM recalled an additional 11 million vehicles, ostensibly for distinct

safety defects involving the ignition and ignition key. As set forth below, however, each of these

recalls involves a defective ignition switch, and the consequences of the defect in each of the

recalled vehicles are substantially similar, if not identical. In each case, a defective ignition

switch is located in an unreasonable position on the steering cylinder and can cause the vehicle to

stall, disable the power steering and power brakes, and disable the airbag system in normal and

foreseeable driving circumstances. In each case, New GM was aware of the defect well before it

finally recalled the Defective Ignition Switch Vehicles in 2014.

         9.       More specifically, the ignition switch can inadvertently move from the “run” to

the “accessory” or “off” position at any time during normal and proper operation of the

Defective Ignition Switch Vehicles. The ignition switch is most likely to move when the vehicle

is jarred or travels across a bumpy road; if the key chain is heavy; if a driver inadvertently

touches the ignition key with his or her knee; or for a host of additional reasons. When the

ignition switch inadvertently moves out of the “run” position, the vehicle suddenly and

unexpectedly loses engine power, power steering, and power brakes, and certain safety features

are disabled, including the vehicle’s airbags. This leaves occupants vulnerable to crashes,

serious injuries, and death.

         10.      The ignition switch systems at issue are defective in at least three major respects.

First, some of the switches are simply weak; because of a faulty “detent plunger,” the switch can

inadvertently move from the “run” to the “accessory” position. Though the public believes this

detent issue is limited to vehicles in the 2.1 million initially recalled, this problem exists in other




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models as well,5 including the 3.14 million cars recalled in June 2014, and 5.8 million cars

recalled in July 2014. Second, because some of the ignition switches are placed low on the

steering column, the driver’s knee can easily bump the key (or the hanging fob below the key)

and cause the switch to inadvertently move from the “run” to the “accessory” or “off” position.

Third, when the ignition switch moves from the “run” to the “accessory” or “off” position, the

vehicle’s power is disabled. This also immediately disables the airbags. Thus, when power is

lost during ordinary operation of the vehicle, a driver is left without the protection of the airbag

system even if he or she is traveling at high speeds.

          11.     New GM was aware of safer alternative designs for airbag systems that would

have prevented the non-deployment of airbags caused by the ignition switch defects, but chose

not to employ them—whether by way of recall of Old GM vehicles or a design change for the

New GM vehicles it manufactured—in part to avoid disclosure of the defective ignition switches

and their tragic consequences.

          12.     Both Old GM and New GM also failed to thoroughly conduct an industry

standard Failure Modes and Effects Analysis (“FMEA”) on the ignition systems in the Defective

Ignition Switch Vehicles during and after their design. FMEA is an engineering risk assessment

technique used in design and failure analysis to define, identify, and eliminate known and/or

potential failures, problems, and errors from the system/design before they reach the customer.

An FMEA asks, “What happens if a failure actually occurs?” While Old GM and New GM

and/or their suppliers conducted component-part FMEAs, Old GM and New GM did not conduct

system-wide FMEAs, that is, an FMEA for the system in which the component was included.

This is a violation of industry standard engineering practices. Had system-level FMEAs been

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        See infra at Section E.3.



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properly conducted, the downstream effects of the ignition switch defects—such as disabling the

airbags—would have been identified at the design stage and before the Defective Ignition Switch

Vehicles were sold. The same FMEA failures also occurred with respect to the Side Airbag

Defect and Power Steering Defect.

         13.      Barra’s admission of New GM’s failures was followed by New GM’s admission,

in a Statement of Facts that is part of a Deferred Prosecution Agreement (“DPA”) with the

United States, that New GM “falsely represented to consumers that vehicles containing the

defect posed no safety concern.” Statement of Facts ¶ 3.

         14.      New GM’s violation of the rules governing car manufacturers was egregious.

From the date of its inception on July 10, 2009, it manufactured and sold millions of vehicles

that were not safe and were defective. New GM also failed to disclose the truth about its patent

inability to manufacture and sell safe and reliable vehicles and its systematic scheme to

misrepresent the safety and reliability of its vehicles, and failed to remedy the defects in millions

of New GM and Old GM vehicles that were on the road—defects that were known to New GM

but concealed from consumers, vehicle owners and lessees, and the regulators.6 These violations

were in derogation of express obligations New GM agreed to undertake, and of various laws.

         15.      The failures are even more egregious when juxtaposed with the promises and

messaging New GM constantly delivered to consumers. New GM led consumers in the United

States and worldwide to believe that, after Old GM’s bankruptcy, New GM was a new company.

For example, in numerous public announcements and public filings, such as in its 2012 Annual




    6
     The term “New GM vehicles” refer to vehicles manufactured by New GM, and “Old GM
vehicles” refers to vehicles manufactured by Old GM.



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Report excerpted below, New GM repeatedly proclaimed that it was a company committed to

innovation, safety, and building “the best vehicles:




         16.      New GM was successful in selling its “processes and culture change” and

building “the best vehicles in the world” story. Sales of all New GM models went up, and New

GM became profitable. As far as the public knew, a new General Motors was born, and the New

GM brand and GM models stood strong in the eyes of consumers.

         17.      New GM’s promises were an illusion given New GM’s egregious failure to

disclose, and the affirmative concealment of, ignition switch defects and a plethora of other

safety and quality defects in New GM vehicles and Old GM vehicles. New GM concealed the

existence of the many known safety and quality defects plaguing many models and years of New

GM vehicles and Old GM vehicles, and that New GM valued cost-cutting over safety.




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Concurrently, New GM marketed its vehicles as “safe” and “reliable,” and claimed that it built

the “world’s best vehicles.” Consequently, New GM enticed all post-July 10, 2009 purchasers of

New GM Defective Vehicles, and New GM Certified Pre-Owned Vehicles to buy or lease

vehicles under false pretenses, and deprived them of the benefit of their bargain. And New GM’s

concealment of its safety and quality problems caused owners of Old GM Defective Vehicles to

retain vehicles that they would not have retained and which were worth less than they would

have been but for New GM’s concealment of the defects.

         18.      A vehicle made by a reputable manufacturer of safe and reliable vehicles is worth

more than an otherwise similar vehicle made by a disreputable manufacturer that is known to

devalue safety and to conceal serious defects from consumers and regulators. New GM vehicle

Safety Chief, Jeff Boyer, recently highlighted the heightened materiality of safety to consumers:

“Nothing is more important than the safety of our customers in the vehicles they drive.” Yet

New GM failed to live up to this commitment, instead choosing to conceal more than 70 serious

defects in over 27 million New GM vehicles and Old GM vehicles sold in the United States.

And the value of all New GM and Old GM Defective Vehicles has diminished as a result of the

widespread publication of those defects and New GM’s corporate culture of ignoring and

concealing safety defects.

         19.      The systematic concealment of known defects was deliberate, as New GM

followed a consistent pattern of endless “investigation” and delay each time it became aware of a

given defect, as epitomized by the Delta Ignition Switch Defect and cover-up that gave rise to a

criminal wire fraud investigation that was recently resolved through a Deferred Prosecution

Agreement (“DPA”) with the United States Department of Justice. Recently revealed documents

show that New GM valued cost-cutting over safety, New GM’s personnel were trained to never




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use the word “defect,” “stall,” or other words suggesting that any New GM or Old GM vehicles

are defective, New GM routinely chose the cheapest parts supplier without regard to safety, and

New GM discouraged employees from acting to address safety issues.

          20.     In addition, New GM was plagued by what CEO Mary Barra euphemistically

calls “transactional decision making,” in which New GM employees “color[] inside the lines of

their own precise job description without thinking independently or holistically,” i.e., without

looking at the larger issue of safety.7

          21.     In light of New GM’s systemic devaluation of safety issues, it is not surprising

that, from the date of its inception, New GM itself produced a grossly inordinate number of

vehicles with serious safety defects and kept silent about Old GM vehicles it knew had defects.

Until 2014, New GM was successful in concealing both its disregard of safety and the myriad

defects that existed in Old GM vehicles and New GM vehicles because of that disregard.

          22.     According to the administrator of the National Highway Traffic Safety

Administration (“NHTSA”), New GM worked to hide documents from NHTSA and created

firewalls to prevent people within New GM from “connecting the dots” with respect to safety

issues and defects.

          23.     The array of concealed defects is astounding and goes far beyond the Delta

Ignition Switch Defect, the belated revelation of which sparked New GM’s 2014 serial recalls.

The defects affected virtually every safety system in Old and New GM vehicles, including, but

by no means limited to, the airbags, seatbelts, brakes, brake lights, electronic stability control,

windshield wipers, sensing and diagnostic modules, and warning chimes.



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        TIME MAGAZINE, October 6, 2014, p. 36.



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         24.      Old and New GM’s engineering and inventory process was in such disarray that

some recalled vehicles might or might not have a defective part—because New and Old GM

simply did not know which of their cars had parts that made them unsafe. This in itself violated

sound engineering and inventory manufacturing practices.

         25.      New GM received reports of crashes, deaths, injuries, and safety concerns

expressed by vehicle owners that put New GM on notice of the serious safety issues presented by

these defects. New GM knew and was fully aware of the now infamous Delta Ignition Switch

Defect (and many other serious defects in numerous models of Old GM vehicles, including the

Defective Vehicles) from the very date of its inception on July 10, 2009. For example, at least

two dozen New GM employees, many high-level or in positions of influence, knew of the Delta

Ignition Switch Defect as of that date. Many of these same executives were aware of the Low

Torque Ignition Switch Defect, the Knee-to-Key Camaro Defect and the Power Steering Defect,

as well as other defects described herein.

         26.      New GM’s claims that the defects were known only to lower-level engineers is

false. For example, current CEO Mary Barra, while head of product development, was informed

in 2011 of the Power Steering Defect in several models. Despite 4,800 consumer complaints and

more than 30,000 warranty repairs, New GM waited until 2014 to disclose this defect.

         27.      New GM’s claims about its own conduct in connection with the Delta Ignition

Switch Defect are also false. While New GM claimed that it was unaware that the unintended

movement of the ignition switch in its cars rendered the front airbags inoperable until shortly

before the 2014 recall, it has now been forced to admit to the contrary. In the DPA, New GM

finally began to come clean and admitted that, at least by the spring of 2012, it was fully aware

that the Delta Ignition Switch Defect rendered airbags inoperable, and that a recall was required.




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Plaintiffs believe that New GM had more than enough knowledge that the Delta Ignition Switch

Defect was a safety defect such that it should have done a recall in 2009.

         28.      New GM has now effectively admitted that the Delta Ignition Switch Defect alone

is responsible for 124 deaths—and New GM bears responsibility for all the deaths that occurred

on its watch after July 10, 2009.

         29.      New GM’s now highly publicized campaign of deception in connection with the

Delta Ignition Switch Defect first revealed in February 2014 sent shockwaves throughout the

country. Unfortunately, the Delta Ignition Switch Defect announced in February 2014 was only

one of a parade of recalls in 2014—many concerning safety defects that had long been known to

New GM.

         30.      On May 16, 2014, New GM entered into a Consent Order with NHTSA in which

it admitted that it violated the TREAD Act by not disclosing the Delta Ignition Switch Defect,

and agreed to pay the maximum available civil penalties for its violations.

         31.      New GM’s CEO, Mary Barra, has admitted in a video message that: “Something

went wrong with our process…, and terrible things happened.” But that admission is cold

comfort for Plaintiffs and Class members, who have suffered economic injury as a result of New

GM’s deception.

         32.      New GM systematically and repeatedly breached its obligations and duties to

Defective Vehicle owners to make truthful and full disclosures concerning New GM vehicles

and Old GM vehicles—particularly, the safety, quality, and reliability of the vehicles, and the

importance of safety and quality to the Company. New GM’s false representations and/or

omissions concerning the safety and reliability of those vehicles, and its concealment of the

known safety defects plaguing those vehicles and its brand, caused certain Plaintiffs and Class




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members to purchase New GM vehicles or New GM Certified Pre-Owned Vehicles on or after

July 10, 2009, under false pretenses, and caused owners of Old GM Defective Vehicles to retain

and use Defective Vehicles of diminished value.

         33.      Plaintiffs and Class members have been damaged by New GM’s conduct,

misrepresentations, concealment, and non-disclosure of the numerous defects plaguing over

15 million Old and New GM Defective Vehicles—all vehicles which New GM has the

obligation and responsibility to monitor for safety, and to disclose and remedy known safety

defects. Once that truth emerged and consumers became aware that New GM concealed known

safety and quality defects in the Defective Vehicles, the Defective Vehicles were greatly

tarnished by the revelation of the defects and the fact that the Company is untrustworthy and

does not stand behind its vehicles. This decline in value is also a conservative proxy for the

amount of overpayment at the time of sale, though there exists other methods to quantify the

damage. The value of the Defective Vehicles, has therefore diminished and continues to

diminish because of New GM’s failure to timely disclose and remedy the defects. A few

examples of the decline in value caused by New GM’s conduct are illustrative of the diminution

in value that harmed Plaintiffs and Class Members: the 2010 and the 2011 Chevrolet Camaro

have both seen a diminished value of $2,000 when compared to the value of comparable

vehicles; the 2009 Pontiac Solstice has diminished $2,900 in value; the 2010 Cadillac STS

diminished in value by $1,235 in September 2014; and the 2010 Buick LaCrosse by $649 in that

same month. To take a few more examples: the 2011 Chevrolet Caprice has a diminished value

as of April 2015 of $1,679; and the 2011 GMC Denali, as of April 2015, has a diminished value

of $2,965. New GM’s egregious and widely publicized conduct and the never-ending and

piecemeal nature of New GM’s recalls has so tarnished the New GM brand and specific models




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that no Class member would have paid the price they did when the New GM brand supposedly

meant safety and success.

          34.     Plaintiffs pursue their claims on behalf of a RICO Class8 and state-law classes

defined by defect type, with subclasses. However, a general definition includes:

                  All persons who bought or leased (i) a Delta Ignition Switch
                  Vehicle on or before February 14, 2014; (ii) a Low torque Ignition
                  Switch Vehicle prior to July 3, 2014; (iii) a Knee-to-Key Camaro
                  Defect Vehicle prior to July 3, 2014; (iv) a Side Airbag Defect
                  Vehicle prior to March 17, 2014; and/or (v) a Power Steering
                  Defect Vehicle prior to April 1, 2014.

          35.     To be clear, like all of the claims in this Complaint except for the successor

liability claims brought only on behalf of Old GM Delta Ignition Switch Vehicle owners, the

claims of pre-July 10, 2009 owners or lessees of Defective Vehicles and the claims of owners or

lessees of New GM Certified Pre-Owned Vehicles arise solely out of obligations and conduct of

New GM.

                               III.    JURISDICTION AND VENUE

          36.     This Court has diversity jurisdiction over this action under 28 U.S.C. §§ 1332(a)

and (d) because the amount in controversy for the Class exceeds $5,000,000, and Plaintiffs and

other Class Members are citizens of a different state than Defendant. Jurisdiction is also proper

in this Court pursuant to 28 U.S.C. § 1331 because Plaintiffs’ RICO claims arise under federal

law, and this Court has supplemental jurisdiction over Plaintiffs’ state law claims under 28

U.S.C. § 1367.

          37.     This Court has personal jurisdiction over Plaintiffs because Plaintiffs submit to

the Court’s jurisdiction. This Court has personal jurisdiction over New GM because New GM


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        The RICO Class is asserted to preserve these claims for appeal.



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conducts substantial business in this District, and some of the actions giving rise to the

Complaint took place in this District. This Court also has personal jurisdiction over New GM

under 18 U.S.C. § 1965 because New GM is found in, has an agent in, or transacts business in

this District.

          38.     Venue is proper in this District under 28 U.S.C. § 1391 because New GM, as a

corporation, is deemed to reside in any judicial district in which it is subject to personal

jurisdiction. Additionally, New GM transacts business within the District, and some of the

events establishing the claims arose in this District. Venue is also proper under 18 U.S.C.

§ 1965.

                                           IV.     PARTIES

A.        Plaintiffs

          39.     Pursuant to the Court’s instructions that Plaintiffs could file directly in the MDL

court and reserve the right to have filed in another district, this Complaint is filed by each new

Plaintiff as if they had filed in the district in which they reside.9

          40.     Unless otherwise indicated, each Plaintiff purchased or leased his or her New GM

or Old GM vehicle primarily for personal, family, or household use.

          41.     The defects that New GM concealed throughout the Class Period related to the

safety and reliability of the Defective Vehicles, and affected the brand perception and market

value of all Defective Vehicles. Information concerning the safety of these vehicles, and

whether New GM would implement necessary corrective measures for these vehicles, was

material. Reasonable consumers would consider that information important in deciding whether

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     Plaintiffs incorporate by reference, to the extent not named here, all named plaintiffs from
the Third Amended Consolidated Class Complaint for purposes of preserving any issues on
appeal.



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to buy, lease, operate, trade in, or sell these vehicles, or whether to purchase other new or

Certified Pre-Owned vehicles from New GM. Provided with the truth regarding these vehicles,

Plaintiffs and Class Members would not have purchased or leased their Old GM or New GM

vehicles or their New GM Certified Pre-Owned Vehicles and/or would have paid less; and would

not, to their practical ability to do so, have continued to drive them without corrective safety

measures or other affirmative steps by New GM to make these vehicles safe and protect their

economic value. Also, as a direct result of New GM’s misconduct, each plaintiff and member of

the class has out-of-pocket economic damage by virtue of their having incurred the expense of

taking the time to bring their car in for repair.

         42.      Class members would not have purchased or continued to own New GM and Old

GM Defective Vehicles, or New GM Certified Pre-Owned Defective Vehicles, if they had

known of GM’s true corporate culture or if they had known that these cars had one or more of

the defects. The term “true corporate culture” used herein refers to a company whose

manufacturing and decision-making process allowed cars to be made and remain on the road

with defects that were not fixed on a timely basis and were concealed. The term also refers to a

culture where employees were trained to not to use words that might alert regulators to a safety

defect and where the “GM Nod” or “GM Salute” meant that problems would not be fixed. The

team also refers to a company who engaged in cost cutting, was unwilling to devote the

resources needed to properly spot and evaluate safety issues, delayed recalls for cost and

publicity reasons, and had engineers and decision makers “siloed.”

         43.      The true corporate culture also included a company that had no true leader of

Global Safety until July 2014, was not engaging in standard engineering failure mode and effect

analysis (“FMEA”), was not “reading across” vehicle platforms to see if a defect in one platform




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might be replicated as a defect in another, and did not have adequate investigators or personnel

to “mine” complaint data to allow for timely detection of defects.

         44.      Each of the Plaintiffs has been damaged by New GM’s failure to disclose the

defects in the Defective Vehicles, as well as by New GM’s misrepresentations and omissions

about its corporate culture and responsibility for safety, quality, and truthfulness. The truth

about New GM’s culture was completely concealed until 2014 when New GM revealed the

defects in New GM vehicles and Old GM vehicles on the road in the United States. New GM’s

failure to timely repair the Defects at issue in the Complaint, and its concealment of those

defects, injured all owners and lessees of New GM vehicles, New GM Certified Pre-Owned

Vehicles and Delta Ignition Switch Vehicles, and Old GM Defective Vehicles.




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         Valeria Glenn—Alabama

         45.      Plaintiff and proposed Delta Ignition Switch Defect Class Representative Valeria

Glenn resides in Alabaster, Alabama. She purchased a used 2006 Pontiac Solstice with the Delta

Ignition Switch Defect for $13,000 from Southtown Motors in Pelham, Alabama on February 23,

2013. The vehicle came with a 100,000 mile warranty. Ms. Glenn chose this vehicle because

the vehicle’s safety and reliability was important to her. On one occasion, Ms. Glenn

experienced a shutdown event and her steering wheel locked up while driving her vehicle. She

learned about the recall in March 2014, and she had her ignition switch replaced under the recall

in April 2014. Ms. Glenn had to miss work on two days because she was taking the car in for

service. Ms. Glenn would not have purchased the vehicle or she would have paid less for it had

she known about the defect in the vehicle.

         Gerald Smith—Alabama10

         46.      Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Gerald Smith is a resident and citizen of Montgomery, Alabama. Mr. Smith purchased a used

2006 Chevrolet Impala (subject to the Low Torque Ignition Switch recall) for $25,000 from

Larry Puckett Chevrolet in Prattville, Alabama in January 2007. His vehicle was covered by a

warranty at the time of purchase, but has since expired. Mr. Smith chose this vehicle, in part,

because the vehicle’s safety and reliability was important to him. Mr. Smith’s vehicle was

repaired under the recall, but he does not recall when. Mr. Smith would not have driven the

vehicle or would have sold it if he had known about its defect. He would not have purchased the

vehicle or he would have paid less for it had he known about the defect in the vehicle.


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      The Court has dismissed this plaintiff’s claims. They are included solely for the purpose
of preserving their claims on appeal.



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         Marion Smoke—Alabama

         47.      Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class

Representative Marion Smoke is a resident and citizen of Elmore, Alabama. Ms. Smoke

purchased a new 2005 Chevrolet Cobalt with the Delta Ignition Switch Defect for $19,000 in

Montgomery, Alabama in May 2005. The vehicle came with the standard manufacturer’s

warranty. She chose this vehicle, in part, because the vehicle’s safety and reliability was

important to her. Ms. Smoke’s Cobalt unexpectedly shut off on at least seven separate

occasions, all while she was driving on highways. She also had trouble turning the steering

wheel, making it difficult to drive. Ms. Smoke received a recall notice and had her car repaired

under the recall in April 2014. Because of the shutdown incidents and the ignition switch defect,

she feared driving her vehicle even after having the recall work performed. She believes the

value of her vehicle has been diminished as a result of the defect. Ms. Smoke would not have

driven the vehicle or would have sold it if she had known about its defect. She would not have

purchased the vehicle or she would have paid less for it had she known about the defect in the

vehicle.

         Camille Burns—Arkansas

         48.      Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class

Representative Camille Burns is a resident and citizen of Pine Bluff, Arkansas. Ms. Burns

purchased a used 2006 Chevrolet Cobalt with the Delta Ignition Switch Defect for over $16,000

from Smart Chevrolet in White Hall, Arkansas on November 1, 2006. At the time of purchase,

the car was still covered under warranty. She chose this vehicle, in part, because the vehicle’s




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safety and reliability was important to her. She saw GM television advertisements touting their

vehicles’ safety and reliability. The GM salesman at Smart Chevrolet also told Ms. Burns about

the Cobalt’s safety and reliability and gas savings immediately prior to her purchase. She relied

on these representations in buying the car. She purchased the Cobalt for her son to drive to and

from college. Once he was out of college, she started driving it. Ms. Burns’ Cobalt shut down

“too many times to count”—approximately two to three times per week between June 2014 and

the time she traded the vehicle in around July 14, 2014. These unexpected shutdowns occurred

when Ms. Burns was pulling out into traffic, backing up, or turning her car. Each time she would

be forced to restart the car. The last time it shut off suddenly, it almost caused an accident with

her 14-year-old son in the car. She also experienced a loss of power steering while backing out

of her driveway. Ms. Burns had her car checked by an independent repair shop, but it could not

diagnose the problem. After Ms. Burns learned about the Delta Ignition Switch recall, she called

a New GM dealership about performing the recall repair, but it told her it could not promptly

perform the recall repair and refused to provide her a loaner car. When she called New GM

directly, the representative advised her that she should get out of the car immediately. Although

her Cobalt was paid off and she was not financially ready to trade it in, based on the repeated

shutdowns, New GM’s advice, and New GM’s inability to fix the car in a timely manner, Ms.

Burns felt compelled to trade in the Cobalt for a safer vehicle. On July 14, 2014, she traded the

Cobalt for a Smart Hyundai and received only $2,500. Ms. Burns believes she received less for

the Cobalt than she would have received absent the ignition switch defect. Three months after

she traded in the Cobalt, the dealership finally called her to tell her it was ready to fix the ignition

switch. Having to purchase the newer car (2010 Toyota Camry) with a payment of $282 per

month was a financial hardship. Once the defects became apparent, and the danger of driving the




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car presented itself, Ms. Burns felt it was too dangerous for her and her family to drive the

Cobalt. She would not have purchased the vehicle or she would have paid less for it had she

known about the defect in the vehicle.

         Joe Glover—Arkansas

         49.      Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Joe Glover is a resident and citizen of Lonoke, Arkansas. Mr. Glover purchased a used 2010

Chevrolet Impala (subject to the Low Torque Ignition Switch recall) for $11,000 from

Brockinton Motors in Cabot, Arkansas on March 6, 2013. Mr. Glover saw New GM and

Gwatney Chevrolet television commercials almost every evening which highlighted the features

of New GM’s vehicles, including their safety and reliability. He also saw or heard

advertisements touting the safety and reliability of New GM vehicles on the radio, in the

newspaper (Democrat Gazette), via mailers he received, and on the Internet. Mr. Glover

experienced multiple shut-down incidents—more than 10—in 2014, and in many of these, he

believes the ABS light came on at or before the time the vehicle stalled. On July 7, 2014, he

took the vehicle to Gwatney GMC for service. He reported the shut-off incidents. The

dealership alleged that the incidents may have been caused by “aftermarket equipment…tied in

to the ECM” which the dealership felt “may create the problems.” The aftermarket equipment (a

security system installed when it was a fleet vehicle) was removed. At this time, the dealership

performed a “belt buckle recall” (No. 10312). Mr. Glover incurred $581.89 for the repairs.

Approximately three weeks after the vehicle was taken to the dealership and “repaired,” Mr.

Glover vehicle’s stopped again three separate times, in a manner similar to previous shutdowns.

Gwatney GMC refused to perform warranty work on the vehicle claiming that his VIN was not

under an ignition recall. Mr. Glover called GM directly, and though the representative admitted




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that GM knew it had a problem with the Impala, he said there had not yet been a recall and that

the dealership could not do warranty work without a recall. After the shutdowns started, Mr.

Glover realized the car was unsafe to drive. He knew that if he disclosed the defects as a part of

a trade-in-deal, he would get dramatically less value than it should be worth. His conscience

would not let him trade the car without disclosing the problems. He could not afford two car

payments, and he could not afford a large repair bill. So, in the interim, he drove more slowly

and in the right-hand lane. He was lucky he never had an accident caused by the shut downs.

Finally, after so many incidents, and not willing to take the safety risk with his Impala any

longer, he traded the vehicle for a Dodge Grand Caravan on July 29, 2014. He considered

buying a Chevy Equinox instead of the Dodge Caravan, but he did not buy the Equinox because

of the problems he had with the Impala and his belief that it might be under recall too. He

received a $6,000 trade-in value for his Impala, but believes the recalls and defects in the vehicle

decreased the amount he received by $2,000 (that he should have received $8,000). The

salesman (“Buddy”) noted that several models of GM products had ignition problems and that

the GM dealership was going to wholesale the vehicles with ignition problems to get them off

the lot. He did not want to trade it in at that time, but it had become too unsafe to drive. After

Mr. Glover traded his Impala, he finally received a recall notice for the ignition switch. Plaintiff

Glover believes that the value of his 2010 Impala decreased because of the ignition switch

defects, causing him to lose $2,000. He would not have purchased it or he would have paid less

had he known about the defects at the time of purchase.

         Nettleton Auto Sales, Inc.—Arkansas and Tennessee Class Representative

         50.      Plaintiff and proposed Delta Ignition Switch Defect Class and Power Steering

Defect Class Representative Nettleton Auto Sales, Inc. maintains its principal place of business




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in Jonesboro, Arkansas. Nettleton Auto Sales, Inc. purchased the following vehicles with the

intention to resell same:

         51.      Vehicle #1: used 2009 Chevy HHR with the Delta Ignition Switch Defect (and

subject to the Power Steering recall) for $10,865, plus $1,268.32 in shipping costs from

Manheim Nashville Auto Auction in Mount Juliet, Tennessee on March 27, 2014;

         52.      Vehicle #2: used 2011 Chevy HHR (subject to the Delta Ignition Switch recall)

for $5,850, plus $1,079.49 in shipping and repair costs in Jonesboro, Arkansas on February 14,

2014; and

         53.      Vehicle #3: used 2010 Chevy HHR (subject to the Delta Ignition Switch and

Power Steering recalls) for $6,000, plus $5,028.13 in additional shipping and repair costs from

Scott Rose in Jonesboro, Arkansas, on March 12, 2014.

         54.      The 2009 HHR received the recall repair at Central Chevrolet in Jonesboro,

Arkansas prior to being sold. Nettleton Auto waited several months to have the recall repairs

performed and was told the delay was a result of not having enough replacement ignition

switches to perform the repairs. The 2009 HHR was sold for $11,375 on February 28, 2015. At

the time of sale, the 2009 HHR was in fair condition and had 67,266 miles. The 2010 HHR was

sold for $12,900 on June 4, 2014. At the time of sale, the 2010 HHR was in fair condition and

had 86,960 miles. It had not yet had the recall repair completed at the time of sale. The 2011

HHR was sold for $8,500 on June 28, 2014. At the time of sale, the 2011 HHR was in fair

condition and had 126,682 miles on it. Nettleton Auto Sales, Inc. believes the ignition switch on

the 2011 HHR was subsequently replaced on or about June 30, 2014, by Central Chevrolet in

Jonesboro, Arkansas. Nettleton Auto Sales, Inc. believes these sale prices reflect the diminished

value of the vehicles resulting from their defects. Each of the vehicles sold for less than its




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expected sales price. Based on Nettleton Auto’s standard mark-up, the expected sales prices for

the subject vehicles, but for the defect, were: (1) $13,350 (for the 2010 HHR); (2) $12,889 (for

the 2011 HHR); and (3) $16,250 (for the 2009 HHR). Nettleton Auto also incurred carrying

costs for each vehicle, including interest, insurance, and maintenance/service costs other than

repairs (such as car washings and detailing). It would not have purchased these vehicles or it

would have paid less for them had it known about the defects.

         Grace Belford—Arizona

         55.      Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Bankruptcy Class

Representative Grace Belford is a resident and citizen of Phoenix, Arizona. Ms. Belford

purchased a new 2005 Chevrolet Cobalt with the Delta Ignition Switch Defect for $18,900 from

Courtesy Chevrolet in Phoenix, Arizona in October 2005. The vehicle had the standard

manufacturer’s warranty, and she did not purchase an extended warranty. Ms. Belford chose this

vehicle, in part, because the vehicle’s safety and reliability was important to her. Ms. Belford

recalls the salesman telling her the car was reliable. On at least two separate occasions, Ms.

Belford’s ignition unexpectedly shut off after her vehicle went over a bump in the road. Ms.

Belford did not learn of the ignition switch defects until March 2014. It took about two and half

months for the recall repair work to be completed on her vehicle. She had to use a loaner car

during this time and this inconvenienced her because she could not plan any trips out of town.

Ms. Belford would not have driven the vehicle or would have sold it earlier if she had known

about its defect. She planned to use her Cobalt as a down payment on a new vehicle, but the

resale value of her Cobalt was diminished due to the ignition switch defect. Ms. Belford was

finally able to trade in her Cobalt in August 2015. She was only offered $3,000 for the vehicle—




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$2,000 less than the then-current Kelley Blue Book value. Ms. Belford would not have

purchased the vehicle or she would have paid less for it had she known about the defect in the

vehicle.

         Barbara Hill—Arizona

         56.      Plaintiff and proposed Delta Ignition Switch Defect Class Representative Barbara

Hill is a resident and citizen of Mesa, Arizona. Ms. Hill purchased a used 2007 Chevrolet Cobalt

with the Delta Ignition Switch Defect for $12,905.59 from Larry H. Miller Nissan in Mesa,

Arizona on June 9, 2012. Ms. Hill purchased the vehicle after she conducted online research on

Chevrolet’s website to find out how stable the Cobalt was and what kind of gas mileage it

received. She also checked to see if there were any recalls on the car and did not find any.

Based on that research, she believed the vehicle was safe and reliable. She no longer feels safe

driving it. Ms. Hill learned about the recall in April 2014. She had her ignition switch replaced

in May 2014, but she does not trust that the replacement has resolved the vehicle’s safety defect.

Ms. Hill would not have purchased the vehicle or she would have paid less for it had she known

about the defect in the vehicle.

         Ray Wieters—Arizona

         57.      Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class

Representative Ray Wieters is a resident and citizen of Glendale, Arizona. Mr. Wieters

purchased a new 2008 Chevrolet Cobalt with the Delta Ignition Switch Defect for $17,961 from

Sands Chevrolet in Glendale, Arizona on July 13, 2008. The car had the standard manufacturer’s

warranty. Mr. Wieters also purchased an extended warranty. He chose this vehicle, in part,

based on its posted rating and the salesman’s representations. The salesman highlighted the




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vehicle’s full airbags and positive crash test ratings. Mr. Wieters has experienced problems with

his vehicle’s power steering and ignition switch. Specifically, the steering column assembly was

replaced on December 22, 2008 because it was defective. Mr. Wieters received a recall notice,

but was told there was a delay in the repairs because there were not enough replacement parts.

Eventually, Sands Chevrolet called when the parts came in, and he had the car repaired. Mr.

Wieters still has the car and has had additional recall repairs done. He has also paid out-of-

pocket to replace the door lock motors, window drive motors, and interior trim defects. He has

invested so much time and money into the vehicle only to discover it is prone to recalls, defects,

and is poorly assembled. Mr. Wieters would not have driven the vehicle or would have sold it if

he had known about its defect. He would not have purchased the vehicle or he would have paid

less for it had he known about its defect.

         Patricia Barker—California

         58.      Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Power Steering Defect Class, and Delta Ignition Switch

Defect Bankruptcy Class Representative Patricia Barker is a resident and citizen of Wilmington,

California. Ms. Barker purchased a new 2005 Saturn Ion with the Delta Ignition Switch Defect

(and subject to the Power Steering recall) for approximately $18,000 from Saturn of Torrance in

Torrance, California in March 2005. The car was covered under the standard manufacturer’s

warranty, and she also purchased an extended warranty. Ms. Barker chose this vehicle because

she had an excellent experience with her first Saturn and because safety and reliability were

important factors to her. She recalls the dealership had several awards pertaining to the safety

and reliability of their GM vehicles displayed prominently in the waiting room. Ms. Barker has

experienced power steering failure in her car on at least two separate occasions. In both




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instances she was able to reboot the power steering after restarting the car. Ms. Barker did not

learn of the Delta Ignition Switch Defect until about February 2014 when she received an

undated recall notice in the mail. Then she saw a commercial notifying affected drivers about

receiving a loaner car while waiting for back-ordered recall parts to arrive. When she went to

Martin Chevrolet, they did not want to give her a loaner vehicle initially. They finally agreed

and gave her a 2014 Chevy Silverado extended cab, but she had to come back the following

Monday to exchange it for a regular vehicle because the Silverado was recalled for bad seatbelts.

Martin Chevrolet then gave her a 2014 Chevrolet Impala. Ms. Barker drove this car for 49 days

until her car was repaired in April 2014. Only after she returned the Impala to get her vehicle

back, did she find out the Impala was also recalled for an ignition switch defect. Before the

repair and even after the repair, there are times when she cannot turn the key in the ignition. It

happened more frequently before the recall repair, but still occasionally occurs today. Ms.

Barker would not have driven the vehicle had she known about its defect. She would not have

purchased the vehicle or she would have paid less for it had she known about the defect in the

vehicle.

         Chimen Basseri—California

         59.      Plaintiff and proposed Delta Ignition Switch Defect Class Representative Chimen

Basseri is a resident and citizen of Lodi, California. Ms. Basseri purchased a used 2011

Chevrolet HHR (subject to the Delta Ignition Switch recall) for $16,333 from Nissan of Valencia

in Valencia, California on March 5, 2013. The car had the standard manufacturer’s warranty.

Ms. Basseri chose this vehicle, in part, because the vehicle’s safety and reliability was important

to her. She also recalls seeing many New GM advertisements both on television and online

about the safety and reliability of its vehicles. Ms. Basseri has experienced a host of problems




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with her vehicle, including issues with the steering system, windshield, remote key fob,

transmitter, and battery and ignition. She found out about the ignition switch recall while

visiting the New GM website. She called to schedule the repair, and it was completed at

Sanborn Chevrolet on June 9, 2014. She had to pay out-of-pocket to replace the key fob because

it no longer worked after the recall repair. On two occasions, mechanics have told Ms. Basseri

that her vehicle is worth less because of its defects. Ms. Basseri would not have purchased the

vehicle or she would have paid less for it had she known about its defect.

         Michael and Sylvia Benton—California

         60.      Plaintiffs and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class

Representatives Michael and Sylvia Benton are residents and citizens of Barstow, California.

The Bentons purchased a used 2005 Chevrolet Cobalt with the Delta Ignition Switch Defect for

$12,789.76 from Ideal Auto Center, Inc. in Barstow, California on January 10, 2009. The

vehicle was not covered under warranty when they purchased it. The Bentons purchased gap

warranty for the Cobalt for a term of 48 months. They chose the Chevy Cobalt because the

salesman at the dealership recommended it as a very good used car, safe, reliable, and gas saver.

Safety was important because they planned to eventually give it to their daughter as her first car

for high school. The Bentons never ended up letting her drive the car because of the defect. The

Bentons’ vehicle shut down at least 20 times. The car would shut off while driving at full speed

on the freeway, at stop signs, and at drive-thru restaurants. In April 2013, before they knew

about the recall, the Bentons took the car to a mechanic to address this problem. The technician

suggested they replace the oxygen sensors. When that did not work, they returned in July 2013

and the technician replaced the catalytic converter instead. That did not remedy the problem




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either. The Bentons did not learn of the ignition switch defect until March 2014. In April or

May 2014, they took their Cobalt to a GM dealership in their area to have the recall work

performed, and they were provided a loaner vehicle. It took about six weeks to receive the parts

and complete the repair. Since having the recall repair performed, the Bentons still have issues

related to the ignition. For example, when starting the car, it will continuously over-start itself

for about 45 seconds. It has to be shut off and restarted a few times. The Bentons still fear

driving their vehicle due to the defect. They would not have driven the vehicle or would have

sold it if they had known about its defect. The Bentons would not have purchased the vehicle or

would have paid less for it had they known about the defect in the vehicle.

         Kimberly Brown—California

         61.      Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class

Representative Kimberly Brown is a resident and citizen of Palmdale, California. Ms. Brown

purchased a new 2006 Chevrolet HHR with the Delta Ignition Switch Defect for $30,084 from

Rally Auto Group in Palmdale, California on January 7, 2007. The vehicle was covered under a

48-month or 100,000 miles warranty. She recalls seeing an advertisement at the dealership that

the HHR was a reliable vehicle. She was considering other vehicles, but the GM salesman sold

her on the HHR by insisting it was reliable, dependable, and received good gas mileage.

Between 2007 and 2011, Ms. Brown’s vehicle inadvertently shut down four or five times a year,

and on several other occasions she had to use heavy force to turn the wheel. Between 2012 and

2014, her vehicle inadvertently shut down eight or nine times a year, and on several other

occasions she had to use heavy force to turn the wheel. Her vehicle typically shut down while




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going over bumpy roads, speed bumps, or railroad tracks. It would shut down while the gear was

in drive and the key was in the “on” position. To remedy the problem, she put the gear into

neutral and restarted the car. Ms. Brown learned about the recall in the news but never received

a recall notice. She brought her car into the Rally GM dealership for the recall repair in May

2014. Nonetheless, Ms. Brown and her husband have experienced their ignition shutting down

at least five times since then. In September 2014, Ms. Brown returned to the dealer to have the

ongoing shutdowns remedied, and she had to pay out of pocket for a loaner vehicle. Ms. Brown

would not have driven the vehicle or would have sold it if she had known about its defect. She

would not have purchased the vehicle or she would have paid less for it had she known about the

defect in the vehicle.

Kellie Cereceres – California

         62.      Plaintiff and proposed Side Airbag Defect Class Representative Kellie Cereceres

is a resident and citizen of Elk Grove, California. Ms. Cereceres purchased a new 2012

Chevrolet Traverse (subject to the Side Airbag recall) for approximately $43,000 from Maita

Chevrolet on June 18, 2012, in Elk Grove, California. The vehicle was covered by the

manufacturer’s warranty at the time of purchase, but Ms. Cereceres did not purchase any

extended warranty. Both Ms. Cereceres and her husband were loyal GM consumers, and initially

they were very impressed with the Traverse after renting one for a weekend a few years ago.

They researched the Traverse before purchasing it and chose this vehicle, in part, because its

safety and reliability was important to them. As the primary driver, Ms. Cereceres enjoyed the

car for the first few years of ownership but then had multiple problems that never seemed to

end. Aside from the Side Airbag Defect, she has experienced electrical issues, strange noises

while driving, lift gate issues, and seat belt issues. She never received a recall notice for the Side




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Airbag Defect, but she had the defect repaired under recall at Maita Chevrolet in March

2014. Maita Chevrolet also performed the recall work for the power lift gate, water pump, and

front safety belt. In 2017, she replaced the rack and pinion and power steering at Pearson

Chevrolet in San Jose, California. Ms. Cereceres would not have purchased the vehicle or she

would have paid less for it had she known about its defect.

         Crystal Hardin—California

         63.      Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class

Representative Crystal Hardin is a resident and citizen of Cupertino, California. Ms. Hardin

purchased a new 2005 Chevrolet Cobalt with the Delta Ignition Switch Defect from Chase

Chevrolet in Stockton, California on May 17, 2005. The car was covered by the standard

manufacturer’s warranty. Ms. Hardin’s vehicle sometimes stops running while idling, and other

times she cannot remove the key from the ignition when the car is parked. When this happens,

she has to physically go into the steering column to remove the key. Ms. Hardin has tried to sell

her car in a private sale, but the sellers have all backed out after disclosure of the ignition switch

defect, despite pricing the car below Kelley Blue Book value. Ms. Hardin would not have driven

the vehicle or would have sold it if she had known about its defect. She would not have

purchased the vehicle or she would have paid less for it had she known about its defect.

         Yvonne James-Bivins—California11




    11
      The Court has dismissed this plaintiff’s claims. They are included solely for the purpose
of preserving their claims on appeal.



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         64.      Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Yvonne James-Bivins is a resident and citizen of Altadena, California. Ms. James-Bivins

purchased a new 2006 Cadillac CTS (subject to the Low Torque Ignition Switch recall) for

$27,000 from Bewley Allen in Alhambra, California on January 9, 2006. The car was covered

by the standard manufacturer’s warranty. Ms. James-Bivins chose this vehicle, in part, because

the vehicle’s safety and reliability were important to her. The salesman told her this was a

superior vehicle with safety enhancements. Ms. James-Bivins received a recall notice and had

her car repaired under the recall. Ms. James-Bivins would not have driven the vehicle or would

have sold it if she had known about its defect. She would not have purchased the vehicle or she

would have paid less for it had she known about its defect.

         Javier Malaga—California

         65.      Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class

Representative Javier F. Malaga was a resident of Playa Del Rey, California until July 31, 2016.

As of August 5, 2016, Mr. Malaga resides in Cincinnati, Ohio. Mr. Malaga purchased a used

2006 Chevrolet Cobalt LS with the Delta Ignition Switch Defect for $15,979.08 from Carson

Toyota in Carson, California on December 8, 2006. When Mr. Malaga purchased the vehicle, it

was covered by a written warranty. Mr. Malaga chose this vehicle, in part, because the vehicle’s

safety and reliability were important to him. On two occasions, Mr. Malaga was unable to turn

on the engine with his ignition key. The first time, he brought the car to the dealer formerly

known as Cormier Chevrolet in Carson, California, now known as Win Chevrolet Carson, for

repairs on or about February 15, 2008, which were covered under written warranty. The second

time it happened, he brought his vehicle to the dealer on March 25, 2010 but the repairs were not




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covered under warranty. It cost Mr. Malaga approximately $541 out-of-pocket for the repairs.

Mr. Malaga received a recall notice for the ignition switch defect, and had it repaired under the

recall between July and August 2014. Mr. Malaga sold the vehicle on July 30, 2016. Mr.

Malaga would not have driven the vehicle if he had known about its defect. He would not have

purchased the vehicle had he known about its defect.

         Winifred Mattos—California

         66.      Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class

Representative Winifred Mattos is a resident and citizen of Honolulu, Hawaii. Ms. Mattos

purchased a new 2007 Pontiac G5 with the Delta Ignition Switch Defect for $20,000 from

Hooman Chevrolet in Culver City, California in April 2007. She had a three-year warranty on

her vehicle. Ms. Mattos chose the vehicle because she liked the way it looked and the salesman

said it was “the car of the year.” She was also told by the Hooman salespeople that it was

Pontiac’s new, highly-touted car and it would be a reliable vehicle that was suitable for her

needs. When she first learned about the recall in March 2014, Ms. Mattos stopped driving her

vehicle on highways or for long distances, and then decided it was unsafe to drive any distance at

all. After she learned of the recall, but before she was able to have her vehicle repaired, Ms.

Mattos experienced anxiety knowing what might happen if her vehicle lost power unexpectedly.

Her vehicle’s ignition switch was replaced in April 2014. Ms. Mattos was given a rental car, and

it took about two weeks before she got her G5 back, as they had to wait for the part to arrive.

She had to take approximately three hours off from work to take her car to the dealership, and

then pick it back up. Ms. Mattos would not have driven the vehicle or would have sold it if she




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had known about its defect. She would not have purchased the vehicle or she would have paid

less for it had she known about its defect.

         Santiago Orosco—California

         67.      Plaintiff and proposed Knee-to-Key Camaro Defect Class and Knee-to-Key

Camaro Defect Magnuson-Moss and Implied Warranty Subclass Representative Santiago Orosco

is a resident and citizen of Earlimart, California. Mr. Orosco purchased a new 2010 Chevrolet

Camaro (subject to the Knee-to-Key Ignition Switch recall) for $29,000 from Ed Dena’s Auto

Center in Dinuba, California on September 24, 2010. The car was covered by the standard

manufacturer’s warranty. Safety and reliability in the vehicle were important to Mr. Orosco

because he bought the car for his daughter. He told the salesman he was looking for car for his

daughter because she was going off to college and he wanted something safe and that would not

leave her stranded on the road. The salesman suggested the Camaro. Mr. Orosco’s daughter had

one incident where the car shut off on her while she was driving home on a back road in 2013 or

2014. She struggled to get off to the side of road and could barely stop the car. Once she did

stop she put it in park and restarted the car. Mr. Orosco received the ignition switch recall notice

in about November 2014. He called the local dealership, Family Motors, and then they brought

the vehicle in for the repair a few days later. But when they arrived, the dealership said the parts

were backordered. Mr. Orosco tried to take the car back for the repair a few weeks later and the

parts were still out. Instead of waiting for the parts any longer, Mr. Orosco bought a GMC Sierra

truck for his daughter to drive, and the Camaro sat in the driveway for six to seven weeks. In

late July or early August 2016, he sold the car to CarMax for about $8,000. Mr. Orosco would

not have purchased the vehicle if he had known about its defect; he would have looked for a

safer vehicle.




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         David Padilla—California

         68.      Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Magnuson-Moss and Implied Warranty Subclass, Power Steering Defect Class, and

Power Steering Defect Magnuson-Moss and Implied Warranty Subclass Representative David

Padilla is a resident and citizen of Stockton, California. Mr. Padilla purchased a new 2010

Chevrolet Cobalt (subject to the Delta Ignition Switch and Power Steering recalls) for

$21,690.27 from Chase Chevrolet in Stockton, California in April 2010. The vehicle was under

warranty when he purchased it. Mr. Padilla recalls the salesman telling him that it was a “great”

and “safe” car and relied on those representations in deciding to purchase the vehicle. Before

speaking to the salesman and deciding to buy the Cobalt, he planned to purchase a Toyota. On

one occasion, Mr. Padilla was backing out of his garage when his Cobalt inexplicably shut off.

As a result, Mr. Padilla was afraid to drive his vehicle. Those fears increased once he learned of

the ignition switch recall and the risks posed by the defects. Mr. Padilla had the ignition switch

replaced under the recall repair program. Mr. Padilla was without his vehicle for an entire month

while his vehicle was being repaired. His fear of driving the vehicle persisted and, in spring

2014, Mr. Padilla sold the vehicle for a mere $5,200. He believes the value of his vehicle was

diminished as a result of the defects. Mr. Padilla would not have purchased the vehicle or would

have paid less for the vehicle had he known about its defects.

         Esperanza Ramirez—California

         69.      Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Successor Liability Subclass, Power Steering Defect Class, and Delta Ignition Switch

Defect Bankruptcy Class Representative Esperanza Ramirez is a resident and citizen of Los




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Angeles, California. Ms. Ramirez purchased a new 2007 Saturn Ion with the Delta Ignition

Switch Defect for $27,215 from Saturn of Torrance in California on March 13, 2007. Her

vehicle was covered by a warranty at the time of purchase. As a single parent of two, the

vehicle’s safety and/or reliability was very important to Ms. Ramirez. Moreover, Ms. Ramirez

had previously and satisfactorily owned a Saturn for ten years, which prompted her to purchase

another vehicle of the same type. Ms. Ramirez had also seen many television commercials about

the Saturn, some of which depicted families driving the car and that to her connoted safety and

trustworthiness. When Ms. Ramirez went to purchase her car, salespeople at Saturn of Torrance

assured her that she would continue to be satisfied with her vehicle. Ms. Ramirez experienced

several incidents consistent with the ignition switch defect including loose steering, problems

with the engine crank, and repeated instances of the engine light being unable to shut off. In

those instances starting in or around late 2009 when Ms. Ramirez described these problems to

dealerships, she was never informed of the Delta Ignition Switch Defect. Due to the continuing

problems, she had certain repairs done in 2009, and replaced her ignition switch in early

February 2014 at Mobile Lock and Key Services in Los Angeles, only to receive a recall notice

the following month (and a follow-up letter in August 2014 from New GM thanking her for her

patience as the company waited for more parts). She was never reimbursed for any payments

associated with the defect. Ms. Ramirez is still in possession of the vehicle, although she

remains uncomfortable driving the car, and does not drive the car on freeways or for long

distances. Ms. Ramirez would not have driven the vehicle or would have sold it if she had

known about its defect. She would not have purchased the vehicle or she would have paid less

for it had she known about its defect.




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         William Rukeyser—California

         70.      Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class

Representative William Rukeyser is a resident and citizen of Davis, California. Mr. Rukeyser

purchased a new 2008 Chevrolet Cobalt with the Delta Ignition Switch Defect for $16,215.54

from Sanborn Chevrolet in Lodi, California on September 4, 2008. Mr. Rukeyser’s vehicle had

the manufacturer’s standard warranty at the time. Mr. Rukeyser chose this vehicle, in part,

because the vehicle’s safety and reliability was important to him. Before buying the car, he

visited the Chevrolet website and saw television and newspaper ads touting the quality of

Chevrolet cars. Mr. Rukeyser learned about the recall through general news coverage. Then he

visited safercars.gov and submitted his VIN. Finally, he received notice of the recall from GM

in May 2014. Mr. Rukeyser had the ignition switch replaced on August 8, 2014. Mr. Rukeyser

would not have driven the vehicle or would have sold it if he had known about its defect. He

would not have purchased the vehicle had he known about its defect.

         Michelle Thomas—California

         71.      Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Michelle Thomas is a resident and citizen of Vallejo, California. Ms. Thomas purchased a used

2005 Buick Lacrosse (subject to the Low Torque Ignition Switch recall) for about $7,800 from

Sun Motor Group in El Cerrito, California on December 9, 2010. The car was not under

warranty. Ms. Thomas purchased this car because of the car’s reliability, because she heard

about from family members, and because of the safety and style of the car since it was bigger

than other compact or economy cars. She also saw advertisements about the safety ratings and




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the reliability of the car. The salesman said the car had no recalls and it was a great, long-lasting

car. In May 2015, her car would not start, and the ignition wouldn’t move to start. It would also

come out of the run position while driving. One time, she had to leave her car parked at an

unsafe location for four days and spend gas going back and forth to see whether it would start.

She took cabs and paid people to take her daughter to school. She missed 16 hours of work at

$24.77 per hour because her vehicle wouldn’t work. She contacted Buick directly and was given

a case number because they would not cover the cost to fix the ignition, even though she

believed the defect was part of the ignition recall. She was told by a New GM supervisor that the

only issue was her key and they had a quick fix for that by adding a rubber piece to the key. This

repair did not resolve the issue with her car. Ms. Thomas had to pay $500 out-of-pocket to get

her car fixed because Buick said it was not covered by any existing recall for my vehicle. She

spent two weeks haggling with Buick over this issue, and was constantly told this was not part of

a recall and it was her responsibility. Her vehicle’s headlights also went out for five months, and

no mechanic could diagnose the problem. Her headlights would randomly cut off and not work

during night operation, almost causing many accidents. Then Ms. Thomas received a recall

letter in August 2015 explaining that the defect was due to a faulty relay, but New GM did not

have the part available anywhere in the United States. Ms. Thomas called New GM and opened

a case number because the New GM “fix” required her to drive with her high beams on, in

violation of California law. Ms. Thomas would not have purchased the vehicle or she would

have paid less for it had she known about its defect.

         Trina & John Marvin Brutche, Jr.—Colorado

         72.      Plaintiffs and proposed Low Torque Ignition Switch Defect Class Representatives

Trina and John Marvin Brutche, Jr., husband and wife, are residents and citizens of Goodland,




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Kansas. The Brutches purchased a used 2009 Chevrolet Impala LTZ (subject to the Low Torque

Ignition Switch recall) for $15,471 from Grand Valley Auto in Grand Junction, Colorado on June

14, 2014, just two weeks before its recall was announced. A longtime Chevrolet fan, Mr.

Brutche preferred to purchase Chevrolets because, based on New GM advertising he had seen

over the years, he believed Chevrolets were of excellent quality and reliable family cars. Herl

Chevrolet in Goodland, Kansas eventually performed the ignition switch recall repair after the

Brutches received the recall notice in the mail. However, the dealership did not have the parts,

so the Brutches had to wait for it to perform the repair. The Brutches feel the decrease in value

in their vehicle has prevented them from trading it in. They owed around $11,000 on the Impala

as of summer 2015, and the dealer they talked to about trading the vehicle indicated its value

would only be around $9,000. As of June 2016, the “service airbag” light has come on, and the

Brutches are concerned the airbag may not deploy properly. The Brutches would not have

purchased the vehicle or they would have paid less for it had they known about its defect.

         Margaret Lesnansky—Colorado

         73.      Plaintiff and proposed Side Airbag Defect Class and Side Airbag Defect

Magnuson-Moss and Implied Warranty Subclass Representative Margaret Lesnansky is a

resident and citizen of Aurora, Colorado. Ms. Lesnansky purchased a Certified Pre-Owned 2012

GMC Acadia (subject to the Side Airbag recall) for about $36,000 from Stevenson Chevrolet in

Golden, Colorado on September 3, 2012. The car was covered under warranty. Safety in a

vehicle is always Ms. Lesnansky’s first priority, followed by reliability. She recalls the salesman

telling her this was a great, reliable vehicle. She first learned about the recall on the news, but

she has not received a recall notice and therefore has not had her vehicle repaired under the

recall. This is the only vehicle she has, and she is raising a grandson with medical problems, so




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she cannot be without her car. Ms. Lesnansky would have paid less for this vehicle had she

known about its defect, or she would have purchased another brand.

         Yvonne Elaine Rodriguez—Colorado

         74.      Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class

Representative Yvonne Elaine Rodriguez is a resident and citizen of Lakewood, Colorado. Ms.

Rodriguez purchased a new 2007 Chevrolet HHR with the Delta Ignition Switch Defect for

$20,735.87 from EMICH Chevrolet in Lakewood, Colorado on December 5, 2006. At the time

of purchase, the HHR was covered by Chevrolet’s standard warranty. Ms. Rodriguez did not

find out about the ignition switch defect and the safety risk it posed until she received a recall

notice in March 2014. Ms. Rodriguez stopped using her HHR for any long trips or highway

driving, for fear of the safety of her family and herself. As soon as she received the recall notice,

Ms. Rodriguez attempted to have the recall repair performed on her vehicle, but was informed

that the parts were not available. Ms. Rodriguez continued to try to schedule the repair, but

because of a lack of parts, she was not able to get her HHR repaired until June 2014. Ms.

Rodriguez would not have driven the vehicle or would have sold it if she had known about its

defect. She would not have purchased the vehicle or she would have paid less for it had she

known about its defect.

         Annet Tivin—Colorado

         75.      Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class




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Representative Annet Tivin is a resident and citizen of Margate, Florida. Ms. Tivin purchased a

new 2008 Chevrolet Cobalt with the Delta Ignition Switch Defect for $18,000 from Chevrolet of

Broomfield in Broomfield, Colorado on July 28, 2008. The vehicle was covered by the standard

factory warranty. She chose this vehicle, in part, because its safety and reliability were important

to her. Ms. Tivin would not have driven the vehicle or would have sold it if she had known

about its defect. She would not have purchased the vehicle or she would have paid less for it had

she known about its defect.

         Nathan Terry—Colorado

         76.      Plaintiff and proposed Delta Ignition Switch Defect Class and Delta Ignition

Switch Defect Magnuson-Moss and Implied Warranty Subclass Representative Nathan Terry is a

resident and citizen of Loveland, Colorado. Mr. Terry purchased a Certified Pre-Owned 2007

Pontiac G5 GT with the Delta Ignition Switch Defect for $10,589.49 from AutoNation Hyundai

104 in Westminster, Colorado on January 4, 2011. He purchased a three-year warranty on the

vehicle. Mr. Terry decided to buy this vehicle after a thorough investigation, including

reviewing online advertisements and reviews, regarding the brand and model’s safety, reliability,

and quality. Mr. Terry’s car inadvertently shut down on him twice while driving. In one

instance, he was in high traffic on the highway when the vehicle lost power and he had to force

the car over to the shoulder of the road, a task made more difficult by the fact that his power

steering also shut down. Mr. Terry learned of the ignition switch defect in March 2014. The day

after receiving the recall notice, he rented a car for two days from Enterprise Rental. After that,

he took public transportation to and from work for the next week to avoid driving his car. While

the costs were minimal for taking the city bus, his drive to and from work was 15 minutes,

compared to an hour and twenty minutes and three bus transfers when taking public




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transportation. When he learned the repair would take several more weeks to complete, the

wasted time and extra hassle of taking the bus eventually overrode his apprehension about

driving a dangerous vehicle and he drove his car again until the new parts arrived. The recall

repair was completed after waiting about a month. He missed a half day of work for this repair.

After the recall repair, Mr. Terry immediately began preparing to sell his vehicle because he did

not want to support a company that knowingly lied to him and other consumers about a safety

defect, and he suspected there could be other untold defects in the car. Mr. Terry checked the

Kelley Blue Book and found that his vehicle, which was in excellent condition with low mileage

and fully-equipped, was valued at $7,041. He then checked thirteen other 2007 Pontiac G5 GT

models for sale at dealerships in his vicinity, and their advertised sale prices ranged from $7,367

to $9,000. Finally, he checked four models for sale by private owners, with sale prices ranging

from $6,800 to $7,840. Several dozen private buyers contacted Mr. Terry about his vehicle, and

three visited him to test drive it. All three potential buyers seemed to like the car, but were

aware of the numerous New GM recalls, including the ignition switch defect pertaining to his G5

model. Even though he listed his car at the $7,041 Kelley Blue Book price, the average offer for

the car was $4,500. His bargaining value was noticeably impeded, as all potential buyers

repeatedly referred to the defect in their negotiations. It was clear to Mr. Terry that potential

buyers knew about the ignition switch defect and used it to their advantage. As he browsed

dealerships at the same time, he also found the trade-in value was grossly hurt by the defect.

Again, all dealerships mentioned the safety and defect issues, and out of six trade-in offers, the

highest was $2,634. Because of the negative effects of the defect on his vehicle value, Mr. Terry

was eventually forced to sell the vehicle to CarMax at nearly half his vehicle’s Kelley Blue Book

value on August 23, 2014. Mr. Terry will never purchase a GM vehicle again. He would not




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have purchased the vehicle or he would have paid less for it had he known about the defect in the

vehicle.

         Wandell Littles Beazer—Connecticut12

         77.      Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Wandell Littles Beazer is a resident and citizen of New York, New York. Ms. Beazer purchased

a used 2004 Cadillac SRX (subject to the Low Torque Ignition Switch recall) from Blasius

Chevrolet Cadillac Company in Waterbury, Connecticut for $26,000 on July 5, 2007. Ms.

Beazer purchased the vehicle because she believed it was a safe and reliable vehicle. However,

the vehicle experienced many problems, forcing Ms. Beazer to pay for extensive, expensive

repairs. Ms. Beazer had to repair numerous defects including: replacement of the camshaft

actuator, camshaft position actuator spool, and camshaft primary chain. In 2011, Ms. Beazer

began experiencing problems with the power steering pump in the vehicle. It was determined the

vehicle needed a new power steering rack and power steering pump, and these repairs would cost

around $2,000. In addition to the expensive power steering repairs, Ms. Beazer’s car also needed

a new right front axle, which would cost around $600. Frustrated by multiple expensive repairs,

Ms. Beazer sold the vehicle to Six Stars Auto in November 2011. Finally, in 2014, the 2004

Cadillac SRX was recalled for an ignition switch defect. Ms. Beazer would not have purchased

the vehicle or she would have paid less for it had she known about its defect.

         Stacey Bowens—Connecticut13




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      The Court has dismissed this plaintiff’s claims. They are included solely for the purpose
of preserving their claims on appeal.
    13
      The Court has dismissed this plaintiff’s claims. They are included solely for the purpose
of preserving their claims on appeal.



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         78.      Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Stacey Bowens is a resident and citizen of Springfield, Massachusetts. Ms. Bowens purchased a

used 2004 Chevrolet Impala (subject to the Low Torque Ignition Switch recall) for $4,500 from a

private seller in East Bridgewater, Connecticut in February 2009. She cannot recall whether the

car was under warranty at the time of purchase. Ms. Bowens chose this vehicle because its

safety, reliability, and size were perfect for her family. Her vehicle would shut down on her in

the middle of traffic and she also had problems with the power steering. This was unsafe

because she had her three children in the car. In addition to the hassle and embarrassment of

shutdowns and subsequent tows, it also caused her to miss appointments and work. She

complained to her local dealer, Balise Chevrolet in Springfield, Massachusetts, about this

problem but they were unable to fix it. The vehicle also had problems with the power steering.

As the problems persisted and the repair bills increased, she finally decided to junk the vehicle

about two years ago. She was notified of the recall within weeks of getting rid of her car. It

upset her to know that New GM, and possibly her dealership, knew of this defect and failed to

inform her about it earlier. Ms. Bowens would not have driven the vehicle or would have sold it

if she had known about its defect. She would not have purchased the vehicle or she would have

paid less for it had she known about its defect.

         Robert and Celeste Deleo—Connecticut14

         79.      Plaintiff and proposed Power Steering Defect Class Representatives Robert and

Celeste Deleo are residents and citizens of North Haven, Connecticut. The Deleos purchased a

used 2004 Chevrolet Malibu Max (subject to the Power Steering recall) for about $10,000 from


    14
      The Court has dismissed this plaintiff’s claims. They are included solely for the purpose
of preserving their claims on appeal.



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Wallingford Buick in Wallingford, Connecticut on September 5, 2008. The car was not covered

by a warranty. The Deleos chose this vehicle, in part, because the vehicle’s safety and reliability

were important to them. Within the first year of owning the vehicle, the power steering started to

go out. They stopped letting their daughter drive the vehicle because if it went out it would be

too hard for her to steer. One time the power steering went out on Mr. Deleo while he was

taking a sharp turn onto the freeway. He ran into the guardrail on the driver’s side. He called

GM and they said the harness is failing, so he should bring it but he would have to pay for it out-

of-pocket because there was no recall at the time. Mr. Deleo brought the vehicle to his own

mechanic who fixed it. The power steering eventually went out again about six months later and

he brought back to his mechanic, but the mechanic would not fix it the second time. Mr. Deleo

estimates the power steering probably failed on him forty to fifty times. He would have to pull

over and restart the car. One time he was driving about 60-65 miles per hour on the highway and

it went out on him about ten times in just that trip. After this, Mr. Deleo called New GM

headquarters but no one called him back. Mr. Deleo believes they received one recall before the

2014 recall for the power steering. In 2014, the Deleos got second recall notice for power

steering. But the local dealership did not get the replacement parts about four months. Finally,

the car was repaired under the recall at either Partica Chevrolet in Anden, Connecticut or Valenti

Chevrolet in Wallingford, Connecticut. The Deleos no longer drive the vehicle very often. The

Deleos would not have driven the vehicle or would have sold it if they had known about its

defect. They would not have purchased the vehicle or they would have paid less for it had they

known about its defect.

         Michael Pesce—Connecticut




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         80.      Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class

Representative Michael Pesce is a resident and citizen of Waterbury, Connecticut. Mr. Pesce

purchased a used 2006 Chevrolet Cobalt with the Delta Ignition Switch Defect for approximately

$12,000 from Loehman’s Chevrolet in Waterbury, Connecticut on May 29, 2008. When Mr.

Pesce bought the car, it was still covered under a three-year, 36,000-mile warranty. Mr. Pesce

chose the Cobalt in part because of the vehicle’s safety and reliability. Mr. Pesce remembers

seeing television and print ads from Chevrolet stating that the Cobalt was one of the safest and

most reliable cars on the market. Loehman’s Chevrolet also had an ad regarding the safety and

reliability of the Cobalt. In addition, the Pesce’s had previously purchased a Cavalier and a

Malibu from Loehman’s Chevrolet and they believed GM was a good, reputable brand. In

August 2011, Mr. Pesce’s 18-year-old son was driving the car on a major highway in

Connecticut when the vehicle lost all power. His son was able to pull over and restart the car,

but after another few minutes it died again. Mr. Pesce paid to have the vehicle looked over and

repaired, but he now believes the problem was related to the ignition switch defect. Mr. Pesce

did not learn about the ignition switch defect until March 2014. The recall repair work was not

performed until September 2014, more than six months later. While he waited for the repair

work, Mr. Pesce only drove the vehicle if there was an emergency because he was afraid to drive

the car. Mr. Pesce was inconvenienced by the repair due to the service time slots being during

his workday. He had to find a ride to the dealership and take a few hours off of work to take care

of the Cobalt recall service. Mr. Pesce would not have driven the vehicle if he had known about

its defect. He will not buy a GM vehicle again. Mr. Pesce would not have purchased the vehicle

if he had known about its defect.




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         Lisa Teicher—Connecticut

         81.      Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class

Representative Lisa Teicher is a resident and citizen of Manchester, Connecticut. Ms. Teicher

purchased a used 2005 Chevrolet Cobalt with the Delta Ignition Switch Defect for $7,769.22

from Gengras Chevrolet in Hartford, Connecticut on January 24, 2008. Her vehicle was covered

by a written warranty that has now expired. Ms. Teicher chose this vehicle, in part, because the

vehicle’s safety and reliability was important to her. In June 2008, Ms. Teicher’s vehicle shut

off while she was driving on an exit ramp on Route 2 in Connecticut. She was unable to control

the vehicle and ended up hitting a barrier on the road. She hit her head on the dash and was

injured, but hospitalization was not required. The airbags did not deploy during this collision. In

May 2009, Ms. Teicher’s vehicle again shut off while she was driving to work on I-84 in

Connecticut, just before Exit 64. She was able to bring the vehicle to a stop and restart the

vehicle again. On April 10, 2014, she brought her vehicle to Carter Chevrolet in Manchester,

Connecticut to have her ignition switch replaced under the recall. She was unable to retrieve her

vehicle until two-and-a-half months later, on June 25, 2014. On September 29, 2015, her vehicle

malfunctioned and was totaled in a collision. Ms. Teicher would not have driven the vehicle or

would have sold it if she had known about its defect. She would not have purchased the vehicle

or she would have paid less for it had she known about its defect.

         Tracey Perillo—Delaware

         82.      Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Magnuson-Moss and Implied Warranty Subclass, and Delta Ignition Switch Defect

Bankruptcy Class Representative Tracey Perillo is a resident and citizen of Wilmington,




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Delaware. Ms. Perillo purchased a new 2009 Chevrolet Cobalt with the Delta Ignition Switch

Defect (and subject to the Power Steering recall) for $19,146.53 from Diver Chevrolet in

Wilmington, Delaware on August 6, 2009. The vehicle was covered by the standard factory

warranty. Ms. Perillo was purchasing this vehicle for her daughters to drive, so safety and

reliability were very important to her in deciding to buy the Cobalt. She remembers seeing

advertisements regarding the vehicle’s safety and reliability and also spoke with the salesman

regarding the same. The keys to Ms. Perillo’s vehicle got stuck in the ignition switch on one

occasion and she could not turn the car off. She had to leave it running in the driveway and then

have it towed to the dealership for repair sometime in September 2009. Ms. Perillo’s daughter

got the vehicle repaired under the recall in Owings Mills, Maryland. Ms. Perillo would not have

purchased the vehicle or she would have paid less for it had she known about its defect.

         LaTonia Tucker—Delaware

         83.      Plaintiff and proposed Delta Ignition Switch Defect Class Representative LaTonia

Tucker is a resident and citizen of Charlotte, North Carolina. Ms. Tucker purchased a used 2006

Chevrolet HHR with the Delta Ignition Switch Defect for $8,000 from MJ Stone Auto Sales in

Dover, Delaware in October 2013. She purchased the vehicle with a six-month warranty. Ms.

Tucker purchased the HHR because she drove long distances on the highway to and from work

and wanted a safe vehicle. Ms. Tucker chose this vehicle, in part, because the vehicle’s safety

and reliability was important to her. Ms. Tucker experienced a stall while driving her vehicle on

a highway in March 2013; she was able to stop the car at the side of the road. It took several

tries before she was able to restart the vehicle. After this event, she took her car to a mechanic,

but the mechanic was unable to determine the cause of the stall. Despite the mechanic’s inability

to ascertain the cause of the stall, Ms. Tucker paid $69 for the attempted diagnosis. After she




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learned of the recall, Ms. Tucker was given a loaner vehicle. Because the loaner was less fuel

efficient than her HHR, Ms. Tucker was spending more in gas than she was when using her

HHR. Ultimately, the ignition switch in Ms. Tucker’s HHR was replaced in or around April

2014. Ms. Tucker felt unsafe driving her vehicle and allowing her grandchildren to ride in it, so

she sold the car in February 2015. Ms. Tucker would not have purchased the vehicle or she

would have paid less for it had she known about its defect.

         Joni Ferden-Precht—Florida

         84.      Plaintiff and proposed side Airbag Defect Class Representative Joni Ferden-

Precht is a resident and citizen of Miami Lakes, Florida. Ms. Ferden-Precht purchased a new

2011 Chevrolet Traverse (subject to the Side Airbag recall) for $33,262.17 from Miami Lakes

Auto Mall in Miami Lakes, Florida on May 27, 2011. The vehicle was covered by the

manufacturer’s standard warranty when she purchased it. In deciding to buy this vehicle, Ms.

Ferden-Precht consulted Chevrolet’s advertising materials for the Traverse and also conducted

many Internet searches on the vehicle model. She also saw TV advertisements and Miami Lakes

Auto Mall newspaper advertisements about the Traverse. These advertisements and

representations mentioned the safety and reliability of the Traverse, and influenced her decision

to purchase the vehicle. Ms. Ferden-Precht experienced an airbag service light illuminating

intermittently in her vehicle on multiple occasions before having her vehicle repaired under an

airbag recall on May 9, 2014. She was concerned for her safety, so she stopped driving her

vehicle during these times, and because she did not receive a loaner vehicle, she was forced to

car pool or find alternative means of transportation. Ms. Ferden-Precht would not have

purchased the vehicle or she would have paid less for it had she known about its defect.

         Debra Forbes—Florida




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         85.      Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class

Representative Debra Forbes is a resident and citizen of Geneva, Alabama. Ms. Forbes

purchased a new 2007 Chevrolet Cobalt with the Delta Ignition Switch Defect for $16,000

from Preston Hood Chevrolet in Fort Walton Beach, Florida in 2007. Her vehicle was covered

by a seven-year warranty that expired at the end of 2014. When purchasing the vehicle, Ms.

Forbes told the salesman that she needed a safe and dependable vehicle that would last through

her retirement. The salesman assured her that the Chevy Cobalt was safe and dependable and

would last a very long time. Because safety and reliability were important to Ms. Forbes, and

the salesman repeatedly assured her that the vehicle was safe and dependable, she purchased a

new 2007 Chevy Cobalt and paid cash for the vehicle. Ms. Forbes does remember seeing a

GM advertisement on television at the time she purchased the 2007 Chevy Cobalt but she does

not remember any details about the advertisement. On an almost daily basis, Ms. Forbes

would have to play with the ignition switch to remove the key from the ignition. Additionally,

Ms. Forbes’ steering locked up on three or four occasions, in May or June 2010, fall 2010, and

spring 2011, all on normal road conditions and while she was driving approximately 25-30

miles per hour. Each time she had to slam on her brakes and manipulate the ignition switch to

unlock the steering. Ms. Forbes first learned about the ignition switch recall while watching

the news in early April 2014. She later received the recall notice from GM, in approximately

mid-May 2014. Although the ignition switch on Ms. Forbes’ car was repaired on July 17,

2014, the ignition locked up on her again and she had to have it replaced for a second time

several months later. Other repairs, such as the airbag, remain incomplete. Ms. Forbes

reported that she believed there was a problem with the driver’s side airbag but she was told




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there was no recall and the repair technician did not think there was an issue with it. Ms.

Forbes made more than five trips to the dealership for the ignition switch, and other repairs to

the Cobalt. Ms. Forbes has spent both time and money traveling back and forth to the

dealership for repairs. At the time of the recall, the book value of Ms. Forbes’ vehicle was

only approximately $6,000. Ms. Forbes still has the vehicle but has purchased a second

vehicle because she is afraid to drive the Cobalt. Being retired, Ms. Forbes has a limited

income and purchasing a second vehicle was a financial hardship, but she felt the purchase was

justified to ensure her safety when driving. Ms. Forbes would not have driven the vehicle or

would have sold it if she had known about its defect. She would not have purchased the vehicle

or she would have paid less for it had she known about the defect in the vehicle.

         Kim Genovese—Florida

         86.      Plaintiff and proposed Delta Ignition Switch Defect Class and Power Steering

Defect Class Representative Kim Genovese is a resident and citizen of Lake Worth, Florida.

Ms. Genovese purchased a used 2005 Saturn Ion with the Delta Ignition Switch Defect (and

subject to the Power Steering recall) for $5,500 from CarMax in Boynton Beach, Florida in

August 2009. She also purchased a 90-day warranty on the vehicle. Ms. Genovese purchased

the vehicle because she believed that it was a reliable and safe vehicle with a good engine, and

because it was a small, fuel-efficient vehicle. Ms. Genovese experienced over twenty shutdown

incidents with her vehicle. On many of these occasions, her vehicle would stop in the middle of

the road and sometimes in the middle of an intersection. To restart her car she would have to

turn the key from the off position back to the on position. She also experienced times when the

vehicle would not start at all. After hearing about the Delta Ignition Switch recall in March

2014, Ms. Genovese stopped driving her vehicle and purchased another vehicle that she hopes is




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safer. On June 5, 2014, Ms. Genovese’s vehicle was repaired under the recall. Ms. Genovese is

a school teacher, and she was late to work on various occasions because of the ignition problems

with the car. Ms. Genovese would not have purchased the vehicle or she would have paid less

for it had she known about its defect.

         Rhonda Haskins—Florida

         87.      Plaintiff and proposed Delta Ignition Switch Defect Class Representative Rhonda

Haskins is a resident and citizen of Ocala, Florida. Ms. Haskins purchased a used 2007

Chevrolet Cobalt with the Delta Ignition Switch Defect for $8,473 from Plaza Lincoln’s pop-up

shop in a Walmart parking lot in Ocala, Florida on November 15, 2013. The vehicle was under a

30-day or 1,000-mile warranty when she purchased it. Ms. Haskins chose the Cobalt in part

because it looked like a good car and the car salesman was helpful in describing the Cobalt’s

safety and reliability to Ms. Haskins. Approximately two or three times, Ms. Haskins’ vehicle

shut off while she was sitting idle in her Cobalt and her knee touched the ignition switch or key

area. Ms. Haskins did not learn about the ignition switch defect until March 2014. She had her

vehicle repaired under the recall on June 3, 2014. It took the dealership almost three months to

repair her car, and she drove a loaner vehicle for about a month. Ms. Haskins is still concerned

about her ongoing safety in driving the vehicle because of the defect, but she cannot afford to

buy another vehicle. Ms. Haskins would not have purchased the vehicle or she would have paid

less for it had she known about the defect in the vehicle.

         Maria E. Santiago—Florida

         88.      Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Bankruptcy Class, and Power

Steering Defect Class Representative Maria Santiago is a resident and citizen of Cutler Bay,




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Florida. Ms. Santiago purchased a new 2007 Saturn Ion coupe with the Delta Ignition Switch

Defect (and subject to the Power Steering recall) for about $20,000 at a Saturn dealership at

Dadeland South in Miami, Florida in late 2006. Ms. Santiago also purchased an extended

warranty for the vehicle. Sometime in 2009, as Ms. Santiago was leaving a friend’s house and

driving onto an expressway ramp, her Ion suddenly turned off. Because she had just entered the

expressway ramp and was driving only 25 miles per hour, she was able to pull her vehicle over

to the side of the ramp. She noticed the ignition key was in the off position. Ms. Santiago was

able to restart the car and continue driving. Ms. Santiago would not have driven the vehicle or

would have sold it if she had known about its defect. She would not have purchased the vehicle

or she would have paid less for it had she known about its defect.

         Harvey Sobelman—Florida

         89.      Plaintiff and proposed Knee-to-Key Camaro Defect Class Representative Harvey

Sobelman is a resident and citizen of Lake Worth, Florida. Mr. Sobelman purchased a new 2014

Chevrolet Camaro (subject to the Knee-to-Key Ignition Switch recall) for $36,200 from

Schumacher Chevrolet in Lake Park, Florida on October 28, 2013. The vehicle was covered by

the standard factory warranty. Mr. Sobelman purchased this vehicle, in part, because of

nostalgia and in part because he had researched the car’s resale performance and it historically

retained 53% of its purchase price. He received a recall notice toward the end of 2015 and again

in 2016 for the ignition switch defect. He did not have it repaired under the recall because the

dealer told him he would lose the key fob and have conventional key instead. On April 2, 2016,

Mr. Sobelman traded in his car to Jaguar in Palm Beach. Mr. Sobelman’s car lost significant

value over the twenty-nine months he owned the car. The value did not pay out because of the




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defects. Mr. Sobelman would not have purchased the vehicle or he would have paid less for it

had he known about its defect.

         Verlena Walker—Florida15

         90.      Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Verlena Walker is a resident and citizen of Detroit, Michigan. Ms. Walker purchased a new

2006 Chevrolet Impala (subject to the Low Torque Ignition Switch recall) for $30,000 from

Coggin Honda of Orlando, Florida on October 31, 2006. The vehicle was covered by the

standard factory warranty. Ms. Walker chose this vehicle, in part, because the vehicle’s safety

and reliability was important to her. She recalls the salesperson saying this car was highly-

favored, very reliable, and safe. Ms. Walker’s vehicle has shut off on her while she was driving.

She never received a recall notice for the ignition switch problem, so it has not been repaired

under the recall. She has also had problems with her vehicle’s internal computer draining her

battery until the technician discovered the actual computer was malfunctioning. Because of this

issue, she has missed work and lost wages. It has also disturbed any peace of mind with regard

to her car. The James Martin Chevrolet dealership told Ms. Walker the defect would decrease

the value of her vehicle. Ms. Walker would not have driven the vehicle or would have sold it if

she had known about its defect. She would not have purchased the vehicle or she would have

paid less for it had she known about its defect.

         Neysa Williams—Florida

         91.      Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class


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      The Court has dismissed this plaintiff’s claims. They are included solely for the purpose
of preserving their claims on appeal.



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Representative Neysa Williams is a resident and citizen of Miami, Florida. Ms. Williams

purchased a used 2007 Chevrolet Cobalt with the Delta Ignition Switch Defect for about $9,500

from a private seller in Florida on July 26, 2008. The car was not covered by warranty when she

purchased it. Safety and reliability were in part important to her when purchasing this vehicle.

Ms. Williams has experienced problems with her vehicle’s power steering. She doesn’t feel safe

driving the car—it feels like a “death trap.” Sometime in 2014, she received the ignition switch

recall and took it to her local Chevrolet dealership for the repair work. The dealership also gave

her a new key. The repair work took about 3 hours to complete. Ms. Williams would not have

driven the vehicle or would have sold it if she had known about its defect. She would not have

purchased the vehicle or she would have paid less for it had she known about its defect.

         L. Rochelle Bankhead—Georgia

         92.      Plaintiff and proposed Side Airbag Defect Class Representative L. Rochelle

Bankhead is a resident and citizen of Decatur, Georgia. Ms. Bankhead purchased a used 2008

Buick Enclave (subject to the Side Airbag recall) for $28,414.68 from CarMax in Norcross,

Georgia on February 24, 2012. She purchased an extended warranty, for an additional 36,000

miles/3 years, as the factory warranted had expired. She chose this vehicle, in part, because its

safety and reliability were important to her. She also recalls the salesman pointing out its

multiple airbags during the test drive, even in the rear for passengers in the second and third row

seating, which was important as she had her toddler son sitting in the middle seating. Ms.

Bankhead learned about the airbag defect while researching recall notices on her car due to water

damage to the vehicle’s electrical system from a leaky sunroof and moonroof. However, she was

never informed by New GM of any recall notice for the airbags. New GM actually claimed there

were no open recalls at the time she contacted them in July 2014. In August 2015, she received




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an active safety recall notice for the gas struts in the liftgate. She has not heard anything since

that time in regards to the airbag recall. Ms. Bankhead would not have purchased the vehicle or

she would have paid less for it had she known about its defect.

         Carla Cartwright—Georgia

         93.      Plaintiff and proposed Low Torque Ignition Switch Defect Class and Power

Steering Defect Class Representative Carla Cartwright is a resident and citizen of Jasper,

Georgia. Ms. Cartwright purchased a used 2004 Chevrolet Malibu LT (subject to the Low

Torque Ignition Switch and Power Steering recalls) for $6,000 from Bill Holt Chevrolet in

Canton, Georgia in 2011. The vehicle was not covered by a warranty. Ms. Cartwright chose this

vehicle because she grew up being told and believing that Chevrolets were trustworthy cars. She

has experienced problems with the power steering in her car. Ms. Cartwright only found out

about the defects when she received the recall notices starting in about May 2014. She believes

she received notices for three different recalls. She took her car in for repair under the recall, but

her car still loses power steering on occasion. Although New GM provided her with a rental

vehicle while her car was waiting for parts and repair, it turned into an inconvenient debacle

when the first rental car was sold while she was using it and she had to unexpectedly and quickly

return it. She was caring for sick grandchildren at the time and could not return it that same day

so the rental car threatened to have her arrested. She was very upset and called the dealership

and they sent someone to come pick up the vehicle and swap it out for a new rental. The second

rental vehicle had a recall on it and had to be returned to Canton, Georgia by Ms. Cartwright,

which was inconvenient and time-consuming and cost her fuel and money. By then, she was fed

up with the rental car situation and insisted they provide her one from the local Jasper dealership,

to which they finally agreed. Even though she no longer feels safe driving the car, she does not




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have the money to buy a new one. Ms. Cartwright would not have purchased the vehicle or she

would have paid less for it had she known about its defect.

         Dale Dowdy—Georgia

         94.      Plaintiff and proposed Power Steering Defect Class Representative Dale Dowdy

is a resident and citizen of Bowdon, Georgia. Mr. Dowdy purchased a used 2009 Saturn Aura

(subject to the Power Steering recall) for about $15,000 from Drivetime in Union City, Georgia

in July 2012. The car was covered under the standard manufacturer’s warranty. The car’s safety

rating and the overall reliability rating was a quick selling point for him. Mr. Dowdy heard that

the Auras were great cars and very reliable and he was attracted to the OnStar feature. He also

went online and watched advertisement videos showing the car as reliable and riding smoothly

on the road. The power steering on Mr. Dowdy’s car has failed on at least seven separate

occasions. In all instances he would have to pull the vehicle to safety and start the car again.

About four times, his vehicle also completely shut off while driving down the road and he would

have to let it drift to a stop because he couldn’t steer or brake. Mr. Dowdy was scared to drive

the car. Mr. Dowdy never received the power steering recall. He found out about it in August

2016 after doing some online research. After dealing with vehicle issues and being told that it

would cost him thousands of dollars in repairs, Mr. Dowdy let Drivetime repossess his vehicle

November 2015. He wasn’t comfortable selling it to anyone for fear that something would

happen to them. Mr. Dowdy would not have purchased the vehicle or he would have paid less

for it had he known about its defect.

         Jennifer Dunn—Georgia

         95.      Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class




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Representative Jennifer Dunn is a resident and citizen of Clermont, Georgia. Ms. Dunn

purchased a new 2006 Chevrolet Cobalt with the Delta Ignition Switch Defect for $18,499.52

from Hardy’s Chevrolet in Gainesville, Georgia in 2006. Her vehicle was covered under the

manufacturer’s warranty when she purchased it. Ms. Dunn specifically asked the dealership

salesman for the most dependable, safest, and most affordable car on the lot. He introduced her

to the Cobalt and told her it had the highest safety rating. After buying the car, Ms. Dunn would

not be able to get the key out of the ignition at times. Ms. Dunn did not learn about the ignition

switch defect until March 2014. She was very afraid about the defect and her safety because she

drives a long distance to work on a daily basis. She had the recall repair work completed in May

2014. It took about three months to receive the parts and complete the repair. Ms. Dunn would

not have driven the vehicle or would have sold it if she had known about its defect. She would

not have purchased the vehicle or she would have paid less for it had she known about the defect

in the vehicle.

         Towana Ferguson—Georgia

         96.      Plaintiff and proposed Side Airbag Defect Class Representative Towana Ferguson

is a resident and citizen of Grayson, Georgia. Ms. Ferguson purchased a used 2008 Buick

Enclave (subject to the Side Airbag recall) for $14,000 from Quick Cars Auto in Conyers,

Georgia on May 7, 2013. She purchased an extended warranty for the car. She chose this

vehicle, in part, because its safety and reliability was important to her. Since owning the vehicle,

Ms. Ferguson has received about three recalls, including the airbag wiring harness recall, and she

had her vehicle fixed under these recalls in May 2013, April 2014, and August 2014. A few

times while driving on back roads in Georgia, the Enclave has shut off and the gears would not

shift and make a clicking noise. She would stop wherever she was, even in traffic, and she




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would have to restart the car. She would drive it straight home out of fear of driving the vehicle.

The engine light would go on and off intermittently. She would not have purchased the Enclave

knowing what she knows now. The possibility of being stranded with her daughters because of

the car scares her. She must drive her car though because she relies on it for doctor

appointments, volunteering, and taking her children to school, and there is no public

transportation where she lives.

         Jenny Mathis—Georgia

         97.      Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Jenny Mathis is a resident and citizen of Thomaston, Georgia. Ms. Mathis purchased a used

2000 Chevrolet Impala (subject to the Low Torque Ignition Switch recall) for $5,000 from a

private seller in Georgia on August 3, 2010. There was no warranty on the car when she

purchased it. Ms. Mathis purchased the Impala, in part, because safety and reliability were

important to her. She is a single mother and her son is the most important thing to her. Ms.

Mathis’s vehicle has shut down on her numerous times while driving. She also has problems

with getting the key to turn in the ignition. On September 2014, she received the recall for the

ignition switch. In March 2015, she had her Impala repaired under the recall at Moore Buick

Chevrolet in Barnesville, GA. She was inconvenienced because she needed assistance getting

her vehicle to the dealership for the repair work. An acquaintance drove her car to the dealership

and waited for the work to be done. Ms. Mathis was unable to drive due to a recent surgery. On

September 7, 2016, Ms. Mathis sold her Impala to a private seller for $50—well below fair

market value. However, Ms. Mathis was scared to drive the car and didn’t feel safe driving with

her son. Ms. Mathis would not have purchased the vehicle had she known about its defect.

         Billy Mosley—Georgia




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         98.      Plaintiff and proposed Knee-to-Key Camaro Defect Class Representative Billy

Mosley is a resident and citizen of Cartersville, Georgia. Mr. Mosley purchased a new 2013

Chevrolet Camaro (subject to the Knee-to-Key Ignition Switch recall) for $31,000 from Days

Chevrolet in Actworth, Georgia on August 16, 2012. The car was covered under the standard

manufacturer’s warranty, and he also bought an extended warranty. Mr. Mosley chose the

Camaro in part because he knew it to be a safe and reliable vehicle. Mr. Mosely recalls seeing

magazine advertisements regarding JD Power ratings and the Camaro being safe and reliable.

Mr. Mosley previously owned two other Camaros and trusted the brand. In addition, the

Chevrolet salesman told him the Camaro got good gas mileage and they had no complaints from

other customers and it was one of the top selling vehicles. After a few scary ignition incidents in

the car, Mr. Mosley received a recall notice in 2014 and had the key switched out with a cheap

key under the recall at Days Chevrolet. He had to keep calling the dealership and waited months

for the appointment to get the fix. It took the dealership about a day for them to repair the car.

He was scared to drive it and cut back on driving it after the recall repair. He tried trading it at a

local Nissan dealership but they were not interested because of the recall. Mr. Mosley would not

have purchased the vehicle or he would have paid less for it had he known about its defect.

         Clifford Turner—Georgia

         99.      Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Power Steering Defect Class, and Delta Ignition Switch

Defect Bankruptcy Class Representative Clifford Turner is a resident and citizen of Decatur,

Georgia. Mr. Turner purchased a used 2004 Saturn Ion with the Delta Ignition Switch Defect

(and subject to the Power Steering recall) for $15,000 from Saturn of Marietta in Marietta,

Georgia in September 2005. Mr. Turner purchased a three-year warranty on his vehicle. Mr.




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Turner chose the vehicle because the vehicle’s safety and reliability was important to him.

Before purchasing his Ion, Mr. Turner recalls reading an article touting the safety and reliability

of the Saturn Ion. In particular, the article praised the car as one of the safest to drive. Mr.

Turner’s vehicle periodically shut off while driving, usually when on the interstate. His key

would also occasionally fall out of the ignition while driving. Mr. Turner stopped driving his

vehicle as soon as he learned about the safety recall in April 2014. That same month he brought

his vehicle to the dealership to have his ignition switch replaced, but the repair did not occur

until late June or early July 2014. During that time, Mr. Turner incurred considerable fuel costs

because the loaner vehicle provided consumed more fuel than his Saturn. He also missed a few

hours of work due to picking up the loaner car. In August 2014, Mr. Turner traded in his Saturn

Ion. He believes he received less in trade-in value as a result of the New GM recalls, but he

wanted to get rid of the Saturn. When he traded in his vehicle, the dealership informed him that

it would have to sell the Saturn at wholesale because of the safety recalls. Mr. Turner would not

have driven the vehicle or would have sold it if he had known about its defect. He would not

have purchased the vehicle or he would have paid less for it had he known about its defect.

         Barry Wilborn—Georgia

         100.     Plaintiff and proposed Delta Ignition Switch Defect Class Representative Barry

Wilborn is a resident and citizen of Milner, Georgia. Mr. Wilborn purchased a used 2007

Chevrolet Cobalt with the Delta Ignition Switch Defect for $4,000 in a private sale in Canton,

Georgia in January 2013. The car was not under warranty at the time of purchase. Mr. Wilborn

purchased the vehicle because he believed New GM’s representations that the vehicle was safe

and reliable, and also based on its mileage rating. Within months of purchasing the vehicle, Mr.

Wilborn experienced multiple shutdowns while driving. In one particular shutdown, Mr.




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Wilborn was driving 60 miles per hour on the highway. He veered to the right to avoid hitting

another vehicle, went down an embankment, and had his vehicle towed home. Following this

shutdown, he substantially reduced his use of the vehicle because he thought it was unsafe. Mr.

Wilborn stopped driving the vehicle entirely in January 2014 after experiencing several issues

with the car. He learned of the recall in February 2014, and he did not drive the vehicle again

until the ignition switch could be replaced. The vehicle was repaired under the recall after sitting

at the dealership for over a month. Mr. Wilborn would not have purchased the vehicle or he

would have paid less for it had he known about its defect.

         Dennis Walther—Hawaii

         101.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Successor Liability Subclass, Power Steering Defect Class, and Delta Ignition Switch

Defect Bankruptcy Class Representative Dennis Walther is a resident and citizen of Sarasota,

Florida. Mr. Walther purchased a new 2006 Saturn Ion with the Delta Ignition Switch Defect

(and subject to the Power Steering recall) for approximately $16,400 from Saturn of Honolulu in

Hawaii in 2006. His car had a three-year warranty when he purchased it. At the time he

purchased the Saturn Ion, safety and reliability were the major considerations when deciding to

purchase the vehicle. Mr. Walther purchased the Saturn Ion because he trusted the reputation of

the manufacturer related to safety and reliability of its vehicles. The vehicle’s ignition switch

was replaced under the recall in approximately August or September 2014. Mr. Walther missed

eight hours of time from work related to getting the ignition switch defect repaired. Mr. Walther

would not have driven the vehicle or would have sold it if he had known about its defect. He




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would not have purchased the vehicle or he would have paid less for it had he known about its

defect.

          Patricia Backus—Idaho

          102.    Plaintiff and proposed Delta Ignition Switch Defect Class Representative Patricia

Backus is a resident and citizen of Bigfork, Montana. Ms. Backus purchased a used 2006

Chevrolet HHR with the Delta Ignition Switch Defect for $10,900 from Dave Smith Motors in

Kellogg, Idaho in 2012. Ms. Backus purchased the HHR because she believed it was reliable

and safe. She also purchased an extended warranty but cancelled it after she began experiencing

vehicle shutdowns and was told that the shutdowns were not covered. Ms. Backus purchased the

HHR because she believed it was reliable and safe. Within six months of purchasing the vehicle,

Ms. Backus experienced a stall while approaching a traffic light. She experienced three

additional shutdowns while driving. During these incidents, she had no control of the steering,

and, on at least one of the occasions, her steering locked. It took Ms. Backus several attempts to

turn her vehicle back on. Ms. Backus had her ignition switch replaced in August 2014. Since

the replacement, the radio in her vehicle turns off. Ms. Backus would not have purchased the

vehicle or she would have paid less for it had she known about its defect.

          Susan Benner—Illinois

          103.    Plaintiff and proposed Delta Ignition Switch Defect Class Representative Susan

Benner is a resident and citizen of Wheaton, Illinois. Ms. Benner purchased a Certified Pre-

Owned 2007 Pontiac G5 with the Delta Ignition Switch Defect for $12,500 from Bill Kay GMC

in Downers Grove, Illinois on August 22, 2011. As a Certified Pre-Owned feature, the car came

with a 100,000 mile powertrain warranty. Ms. Benner chose this vehicle, in part, because its

reliability and safety were important to her. She liked the reliability of the Certified Pre-Owned




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distinction and the car’s fuel economy as well. The car’s ignition was difficult to turn on and

after the recall repair the steering wheel began vibrating. The dealership never fixed her car’s

steering wheel because the dealership said it was no longer under warranty so she took it to a

local mechanic. She received a recall notice for the ignition switch recall and she had to keep

calling the dealership (Bill Kay GMC), which said the parts were backordered. Finally, on

August 6, 2014, her car was repaired under the recall. However, when they replaced the ignition

switch, they only gave her two keys and kept her old key, which could have still been used in the

doors and trunk of the car. She went to the hardware store to purchase a spare key and it cost

over $100 so she did not buy the spare. Ms. Benner would not have driven the vehicle or would

have sold it if she had known about its defect. She would not have purchased the vehicle or

would have paid less for it had she known about the defect in the vehicle.

         Debra Cole—Illinois

         104.     Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Debra Cole is a resident and citizen of Belleville, Illinois. Ms. Cole purchased a used 2004

Chevrolet Impala (subject to the Low Torque Ignition Switch recall) for $10,000 from J.D.

Byrider in Belleville, Illinois in August 2009. The car had a limited 30-day warranty. Ms. Cole

chose this vehicle, in part, because the vehicle’s safety and reliability was important to her. She

also chose the vehicle because she liked its appearance. Ms. Cole’s vehicle would sometimes

not start despite turning the ignition key. This made her late for work numerous times, and she

would have to arrange a ride to and from work. She also had to borrow her mother’s car at

times. Ms. Cole often took her car into J.D. Byrider for the ignition and other problems, which

required a diagnostic fee each time despite the negative results. She received a recall notice for

the ignition switch in 2014. The car was repaired under the recall at Jack Schmitt Chevrolet in




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O’Fallon, Illinois in 2014. Ms. Cole sold the vehicle in April 2014 because she was tired of

dealing with the ignition problem, as well as electrical, fuel pump, catalytic converter, and

speedometer problems. Ms. Cole would not have purchased the vehicle or she would have paid

less for it had she known about its defect.

         Charlene Kapraun—Illinois

         105.     Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Charlene Kapraun is a resident and citizen of Chico, California. Ms. Kapraun purchased a used

2008 Chevrolet Impala (subject to the Low Torque Ignition Switch recall) for $8,600 from a

private seller in Illinois on May 27, 2011. Ms. Kapraun chose her vehicle, in part, because its

safety and reliability were important to her. She received a recall notice for the ignition switch

defect and had her vehicle repaired under the recall on July 6, 2015. It was inconvenient for her

to find the time to schedule and bring her car in for this repair. Ms. Kapraun would not have

purchased the vehicle or she would have paid less for it had she known about its defect.

         Keith Nathan—Illinois16

         106.     Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Keith Nathan is a resident and citizen of Vernon Hills, Illinois. Mr. Nathan purchased a new

2002 Chevrolet Malibu (subject to the Low Torque Ignition Switch recall) for $23,000 from

Raymond Chevrolet in Antioch, Illinois on November 14, 2001. The vehicle was covered by a

standard manufacturer’s warranty, and he also purchased an extended warranty. Mr. Nathan

chose the vehicle, in part, because of the vehicle’s safety and reliability. Those things were

important to him when he made his decision. Mr. Nathan has purchased Chevrolets his whole


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      The Court has dismissed this plaintiff’s claims. They are included solely for the purpose
of preserving their claims on appeal.



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life, and he trusted the brand. The ratings for his car were excellent compared to other brands

and ranked higher in safety, fuel economy, and reliability. Just after Mr. Nathan’s warranty

expired in 2007, his car went dead in the road while he was at a stop light. Mr. Nathan had it

towed to Raymond Chevrolet, which said it was not the ignition switch but a pass lock sensor

problem that was a part of the steering column. This cost him about $900 plus labor costs out-

of-pocket to fix. Mr. Nathan then learned from another dealer that the pass lock sensor is

actually a part of the ignition switch. So he called New GM’s corporate office and fought with

them for reimbursement. They will not agree to do so. Mr. Nathan received the recall notice for

the ignition switch defect sometime in August 2014, but he has yet to get it repaired under the

recall because he no longer trusts New GM. Mr. Nathan contacted his local congressman’s

office because he was very upset about New GM’s conduct and refusal to reimburse him. Mr.

Nathan checked Kelley Blue Book and Vehix in late spring 2014 and his car’s value had dropped

by $1500 after announcement of the ignition switch recall. Mr. Nathan would not have driven

the vehicle or would have sold it if he had known about its defect. He would not have purchased

the vehicle had he known about its defect.

         Patrick Painter—Illinois

         107.     Plaintiff and proposed Delta Ignition Switch Defect Class and Power Steering

Defect Class Representative Patrick Painter is a resident and citizen of Monee, Illinois.

Mr. Painter purchased a new 2010 Chevrolet Cobalt SS (subject to the Delta Ignition Switch and

Power Steering recalls) for about $21,000 from Bill Jacobs Chevrolet in Joliet, Illinois in April

2010. His car was under warranty at the time he purchased it. Mr. Painter chose this vehicle, in

part, because the vehicle’s safety and reliability was important to him. He does not recall any

specific GM advertisements, but he generally understood GM vehicles were safe and reliable and




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would not otherwise have purchased the vehicle without that reputation. Mr. Painter’s power

steering failed in April 2011 and it was repaired under warranty. In October 2011, the ignition

cylinder was replaced because the vehicle would not turn off and the key could not be removed

from the ignition. Mr. Painter learned about the recalls in the news in 2014 when it became

public. He believes the value of his vehicle has diminished because of the defects. Mr. Painter

would not have purchased the vehicle or he would have paid less for it had he known about its

defects.

         Cliff Redmon—Illinois

         108.     Plaintiff and proposed Knee-to-Key Camaro Defect Class Representative Cliff

Redmon is a resident and citizen of Saint Joseph, Illinois. Mr. Redmon purchased a new 2010

Chevrolet Camaro (subject to the Knee-to-Key Ignition Switch recall) for about $24,000 (after a

down payment and trade in) from Vermilion Chevrolet in Tilton, Illinois in spring 2010. The

vehicle was covered by the standard factory warranty, and he also purchased an extended

warranty. Mr. Redmon chose this vehicle, in part, because its safety and reliability were

important to him. He read about this vehicle’s features in Car & Driver and a few other

magazines and in the dealership showroom. He also recalls the salesman telling him the Camaro

was safer than the Ford Mustang. Twice, Mr. Redmon’s vehicle shut down while he was

backing out of his driveway. He did not receive a recall notice. Instead, he went in for an oil

change and the dealership said they needed to repair the ignition. After this, the car’s remote fob

stopped working properly. When he traded his vehicle in January 2015, Mr. Redmon got a very

low value because of the recall despite his car being kept in good condition. Mr. Redmon would

not have purchased the vehicle or he would have paid less for it had he known about its defect.

         Lane Blackwell, Jr.—Indiana




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         109.     Plaintiff and proposed Power Steering Defect Class Representative Lane

Blackwell is a resident and citizen of Amboy, Indiana. Mr. Blackwell purchased a used 2009

Saturn Aura (subject to the Power Steering recall) for $8,500 from LB Auto Sales in Amboy,

Indiana on June 14, 2012. The car was not covered by a warranty. Mr. Blackwell and his family

previously owned a Malibu and were happy with its reliability, safety features, and comfort, so

they trusted their experience in choosing the Aura. Mr. Blackwell has not received a power

steering recall notice. He still owns the car, but would like to sell it because of reliability and

safety concerns with the car. Mr. Blackwell would not have purchased the vehicle or he would

have paid less for it had he known about its defect.

         Martha Cesco—Indiana

         110.     Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Martha Cesco is a resident and citizen of Syracuse, Indiana. Ms. Cesco purchased a used 2005

Buick Lacrosse (subject to the Low Torque Ignition Switch recall) for about $14,000 from her

aunt’s estate in Anderson, Indiana sometime around February 2011. The car was not covered

under any warranty at the time she purchased it. Ms. Cesco purchased the vehicle, in part,

because she believed it to be safe and reliable and these things were important to her. She

received the ignition switch recall she believes sometime around summer 2014. On December

31, 2014, when she was due for an oil change, she had the car repaired under the ignition switch

recall and remembers the dealership telling her to not have anything heavy on her keyring. Ms.

Cesco had to travel over 20 miles to Nappanee, Indiana to have the recall repair work done at

McCormick Chevrolet. Ms. Cesco would not have driven the vehicle or would have sold it if she

had known about its defect. She would not have purchased the vehicle had she known about the

defect in the vehicle.




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         Heather Holleman—Indiana

         111.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class

Representative Heather Holleman is a resident and citizen of South Bend, Indiana. Ms.

Holleman purchased a new 2007 Pontiac G5 with the Delta Ignition Switch Defect for $17,500

from Don Meadows, a GM dealer in South Bend, Indiana, in May 2007. Ms. Holleman’s

Pontiac G5 came with a factory 3-year/36,000 mile bumper-to-bumper warranty and 5-

year/100,000 mile powertrain warranty. Ms. Holleman chose the Pontiac G5 in part because of

its safety features, such as side airbags, and its reliability. Ms. Holleman does not recall at this

time seeing any GM ads about her vehicle. However, she recalls the salesperson stressing the

safety features of the vehicle prior to her purchase because Ms. Holleman was concerned about

the size of the vehicle. Ms. Holleman experienced at least one issue with the ignition of her

Pontiac G5. She had an issue fully powering on her vehicle. When she was finally able to do so,

she was unable to turn it off. When she contacted a GM dealership to seek assistance, she was

told that if she turned her steering wheel a particular way and jiggled her key, she would be able

to power off her vehicle. Ms. Holleman first learned of the Delta Ignition Switch Defect from

her father, but she not receive a recall notice until approximately three weeks later. Due to a

shortage of parts, Ms. Holleman had to wait a few months for GM to repair her vehicle. She was

forced to miss one day of work in order to get her vehicle repaired under the recall. Ms.

Holleman sold her vehicle in or around November 2014. Ms. Holleman would not have driven

the vehicle or would have sold it if she had known about its defect. She would not have




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purchased the vehicle or she would have paid less for it had she known about the defect in the

vehicle.

          Valerie Mortz Rogers—Indiana

          112.    Plaintiff and proposed Knee-to-Key Camaro Defect Class and Knee-to-Key

Camaro Defect Magnuson-Moss and Implied Warranty Subclass Representative Valerie Mortz

Rogers is a resident and citizen of Kokomo, Indiana. Ms. Rogers purchased a new 2013

Chevrolet Camaro (subject to the Knee-to-Key Ignition Switch recall) for about $34,998.11 from

the Jaggers dealership in Lebanon, Indiana on January 29, 2013. The vehicle was covered by a

standard factory warranty. She chose the Camaro because she had previously owned a Camaro

and she believed the Chevrolet brand to be safe and reliable. She trusted the Chevrolet brand.

On about four or five occasions, Ms. Rogers would be driving and the dash lights would flash

and the vehicle would stall. She would have to pull off the road restart the car. She was scared

of driving the car. Ms. Rogers remembers receiving the ignition switch recall and also seeing a

television notice about it. In June of 2015, she traded in the Camaro for a newer car. Ms. Rogers

would not have purchased the vehicle or she would have paid less for it had she known about its

defect.

          Cheryl Reed—Indiana17

          113.    Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Cheryl Reed is a resident and citizen of South Bend, Indiana. Ms. Reed purchased a used 2004

Pontiac Grand Am (subject to the Low Torque Ignition Switch recall) for $16,000 from the Gates

dealership in South Bend, Indiana on May 23, 2005. The car was covered by a warranty at the


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      The Court has dismissed this plaintiff’s claims. They are included solely for the purpose
of preserving their claims on appeal.



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time of purchase. Ms. Reed chose this vehicle, in part, because its safety and reliability were

important to her. She received a recall notice for the ignition switch defect and had her vehicle

repaired under the recall in 2015. Ms. Reed would not have driven the vehicle or would have

sold it if she had known about its defect. She would not have purchased the vehicle or she would

have paid less for it had she known about the defect in the vehicle.

         Karen Rodman—Indiana

         114.     Plaintiff and proposed Delta Ignition Switch Defect Class and Power Steering

Defect Class Representative Karen Rodman is a resident and citizen of Kendallville, Indiana.

Ms. Rodman purchased a used 2004 Saturn Ion with the Delta Ignition Switch Defect (and

subject to the Power Steering recall) for $6,000 from Tom Kelley Buick GMC in Fort Wayne,

Indiana in June 2013. The vehicle did not have a warranty. Ms. Rodman purchased the vehicle

because she thought it was safe and reliable. After purchasing the vehicle, Ms. Rodman

experienced many stalling incidents. On one occasion, she was going to the doctor and stopped

at a red light. The car shut down and would not restart, and she had to have the vehicle towed.

Ms. Rodman had the ignition switch replaced pursuant to the recall in or around June 2014.

Because she was afraid to drive her vehicle, Ms. Rodman had to rent a car at her own expense to

drive to Indianapolis to see her doctor. After this time, she was able to obtain a rental until her

car was repaired. The car continued to stall after the replacement as it did before the repair. She

no longer owns the vehicle. Ms. Rodman would not have purchased the vehicle or she would

have paid less for it had she known about its defect.

         Heidi Wood—Indiana

         115.     Plaintiff and proposed Side Airbag Defect Class Representative Heidi Wood is a

resident and citizen of Beech Grove, Indiana. Ms. Wood purchased a used 2009 Chevrolet




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Traverse (subject to the Side Airbag recall) for about $24,000 from the Ray Skillman dealership

in Indianapolis, Indiana on December 31, 2013. The car was still covered under warranty at the

time she purchased it. Ms. Wood purchased the vehicle because it felt safe and safety was

important to her as a single mom with four children. She did extensive research and remembers

seeing various notices about the safety and reliability of the car. In addition, she recalls the GM

salesman stating that the vehicle had a high safety rating. Sometimes the key sticks in the

ignition of Ms. Wood’s vehicle and the engine will not turn over. In early 2014, Ms. Wood

received the airbag recall notice on her car right after she purchased it. She had the recall repair

work completed shortly after receiving the recall. She does not feel safe in the car since finding

out about the recall and would like to sell it but cannot afford to get another vehicle. She was

told that because of the recall that there was no way she could sell the Traverse at fair value. Ms.

Wood would not have purchased the vehicle had she known about its defect.

         Alphonso Wright—Indiana

         116.     Plaintiff and proposed Delta Ignition Switch Defect Class and Delta Ignition

Switch Defect Magnuson-Moss and Implied Warranty Subclass Representative Alphonso Wright

is a resident and citizen of Fishers, Indiana. Mr. Wright purchased a used 2005 Chevrolet Cobalt

with the Delta Ignition Switch Defect for $9,727.99 from Penske Chevrolet in Indianapolis,

Indiana on August 16, 2012. His vehicle was not covered by a written warranty at the time of

purchase. Mr. Wright chose this vehicle, in part, because the vehicle’s safety and reliability was

important to him. On two separate occasions, in January 2013 and April 2014, Mr. Wright’s

vehicle shut down while he was driving over train tracks. The steering locked on both occasions

as well. Mr. Wright was truly frightened by his two inadvertent shutdown experiences. After

Mr. Wright had to wait approximately one month for the parts to arrive, his vehicle was repaired




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under the recall on June 5, 2014. Mr. Wright would not have purchased the vehicle or he would

have paid less for it had he known about its defect.

         James Dooley—Iowa

         117.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class

Representative James Dooley is a resident and citizen of Waterloo, Iowa. Mr. Dooley

purchased a new 2006 Pontiac Solstice with the Delta Ignition Switch Defect for $28,000 from

Dan Deery Chevrolet in Cedar Falls, Iowa, in June 2006. Mr. Dooley purchased an extended

seven-year warranty on the vehicle. He chose the car because he always believed that GM made

reliable, safe cars. Mr. Dooley stopped driving his vehicle in March 2014 when he learned

about the safety recall because he was afraid for his safety. Mr. Dooley was unaware that New

GM was offering loaner vehicles to individuals afraid to drive their defective vehicles, and he

did not drive his Solstice again until August 2014 when the ignition switch was replaced.

Typically, he only drove the car in the summer, but was unable to because of the defect and

delayed repair. The car had sentimental value; he purchased the car with money he saved when

he stopped smoking. He was depressed when he could not drive it because it was his first new

car and represented the milestone in his life. Mr. Dooley would not have driven the vehicle or

would have sold it if he had known about its defect. He would not have purchased the vehicle or

he would have paid less for it had he known about its defect.

         Lyle Wirtles—Iowa18




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      The Court has dismissed this plaintiff’s claims. They are included solely for the purpose
of preserving their claims on appeal.



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         118.     Plaintiffs and proposed Low Torque Ignition Switch Defect Class Representative

Lyle Wirtles is a resident and citizen of Thompson, Iowa. Mr. Wirtles purchased a used 2009

Chevrolet Impala (subject to the Low Torque Ignition Switch recall) for about $18,000 from a

Chevrolet dealership in Buffalo Center, Iowa around March 2009. The car was covered under

the standard manufacturer’s warranty at the time he purchased it. Mr. Wirtles purchased the

vehicle, in part, because reliability and safety were important to him. He had a lot of trust in the

Chevrolet brand—he had previously owned Chevrolet products. The Impala was repaired under

the ignition switch recall at the Ollenburg Motors in Garner, Iowa. He had to miss some time

from work to get the repair work done. Mr. Wirtles would not have driven the vehicle or would

have sold it if he had known about its defect. He would not have purchased the vehicle or he

would have paid less for it had he known about its defect.

         Carl and Evelyn Bosch—Kansas

         119.     Plaintiff and proposed Side Airbag Defect Class and Side Airbag Defect

Magnuson-Moss and Implied Warranty Subclass Representative Carl and Evelyn Bosch are

residents and citizens of Effingham, Kansas. The Bosches purchased a new 2012 Buick Enclave

(subject to the Side Airbag recall) from Lewis Chevrolet in Atchison, Kansas in August 2013.

The vehicle was covered by the standard manufacturer’s warranty. The Boches never received a

recall notice for the airbag defect. The Bosches tried trading the vehicle in 2015, but Lewis

Chevrolet would not offer enough so they decided against trading it. The Bosches would not

have purchased the vehicle or they would have paid less for it had they known about its defect.

         Phyllis Hartzell—Kansas

         120.     Plaintiff and proposed Delta Ignition Switch Defect Class and Power Steering

Defect Class Representative Phyllis Hartzell is a resident and citizen of Burlingame, Kansas.




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Ms. Hartzell purchased a used 2006 Saturn Ion with the Delta Ignition Switch Defect (and

subject to the Power Steering recall) for $6,500 from a collision center in Burlingame, Kansas in

2011. The vehicle had a 30-day dealer warranty. Ms. Hartzell purchased the vehicle because

she thought it was safe and reliable and would be a good vehicle for transporting her

grandchildren. Although the Ion had previously been in an accident and repaired, Ms. Hartzell

was told by the salesperson the car was safe and reliable at the time she bought it. According to

the salesperson, the Ion had experienced front-end damage only, which required repainting. Ms.

Hartzell does not remember when she heard about the recall, though she recalls seeing it on the

news when the story was breaking. She had the car repaired under the recall. Ms. Hartzell

would not have purchased the vehicle or she would have paid less for it had she known about its

defect.

          Philip Zivnuska, D.D.S.—Kansas

          121.    Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class

Representative Philip Zivnuska, D.D.S., is a resident and citizen of Valley Center, Kansas.

Dr. Zivnuska purchased a new 2006 Chevrolet Cobalt with the Delta Ignition Switch Defect for

about $25,000 from Conklin Cars in Newton, Kansas in 2006. His vehicle was covered by

Chevrolet’s standard new car warranty at the time it was purchased. According to Dr. Zivnuska,

who had seen websites featuring and/or discussing the car, the promise of good handling was

important to him. Throughout the course of his ownership of the Cobalt, Dr. Zivnuska and his

family members experienced numerous issues consistent with the ignition switch defect,

including frequent electrical power failure and loss of power steering, and an accident.




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Dr. Zivnuska brought the Cobalt into Conklin Cars multiple times to address the issues, and

became so concerned that he eventually filed a complaint with NHTSA in 2007 to document the

problems he was experiencing. He did not receive information from New GM following this

complaint, although he was led to understand Old GM obtained information about his car, which

was subsequently totalled in an accident in 2010. Dr. Zivnuska would not have driven the

vehicle or would have sold it if he had known about its defect. He would not have purchased the

vehicle or he would have paid less for it had he known about its defect.

         Elizabeth Stewart—Kentucky

         122.     Plaintiff and proposed Delta Ignition Switch Defect Class and Power Steering

Defect Class Representative Elizabeth Stewart is a resident and citizen of Louisa, Kentucky. She

purchased a used 2010 Chevrolet Cobalt (subject to the Delta Ignition Switch and Power

Steering recalls) for $14,000 from Brown’s Ford in Paintsville, Kentucky in February 2012. Ms.

Stewart’s Cobalt was under factory warranty when she purchased it, and she also purchased an

extended bumper-to-bumper warranty. Both have since expired. Around the time of her

purchase, Ms. Stewart recalls seeing several commercials in which New GM touted the Cobalt’s

safety and stated that it is the best vehicle in its class. She believed the vehicle was safe and

defect free when she purchased it. Just two-and-a-half months after buying the car, in April

2012, Ms. Stewart experienced her first inadvertent shutdown. She was driving in Kentucky

when the engine suddenly shut off while the key was in the ignition and the transmission was in

“drive.” The loss of power made the steering wheel almost impossible to turn. Ms. Stewart

managed to get to the side of the road and, thankfully, was not injured. She was also thankful

that her children were not in the vehicle at the time, especially given that she purchased it

primarily for use as the family car. Ms. Stewart experienced many similar shutdowns between




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the purchase date of February 2012 and July 2014, when the ignition switch was replaced under

the recall. Even after the recall “repair,” Ms. Stewart has issues with the car indicative of power

loss, where the headlights dim and the steering wheel locks up. Ms. Stewart does not recall

receiving a recall notice for the ignition switch or power steering recalls. Ms. Stewart still owns

her vehicle. She would not have purchased the vehicle or she would have paid less for it had she

known about its defect.

         Dawn Talbot—Kentucky

         123.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class

Representative Dawn Talbot is a resident and citizen of Glasgow, Kentucky. Ms. Talbot

purchased a used 2006 Chevrolet Cobalt with the Delta Ignition Switch Defect from Goodman

Automotive in Glasgow, Kentucky in May 2009. Ms. Talbot’s vehicle regularly lost power

during driving. Ms. Talbot would not have driven the vehicle or would have sold it if she had

known about its defect. She would not have purchased the vehicle or she would have paid less

for it had she known about the defect in the vehicle.

         Frances Ann Fagans—Louisiana19

         124.     Plaintiffs and proposed Low Torque Ignition Switch Defect Class and Low

Torque Ignition Switch Defect Magnuson-Moss and Implied Warranty Subclass Representative

Frances Ann Fagans is a resident and citizen of Shreveport, Louisiana. Mrs. Fagans purchased a

new 2012 Cadillac CTS (subject to the Low Torque Ignition Switch recall) for $42,897.78 from

Orr Cadillac Hummer in Shreveport, Louisiana on July 2, 2012. The vehicle came with the


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      The Court has dismissed this plaintiff’s claims. They are included solely for the purpose
of preserving their claims on appeal.



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manufacturer’s warranty, but she did not purchase an extended warranty. Mrs. Fagans has a

history of purchasing Cadillac vehicles due to the brand’s advertised safety features. Mrs.

Fagans was always of the opinion that Cadillac vehicles are the best brand, reliable, and have

excellent customer service. Mrs. Fagans drove the 2012 Cadillac CTS on a daily basis for

personal use. She experienced a stall during a right-hand turn at an intersection in the spring of

2013. All dashboard lights flashed and the vehicle’s automatic locks clicked on and off as her

car rolled to a stop approximately twelve feet after the turn. Mrs. Fagans attempted to turn the

car off and remove the key, but was unable to do so. She also attempted to place the car in park,

but all electrical in the car was disabled and she quickly exited the vehicle in fear for her safety.

As a result of this incident and in fear for their safety, Mrs. Fagans traded in her 2012 Cadillac

CTS on June 19, 2013, at a significant loss of $11,197.78, and purchased a 2013 Cadillac SRX

from Orr Cadillac Hummer in Shreveport, Louisiana. The 2013 Cadillac SRX was also recalled

for a number of safety defects in 2014, including transmission “hesitation,” problematic rear

suspension torqueing, and issues with the Sensing Diagnostic Module. Mrs. Fagans would not

have purchased these vehicles or would have paid less for them had she known about the defects.

         Lori Green—Louisiana

         125.     Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Lori Green is a resident and citizen of Harahan, Louisiana. Ms. Green purchased a used 2009

Chevrolet Impala (subject to the Low Torque Ignition Switch recall) for about $18,000 from

Walker’s Big Lot in Alexandria, Louisiana on July 16, 2011. She purchased an extended

warranty at the same time. Safety and reliability were important to her when deciding to

purchase the Impala. Last summer in 2015, Ms. Green’s daughter was driving the vehicle and a

truck pulled in front of her, and she hit the tail end of the truck. None of the airbags deployed.




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There were only minor injuries suffered as a result of the accident. She does not recall receiving

the ignition switch defect recall and does not remember having the repair work completed. Ms.

Green would not have purchased the vehicle or she would have paid less for it had she known

about its defect.

         Raymond Naquin—Louisiana

         126.     Plaintiff and proposed Low Torque Ignition Switch Defect Class and Low Torque

Ignition Switch Defect Magnuson-Moss and Implied Warranty Subclass Representative

Raymond Naquin is a resident and citizen of Marrero, Louisiana. Mr. Naquin purchased a new

2012 Chevrolet Impala (subject to the Low Torque Ignition Switch recall) for $23,222.57 from

Benson Chevrolet in Metairie, Louisiana on July 4, 2012. The car was covered by a standard

factory warranty. Mr. Naquin received a recall notice for the ignition switch defect and he plans

to get the recall repair completed soon. Mr. Naquin would not have purchased the Impala or he

would have paid less for it had he known about its defect. Mr. Naquin also purchased a used

2007 Buick Lucerne (subject to the Low Torque Ignition Switch recall) for $8,172 from the Don

Bohn dealership in Harvey, Louisiana on January 6, 2014. The car was not covered by a

warranty. Mr. Naquin received a recall notice for the ignition switch defect and he plans to get

the recall repair completed soon. Mr. Naquin would not have purchased the Lucerne or he would

have paid less for it had he known about its defect.

         Lisa West—Louisiana

         127.     Plaintiff and proposed Delta Ignition Switch Defect Class Representative Lisa

West is a resident and citizen of Baton Rouge, Louisiana. Ms. West purchased a used 2008

Chevrolet Cobalt with the Delta Ignition Switch recall for $9,621 from All-Star Hyundai in

Baton Rouge, Louisiana on August 3, 2010. Her vehicle was covered by a warranty at the time




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of purchase, but it expired in 2014. Ms. West chose this vehicle, in part, because the vehicle’s

safety and reliability was important to her. She recalls the salesman discussing the car’s positive

safety features, and she believed the car was reliable. Ms. West received a recall notice and had

her vehicle repaired under the recall, although she does not recall when this occurred. Recently,

her vehicle was damaged in the massive flooding throughout Baton Rouge and the insurance

company deemed the car a total loss. She is now without a vehicle. Ms. West would not have

purchased the vehicle or she would have paid less for it has she known about its defect.

         Debra Quinn—Maine

         128.     Plaintiff and proposed Delta Ignition Switch Defect Class Representative Debra

Quinn is a resident and citizen of Freeport, Maine. Ms. Quinn purchased a used 2005 Chevrolet

Cobalt with the Delta Ignition Switch Defect for about $6,500 from a private seller in Maine on

October 27, 2011. The car was not covered by a warranty. She chose this vehicle in part

because its safety and reliability was important to her. Ms. Quinn received the recall notice and

had the car repaired under the recall at Goodwin Chevrolet in Brunswick, Maine on May 12,

2014. She had to wait a few weeks for the repair because the parts were backordered. The repair

took a few hours. Ms. Quinn would not have purchased the vehicle or she would have paid less

for it had she known about its defect.

         Harry Albert—Maryland

         129.     Plaintiff and proposed Knee-to-Key Camaro Defect Class, Knee-to-Key Camaro

Defect Magnuson-Moss and Implied Warranty Subclass, and Low Torque Ignition Switch Defect

Class Representative Harry Albert is a resident and citizen of Montgomery Village, Maryland.

Mr. Albert purchased a new 2012 Chevrolet Camaro (subject to the Knee-to-Key Ignition Switch

recall) for $34,000 from Ourisman’s Rockmont Chevrolet in Rockville, Maryland in October




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2012. The vehicle was equipped with the standard manufacturer’s warranty. On at least three

occasions, the power in Mr. Albert’s Camaro failed during normal operation. During the second

of these incidents, on May 13, 2014, Mr. Albert was operating his vehicle on a roadway at the

posted speed when his power failed. Mr. Albert was nearly rear-ended by the vehicle traveling

behind him, but the vehicle swerved and avoided a collision. Mr. Albert’s knees did not hit the

ignition key during this event. He was able to restart the Camaro and immediately took it to the

Ourisman Rockmont dealership for testing. The dealership tested the vehicle, but could find

nothing wrong. Less than one month later, Mr. Albert’s vehicle experienced another power

failure when he was turning into a parking lot. Again, he was almost rear-ended. This time,

Ourisman Rockmont provided Mr. Albert with a loaner car while it attempted to determine the

source of the problem. Shortly thereafter, New GM publicly announced the recall of the Camaro

vehicles, but Mr. Albert did not learn of the ignition switch defect in his vehicle until June 2014.

He took it back to the Ourisman Rockmont dealership, and they removed the blade from the

ignition key fob and put it on a keychain and returned the vehicle to him. Mr. Albert was

nonetheless so afraid to drive his Camaro that he traded it in for a used 2013 Chevrolet Impala in

July 2014 in Germantown, Maryland. He received $27,000 for his Camaro, and paid $17,999 for

the Impala. At the time of his trade-in, Mr. Albert did not yet know about the Low Torque

Ignition Switch Defect and recall on the 2013 Impala. Mr. Albert believed the Impala was safe

and reliable when he bought it. Mr. Albert was informed by the dealer about the Impala’s safety.

Mr. Albert would not have purchased the Camaro or he would have paid less for it had he known

about their defect.

         Carmel Justis—Maryland




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         130.     Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Carmel Justis is a resident and citizen of Atlantic, Virginia. Ms. Justis purchased a new 2004

Pontiac Grand Am (subject to the Low Torque Ignition Switch recall) for about $22,000 from the

Price dealership in Salisbury, Maryland on August 12, 2003. The vehicle was covered by a

standard factory warranty. Ms. Justis purchased the vehicle because safety and reliability were

important to her. This was her third Pontiac Grand Am, so she trusted the brand. She does not

remember receiving the ignition switch defect recall and did not have the recall repair work

done. Ms. Justis would not have driven the vehicle or would have sold it if she had known about

its defect. She would not have purchased the vehicle or she would have paid less for it had she

known about its defect.

         Marc and Madelaine Koppelman—Maryland

         131.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Magnuson-Moss and Implied Warranty Subclass, Power Steering Defect Class, and

Power Steering Defect Magnuson-Moss and Implied Warranty Subclass Representatives Marc

and Madelaine Koppelman are residents and citizens of Torrance, California. The Koppelmans

purchased a Certified Pre-Owned 2010 Chevrolet HHR (subject to the Delta Ignition Switch and

the Power Steering recalls) for $12,900 from JBA Chevrolet in Glen Burnie, Maryland in 2012.

The 2010 HHR was certified pre-owned under New GM’s guidelines, including 172 safety check

items the car had to pass. The Koppelmans also received a sales document from New GM given

to each certified pre-owned purchaser as an incentive, claiming the certified pre-owned

designation adds $2,135 to the value of the car. The Koppelmans’ decision to buy the car was

influenced by the perceived safety associated with the car’s airbag system and advertising

touting the car’s reliability. This was important to Mr. Koppelman because his wife was going to




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be the principal driver. In June 2012, about four months after they purchased the vehicle, while

Mr. Koppelman was driving in Maryland on a residential street, the HHR lost power and power

steering. Mr. Koppelman managed to pump the brakes and get the car safely off the road. He

then called a local New GM dealer in Gaithersburg, Maryland, from the car on his cell phone.

The service person asked if he could start the car, and if so, instructed him to drive to the

dealership. The dealership checked the car at the entrance and said there was no problem, stating

it was most likely Mr. Koppelman’s leg that caused the ignition switch to turn off. The dealer

service representative suggested he remove the key from the key ring to reduce the weight. The

only things on the key ring were the key and the remote fob. About ten months later, his vehicle

shut down again while driving, and Mr. Koppelman received the same unhelpful, non-response

from the dealership about the problem. Then, in March 2014, Mr. Koppelman received a recall

notice but was told he would have to wait for the new parts to arrive before he could get the

repair. Five months later, in August 2014, the recall repair work was completed. After the

dealership gave him the run-around about getting the new part installed, Mr. Koppelman

considered selling the vehicle. He remembers comparable HHRs were selling for $12,000-

14,000 retail at the time the recalls were first announced in early 2014. In late May or early June

2014, Mr. Koppelman researched his car model on Kelley Blue Book and it was valued at

approximately $9,200. He went to his local dealer, Martin Chevrolet, in Torrance, California,

and they only offered him $6,100 to trade it in. Mr. Koppelman was shocked at the low number,

so he declined to sell it. He then took the vehicle to another New GM dealer, Harbor Chevrolet,

in Long Beach, California, and the dealership quoted him a similar value as the last dealership.

Harbor Chevrolet told him that due to the recalls, the HHR’s value had declined, and it was

lowering the retail prices on its own vehicles for sale. In mid-July 2014, Mr. Koppelman




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checked the Kelley Blue Book again and saw his car model’s value had dropped to

approximately $8,400. By the end of 2014, the HHR’s value dropped below $10,000, and by the

end of 2015 it dropped to less than $8,000. Recently, his online research shows his vehicle

model’s price falls between $4,250 and $7,500. Mr. Koppelman was a loyal Old GM owner,

having previously owned Chevrolet, Buick, Oldsmobile, and Cadillac vehicles, but now will

never purchase a New GM-branded vehicle again. The Koppelmans would not have purchased

the vehicle or they would have paid less for it had they known about its defects.

         Melody Lombardo—Maryland20

         132.     Plaintiff and proposed Power Steering Defect Class Representative Melody

Lombardo is a resident and citizen of Catonsville, Baltimore County, Maryland. Ms. Lombardo

purchased a new 2006 Chevrolet Malibu (subject to the Power Steering recall) for $22,000 from

the Win Kelly dealership in Clarksville, Maryland on December 5, 2005. The vehicle was

covered under the standard factory warranty. Ms. Lombardo chose the Chevy Malibu because it

was on the Consumer Reports list as one of the safest vehicles that year. In July 2012, she began

experiencing problems with the power steering. It would stop working and she would either shift

the car into neutral or restart the car and it would work again. This happened for a few days

before it completely failed and she had to have the car towed to the Win Kelly dealership. She

was told the repair was not covered by her warranty, and she paid out of pocket to repair the

car’s power steering on July 20, 2012. After she had the car repaired, Ms. Lombardo found the

recall notice. She went back to the dealership and was told that it was a different part that was

recalled and it was not covered. New GM refused to reimburse her for the repair. She was told


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      The Court has dismissed this plaintiff’s claims. They are included solely for the purpose
of preserving their claims on appeal.



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she could take the car to an out of area dealership to have it evaluated. She had a friend who

worked at Country Chevrolet in Warrington, Virginia so she took the car there. Country

Chevrolet determined that her car was indeed covered by the recall and helped her get

reimbursed for the repair. She still owns the car and in January 2016, when it was really cold,

the power steering failed again. This occurred about a month after her extended warranty

expired. Ms. Lombardo would not have driven the vehicle or would have sold it if she had

known about its defect. She would not have purchased the vehicle or she would have paid less

for it had she known about its defect.

         Jerrod Pinkett – Maryland

         133.     Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Jerrod Pinkett is a resident and citizen of Baltimore, Maryland. Mr. Pinkett purchased a used

2008 Buick Lucerne (subject to the Low Torque Ignition Switch recall) for $13,000 from Trident

Automotive in Edgewood, Maryland on March 3, 2014. The car was covered by a 30-day

warranty at the time of purchase, and Mr. Pinkett purchased an extended warranty through his

local credit union. The safety and reliability of the vehicle were important to him in buying the

Lucerne. Mr. Pinkett was a loyal GM customer and has owned five GM-branded vehicles

throughout his lifetime. Because of the recalls he has lost confidence in GM. Approximately

four months after he purchased the vehicle, Mr. Pinkett experienced problems with the

transmission. After he heard from friends and family that there were recalls on some GM-

branded vehicles, he went online to Buick’s website and learned his car had the Low Torque

Ignition Switch Defect. Mr. Pinkett never received a recall notice in the mail. Shortly thereafter

he took his Lucerne in for the recall repair at AutoNation in Baltimore, Maryland. Mr. Pinkett

had to wait some time for the dealership to receive the parts and repair his vehicle. He still owns




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the vehicle but has been afraid to drive it since he learned about the ignition switch recall. He

now avoids driving it if possible. Mr. Pinkett would not have purchased the vehicle or he would

have paid less for it had he known about its defect.

         Robert Wyman—Maryland

         134.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class

Representative Robert Wyman is a resident and citizen of Baltimore, Maryland. Mr. Wyman

purchased a new 2007 Saturn Sky with the Delta Ignition Switch Defect for $32,000 from the

Heritage Chevrolet Buick dealership in Owings Mills, Maryland in 2007. His vehicle came with

a three-year warranty. Mr. Wyman believed GM cars were reliable and safe. He saw some of

the safety features in an advertisement on television and was also informed by the salesperson

that it was a reliable car. Mr. Wyman’s vehicle had the recall repair done on May 31, 2014. He

no longer has the vehicle. Mr. Wyman would not have driven the vehicle or would have sold it

if he had known about its defect. He would not have purchased the vehicle or he would have

paid less for it had he known about its defect.

         Debra Companion—Massachusetts

         135.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Magnuson-Moss and Implied Warranty Subclass, Power Steering Defect Class, and

Power Steering Defect Magnuson-Moss and Implied Warranty Subclass Representative Debra

Companion is a resident and citizen of East Hampstead, New Hampshire. Ms. Companion

purchased a Certified Pre-Owned 2010 Chevrolet Cobalt (subject to the Delta Ignition Switch

and Power Steering recalls) for $14,980 from McLaughlin Chevrolet in Whitman, Massachusetts




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on December 31, 2011. The car was covered by a warranty. She had previously owned a

Cavalier, and she chose the Cobalt because it was modeled after the Cavalier. She trusted the

brand, and she felt the car was safe and reliable. Sometime in 2014, before her car was repaired

under the recall, she was driving on Route 93 South and her car shut off and she had to pull over.

She was able to restart the car. She received the ignition switch recall notice but not the power

steering recall notice. Ms. Companion’s vehicle was repaired under the recall at Betley

Chevrolet in Derry, New Hampshire in summer 2014. She is concerned that the resale value of

her car is diminished because of the defect and recalls. Ms. Companion would not have

purchased the vehicle had she known about its defects.

         Colin Elliott—Massachusetts

         136.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class

Representative Colin Elliott is a resident and citizen of Buzzards Bay, Massachusetts. Mr. Elliott

purchased a new 2008 Saturn Sky with the Delta Ignition Switch Defect for $23,000 from Saturn

of Hyannis in Hyannis, Massachusetts in July 2007. His vehicle was covered by a standard

100,000-mile warranty at the time of purchase. Mr. Elliott owned several Saturn vehicles before

this one and believed these cars were safe and reliable up until the ignition switch recall. Mr.

Elliott’s ignition switch was replaced in November 2014. Although he has not experienced a

shutdown event while driving, he has only driven his Sky a total of ten miles since it was

repaired in November 2014. Because he would not drive his Sky, Mr. Elliott and his wife shared

her Kia for a while. This caused significant inconvenience, as they drove each other to work and

were dependent on one another’s schedule. He eventually got rid of the Sky because he did not




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think it was safe. Mr. Elliot would not have driven the vehicle or would have sold it if he had

known about its defect. He would not have purchased the vehicle or he would have paid less for

it had he known about its defect.

         Richard Leger—Massachusetts

         137.     Plaintiff and proposed Delta Ignition Switch Defect Class Representative Richard

Leger is a resident and citizen of Franklin, Massachusetts. Mr. Leger purchased a used 2007

Pontiac G5 with the Delta Ignition Switch Defect for $8,000 from the Hyundai dealership in

Attleboro, Massachusetts in 2013. He purchased the vehicle with a 90-day warranty. Mr. Leger

purchased the vehicle because he thought it was safe. Mr. Leger’s vehicle started having ignition

problems in November 2013. The first time was at a traffic light, when the car just shut down. It

happened several more times since then. He also experienced loss and/or locking of the power

steering in the car. He learned about the recall in April 2014. The car was not repaired because

he was having issues with the dealership about getting the part replaced. He informed them that

he would not pay for the car until they fixed the issues and the car was ultimately repossessed.

Mr. Leger would not have purchased the vehicle or he would have paid less for it had he known

about its defect.

         Susan Viens—Massachusetts21

         138.     Plaintiff and proposed Power Steering Defect Class Representative Susan Viens is

a resident and citizen of Monson, Massachusetts. Ms. Viens purchased a new 2005 Chevrolet

Malibu Max (subject to the Power Steering recall) for about $20,000 from Balise Chevrolet

Buick GMC in Springfield, Massachusetts on September 15, 2005. The vehicle was covered


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      The Court has dismissed this plaintiff’s claims. They are included solely for the purpose
of preserving their claims on appeal.



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under the standard factory warranty and she also purchased an extended warranty. She has

owned at least four or five GM products and trusted the brand. She chose the Malibu in part

because safety and reliability are important to her. She does not recall receiving the power

steering recall but she did have the steering column replaced. The steering wheel would make a

clicking noise and she felt unsafe driving the vehicle. She had to pay out of pocket for the

steering column replacement. In 2012, she traded in the Malibu for a Chevrolet Cruze because

she felt unsafe in the Malibu. Ms. Viens would not have driven the vehicle or would have sold it

if she had known about its defect. She would not have purchased the vehicle or she would have

paid less for it had she known about its defect.

         Brittany Vining – Massachusetts

         139.     Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Brittany Vining is a resident and citizen of Lynn, Massachusetts. In October 2010, Ms. Vining

purchased a used 2007 Cadillac CTS (subject to the Low Torque Ignition Switch recall) for

$19,000 from Direct Auto Mall in Framingham, Massachusetts. The vehicle came with a GM

warranty and Ms. Vining also purchased an extended warranty. The safety and reliability of the

Cadillac were important to her when she purchased the vehicle. Before Ms. Vining purchased

the Cadillac, she thought highly of the GM brand and the Cadillac CTS had always been her

dream-car. Over the past few years, the brakes on the Cadillac would fail randomly and when

she was driving at low speeds. This happened several times. Ms. Vining brought the Cadillac to

multiple dealerships to try and resolve the issue, but they were never able to figure out what was

causing the brakes to fail. Ms. Vining had to replace the engine coils and spark plugs multiple

times. She also replaced the catalytic converter and timing belt. In January 2015, the Cadillac’s

transmission wet out and the cost of the repair was worth more than the vehicle, so she got rid of




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it. Ms. Vining received the ignition switch recall notice and had the recall repair done soon after

she received the notice. Ms. Vining has always thought highly of the GM brand, but her

impression of GM products has changed since learning of the recalls. She would not have

purchased the vehicle or she would have paid less for it had he known about its defects.

         Sheree Anderson—Michigan

         140.     Plaintiff and proposed Delta Ignition Switch Defect Class Representative Sheree

Anderson is a resident and citizen of Detroit, Michigan. Ms. Anderson purchased a used 2008

Chevrolet HHR with the Delta Ignition Switch Defect for approximately $16,500 from the

LaFontaine Cadillac Buick GMC dealership in Highland, Michigan on November 15, 2011. The

vehicle had a warranty on it when she purchased it. Ms. Anderson chose the HHR in part

because she desired a safe vehicle. Sometimes the ignition switch on Ms. Anderson’s vehicle

would lock up on her and she would be unable to turn the key. Ms. Anderson did not learn about

the ignition switch defect until March 2014. Her HHR was repaired under the recall on June 10,

2014, after she waited about a month for the parts and repair. For several weeks before her car

was fixed, Ms. Anderson paid a friend about $60 per week for gas to transport her to and from

work because she was scared to drive her car with the defect. After recent mechanical issues

rendered her vehicle un-useable without expensive repairs, Ms. Anderson sold the vehicle for

scrap on August 25, 2016. Ms. Anderson would not have purchased the vehicle or she would

have paid less for it had she known about the defect in the vehicle.

         Marquetta Chestnut—Michigan

         141.     Plaintiff and proposed Low Torque Ignition Switch Defect Class and Power

Steering Defect Class Representative Marquetta Chestnut is a resident and citizen of Detroit,

Michigan. Ms. Chestnut purchased a used 2005 Chevrolet Malibu (subject to the Low Torque




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Ignition Switch and Power Steering recalls) for $6,000 from Kals Auto Sales in Dearborn,

Michigan on February 17, 2011. It was not covered by a warranty. Safety in the vehicle was

important to her because she has two children that she would never knowingly put in danger.

The power steering in her car went out twice last winter. Once she spun out on ice and an

oncoming ambulance on the east-bound side of the street missed hitting her vehicle by inches.

The second time she was on her way to work when the power steering went out and she had to

coast her car across three lanes, get off an exit ramp, and restart the car. Ms. Chestnut would not

have purchased the vehicle or she would have paid less for it had she known about its defects.

         Diana Cnossen—Michigan

         142.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Successor Liability Subclass, Power Steering Defect Class, Delta Ignition Switch

Defect Bankruptcy Class Representative Diana Cnossen is a resident and citizen of Grand

Rapids, Michigan. Ms. Cnossen purchased a new 2007 Saturn Ion with the Delta Ignition Switch

Defect (and subject to the Power Steering recall) for $18,250 from a Saturn dealership in

Michigan on November 27, 2006. Her vehicle was covered under warranty when she purchased

it. Ms. Cnossen did not learn of the ignition switch defect until it was announced in March 2014.

She had her car repaired under the recall on June 4, 2014. Ms. Cnossen would not have driven

the vehicle or would have sold it if she had known about its defect. She would not have

purchased the vehicle or she would have paid less for it had she known about its defect.

         Rafael Lanis—Michigan

         143.     Plaintiff and proposed Delta Ignition Switch Defect Class Representative Rafael

Lanis is a resident and citizen of Birmingham, Michigan. Mr. Lanis purchased a used 2006




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Chevrolet Cobalt with the Delta Ignition Switch Defect for $2,800 at auction from Westland

Auto Care in Michigan in July 2011. His vehicle was no longer under warranty at the time he

purchased it. At the time of purchase, safety and reliability were major considerations when

choosing that car. Before buying, Mr. Lanis did an internet search to review the features of the

vehicle. He also purchased the Chevy Cobalt because he trusted the reputation of the

manufacturer related to safety and reliability of its vehicles and because the vehicle had multiple

airbags. Mr. Lanis experienced his ignition shutting down approximately ten separate times after

starting his car and then removing his hand from the key. It also shut down once while sitting

idle at a traffic light. On an almost a daily basis, the key would stick in the ignition, and he had

to jiggle the key to get it to come out of the ignition. His ignition switch was repaired

approximately one month after he received the recall notice, in April 2014, but when he tried to

secure a loaner from New GM before repairing his ignition switch, they refused. Mr. Lanis paid

approximately $400 to a co-worker to drive him to work while the ignition switch was replaced.

Mr. Lanis still owns the 2006 Chevy Cobalt and limits his use of the vehicle because of his

ongoing safety concerns. On at least two separate occasions, Mr. Lanis tried unsuccessfully to

sell his vehicle. After the recall was announced, he had one buyer who was interested in

purchasing the vehicle but the buyer changed his mind because he feared ongoing safety

concerns with the vehicle. At the time of the recall in April 2014, Mr. Lanis noted that the

Kelley Blue Book value of his car had dropped from $4,700 to $4,000. Mr. Lanis would not

have purchased the vehicle or he would have paid less for it had he known about its defect.

         Sophia Marks - Michigan22


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      The Court has dismissed this plaintiff’s claims. They are included solely for the purpose
of preserving their claims on appeal.



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         144.     Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Sophia Marks is a resident and citizen of Southfield, Michigan. Ms. Marks purchased a used

2009 Chevrolet Impala (subject to the Low Torque Ignition Switch recall) for about $15,000

from Ypsilanti Motors in Ypsilanti, Michigan on July 28, 2009. She purchased an extended

warranty for the vehicle. She purchased this car for safety and reliability purposes. She did

online research on the car and safety was her number one priority because she has an autistic son

she would be driving in the car. She also saw print advertisements about the car’s safety and

reliability. On one occasion, Ms. Marks was driving on a busy street when she hit a bump in the

road and the car shut off. She had to pull over to safety and restart the vehicle. Ms. Marks

received a recall notice for the ignition switch recall and her car was repaired under the recall in

2015. Ms. Marks has been quoted low resell value for her car, which she believes is due to the

defect and recall. Ms. Marks would not have purchased the vehicle or she would have paid less

for it had she known about its defect.

         David Price—Michigan23

         145.     Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

David Price is a resident and citizen of Chesterfield, Michigan. Mr. Price purchased a used 2001

Cadillac Deville (subject to the Low Torque Ignition Switch recall) for $28,392 from Michael

Chevrolet in Chesterfield, Michigan, on May 15, 2003. The car was still under the

manufacturer’s warranty at the time he purchased it. Mr. Price chose the vehicle, in part,

because safety and reliability were important to him. Before purchasing the Deville, Mr. Price

would visit his local GM dealership and pick-up literature about their vehicles and he also recalls


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      The Court has dismissed this plaintiff’s claims. They are included solely for the purpose
of preserving their claims on appeal.



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seeing television advertisements. Mr. Price had problems with the vehicle not starting because

he could not turn the ignition into the ‘park’ position. It would take several tries to get his car

started. In December 2010, he paid $500 to have repair work done but it did not fix the

problem. Sometime around April 2014, Mr. Price remembers receiving the ignition switch

recall, but he did not have the repair work done on the vehicle. He did not repair the Deville

because he had already purchased a new vehicle and was no longer driving the Deville. Mr.

Price would not have driven the vehicle had known about its defect. He would not have

purchased the vehicle or he would have paid less for it had he known about its defect.

         Brian Semrau—Michigan

         146.     Plaintiff and proposed Low Torque Ignition Switch Defect Class and Low Torque

Ignition Switch Defect Magnuson-Moss and Implied Warranty Subclass Representative Brian

Semrau is a resident and citizen of Rochester Hills, Michigan. Mr. Semrau leased a new 2013

Cadillac CTS (subject to the Low Torque Ignition Switch recall) for $45,744 from Suburban

Cadillac in Troy, Michigan on August 19, 2013. The vehicle had the standard manufacturer’s

warranty. Mr. Semrau chose this vehicle, in part, because the vehicle’s safety and reliability was

important to him. Safety was one the selling points the saleswoman made to Mr. Semrau to

convince him this was the car he should choose over the other manufacturers he was considering.

He received a recall notice for the ignition switch, and he had to do the repair himself because

New GM sent him the parts with instructions on how to install them. This was inconvenient and

disappointing. When he purchased the car he was told the dealership would take care on any

issues. Mr. Semrau felt this was something that he should not have been required to do himself.

Mr. Semraud returned the vehicle to New GM on August 16, 2016, at the end of his lease. Mr.




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Semrau would not have leased the vehicle or he would have paid less for it had he known about

its defect.

         Jacqueline Smith—Michigan

         147.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Successor Liability Subclass, Power Steering Defect Class Representative, and Delta

Ignition Switch Defect Bankruptcy Class Representative Jacqueline Smith is a resident and

citizen of Detroit, Michigan. Ms. Smith purchased a new 2007 Saturn Ion with the Delta

Ignition Switch Defect (and subject to the Power Steering recall) for $15,000 from Saturn of

Southfield in Southfield, Michigan on June 30, 2007. The vehicle came with the standard

factory warranty. Ms. Smith purchased the vehicle because reliability and safety were important

to her and she had heard from friends that it was a good vehicle. On more than one occasion,

Ms. Smith was driving her vehicle and it cut-off in the middle of the street. She received recall

notices for the ignition switch and power steering recalls, and the repairs were performed by

James Martin Chevrolet in 2014. The repairs took three weeks because the parts were

backordered. Ms. Smith would not have driven the vehicle or would have sold it if she had

known about its defect. She would not have purchased the vehicle or she would have paid less

for it had she known about its defect.

         Bryan Wallace—Michigan24

         148.     Plaintiff and proposed Side Airbag Defect Class Representative Bryan Wallace is

a resident and citizen of Fenton, Michigan. Mr. Wallace purchased a new 2009 Chevy Traverse


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      The Court has dismissed this plaintiff’s claims. They are included solely for the purpose
of preserving their claims on appeal.



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(subject to the Side Airbag recall) for $41,374.27 from Al Serra Chevrolet in Grand Blanc,

Michigan on January 5, 2009. The car came with the standard factory warranty. Mr. Wallace

chose this vehicle, in part, because the vehicle’s safety and reliability was important to him. He

and his family had purchased Chevrolets in the past and found them to very reliable and good

when it came to a resale value. Mr. Wallace’s father-in-law worked for GM, so he always

bought Chevrolets because of its reputation for reliability and safety. He also had younger kids

at that time so he and his wife did a lot of research on the car to make sure it was a good fit for

their family. The salesman told Mr. Wallace how safe the car was in the crash tests. Mr.

Wallace believes he received a recall notice for the airbag defect and had it repaired under the

recall but cannot recall the date. Any time he received a recall he took his vehicle Vic Canever

Chevrolet for repair. He has spent a number of days without a car or been forced to take time off

while this car was in the shop getting fixed. There were times when his family had to borrow

cars from family members since a loaner car was not provided by the dealership or New

GM. The car has had recall after recall, and because of this, Mr. Wallace would not buy this car

again if his life depended on it. The mechanics at New GM dealership Vic Canever have told

Mr. Wallace that he won’t get much for a trade in with his vehicle because of all the recall and

defects. Mr. Wallace would not have driven the vehicle or would have sold it if he had known

about its defect. He would not have purchased the vehicle or he would have paid less for it had

he known about its defect.

         Franklin Wloch—Michigan

         149.     Plaintiff and proposed Low Torque Ignition Switch Defect Class and Low Torque

Ignition Switch Defect Magnuson-Moss and Implied Warranty Subclass Representative Franklin

Wloch is a resident and citizen of Oxford, Michigan. Mr. Wloch purchased a Certified Pre-




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Owned 2011 Cadillac CTS (subject to the Low Torque Ignition Switch recall) for about $27,500

from Crestview Cadillac in Rochester, Michigan on April 22, 2014. He purchased an extended

warranty for the vehicle. Mr. Wloch believed this car had a good safety record and he purchased

it in part because its safety and reliability was important to him. Mr. Wloch received a recall

notice for the ignition switch and had it repaired under the recall about a year and a half ago. Mr.

Wloch would not have purchased the vehicle or he would have paid less for it had he known

about its defects.

         Anna Allshouse—Minnesota

         150.     Plaintiff and proposed Delta Ignition Switch Defect Class Representative Anna

Allshouse is a resident and citizen of Cape Coral, Florida. Ms. Allshouse purchased a used 2007

Chevrolet HHR with the Delta Ignition Switch Defect for approximately $12,000 from New

Prague Chevrolet in New Prague, Minnesota in 2012. Her car was under warranty when she

purchased it, and she also purchased an extended warranty and gap insurance from the dealership

at the same time. The car is no longer under warranty. At the time Ms. Allshouse purchased the

Chevrolet HHR, safety and reliability were of great importance because she has two small

children and it would be her family vehicle. She remembers the salesperson telling her how

great the car was and that it was a great, safe, and reliable vehicle that would be perfect for her

and her family. The salesperson never mentioned that there were problems with the HHR.

Based on this, Ms. Allshouse decided to purchase the Chevy HHR. She trusted GM’s perceived

reputation for safe and reliable vehicles. Ms. Allshouse experienced one incident where the car

shut off on its own in winter 2013. She was backing out of her driveway, and the car suddenly

turned off. She was able to restart the car and was not involved in an accident. After this

incident, Ms. Allshouse took her Chevy HHR to the New Prague dealership for service. She was




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told there was nothing wrong with her vehicle. She later received the recall notice, in

approximately late April 2014, and in September or October 2014, Ms. Allshouse again took her

car to the New Prague GM dealer and they replaced the ignition switch under the recall. Since

the ignition switch was replaced the vehicle’s auto start and car alarm have not worked.

Ms. Allshouse still owes approximately $5,000 on the vehicle. She tried to trade it in for a new

vehicle at the same dealership in September 2014, but she was told they would only offer $2,000

for the car. Ms. Allshouse still owns and drives the Chevy HHR because she owes money on it

and cannot afford to buy a new vehicle. Ms. Allshouse would not have purchased the vehicle or

she would have paid less for it had she known about its defect.

         David Cleland—Minnesota

         151.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Power Steering Defect Class, and Delta Ignition Switch

Defect Bankruptcy Class Representative David Cleland is a resident and citizen of Northfield,

Minnesota. Mr. Cleland purchased a used 2004 Saturn Ion with the Delta Ignition Switch Defect

(and subject to the Power Steering recall) for $10,000 from Southside Auto Dealership in

Northfield, Minnesota, in 2005. Mr. Cleland’s Saturn Ion was covered under the standard

manufacturer’s warranty at the time he purchased it. Mr. Cleland chose this vehicle, in part,

because the vehicle’s safety and reliability was important to him. In 2014, Mr. Cleland’s child

had a frontal collision while driving his vehicle. The airbags did not deploy, even though they

should have under the circumstances of the collision. He does not believe the ignition switch

was repaired before the accident. Luckily, no one was injured, but the vehicle was sold for scrap

after the accident. Mr. Cleland would not have driven the vehicle or would have sold it if he had




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known about its defect. He would not have purchased the vehicle or he would have paid less for

it had he known about its defect.

         Janelle Davis—Minnesota

         152.     Plaintiff and proposed Delta Ignition Switch Defect Class Representative Janelle

Davis is a resident and citizen of South Sunburst, South Dakota. Ms. Davis purchased a used

2006 Chevrolet Cobalt with the Delta Ignition Switch Defect for $7,200 from Lockwood Motors

in Marshall, Minnesota, in 2011. The vehicle was not under warranty. Ms. Davis purchased the

vehicle because she thought it was a reliable and safe vehicle, and also because it has good

mileage ratings. When Ms. Davis learned about the recall, she contacted the dealership about a

loaner vehicle because she had a one-year-old daughter and did not feel safe driving her in a

vehicle with a safety defect. She was denied a loaner and/or rental vehicle, even though she told

the dealership about her fear of driving her one-year-old daughter in an unsafe vehicle, because

she had not experienced shutdowns or stalls. Ms. Davis had her ignition switch replaced

pursuant to the recall in summer 2014. She has sold the car. Ms. Davis would not have

purchased the vehicle or she would have paid less for it had she known about its defect.

         William Hill—Minnesota

         153.     Plaintiff and proposed Delta Ignition Switch Defect Class Representative William

Hill is a resident and citizen of White Bear Lake, Minnesota. Mr. Hill purchased a used 2006

Chevrolet Cobalt with the Delta Ignition Switch Defect for about $8,000 from Morries Hyundai

in Golden Valley, Minnesota, on December 21, 2012. The Cobalt was not covered by a

warranty. Mr. Hill chose the Cobalt in part because safety and reliability were important to him.

He specifically remembers seeing New GM commercials on television stating how strong and

reliable New GM vehicles were and that this was a new beginning for the brand. On one




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occasion, Mr. Hill was coming around a corner, and the steering locked-up, the dashboard went

dim and the car shut off. He noticed the keys had partially come out of the ignition. He was able

to put the vehicle in neutral, get to safety and restart the vehicle. This incident scared Mr. Hill

because it happened at night. Mr. Hill received the ignition switch recall and promptly called

Friendly Chevrolet and they advised him that the parts were not available and that he should try

back later. He was inconvenienced by the recall because he had to take his vehicle to the

dealership numerous times. At the first appointment, the service department verified his VIN so

they could order the exact ignition parts. On his second visit, he showed up for his appointment

but was unable to get service because the service department was too busy. On his third visit, he

was able to get a loaner vehicle but as soon as he got home they called and told him his vehicle

was ready so he had to drive back the same day. Mr. Hill would have waited for the repair work

to be completed had he known it was only going to take a few hours. Four months later, Mr.

Hill’s Cobalt was finally repaired under the recall. When he tried to trade in the vehicle at

Friendly Chevrolet, he was told it was worth much less because of the defect and the publicity

surrounding the recalls. Mr. Hill would not have purchased the vehicle or he would have paid

less for it had he known about its defect.

         Christine Leonzal—Minnesota

         154.     Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Christine Leonzal is a resident and citizen of Ramsey, Minnesota. Ms. Leonzal purchased a used

1998 Oldsmobile Intrigue (subject to the Low Torque Ignition Switch recall) for $1,500 from

Car Hop in Fridley, Minnesota, on February 2, 2010. Safety in the vehicle was important to Ms.

Leonzal because she has a handicapped child who she had to transport in the car. She

remembers the salesman telling her it was a solid, dependable vehicle without any problems and




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that it would last her family a long time. Ms. Leonzal experienced problems with the car’s

ignition switch and it left her stranded many times. She bought several new keys for the car

thinking that was the problem. She also had a mechanic look at it for hours to no avail. Only

recently did she realize this was likely connected to the defect. She didn’t have her vehicle

repaired under the recall because she didn’t receive a recall notice and was unaware of the

defect. Ms. Leonzal would not have purchased the vehicle had she known about its defect.

         Cynthia Shatek—Minnesota

         155.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Magnuson-Moss and Implied Warranty Subclass, Power Steering Defect Class, and

Power Steering Defect Magnuson-Moss and Implied Warranty Subclass Representative Cynthia

Shatek is a resident and citizen of Chaska, Minnesota. Ms. Shatek purchased a Certified Pre-

Owned 2010 Chevrolet Cobalt (subject to the Delta Ignition Switch and Power Steering recalls)

for $17,500 from Lenzen Chevrolet in Chaska, Minnesota, on August 15, 2011. Because it was

Certified Pre-Owned, the car was covered by a warranty and she may have also purchased an

extended warranty. The salesman told her the Chevy Cobalt was a good, reliable, and fuel

efficient vehicle. She has known the people at Lenzen’s for a long time, and she trusted them to

be honest about the vehicle. Ms. Shatek received a recall notice for the ignition switch defect

sometime in the summer of 2014. She took the letter to Lenzen’s and gave it to the service

manager. He said he would call when the parts came in. In the meantime, he took her key off

her key fob and said “Only use the key by itself, we don't want any more weight than necessary.”

About three weeks later she got a call to bring her car in for the recall. It took most of the

afternoon to fix it. During those three weeks, Ms. Shatek was scared to drive her car because she




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had heard about the steering locking up causing loss of control. Ms. Shatek would probably not

have purchased the vehicle or she would have paid less for it had she known about its defects.

         Jennifer Sullivan—Minnesota

         156.     Plaintiff and proposed Side Airbag Defect Class Representative Jennifer Sullivan

is a resident and citizen of Elk River, Minnesota. Ms. Sullivan purchased a used 2010 Chevrolet

Traverse (subject to the Side Airbag recall) for $27,621.36 from Princeton Auto Center in

Princeton, Minnesota, on April 2, 2012. The vehicle came with the standard manufacturer’s

warranty. Ms. Sullivan purchased the vehicle because she thought it was safe and reliable and

she has four children. Ms. Sullivan does not recall seeing any advertisements about the Traverse,

but the salesman helped her decide on purchasing the Traverse because he said it was the safest

vehicle on the road and it has more airbags than most vehicles. After purchasing the vehicle, Ms.

Sullivan experienced shifting issues. She also experienced power steering issues. When she

would make a hard turn, she would lose power steering. She has received seven recalls since

owning the vehicle and has had all the recall repair work completed. Ms. Sullivan had to take

time off of work to drive half-an-hour to the dealership to have her vehicle repaired under the

recall. She does not feel safe when she drives the vehicle, but it is her only form of

transportation. Over the years, she estimates she has been without her vehicle for eight days

because of all the recalls she has had to take it in for to be repaired. Ms. Sullivan brought it into

the dealership to get it valued for trade-in, and she was only offered $8,000. Ms. Sullivan would

not have purchased the vehicle or she would have paid less for it had she known about its defect.

         Larry Haynes—Mississippi

         157.     Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Larry Haynes is a resident and citizen of Clarksdale, Mississippi. Mr. Haynes purchased a used




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2006 Buick Lucerne (subject to the Low Torque Ignition Switch recall) for about $15,000 from

Pratt Hyundai in Mississippi on March 30, 2010. The vehicle was not covered under warranty

when he purchased it. Mr. Haynes chose the vehicle, in part, because safety and reliability were

important to him. He previously owned two other Buick vehicles and he trusted the brand. Mr.

Haynes received the ignition switch recall notice sometime in 2014. Shortly after he received the

notice, sometime around October or November 2014, he took his vehicle to Kossmans to have

the repair work completed. The vehicle was totalled in an accident in May 2016. Mr. Haynes

would not have purchased the vehicle or he would have paid less for it had he known about its

defect.

          Frances Howard—Mississippi

          158.    Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Successor Liability Subclass, Power Steering Defect Class, and Delta Ignition Switch

Defect Bankruptcy Class Representative Frances Howard is a resident and citizen of Jackson,

Mississippi. Ms. Howard leased and then purchased a new 2006 Saturn Ion with the Delta

Ignition Switch Defect (and subject to the Power Steering recall) for approximately $11,000

from a Saturn dealership in Jackson, Mississippi in April 2006. She chose this vehicle, in part,

because the vehicle’s safety and reliability was important to her. She recalls seeing Saturn

television commercials touting the brand’s reliability. In 2009, Ms. Howard’s key got stuck in

the ignition and she could not turn the vehicle off. She drove it to the dealership, and it replaced

the ignition switch on September 8, 2009, at Ms. Howard’s expense. One week later, the key got

stuck in the ignition again. This time the dealership told her it was because her car’s battery was

dead. The service was unhelpful and contradictory. It was also distressing to Ms. Howard




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because she could barely afford the cost of these repairs, approximately $380 along with a tow

charge, and she had to use vacation days at work to take her car into the shop. Ms. Howard’s car

also inadvertently shut down on two occasions. The first time happened in the summer of 2014

when she accidentally bumped the key while it was in the ignition. The second time, on

September 2, 2014, it shut off while she was at a red light. Both times, the car restarted after she

turned the key off and then on again. Ms. Howard was never contacted about the ignition switch

recall, and only found out about it by reading news on the internet. After contacting her New

GM dealership about the repairs, it took eight weeks for the parts to arrive. She also asked for a

loaner vehicle, but they declined, telling her there were none available and it would be only two

weeks until the parts arrived. The engine on her vehicle died again on July 18, 2015, as she was

pulling into her parking space and it bothers her to know the car remains unsafe. Ms. Howard’s

vehicle is not reliable enough to drive on the interstate, and now that she has had two hip

replacements, most recently on October 28, 2015, she feels afraid of being in an accident due to

engine failure. Ms. Howard would not have driven the vehicle or would have sold it if she had

known about its defect. She would not have purchased the vehicle or she would have paid less

for it had she known about the defect in the vehicle.

         Elizabeth D. Johnson—Mississippi

         159.     Plaintiff and proposed Delta Ignition Switch Defect Class Representative

Elizabeth D. Johnson is a resident and citizen of Jackson, Mississippi. Ms. Johnson purchased a

used 2007 Chevrolet Cobalt with the Delta Ignition Switch Defect for $7,200 from Bond Auto

Sales in Jackson, Mississippi on March 27, 2012. The vehicle was not covered by a warranty.

She chose this vehicle, in part, because its safety and reliability was important to her. She also

chose it because of the gas mileage. Ms. Johnson’s vehicle shut down three times on her. The




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last instance, on April 19, 2014, totalled the vehicle. Her vehicle cut off and the airbags did not

deploy in the collision. The ignition switch had not yet been repaired under the recall when the

vehicle was totalled. In fact, she was not even aware of the outstanding recall at that time.

Because of the shutdowns and this accident, she had to pay $300 to get another car fixed and she

had to make arrangements to have her children picked up. Ms. Johnson would not have

purchased the vehicle had she known about the defect in the vehicle.

         Ashley Murray—Mississippi

         160.     Plaintiff and proposed Knee-to-Key Camaro Defect Class and Knee-to-Key

Camaro Defect Magnuson-Moss and Implied Warranty Subclass Representative Ashley Murray

is a resident and citizen of Mantee, Mississippi. Ms. Murray purchased a new 2014 Chevrolet

Camaro (subject to the Knee-to-Key Ignition Switch recall) for about $34,000 from the Carl

Hogan dealership in Columbus, Mississippi on April 26, 2014. The vehicle was covered by a

standard factory warranty and she also purchased an extended warranty. Ms. Murray chose the

Camaro in part because safety and reliability are important to her. The ignition in Ms. Murray’s

vehicle often gets stuck when she tries to park the car. Her key gets stuck, and she has to restart

the car four to five times before the ignition will release her key. This happens two to three

times per week. Ms. Murray has purchased several new cars in the past and has never had

problems like this. It is embarrassing to her to own a new vehicle and have these issues. Shortly

after purchasing the vehicle, Ms. Murray remembers receiving the ignition switch recall.

Sometime in September or October 2014, she took her Camaro to Carl Hogan dealership to have

the repair work completed. She had to take time off of work and was inconvenienced. Ms.

Murray would not have purchased the vehicle or she would have paid less for it had she known

about its defect.




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         Youloundra Smith—Mississippi25

         161.     Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Youloundra is a resident and citizen of Canton, Mississippi. Ms. Smith purchased a new 2005

Chevrolet Impala (subject to the Low Torque Ignition Switch recall) for around $21,000 from

Harrold Chevrolet in Canton, Mississippi on May 17, 2006. The car was covered under the

standard manufacturer’s warranty. Ms. Smith chose the vehicle, in part, because safety and

reliability were important to her. She remembers seeing advertisements on television about

General Motors vehicles being safe and reliable. Often, Ms. Smith had problems starting the

car. In January 2015, her son was driving the vehicle, and the power steering locked up and he

hit an embankment. The vehicle was totalled. She doesn’t recall receiving the recall notice for

the ignition switch. Ms. Smith sold the vehicle after the accident to a private seller who wanted

parts for $300. Ms. Smith would not have purchased the vehicle or she would have paid less for

it had she known about its defect.

         Linda Wright—Mississippi

         162.     Plaintiff and proposed Delta Ignition Switch Defect Class Representative Linda

Wright is a resident and citizen of Greenwood, Mississippi. Ms. Wright purchased a used 2007

Chevrolet Cobalt with the Delta Ignition Switch Defect for $4,300 from Charles Spain Auto

Service in Greenwood, Mississippi on July 8, 2013. At the time she purchased her vehicle, it

was not covered by a warranty. She chose this vehicle, in part, because the vehicle’s safety and

reliability was important to her. On two occasions, on November 13, 2013, and May 18, 2014,

Ms. Wright’s engine shut down while operating the vehicle under normal driving conditions, at


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      The Court has dismissed this plaintiff’s claims. They are included solely for the purpose
of preserving their claims on appeal.



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25-40 miles per hour. Each time, she was forced to try and steer the car to the side of the road

before restarting the engine. The steering also locked up in both instances. Ms. Wright had the

ignition switch repaired under the recall at a dealership in Greenwood, Mississippi in 2015. Ms.

Wright would not have purchased the vehicle or she would have paid less for it had she known

about its defect.

         Brad Akers—Missouri

         163.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Magnuson-Moss and Implied Warranty Subclass, Power Steering Defect Class, Power

Steering Defect Magnuson-Moss and Implied Warranty Subclass, and Delta Ignition Switch

Defect Bankruptcy Class Representative Brad Akers is a resident and citizen of Belgrade,

Missouri. Mr. Akers purchased a new 2009 Chevrolet HHR with the Delta Ignition Switch

Defect (and subject to the Power Steering recall) for $21,800 from the Affenberg dealership in

Farmington, Missouri on September 7, 2009. The vehicle was covered under the standard

factory warranty. Safety and reliability was the major reason Mr. Akers selected this car over

other brands. He recalls seeing advertisements on television and online about his vehicle’s

safety, and the dealership salesman made similar statements. Mr. Akers’s vehicle has shut off on

him while driving. His power steering has also failed while driving, and nearly caused an

accident twice. Mr. Akers received a recall notice for the ignition switch defect, but it took about

ten to twelve weeks before he could get his car into a dealership because the parts were

backordered and the demand was high. He visited three dealerships before he found one that

could schedule him. He was without a car for about three weeks, and he lost several days of

wages. Mr. Akers tried to trade in his car but he was told the value was lower because of the




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recalls. Mr. Akers would not have purchased the vehicle or he would have paid less for it had he

known about its defects.

         Deloris Hamilton—Missouri

         164.     Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Deloris Hamilton is a resident and citizen of Florissant, Missouri. Ms. Hamilton purchased a

used 2000 Oldsmobile Alero (subject to the Low Torque Ignition Switch recall) for $3,500 from

94 Auto in St. Charles, Missouri on February 24, 2012. The car was not covered by a warranty.

Ms. Hamiltonchose this vehicle, in part, because the vehicle’s safety and reliability was

important to her. She received a recall notice for the ignition switch recall but did not get her car

repaired because she had stopped driving the car due to the gear shift knob breaking off and she

was concerned about her safety and the safety of others on the road. And she could not afford to

get the gear shift knob repaired. She got rid of the car in April 2016. Ms. Hamilton would not

have purchased the vehicle or she would have paid less for it had she known about the defect in

the vehicle.

         Cynthia Hawkins—Missouri

         165.     Plaintiff and proposed Delta Ignition Switch Defect Class and Power Steering

Defect Class Representative Cynthia Hawkins is a resident and citizen of Lemay, Missouri. Ms.

Hawkins purchased a used 2010 Chevrolet Cobalt (subject to the Delta Ignition Switch and

Power Steering recalls) for approximately $13,000 from South County Auto Center in Missouri

on July 23, 2013. The car was not under warranty. Ms. Hawkins purchased this vehicle to share

with her teenage daughter so the vehicle’s safety and reliability were important to her in

choosing this car. Before buying the car, she researched it on Kelley Blue Book and J.D. Power.

She was told by the dealership salesman that the vehicle was a good family car, it would be easy




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for a teenager to drive, and it received good mileage. Ms. Hawkins did not receive a recall

notice, but rather heard about it on the news and immediately contacted her local New GM

dealer. The dealer told her the parts were not available. Out of fear for her safety, Ms. Hawkins

and her daughter did not drive the vehicle from April 7, 2014, to August 29, 2014, while she

awaited arrival and installation of the recall repair parts. Her daughter was not permitted to drive

the loaner vehicle because she was only seventeen, so Ms. Hawkins had to purchase a

replacement vehicle for the Cobalt, a Hyundai Elantra, for about $3,000. Because the Cobalt sat

so long, Ms. Hawkins had to replace the tires for about $375-$400 and replace the brakes for

about $275. Post-recall repair, Ms. Hawkins no longer has a working key fob and must open the

doors manually. Since announcement of the defect, she believes her car’s value has decreased

significantly, and it prevents her from re-selling it for a fair price. Ms. Hawkins would not have

purchased the vehicle or she would have paid less for it had she known about its defect.

         Kenneth Robinson—Missouri

         166.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class

Representative Kenneth Robinson is a resident and citizen of Urich, Missouri. Mr. Robinson

purchased a new 2008 Pontiac G5 with the Delta Ignition Switch Defect for $13,000 to $14,000

from the Westfall Odell dealership in Missouri on September 7, 2008. The vehicle was covered

under the standard factory warranty. Mr. Robinson chose this vehicle, in part, because the

vehicle’s safety and reliability was important to him. He also remembers the salesman talking

about the vehicle’s safety. Mr. Robinson’s car would shut off on him about every third time he

drove it. He would drive twenty to thirty miles and then it would shut off and he would have to




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put it in neutral and restart it. These shutdowns even happened on the highway, but fortunately

he never had an accident. Before the recall was announced, he brought the car into the Excelsior

Springs, Missouri dealership to address the issue. No one at the dealership could resolve the

problem. Mr. Robinson did not learn about the ignition switch recall until he took the car into

the Jim Falk dealership and traded it for about $6,000 on May 13, 2013. The salesman told him

the car was worth less because of the defect and recall, and Mr. Robinson believes he incurred a

loss as a result. Mr. Robinson would not have purchased the vehicle or he would have paid less

for it had he known about its defect.

         Ronald Robinson—Missouri

         167.     Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Ronald Robinson is a resident and citizen of Bridgeton, Missouri. Mr. Robinson purchased a

used 2010 Chevrolet Impala (subject to the Low Torque Ignition Switch recall) for

approximately $16,000 from Enterprise Leasing in Missouri in June 2010. He purchased an

extended warranty that expired on March 16, 2015, or at 82,000 miles. Both safety and

reliability were important considerations to Mr. Robinson in purchasing this vehicle. Before

purchasing his Impala, Mr. Robinson viewed email and television advertising highlighting the

quality of the Impala, and this positively impacted his decision to buy the car. Mr. Robinson first

heard about the recalls in summer 2014. He contacted his local dealer to inquire about his

Impala, and they told him they were unsure if his vehicle was subject to recall. Then he called a

New GM toll-free number, provided his VIN, and was told his specific make and model was not

being recalled. Just a few months later, in August 2014, he received a notice in the mail about

his car being recalled for an ignition switch defect. Mr. Robinson’s vehicle was not repaired

until the summer of 2015 because the parts were not available for some time. He believes his




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car’s value has diminished and he is worried about trying to sell the car now because he does not

believe he can get a fair price for it. He has also since received other recall notices for the car.

Mr. Robinson would not have purchased the vehicle had he known about its defect.

         Mario Stefano—Missouri

         168.     Plaintiff and proposed Knee-to-Key Camaro Defect Class and Knee-to-Key

Camaro Defect Magnusson-Moss and Implied Warranty Subclass Representative Mario Stefano

is a resident and citizen of Imperial, Missouri. Mr. Stefano purchased a Certified Pre-Owned

2011 Chevrolet Camaro (subject to the Knee-to-Key Ignition Switch recall) from Dave Sinclair

Buick GMC Truck in St. Louis, Missouri on May 14, 2013. The car was covered by the

manufacturer’s warranty. Mr. Stefano’s car turned off while exiting the off ramp. He stopped

the car and restarted it and then went and replaced the battery because that is what he thought

might have been the problem. Mr. Stefano would not have purchased the vehicle or he would

have paid less for it had he known about its defects.

         Christopher Tinen—Missouri

         169.     Plaintiff and proposed Side Airbag Defect Class and Side Airbag Defect

Magnuson-Moss and Implied Warranty Subclass Representative Christopher Tinen is a resident

and citizen of Rockwall, Texas. Mr. Tinen purchased a new 2010 GMC Acadia (subject to the

Side Airbag recall) for $31,800 from the Bommarito dealership in Ellisville, Missouri on

February 22, 2010. The vehicle came with the standard factory warranty. He chose this vehicle,

in part, because the vehicle’s safety and reliability was important to him. He was persuaded to

buy the car because of print and television advertisements he saw and his own online research

about the vehicles’ safety and reliability. The sales representative was also very persuasive about

the car’s fuel economy, performance, and dependability. On dozens of occasions, almost on a




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weekly basis, Mr. Tinen’s Acadia would shut down. The dealership thought it could be electrical

issues or gas issues but the problem was never resolved. He remembers receiving a recall for

defective bolts but nothing for the airbag. He was fearful and angered by the amount of

problems with his car. He is required to travel for work and doing so in the GMC Acadia caused

him anxiety and stress because it was so unreliable. In April 2012, Mr. Tinen traded in his car

for a 2012 GMC Terrain at a $5,000-$6,000 loss. He then got rid of the Terrain in 2014. He

believes New GM should be held responsible for its dishonesty about the safety defects. Mr.

Tinen would not have purchased the vehicle if he had known about its defect.

         Patrice Witherspoon—Missouri

         170.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Successor Liability Subclass, Power Steering Defect Class, and Delta Ignition Switch

Defect Bankruptcy Class Representative Patrice Witherspoon is a resident and citizen of Lee’s

Summit, Missouri. Ms. Witherspoon purchased a new 2006 Saturn Ion with the Delta Ignition

Switch Defect (and subject to the Power Steering recall) for approximately $16,828 from a

Missouri vehicle dealer, Saturn of Blue Springs, in Missouri in 2005. There was an original

factory warranty on the car which expired after 100,000 miles. Ms. Witherspoon chose this

vehicle, in part, because the vehicle’s safety and reliability were important to her. She was

looking for a safe vehicle to transport herself and her minor daughter. She remembers seeing

television advertisements for Saturn which stated the vehicles were safe. She was also reassured

by the Saturn salesman that the car was safe after she expressed a requirement that the car have

dual airbags in the front seats. Ms. Witherspoon’s vehicle spontaneously shut off on at least five

occasions while driving. On one occasion, she was on the highway but was able to avoid an




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accident by pulling over to the shoulder. On another occasion, her vehicle shut off while on the

exit ramp to a highway, but she was, fortunately, again able to avoid an accident. On each

occasion, the vehicle gearshift was in “drive” or “reverse” and the ignition key was in the “run”

position. Ms. Witherspoon had difficulty controlling and safely stopping the vehicle. After the

recall was announced in early 2014, Ms. Witherspoon received a postcard from New GM stating

that the part had not been repaired in her vehicle. She contacted Molle Chevrolet, the dealership

servicing the vehicle, and was told the part was not available. Ms. Witherspoon was afraid to

drive her car for fear that it would stall and cause an accident. So for approximately one week,

Ms. Witherspoon either borrowed her mother’s car or asked her mother to personally drive her

on errands and to and from work. Her mother often had to take personal time from her own job

to transport Ms. Witherspoon. Due to the inconvenience of depending on her mother for

transportation, and the fact that she could not afford to replace the vehicle or pay for a rental, Ms.

Witherspoon felt she had no choice but to resume driving the Saturn. Ms. Witherspoon waited

several months for the part to arrive, all the while fearing for her and her family’s safety while in

the car. In early June 2014, Molle Chevrolet said the part was available and told Ms.

Witherspoon to bring her car in for service. The following Saturday, on or about June 14, 2014,

Ms. Witherspoon brought her car in for repair. After waiting most of the day in the service

department, she was told the part was not available and she would have to come back another

day. Ms. Witherspoon returned to Molle Chevrolet again on or about Saturday, June 21, 2014,

and waited two hours while the ignition switch was finally repaired. The value of Ms.

Witherspoon’s vehicle has diminished as a result of the defect. Ms. Witherspoon would not have

driven the vehicle or would have sold it if she had known about its defect. She would not have




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purchased the vehicle or she would have paid less for it had she known about the defect in the

vehicle.

         Laurie Holzwarth—Montana

         171.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class

Representative Laurie Holzwarth is a resident and citizen of Billings, Montana. Ms. Holzwarth

purchased a used 2005 Chevrolet Cobalt with the Delta Ignition Switch Defect for about $7,000

from a private seller in Billings, Montana in 2008. The car was not under warranty. Ms.

Holzwarth purchased this vehicle because safety and reliability was important to her, as this was

a car for her daughter, Christine. Christine has experienced countless shutdowns while driving

the vehicle. It has shut down on highways, on the main street of her town, and pulling into

parking spaces. The worst incident that Christine can remember was witnessed by Ms.

Holzwarth while they were driving on the highway in August 2010 from Billings to Bozeman,

where Christine would be attending college. While making a sharp turn, traveling at 75-80 miles

per hour, the car shutoff. Christine was able to get the car to a stop without hitting the concrete

wall, cycle the key, and continue. They drove another 40 miles, and the car shut off twice more

on the straightaway, and once more in town. Christine experienced both power steering failure

and power failure incidents before this, but had not done much highway driving because she

mainly drove to and from high school. The ignition switch was supposedly repaired under the

recall on July 29, 2014. But since its repair, Christine experienced two shutdowns and power

steering failures on September 3, 2014, and September 8, 2014. In trying to resolve issues with

the vehicle’s repair, Ms. Holzwarth had to pay for transportation to the dealership on various

occasions. Also, in an attempt to diagnose the shutdown issues prior to disclosure of the ignition




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switch defect, Ms. Holzwarth paid at least $500 to repair things that mechanics believed may be

causing the vehicle shutdowns. Ms. Holzwarth would not have driven the vehicle or would have

sold it if she had known about its defect. She would not have purchased the vehicle or she would

have paid less for it had she known about its defect.

         Susan Rangel—Nebraska

         172.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class

Representative Susan Rangel is a resident and citizen of North Platte, Nebraska. Ms. Rangel

purchased a used 2008 Chevrolet Cobalt with the Delta Ignition Switch Defect for $14,000 from

Jerry Remus Chevrolet in North Platte, Nebraska on September 13, 2008. At the time of

purchase, the vehicle had the original manufacturer’s warranty. Ms. Rangel purchased the

vehicle believing it to be safe and reliable. The salesman told her about the car’s safety and

reliability at the time she bought the car. At the time of her purchase, there were two Cobalts left

on the lot and the salesperson informed her that these cars were ideal for safety and reliability.

When she learned about the recall in April 2014, she requested a loaner vehicle because she did

not believe the vehicle was safe to drive, but New GM told her they would not provide one. The

dealership repaired her vehicle under the recall in June 2014. Ms. Rangel would not have driven

the vehicle or would have sold it if she had known about its defect. She would not have

purchased the vehicle or she would have paid less for it had she known about its defect.

         Bonnie Hensley—Nevada

         173.     Plaintiff and proposed Side Airbag Defect Class Representative Bonnie Hensley

is a resident and citizen of Reno, Nevada. Ms. Hensley purchased a used 2013 GMC Acadia

(subject to the Side Airbag recall) for $42,429 from Reno Buick GMC Cadillac in Reno, Nevada




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on January 31, 2014. The vehicle had a standard manufacturer’s warranty and Mrs. Hensley also

purchased an extended warranty. She chose this vehicle, in part, because the vehicle’s safety and

reliability was important to her. Ms. Hensley does not recall receiving any recalls on her 2013

GMC Acadia. She sold her car back to the dealership on January 24, 2016 for $24,500. Ms.

Hensley would not have purchased the vehicle or she would have paid less for it had she known

about the defect in the vehicle.

         Sandra Horton—Nevada

         174.     Plaintiff and proposed Delta Ignition Switch Defect Class Representative Sandra

Horton is a resident and citizen of Las Vegas, Nevada. Ms. Horton purchased a used 2007

Pontiac Solstice with the Delta Ignition Switch Defect for $10,000 from Buckaroo Auto Sales in

Nevada in October 2013. Her car was not under warranty at the time of purchase. She chose

this vehicle, in part, because the vehicle’s safety and reliability was important to her. On several

occasions she experienced issues with her vehicle that were consistent with the ignition switch

defect. Also, at times she could not get the key out of the ignition when it was in park and the

engine would continue to run on its own. Ms. Horton’s vehicle was repaired under the recall on

July 2, 2014, but only after she waited four or five months for the parts to arrive. New GM did

not provide her with a loaner vehicle during this waiting period. Ms. Horton had to borrow

vehicles from relatives and friends to get to classes, medical appointments, and to buy groceries

for her family, and she paid them for the fuel to use their cars. Ms. Horton would not have

purchased the vehicle or she would have paid less for it had she known about the defect in the

vehicle.

         Wayne Wittenberg—Nevada




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         175.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class

Representative Wayne Wittenberg is a resident and citizen of Las Vegas, Nevada. Mr.

Wittenberg purchased a new 2006 Chevrolet HHR with the Delta Ignition Switch Defect for

$20,300 from Bill Heard Chevrolet in Las Vegas, Nevada in September 2005. Mr. Wittenberg’s

vehicle came with the standard new car warranty. Mr. Wittenberg chose this vehicle, in part,

because the vehicle’s safety and reliability was important to him. He also recalls seeing

television ads about the safety features of the HHR. Mr. Wittenberg experienced stalling and

shutdowns in his HHR about four to five times while driving. Each time he would have to pull

over and restart the car. Mr. Wittenberg was concerned about this defect and his safety so he

decided to trade in the vehicle for a more reliable car in September 2012, before the recall was

announced. Mr. Wittenberg reviewed Kelley Blue Book and noted that the value of his car

varied between $6,000-$7,500. The best trade-in offer he received, however, was approximately

$4,000. Mr. Wittenberg would not have driven the vehicle or would have sold it if he had known

about its defect. He would not have purchased the vehicle or he would have paid less for it had

he known about the defect in the vehicle.

         Crystal Mellen—New Hampshire

         176.     Plaintiff and proposed Delta Ignition Switch Defect Class and Power Steering

Defect Class Representative Crystal Mellen is a resident and citizen of Nashua, New Hampshire.

Ms. Mellen purchased a used 2004 Saturn Ion with the Delta Ignition Switch Defect (and subject

to the Power Steering recall) for $6,995 from Jok’s Auto in Hudson, New Hampshire on

September 4, 2012. Her car was not under warranty at the time of purchase. Ms. Mellen chose




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this vehicle, in part, because the vehicle’s safety and reliability was important to her. She has a

young son and stepson, both with special needs, who she transports in the vehicle so she needed

something safe. Ms. Mellen saw television advertisements discussing the safety and reliability

of Saturn vehicles. Frequently, her key gets stuck in the ignition switch of the car. This problem

started relatively soon after she bought the car, but now is nearly an everyday occurrence since

she had the recall repair completed. Ms. Mellen’s vehicle was repaired under the ignition switch

recall in May 2014. She acted quickly to get the repair because her household must share this

one vehicle. It took about a week or two for the new parts to arrive and the repair to be

completed. About a year ago, the vehicle’s power steering went out while she was driving. She

was able to maneuver home, but it was very difficult without the power steering capabilities.

She eventually received a recall notice for the power steering. Ms. Mellen would not have

purchased the vehicle or she would have paid less for it had she known about the defects in the

vehicle.

         Michael Amezquita—New Jersey

         177.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class

Representative Michael Amezquita is a resident and citizen of Hamilton, New Jersey. Mr.

Amezquita purchased a new 2006 Chevrolet Cobalt with the Delta Ignition Switch Defect for

$14,000 from Beacon Chevy-Olds in Hightstown, New Jersey on June 30, 2006. At the time he

purchased the vehicle it was covered under warranty, but the warranty has since expired. Mr.

Amezquita chose to purchase an Old GM vehicle because safety and reliability were both

important to him and his family. He truly believed that he would be buying a safe car. He also




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remembers the salesman saying that he was purchasing a very reliable brand. Mr. Amezquita did

not learn of the ignition switch defects until March 2014. His car was not repaired under the

recall until April 23, 2014, after about a month of waiting on the parts and service. Mr.

Amezquita would not have driven the vehicle or would have sold it if he had known about its

defect. He would not have purchased the vehicle or he would have paid less for it had he known

about the defect in the vehicle.

         Heather Francis—New Jersey

         178.     Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Heather Francis is a resident and citizen of Hamilton, New Jersey. Ms. Francis purchased a used

2000 Chevrolet Impala (subject to the Low Torque Ignition Switch recall) from Dani’s Auto in

Philadelphia, New Jersey on July 31, 2012. Ms. Francis has experienced her steering wheel

tighten up while she is driving, making it hard to steer. Ms. Francis would not have driven the

vehicle or would have sold it if she had known about its defect. She would not have purchased

the vehicle or she would have paid less for it had she known about its defect.

         Anthony Juraitis—New Jersey

         179.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Successor Liability Subclass, Power Steering Defect Class, and Delta Ignition Switch

Defect Bankruptcy Class Representative Anthony Juraitis is a resident and citizen of Freehold,

New Jersey. Mr. Juraitis purchased a new 2004 Saturn Ion with the Delta Ignition Switch Defect

(and subject to the Power Steering recall) for $16,000 from a Saturn dealership in Freehold, New

Jersey around the winter of 2003. Mr. Juraitis purchased the vehicle with a standard warranty.

Mr. Juraitis chose the vehicle because the vehicle’s safety and reliability was important to him.




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He had owned Saturns before and was pleased with their safety and reliability. Mr. Juraitis

experienced several shutdowns and stalls while driving his Ion. The first occurred on the

highway when his vehicle “locked” while driving. Other drivers stopped to help him push his

vehicle to the side of the road, where, after several attempts, he was able to restart his vehicle.

Mr. Juraitis took the vehicle to the dealership, which replaced the ignition switch and charged

Mr. Juraitis for parts and labor. Following this supposed repair, Mr. Juraitis’ vehicle continued

to have stalls and shutdowns approximately three dozen times, with about eight or ten of them

being in very dangerous situations. On July 31, 2014, the ignition switch was replaced again,

this time under the recall. On two occasions before the recall, Mr. Juraitis paid to have his

ignition serviced in an attempt to solve the vehicle’s shutdown problems. Mr. Juraitis also

missed work to have the vehicle repaired. Following this replacement, Mr. Juraitis continued to

experience safety problems with the vehicle, including in early September 2014, when his

vehicle shut down again and he was unable to immediately restart the vehicle. Mr. Juraitis

would not have driven the vehicle or would have sold it if he had known about its defect. He

would not have purchased the vehicle or he would have paid less for it had he known about its

defect.

          Gene Reagan—New Jersey

          180.    Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Magnuson-Moss and Implied Warranty Subclass, Power Steering Defect Class, and

Power Steering Defect Magnuson-Moss and Implied Warranty Subclass Representative Gene

Reagan is a resident and citizen of South Amboy, New Jersey. Mr. Reagan purchased a new

2010 Chevrolet HHR (subject to the Delta Ignition Switch and the Power Steering recalls) for

about $20,000 from All American Chevrolet in Middletown, New Jersey in December 2009. His




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vehicle had a standard warranty, but he does not recall its details. Mr. Reagan purchased a

Chevrolet vehicle because he believed that New GM stood for safety and reliability. Mr. Reagan

has experienced several safety problems with his vehicle, including his ignition locking and

inability to turn the key to the “on” position, requiring the car to be towed to the dealership.

Because of his ignition problems, Mr. Reagan had his ignition replaced approximately three

years ago, but it did not solve the problems he was experiencing with his vehicle. Mr. Reagan’s

ignition switch was replaced under the recall on October 28, 2014. Mr. Reagan missed a day of

work when the car was being repaired. He is unaware if the power steering was ever serviced

under the recall, and he no longer owns the car. Mr. Reagan would not have purchased the

vehicle or he would have paid less for it had he known about its defects.

         Steven Sileo—New Jersey

         181.     Plaintiff and proposed Delta Ignition Switch Defect Class Representative Steven

Sileo is a resident and citizen of Skillman, New Jersey. Mr. Sileo purchased a used 2009

Chevrolet Cobalt with the Delta Ignition Switch Defect for $10,000 from Burlington Chevrolet

in Burlington, New Jersey in July 2010. It was under warranty when he purchased it. Because

Mr. Sileo purchased the vehicle for his teenage daughter to drive, he was very concerned about

the safety and reliability of the vehicle. Mr. Sileo was assured about the safety and reliability of

the vehicle by advertisements and by the salesperson who ultimately sold him the vehicle.

Although Mr. Sileo did not experience any ignition switch-related events with his Cobalt, he

feared driving the vehicle after learning of the recall and the risks posed by the defect. Mr. Sileo

had the recall repair work performed in 2011 and again in late 2014. Mr. Sileo and his daughter

were without the vehicle for more than three months while the vehicle’s ignition was repaired in

2014. Mr. Sileo sold the vehicle in November 2015 for $2,500. Mr. Sileo believes the value of




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his vehicle was diminished as a result of the defect. Mr. Sileo would not have purchased the

vehicle or would have paid less for the vehicle had he known about its defect.

         Javier Delacruz—New Mexico

         182.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Magnuson-Moss and Implied Warranty Subclass, and Delta Ignition Switch Defect

Bankruptcy Class Representative Javier Delacruz is a resident and citizen of Albuquerque, New

Mexico. Mr. Delacruz purchased a new 2009 Chevrolet Cobalt with the Delta Ignition Switch

Defect for $20,698 from Reliable Chevrolet in Albuquerque, New Mexico in September

2009. The vehicle was under warranty when he purchased it. In 2011, Mr. Delacruz could not

shut off his vehicle and the ignition switch was replaced. After learning about the ignition

switch recall, Mr. Delacruz feared driving his vehicle because of the risks posed by the defect.

His vehicle’s ignition switch was replaced again in 2014 under the recall. Additionally, Mr.

Delacruz was without his vehicle for three months while his vehicle was being repaired under the

recall. He sold the vehicle in October 2015 for $6,000. Mr. Delacruz believes the value of his

vehicle was diminished as a result of the defect. Mr. Delacruz would not have purchased the

vehicle or would have paid less for it had he known about its defect.

         Lorraine De Vargas—New Mexico

         183.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Power Steering Defect Class, and Delta Ignition Switch

Defect Bankruptcy Class Representative Lorraine De Vargas is a resident and citizen of Rio

Rancho, New Mexico. Ms. De Vargas purchased a used 2005 Saturn Ion with the Delta Ignition

Switch Defect (and subject to the Power Steering recall) in installment payments to a private

seller in October 2007 in Santa Fe, New Mexico for $5,000, and paid the vehicle off on




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November 25, 2009. There was no warranty on the vehicle when Ms. De Vargas purchased it.

She chose this vehicle, in part, because the vehicle’s safety and reliability was important to her.

Ms. De Vargas was involved in an accident on December 12, 2012. While she was driving her

car the vehicle shut down unexpectedly and caused her to collide with a fence at 25-30 miles per

hour. Her power steering went out and her airbags failed to deploy. The vehicle damage was

repaired, and while she survived the accident with no injuries, she had to pay a $500 insurance

deductible and she still had to drive the car to work every day despite her concerns about her

safety. Ms. De Vargas did not learn of the ignition switch defects until March 2014 after reading

an article online that stated the car was unsafe to drive and New GM would offer a

complementary loaner vehicle while affected vehicles were repaired. Ms. De Vargas contacted a

New GM dealer in Espanola, New Mexico to schedule the repair and asked for a loaner car

because she did not feel safe driving her Ion. The New GM dealer said it did not have the part to

fix the car yet. It also took the dealership several weeks to get her a loaner vehicle, which was an

inconvenience because she had to get a ride with a coworker to get to work. Ms. De Vargas had

to take time off work to pick up the loaner car out in Los Alamos, New Mexico. When she

finally had her car repaired under the recall in April 2014, after waiting a little over a month for

the parts and service, she had to take time off work as well. Ms. De Vargas is still concerned

about the safety of her vehicle, the impact the defect has had on the value of her vehicle, and the

costs she has incurred in fixing the vehicle previously. Because of these safety concerns, since

mid-2015, Ms. De Vargas has kept the car parked and drives it very little. Ms. De Vargas would

not have driven the vehicle or would have sold it if she had known about its defect. She would

not have purchased the vehicle or she would have paid less for it had she known about the defect

in the vehicle.




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         Arteca Heckard—New Mexico

         184.     Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Arteca Heckard is a resident and citizen of Hobbs, New Mexico. Ms. Heckard purchased a used

2004 Chevrolet Impala (subject to the Low Torque Ignition Switch recall) from a private seller in

New Mexico in March 2014. Ms. Heckard’s vehicle has shut off on her while driving. Ms.

Heckard would not have purchased the vehicle or she would have paid less for it had she known

about its defect.

         Bernadette Romero—New Mexico

         185.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class

Representative Bernadette Romero is a resident and citizen of Santa Fe, New Mexico. Ms.

Romero purchased a new 2007 Chevrolet Cobalt with the Delta Ignition Switch Defect for

$14,645 from Casa Chevrolet in Albuquerque, New Mexico on July 3, 2007. Her car was

covered by a warranty at the time of purchase. Ms. Romero’s vehicle was repaired under the

recall in May 2014, but she went without her vehicle for five weeks while it was repaired. She

drove a loaner car during that time. Ms. Romero traded in her Cobalt for $5,500 on June 20,

2014. Ms. Romero would not have driven the vehicle or would have sold it if she had known

about its defect. She would not have purchased the vehicle or she would have paid less for it had

she known about its defect.

         Irene Torres—New Mexico

         186.     Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Irene Torres is a resident and citizen of Las Cruces, New Mexico. Ms. Torres purchased a used

2001 Oldsmobile Alero (subject to the Low Torque Ignition Switch recall) for $3,500 from a




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private seller in New Mexico in August 2013. The car was not under warranty. Ms. Torres

chose this vehicle for its reliability and gas mileage because she uses it to travel back and forth to

school. Ms. Torres’s vehicle has shut off on her while she was leaving her driveway. Ms. Torres

did not learn about the ignition switch defect until a man helping her with her car mentioned it.

She eventually received a recall notice. Ms. Torres is a fulltime college student and she cannot

afford to buy a new car. She would not have purchased the vehicle or she would have paid less

for it had she known about its defect.

         Renate Glyttov—New York

         187.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Magnuson-Moss and Implied Warranty Subclass, Power Steering Defect Class, and

Power Steering Defect Magnuson-Moss and Implied Warranty Subclass Representative Renate

Glyttov is a resident and citizen of New Windsor, New York. Ms. Glyttov purchased a Certified

Pre-Owned 2009 Chevrolet HHR with the Delta Ignition Switch Defect (and subject to the

Power Steering recall) for $15,995 from Barton Birks Chevrolet in Newburgh, New York on

March 28, 2012. Ms. Glyttov’s vehicle was covered by a certified pre-owned limited warranty

that expired on March 28, 2013, as well as a standard maintenance plan that was effective from

her purchase date until March 28, 2014. Operating under the belief that New GM was a quality

brand and that the vehicle would be safe, reliable, and defect-free, she purchased her HHR. The

salesman also told Ms. Glyttov that the HHR was a safe and reliable vehicle. The salesman

pointed out all of the airbags and told her how safe Chevrolet makes its vehicles, and how rugged

the HHR was based on its platform. Ms. Glyttov was particularly concerned about safety

because she would be driving with her elderly mother. Ms. Glyttov’s vehicle regularly shut off

spontaneously on many occasions in 2012 and 2013 while she traveled around New Windsor,




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New York; Newburgh, New York; Wallkill, New York; and in Pennsylvania when driving onto

an off-ramp of I-84. The vehicle would shut off when Ms. Glyttov drove on bumpy roads or hit

a pothole. Ms. Glyttov also experienced other problems with the ignition. On several occasions

in 2012 and 2013, when she put the key in the ignition it would not turn and would get stuck in

the ignition. Eventually, the key would move after attempting to turn the ignition on for several

minutes. On May 16, 2012, Ms. Glyttov’s ignition lock cylinder was replaced during a routine

oil change. She still experienced numerous shut off events after this replacement. The various

ignition-related incidents led to Ms. Glyttov only using the car for driving around town and very

sparingly, as she could not trust it on longer trips, and became hesitant to drive it on the highway.

Ms. Glyttov she took her car in for service under the ignition recall on May 5, 2014. Her car was

kept until June 11, 2014 while the ignition keys and switch were replaced. Ms. Glyttov received

notice of the Power Steering recall in June of 2014, and the Notice indicated that parts were not

currently available. At various points over the next six months, Ms. Glyttov made inquiries with

her two local dealerships as to the availability of parts for the power steering recall. During at

least one of these calls, she was told not to worry because nothing bad would happen if she was

driving it and the part failed. Finally, on December 10, 2014, when the part was finally

available, Ms. Glyttov had the power steering serviced under the recall at Healey Brothers

Chevrolet. Ms. Glyttov needed to use some time away from work to bring the vehicle to

appointments to address some of the issues with the vehicle. She ultimately traded in the vehicle

in 2015. Ms. Glyttov would not have purchased the vehicle or she would have paid less for it

had she known about its defects.

         Sandra Levine—New York




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         188.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class

Representative Sandra Levine is a resident and citizen of Babylon, New York. Ms. Levine

purchased a used 2005 Chevrolet Cobalt with the Delta Ignition Switch Defect for $16,627.96

from Babylon Honda in Babylon, New York on May 27, 2006. Ms. Levine’s vehicle was

covered by a warranty that expired 90 days after her purchase. Ms. Levine purchased her Cobalt

because she believed it would be a safe and reliable vehicle. Ms. Levine’s vehicle spontaneously

shut off on two occasions in 2011 and 2012. The shut-off incidents both took place when she

was driving on Deer Park Avenue in Suffolk County, New York. There was no apparent reason

for the shutdown in either case. The road was not bumpy, and Ms. Levine does not believe her

knee hit the ignition switch. Ms. Levine’s ignition switch was replaced on May 22, 2014, by

Chevrolet of Huntington in connection with the recall. Ms. Levine still owns the vehicle. Ms.

Levine would not have driven the vehicle or would have sold it if she had known about its

defect. She would not have purchased the vehicle or she would have paid less for it had she

known about its defect.

         Nicole Mason—New York

         189.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Magnuson-Moss and Implied Warranty Subclass, Power Steering Defect Class, and

Power Steering Defect Magnuson-Moss and Implied Warranty Subclass Representative Nicole

Mason is a resident and citizen of Rochester, New York. Ms. Mason purchased a new 2010

Chevrolet Cobalt (subject to the Delta Ignition Switch and Power Steering recalls) for

$22,010.47 from Bob Johnson Chevrolet in Rochester, New York on May 17, 2010. Ms. Mason

purchased an extended warranty that covered the vehicle for 72 months or 48,000 miles.




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Ms. Mason reviewed advertisements for the Cobalt that ran in her local newspaper, the Democrat

& Chronicle, and her decision to buy the vehicle was influenced by these advertisements. Ms.

Mason believed the Chevrolet Cobalt was a safe and reliable vehicle. Ms. Mason’s vehicle has

spontaneously shut off on at least three occasions. The vehicle first shut off on September 3,

2010, near Emerson and Glide streets in Rochester, New York when Ms. Mason’s daughter,

Jessica Mason, was driving it home from a test to get her driver’s license. Because of the

incident, the vehicle had to be towed to be repaired, and Jessica Mason was unable to complete

the driver’s test. Ms. Mason purchased a AAA membership after the vehicle proved to be so

unreliable. The vehicle shut off a second time on September 16, 2010, in Rochester, New York

when Jessica Mason was traveling on Britton Road. Most recently, on September 4, 2014, the

vehicle shut off while Ms. Mason was driving it in Myrtle Beach, South Carolina. On each

shutdown occasion, the vehicle lost power for no apparent reason. Ms. Mason and her daughter

were not driving on a bumpy road and did not hit the ignition switch with their knees. In the

September 16, 2010 incident, Jessica Mason was forced to use the emergency brake to get the

vehicle to stop and avoid an accident. The vehicle would not turn back on immediately and had

to be towed to Ms. Mason’s home. Ms. Mason took the vehicle to a New GM dealer after the

September 16, 2010 incident, but the dealer could not identify a cause for the shut off and made

no repairs. Ms. Mason’s ignition switch was replaced in June 2014 under the recall, and, to the

best of her recollection, Ms. Mason’s power steering was serviced under the power steering

recall in or shortly after November 2014. Ms. Mason still owns the vehicle. Ms. Mason would

not have purchased the vehicle or she would have paid less for it had she known about its

defects.

         Donna Quagliana—New York




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         190.     Plaintiff and proposed Delta Ignition Switch Defect Class Representative Donna

Quagliana is a resident and citizen of Westfield, New York. Ms. Quagliana purchased a used

2005 Chevrolet Cobalt with the Delta Ignition Switch Defect for $10,000 from Schults of

Westfield, New York, a Chevrolet dealership, in 2013. It was not covered under warranty. She

bought it because they needed a safe car for her daughter to drive to and from college in Buffalo,

New York. While Ms. Quagliana was driving to school on two separate occasions, the car

turned off and she was able to get off to the side of road and restart. This scared her daughter so

much that she did not want to drive the car, and Ms. Quagliana’s son had to drive it back to

Westfield. Ms. Quagliana lent her vehicle to her daughter and had to go without a car because

she did not want her daughter driving the Cobalt. Ms. Quagliana tried to diagnose the problem

and get the vehicle fixed to no avail, until one day her mother sent her an article about the

defective ignition switches and related fatalities. Ms. Quagliana was so angry and scared that

she had sent her daughter off in a car she thought was safe but was not. She feels lucky her

daughter is alive today. It took months, but finally the repair was completed on the car. In 2015,

after the switch was repaired, the car was totaled in an accident when it slid on ice. They decided

against another Chevy and got a Ford instead. Ms. Quagliana would not have driven the vehicle

or would have sold it if she had known about its defect. She would not have purchased the

vehicle or would have paid less for it had she known about the defect in the vehicle.

         Michael Rooney—New York

         191.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Bankruptcy Class

Representative Michael Rooney is a resident and citizen of Ronkonkoma, New York. Ms.

Rooney purchased a used 2005 Chevrolet Cobalt with the Delta Ignition Switch Defect for




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$16,000 from Thomas Dodge Subaru Suzuki in Port Jefferson Station, New York on September

13, 2007. Ms. Rooney purchased an extended warranty for the vehicle. She chose this vehicle

because safety and reliability in the vehicle was important to her. She recalls seeing

advertisements for the Cobalt in Newsday and in the New York Daily News touting the vehicle’s

safety and reliability, and she sought out the vehicle because of these advertisements. Ms.

Rooney also recalls asking the salesman at Thomas Dodge about whether the Cobalt was safe,

and he told her that the vehicle had a good safety rating. Ms. Rooney experienced several

shutdowns in her vehicle while driving. Her ignition switch was replaced under the recall in

summer 2014. Before the ignition switch was replaced, Ms. Rooney missed three total days of

work when the Cobalt stalled and Ms. Rooney was unable to remove her ignition key from the

ignition. She was not paid for these three days of missed work. After the vehicle stalled on

these three occasions, Ms. Rooney was afraid to drive it. This fear caused her to miss multiple

doctor appointments. Ms. Rooney also rented a car the day she heard about the recall and took

the Cobalt to the dealership for repair. Following replacement of her ignition switch, her

automatic starter no longer worked in her vehicle, which she had to have repaired and cost her an

additional $335. Ms. Rooney still owns the vehicle, largely because she feels that she cannot get

rid of it. Ms. Rooney would not have driven the vehicle had she known it was defective. She

would not have purchased the vehicle or she would have paid less for it had she known about its

defect.

          William Ross—New York

          192.    Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class




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Representative William Ross is a resident and citizen of Bellmore, New York. Mr. Ross

purchased a new 2005 Chevrolet Cobalt with the Delta Ignition Switch Defect for approximately

$25,000 from Robert Chevrolet in Hicksville, New York in 2005. Mr. Ross chose the New 2005

Cobalt because his neighbor had a new Cobalt and he liked the vehicle, so he purchased one for

himself. On June 23, 2012, Mr. Ross was driving his Cobalt in Nassau County, New York, at

approximately 55 miles per hour when the ignition inadvertently switched into the accessory

position, causing the engine to lose power. The car’s power steering, power braking, and airbag

systems were disabled. Mr. Ross lost control and the car crashed into a divider lined with rubber

pylons. The airbag did not deploy. Mr. Ross suffered cuts and a separation of the muscle from

the tendon in his arm. It could not be surgically repaired by the time he was able to go to the VA

hospital. This accident cost Mr. Ross $6,279.97 in car repairs. On March 30, 2014, Mr. Ross

was again driving his Chevrolet Cobalt in Nassau County, New York, at approximately 55 miles

per hour when the ignition suddenly switched into the accessory position, causing the vehicle to

lose power to the engine. Again, the power steering, power braking system, and airbags were

disabled. Mr. Ross lost control of the car and it hit a divider, knocking the rear wheels out of

alignment. This accident cost Mr. Ross approximately $175 in repairs. In both accidents, the

road was not bumpy and Mr. Ross does not recall hitting anything with his knee to cause the key

to turn. When Mr. Ross learned of the recalls, he called his New GM dealership to see if his

vehicle was involved in the recall. New GM told him it was not. Then in early March 2014 he

received a recall notice. When he called about getting the recall repairs done he was told the

parts to repair it were not available. Mr. Ross stopped driving the vehicle and, in April 2014, he

sold it to a junkyard to scrap for approximately $4,000. He is a retired, disabled veteran. Mr.

Ross would not have driven the vehicle or would have sold it if he had known about its defect.




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He would not have purchased the vehicle or he would have paid less for it had he known about

its defect.

         Richelle Draper—North Carolina

         193.     Plaintiff and proposed Side Airbag Defect Class and Side Airbag Defect

Magnuson-Moss and Implied Warranty Subclass Representative Richelle Draper is a resident

and citizen of Mint Hill, North Carolina. Ms. Draper purchased a new 2011 GMC Acadia

(subject to the Side Airbag recall) for approximately $40,000 from Liberty GMC Buick in

Charlotte, North Carolina on July 16, 2011. The car was covered by the standard factory

warranty and she purchased an extended warranty at the same time. The safety and reliability of

the vehicle was important to Ms. Draper. She liked the multiple airbags, the cars aesthetics and

features, how it drove, and the roadside assistance and OnStar features made her family feel safe.

She believed GMC was a very good brand. She cannot recall the specifics of the conversation

with the salesperson, but she believes they spoke about the safety of the car. Since purchasing

the car, she received numerous recall notices overall, and about three of them in a fifteen month

time period. She was nervous about safety in her vehicle after learning about the recalls and she

had to wait what felt like a long time before the parts were available. Ms. Draper received the

side airbag recall notice and had her car repaired under the recall on May 19, 2014. It was

inconvenient because she or her husband had to miss work to attend to the repair. Her husband

sat and waited while it was fixed. Ms. Draper would not have purchased the vehicle or she

would have paid less for it had she known about its defect.

         Gwen Moore—North Carolina

         194.     Plaintiff and proposed Low Torque Ignition Switch Defect Class and Low Torque

Ignition Switch Defect Magnuson-Moss and Implied Warranty Subclass Representative Gwen




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Moore is a resident and citizen of Wake Forest, North Carolina. Ms. Moore purchased a new

2011 Cadillac DTS (subject to the Low Torque Ignition Switch recall) from Thompson Cadillac

in Raleigh, North Carolina in September 2011. The car was covered by the standard factory

warranty. Ms. Moore chose this vehicle, in part, because the vehicle’s safety and reliability was

important to her. She has owned three Cadillacs before this one and she believed it was a safe

and reliable brand based on her previous experience. The dealership salesperson also

represented that the vehicle was very safe and reliable. Ms. Moore received the recall notice for

the ignition switch defect and had it repaired in 2014. It was inconvenient for Ms. Moore to go

to the Raleigh dealership to have the repair completed. She was also angry to discover she had

been driving around in a dangerous and defective car all that time. Ms. Moore wrote New GM

two letters expressing her concern about the defect, and while she got one phone call in response,

nothing came of it. Ms. Moore would not have purchased the vehicle or she would have paid

less for it had she known about its defect.

         Leland Tilson—North Carolina

         195.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class

Representative Leland Tilson is a resident and citizen of Gastonia, North Carolina. Mr. Tilson

purchased a new 2009 Chevrolet Cobalt with the Delta Ignition Switch Defect for $15,000 from

McKinney Chevrolet in Gastonia, North Carolina on February 28, 2009. The vehicle had a five-

year/100,000-mile warranty. Mr. Tilson purchased this vehicle because he thought it would be

reliable. He recalls discussing reliability with the salesperson who sold him the Cobalt. Mr.

Tilson experienced at least one shutdown in the vehicle while he was driving on a highway at




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highway speed. It happened when the vehicle went over a break in the asphalt and the vehicle

shut down. Mr. Tilson, with an 18-wheeler bearing down on him, was able to maneuver the

vehicle to the side of the road to avoid an accident. During this power failure, the power steering

also failed. Mr. Tilson has had his ignition replaced twice. The first time was in June 2013, not

under the recall, because he was unable to shut off his vehicle. The second time was in July

2014 under the recall. Mr. Tilson still owns the vehicle, though he would not have driven it, and

may have attempted to sell it back to the dealership, had he known the vehicle was defective. He

would not have purchased the vehicle or he would have paid less for it had he known about its

defect.

          Jolene Mulske—North Dakota

          196.    Plaintiff and proposed Delta Ignition Switch Defect Class Representative Jolene

Mulske is a resident and citizen of Gladstone, North Dakota. Ms. Mulske purchased a used 2005

Chevrolet Cobalt with the Delta Ignition Switch Defect for about $10,000 from Sax Motor

Company in Dickinson, North Dakota in 2010. At the time of purchase, the vehicle was not

under warranty and Ms. Mulske did not purchase an extended warranty. Ms. Mulske purchased

the vehicle because she wanted a safe and reliable vehicle for her daughter to drive. The

vehicle’s safety and reliability was an important consideration. Although Ms. Mulske does not

have a specific recollection of an advertisement touting the Cobalt’s safety and/or reliability, she

has a general recollection of seeing such advertisements. Ms. Mulske had the ignition switch

repaired under the recall in summer 2014. Ms. Mulske would not have purchased the vehicle or

she would have paid less for it had she known about its defect.




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         Lisa Axelrod—Ohio26

         197.     Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Lisa Axelrod is a resident and citizen of North Hollywood, California. Ms. Axelrod purchased a

new 2004 Pontiac Grand Am (subject to the Low Torque Ignition Switch recall) for about

$21,895 from a Pontiac dealership in Willoughby, Ohio on January 21, 2005. The car was

covered by the standard factory warranty. Ms. Axelrod chose this vehicle, in part, because the

vehicle’s safety and reliability was important to her. She owned a Grand Am before and it had

been a good, safe car that held up well. She also saw print ads in the Cleveland Plain dealer

paper and local news magazine about Old GM vehicles. About two years ago, shortly after the

news about the recalls broke, the car shut off on her while she was driving. She also lost her

steering ability. She was unable to restart the car so she called AAA and had it towed to

Community Chevrolet in Burbank, California. They would not cover the repairs because the

recall was not out for her particular vehicle yet, so she took it to another mechanic to fix it more

cheaply. The mechanic replaced the three-part ignition switch. Ms. Axelrod had to pay out-of-

pocket for a rental car while the ignition was repaired. She filed a claim for reimbursement with

New GM for the ignition switch repair. They took months to respond and declined because her

vehicle was not a part of the ignition switch recall. She has continued to go back and forth with

New GM, but has yet to be repaid for the repair. Shortly after, she received a recall notice.

When she called the dealer they said it was “just a key thing” and she would have to wait

because the parts were back-ordered. It took six weeks to get the repair. New GM did not offer

her a loaner vehicle and the repair ended up taking all day, instead of an hour as originally


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      The Court has dismissed this plaintiff’s claims. They are included solely for the purpose
of preserving their claims on appeal.



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promised. However, the new keys did not work with her car’s doors or trunk. She did not

realize this until her electronic fob died a few months later. She went back to the dealership and

was accused of re-keying her car although she has never done so. The dealership had thrown

away her original keys and told her she would now need to have all the locks on the car replaced.

Ms. Axelrod can no longer use her key to open the doors and she does not want to spend the

money to replace the electronic key fob. Ms. Axelrod would not have driven the vehicle or

would have sold it if she had known about its defect. She would not have purchased the vehicle

or she would have paid less for it if she had she known about its defect.

         Gail Bainbridge—Ohio

         198.     Plaintiff and proposed Side Airbag Defect Class Representative Gail Bainbridge

is a resident and citizen of Auburn, Indiana. Mr. Bainbridge purchased a used 2012 Buick

Enclave (subject to the Side Airbag recall) for $34,290.51 from Jim Schmidt Chevrolet Buick in

Hicksville, Ohio on December 3, 2012. The car was still covered by the factory warranty at time

of purchase and he did not purchase an extended warranty. Mr. Bainbridge has not received a

recall notice for his car. Mr. Bainbridge would not have purchased the vehicle or he would have

paid less for it had he known about its defect.

         Tracie Edwards—Ohio27

         199.     Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Tracie Edwards is a resident and citizen of Port Clinton, Ohio. Ms. Edwards purchased a used

2004 Pontiac Grand Am (subject to the Low Torque Ignition Switch recall) for about $13,000

from Steinle Chevrolet Buick in Clyde, Ohio on April 8, 2006. The car was not covered by a


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      The Court has dismissed this plaintiff’s claims. They are included solely for the purpose
of preserving their claims on appeal.



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warranty. Ms. Edwards chose this vehicle, in part, because its safety and reliability was

important to her. Ms. Edwards had ignition issues with her car. After many problems with the

vehicle’s performance, Ms. Edwards sold her car in November 2012. Ms. Edwards then

purchased a used 2005 Pontiac Grand Am (subject to the Low Torque Ignition Switch recall) for

$600 from Auto Budget Center in Bellevue, Ohio on March 14, 2014. The car was not covered

by a warranty. Ms. Edwards’s 2005 Grand Am lost power twice while she was driving. She had

to maneuver to the side of the road. Ms. Edwards would not have driven the 2004 Grand Am or

would have sold it if she had known about its defect. Ms. Edwards would not have purchased

either vehicle or she would have paid less for them had she known about their defects.

         Georgianna Parisi—Ohio28

         200.     Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Georgianna Parisi is a resident and citizen of Kettering, Ohio. Ms. Parisi purchased a used 2004

Cadillac Deville (subject to the Low Torque Ignition Switch recall) for about $26,000 from Voss

Cadillac in Dayton, Ohio on July 27, 2006. The car was covered under warranty and she later

purchased an extended warranty. Safety and reliability were extremely important to Ms. Parisi in

choosing to purchase this vehicle. The salesman told Ms. Parisi and her husband that the car was

extremely safe and reliable. As her son was still riding in a car seat at the time, it was extremely

important that to her that the vehicle had all the attachments necessary for the car seat. She also

asked about other safety features, such as airbags. Ms. Parisi never received a recall notice for

the ignition defect. Therefore, it has never been repaired, but she would have absolutely had it

repaired if she received a notice. Ms. Parisi would not have driven the vehicle or would have


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      The Court has dismissed this plaintiff’s claims. They are included solely for the purpose
of preserving their claims on appeal.



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sold it if she had known about its defect. She would not have purchased the vehicle or she would

have paid less for it had she known about its defect.

          Peggy Robinson—Ohio

          201.    Plaintiff and proposed Delta Ignition Switch Defect Class and Power Steering

Defect Class Representative Peggy Robinson is a resident and citizen of Cincinnati, Ohio.

Ms. Robinson purchased a used 2004 Saturn Ion with the Delta Ignition Switch Defect (and

subject to the Power Steering recall) for $4,999 from the Oski Dealership in Cincinnati, Ohio in

October 2013. The Ion was not under warranty at the time of purchase and Ms. Robinson did not

purchase an extended warranty. Ms. Robinson purchased the Ion because she thought it was

safe. Within six months of purchasing the vehicle, she began experiencing shutdowns while

driving. The shutdowns occurred two or three times per week on average. Ms. Robinson had her

ignition switch replaced in August 2014, and she has experienced two shutdowns since then.

After she learned of the ignition switch defect, Ms. Robinson missed work for three weeks

because she did not have transportation and feared her vehicle inadvertently shutting down. Ms.

Robinson lost wages for those three weeks. Even though the ignition switch has been replaced,

her key continues to become stuck and locked in the ignition. Although she still owns the

vehicle, she does not feel safe driving it, especially because she has children. Ms. Robinson

would not have purchased the vehicle or she would have paid less for it had she known about its

defect.

          Bradley Siefke—Ohio

          202.    Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Bradley Siefke is a resident and citizen of Alliance, Ohio. Mr. Siefke purchased a used 2011

Buick Lucerne (subject to the Low Torque Ignition Switch recall) for about $22,000 from Lavery




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Automotive Sales, a New GM dealership, in Alliance, Ohio in spring 2012. The car was covered

under a warranty at the time of purchase. Mr. Siefke chose this vehicle, in part, because the

vehicle’s safety and reliability were important to him. Previously he had owned a LeSabre and

two consecutive Rendezvous vehicles. Mr. Siefke received a recall notice for the ignition switch

defect, but the dealership told him there was no fix other than to take the extra keys off his key

fob. Mr. Siefke is actively trying to sell his vehicle, but the dealership offered him too low a

number, $6,000, and he thought the car was worth more like $9,000, so he declined the offer.

Mr. Siefke would have paid less for the car had he known about its defect.

         Steven M. Steidle—Ohio

         203.     Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Steven M. Steidle is a resident and citizen of Columbus, Ohio. Mr. Steidle leased a new 2010

Cadillac CTS (subject to the Low Torque Ignition Switch recall) from a New GM dealership in

Ohio in fall 2010. The car was covered by the standard manufacturer’s warranty. Mr. Steidle

traded the 2010 CTS in for a new 2014 Cadillac CTS in October 2014. Mr. Steidle would not

have leased the vehicle or he would have paid less for it had he known about its defect.

         Bonnie Taylor—Ohio

         204.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Bankruptcy Class

Representative Bonnie Taylor is a resident and citizen of Laura, Ohio. Ms. Taylor purchased a

new 2007 Chevrolet Cobalt with the Delta Ignition Switch Defect for $14,417.42 from Joe

Johnson Chevrolet in Troy, Ohio on December 23, 2006. She chose this vehicle, in part, because

the vehicle’s safety and reliability was important to her. Ms. Taylor did not learn of the ignition

switch defects until March 2014. The repair work on her Cobalt was completed on April 21,




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2014, after a little over a month of waiting on the parts and service. Although Ms. Taylor has not

experienced the ignition shutdown while driving her Cobalt, she believes it has too many serious

safety defects for her to ever feel safe driving it again. She also feels that the value of her

vehicle is severely diminished as a result of the recall. Ms. Taylor would not have driven the

vehicle or would have sold it if she had known about its defect. She would not have purchased

the vehicle or she would have paid less for it had she known about the defect in the vehicle.

         William Troiano—Ohio

         205.     Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

William Troiano is a resident and citizen of Eureka, California. Mr. Troiano purchased a used

2006 Cadillac DTS (subject to the Low Torque Ignition Switch recall) for $24,874.70 from

Motor Cars of Elyria in Elyria, Ohio on November 19, 2009. The car was still covered under its

factory warranty, plus Mr. Troiano purchased an additional four-year warranty to begin when the

factory warranty ended. The car was chosen because of Mr. Troiano’s family history as well as

personal history owning Cadillac vehicles. To him, the name Cadillac meant safety and

reliability in an automobile. Mr. Troiano received a recall notice by mail regarding the ignition

switch defect and was very upset and concerned about driving the car until the problem was

rectified. He immediately called for an appointment with the local dealership and had the car

repaired as soon as possible. It took several weeks to get an appointment and Mr. Troiano was

afraid to drive the car until it was fixed. He was definitely inconvenienced during this period.

Mr. Troiano would not have purchased the vehicle or he would have paid less for it had he

known about its defect.

         Reggie Welch—Ohio




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         206.     Plaintiff and proposed Power Steering Defect Class Representative Reggie Welch

is a resident and citizen of Richmond, Indiana. Mr. Welch purchased a used 2009 Saturn Aura

(subject to the Power Steering recall) for about $15,000 from CarMax in Dayton, Ohio on April

8, 2014. The car was not under warranty at time of purchase. Mr. Welch chose this vehicle, in

part, because safety and reliability were important to him and his family. He has children and he

wanted to make sure they would be safe driving in the car. He also recalls seeing New GM

advertisements on television, in print, online, and at CarMax about the “top safety” of its

vehicles. He also remembers the saleswoman telling him the car was very reliable because that

was one of the things he wanted. In first year of owning the car, Mr. Welch had issues with the

car’s ignition and/or transmission. While he was driving the car would cut off and go dead in the

road. He could not turn the ignition over. The power steering in Mr. Welch’s vehicle also went

out when the car shutdown. He took it in to the Wetzel dealership in Richmond, Indiana and

they repaired it under a recall. But the shutdowns persisted so frequently that he stopped driving

the car altogether. Mr. Welch believes he received a recall notice for both an ignition switch and

power steering defect. Nonetheless, he does not believe the vehicle is safe to drive right now. A

few years ago, after announcement of the recalls, Mr. Welch tried to sell the car back to CarMax,

but CarMax said the vehicle’s value had dropped and would only offer $4,000. Mr. Welch did

not go through with the sale. Mr. Welch would not have purchased the vehicle or he would have

paid less for it had he known about its defect.

         Carleta Burton—Oklahoma

         207.     Plaintiff and proposed Low Torque Ignition Switch Defect Class and Low Torque

Ignition Switch Defect Magnuson-Moss and Implied Warranty Subclass Representative Carleta

Burton is a resident and citizen of Moore, Oklahoma. Ms. Burton has been a loyal buyer of




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Impala vehicles starting with a 2008 model (subject to the Low Torque Ignition Switch recall)

that was badly damaged in the May 20, 2013 tornado in Moore, Oklahoma. Between May 20,

2013, and July 27, 2013, she purchased a used, high-mileage 2009 Impala (subject to the Low

Torque Ignition Switch recall), but she only kept it for a couple of months before she traded it in

on the purchase of a new 2014 Impala (subject to the Low Torque Ignition Switch recall) for

$35,998 from David Stanley Chevrolet in Oklahoma City, Oklahoma on July 27, 2013. Her

2009 Impala was subject to the ignition switch recall issued September 2014 (Recall 14299), but

she had disposed of the car prior to receiving notice of the recall. Based on what she knows

now, she believes that the dealership probably knew of the ignition switch defect and, as a result,

paid her less for her 2009 Impala than it would have paid absent the ignition switch defect. The

vehicle was covered by a standard warranty and she also purchased an extended warranty. She

received notices of at least two recalls on the 2014 Impala: (1) Recall 14330 in both August and

October 2014 regarding poor electrical ground connection to the power steering control module

(“PSCM”); and (2) Recall 14471 on October 2014 regarding the brake system warning indicator.

She had service associated with both of these recalls and with several others performed by David

Stanley Chevrolet in Oklahoma City. Ms. Burton never received notice of an ignition switch

recall on her 2014 Impala. For this reason, no ignition switch recall repair has ever been

performed on Ms. Burton’s 2014 Impala. Ms. Burton experienced her 2014 Impala stalling, and

she had trouble shifting the vehicle out of park into drive, which may have been associated with

the ignition switch defect. David Stanley Chevrolet performed service associated with this

problem on June 13, 2014. The next day, on June 14, 2014, her 2014 Impala caught fire, and the

fire had to be extinguished by the Midwest City Fire department. The damage from the fire and

other issues took David Stanley months to repair, and Ms. Burton did not have the use of her




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2014 Impala from the date of the fire until mid-August. David Stanley did not give her a loaner

car for the first week or more, and she missed at least one day of work as a result of not having

transportation. The loaners were a hassle, and she had three different loaner cars during the time

David Stanley had her 2014 Impala, which required multiple trips to the dealership. David

Stanley was difficult to deal with, initially uncooperative, and she had to place countless calls to

David Stanley and to New GM to get any sort of information and action regarding the situation.

New GM blamed David Stanley and vice-versa for the fire and delay in repair. David Stanley

eventually made two months of car payments for her totaling $1,039.98 for the period during

which she was without her vehicle. Ms. Burton was told that she would receive a “lifetime”

warranty on her vehicle, but she eventually received only a 98,000-mile warranty from

Chevrolet. Ms. Burton believes that the value of her 2014 Impala has decreased because of New

GM’s improper actions, the ignition switch defect and the events complained of herein. She

would not have purchased her 2014 Impala had she known about the ignition switch defect. She

also believes that she was paid less for the trade-in of her 2009 Impala, used toward the purchase

of her 2014 Impala, because of the known, but not publicly-disclosed, ignition switch defects.

         Deneise Burton—Oklahoma

         208.     Plaintiff and proposed Delta Ignition Switch Defect Class and Power Steering

Defect Class Representative Deneise Burton is a resident and citizen of Warr Acres, Oklahoma.

Ms. Burton purchased a used 2007 Saturn Ion with the Delta Ignition Switch Defect (and subject

to the Power Steering recall) for $11,995 from I-35 Credit Auto in Oklahoma City on September

8, 2012. She also purchased a limited warranty for 24 months or 24,000 miles. Ms. Burton

chose this vehicle, in part, because the vehicle’s safety and reliability was important to her, and

she liked the fuel efficiency of the vehicle. She had seen New GM advertisements on television




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about its vehicles’ safety and reliability. In April 2013, Ms. Burton’s engine shut off while she

was backing out of her driveway after her knee bumped the ignition switch area, knocking her

keys from the ignition. She received a recall notice in March 2014. Before she received the

notice, however, in early March 2014, Ms. Burton heard on the news about the New GM recalls

and she identified her vehicle as one on the list. She contacted New GM concerning the recalls

and requested the recall repair and a rental or loaner vehicle. New GM told her that her vehicle

was on the list but she would have to wait until she received a notice to be able to have the

vehicle repaired and possibly receive a rental or loaner vehicle. Realizing the danger in driving

her vehicle, Ms. Burton refused to drive the vehicle and risk harm to herself, her children, and

others on the road or riding with her. Because she discontinued driving the vehicle and New GM

did not provide alternate transportation, Ms. Burton was forced to seek other means to get to

work. Initially, Ms. Burton borrowed her father’s vehicle to take her kids to school, but she

could not use it to go back and forth to work because her father needed it for his job. When she

could not find transportation, Ms. Burton missed two days of work, costing her approximately

$144.00 in lost wages. Eventually, she coordinated her schedule with her boyfriend so they

could use a single vehicle, an older Ford Explorer. Ms. Burton continued using the Explorer

until she received the recall notice and the New GM dealership was willing to accept her vehicle

for repairs. She seeks the equivalent fair market value of the use of her boyfriend’s Explorer for

the time during which New GM refused to provide a rental car to her. Once New GM was ready

to undertake the repairs, New GM provided her a rental vehicle for approximately four weeks

until they were complete. The dealership completed two ignition recalls while it had the vehicle.

Ms. Burton tried to sell her vehicle after the recalls were announced, but the value of her vehicle

was too low. Eventually, around mid-May 2016, based on the damaged valuation, she allowed




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the vehicle to be repossessed. She owed $4,000 and could not trade it or sell it for even close to

that amount. Ms. Burton would not have purchased the vehicle or she would have paid less for it

had she known about its defect.

         Debra Cummings—Oklahoma

         209.     Plaintiff and proposed Knee-to-Key Camaro Defect Class and Knee-to-Key

Camaro Defect Magnuson-Moss and Implied Warranty Subclass Representative Debra

Cummings is a resident and citizen of Owasso, Oklahoma. She purchased a new 2010 Chevrolet

Camaro (subject to the Knee-to-Key Ignition Switch recall) for $32,000 from Jim Glover

Chevrolet in Tulsa, Oklahoma on November 28, 2010. The car was covered by the standard

manufacturer’s warranty. She purchased this car specifically for her sixteen-year-old daughter,

and safety was a large part of why she chose that vehicle. At the dealership, the salesman went

over the vehicles’ airbag features. The car shut off on several occasions while Ms. Cummings’s

daughter was driving the car, even once on the highway, when she accidentally hit the key with

her knee. This also happened two or three times when Ms. Cummings drove the car. Ms.

Cummings heard about the recall in 2014, although she doesn’t recall receiving a notice, and

called the Classic Chevrolet dealership in Owasso, Oklahoma. She had to wait about a month for

the repair because the parts were back-ordered. The dealership did not offer a rental car, so Ms.

Cummings’s daughter borrowed her parents’ car during that time. Classic Chevrolet only

provided her with one key replacement when the new ignition was put in and they said the other

three keys sets she had purchased could not be used. She threw all keys away except one and

found that the old key works, but, when she uses the key to open the locked door the alarm goes

off until the key is inserted into the ignition. In May 2016, she took the car to a dealership in

Tulsa to try and trade it but they only offered her $9,000 so she kept the car. Ms. Cummings




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would not have purchased the vehicle or she would have paid less for it had she known about its

defect.

          Jerrile Gordon—Oklahoma

          210.    Plaintiff and proposed Delta Ignition Switch Defect Class Representative Jerrile

Gordon is a resident and citizen of Del City, Oklahoma. Mr. Gordon purchased a used 2006

Chevrolet Cobalt with the Delta Ignition Switch Defect for $14,950 from Crossroads Automall in

Oklahoma City, Oklahoma on September 3, 2011. Mr. Gordon chose the Cobalt, in part,

because he wanted a safely designed and manufactured car. Mr. Gordon’s vehicle shut down on

four separate occasions between December 2011 and July 2012. In two instances, he was driving

on the highway when the shutdowns occurred, and he had to steer his vehicle to the side of the

road to restart. On the other two occasions, his car shut off while driving over a bump in the

road. Mr. Gordon did not learn of the ignition switch defect until March 2014. He called several

times about bringing his car in for the repair, but the dealership said the parts were not available.

Because the parts took so long to come in stock, and New GM did not notify him if and when

they did have parts available, Mr. Gordon’s car has not been repaired under the recall. He

traded-in the car for approximately $1500 in May 2014 because of the defect and because he

feared for his safety when driving it. Mr. Gordon would not have purchased the vehicle or he

would have paid less for it had he known about the defect in the vehicle.

          Paulette Hand—Oklahoma

          211.    Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class

Representative Paulette Hand is a resident and citizen of Blanchard, Oklahoma. She purchased a




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new 2006 Chevrolet HHR with the Delta Ignition Switch Defect for $24,625 from Frost

Chevrolet, a dealership owned by her sister, in Hennessy, Oklahoma in 2006. Her vehicle came

with the standard factory warranty. She purchased the vehicle, in part, because of the vehicle’s

reputation for safety and reliability. Indeed, several members of Ms. Hand’s family work or

worked for Old GM, and she had repeatedly been told that Old GM vehicles were safe and

reliable. The salesperson who sold Ms. Hand her HHR specifically told her that the vehicle was

known for its safety. Ms. Hand experienced multiple events in which her vehicle’s steering

locked up and the power failed. Ms. Hand first heard about the ignition switch recall in early

2014 when the story broke on the news. In approximately the summer of 2014, Ms. Hand had

her HHR’s ignition switch replaced. Since the replacement, Ms. Hand’s HHR continues to

experience electrical problems. The check engine light flashes on and will not turn off and the

vehicle’s traction control is poor. Before she was able to have the ignition switch replaced, Ms.

Hand traveled to the dealership four times; on the first three occasions, she was told the

dealership was out of replacement parts or they were unable to service her ignition switch. Ms.

Hand has not sold the car because she knows she will lose money on it. Further, because she

believes the car is faulty, she would feel morally wrong selling the vehicle to another individual.

Ms. Hand would not have driven the vehicle had she known about its defect. She would not

have purchased the vehicle or she would have paid less for it had she known about its defect.

         Jennifer Reeder—Oklahoma

         212.     Plaintiff and proposed Delta Ignition Switch Defect Class, Low Torque Ignition

Switch Defect Class, and Power Steering Defect Class Representative Jennifer Reeder is a

resident and citizen of Oklahoma City, Oklahoma. Ms. Reeder purchased a used 2012 Chevrolet

Impala (subject to the Low Torque Ignition Switch recall) for $18,595 from David Stanley




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Chevrolet in Norman, Oklahoma on August 30, 2013. Ms. Reeder also purchased an extended

warranty for the vehicle. Her family traditionally purchased Chevrolet vehicles and she

perceived them as safe and reliable based on their experiences and based on advertisements on

television and in direct mail. She specifically remembers one advertisement touting the braking

capability and traction control for Chevrolets in general. She was hesitant to buy the car at first

because of the price, but the salesman emphasized the safety of the vehicle and its high-tech

features. On or about July 26, 2014, Ms. Reeder was unable to remove the key from the ignition,

and the steering and brakes would not lock. After thirty minutes of manipulating the key in an

effort to remove it, she was forced to leave the key in the ignition overnight. Her husband was

able to remove the key from the ignition the following day. Ms. Reeder was unaware of any

recall notice affecting her Impala until, sometime shortly after the key became stuck in the

ignition overnight, a neighbor informed her about the recall involving Impalas on the same day

as her son’s crash involving the Cobalt occurred (discussed below). Ms. Reeder watched

television news concerning the recalls and she researched the vehicle recalls online, but she

never received a written recall notice in the mail regarding her Impala. Ms. Reeder and her son,

both of whom drove the Impala to and from work, would have liked to discontinue driving the

Impala until the ignition system was repaired, but they were unable to do so because it would

have left her family with a single means of transportation among herself, her husband, and her

son, due to the fact that their other vehicle, a Chevrolet Cobalt, was already totaled in a defect-

related crash. The family could not afford to pay for a rental car. Finally, on September 16,

2014, a New GM dealership notified her that it was ready to repair the Impala. The recall repair

was performed on September 22, 2014. At the time the recall repair was performed, Ms. Reeder

told the dealership that the Impala’s engine light occasionally came on unexpectedly and




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sometimes the car would not start at all. Replacing the battery did not eliminate the problem.

The electrical problem happened numerous times following the ignition recall repair. The

dealership reported that there were no recalls related to such electrical problems, and it did not

do anything to fix it. In approximately December 2014, Reeder permitted repossession of the car

since she did not feel safe in it and it kept shutting off randomly. Ms. Reeder would not have

purchased the Impala or she would have paid less for it had she known about the ignition switch

defect.

          213.    Ms. Reeder also purchased a used 2010 Chevrolet Cobalt (subject to the Delta

Ignition Switch and the Power Steering recalls) for $9,595 from Ricks Auto Sales in Del City,

Oklahoma on or about February 5, 2014. Ms. Reeder purchased an extended warranty for the

Cobalt. Ms. Reeder purchased the vehicle primarily for her son, Anthony Reeder. She had the

same general beliefs noted above about the safety and reliability of Chevrolets regarding the

Cobalt, and she had seen the same sort of advertisements. At the time she and her son were

looking at the Cobalt, the salesperson saw her son’s heavy key ring with many items and

encouraged him to only keep a couple of keys on the key ring. Her son followed that advice with

the Cobalt. On May 19, 2014, Anthony Reeder was driving in bumper-to-bumper traffic when

the vehicle suddenly shut off, the brakes became ineffective, the steering wheel stopped

operating, and he struck the vehicle in front of him, totaling the Cobalt and injuring Anthony.

The two were unaware of any recall on the Cobalt until after the accident when a neighbor told

them. They never received a recall notice in the mail. After the accident, Ms. Reeder and

Anthony shared Ms. Reeder’s 2012 Chevrolet Impala, as discussed above, because they could

not afford another car due to the balance remaining on the financing note of the Cobalt. From

sharing the Impala, they increased the miles accumulated on it so much that they used up its




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extended warranty. A combined total of 45,000 miles were added to the Impala after the crash of

the Cobalt, and they had to pay the $2,500 deductible not paid by the insurance company for the

totaled Cobalt. Ms. Reeder also claims damages for the difference in the amount of the cost of

gasoline between Mr. Reeder using the Impala and using the better-mileage Cobalt, the value of

the extended warranty on the Impala used up by the excess of miles, and the increase in her auto

insurance premiums as a result of the accident caused by the Cobalt’s defective design being

attributed to Mr. Reeder. The difference between the settlement paid to Ms. Reeder by her

insurance company, Geico, on the Cobalt after the wreck and her loan for the vehicle left her

with an outstanding balance of more than $1,500. In valuing the Cobalt, Geico took into account

values of vehicles on dates after the July 13, 2014 announcement of the ignition recall on Cobalts

and other Old and New GM vehicles. Geico’s valuation was lower than it would have been had

the defect not been present in the Cobalt, and it explicitly noted the existence of the recalls. Ms.

Reeder would not have purchased the Cobalt or she would have paid less for it had she known

about its defects.

         Bruce and Denise Wright—Oklahoma

         214.     Plaintiffs and proposed Knee-to-Key Camaro Defect Class and Knee-to-Key

Camaro Defect Magnuson-Moss and Implied Warranty Subclass Representatives Bruce and

Denise Wright, husband and wife, are residents and citizens of Enid, Oklahoma. The Wrights

purchased a new 2011 Chevrolet Camaro (subject to the Knee-to-Key Ignition Switch recall) for

$31,000 from Marc Heitz Chevrolet in Norman, Oklahoma on March 18, 2011. The vehicle was

covered by a standard three-year, 36,000-mile warranty. They chose this vehicle, in part,

because the vehicle’s safety and reliability was important to them. Prior to buying, they saw

television, print, and billboard advertisements regarding the vehicle’s five star safety rating.




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Ms. Wright drove the vehicle daily to and from her and Mr. Wright’s places of work. The

Wrights learned of the recall affecting their Camaro in July 2014 through the news media, and

they called the local New GM dealership to confirm the recall and the safety concerns relating to

the recall. Afterwards, Ms. Wright was no longer comfortable driving the Camaro, the Wrights

traded the car to a local Ford dealership on August 9, 2014, rather than waiting for the recall

repair. There was also a problem with the power steering pump which had failed one month out

of warranty. Northcutt Chevrolet would not work with them to make the power steering issue

right, so they paid to fix the power steering pump—$1,400 dollars—then traded in the Camaro.

The Wrights believe they received less for the Camaro from the Ford dealer because of the

ignition switch defect than they would have received absent the defect. The Wrights would not

have purchased the vehicle or they would have paid less for it had they known about the ignition

switch defect.

         William Bernick—Oregon

         215.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class

Representative William Bernick is a resident and citizen of Grants Pass, Oregon. Mr. Bernick

purchased a used 2005 Chevrolet Cobalt with the Delta Ignition Switch Defect for $10,750 from

Jim Sigel Automotive Center in Oregon on December 29, 2006. Some, but not all, of the

documents at purchase suggest the car was Certified Pre-Owned. Mr. Bernick purchased a

vehicle service contract with his Cobalt. Prior to purchase, Mr. Bernick received flyers in the

mail from Jim Sigel Automotive showing certified used cars. As a result, he called the

dealership and had several conversations with salespeople about the Cobalt. Mr. Bernick

purchased the Cobalt in part because of certain family health issues necessitating trips to medical




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appointments (and underscoring the need for a safe and reliable car). Indeed, he believed that the

vehicle was safe and reliable. During the time he owned the vehicle, Mr. Bernick has

experienced power outages and difficulties with the ignition, such as keys becoming stuck in the

ignition, inability to shift gears, inability to start the ignition, and transmission default. Mr.

Bernick learned about the ignition switch defect when he received the April 2014 ignition switch

recall letter. His ignition switch was replaced in June, 2014. (Previously, Chevrolet also sent

him a recall letter regarding his Power Steering, which he had replaced.) Mr. Bernick is still in

possession of the vehicle. Mr. Bernick would not have driven the vehicle or would have sold it if

he had known about its defect. He would not have purchased the vehicle or he would have paid

less for it had he known about its defect.

         Shelton Glass—Oregon

         216.     Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Shelton Glass is a resident and citizen of Portland, Oregon. Mr. Glass purchased a used 2005

Cadillac Deville (subject to the Low Torque Ignition Switch recall) for about $8,000 from

Jordanz Motors in Milwaukie, Oregon on May 10, 2012. The vehicle was not covered under

warranty when he purchased it. Mr. Glass chose this vehicle, in part, because safety and

reliability were important to him. Sometime in 2014, Mr. Glass received the ignition switch

recall notice and he took it to Portland Cadillac to have repair work completed. Mr. Glass would

not have purchased the vehicle or he would have paid less for it had he known about its defect.

         Janice Bagley—Pennsylvania

         217.     Plaintiff and proposed Delta Ignition Switch Defect Class Representative Janice

Bagley is a resident and citizen of Patton, Pennsylvania. Ms. Bagley purchased a used 2007

Chevrolet Cobalt with the Delta Ignition Switch Defect for about $6,000 from a private seller in




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Carroltown, Pennsylvania in 2013. The vehicle had a 30-day warranty at the time of purchase.

Ms. Bagley purchased the Cobalt because she had owned Old GM vehicles in the past, thought

her previous vehicles to be safe and reliable, and believed the Cobalt also would be safe and

reliable. She also thought it would be a safe, reliable vehicle for her 19-year-old daughter to

drive. Within the first 30 days of owning the vehicle, she experienced two stalling events. A

few weeks later she had a third stalling incident. Each time she took the vehicle to a mechanic

because she was concerned she would be stranded unexpectedly. In February 2014, she was

involved in an accident when a deer ran in front of her. She was driving 35 miles per hour yet

her airbags did not deploy. Following the recall, she made the connection between the frontal

collision and airbag failure and the safety recall. Ms. Bagley had her ignition switch replaced in

June or July 2014. Ms. Bagley still owns the car, though she would not have purchased the

vehicle or she would have paid less for it had she known about its defect.

         Raymond Berg—Pennsylvania

         218.     Plaintiff and proposed Side Airbag Defect Class Representative Raymond Berg is

a resident and citizen of Imperial, Pennsylvania. Mr. Berg purchased a used 2012 Chevrolet

Traverse (subject to the Side Airbag recall) for about $22,500 from North Star Chevrolet in

Moon, Pennsylvania in October 2013. It was covered by a basic warranty, and he purchased an

additional warranty. He chose this vehicle, in part, because the vehicle’s safety and reliability

was important to him, especially because his two children regularly ride in the vehicle. Mr. Berg

never received a recall notice for the airbag defect and was unaware of the recall until recently,

although he has had the car serviced for other recall repairs. He was not made aware of any of

the car’s defects or recalls when he purchased the car. Mr. Berg would not have purchased the

vehicle or he would have paid less for it had he known about its defect.




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         Shawn Doucette—Pennsylvania

         219.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class

Representative Shawn Doucette is a resident and citizen of Hamburg, Pennsylvania. Mr.

Doucette purchased a new 2005 Chevrolet Cobalt SS with the Delta Ignition Switch Defect for

approximately $28,000 from Outten Chevrolet of Hamburg, Pennsylvania in September 2005.

Mr. Doucette’s Chevrolet Cobalt SS came with a 7-year extended warranty. He chose the

Chevrolet Cobalt SS in part because of its safety and reliability. Mr. Doucette recalls seeing at

least one Old GM commercial for the Chevrolet Cobalt SS discussing some of the safety features

offered in the vehicle. He also remembers the Old GM salesman pushing the Cobalt for its anti-

lock brakes, special sports suspension that made it safer to operate, and its multiple airbags. Mr.

Doucette has experienced numerous shutdowns and power loss events while driving. He learned

about the Delta Ignition Switch Defect recall in Spring 2014. When he first became aware of

the defect, Mr. Doucette took his vehicle to a New GM dealership. The New GM dealership

kept his car for two months due to a shortage of replacement parts and it was finally repaired

sometime around the middle of 2014. However, Mr. Doucette did not receive a recall notice

until after he received the recall repair. Mr. Doucette suffered out-of-pocket losses due to the

Delta Ignition Switch Defect. While operating under normal driving conditions, Mr. Doucette’s

vehicle unexpectedly shut off, causing his steering to lock up and him to crash his vehicle. Mr.

Doucette paid approximately $800 out-of-pocket for the repairs. Mr. Doucette traded in his

vehicle in January 2016. Mr. Doucette would not have driven the vehicle or would have sold it if




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he had known about its defect. He would not have purchased the vehicle or he would have paid

less for it had he known about the defect in the vehicle.

         Shirley Gilbert—Pennsylvania

         220.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class

Representative Shirley Gilbert is a resident and citizen of Frackville, Pennsylvania. She

purchased a new 2008 Chevrolet Cobalt with the Delta Ignition Switch Defect for $16,000 from

Bob Weaver Chevrolet in Pennsylvania in June 2008. Her vehicle was covered by a standard

and extended warranty, but any warranty expired in June 2013. Safety and reliability were the

major considerations in Ms. Gilbert’s decision to purchase the vehicle. Ms. Gilbert reviewed

information about the safety of the Cobalt on the internet and she remembers that the salesperson

pointed out several times that the vehicle was equipped with multiple airbags and got great gas

mileage. She purchased the Chevy Cobalt because she trusted the reputation of the manufacturer

related to safety and reliability of their vehicles and because the vehicle had multiple airbags.

Ms. Gilbert learned about the recall in early April 2014 while watching a local news story. The

recall repair work was done in approximately June 2014. Ms. Gilbert still owns the Chevy

Cobalt because she is disabled and is on a limited income and cannot afford to purchase a

different vehicle. Ms. Gilbert would not have driven the vehicle or would have sold it if she had

known about its defect. She would not have purchased the vehicle or she would have paid less

for it had she known about its defect.

         George Mathis—Pennsylvania




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         221.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class

Representative George Mathis is a resident and citizen of Parkville, Maryland. Mr. Mathis

purchased a new 2007 Chevrolet Cobalt with the Delta Ignition Switch Defect for $12,000 from

Apple Chevrolet in York, Pennsylvania on April 1, 2007. The vehicle was covered under the

standard manufacturer’s warranty when he purchased it. Mr. Mathis chose this vehicle, in part,

because the vehicle’s safety and reliability was important to him. He recalls the salesman saying

the Cobalt was the replacement for the Chevy Cavalier but was much more reliable and had

additional safety features. Mr. Mathis’s ignition has shut off while driving on three separate

occasions, with one instance resulting in a minor accident, and the other two nearly resulting in

accidents. Mr. Mathis did not learn about the ignition switch defects until March 2014. In

August 2014, he took his Cobalt to a New GM dealership in his area to have the recall work

performed after waiting about six months for the parts to arrive. He was inconvenienced by this

because he had to borrow a car and take vacation time at work to deal with the repair. He also

experienced a myriad of other recalls related to defects in his car that have cost him time and

money, including the power steering pump and a broken gas tank pump fitting. In September

2015, he traded the vehicle in because of reliability and safety issues with the car. Mr. Mathis

would not have driven the vehicle or would have sold it if he had known about its defect. He

would not have purchased the vehicle or he would have paid less for it had he known about the

defect in the vehicle.

         Paul Pollastro—Pennsylvania




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         222.     Plaintiff and proposed Delta Ignition Switch Defect Class and Delta Ignition

Switch Defect Magnuson-Moss and Implied Warranty Subclass Representative Paul Pollastro is

a resident and citizen of Coraopolis, Pennsylvania. Mr. Pollastro purchased a Certified Pre-

Owned 2007 Chevrolet Cobalt with the Delta Ignition Switch Defect for $9,900 from Colussy

Chevrolet in Bridgeville, Pennsylvania on November 22, 2010. As a New GM Certified Pre-

Owned vehicle, the Cobalt included a bumper-to-bumper limited warranty of 12-months /12,000

miles that New GM advertised as “above and beyond any remaining factory warranty.” New

GM allegedly conducted a 172-point inspection of the Cobalt prior to making it available for sale

to Mr. Pollastro. This pre-sale inspection by New GM’s technicians specifically included the

Cobalt’s keys and ignition system. Mr. Pollastro and his wife wanted a safe car for their

daughter to drive and would not have purchased anything they knew to be unsafe. Safety was a

serious concern because their daughter just turned sixteen years old at the time and they wanted

to make sure they purchased a safe vehicle for her. If it had been brought to their attention at the

time of purchase that this vehicle had ignition switch problems with fatal outcomes they would

never have purchased this car. Shortly after the purchase, in May 2011, the key became stuck in

the ignition switch. Mr. Pollastro took the vehicle to Northstar Chevrolet who claimed the

problem was with the floor shifter. New GM neither disclosed the existence of the ignition

defect nor did it remedy the defect. After the recall was announced, Mr. Pollastro scheduled his

Cobalt for repairs at Northstar Chevrolet on July 24, 2014. The repair took two days due to the

failure of the first replacement switch. This repair was time-consuming and it was very irritating

to go back and forth to the dealer. The dealer tried fixing it the first time but didn’t know exactly

how to match the new key with the new switch so Mr. Pollastro had to go back another one or

two times before they finally got it right. At the time, Mr. Pollastro was self-employed so any




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time away from his office was a detriment to his business and income. Mr. Pollastro would not

have purchased the vehicle or he would have paid less for it had he known about the defect in the

vehicle.

         David Schumacher—Pennsylvania

         223.     Plaintiff and proposed Side Airbag Defect Class Representative David

Schumacher is a resident and citizen of Erie, Pennsylvania. Mr. Schumacher purchased a used

2008 Buick Enclave (subject to the Side Airbag Defect) for about $17,900 from Bianchi Honda

in Erie, Pennsylvania on May 30, 2014. He also purchased an extended warranty. Mr.

Schumacher chose this vehicle because it fit his family’s need for a third row SUV, and his

options were quite limited in his price range. During the first twenty-four hours Mr. Schumacher

owned the car, the power steering went out while he was in the middle of a turn in a major

intersection and nearly caused an accident. In addition, he has experienced several other defects

including the power hatch. Mr. Schumacher does not feel safe in the car and does not feel in

control. His wife primarily drives the car with their three children and she does not feel safe.

They had the car assessed for trade-in and they were quoted significantly less than what they saw

on Kelley Blue Book. Mr. Schumacher would not have purchased the vehicle or he would have

paid less for it had he known about its defect.

         Greg Theobald—Pennsylvania

         224.     Plaintiff and proposed Side Airbag Defect Class and Side Airbag Defect

Magnuson-Moss and Implied Warranty Subclass Representative Greg Theobald is a resident and

citizen of Eighty Four, Pennsylvania. Mr. Theobald purchased a new 2010 GMC Acadia

(subject to the Side Airbag recall) for about $50,000 from #1 Cochran Buick GMC of Robinson

in Pittsburgh, Pennsylvania on June 3, 2010. The car was covered by the standard factory




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warranty. Mr. Theobald purchased Old GM vehicles in the past and was satisfied with their

crash test ratings. He selected the vehicle, in part, because of its multiple airbags and he believed

it would be a safe car for his family. In purchasing the car, he did research online, read articles

in magazines and brochures, and talked to the salesperson about the safety of the vehicle and its

crash ratings. The salesman explained that the car’s driver and passengers would be protected by

the airbags that were located throughout the vehicle. The vehicle’s airbag service light

sometimes came on, but typically after restarting the car it would go off. When he mentioned

this to the New GM dealership, they told him the car computer didn’t read the signals properly

and he should just restart the car. Mr. Theobald did not receive a recall notice for the Side

Airbag Defect. He traded the vehicle to Brooks Automotive in August 2013. Mr. Theobald

would not have purchased the vehicle or he would have paid less for it had he known about its

defect.

          Mary Dias—Rhode Island

          225.    Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class

Representative Mary Dias is a resident and citizen of Taunton, Massachusetts. Ms. Dias

purchased a used 2007 Chevrolet HHR with the Delta Ignition Switch Defect for approximately

$13,000 from Simon Chevrolet in in Woonsocket, Rhode Island on February 28, 2008. The

vehicle was under warranty when she purchased it. Ms. Dias chose this vehicle, in part, because

the vehicle’s safety and reliability was important to her. She recalls her husband looked up the

vehicle and it saw that it had a five-star rating. Ms. Dias did not learn of the ignition switch

defects until March 2014. When she inquired about her safety, New GM told her that her vehicle

had not been recalled and not to worry. On April 11, 2014, after receiving notice that her HHR




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was in fact recalled, Ms. Dias took her HHR in for the recall repair work. For a time, she had to

rely on a friend to transport her while her vehicle was in the shop. Then, in November 2014, her

vehicle’s power steering went out while driving on the highway. She managed to take control of

the car and manually drove it home. She took it on the next day and it was repaired. Because of

the defects, Ms. Dias is concerned for her safety every time she drives her vehicle. Ms. Dias

would not have driven the vehicle or would have sold it if she had known about its defect. She

would not have purchased the vehicle or she would have paid less for it had she known about the

defect in the vehicle.

         Garrett Mancieri—Rhode Island

         226.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class

Representative Garrett Mancieri is a resident and citizen of Woonsocket, Rhode Island. Mr.

Mancieri purchased a new 2007 Pontiac G5 with the Delta Ignition Switch Defect for $16,138

from Paul Masse Buick GMC Cadillac, now owned by Tasca Buick GMC, in Woonsocket,

Rhode Island on November 24, 2006. The car came with the manufacturer’s warranty. While

Mr. Mancieri cannot, at this time, recall any specific Old GM advertising he saw before

purchasing the car, he did purchase it based upon his perception that it would be a safe and

reliable vehicle. Mr. Mancieri received a safety recall notice for his vehicle in March 2014. He

promptly requested the dealership perform the recall repair, but was told that he would be put on

a waiting list because the dealership was waiting on the parts from New GM. The dealership did

not provide Mr. Mancieri with a loaner car, so he had to continue driving the vehicle. The recall

notice received by Mr. Mancieri did not inform him of the right to a loaner vehicle, nor did the




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New GM dealership volunteer such information. His vehicle was not repaired until September

18, 2014. Mr. Mancieri believes the defect diminished the value of his vehicle, which he still

owns. Mr. Mancieri would not have driven the vehicle or would have sold it if he had known

about its defect. He would not have purchased the vehicle or he would have paid less for it had

he known about the defect in the vehicle.

         Annette Hopkins—South Carolina29

         227.     Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Annette Hopkins is a resident and citizen of Bishopville, South Carolina. Ms. Hopkins

purchased a used 2003 Chevrolet Impala LS (subject to the Low Torque Ignition Switch recall)

for $12,749.32 from Newsome Automotive in Florence, South Carolina on December 31, 2004.

She purchased this vehicle, in part, because its safety and reliability were important to her. Ms.

Hopkins recalls seeing television ads for Old GM vehicles, as well as print ads in magazines,

touting the safety and reliability of Old GM’s vehicles. The salesman at Newsome Automotive

also told her it was a good, reliable car. Ms. Hopkins first learned of a recall affecting her

vehicle when she received a recall notice in September 2014. It took a day for her to get the car

repaired under the recall and it was inconvenient because the dealership is thirty-four miles from

her home. Ms. Hopkins would not have driven the vehicle or would have sold it if she had

known about its defect. She would not have purchased the vehicle or she would have paid less

for it had she known about its defect.

         Frances James—South Carolina




    29
      The Court has dismissed this plaintiff’s claims. They are included solely for the purpose
of preserving their claims on appeal.



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         228.     Plaintiff and proposed Delta Ignition Switch Defect Class and Delta Ignition

Switch Defect Bankruptcy Class Representative Frances James is a resident and citizen of

Florence, South Carolina. Ms. James purchased a used 2007 Chevrolet Cobalt with the Delta

Ignition Switch Defect for $8995 from Carl Yarborough Honda in Florence, Georgia on August

18, 2009. She chose the vehicle because she was informed that it was safe and reliable. At the

time of her purchase, Ms. James believed Chevrolet was a very good brand that made long-

lasting cars. Ms. James has been diagnosed with paraplegia, and her job requires her to travel

frequently, so she needed a reliable vehicle and the salesman confirmed this vehicle would fit

that bill. Unfortunately, Ms. James’s vehicle has shut down on her numerous times while

driving. She called and made an appointment with the local dealership to evaluate the problem.

Her local dealership, Five Star Chevrolet, looked at it and determined she needed a new

computer board. She asked the dealer if the item was a manufacturer’s defect, but they said there

were no recalls on the vehicle at the time of service. Ms. James then called the 1-800 GM

number and inquired about the issues her car was having. She asked the New GM representative

if there were manufacturing issues with the 2007 Chevrolet Cobalts, and she filed a complaint

about the issues in case a defect was discovered later. Ms. James paid over $700 out-of-pocket

to replace the computer board. Then, in 2014, Ms. James received a recall notice for the ignition

switch problem. She waited more than two months to get her car back from Five Star Chevrolet

because the parts were back-ordered. The dealership only provided a loaner vehicle after she

demanded it. After the recall repair, the vehicle shut down again, and she has had ongoing

problems with her car. Ms. James would not have purchased the vehicle or she would have paid

less for it had she known about its defect.




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         Cassandra Legrand—South Carolina30

         229.     Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Cassandra Legrand is a resident and citizen of Kingstree, South Carolina. Ms. Legrand

purchased a used 2002 Pontiac Grand Am (subject to the Low Torque Ignition Switch recall) for

$4500 from a private seller in South Carolina on April 17, 2008. The car was not covered by a

warranty. Ms. Legrand chose this vehicle, in part, because she thought it was a safe and reliable

vehicle. She received a recall notice for the ignition switch recall sometime in 2014, and her

vehicle was repaired under the recall in about April 2016. Ms. Legrand would not have driven

the vehicle or would have sold it if she had known about its defect. She would not have

purchased the vehicle or she would have paid less for it had she known about its defect.

         Kimberly Mayfield—South Carolina

         230.     Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Kimberly Mayfield is a resident and citizen of Easley, South Carolina. Ms. Mayfield purchased

a used 2008 Buick Lacrosse (subject to the Low Torque Ignition Switch recall) from Benson

Ford in Easley, South Carolina on May 5, 2013. The ignition on Ms. Mayfield’s vehicle

regularly shut off while driving. She received a recall notice for the ignition switch in fall 2015

and recently had the recall repair completed. She lives forty-five minutes away from the

dealership and it was inconvenient for her to go in for the repair. In spring 2014, she tried to

trade her vehicle at a Chevrolet dealership but they did not offer enough to cover her existing

loan. Ms. Mayfield would not have purchased the vehicle or she would have paid less for it had

she known about its defect.


    30
      The Court has dismissed this plaintiff’s claims. They are included solely for the purpose
of preserving their claims on appeal.



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          Edith Williams—South Carolina

          231.    Plaintiff and proposed Delta Ignition Switch Defect Class and Power Steering

Defect Class Representative Edith Williams is a resident and citizen of Mullins, South Carolina.

Ms. Williams purchased a used 2009 Chevrolet HHR with the Delta Ignition Switch Defect (and

subject to the Power Steering recall) for about $16,000 from Donnie Gerald Used Cars in

Marion, South Carolina on November 9, 2010. The car was covered by a warranty for about a

year. Ms. Williams chose the vehicle because she thought it was a safe and reliable car and that

was very important to her. The key gets stuck in the ignition often and it has been repaired

twice. She got a rental for about three to four days until the dealership finished repairing it. The

repair cost her about $350 and the rental car cost about $650, all out-of-pocket. Ms. Williams

would not have purchased the vehicle or she would have paid less for it had she known about its

defect.

          Norma Lee Holmes—South Dakota

          232.    Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class

Representative Norma Lee Nelson is a resident and citizen of Granite, Minnesota. Mrs. Holmes

purchased a used 2007 Chevrolet Cobalt with the Delta Ignition Switch Defect for $14,000 from

Billion Automotive in Watertown, South Dakota in September 2007. Her vehicle came with a

standard warranty at the time of purchase that expired in 2010. Ms. Holmes purchased this

vehicle because safety and reliability were important to her and she believed the Cobalt was both

safe and reliable. Indeed, the salesperson who sold Ms. Holmes the Cobalt told her the vehicle

was reliable, and she relied on that representation. She experienced numerous ignition problems

with the vehicle. Ms. Holmes had her ignition switch replaced in the spring of 2014 after she




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learned of the recall. During the time she owned the vehicle, it often would not start, causing her

to lose significant amounts of time. Even after the ignition switch was replaced, the ignition key

would stick in the ignition and the vehicle often failed to start. She no longer owns the vehicle.

Ms. Holmes would not have driven the vehicle or would have sold it if she had known about its

defect. She would not have purchased the vehicle or she would have paid less for it had she

known about its defect.

         Catherine Senkle—South Dakota

         233.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Successor Liability Subclass, Power Steering Defect Class, and Delta Ignition Switch

Defect Bankruptcy Class Representative Catherine Senkle is a resident and citizen of Sioux

Falls, South Dakota. Ms. Senkle purchased a new 2007 Saturn Ion with the Delta Ignition

Switch Defect (and subject to the Power Steering recall) for $16,000 from Saturn of Sioux Falls,

South Dakota on March 14, 2006. The vehicle was covered by the standard factory warranty.

Safety was a huge factor in Ms. Senkle’s decision to purchase that car. She wanted a car that had

exceptional safety features without a huge price tag. She would have made a different decision

had she known about the dangers. Ms. Senkle’s vehicle shut off on her a couple times, including

once while she was driving 80 miles per hour down the interstate. She replaced her battery for

$151, thinking that might be what was causing her car to shut down. She received a recall notice

and had her ignition switch fixed during the recall period. Ms. Senkle would not have driven the

vehicle or would have sold it if she had known about its defect. She would not have purchased

the vehicle or she would have paid less for it had she known about its defect.

         Helen A. Brown—Tennessee




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         234.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class

Representative Helen A. Brown is a resident and citizen of Franklin, Tennessee. She purchased

a new 2006 Chevrolet Cobalt with the Delta Ignition Switch Defect for about $20,000 from an

Old GM dealer with an extended warranty, on February 1, 2006. Ms. Brown’s vehicle lost

power at least three times, twice in 2007 and once in 2014. She does not trust her car. Ms.

Brown would not have driven the vehicle or would have sold it if she had known about its defect.

She would not have purchased the vehicle or she would have paid less for it had she known

about its defect.

         Alexis Byrd—Tennessee

         235.     Plaintiff and proposed Side Airbag Defect Class Representative Alexis Byrd is a

resident and citizen of Lawrenceville, Georgia. Ms. Byrd purchased a used 2008 Saturn Outlook

(subject to the Side Airbag recall) for about $14,000 from Ford of Murfreesboro, Tennessee on

August 12, 2013. The car was not under warranty. She and her husband chose this vehicle

because they believed it would be safe and comfortable for their family. They have two young

children and their safety is very important. This vehicle was the primary transportation for their

family. Ms. Byrd and her husband were impressed with the car’s features and did a quick

internet search for its reviews. They saw nothing about the vehicle being unsafe or posing any

hazards. She would never have put her kids in that kind of danger if she had known about it.

About a year after buying the car, the power steering started locking up and she would lose

power. In addition, the transmission started to slip. This scared Ms. Byrd, especially when it

would happen with her kids in the car. In one instance, while she was taking her kids to school,

the car jerked forward violently and stalled. It scared her and her kids terribly, and she was




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grateful no one was in front of her. Otherwise an accident would have occurred. She raised this

issue with New GM by contacting their customer service response line and they said there were

no known issues with the power steering or transmission. There was no resolution for these

issues. Ms. Byrd took her vehicle to three different mechanics hoping for an inexpensive

resolution to the problems, which cost a lot of money out-of-pocket. She has never received the

recall notice for the Side Airbag Defect and therefore has not had her vehicle repaired under the

recall. Ms. Byrd tried to trade the vehicle in February 2014 but was told it was not worth much

because of the defects. In addition, several dealership representatives told her they were

surprised she was even able to drive the vehicle because of the steering. The car was repossessed

in July 2014. She wants New GM to take responsibility for selling her family a defective car.

Ms. Byrd would not have purchased the vehicle or she would have paid less for it had she known

about its defect.

         Felisha Johnson—Tennessee

         236.     Plaintiff and proposed Power Steering Defect Class Representative Felisha

Johnson is a resident and citizen of Murfreesboro, Tennessee. Ms. Johnson purchased a used

2009 Chevrolet Malibu (subject to the Power Steering recall) from American Car Center in

Memphis, Tennessee in February 2011. In September 2015, Ms. Johnson was driving with her

sixteen-year-old daughter in Nashville, exiting the interstate, when the power steering suddenly

failed. She was able to get off the road without being in an accident despite the difficulty of

navigating without power steering. She was in the city interviewing for a new job so she knew

no one nearby who could assist them. It was both scary and inconvenient. Ms. Johnson would

not have purchased the vehicle or she would have paid less for it had she known about its defect.

         Sharon Newsome—Tennessee




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         237.     Plaintiff and proposed Knee-to-Key Camaro Defect Class Representative Sharon

Newsome is a resident and citizen of Cordova, Tennessee. Ms. Newsome purchased a new 2012

Chevrolet Camaro (subject to the Knee-to-Key Ignition Switch recall) for $21,000 from Jim

Kerras Chevrolet in Memphis, Tennessee on May 5, 2012. The car had the standard factory

warranty and she also purchased an extended warranty. The vehicle’s safety and reliability were

very important to Ms. Newsome in purchasing the car because she has a daughter that would be

riding in the car. At the time she bought the car, Ms. Newsome had just beat breast cancer and

she wanted to treat herself to a new car. Early in the first or second year of ownership, the car

shut off on her while she was driving. Ms. Newsome is short and sits very close to the steering

wheel, so it is possible her knee may have struck the ignition switch. The shut downs happened

once or twice a week. She would stop in the middle of the road, while other drivers passed

around her. Ms. Newsome was typically able to restart the car, but one time she had to have it

towed. These shutdowns were a huge inconvenience because she had to keep bringing it into the

Jim Kerras dealership and they could never find anything wrong with the car. These service

visits interfered with her job. Ms. Newsome also called New GM many times regarding the

issue, and even took the car to two other New GM dealerships. At one of the other dealerships

they were able to recreate the shut down and the mechanic told her she needed to get her keys

changed out. When Ms. Newsome received the recall notice she called the New GM dealership,

Wolfchase, and they told her she did not need to get the repair unless she wanted to do so. She

brought the car in and they gave her a different key in 2015. The new key will not fold into the

fob. Ms. Newsome would not have purchased the vehicle or she would have paid less for it had

she known about its defect.

         Louise Tindell—Tennessee




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         238.     Plaintiff and proposed Delta Ignition Switch Defect Class and Power Steering

Defect Class Representative Louise Tindell is a resident and citizen of Murfeesboro, Tennessee.

Ms. Tindell purchased a used 2007 Saturn Ion with the Delta Ignition Switch Defect (and subject

to the Power Steering recall) for about $10,000 from Alexander Chevrolet Buick GMC Cadillac

in Murfeesboro, Tennessee on February 14, 2010. The vehicle was under warranty, and she

believes there were two years remaining on the warranty at the time she purchased the car. At

the time of purchase, Ms. Tindell believed that the Ion was a safe and reliable vehicle. Within

seven months of purchasing the vehicle, Ms. Tindell’s vehicle shut down while she was driving.

She veered to the right, came to a stop, and waited before turning her car back on. On another

occasion, her vehicle shut down on her way to church. These events made her afraid to drive her

car, and, since learning about the recall, she is angry at New GM for keeping the safety defect a

secret. Ms. Tindell had her ignition switch replaced around June 2014. Before the repair, she

was provided a loaner vehicle, which she used for approximately one month. She no longer

trusts the Ion and she will never feel safe in it regardless of repairs or replacement parts. She

continues to fear she will experience more shutdowns and has ceased driving her car completely.

Ms. Tindell would not have purchased the vehicle or she would have paid less for it had she

known about its defect.

         Silas Walton—Tennessee

         239.     Plaintiff and proposed Delta Ignition Switch Defect Class Representative Silas

Walton is a resident and citizen of Fayetteville, North Carolina. Mr. Walton purchased a used

2008 Chevrolet Cobalt with the Delta Ignition Switch Defect for around $15,000 from Wyatt

Johnson Buick GMC in Clarksville, Tennessee in 2010. Mr. Walton believes the Cobalt was

under warranty at the time of his purchase. He purchased the vehicle because he thought it was a




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reliable and safe vehicle. Mr. Walton often experienced problems with starting the vehicle and

turning the key to any position. On at least one occasion, he experienced a shutdown in his

vehicle, which caused the steering wheel to lock. This occurred while he was driving downhill

on a highway. At first, he was unable to control the car, but eventually he was able to maneuver

it to the side of the road. After about ten minutes, he was able to restart the vehicle. Mr. Walton

had the ignition switch replaced in the summer of 2014; however, his key continues to stick in

the ignition. After he learned of the recall, Mr. Walton did not drive his vehicle until it was

repaired. This required him to share a vehicle with his daughter and/or rely on his daughter for

transportation. Mr. Walton lost significant time as a result. He remains concerned about driving

the vehicle. Mr. Walton would not have purchased the vehicle or he would have paid less for it

had he known about its defect.

         Gareebah Al-ghamdi—Texas

         240.     Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Gareebah Al-ghamdi is a resident and citizen of San Antonio, Texas. Ms. Al-ghamdi purchased

a used 2004 Chevrolet Impala (subject to the Low Torque Ignition Switch recall) for $12,999

from Auto Expo in San Antonio, Texas on September 7, 2009. She chose this vehicle, in part,

because its safety and reliability was important to her. Ms. Al-ghamdi’s vehicle shut off often

while she was driving, including while driving on the highway at high speeds, which was

terrifying. On numerous occasions she was either late or missed work or school due to her

vehicle shutting off while operating. When the shutdowns first began, Ms. Al-ghamdi did not

know the cause because there was no information available at the time about the recall. Even

diagnostic testing never showed a particular reason as to why the vehicle was consistently

shutting off while in motion. Therefore, her father, who has worked on cars for more than thirty




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years, would replace various parts in an attempt to resolve the problem over the years. In

hindsight, and in light of the defect revelations, these repairs were unnecessary and cost her

money she should not have had to spend. She received a recall notice for the ignition switch

sometime in 2015, but she has not had her vehicle repaired yet because the dealership told her

the parts were unavailable. Two dealerships have told Ms. Al-ghamdi her vehicle’s value is

lower because of the recall. Ms. Al-ghamdi would not have purchased the vehicle or she would

have paid less for it had she known about its defect.

         Dawn Bacon—Texas

         241.     Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Dawn Bacon is a resident and citizen of Waco, Texas. Ms. Bacon purchased a used 2006

Cadillac CTS (subject to the Low Torque Ignition Switch recall) for $10,000 from a private

seller in Texas in September 2012. The vehicle was not under warranty. She purchased the

vehicle after seeing commercials touting it as best in safety in its class of vehicles. Ms. Bacon’s

car has stopped on the interstate with no warning at least eight times, many times almost causing

a serious accident. She also has issues with the ignition requiring many turns of the ignition key

before the car will start. But she has yet to receive a recall notice for the ignition switch defect.

She had tried to trade in her car several times, but the dealerships have said they will not sell this

particular make and model because there is no real fix for the ignition problem yet. She would

like to get rid of the car, but cannot find anyone to buy it and she would not want to put another

family in danger. Ms. Bacon would not have purchased the vehicle or she would have paid less

for it had she known about its defect.

         Dawn Fuller – Texas




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         242.     Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Dawn Fuller is a resident and citizen of Arlington, Texas. Ms. Fuller purchased a used 2008

Chevrolet Impala (subject to the Low Torque Ignition Switch recall) for $10,824.74 from Moritz

Kia in Fort Worth, Texas on December 17, 2011. The vehicle was still covered by the

manufacturer’s warranty at the time of purchase. Ms. Fuller did not purchase an extended

warranty. Prior to purchasing the Impala, she heard that GM-branded vehicles were reliable

vehicles and her stepfather specifically recommended the Impala as a good car. Ms. Fuller chose

this vehicle, in part, because the vehicle’s safety and reliability were important to her. Before

receiving the recall notice, Ms. Fuller’s key would sometimes stick in the ignition and the

steering column would lock up. She received the ignition switch recall notice and had the recall

repair done at Vandergriff Chevrolet in Arlington, Texas in early 2016. The key continues to

occasionally stick in the ignition. Ms. Fuller would not have purchased the vehicle or she would

have paid less for it had she known about its defect.

         Michael Graciano—Texas

         243.     Plaintiff and proposed Delta Ignition Switch Defect Class Representative Michael

Graciano is a resident and citizen of Arlington, Texas. Mr. Graciano purchased a used 2007

Chevrolet Cobalt with the Delta Ignition Switch Defect for $22,197.20 from Holt Chrysler Jeep

Dodge in Arlington, Texas on October 17, 2011. He purchased a warranty with the vehicle. He

chose this vehicle, in part, because the vehicle’s safety and reliability was important to him.

Before March 4, 2014, his fiancée’s daughter experienced stalling and corresponding loss of

power steering on numerous occasions while driving the car. Mr. Graciano had the car looked at

by family members experienced in car repair and one independent repair shop, but no one was

able to diagnose the problem. Mr. Graciano received a safety recall notice for his vehicle in




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March 2014. After receiving the notice, Mr. Graciano and his fiancée, fearful for her daughter’s

safety, instructed her not to drive the car anymore. Mr. Graciano’s fiancée called a local

Colorado Chevrolet dealer twice in March 2014 about having the recall repair performed and

each time she was told the dealer did not have the necessary parts, and each time the dealer failed

to offer a loaner vehicle. As a consequence, Mr. Graciano’s fiancée’s daughter was without a

loaner vehicle for one to two months. During that time, the daughter used her grandfather’s

vehicle, a 1991 Buick Park Avenue, which got significantly worse gas mileage than the Cobalt,

resulting in increased gasoline expenditures. The grandparents, in turn, were forced to share a

vehicle during that time, which caused them significant inconvenience. Mr. Graciano’s fiancée

finally researched the recall and found that a loaner vehicle should have been offered by the

dealer while it was waiting for delivery of the parts. His fiancée called the dealer back and

relayed her research, at which time the dealer finally agreed to provide a loaner vehicle. The car

was eventually serviced under the recall by AutoNation Chevrolet North in Denver, Colorado,

and Mr. Graciano’s fiancée’s daughter was provided a loaner car from Enterprise on May 5,

2014. While Mr. Graciano waited on repair of the Cobalt, his fiancée’s daughter moved to Texas

to go to college, and brought the rental car with her. Eventually, in approximately mid-June, the

dealer called to say the recall repair had been made, some two months after the car was left with

the dealer. Mr. Graciano’s fiancée had numerous telephone conversations with the service

manager at AutoNation to inquire if New GM was willing to cover the cost of transporting the

vehicle to Texas. Finally, Mr. Graciano’s fiancée was informed by the service manager that New

GM refused to cover the transportation costs and that New GM was not responsible for

transporting the vehicle to Texas. Mr. Graciano’s fiancée received a telephone call from another

New GM representative stating that she had twenty-four hours to return the loaner vehicle to




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Enterprise or criminal charges would be pressed against her, and that she was responsible for

paying $5,000 for the loaner vehicle. On July 30, 2014, the loaner vehicle was returned to an

Enterprise location in Texas. Enterprise confirmed with AutoNation that there would be no

expense to Mr. Graciano or his fiancée for the loaner vehicle. In order to transport the Cobalt

back to Texas, Mr. Graciano’s fiancée’s brother drove the vehicle from Denver, Colorado, to

Arlington, Texas, incurring the cost of the fuel to drive to Texas and the inconvenience of his

time. Mr. Graciano’s fiancée also incurred the cost of flying her brother back to Denver,

Colorado. Mr. Graciano still owns the vehicle. He would not have purchased the vehicle or he

would have paid less for it had he known about its defect.

         Shenyesa Henry—Texas

         244.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Successor Liability Subclass, Power Steering Defect Class, and Delta Ignition Switch

Defect Bankruptcy Class Representative Shenyesa Henry is a resident and citizen of Aubrey,

Texas. Ms. Henry purchased a new 2004 Saturn Ion with the Delta Ignition Switch Defect (and

subject to the Power Steering recall) for approximately $16,000 at a Saturn of Plano in Plano,

Texas in 2003. Her vehicle had a standard warranty, which she believes expired after five years.

Ms. Henry chose this vehicle, in part, because the vehicle’s safety and reliability was important

to her. In March 2014, Ms. Henry experienced a shutdown incident in her vehicle while crossing

an intersection, causing the steering wheel and brakes to lock up. During the shutdown incident,

Ms. Henry had to struggle to keep the vehicle from veering off the road. Afterward, she could

not get the key out of the ignition switch and the vehicle had to be towed home. Because of this

incident, Ms. Henry did not feel safe driving her Ion and she purchased a new vehicle shortly




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thereafter. Ms. Henry first learned about the recall in March 2014 after seeing something about

it on television. Because she had a new vehicle, she did not get her Ion repaired under the recall.

Recently, she donated her Ion to a charity organization. Ms. Henry would not have driven the

vehicle or would have sold it if she had known about its defect. She would not have purchased

the vehicle or she would have paid less for it had she known about its defect.

         Keisha Hunter—Texas

         245.     Plaintiff and proposed Delta Ignition Switch Defect Class Representative Keisha

Hunter is a resident and citizen of Fort Worth, Texas. Ms. Hunter purchased a used 2006

Chevrolet Cobalt with the Delta Ignition Switch Defect for $24,965.01 from Drivetime in

Arlington, Texas on March 22, 2013. Ms. Hunter chose this vehicle, in part, because the

vehicle’s safety and reliability was important to her. Ms. Hunter did not learn of the ignition

switch defect until March 2014. She was concerned for her safety and the diminished value of

her vehicle because of the ignition switch defect. Ms. Hunter’s vehicle was repaired under the

recall in early 2015 at a New GM dealership in North Richland Hills, Texas. Her ability to get

the defect repaired was affected by a delay in parts and also the fact that she had to miss work to

get it done. She missed work twice because, after scheduling an appointment the first time, she

got to the dealership and discovered they scheduled her too late in the afternoon. The second

time she missed a half day of work to get the repair completed. After increasing mechanical

problems with the car, Ms. Hunter defaulted on her loan and returned the car to Drivetime in

June 2016. Ms. Hunter would not have purchased the vehicle or she would have paid less for it

had she known about the defect in the vehicle.

         Tajah Liddy—Texas




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         246.     Plaintiff and proposed Side Airbag Defect Class Representative Tajah Liddy is a

resident and citizen of Round Rock, Texas. Ms. Liddy purchased a used 2011 GMC Acadia

(subject to the Side Airbag recall) from Don Hewlett Chevrolet in Georgetown, Texas on May

22, 2011. She also purchased a 100,000 mile extended warranty. She decided to purchase the

Acadia because she liked the way it drove and the roominess of the vehicle. In addition to the

airbag recall and sensor issue, the vehicle had problems with the timing change sensor and an oil

pan leak. Ms. Liddy has also received recalls for the hatchback motor and seatbelts. She has

been told that the engine needs to be replaced and this will cost her several thousand dollars out-

of-pocket. Ms. Liddy’s opinion of New GM as a brand has changed because of the recalls, and

she now fears driving her vehicle because of all the defects. She does not believe the safety of

the vehicle lives up to New GM’s representations and New GM should be held responsible. Ms.

Liddy would not have purchased the vehicle or she would have paid less for it had she known

about its defects.

         Lisa McClellan—Texas

         247.     Plaintiff and proposed Low Torque Ignition Switch Defect Class and Power

Steering Defect Class Representative Lisa McClellan is a resident and citizen of Houston, Texas.

Ms. McClellan purchased a used 2005 Malibu Max (subject to the Low Torque Ignition Switch

and Power Steering recalls) for $10,551 from La Fiesta Auto Sales in Houston, Texas on

November 22, 2010. At the time of purchase, the vehicle was under a 90-day warranty. Ms.

McClellan purchased this vehicle, in part, because the vehicle’s safety and reliability were

important to her. Immediately after she purchased it, the Malibu’s cruise control wouldn’t work

and it was in and out of the service shop. Over the course of the year and a half that she owned

it, the car would shut off while she was driving at least fifty to sixty times. The Malibu was at




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the service repair shop often. She does not remember receiving any recall notices for her vehicle.

Ms. McClellan eventually returned the car to the dealership because it had so many problems.

She suffered economically because of the vehicle. Ms. McClellan would not have purchased the

vehicle or she would have paid less for it had she known about its defect.

         Lisa Simmons—Texas

         248.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Successor Liability Subclass, Power Steering Defect Class, and Delta Ignition Switch

Defect Bankruptcy Class Representative Lisa Simmons is a resident and citizen of Amarillo,

Texas. Mrs. Simmons purchased a new 2007 Saturn Ion with the Delta Ignition Switch Defect

for about $16,000 from the Saturn dealership in Amarillo, Texas in 2007. Her vehicle had a

standard warranty, which she believes was for five years. Ms. Simmons purchased the Ion

because she believed that it was a safe and reliable vehicle. Indeed, Ms. Simmons recalls that the

salesperson told her at the time of purchase that the vehicle was safe and reliable. She is a

college student and provides rides from time to time for certain students. After learning about

the defect around March 2014, Ms. Simmons became concerned about having other students or

anyone else in her vehicle. She also frequently drives out of town and is afraid of her vehicle

shutting down. Mrs. Simmons had her ignition switch repaired under the recall on September

23, 2014. She wonders if she can trust the “repair.” Before her vehicle was repaired, Ms.

Simmons attempted to get a loaner vehicle on multiple occasions, but her dealership resisted her

requests. She was ultimately able to obtain a loaner after several attempts, arguments with the

dealership, and significant stress. Had she known of the ignition switch defect, however, Ms.




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Simmons would not have driven the vehicle and would have attempted to sell it. She would not

have purchased the vehicle or she would have paid less for it had she known about its defect.

         Malinda Stafford - Texas31

         249.     Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Malinda Stafford is a resident and citizen of Vacaville, California. She purchased a new 2008

Buick Lucerne (subject to the Low Torque Ignition Switch recall) for $27,747.47 from Classic

Buick Pontiac GMC in Arlington, Texas on January 19, 2008. The car was covered under the

standard manufacturer’s warranty, and she also purchased an extended warranty. She chose this

vehicle, in part, because the vehicle’s safety and reliability was of the utmost importance to her.

She also selected this vehicle because of Buick’s perceived reliability history. She received a

recall notice for the ignition switch defect and had it repaired in January 2015. Ms. Stafford

believes life is worth more than a discounted vehicle. She would have made a totally different

choice of vehicle brand had she known about her vehicle’s defect.

         Alexis Crockett—Utah

         250.     Plaintiff and proposed Delta Ignition Switch Defect Class Representative Alexis

Crockett is a resident and citizen of Eagle Mountain, Utah. Ms. Crockett purchased a used 2005

Chevrolet Cobalt with the Delta Ignition Switch Defect for $5,200 from Blacks Auto in Lehi,

Utah in 2013. The vehicle did not have a warranty. Ms. Crockett purchased this vehicle because

safety and reliability were important to her and she believed the Cobalt was safe and reliable.

Indeed, at the time of her purchase, Ms. Crockett was working as a nanny and had charge of

children’s lives. She explained this to the salesperson, who emphasized the reliability and safety


    31
      The Court has dismissed this plaintiff’s claims. They are included solely for the purpose
of preserving their claims on appeal.



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features of the Cobalt at the time of sale. Ms. Crockett experienced problems turning the vehicle

on and off on numerous occasions; she also had difficulty removing the key from the ignition. In

some weeks, the key would get stuck in the ignition several times. She also has experienced

stalling when reversing out of her driveway. Ms. Crockett’s ignition switch was replaced in

October or November of 2014. This replacement caused a problem with the vehicle’s gear shift.

She often was unable to lock the vehicle and/or remove the ignition key from the ignition. The

dealership was not able to fix the Cobalt’s gear shift problem until February or March of 2015.

Prior to the ignition switch replacement, Ms. Crockett’s key would often become stuck in the

ignition. This typically took 20-30 minutes to remove, often causing Ms. Crockett to be late to

appointments and/or work. She also missed a total of 6-8 hours of work in obtaining her ignition

switch replacement. Ms. Crockett no longer owns the vehicle and she would not have purchased

the vehicle or she would have paid less for it had she known about its defect.

         Blair Tomlinson, D.D.S.—Utah

         251.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Successor Liability Subclass, and Delta Ignition Switch Defect Bankruptcy Class

Representative Blair Tomlinson, D.D.S., is a resident and citizen of Kaysville, Utah. Dr.

Tomlinson purchased a new 2005 Chevrolet Cobalt with the Delta Ignition Switch Defect for

about $15,000 from Murdock Chevrolet in Bountiful, Utah in August 2005. Dr. Tomlinson’s

Chevrolet Cobalt came with a three-year warranty. Safety was an important factor to him in

choosing this vehicle. Dr. Tomlinson and his family have purchased their last three cars from

Murdock Chevrolet and so they went there to look at cars before buying their new 2005

Chevrolet Cobalt. Dr. Tomlinson and his family members have experienced various issues




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consistent with the ignition switch defect, including unexpected shutdowns. In one particular

incident, Dr. Tomlinson’s daughter was driving on the highway in Logan, Utah, when she

accidentally bumped the ignition switch with her knee and the vehicle lost power. She was able

to get the vehicle safely to the side of the road, but was terrified by the incident. After hearing

about the recall in the news in March 2014, Dr. Tomlinson attempted to reach New GM, but he

had great difficulty before eventually being informed he would receive a letter if his car was

recalled. He also took his Cobalt to Young Chevrolet in Layton, Utah, to address the issue. The

dealership informed him they did not have the recall parts available to fix the defect. Young

Chevrolet provided a rental car for Dr. Tomlinson for approximately three months while they

waited for parts to arrive. Dr. Tomlinson, who still owns the vehicle, is still concerned about his

Cobalt and the safety of his family. Dr. Tomlinson would not have driven the vehicle or would

have sold it if he had known about its defect. He would not have purchased the vehicle or he

would have paid less for it had he known about its defect.

         Paul Jenks – Virginia

         252.     Plaintiff and proposed Side Airbag Class Representative Paul Jenks is a resident

and citizen of Virginia Beach, Virginia. Mr. Jenks purchased a new 2012 GMC Acadia (subject

to the Side Airbag recall) for approximately $31,000 from Southern GMC-- Greenbrier in

Chesapeake, Virginia in April 2012. The vehicle was covered by the manufacturer’s warranty at

the time of purchase. Mr. Jenks did not purchase any extended warranty. The safety and

reliability of the vehicle were important to him in buying it. Before the Acadia, Mr. Jenks owned

a 1994 Saturn for over 20 years. He thought highly of the GM brand, but his impression of GM

products has changed since learning of the recall. In recent years, Mr. Jenks had to replace the

Engine Control Module. This failure caused his car to go to half power on multiple occasions




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with at least one occurrence while driving on the freeway. Additionally, he had the Fuel Rail

Pressure Sensor and the Power Steering Pressure Line to the Rack and Pinion replaced, which is

currently leaking, again. There was also, a leaking Engine Timing Cover, which the dealer

covered under warranty along with a Lift Gate issue, which ended up being covered under a

recall. It was sticking and wouldn't close, then sometimes it would close on his wife after having

been stuck. Mr. Jenks received the Airbag recall notice and had his vehicle repaired at Southern

GMC in Chesapeake, Virginia in approximately July of 2017. The Check Airbag Light has

come on intermittently since the recall repair was performed. Southern GMC repaired seat

sensors related to the airbag, after Mr. Jenks reported the issue to them several times over a 6

month, or more, period of time. The light was coming on intermittently and the dealership said

they were unable to find a code every time he brought the vehicle in because the light was not on

at that time. Mr. Jenks even paid another mechanic to troubleshoot the issue because he was so

concerned about the issue. GM finally covered the repair, after Mr. Jenks pressed the dealership

on the issue. The Check Airbag Light came on again last month, after already having the sensors

in the seat repaired. This time, an independent dealership told Mr. Jenks the issue is related to

sensors in the seatbelt that impact the airbags. Mr. Jenks would not have purchased the vehicle

or he would have paid less for it had he known about its defects.

         Reynaldo Spellman – Virginia

         253.     Plaintiff and proposed Power Steering Defect Class Representative Reynaldo

Spellman is a resident and citizen of Virginia Beach, Virginia. Mr. Spellman purchased a used

2008 Saturn Aura (subject to the Power Steering recall) for $11,995 from CarMax in Virginia

Beach, Virginia in 2013. The vehicle was covered by the remaining factory powertrain

warranty. He chose this vehicle, in part, because the vehicle’s safety and reliability were




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important to him. Mr. Spellman had his vehicle repaired under the recall about two and a half

years ago at Perry Buick in Norfolk, Virginia. He still drives the vehicle because it is his only

form of transportation. Mr. Spellman would not have purchased the vehicle or he would have

paid less for it had he known about its defect.

         Michael Garcia—Washington

         254.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Successor Liability Subclass, Power Steering Defect Class, and Delta Ignition Switch

Defect Bankruptcy Class Representative Michael Garcia is a resident and citizen of Yakima,

Washington. Mr. Garcia purchased a used 2010 Chevrolet Cobalt (subject to the Delta Ignition

Switch and Power Steering recalls) for $16,470 from Blader Chevrolet in Mt. Vernon,

Washington in June 2011. The vehicle was under warranty when he purchased it. Mr. Garcia

purchased this vehicle, in part, because the vehicle’s safety and reliability were important to he

and his family. After learning about the ignition switch recall in February 2014, Mr. Garcia and

his family feared driving the vehicle because of the risks posed by the defect and discontinued

driving the vehicle until the ignition switch was replaced under the recall repair program in April

2014. Mr. Garcia still owns the vehicle and believes its value has been diminished as a result of

the defect. Mr. Garcia would not have purchased the vehicle or would have paid less for it had

he known about its defect.

         Tony Hiller—Washington

         255.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Successor Liability Subclass, Power Steering Defect Class, and Delta Ignition Switch




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Defect Bankruptcy Class Representative Tony Hiller is a resident and citizen of Sumner,

Washington. Mr. Hiller purchased a used 2009 Chevrolet HHR with the Delta Ignition Switch

(and subject to the Power Steering recall) for $10,965.50 from Puyallup Auto Center in Puyallup,

Washington in March 2013. The car was not under warranty at the time of purchase. Mr. Hiller

chose this vehicle, in part, because safety and reliability was important to him, and he believed

that the HHR was both safe and reliable. After learning of the recall, Mr. Hiller simulated an

ignition shutdown incident. He pulled lightly on his key and the vehicle shut off. On July 23,

2014, Mr. Hiller’s ignition switch was replaced under the recall. By the time his ignition switch

was replaced, however, Mr. Hiller had to make several trips to his dealership. On the first

several trips, the dealership did not have replacement switches in stock. It took several months

before the dealership informed Mr. Hiller that his vehicle could be repaired. Mr. Hiller was also

told that his power steering defect was repaired at the same time as his ignition switch repair.

Mr. Hiller traded in his HHR on August 8, 2014, because he does not believe the vehicle is safe

to drive. He believes he received less in trade-in value due to the recall and the safety defects in

the vehicle. Mr. Hiller would not have purchased the vehicle or he would have paid less for it

had he known about its defects.

         Stephanie Renee Carden—West Virginia

         256.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Successor Liability Subclass, Power Steering Defect Class, and Delta Ignition Switch

Defect Bankruptcy Class Representative Stephanie Renee Carden is a resident and citizen of

Huntington, West Virginia. Ms. Carden purchased a new 2004 Saturn Ion 2 with the Delta

Ignition Switch Defect (and subject to the Power Steering recall) for $22,181 at Saturn of




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Hurricane in Hurricane, West Virginia on July 22, 2004. Ms. Carden’s vehicle came with the

standard manufacturer’s warranty. Safety and reliability were important to Ms. Carden when she

purchased her 2004 Saturn Ion. GM’s advertisements regarding their vehicles’ safety and

reliability were one of the reasons Ms. Carden purchased her 2004 Saturn Ion. In addition to the

national advertising campaigns, at the time of purchase, a GM salesman informed Ms. Carden of

a previous Ion owner who was involved in a major crash that would have resulted in the Ion

driver’s death had it not been for the Ion’s safety features. Ms. Carden has twice experienced

loss of power due to the ignition switch defect. Shortly after the second power-loss incident, Ms.

Carden’s vehicle had an issue where it would not restart, requiring her to have the vehicle towed

to a service station. Ms. Carden learned of the recall on or about March 2014 when she received

a recall notice for the ignition switch. Ms. Carden did not have her vehicle repaired under the

recall following its failure to restart. Her vehicle, which is not operable, remains in her

possession and control. Ms. Carden would not have driven the vehicle or would have sold it if

she had known about its defect. She would not have purchased the vehicle or she would have

paid less for it had she known about its defect.

         Melinda Graley—West Virginia

         257.     Plaintiff and proposed Delta Ignition Switch Defect Class Representative Melinda

Graley is a resident of Alum Creek, West Virginia. Mrs. Graley purchased a used 2003 Saturn

Ion with the Delta Ignition Switch Defect for $13,000 from JD Buyrider in Charleston, West

Virginia in March 2012. The car was not under warranty at the time of purchase. Mrs. Graley’s

husband was driving the car when it inadvertently shut down, causing him to crash into an

embankment. Mrs. Graley also experienced steering lock-up events with her car. In one

instance, it locked up on her while she was driving up a hill in the mountains, causing her car to




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drift left into the oncoming lane. She narrowly avoided colliding with a coal truck. The vehicle

was serviced under recall in June 2014. During those three months, her dealership called on

multiple instances, insisting she return the loaner vehicle because there was “nothing wrong”

with her ignition switch and that her vehicle never failed. With the assistance of her counsel,

Mrs. Graley was able to refuse these demands and retain her loaner through June, when her car

was finally repaired. Mrs. Graley attempted to sell her car to a dealership, CNO Motors, in

August 2014. They only offered her $1,000 for the car, however, so she decided not to sell it at

that time. After experiencing further issues with her Ion, Mrs. Graley sold her car in February

2015 for approximately $750. Mrs. Graley would not have purchased the vehicle or she would

have paid less for it had she known about its defect.

         Nancy Bellow—Wisconsin

         258.     Plaintiff and proposed Delta Ignition Switch Defect Class Representative Nancy

Bellow is a resident and citizen of Oconto Falls, Wisconsin. Ms. Bellow purchased a used 2007

Chevrolet Cobalt with the Delta Ignition Switch Defect for $10,000 from King Buick in Oconto,

Wisconsin on March 31, 2012. The car was not under warranty at the time of purchase. Ms.

Bellow purchased the Cobalt because safety and reliability were important to her and she

believed that the vehicle was safe and reliable. She purchased the vehicle after reading

advertisements about the Cobalt on the Internet. Her ignition switch was not repaired under the

recall until September 18, 2014, and she was never offered a loaner car during this waiting

period. Ms. Bellow was fearful of driving her vehicle before it was repaired, so she often

borrowed her sister’s vehicle, which was an inconvenience. Ms. Bellow still owns the Cobalt,

but only uses it because she has no other means of transportation. She does not use the vehicle if




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she needs to make a long drive, instead borrowing her sister’s vehicle. Ms. Bellow would not

have purchased the vehicle or she would have paid less for it had she known about its defect.

         Dion Jones—Wisconsin

         259.     Plaintiff and proposed Low Torque Ignition Switch Defect Class Representative

Dion Jones is a resident and citizen of Fitchburg, Wisconsin. Mr. Jones purchased a used 2007

Chevrolet Impala (subject to the Low Torque Ignition Switch recall) for $6,000 from a private

seller in Madison, Wisconsin in May 2013. Mr. Jones purchased the car primarily to drive for

hire with Uber and he believed the vehicle would be a safe and reliable car for himself and his

customers. He also recalls seeing advertisements about the safety and reliability of New GM

vehicles. Mr. Jones experienced a few problems with the ignition switch. Eventually the vehicle

became so unreliable he could no longer run his business and he was replaced by Uber. When he

has attempted to sell the car, the potential buyer always asks about the ignition switch and they

are no longer interested in the car. Mr. Jones would not have purchased the vehicle or he would

have paid less for it had he known about its defect.

         Thomas Linder – Wisconsin

         260.     Plaintiff and proposed Low Torque Ignition Switch Defect and Power Steering

Defect Class Representative Thomas Linder is a resident and citizen of Ixonia, Wisconsin. Mr.

Linder purchased a used 2004 Chevrolet Malibu (subject to the Low Torque Ignition Switch and

Power Steering recalls) for $6,995 from K&W Auto Sales in St. Genoa City, Wisconsin on

November 9, 2011. Mr. Linder believes the car was still covered by the manufacturer’s warranty

when he purchased it. The safety and reliability of the vehicle were important to him in buying

the Malibu. Before the Malibu, Mr. Linder owned a Chevrolet Blazer and thought highly of the

GM brand, but his impression of GM products has changed since learning of the recalls. Over




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the past few years, the ignition switch in the vehicle has been faulty and sometimes the car will

not turn over on the first attempt. Mr. Linder received the power steering recall notice and had

his vehicle repaired at Ewald Chevy Buick in Oconomowoc, Wisconsin on August 14, 2014. He

believes the ignition switch has also been repaired under the recall, but he does not specifically

remember it. Mr. Linder would not have purchased the vehicle or he would have paid less for it

had he known about its defects.

         Les Rouse—Wisconsin

         261.     Plaintiff and proposed Delta Ignition Switch Defect Class, Delta Ignition Switch

Defect Successor Liability Subclass, Power Steering Defect Class, and Delta Ignition Switch

Defect Bankruptcy Class Representative Les Rouse is a resident and citizen of LaCrosse,

Wisconsin. Mr. Rouse purchased a new 2004 Saturn Ion 2 with the Delta Ignition Switch (and

subject to the Power Steering recall) for approximately $16,000 from Saturn of LaCrosse in

October 2004 in LaCrosse, Wisconsin. His car was covered under the manufacturer’s standard

warranty and he may have purchased an extended warranty. This was the second Saturn Mr.

Rouse purchased new from this dealership, and he bought this car because of its safety rating.

Mr. Rouse experienced a loss of electrical power in his vehicle while driving. He learned about

the ignition switch defect in March 2014, but it took until May 2014 to receive the parts and have

the repair completed. He is concerned about driving the car because of safety risks, and he also

believes the value of his car has diminished because of the defect. Mr. Rouse would not have

driven the vehicle or would have sold it if he had known about its defect. He would not have

purchased the vehicle or he would have paid less for it had he known about the defect in the

vehicle.




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         Christy Smith—Wisconsin

         262.     Plaintiff and proposed Side Airbag Defect Class Representative Christy Smith is a

resident and citizen of Soldiers Grove, Wisconsin. Mrs. Smith purchased a used 2008 Buick

Enclave (subject to the Side Airbag recall) for $17,000 from Mad City Sales used car dealership

in Madison, Wisconsin on December 20, 2012. She purchased an extended warranty for the car.

The safety of the vehicle was a very big factor in Ms. Smith’s decision to buy it. The airbag light

came on in Mrs. Smith’s car almost immediately after purchasing it. She returned to the

dealership and they replaced the airbag. Mrs. Smith would not have purchased the vehicle or she

would have paid less for it had she known about its defect.

B.       Defendant

         263.     Defendant General Motors LLC (“New GM”) is a Delaware limited liability

company with its principal place of business located at 300 Renaissance Center, Detroit,

Michigan, and is a citizen of the States of Delaware and Michigan. The sole member and owner

of General Motors LLC is General Motors Holding LLC. General Motors Holdings LLC is a

Delaware limited liability company with its principal place of business in the State of Michigan.

The sole member and owner of General Motors Holdings LLC is General Motors Company,

which is a Delaware Corporation with its principal place of business in the State of Michigan,

and is a citizen of the States of Delaware and Michigan. New GM was incorporated in 2009 and,

effective on July 10, 2009, acquired substantially all assets and assumed certain liabilities of

General Motors Corporation through a Section 363 sale under Chapter 11 of the U.S. Bankruptcy

Code. It is undisputed that New GM had express obligations, as well as obligations by law, to

comply with the certification, reporting, and recall requirements of the National Traffic and




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Motor Vehicle Act and the Transportation Recall Enhancement, Accountability and

Documentation Act with respect to all Old and New GM vehicles.

                               V.     FACTUAL ALLEGATIONS

A.        Old GM Falsely Promoted All of Its Vehicles as Safe, Reliable, and High-Quality32

          264.    A central theme in Old GM’s brand-wide and model-specific advertising was to

tout the safety of its vehicles through specific (and objectively false) promises of safety. The

following are a few examples of such advertising. In general Old GM used brochures, print and

TV advertisements to promote Old GM models as safe. Old GM undertook this advertising

campaign, and spent tens of millions of dollars in doing so, with the specific intent that

consumers rely on those promises.

          265.    An Old GM print advertisement exclaimed in bold print: “At GM, Safety Isn’t

One Thing, It’s Everything.” GM-MDL2543-301025786.

          266.    A 2006 GM brand-wide marketing brochure contained a page dedicated to safety.

The page was titled: “YOUR SAFETY AND SECURITY. IT’S OUR PRIORITY.” Old GM

then promised: “General Motors is the only automotive manufacturer committed to offering a

full range of cars, trucks, and SUVs with GM continuous safety: protection before, during and—

thanks to OnStar—after vehicle collisions.” GM-MDL2543-301443177.

          267.    This theme was repeated in another marketing brochure for the Old GM brand,

touting: “OUR PRIORITY—YOUR SAFETY AND SECURITY.” Old GM then again

promised: “General Motors is the only automotive manufacturer committed to offering a full

range of cars, trucks, and SUVs with GM continuous safety: protection before, during and—


     32
      These ads are only relevant to the claims of the Delta Ignition Switch Defect Successor
Liability Subclass.



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thanks to OnStar—after vehicle collisions.” GM-MDL2543-301463604; see also GM-

MDL2543-302767597. Of course, as is now known, this promise of continuous safety is false as

the airbags do not work if the ignition switch is not in the Run position.

         268.     In early 2009 owner loyalty mailings, Old GM touted the quality and reliability of

its vehicles as well as safety:

                  Safe.

                      x   37 of our 2009 models have five-star frontal crash safety ratings.

                      x   We offer the safety and security of OnStar, including Automatic Crash
                          Response, OnStar Vehicle Diagnostics, and Turn-By-Turn Navigation.
                          Nobody else offers these services. Not Honda. Not Toyota. Not Ford.
                          Not Chrysler. Not Nissan. Not Dodge. [GM-MDL2543-100182783
                          (footnotes omitted).]

         269.     A 2006 GMC The Magazine article titled “Not Just HOT AIR” discussed the

importance of a vehicle’s air bags. It advised that “Your vehicle’s air bags are poised to help

protect you in a moment’s notice.” Further: “When appropriate conditions arise, your vehicle’s

air bags inflate rapidly and powerfully to work with your safety belt system to help protect you

in the event of a collision.” GM-MDL2543-100223694. This statement is objectively false as

GM’s airbags do not deploy at critical times.

         270.     Safety was an express selling point in a 2006 HHR brochure touting the “HHR

Selling Advantage” of “Added Safety and Security,” including “enhanced airbag protection.”

GM-MDL2543-301464481-82. A 2006 GM press release for the HHR added that that “HHR is

designed to protect occupants in the event of a crash” through such “safety features” such as

“dual-stage frontal air bags.” GM-MDL2543-301452586. A 2007 HHR marketing brochure

reiterated the GM “WE’VE GOT YOUR BACK” promise, explaining that “Chevrolet is

committed to keeping you and your family safe.” GM-MDL2543-3023158819. Marketing copy




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for the HHR promised that the “HHR is designed to protect occupants in the event of a crash” in

ad copy from 2008 and 2009. GM-MDL2543-301452598; GM-MDL2543-301458742.

         271.     A 2005 Pontiac G6 brochure makes “SAFETY ASSURANCES,” including

standard “dual-stage front airbags.” GM-MDL2543-301463441. A brochure for the 2008

Pontiac G6 promised that “safety is all around you. Standard equipment includes dual-stage

frontal driver and front passenger air bags,” that would—presumably—actually work. GM-

MDL2543-302131852.

         272.     Old GM touted safety for the Malibu and Malibu Maxx, stating in a brochure that

“Safety is built into the heart of the all-new 2004 Chevrolet Malibu sedan and Malibu Maxx

extended sedan,” specifically highlighting the airbags. GM-MDL2543-302128438. (Of course,

safety was not “built into the heart” of these models when Old GM knew it was selling these cars

with defective ignition switches.)

         273.     Brochures for the 2009 and 2010 Cadillac CTS contain the tagline, “THE ONLY

PLACE WHERE WE PLAY IT SAFE”, claiming that “Passenger safety is one of the first and

most important considerations throughout the engineering process” and that “Of course, the

ultimate luxury is passenger safety. So it’s needless to say that this aspect of the CTS has been

scrutinized with utmost care.” GM-MDL2543-302127737; GM-MDL2543-301626861.

         274.     In a print ad for the 2006 Buick LaCrosse, Old GM represented: “Occupant

safety received high priority in the design of LaCrosse—with the goal of providing excellent

protection in the event of a collision.” GM-MDL2543-006787272.

         275.     A marketing brochure for the 2007 Buick Lucerne promised “PROTECTION

BEYOND PROTECTION:”




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                  Lucerne was designed with safety and protection as top priorities.
                  Helping occupants avoid serious injury in the event of a crash was
                  a given. But our engineers were committed to doing much more.
                  Like helping the driver avoid crashes. … If a crash is unavoidable,
                  Lucerne’s six air bags and industry leading technology will be
                  there to help protect.

         276.     Similarly, a 2008 Buick Enclave brochure said, “From the outset, safety and

protection were top priorities in the design of the Enclave. . . . If a crash is unavoidable,

Enclave’s advanced safety technology will be there to help protect.” GM-MDL2543-

303150775.

         277.     The promise of “Safety” was central to an Old GM press release for the 2006

Saturn Outlook: “Saturn Outlook is designed to protect passengers before, during and after a

crash.” The air bags were highly touted. GM-MDL2543-301451107.

         278.     A marketing brochure for the 2009 Saturn VUE asked, “Can good looks keep you

Safe?” The answer: “The Saturn VUE Compact SUV. Six air bags. StabiliTrak vehicle

stability control system. OnStar. Now safety isn’t a luxury.” GM-MDL2543-100222943.

         279.     As alleged below, the foregoing representations are proven to be false and

misleading.

B.       New GM Marketing of Its Brand and New GM Models As Safe and Reliable

         280.     Brands and branding have been critical components of marketing strategy for

many years. This was true for New GM as well which spent tens of millions trying to rebuild its

image after Old GM’s bankruptcy. The importance of the “brand name” has increased, however,

as companies have sought additional ways to differentiate their products from others as

differences in the physical characteristics of products become harder to create and sustain.

Creating, managing, and sustaining strong brands is a complex endeavor that requires steady,




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long-term commitment by company managers. The reward for doing so, however, is possession

of an extremely valuable asset that may provide a large return on the company’s investment.

What follows below in Sections B.1—B.4 are allegations based on accredited academic studies

and research, as well as the opinions of an advertising/marketing expert, about the importance of

a brand. After establishing such, the Complaint will detail specific promises that were false,

about the New GM brand and specific New GM models. The falsity of these promises are quite

different from a brand falling out of favor. Rather as alleged herein, the revelation that the

promises about the New GM brand were lies, coupled with disclosure of the defects, caused

economic injury to millions of New GM car owners.

         1.       The branding concept.

         281.     At a minimum, a brand is simply “a name, term, sign, symbol, or design, or a

combination of them, intended to identify the goods or services of one seller or group of sellers

and to differentiate them from those of competitors.33 Thus, any time a product or service is

given a name, technically it becomes a “brand.” This naming function is important, allowing

users to know who will be responsible for the performance of the brand, but it is only a small

portion of the meaning of a “brand” as created and managed by corporations today. In general, a

‘brand’ is the sum total of the beliefs and associations that consumers have with respect to that

brand. That is why it is often said that products are made in the factory while brands live in

consumers’ minds. Products can be copied and outdated, but properly managed brands are

unique and potentially timeless. The formulation of Ivory soap, its packaging and advertising,




    33
       American Marketing Association, as quoted in Kevin Lane Keller, Strategic Brand Management,
4th edition (Pearson Prentice-Hall: Upper Saddle River, NJ, 2013), p. 2.




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for example, have changed over the years, but the brand concept of Ivory as “pure,” gentle, and

wholesome has remained unchanged.




                                   Figure 1: Brand Associations34

         282.     As shown in Figure 1, these values can be tangible or physical (product and

service features or benefits) as well as intangible or symbolic (images, emotions, values, feelings

of community with other brand users, etc.). Brands can serve functional needs, but also

emotional needs and self-expressive needs.

    34
     Taken from Aaker, David A., Building Strong Brands (New York: The Free Press,
1996), p. 74.



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          283.    The resulting mental network of associations for any brand, then, can become

quite complex. Figure 2 provides an example of one possible mental network for McDonald’s

restaurants.




                               Figure 2: Mental Associations Network35

          284.    A different, more qualitative example comes from the well-known annual

Interbrand36 global brand study and valuation describing the Starbucks brand:

                  “There are not many places left in this world where absolutely
                  everyone is invited.” Starbucks (SBUX) says, “come in, sit where
                  you want, bring what you want, wear what you want, and enjoy
                  yourself.” “Starbucks built a comfy couch for the planet, and
                  brought community and hospitality back into a culture that had lost
                  it.”37

    35
         From Aaker, David A., 1996, op., cit., p. 94.
    36
       Interbrand is a leading brand consulting firm that has developed a proprietary brand
valuation method. This study has been conducted each year since 2000. See
http://www.interbrand.com, and http://interbrand.com/best-brands/.
    37
         BusinessWeek, “Millennial Girls—Best Global Brands”, 2008.



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          2.      Strong brands and brand equity.

          285.    According to the well-established customer-based brand equity model,38 brands

can be characterized not only by the positive (and negative) associations linked to them, but also

by the strength of consumers’ knowledge of these associations. Strong brands are those for

which consumers have a high level of knowledge of the brand, i.e., both a high awareness of the

brand and a clear awareness of what the brand stands for.39 Marketers create and build strong

brands by managing brand investments over time so as to create this consumer knowledge.

Brand investments include (1) the selection of appropriate brand elements (e.g., brand name,

logo, symbols, packaging design, etc.), (2) the creation and execution of a marketing mix (e.g.,

product design and features, distribution, communications, and pricing as well as target market

selection), and (3) management of customer experiences and interactions with the brand such

that all brand investments and all points of contact of the consumer with the brand are consistent

with the desired positioning of the brand. For most firms, significant resources applied

consistently over time are required to build strong brands.40 The clarity of consumers’ brand

knowledge is significantly affected by the degree to which all brand-building activities are

consistent with each other and consistent over time.

          286.    In turn, strong brands, through their high level of consumer knowledge

(awareness and associations), create brand equity, which is defined as:

                  The differential effect that brand knowledge has on consumer
                  response to the marketing of that brand. A brand has positive
                  customer-based brand equity when consumers react more

    38
         Keller, 2013, op. cit.
    39
         Keller, 2013, op. cit., p. 44.
    40
     See Erdem, Tulin and Joffre Swait, “Brand Equity as a Signaling Phenomenon,” Journal of
Consumer Psychology, 7 (2), 1998, pp. 131-157.



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                  favorably to a product and the way it is marketed when the brand is
                  identified than when it is not (say, when the product is attributed to
                  a fictitious name or is unnamed).

         287.     The power of brands to shift consumers’ responses to products has been shown in

many studies. For example, in one test, consumers were asked to taste three colas with no

indication of their brands. One was Coke, and the other two were two different store brands.

When the brands were not identified, consumer preferences were split fairly evenly among the

three—31 percent preferred Coke, and 33 percent and 35 percent preferred the two store brands

respectively. When the brands were identified, however, preferences were very different. In this

case, 50 percent of the testers preferred Coke.41 The value of the brand name to consumers is

expressed in their differential response to the branded versus unbranded products.

         288.     In the case of a relatively expensive consumer durable product, brands also have

been shown to exert significant power. Sullivan studied the used car prices for twin automobile

pairs, i.e., those automobiles that are exactly the same, but offered under different automobile

brands. Examples of these in certain years were the Ford Thunderbird and the Mercury Cougar,

the Dodge Colt and the Mitsubishi Mirage, and Plymouth Valiant and Dodge Dart. The results

showed that the parent brand, i.e., Ford, Mercury, Dodge, etc., had a significantly positive effect

on the relative used car prices of twin pairs. The model brand (e.g., Thunderbird, Colt, etc.) and

model-level quality and advertising variables had little or no effect on relative prices.42 Here, the

brand name is shown to have a quantifiable value to consumers, i.e., the difference in price of

otherwise identical products. In other words, a brand’s value to consumer appears to be “baked

    41
     Berneiser, Jennifer E. and Sarah N. Allen, “Taste Preference for Brand Name versus Store
Brand Sodas,” North American Journal of Psychology, 13 (2), 2011, pp. 281-290.
    42
     Sullivan, Mary W., “How Brand Names Affect the Demand for Twin Automobiles,”
Journal of Marketing Research, 35 (May, 1998), 154-165.



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into” the price that consumers are willing to pay for the product. And finally, other researchers

have found that brand strength has a positive effect on returns to stockholders and less risk.43

          289.    Taking an information economics point of view, Erdem and Swait stress an

additional characteristic, brand credibility, in creating brand equity.44 In their model, a brand is

seen as a signal which embodies the product’s positioning and history in the marketplace. An

important characteristic of the signal, which contributes to the brand’s power (along with the

content and clarity of the brand’s associations), and which underlies many of the benefits of a

strong brand to consumers, is its credibility. Credibility relates to the brand’s willingness and

ability to deliver what is promised, and it is determined by the dynamic interactions between

firms and consumers. A highly credible brand is seen as having both expertise and

trustworthiness. Subsequent research has shown that the dimension of trustworthiness is a

significant determination of brand consideration and choice.45 Combining the two perspectives

of Keller and Erdem and Swait, a strong brand may be seen as one that has high brand

awareness, a favorable image based on knowledge of positive associations or characteristics, and

a history of delivering what it promises, e.g., the ability (expertise) and willingness

(trustworthiness) that combine to create credibility. Undermining a brand’s credibility may




    43
     Madden, Thomas J., Frank Fehle, and Susan Fournier, “Brands Matter: An Empirical
Demonstration of the Creation of Shareholder Value Through Branding,” Journal of the
Academy of Marketing Science, 34 (2), 2006, pp. 224-235.
    44
         Erdem, Tulin and Joffre Swait, “1998, op. cit.
    45
     Erdem, Tulin and Joffre Swait, “Brand Credibility, Brand Consideration and Choice,”
Journal of Consumer Research, 31 (1), 2005, pp. 191-198.



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destroy a brand’s value or equity apart from any change in awareness or associations

promulgated by the brand’s owner.46,47

          3.      Benefits of strong brands to consumers and marketers.

          290.    Seen from the perspective of information provided by strong brands, it is clear

why they provide several benefits to consumers. At the very least, brands identify the source of

the product and allow the consumer to know who is responsible for its performance. Through

prior experiences, interactions with the company offering the brand and its marketing programs,

and word of mouth, consumers learn which brands match their needs. As a result consumers can

use brand names as a shortcut for making product decisions. Strong brands are credible signals

of quality, and thus reduce the need for a costly search and the perceived risk in making choices.

Further, through their particular images, brands are a symbolic device that allow consumers to

express their own values and personalities. A strong brand provides reassurance that the

consumer will get what he or she wants, that the product will send the desired signals to others

and perhaps confer membership in desired brand communities, and that the purchase of the

product will support organizations with values similar to the consumer.48

          291.    For firms, brands also provide several valuable functions. Like for consumers,

brands serve an identification purpose to simplify handling and tracing. A brand also offers a


    46
      See Swait, Joffre, Tulin Erdem, and Tom Peters, “Shocks to Brand Equity: An
Information Economic Perspective on the U.S. Auto Industry 2006-2011,” Customer Needs and
Solutions, 1 (4), December, 2014, pp. 317-332.
    47
      A different formulation of brand equity has been proposed by Aaker which conceptualizes
brand equity as the assets that belong to the brand: name awareness, brand associations,
perceived quality, brand loyalty, and any other proprietary assets (logos, symbols, etc.). See
Aaker, David A., Managing Brand Equity (New York: The Free Press, 1991), Chapter 1,
pp. 1-33.
    48
         See Keller, op cit., 2013, pp. 6-7.



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platform for legal protection. It can be protected through registered trademarks, copyrights for

packaging and other designs. This intellectual property can be a valuable asset. When firms are

bought and sold, a strong brand with its ability to signal desirable associations can command a

considerable premium. Interbrand, for example, has developed a methodology to determine the

value of a firm’s brand, apart from its other assets. In 2015, Interbrand estimated that Apple’s

brand, the most valuable in the world, was worth $170,276,000,000. Even the last brand on

Interbrands list of the 100 most valuable global brands, Lenovo, was worth $4,114,000,000.49

Strong brands provide opportunities for additional revenue generation by leveraging the brand

name and its associations to new products in new categories, e.g., “brand extensions”, and thus

reduce the cost and risk of introducing products. HP, Inc., for example, sells HP personal

computers, HP printers, HP ink cartridges, and HP calculators. Advertising the HP brand can

support all of these product lines, automatically instilling the new products with the

characteristics associated with the HP brand. Alternatively, the firm may choose to license the

brand name—and its associations—to other companies.

          292.    Brands allow firms to differentiate their products using unique associations and

meanings. This type of differentiation may be harder to copy than product technology and

features. In addition, it allows the firm to target market offerings to different segments of the

market. Procter and Gamble, for example, markets multiple brands of laundry detergent (e.g.,

Tide, Cheer, etc.), each with its own brand image, to different market segments. The company

increases its revenues streams by being able to serve a larger portion of the market. Consumers

may be willing to pay a higher price for a brand that is perceived to best fit their needs, and/or

firms may be able to generate greater margins due to a lesser reliance on price promotions to

    49
         See www.interbrand.com/best-brands.



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stimulate sales. Finally, strong brands and strong relationships with consumers may provide

firms with a degree of insulation from competing marketing efforts and from occasional

missteps.50

          293.    In summary, strong brands provide significant benefits to consumers and firms

alike. Both receive considerable value from well designed and supported strong, credible brands.

Building strong brands and generating the power to evoke a differential response among

consumers is not an easy nor inexpensive task. Considerable management time and monetary

resources are required to develop a high level of brand awareness and an extensive level of

consumer brand knowledge, and such was the case at New GM. A firm must show consumers

that it is both willing and able to fulfill its brand promise over time to develop brand credibility.

Once built, however, a strong brand creates considerable revenue opportunities for the firm.

          4.      Leveraging brand associations—benefits and risks.

          294.    One of the most important benefits of establishing a strong brand is the

opportunity to leverage the brand’s high awareness, positive associations, and credibility to assist

in the introduction of other products under the established brand’s name, i.e., “brand

extensions.”51 The high awareness of the shared brand name provides some degree of immediate

familiarity with the new product, and the brand name serves as a signal of the quality of the new

brand.52 For example, Apple Macintosh (iMac) computers historically were known for their

elegant styling as well as simplicity of operation and ease of use. These associations were

    50
         See Keller, 2013, op. cit, pp. 6-7, and Aaker, 1991, op. cit., pp. 16-18.
    51
         Keller, Kevin Lane, 2013, op. cit. and Aaker, David A., 1991, op. cit.
    52
     Montgomery, Cynthia and Birger Wernerfelt, “Risk Reduction and Umbrella Branding,”
Journal of Business, 65 (1), 1992, pp. 31-50; Wernerfelt, Birger, “Umbrella Branding as a Signal
of New Product Quality: An Example of Signaling by Posting a Bond,” Rand Journal of
Economics, 19 (3), 1988, pp. 458-66.



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leveraged in the introduction of the Apple iPod, which both benefited from, and enhanced

through additional confirmation, Apple’s reputation for these attributes, and in the subsequent

introductions of the iPhone and Apple Watch. Because the iPod was made by Apple—and

shared its brand name—the qualities consumers associated with Apple and its established

products were transferred to the new product, reducing the cost of marketing and advertising for

Apple and reducing the uncertainty/risks and need for information search by consumers. In this

way, the high costs of establishing a strong brand can be spread over multiple products and

sources of revenue.53

          295.    Much marketing research has confirmed these positive benefits to a new

product.54 For example, Erdem55 demonstrated that consumers expect that the quality levels of

products marketed under a shared, or “umbrella” brand, to be highly correlated. Other research

has investigated the conditions under which the acceptance of a brand extension is most likely to

benefit from a connection to an established brand name.56 Extensions are more likely to benefit




    53
       Among the possible reasons for the increasing costs of creating a strong brand are brand
proliferation which makes it difficult to gain consumers’ attention and to get exposure through
distribution, the high volume of television advertising and the resulting impact of it, and the
increasing sophistication of consumers which also has reduced the effectiveness of advertising.
See Sullivan, Mary C., “Measuring Image Spillovers in Umbrella-branded Products,” Journal of
Business, 63 (3), 1990, pp. 309-329.
    54
      See Keller, 2013, op. cit., chapter 12, pp. 403-448, and Loken, Barbara, Christopher Joiner
and Michael J. Houston, “Leveraging a Brand Through Brand Extension: A Review of Two
Decades of Research,” in Barbara Loken, Roini Ahluwalia and Michael J. Houston (eds.), Brand
and Brand Management: Contemporary Perspectives (New York: Routledge, 2010) for
reviews of this literature.
    55
     Erdem, Tulin, “An Empirical Analysis of Umbrella Branding,” Journal of Marketing
Research, 35 (3), 1998, pp. 339-351.
    56
         Loken, et al., 2010, op cit.



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from high-quality brands, from brands that consumers trust, and from brands for which there is

some similarity or degree of “fit” between the original product category and the new.

         296.     Information about an extension that directly contradicts a central belief about the

original brand may undermine the credibility of the original brand resulting in a loss of brand

equity. If the original brand is a corporate brand, i.e., the name of the company that

manufactures the product, the damage may be increased. This is because a corporate brand

reflects an organization that presumably will deliver and stand behind the product or service.

The associations tied to a corporate brand generally are more abstract as the corporate brand

must be consistent with, or provide an “umbrella” over all of the other brands nested beneath it.

For example, the corporate brand can provide credibility based on trust, liking and generalized

perceived expertise. Trust, in particularly, may be easier for an organization than a product to

develop.57 Negative feedback to a corporate brand that undermines the trust that consumers have

in it will undermine the brand equity of that brand.

         297.     Other researchers have investigated the related phenomenon of “spillover,” in

which information about or marketing actions taken in support of one product “spills over” to

affect demand for other products that share the brand name. The information may be positive or

negative, and the products may belong to different product categories (e.g., toothbrushes and

toothpaste) or to a company’s portfolio of brands in the same product category (e.g., Toyota

Camry and Toyota Corolla). While much of the brand extension literature is focused on the use

of an established brand name to aid the launch of a new product and the interaction between the

established product reputation and information about the new product, spillover refers to the


    57
     See Aaker, David, A., Brand Portfolio Strategy (New York: Free Press, 2004), Chapter
9, “Leveraging the Corporate Brand”, pp. 257-288.



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impact of information about an established product and the other products that share a brand

name.

         298.     Two studies have investigated the impact of product recalls on other products that

share the same brand name, but are not the subject of the recall. First, Sullivan analyzed the

effects of the sudden-acceleration incidents that occurred in 1986 as Audi 5000 owners began to

report a high incidence of sudden-acceleration problems.58 The safety of 250,000 Audi 5000

cars sold between 1978 and 1986 were called into question as several deaths occurred due to the

problem. Audi executives initially denied that there was a problem, initially refused to recall the

products, and appeared to blame the drivers of the vehicles for any problems they experienced.

Sullivan’s study tested whether the demand for Audi 4000s and Quattros were affected along

with the demand for 1978-86 Audi 5000s. Specifically, Sullivan tested whether the negative

information about the Audi 5000 models resulted in an increased depreciation for used Audi

4000 and Quattros. Her analysis demonstrated that all of the Audis were significantly affected

by the sudden-acceleration incident. Audi 5000s depreciated 11.5% more than they would have

in the absence of the issue, while the Audi 4000s depreciated 9.2% more than expected and the

Quattro depreciated 6.8% more than expected. No other brand included in the analysis,

including Porsche which was frequently sold by the same dealers as Audi, was affected. Further,

the damage to Audis was sustained over time. The year after the incidents were disclosed, the

depreciation rates were 12.0%, 11.1%, and 6.1% higher than expected for the 5000, the 4000,

and the Quattro respectively. Two years later, the 5000 and the 4000 models declined more than

expected by 7.0% and 8.4%, respectively.


    58
     Sullivan, Mary C., “Measuring Image Spillovers in Umbrella-branded Products,” Journal
of Business, 63 (3), 1990, pp. 309-329.



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          299.    Interestingly, Sullivan was also able to demonstrate a positive spillover for used

models of Jaguar that occurred following favorable publicity regarding Jaguar’s introduction in

1988 of its first major model change in 16 years. The new technology introduced kept the classic

look of the Jaguar, but improved its reliability. The launch was accompanied by an

unprecedented advertising campaign for the new models, and demand for them was higher than

executives had predicted. A positive spillover on used Jaguars due to the enhancement of the

Jaguar name was found. Specifically, used Jaguars depreciated more slowly than they otherwise

would have, i.e., 3.9% lower than expected.

          300.    In a second study, Swait, Erdem, and Peters examined the effects of shocks to

brand equity in the U.S. automobile industry during the period of 2006-2011.59 Their primary

focus was the effects of a series of sustained product recalls in 2009 and 2010 by Toyota related

to problems of sudden unintended acceleration of some makes of its cars. Like Audi mentioned

previously, Toyota engaged in denials, contradictory information, and stonewalling that led to a

crisis of confidence in the brand. As these authors note, purchase consideration of the Toyota

brand declined from a high of almost 35% in the second quarter of 2007 to a low of about 23% in

the fourth quarter of 2010, a 34% decline. Overall sales, vehicle resale values, brand market

share, and perceptions of safety all declined. The 2009-2019 year-to-year sales of Toyota

dropped .4% while Ford, Honda, General Motors, Hyundai, and Nissan all experienced sales

increases of at least 6.9%.60 In their study, the authors examine changes over time in the

    59
         Swait, Joffre, Tulin Erdem, and Tom Peters, 2014, op. cit.
    60
      See CNN Money, “Toyota: One Year Later—But a Toyota? Wouldn’t Think of It,” Cable
News Network, Time Warner Company, 2011a, http://oney.cnn.com/galleries/2011/autos/1101/
gallery.toyota_one_year_later/ 3.html. and CNN Money, “Toyota : One Year Later—The Only
Loser,” Cable News Network, Time Warner Company, 2011b, http:// money.cnn.com/galleries/
2011/autos/1101/gallery.toyota.one_year_later/index.html.



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perceived marketing mix consistency, brand credibility, perceived quality (and consequently

purchase consideration) of Toyota. Measurements were taken in November 2006, and then again

in February, 2011.

          301.    The results shows that the average likelihood of consideration of Toyota

decreased. The proportion of respondents that had Ford in their consideration set increased from

38% in 2006 to 51.9% in 2011, a 36.4% increase. The proportion of respondents who put

Toyota in their consideration set decreased from 61.1% to 42.2%, a 30.9% decrease. Further,

Toyota was perceived more negatively in terms of service orientation, warranty quality, vehicle

reliability, and low operating costs. Essentially, Toyota’s problems with the serious and

sustained recalls cast a negative halo over the brand. The Toyota brand lost ground on the

question of credibility of its claims about its products in the face of the recalls and the company’s

handling of the problems, and this resulted in widespread negative ratings. Consumers perceived

that the brand was reneging on its promises related to product quality. Meanwhile, other brands

seemingly held their own through a very turbulent period that saw bankruptcies and government

bailouts. One report on the effect of Toyota recalls indicates that the severity of the damage to

the brand was due, at least in part, to the centrality of the attributes of safety and reliability to the

Toyota brand, to the severity of the consequences of the quality problems, i.e., multiple deaths,

the graphic publicity of the issues, and the company’s poor handling of the situation.61

          302.    Finally, a more recent example of widespread spillover effects of negative

information about some products on others that share a brand name comes relates to Volkswagen

and its admission of cheating on federal emissions tests for 11 million diesel cars worldwide.


    61
         NADA Used Car Guide, “The Impact of Vehicle Recalls on the Automotive Market,” Q3,
2014.



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According to one report,62 demand for used affected Volkswagen diesel vehicles are down and

prices have fallen. Negative spillover to non-affected Volkswagen vehicles, however, has also

been observed, with one executive stating that overall, the number of Volkswagen shoppers on

his website have declined by 6 percent since the scandal began. Volkswagen’s prior attempts to

position itself as an environmentally friendly brand by planting a forest and building the first

green certified car factory may have resulted in stronger spillover effects due to perceived

inconsistency between the brand’s claims and its performance, and thus a decrease in brand

credibility particularly related to a core attribute.

         303.     In summary, both theory and empirical research show that common brand names

among products either in the same product category or across different product categories result

in the transfer of associations on a two-way basis. An strong established product may lend

positive associations to a new brand, but information (positive or negative) about that new

product—or any other product that shares the brand name—may affect any other product that

uses the brand name. Research on brands as signals suggests that the spillover to other products

is due in part to a reduction (or enhancement of) the credibility of the shared brand name that

potentially affects any and all that use it.

         5.       Application of Spillover theory and research to the New GM ignition switch
                  recalls.

         304.     The theory and empirical research, reviewed above, support the allegations that

the repeated recalls of car brands and models by New GM had a negative impact not just on the

brands and models recalled, but also on any Old and New GM automobile. The degree to which


    62
      NPR Morning Edition, “Emissions Scandal is Hurting VW Owners Trying to Resell,”
heard on October 26, 2015. See http://www.npr.org/2015/10/26/450238773/emissions-scandal-
is-hurting-vw-owners-trying-to-resell.



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such negative impacts occur may depend on the salience of the General Motors corporate brand

and the importance of safety and reliability to its brand image and credibility.

          305.    Prior research has shown that negative effects can be reduced if a brand name is

able to distance itself somewhat from the product that performs badly. One mechanism for

distancing a parent brand is to use sub-brands, i.e., the Sony VAIO line, or endorser brands such

as Courtyard by Marriott, where Marriott is positioned as the endorser of, but not the same as the

Courtyard brand. Thus, any negative effects of product recalls for ignition switch failures in cars

may depend upon the salience of the General Motors corporate brand name relative to the family

sub-brand, e.g., Buick, Chevrolet, Oldsmobile, etc. In this case, General Motors might be a

“shadow endorser” in that it is not typically connected visibly to the endorsed brand, but many

consumers know about its link to the various sub-brands, New GM promotes its ties to its

various sub-brands on its website, and it was New GM who made the product recall

announcements and has handled the public relations surrounding them. It is very likely that the

shared corporate brand has been made very salient.

          306.    In terms of brand architecture, New GM uses a hybrid form of the “House of

Brands” structure.63 In a typical House of Brands structure, a parent corporation owns a number

of separate brands, and its ownership connection to these brands is downplayed and is not

promoted on its products. Although Old GM is generally credited with pioneering this structure,

the architype of it today is Procter & Gamble (“P&G”). P&G keeps a very low profile in

connection with its many brands (e.g., Tide, Dawn, Crest, Pampers, etc.), although the

connection is better known for some brands than others. A House of Brands structure is

diametrically opposite to a Branded House structure in which the parent corporation is part of

    63
         See Aaker, 2004, op cit., pp. 46-63.



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every brand’s name, e.g., Dell computers, HP printer and computers, etc. The New GM brand

including GMC is:

          Corporate brand        General Motors
          Family brands          Buick, Cadillac, Chevrolet lines
          Model brands           (Buick) Regal, (Cadillac) Escalade, (Chevrolet) Camaro
          Model descriptors      ES, GS, etc.

In this structure, the corporate brand does not play a highly visible role with respect to sales of

the family brands nested under it, but neither is it hidden or silent.

          307.    Following the extant research on product recall effects, the degree to which safety

is a core association of the shared brand,64 the degree to which the company is perceived to have

failed to take timely action with respect to the ignition failures, the degree to which serious

injuries or deaths attributed to the defect have occurred and have been made public, among other

factors will determine the degree of spillover effects to non-affected products will be observed,

as they are in this case.

C.        New GM Falsely Promoted All of Its Vehicles as Safe, Reliable, and High-Quality

          308.    New GM was financially successful after Old GM’s bankruptcy. Sales of all its

models went up, and New GM became profitable. New GM claimed to have turned over a new

leaf after Old GM’s bankruptcy—a new GM was born, and the New GM brand stood strong in

the eyes of consumers—or so the world thought.

          309.    New GM’s success, in part, was created by its constant and expensive marketing

campaign designed to convince U.S. consumers that New GM produced safe and high quality

cars and that New GM as a brand stood for safety and quality. New GM spent tens of millions of

     64
      Ignition switch failures could also impact other perceptions that are also central to brand
evaluations. Perceptions of innovativeness and technical expertise may be affected, and lower
perceptions of these characteristics may cause negative spillover to any and all other New GM
brands.



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dollars advertising its brand and specific models with the express purpose that consumers rely on

them. New GM did not intend for consumers to believe promises about safety and reliability

were “puffery.” What follows are just a few examples of New GM’s advertising.

         310.     In 2010, New GM sold 4.26 million vehicles globally, an average of one every 7.4

seconds. Joel Ewanick, New GM’s global chief marketing officer at the time, described the

success of one of its brands in a statement to the press: “Chevrolet’s dedication to compelling

designs, quality, durability and great value is a winning formula that resonates with consumers

around the world.”65

         311.     New GM repeatedly proclaimed to the world and U.S. consumers that, after Old

GM’s bankruptcy in 2009, New GM was a new and improved company committed to

innovation, safety, and maintaining a strong brand:




    65
     https://media.gm.com/media/us/en/gm/news.detail/content/Pages/news/us/en/2011/Jan/
0117_chev_ global.



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General Motors Company 2010 Annual Report, cover page.

         312.     In New GM’s 2010 Annual Report, New GM proclaimed its products would

“improve safety and enhance the overall driving experience for our customers”:




General Motors Company 2010 Annual Report, pp. 4, 10.



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         313.     These statements are not mere puffery as the statement that New GM was

committed to safety can be objectively measured, as Valukas did in his report, and can be

measured by engineers who can opine on whether the acts and/or omissions of New GM are

consistent with engineering and manufacturing practices devoted to safety.

         314.     New GM claimed it would create vehicles that would define the industry

standard:




General Motors Company 2010 Annual Report, p. 5.

         315.     Statements that New GM’s cars will “define the industry standard” are capable of

objective measurement as Dr. Stevick did in opining that New GM failed to meet the FMEA

standard.

         316.     In its 2010 Annual Report, New GM told consumers that it built the world’s best

vehicles:

         We truly are building a new GM, from the inside out. Our vision is clear: to
         design, build, and sell the world’s best vehicles, and we have a new business
         model to bring that vision to life. We have a lower cost structure, a stronger
         balance sheet, and a dramatically lower risk profile. We have a new leadership
         team—a strong mix of executive talent from outside the industry and automotive
         veterans—and a passionate, rejuvenated workforce.




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         “Our plan is to steadily invest in creating world-class vehicles, which will
         continuously drive our cycle of great design, high quality and higher
         profitability.”

General Motors Company 2010 Annual Report, p. 2.

         317.     New GM represented that it was building vehicles with design excellence, quality,

and performance:

         And across the globe, other GM vehicles are gaining similar acclaim for design
         excellence, quality, and performance, including the Holden Commodore in
         Australia. Chevrolet Agile in Brazil, Buick LaCrosse in China, and many others.

         The company’s progress is early evidence of a new business model that begins
         and ends with great vehicles. We are leveraging our global resources and scale to
         maintain stringent cost management while taking advantage of growth and
         revenue opportunities around the world, to ultimately deliver sustainable results
         for all of our shareholders.

General Motors Company 2010 Annual Report, p. 3.

         318.     These statements are not mere puffery. New GM’s own admissions in 2014 make

it clear that it was not creating a world class vehicle or the best vehicle. One way to measure the

truth of that statement is by referencing New GM’s failure to follow its own design

specifications.

         319.     These themes, building “the world’s best vehicles” through improved

manufacturing and design, were repeatedly put forward as the core message about New GM’s

brand:




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General Motors Company 2010 Annual Report, p. 6.

         320.     GM made specific promises about its culture recognizing that culture was

important to consumers:




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General Motors Company 2010 Annual Report, p. 16.

         321.     New GM’s statements about its culture are not puffery in that culture can be

measured by experts and indeed Mr. Valukas did so in his report.




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          322.    In 2010, in reaction to news about Toyota’s unintended acceleration problem,

New GM briefed its executives to convey in “public activities” and interviews that New GM

believed “that automotive safety design, engineering and testing is serious business with serious

consequences” and it was “making sure GM designs and builds safe cars.”66

          323.    In its 2011 Annual Report, New GM proclaimed that it was putting its customers

first:




General Motors Company 2011 Annual Report, p. 1.

          324.    This statement is not mere puffery and is capable of being proven true or false.

The Valukas Report and many admissions in the Deferred Prosecution Agreement establish that

New GM was not putting customers first.

          325.    New GM also announced that it was committed to leadership in vehicle safety:




    66
         GM-MDL2543-000773907—Confidential.



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General Motors Company 2011 Annual Report, p. 11.

         326.     In a “Letter to Stockholders” contained in its 2011 Annual Report, New GM

noted that its brand had grown in value and that it designed the “World’s Best Vehicles”:

         Dear Stockholder:

         Your company is on the move once again. While there were highs and lows in
         2011, our overall report card shows very solid marks, including record net
         income attributable to common stockholders of $7.6 billion and EBIT-adjusted
         income of $8.3 billion.

         •        GM’s overall momentum, including a 13 percent sales increase in the
                  United States, created new jobs and drove investments. We have
                  announced investments in 29 U.S. facilities totaling more than
                  $7.1 billion since July 2009, with more than 17,500 jobs created or
                  retained.

                  Design, Build and Sell the World’s Best Vehicles

         This pillar is intended to keep the customer at the center of everything we do, and
         success is pretty easy to define. It means creating vehicles that people desire,
         value and are proud to own. When we get this right, it transforms our reputation
         and the company’s bottom line.

General Motors Company 2011 Annual Report, p. 2.

         Strengthen Brand Value

         Clarity of purpose and consistency of execution are the cornerstones of our
         product strategy, and two brands will drive our global growth. They are
         Chevrolet, which embodies the qualities of value, reliability, performance, and
         expressive design; and Cadillac, which creates luxury vehicles that are
         provocative and powerful. At the same time the Holden, Buick, GMC, Baojun,
         Opel and Vauxhall brands are being carefully cultivated to satisfy as many
         customers as possible in select regions.

         Each day the cultural change underway at GM becomes more striking. The old
         internally focused, consensus-driven and overly complicated GM is being




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         reinvented brick by brick, by truly accountable executives who know how to take
         calculated risks and lead global teams that are committed to building the best
         vehicles in the world as efficiently as we can.

         That’s the crux of our plan. The plan is something we can control. We like the
         results we’re starting to see and we’re going to stick to it—always.

General Motors Company 2011 Annual Report, p. 3.

         327.     These themes continued in New GM’s 2012 Annual Report:




General Motors Company 2012 Annual Report, p. 3.

         328.     The foregoing statements regarding New GM’s processes and culture are capable

of being proven false. In this case facts such as failing to meet specifications, cost cutting,




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siloing, the GM Nod, and many others, belie the truth of the statements above about the New

GM culture.

         329.     New GM boasted of its “focus on the customer” and its desire to be “great” and

produce “quality” vehicles:

         What is immutable is our focus on the customer, which requires us to go from
         “good” today to “great” in everything we do, including product design, initial
         quality, durability, and service after the sale.

General Motors Company 2012 Annual Report, p. 4.

         330.     New GM also indicated it had changed its structure to create more

“accountability” which, as shown below, was a blatant falsehood:

         That work continues, and it has been complemented by changes to our design and
         engineering organization that have flattened the structure and created more
         accountability for product execution, profitability and customer satisfaction.

General Motors Company 2012 Annual Report, p. 10.

         331.     And New GM represented that product quality was a key focus—another blatant

falsehood:

         Product quality and long-term durability are two other areas that demand our
         unrelenting attention, even though we are doing well on key measures.

General Motors Company 2012 Annual Report, p. 10.

         332.     New GM’s 2013 Annual Report stated, “Today’s GM is born of the passion of

our people to bring our customers the finest cars and trucks we’ve ever built:”




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General Motors Company 2013 Annual Report, inside front cover dual page, (unnumbered).

         333.     With great irony given its inaccuracy and the damage wrought in this case, New

GM proclaimed, “Nothing is more important than the safety of our customers:”




General Motors Company 2013 Annual Report, p. 4.




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          334.    The statement about the importance of safety can be proven to be false by virtue

of New GM’s Admissions in the Deferred Prosecution Agreement, the Valukas Report, and Trial

Exhibits such as:

                  Delphi’s and GM’s pre-production testing of the ignition switch that
                  repeatedly showed that the torque on the switch was “Not OK.”67

                  A directive to Delphi from GM’s design release engineer for the ignition
                  switch to “do nothing” and “maintain present course” when confronted
                  with torque measurements that fell well below specification.68

                  A warning from GM engineer Laura Andres that the weak detent “is a
                  serious safety problem.” “I’m thinking big recall,” she said. “I think you
                  should seriously consider changing this part to a switch with a stronger
                  detent.”69 Instead of being commended for uncovering and escalating a
                  safety defect, Ms. Andres was criticized and told to “leave that to the
                  safety engineers to decide what is safety and what is not safety.”70

                  GM’s acknowledgement in documents that it failed to remedy a deadly
                  safety defect in 2005 because the tooling cost and piece cost are too high,”
                  and therefore none of the proposed solutions “represents an acceptable
                  business case.”71

                  A Cleveland Plain Dealer article from June 2005 reporting that “[I]t is,
                  please excuse me, a knee slapper, suggesting that an engine that can be
                  inadvertently turned off is not a safety problem. . . . So, if you’re whisking
                  along at 65 mph or trying to pull across an intersection and the engine
                  stops, that’s what you do. Only a gutless ninny would worry about such a
                  problem. Real men are not afraid of temporary reductions in forward
                  momentum.”72




    67
         SOF ¶ 21.
    68
         Scheuer v. GM, Plaintiff’s Exhibit 2167.
    69
         MDL Exhibit 2120.
    70
         L. Andres Depo. Tr. 124:20-21.
    71
         Scheuer v. GM, Plaintiff’s Exhibit 160.
    72
         Scheuer v. GM, Plaintiff’s Exhibit 140.



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                  A February 2007 Wisconsin State Patrol Report authored by Trooper
                  Young stating that the “key turned to accessory [because] of low torque,”
                  which “prevented the airbags from deploying.”73

                  A February 2009 e-mail written by a GM Program Engineering Manager
                  explaining that “[t]his [ignition switch] issue has been around since man
                  first lumbered out of the sea.” “In fact,” explains the manager, “I think
                  Darwin wrote the first PRTS on this and included as an attachment as part
                  of his Theory of Evolution.”74

                  An October 2010 case evaluation warning New GM that the air-bag non-
                  deployment “anomaly” exposed GM to punitive damages.75

D.         New GM’s Advertising and Marketing Literature Falsely Claimed that New GM
           Placed Safety and Quality First

           335.   In May of 2014, New GM sponsored the North American Conference on Elderly

Mobility. Gay Kent, director of New GM global vehicle safety and a presenter at the conference,

proclaimed the primacy of safety within New GM’s new company culture: “The safety of all our

customers is our utmost concern.”76

           336.   New GM vigorously incorporated this messaging into its public communications.

In advertisements and company literature, New GM consistently promoted all its vehicles as safe

and reliable, and presented itself as a responsible manufacturer that stands behind New GM

vehicles and Old GM vehicles that are on the road. Examples of New GM’s misleading claims

of safety and reliability made in public statements, advertisements, and literature provided with

its vehicles follow.




     73
          Scheuer v. GM, Plaintiff’s Exhibit 462.
     74
          GM-MDL2543-000727831
     75
          Scheuer v. GM, Plaintiff’s Exhibit 92.
     76
     https://media.gm.com/media/us/en/gm/news.detail./content/Pages/news/us/en/2014/May/
0514-cameras.



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          337.    An advertisement for the Chevy Malibu promoted “Safety” and “Value.”77




          338.    The same brochure promises “world class engineering.”78




    77
         GM-MDL2543-100182616-100182625.
    78
         Id.



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          339.    A 2010 advertisement for Chevy emphasized that “What Makes A Chevy—A

Chevy” was “precise design” and “premium quality.”79 As set forth below, this statement is

easily disproven by an objective measure simply by virtue of New GM’s allowing the use of a

switch that was out of design specification.




          340.    A 2010 advertisement emphasized safety:80


    79
         GM-MDL2543-100216045.
    80
         GM-MDL2543-301439199.



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         341.     No owner would be proud to own a vehicle that had an ignition switch with

torque that was out of specification, had been built in a cost cutting culture, and had an airbag

that would not work when needed.




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          342.    And the same advertisement, as did many others, contained a promise that New

GM would: “Build vehicles that anyone would be proud to own.”81

          343.    New GM also touted its brand, as in the following advertisement stating that,

“Advanced safety and security features will confirm GM’s role as an innovation leader”:82




          344.    In April 2010, General Motors Company Chairman and CEO Ed Whitacre starred

in a video commercial on behalf of New GM. In it, Mr. Whitacre acknowledged that not all

Americans wanted to give New GM a chance, but that New GM wanted to make itself a

company that “all Americans can be proud of again” and “exceed every goal [Americans] set for

[General Motors].” He stated that New GM was “designing, building, and selling the best cars in




    81
         GM-MDL2543-301439211.
    82
         GM-MDL2543-100222744.



                                                - 228 -
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the world.” He continued by saying that New GM has “unmatched lifesaving technology” to

keep customers safe. He concluded by inviting the viewer to take a look at “the new GM.”83




          345.    A radio advertisement that ran from New GM’s inception until July 16, 2010,

stated that “[a]t GM, building quality cars is the most important thing we can do.” Once again,

the veracity of this statement can be objectively disproven by just the Valukas Report.

          346.    On November 10, 2010, New GM published a video that told consumers that New

GM actually prevents any defects from reaching consumers. The video, entitled “Andy Danko:

The White Glove Quality Check,” explains that there are “quality processes in the plant that

prevent any defects from getting out.” The video also promoted the ideal that, when a customer

buys a New GM vehicle, they “drive it down the road and they never go back to the dealer.”84




    83
         https://www.youtube.com/watch?v=jbXpV0aqEM4.
    84
         https://www.youtube.com/watch?v=JRFO8UzoNho&list=UUxN-Csvy_9sveql5HJviDjA.



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          347.    The statements about preventing defects and quality processes can be objectively

disproven by numerous documents and New GM’s Admissions in the DPA.

          348.    In 2010, New GM ran a television advertisement for its Chevrolet brand that

implied its vehicles were safe by showing parents bringing their newborn babies home from the

hospital, with the tagline “as long as there are babies, there will be Chevys to bring them

home.”85

          349.    Another 2010 television advertisement informed consumers that “Chevrolet’s

ingenuity and integrity remain strong, exploring new areas of design and power, while

continuing to make some of the safest vehicles on earth.”

          350.    New GM’s 2010 brochure for the Chevy Cobalt (a car subject to the Delta

Ignition Switch recall) states, “Chevy Cobalt is savvy when it comes to standard safety” and

“you’ll see we’ve thought about safety so you don’t have to.” It also states “[w]e’re filling our




    85
         https://www.youtube.com/watch?v=rb28vTN382g.



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cars and trucks with the kind of thinking, features and craftsmanship you’d expect to pay a lot

more for.”86




          351.    According to a 2010 Chevrolet brand-wide advertisement: “At Chevrolet, there’s

only one thing we take as seriously as designing, engineering, and building the best vehicles on

the road: taking care of the people who drive them.”87 The vehicles featured in this

advertisement include: 2010 Chevrolet Malibu (touting the safety of the car as a 5-star frontal

and side-impact crash safety rating by NHTSA and top safety pick by IIHS—yet the car had both

a brake light defect and a transmission shift cable defect), 2010 Chevrolet Camaro (ignition




    86
     https://www.auto-brochures.com/makes/Chevrolet/Cobalt/Chevrolet_US%20Cobalt_
2010.pdf.
    87
         GM-MDL2543-100208377-100208390.



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switch defect), 2010 Chevrolet Silverado (overloaded feed defect), and 2010 Chevrolet Traverse

(wiring harness defect and seat belt connector defect).

          352.    A 2010 Chevrolet brand-wide advertisement states: “What makes a Chevy—A

Chevy…. It’s the philosophy of building vehicles that anyone would be proud to own. Putting

them within reach—and then taking care of our own” [italics in original]. The vehicles featured

in this 2010 advertisement include: Chevy Equinox, 2010 Chevy Malibu (brake light defect and

transmission shift cable defect), 2010 Chevy Traverse (wiring harness defect and seat belt

connector defect), and 2010 Chevy Cobalt XFE (subject to the Delta Ignition Switch Defect

recall, a faulty ignition lock cylinder defect, and a sudden power-steering failure defect).88

          353.    According to a 2010 New GM brand-wide advertisement, “Buick is a strong

symbol of quality and dependability.” The advertisement goes on to promise: “Delivering

award-winning quality for you is at the forefront of everything we do. Advanced safety and

security features will confirm GM’s role as an innovation leader.” The advertisement further

states: “For added protection, GM vehicles feature a variety of air bag systems frontal air bags,

dual-stage frontal air bags, side-impact air bags, head-curtain side-impact air bags, and rollover-

capable head-curtain air bags. GM Safety Technology. Always Ready.” The 2010 MY vehicles

featured in this advertisement include: Buick LaCrosse, Buick Lucerne (ignition switch defect),

and Buick Enclave (Side Airbag Defect and seat belt connector cable defect).89 By way of

example, the veracity of this advertisement can be objectively disproven as the airbags in the

Buick Lucerne did not provide added protection in critical times -- when the car’s ignition moves

from Run to Accessory.

    88
         GM-MDL2543-100216043-100216048.
    89
         GM-MDL2543-100222727-100222742.



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          354.    An August 2, 2010 mailing to Chevy customers states that “[t]here’s only one

thing we take as seriously as designing, engineering and building the best cars and trucks on the

road: taking care of the people who own them.” The vehicles featured in this advertisement

include: 2011 Chevrolet Malibu (brake light defect), 2010 Chevrolet Equinox (touted in the ad

as a top safety pick by the IIHS, the vehicle had a power height adjustable seats defect), 2010

Chevrolet Silverado (overloaded feed defect), 2010 Chevrolet Camaro (ignition switch defect),

and 2010 Chevrolet Malibu (though the ad highlights the vehicle’s safety in receiving 5-star

frontal and side-impact crash safety ratings and a top safety pick from the IIHS, the vehicle was

subject to a brake light defect and a transmission shift cable defect).90

          355.    A 2010 Chevrolet brand-wide advertisement states “At Chevrolet, there’s only

one thing we take as seriously as designing, engineering, and building the best vehicles on the

road: taking care of the people who drive them.” The vehicles featured in this advertisement

include: 2010 Chevrolet Malibu (touting the safety of a 5-star frontal and side-impact crash

safety rating by NHTSA and noting that the car is a top safety pick by IIHS, but not disclosing

that the car was subject to a brake light defect and a transmission shift cable defect), 2010

Chevrolet Camaro (defective ignition switch), 2010 Chevrolet Silverado (overloaded feed

defect), and 2010 Chevrolet Traverse (Side Airbag Defect and seat belt connector defect).91




    90
         GM-MDL2543-100231635-100231650.
    91
         GM-MDL2543-100208377-100208390.



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         356.     A 2010 Chevrolet brand-wide advertisement captioned, “What Drives Your Peace

of Mind?” featured the: 2010 Chevy Malibu (brake light defect); 2010 Chevy Traverse (Side

Airbag Defect and seatbelt connector cable defect); 2010 Chevy Cobalt XFE (subject to the

Delta Ignition Switch recall, faulty ignition lock cylinder, and sudden power-steering failure

defect); 2010 Chevy Silverado (overloaded feed defect); 2010 Buick LaCrosse; and 2010 GMC

Acadia (Side Airbag Defect and seatbelt connector cable defect). Elsewhere the advertisement




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boasted of safety, and “world class engineering.” DeGiorgio and the 23 other Old GM

employees aware of the ignition switch Defects were hardly world class.




          357.    A 2011 New GM brand-wide advertisement states that the company was: “Open,

accountable and honest…. Providing you with award-winning quality is at the forefront of

everything we do.” The advertisement features the following models: 2011 Chevrolet Cruze,

2011 GMC Sierra, and 2011 Cadillac CTS (ignition switch defect and roof-rail airbag defect).92

The statement about being “accountable and honest” can be objectively disproven through the

DPA alone.

          358.    The brochure for the 2011 Cadillac DTS (defective ignition switch and ignition

key slot defect) and STS states, “Passenger safety is a primary consideration throughout the

    92
         GM-MDL2543-100234281-100234294.



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engineering process,” and “[t]he STS and DTS were carefully designed to provide a host of

features to help you from getting into a collision in the first place.”93




          359.    A 2011 Chevrolet vehicle guide states Chevrolet “believe[s] that safety is a big

thing.” The guide features the following 2011 MY Chevrolet vehicles: Cruze, Volt (engine

software defect), Malibu (highlighting the vehicle is engineered for dependability but not

disclosing a brake light defect), Silverado (touting the vehicle is the most dependable, longest-

lasting full-size pickup on the road, but the vehicle was subject to an overloaded feed defect),

Aveo, Equinox (power height adjustable seats defect), Camaro (defective ignition switch and

power height adjustable seats defect), Traverse (Side Airbag Defect and seat belt connector cable

defect), Suburban (ignition lock actuator binding defect), Tahoe (ignition lock actuator binding

defect), and Corvette.94




    93
         https://www.auto-brochures.com/makes/Cadillac/Cadillac_US%20STS-DTS_2011.pdf.
    94
         GM-MDL2543-301746180-301746207.



                                                - 236 -
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          360.    New GM states in another advertisement ending July 5, 2011, that it has “a

powerful lineup of some of the highest-quality trucks in our company’s history.” The featured

2011 MY vehicles include: Chevy Silverado 1500, Buick Enclave (Side Airbag Defect and seat

belt connector cable defect), GMC Acadia Denali (Side Airbag Defect and seat belt connector

cable defect), and Cadillac Escalade (ignition lock actuator binding defect).95




          361.    In an advertisement with an offer running from July 6, 2011, to September 6,

2011, New GM claims “[t]he word is on the street: Our best vehicles yet.” New GM further

states “[t]he news is definitely out: Our latest vehicles aren’t like anything else on the road

today. In fact, we believe they’re some of the best Chevrolet, Buick, GMC and Cadillac models

we’ve ever built.”96

          362.    On September 29, 2011, New GM announced on the “News” portion of its

website the introduction of front center airbags. The announcement included a quote from Gay

Kent, New GM Executive Director of Vehicle Safety and Crashworthiness, who stated that:




    95
         GM-MDL2543-100184629-100184630.
    96
         GM-MDL2543-100179851-100179852.



                                               - 237 -
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“This technology is a further demonstration of New GM’s above-and-beyond commitment to

provide continuous occupant protection before, during and after a crash.”97

         363.     On December 27, 2011, Gay Kent was quoted in an interview on New GM’s

website as saying: “Our safety strategy is about providing continuous protection for our

customers before, during and after a crash.”98

         364.     New GM’s brochure for the 2012 Chevrolet Impala (defective ignition switch and

ignition key slot defect) proclaims: “A safety philosophy that RUNS DEEP,” and that “if a

moderate to severe collision does happen, Impala is designed to respond quickly”:99




    97
     https://media.gm.com/media/us/en/gm/news.detail/content/Pages/news/us/en/2011/Sep/
0929_airbag.
    98
     https://media.gm.com/media/us/en/gm/news.detail/content/Pages/news/us/en/2011/Dec/
1227_safety.
    99
     https://www.chevrolet.com/content/dam/Chevrolet/northamerica/usa/nscwebsite/en/Home/
Help%20Center /Download%20a%20Brochure/02_PDFs/2012_Impala_eBrochure.pdf.



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          365.    The promise of a safety philosophy that runs deep is easily disproven on an

objective basis by the Valukas Report, the DPA, and numerous MDL trial exhibits.

          366.    New GM’s brochure for the 2012 Cadillac CTS (defective ignition switch)

announces, “At Cadillac, we believe the best way to survive a collision is to avoid one in the first

place,” and “Active safety begins with a responsive engine, powerful brakes, and an agile

suspension.”100




          367.    The promise in the above advertisement of a “Holistic Approach to Safety” is

capable of being proven false through findings in the Valukas Report and admissions in the

MDL trial exhibits.


          368.    A 2012 New GM Car & Truck Guide states that New GM’s first commitment is

“providing the world’s best vehicles and accomplishing that…. We are designing and building

safe, reliable vehicles and we are selling our customers great value.” New GM’s fifth

commitment is to “put the customer first in everything we do.” The Guide lists under standard

    100
          https://www.auto-brochures.com/makes/Cadillac/CTS/Cadillac_US%20CTS_2012.pdf.



                                                - 239 -
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safety features the number and type of air bags. Among the featured model year 2012 vehicles

are: Buick LaCrosse (power height adjustable seats defect), Buick Regal (power height

adjustable seats defect, and front turn signal bulb defect), Chevy Impala (defective ignition

switch and ignition key slot defect), Chevy Camaro (defective ignition switch, driver-side airbag

shorting-bar defect, and power height adjustable seats defect), Cadillac CTS (defective ignition

switch), and Cadillac SRX (power height adjustable seats defect, and rear suspension toe adjuster

link defect).101

          369.     New GM’s brochure for the 2012 Cadillac CTS (defective ignition switch) states

“[d]river and passenger safety is the foremost consideration throughout the Cadillac engineering

process. As a result, CTS vehicles are designed with some of the world’s most sophisticated

safety technology to help avoid accidents, and protect all occupants in the event of a

collision.”102

          370.     A 2012 New GM brand-wide brochure states: “Only the best will do. The goal is

simple … build the best cars, crossovers, SUVs and trucks in the world. Here you’ll discover

just a few of the many great models in the GM lineup, including the commitment to quality,

innovation, style and value of Chevrolet, the smartest thinking, inspired design and intelligent

luxury of Buick, the Professional Grade engineering and never-say-never attitude of GMC, and

the iconic luxury of Cadillac—the new standard of the world.” The brochure includes the

following 2012 MY vehicles: Chevrolet Cruze (driver-side airbag defect), Buick Verano (driver-

side airbag defect), GMC Terrain (power height adjustable seats defect), GMC Sierra Denali,




    101
          GM-MDL2543-200292736-200292849.
    102
          GM-MDL2543-301477257-301477278.



                                                - 240 -
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Cadillac CTS (defective ignition switch), and Cadillac Escalade (ignition lock actuator binding

defect).103

          371.    An advertisement that ended January 3, 2012, stressed that Chevrolet has

“uncompromising quality.” The 2012 model year Chevrolet vehicles included in the

advertisement are: Cruze Eco (driver-side airbag defect), and Camaro (defective ignition switch,

driver-side airbag shorting-bar defect, and power height adjustable seats defect).104

          372.    On January 3, 2012, Gay Kent, New GM Executive Director of Vehicle Safety,

was quoted on New GM’s website as saying: “From the largest vehicles in our lineup to the

smallest, we are putting overall crashworthiness and state-of-the-art safety technologies at the

top of the list of must-haves.”105

          373.    On June 5, 2012, New GM posted an article on its website announcing that its

Malibu Eco had received top safety ratings from the National Highway Traffic Safety

Administration and the Insurance Institute for Highway Safety. The article includes the

following quotes: “With the Malibu Eco, Chevrolet has earned seven 2012 TOP SAFETY PICK

awards,” said IIHS President Adrian Lund. “The IIHS and NHTSA results demonstrate GM’s

commitment to state-of-the-art crash protection.” And, “We are now seeing the results from our

commitment to design the highest-rated vehicles in the world in safety performance,” said Gay

Kent, New GM Executive Director of Vehicle Safety. “Earning these top safety ratings




    103
          GM-MDL2543-301440224—301440235.
    104
          GM-MDL2543-100210411—100210412.
    105
      https://media.gm.com/media/us/en/gm/news.detail/content/Pages/news/us/en/2012/Jan/
0103_sonic.



                                               - 241 -
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demonstrates the strength of the Malibu’s advanced structure, overall crashworthiness and

effectiveness of the vehicle’s state-of-the-art safety technologies.”106

          374.    On June 5, 2012, New GM posted an article on its website entitled “Chevrolet

Backs New Vehicle Lineup with Guarantee,” which included the following statement: “We have

transformed the Chevrolet lineup, so there is no better time than now to reach out to new

customers with the love it or return it guarantee and very attractive, bottom line pricing,” said

Chris Perry, Chevrolet global vice president of marketing. “We think customers who have been

driving competitive makes or even older Chevrolets will be very pleased by today’s Chevrolet

designs, easy-to-use technologies, comprehensive safety and the quality built into all of our cars,

trucks and crossovers.”107

          375.    On November 5, 2012, New GM published a video to advertise its “Safety Alert

Seat” and other safety sensors. The video described older safety systems and then added that

new systems “can offer drivers even more protection.” A Cadillac Safety Engineer added that

there “are a variety of crash avoidance sensors that work together to help the driver avoid

crashes.” The engineer then discussed all the sensors and the safety alert seat on the Cadillac

XTS, leaving the viewer with the impression safety was a top priority at Cadillac.108




    106
     https://media.gm.com/media/us/en/gm/news.detail/content/Pages/news/us/en/2012/Jun/
0605_malibu safety.
    107
      https://media.gm.com/media/us/en/gm/news.detail/content/Pages/news/us/en/2012/Jul/
0710_ confidence.
    108
          https://www.youtube.com/watch?v=CBEvflZMTeM.



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          376.    New GM’s brochure for the 2013 Chevrolet Traverse states, “Traverse provides

peace of mind with an array of innovative safety features,” and “[i]t helps protect against the

unexpected.”109




The brochure does not disclose that the 2013 Traverse came with the Side Airbag Defect that

caused airbags not to deploy, as well as a seat belt connector cable defect.


    109
      https://www.auto-brochures.com/makes/Chevrolet/Traverse/Chevrolet_US%20Traverse_
2013.pdf.



                                              - 243 -
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          377.    A national print advertisement campaign in April 2013 states that, “[w]hen lives

are on the line, you need a dependable vehicle you can rely on. Chevrolet and GM … for power,

performance and safety.”

          378.    A 2013 Chevrolet brand-wide advertisement states, “Chevrolet vehicles are giving

our consumers the quality they deserve…. At Chevrolet, quality is at the center of every

decision that affects the development of every vehicle.” This advertisement features the

following vehicles: 2014 Chevy Impala (defective ignition switch, ignition key slot defect,

parking brake defect, power steering control module defect, joint fastener torque defect,

automatic transmission shift cable adjuster defect, and console bin door latch defect), 2014

Chevy Silverado (steering tie-rod defect, transmission oil cooler line defect, transfer case control

module software defect, power management mode software defect, and electrical short defect),

2014 Chevy Camaro (defective ignition switch and joint fastener torque defect), 2014 Chevy

Traverse (seat belt connector cable defect, automatic transmission shift cable adjuster defect, fuel

gauge defect, and electrical short defect), 2014 Chevy Volt, 2014 Chevy Malibu (hydraulic brake

boost assist defect, brake rotor defect, and automatic transmission shift cable adjuster defect),

2014 Sonic (engine block heater power cord insulation defect), 2014 Chevy Equinox, and 2014

Chevy Spark (lower control arm ball joint defect and hood latch defect).110




    110
          GM-MDL2543-100179552—100179566.



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         379.     In a 2013 Chevrolet brand-wide advertisement, New GM boasted “Chevrolet,

quality is at the center of every decision that affects the development of every vehicle.” This

advertisement features the following vehicles: 2014 Chevy Impala (defective ignition switch),

2014 Chevy Silverado (unsecured floor mat defect), 2014 Chevy Camaro (defective ignition

switch), 2014 Chevy Traverse (seat belt connector cable defect, fuel gauge defect, and electrical

short defect), 2014 Chevy Volt, 2014 Chevy Malibu (hydraulic brake boost assist defect, brake

rotor defect, and automatic transmission shift cable adjuster defect), 2014 Sonic (engine block

heater power cord insulation defect), 2014 Chevy Equinox, and 2014 Chevy Spark (lower

control arm ball joint defect and hood latch defect):




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          380.    On November 8, 2013, New GM posted a press release on its website regarding

GMC, referring to it as “one of the industry’s healthiest brands.”111




          381.    A December 2013 New GM testimonial advertisement stated that “GM has been

able to deliver a quality product that satisfies my need for dignity and safety.”

    111
      https://media.gm.com/media/us/en/gm/news.detail/content/Pages/news/us/en/2013/Nov/
1108-truck-lightweighting.



                                               - 246 -
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          382.    In 2013, New GM proclaimed on its website, https://www.gm.com, the

company’s passion for building and selling the world’s best vehicles as “the hallmark of our

customer-driven culture”:112




          383.    On the same website in 2013, New GM stated: “At GM, it’s about getting

everything right for our customers—from the way we design, engineer and manufacture our

vehicles, all the way through the ownership experience.”113




    112
          https://www.gm.com/company/aboutGM/our_company.
    113
          https://www.gm.com/vision/quality_safety/it_begins_with_a_commitment_to_Quality.



                                              - 247 -
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          384.    On its website, https://www.chevrolet.com, New GM promised that it was

“Putting safety ON TOP,” and that “Chevy Makes Safety a Top Priority”:114




          385.    On its website, https://www.buick.com, New GM represented that “Keeping you

and your family safe is a priority”:115




    114
          https://www.chevrolet.com/culture/article/vehicle-safety-preparation.
    115
          https://www.buick.com/top-vehicle-safety-features.



                                                - 248 -
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          386.    On March 3, 2014, GM announced that “Customer Safety is our guiding

compass” in response to the 2014 Malibu receiving a Top Safety Pick rating, from the Insurance

Institutes For Highway Safety.

          387.    New GM’s website in 2014 touted its purported “Commitment to Safety,” which

is “at the top of the agenda at GM:”116

          Innovation: Quality & Safety; GM’s Commitment to Safety; Quality and safety
          are at the top of the agenda at GM, as we work on technology improvements in
          crash avoidance and crashworthiness to augment the post-event benefits of
          OnStar, like advanced automatic crash notification.

          Understanding what you want and need from your vehicle helps GM proactively
          design and test features that help keep you safe and enjoy the drive. Our
          engineers thoroughly test our vehicles for durability, comfort, and noise
          minimization before you think about them. The same quality process ensures our
          safety technology performs when you need it.




    116
          https://www.gm.com/vision/quality_safety/gms_commitment_tosafety.



                                              - 249 -
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          388.    New GM’s website further promised “Safety and Quality First: Safety will

always be a priority at New GM. We continue to emphasize our safety-first culture in our

facilities,” and that, “[i]n addition to safety, delivering the highest quality vehicles is a major

cornerstone of our promise to our customers”:117




          389.    These statements regarding “commitment to safety” and “top of the agenda,” are

objective and capable of being measured and particularly so given the fact that in 2014 GM has

admitted it was concealing a safety defect and delaying a recall for public relations purposes.

          390.    A January 6, 2014 New GM mailing states that GMC vehicles represent the

highest standards of design and engineering, and that New GM was a company that refused to

build anything less than professional grade.118 The vehicles featured in this advertisement

include: 2014 GMC Terrain Denali, 2014 GMC Sierra Denali, 2015 GMC Yukon Denali, 2015

GMC Sierra HD, and 2014 GMC Acadia (advertisement states the vehicle offers enhanced safety

but fails to disclose defects in the vehicle such as the seat belt connector cable defect, automatic

transmission shift cable adjuster defect, fuel gauge defect, and electrical short defect):

    117
          https://www.gm.com/company/aboutGM/our_company.
    118
          GM-MDL2543-100226626-100226629.



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         391.     In February 2014, New GM sent a mailing to Saturn owners with a loyalty offer

for New GM vehicles. The advertisement states “[t]ake a look through the following pages, and

you’ll get a sense of the exceptional performance, efficiency and quality of Chevrolet, the

Professional Grade engineering of GMC the accessible luxury of Buick and the bold design and

innovative technology of Cadillac.” Regarding Chevrolet, the advertisement states it “is finding

new roads to bring you a wide array of stylish, well-engineered vehicles with surprising

performance, extreme comfort and award-winning quality. Chevrolet is on a mission to bring

you the cars, trucks and crossovers you want and need.” The advertisement also states that




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Buick has a silky smooth ride quality. The 2014 model year vehicles featured include:

Chevrolet Impala (ignition key slot defect, parking brake defect, power steering control module

defect, joint fastener torque defect, automatic transmission shift cable adjuster defect, and

console bin door latch defect), Chevrolet Camaro (defective ignition switch), Chevrolet Corvette

(sport seat side-impact airbag defect, electrical short circuit airbag defect, and rear shock

absorber defect), and Cadillac CTS (defective ignition switch).119




          392.    An April 15, 2014 GMC brand-wide advertisement asserts that “Professional

Grade engineering is exemplified in every GMC.” The featured GMC vehicles are: 2014

Acadia Denali (seat belt connector cable defect, automatic transmission shift cable adjuster

defect, fuel gauge defect, and electrical short defect), 2015 Yukon Denali (transfer case control

module software defect), 2014 Terrain Denali, and 2014 Sierra Denali (transfer case control

module software defect, power management mode software defect, and electrical short

defect).120/121


    119
          GM-MDL2543-301436300—301436324.
    120
          GM-MDL2543-301450684—301450686.



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          393.    According to New GM’s website, “Leading the way is our seasoned leadership

team who set high standards for our company so that we can give you the best cars and trucks.

This means that we are committed to delivering vehicles with compelling designs, flawless

quality, and reliability, and leading safety, fuel economy and infotainment features.”122

          394.    In its 2011 10-K SEC filing, New GM stated “We are a leading global automotive

company. Our vision is to design, build and sell the world’s best vehicles. We seek to

distinguish our vehicles through superior design, quality, reliability, telematics (wireless voice

and data) and infotainment and safety within their respective segments.” General Motors 2011

Form 10-K, p. 50.123

          395.    New GM made these and similar representations to boost vehicle sales while

knowing that millions of New GM vehicles and Old GM vehicles, across numerous models and

years, were plagued with serious and concealed safety defects, and knowing that its

manufacturing and inventory processes were so poor that there was a substantial risk that many

models contained defects New GM was unaware of just like New GM did not know which cars

had Defective Switches and which did not.

          396.    New GM was well aware of the impact vehicle recalls, and their timeliness, have

on its brand image. In its 2010 Form 10-K submitted to the United States Securities and

Exchange Commission (“SEC”), New GM admitted that “Product recalls can harm our

reputation and cause us to lose customers, particularly if those recalls cause consumers to

question the safety or reliability of our products. Any costs incurred or lost sales caused by

    121
      To the extent advertisements in this Complaint refer to cars other than the Defective
Vehicles, these are in the Complaint to preserve brand diminution claims for appeal.
    122
          http://www.gm.com/company/aboutGM/our_company.
    123
          http://www.sec.gov/Archives/edgar/data/1467858/000119312511051462/d10k.htm.



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future product recalls could materially adversely affect our business.” General Motors 2010

Form 10-K, p. 31.124 This is precisely why New GM decided to disregard safety issues and

conceal them.

E.         The Ignition Switch System Defects

           397.   More than 12 million New GM and Old GM vehicles contained a defective

ignition switch and cylinder. In most of these vehicles, the key position of the lock module is

located low on the steering column, in close proximity to the driver’s knee. The ignition switch

in the Defective Ignition Switch Vehicles is prone to fail during ordinary and foreseeable driving

situations. New GM initially recalled 2.1 million Defective Ignition Switch Vehicles in February

and March of 2014 (the “Delta Ignition Switch Vehicles”), and it was this initial recall that set in

motion the avalanche of recalls that is described in this Complaint. In June and July of 2014,

New GM recalled an additional 11 million vehicles, ostensibly for distinct safety defects

involving the ignition and ignition key. As set forth below, however, each of these recalls

involves a defective ignition switch, and the consequences of the defect in each of the recalled

vehicles are substantially similar, if not identical. In each case, a defective ignition switch is

located in an unreasonable position on the steering cylinder and can cause the vehicle to stall,

disable the power steering and power brakes, and disable the airbag system in normal and

foreseeable driving circumstances. In each case, New GM was aware of the defect well before it

finally recalled the Defective Ignition Switch Vehicles in 2014.

           398.   More specifically, the ignition switches can inadvertently move from the “run” to

the “accessory” or “off” position at any time during normal and proper operation of the


     124
      https://www.sec.gov/Archives/edgar/data/1467858/000119312510078119/d10k.htm#toc
85733_4.



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Defective Ignition Switch Vehicles. The ignition switch is most likely to move when the vehicle

is jarred or travels across a bumpy road; if the key chain is heavy; if a driver inadvertently

touches the ignition key with his or her knee; or for a host of additional reasons. When the

ignition switch inadvertently moves out of the “run” position, the vehicle suddenly and

unexpectedly loses engine power, power steering, and power brakes, and certain safety features

are disabled, including the vehicle’s airbags. This leaves occupants vulnerable to crashes,

serious injuries, and death.

         399.     The ignition switch systems at issue are defective in at least three major respects.

First, some of the switches are simply weak; because of a faulty “detent plunger,” the switch can

inadvertently move from the “run” to the “accessory” position. Second, because some of the

ignition switches are placed low on the steering column, the driver’s knee can easily bump the

key (or the hanging fob below the key) and cause the switch to inadvertently move from the

“run” to the “accessory” or “off” position. Third, when the ignition switch moves from the “run”

to the “accessory” or “off” position, the vehicle’s power is disabled. This also immediately

disables the airbags. Thus, when power is lost during ordinary operation of the vehicle, a driver

is left without the protection of the airbag system even if he or she is traveling at high speeds.

         400.     New GM was aware of safer alternative designs for airbag systems that would

have prevented the non-deployment of airbags caused by the ignition switch defects, but chose

not to employ them –whether by way of recall of Old GM vehicles or a design change for the

New GM vehicles it manufactured—in part to avoid disclosure of the defective ignition switch

and its tragic consequences.

         401.     Both Old GM and New GM also failed to thoroughly conduct an industry

standard Failure Modes and Effects Analysis (“FMEA”) on the ignition systems in the Defective




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Vehicles during and after their design. FMEA is an engineering risk assessment technique used

in design and failure analysis to define, identify, and eliminate known and/or potential failures,

problems, and errors from the system/design before they reach the customer. It asks, “What

happens if a failure actually occurs?” While Old GM and New GM and/or their suppliers

conducted component-part FMEAs, Old GM and New GM did not conduct system-wide

FMEAs, that is, an FMEA for the system in which the component was included. This is a

violation of industry standard engineering practices. Had system-level FMEAs been properly

conducted, the downstream effects of the ignition switch defect—such as disabling the airbags—

would have been identified at the design stage and before the Defective Vehicles were sold.

          402.    New GM, in 2014, admitted in internal documents that it had failed to comply

with FMEA procedures:125




    125
          PX-02118-009 (Scheuer Trial).



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         403.     Vehicles with defective ignition switches are unreasonably prone to be involved

in accidents, and those accidents are unreasonably likely to result in serious bodily harm or death

to the drivers and passengers of the vehicles.

         404.     Indeed, New GM itself has acknowledged that the defective ignition switches

pose an “increas[ed] risk of injury or fatality.” Ken Feinberg, who was hired by New GM to

settle wrongful death claims arising from the Delta Ignition Switch Defects, linked the defect to

over 124 deaths and 275 physical injuries. The Center for Auto Safety studied collisions in just

two vehicle makes, and linked the defect to over 300 accidents. With many personal injury cases

still pending, these numbers will continue to grow.

         405.     Alarmingly, New GM knew of the deadly ignition switch defects and their

dangerous consequences from the date of its creation on July 10, 2009, but concealed its

knowledge from consumers and regulators. To this day, New GM continues to conceal material

facts regarding the extent and nature of this safety defect, as well as what steps must be taken to

remedy the defect.

         406.     While New GM has instituted a recall of millions of vehicles for defective

ignition switches, it knew—and its own engineering documents reflect—that the defects

transcend the design of the ignition switch and also include the placement of the ignition switch

on the steering column, a lack of adequate protection of the ignition switch from forces of

inadvertent driver contact, and the need to redesign the airbag system so that it is not

immediately disabled when the ignition switch fails in ordinary and foreseeable driving

situations. To fully remedy the problem and render the Defective Ignition Switch Vehicles safe

and of economic value to their owners again, New GM must address these additional issues (and

perhaps others).




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         407.     Further, and as set forth more fully below, New GM’s recall of the Defective

Ignition Switch Vehicles has been, to date, incomplete and inadequate, and it underscores New

GM’s ongoing fraudulent concealment and fraudulent misrepresentation of the nature and extent

of the defects. New GM has long known of and understood the ignition switch defects, and its

failure to fully remedy the problems associated with this defect underscores the necessity of this

class litigation.

         1.       New GM was aware of the defective ignition switch problem from the date of
                  its inception.

         408.     On July 10, 2009, the United States Bankruptcy Court approved the sale of

General Motors Corporation’s assets to a predecessor of General Motors, LLC, or New GM.

From its creation, New GM, which retained the vast majority of Old GM’s senior level

executives and engineers as well as Old GM’s books and records, knew that Old GM had

manufactured and sold millions of vehicles afflicted with the ignition switch defects.

         409.     Plaintiffs set forth the actions and knowledge of Old GM in connection with the

ignition switch defect for two independent reasons. First, New GM can be held liable for the

conduct of Old GM under the law of successor liability. The Delta Ignition Switch Defect

Successor Liability Subclass—purchasers and lessors of Old GM Delta Ignition Switch Defect

Vehicles—assert successor liability claims in this Complaint in light of the July 13, 2016

decision by the United States Court of Appeals for the Second Circuit. No other Plaintiffs

assert successor liability claims in this Complaint. Second, the knowledge of Old GM of the

ignition switch defect, the other defects in the Defective Vehicles and the myriad safety issues

plaguing Old GM is important and relevant because it may be imputed to New GM under

governing non-bankruptcy law, given that (i) New GM chose to hire the same Old GM personal




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with that knowledge; (ii) that knowledge is reflected in documents generated during the days of

Old GM that transferred to New GM as a result of Old GM’s bankruptcy sale; (iii) that

knowledge was germane to the responsibilities of the transferred New GM employees when they

were acting within the scope of their employment with Old GM; and (iv) that knowledge was

germane to the responsibilities of the New GM employees acting within the scope of their

employment with New GM. In light of its knowledge of the ignition switch defects, and the

other defects in the Defective Vehicles, New GM had (and breached) its legal obligations to

Plaintiffs and Class members.

         410.     In part, New GM’s knowledge of the ignition switch defects arises from the fact

that key personnel with knowledge of the defects were employed by New GM when Old GM

ceased to exist. Moreover, many of these employees held managerial and decision-making

authority in Old GM, and accepted similar positions with New GM. For example, the design

research engineer who was responsible for the rollout of the defective ignition switch in the

Saturn Ion was Ray DeGiorgio. Mr. DeGiorgio continued to serve as an engineer at New GM

until April 2014, when he was suspended (and ultimately fired) as a result of his involvement in

the ignition switch crisis.

         411.     Mr. DeGiorgio was hardly the only employee who retained his Old GM position

with New GM. Other Old GM employees with knowledge of the ignition switch defects and

other defects who were retained and given decision-making authority in New GM include:

current CEO Mary T. Barra; Director of Product Investigations Carmen Benavides; Safety

Communications Manager Alan Adler; Program Engineering Manager Gary Altman; Engineer

Eric Buddrius, Engineer Jim Federico; Vice Presidents for Product Safety John Calabrese and

Alicia Boler-Davis; Warranty Engineer William K. Chase; Engineer James Churchwell; Senior




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Manager for TREAD Reporting Dwayne Davidson; Electrical Engineer John Dolan; Engineer

and Field Performance Assessment Engineer Brian Everest; Sensing Performance Engineer

William Hohnstadt; Vice President of Regulatory Affairs Michael Robinson; Director of Product

Investigations Gay Kent; Product Investigations Engineer Elizabeth Kiihr; Engineer Alberto

Manzor; Field Performance Assessment Engineer Kathy Anderson; General Counsel and Vice

President Michael P. Milliken; Vehicle Chief Engineer Doug Parks; Brand Quality Manager

Steven Oakley; Field Performance Assessment Engineer Manuel Peace; Manager of Internal

Investigations Keith Schultz; Field Performance Assessment Engineer John Sprague; Field

Performance Assessment Engineer Lisa Stacey; Design Engineer David Trush; Product

Investigations Manager Douglas Wachtel; in-house counsel Douglas Brown; attorney Michael

Gruskin (who at one point headed GM’s product litigation team and chaired the Settlement

Review Committee from September 2007 to March 2102); in-house product liability attorney

Jaclyn C. Palmer; in-house product liability lawyer William Kemp; Design Engineer Laura

Andres; Victor Hakim; Vehicle Line Executive Lori Queen; Matthew Schroeder; and James

Sewell.

          412.    A number of New GM employees were fired or “retired” as a result of the ignition

switch scandal, including: Michael Robinson; William Kemp; Ray DeGiorgio; Gary Altman;

Jaclyn Palmer; Ron Porter; Lawrence Buonomo; Jennifer Sevigny; Gay Kent; Carmen

Benavides; Maureen Foley-Gardner; Jim Federico; John Calabrese; and Brian Stouffer.

          413.    In its Decision on Motion to Enforce Sale Order, the Bankruptcy Court found that

“at least 24 Old GM personnel (all of whom were transferred to New GM), including engineers,

senior managers, and attorneys, were informed or otherwise aware of the Ignition Switch




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Defect….”126 Based on this fact, the court concluded that “Old GM personnel knew enough as

of … June 2009 ... for Old GM then to have been obligated, under the Safety Act, to conduct a

recall of the affected vehicles.”127 The Second Circuit affirmed the Bankruptcy Court’s finding

based upon its own review of the full factual record. The same 24 personnel with knowledge of

the Delta Ignition Switch Defect necessarily had the same knowledge when they went to work at

New GM.

            414.     In addition, all the documents discussed herein that were generated prior to the

inception of New GM remained in New GM’s files. Given New GM’s knowledge of these

documents, and its continuing and ongoing monitoring and reporting duties under the Safety

Act,128 New GM is also charged with knowledge of each such document.

            415.     In fact, New GM had ongoing obligations under the Safety Act to monitor New

GM and Old GM vehicles on the road, to make quarterly reports to NHTSA, and to maintain all

relevant records for five years. New GM explicitly accepted Safety Act responsibilities for Old

GM vehicles in § 6.15 of the Sale Agreement through which it acquired Old GM.

            416.     The Safety Act and related regulations require the quarterly submission to

NHTSA of “early warning reporting” data, including incidents involving death or injury, claims

relating to property damage received by the manufacturer, warranty claims paid by the

manufacturer, consumer complaints, and field reports prepared by the manufacturer’s employees

or representatives concerning failure, malfunction, lack of durability, or other performance

      126
            In re Motors Liquidation Co., No. 09-50026 (REG) (Bankr. S.D.N.Y. Apr. 15, 2015), at
32.
      127
            Id. at 33.
      128
      The “Safety Act” refers to the National Traffic Vehicle and Motor Vehicle Safety Act, 49
U.S.C. §§ 30101, et seq., as amended by the Transportation Recall, Enhancement, Accountability
and Documentation Act (the “TREAD Act”).



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issues. 49 U.S.C. § 30166(m)(3); 49 C.F.R. § 579.21. Manufacturers must retain for five years

all underlying records on which the early warning reports are based and all records containing

information on malfunctions that may be related to motor vehicle safety. 49 C.F.R. §§ 576.5 to

576.6.

          417.    The Safety Act further requires immediate action when a manufacturer determines

or should determine that a safety defect exists. United States v. General Motors Corp., 574 F.

Supp. 1047, 1050 (D.D.C. 1983). A safety defect is defined by regulation to include any defect

that creates an “unreasonable risk of accidents occurring because of the design, construction, or

performance of a motor vehicle” or “unreasonable risk of death or injury in an accident.” 49

U.S.C. § 30102(a)(8). Within five days of learning about a safety defect, a manufacturer must

notify NHTSA and provide a description of the vehicles potentially containing the defect,

including “make, line, model year, [and] the inclusive dates (month and year) of manufacture,” a

description of how these vehicles differ from similar vehicles not included in the recall, and “a

summary of all warranty claims, field or service reports, and other information” that formed the

basis of the determination that the defect was safety related. 49 U.S.C. § 30118(c); 49 C.F.R. §§

573.6(b)-(c). Then, “within a reasonable time”129 after deciding that a safety issue exists, the

manufacturer must notify the owners of the defective vehicles. 49 C.F.R. §§ 577.5(a), 577.7(a).

Violating these notification requirements can result in a maximum civil penalty of $15,000,000.

49 U.S.C. § 30165(a)(1).




    129
      49 C.F.R. § 577.7(a) was updated, effective October 11, 2013, to replace “within a
reasonable time” to “no later than 60 days” from the filing of the NHTSA notification.



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          418.    New GM used several processes to identify safety issues, including the TREAD

database and Problem Resolution Tracking System (“PRTS”).130 The TREAD database, used to

store the data required for the quarterly NHTSA early warning reports, was the principal

database used by Old and New GM to track incidents related to Old GM vehicles and New GM

vehicles. Id. at 306. The database included information from (i) customer service requests; (ii)

repair orders from dealers; (iii) internal and external surveys; (iv) field reports from employees

who bought New GM and Old GM vehicles and from Captured Test Fleet reports;131 (v)

complaints from the OnStar call center; and (vi) a database maintained by New GM legal staff to

track data concerning complaints filed in court. Id. A TREAD reporting team would conduct

monthly database searches and prepare scatter graphs to identify spikes in the number of

accidents or complaints related to various Old GM and New GM vehicles.132 The PRTS is a

database that tracks engineering problems identified in testing, manufacturing, through warranty

data, and through customer feedback.133 The PRTS process involves five steps: “identification

of the issue; identification of the root cause; identification of a solution; implementation of the

solution; and feedback.”134

          419.    Because the same employees carried out the TREAD Act obligations at Old and

New GM, and were responsible for monitoring and reviewing the same databases and documents


    130
       See Anton R. Valukas, Report to Board of Directors of General Motors Co. Regarding
Ignition Switch Recalls (“Valukas Report” or “V.R.”), at 282-313.
    131
        Captured Test Fleet reports were submitted by employees who were given vehicles and
asked to document any problems that arose while driving. Id. at 300. The Quality Group would
review, summarize, and group these reports into categories. Id.
    132
        Id. at 307.
    133
          Id. at 282.
    134
          Id. at 284.



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in order to ensure compliance with the TREAD Act, they not only retained the knowledge they

acquired at Old GM—they were in fact required to.

          420.    Dwayne F. Davidson headed-up the TREAD reporting team at both Old and New

GM. Mr. Davidson and the other TREAD reporting team members at New GM (who held the

same roles at Old GM) not only had knowledge of pre-Sale events—they were required to act on

that knowledge under the Sale Agreement in which New GM undertook to monitor Old GM

vehicles for safety defects and promptly disclose and remedy any such defects New GM knew

about. As Mr. Davidson, his subordinates and others at New GM were well-aware, from 2003-

2007 or 2008, the TREAD Reporting team had between eight and twelve employees who would

conduct monthly searches and prepare scatter graphs to identify spikes in the number of

accidents or complaints with respect to various Old GM vehicles.

          421.    As Mr. Davidson and his subordinates at Old GM who stayed on at New GM

were aware, and therefore New GM was aware, in or around 2007-08, Old GM reduced the

TREAD Reporting team from eight to three employees, and pared down the monthly data mining

process.135 In 2010, New GM restored two people to the team, but they did not participate in the

TREAD database searches.136 Moreover, until 2014, the TREAD Reporting team at New GM

did not have sufficient resources to obtain any of the advanced data mining software programs

available in the industry to better identify and understand potential defects.137

          422.    According to the Valukas Report, until 2014 the TREAD team did not have

sufficient funds to obtain any of the data mining software programs available in the industry to


    135
          Id.
    136
          Id. at 307-308.
    137
          Id. at 208.



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better identify and understand potential defects. In his deposition, Mr. Davidson, the senior

manager of the TREAD team at both Old and New GM, testified that he did not have the

necessary expertise, manpower or resources, and the team did not have the right people in place

after Old GM’s bankruptcy to enable the team to perform effectively.

          423.    By starving the TREAD Reporting team of the resources it needed to identify

potential safety issues, New GM helped to ensure that safety issues would not come to light.

          424.    In addition, New GM knew that those personnel entering data for TREAD Act

purposes were trained to avoid reporting items that would look bad to outsiders. New GM

Employees had been instructed to “consider how documents will be interpreted by people

outside GM”138 and were told to avoid the following words:




          425.    Indeed, from the day of its formation as an entity or shortly thereafter, New GM

had notice and full knowledge of the ignition switch, power steering, and other defects as set

forth below.

    138
          GM-MDL2543-400273026 at 400273052 and 400273056 (Confidential).



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         2.       The Delta Ignition Switch Defect giving rise to the February and March 2014
                  Recalls.

                  a.     New GM was aware of the Delta Ignition Switch Defect from the date
                         of New GM’s inception.

         426.     At or shortly after it came into existence, New GM knew of the following facts

either from knowledge in the minds of New GM employees acting within the scope of their

authority or from the books and records of Old GM, which New GM acquired as a result of Old

GM’s bankruptcy sale and which it and its employees were required to act upon based on the

TREAD Act obligations New GM expressly agreed to undertake in § 6.15 of the Sale Agreement

through which it came into being:

         427.     New GM knew that, in 2001, during pre-production testing of the 2003 Saturn

Ion, Old GM engineers learned that the vehicle’s ignition switch could unintentionally move

from the “run” to the “accessory” or “off” position. New GM also knew that where the ignition

switch moved from “run” to “accessory” or “off,” the vehicle’s engine would stall and/or lose

power.

         428.     New GM knew that Delphi Mechatronics (“Delphi”), the manufacturer of many

of the defective ignition switches in the Defective Ignition Switch Vehicles, including those in

the vehicles that gave rise to the February and March 2014 recalls, informed Old GM that the

ignition switch did not meet Old GM’s design specifications. Rather than delay production of

the Saturn Ion in order to ensure that the ignition switch met specifications, Old GM’s design

release engineer, Ray DeGiorgio, simply lowered the specification requirements and approved

use of ignition switches that he knew did not meet Old GM’s specifications.




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         429.     New GM knew that in 2004, Old GM engineers reported that the ignition switch

in the Saturn Ion was so weak and the ignition placed so low on the steering column that the

driver’s knee could easily bump the key and turn off the vehicle.

         430.     New GM knew that this defect was sufficiently serious for an Old GM engineer to

conclude, in January 2004, that “[t]his is a basic design flaw and should be corrected if we want

repeat sales.”

         431.     New GM knew that a July 1, 2004 report by Siemens VDO Automotive analyzed

the relationship between the ignition switch in Old GM vehicles and the airbag system. The

Siemens report concluded that when an Old GM vehicle experienced a power failure, the airbag

sensors were disabled. The Siemens report was distributed to at least five Old GM engineers,

most or all of whom continued on at New GM. The Chevrolet Cobalt was in pre-production at

this time.

         432.     New GM knew that in 2004, Old GM began manufacturing and selling the 2005

Chevrolet Cobalt. Old GM installed the same ignition switch in the 2005 Cobalt as it did in the

Saturn Ion.

         433.     New GM knew that during testing of the Cobalt, Old GM and New GM engineer

Gary Altman observed an incident in which a Cobalt suddenly lost engine power because the

ignition switch moved out of the “run” position during vehicle operation.

         434.     New GM knew that in late 2004, while testing was ongoing on the Cobalt, Chief

Cobalt Engineer Doug Parks asked Mr. Altman to investigate a journalist’s complaint that he had

turned off a Cobalt vehicle by hitting his knee against the key fob.

         435.     New GM knew that Old GM opened an engineering inquiry known as a Problem

Resolution Tracking System (“Problem Resolution”) to evaluate a number of potential solutions




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to this moving engine stall problem. At this time, Problem Resolution issues were analyzed by a

Current Production Improvement Team (“Improvement Team”). The Improvement Team that

examined the Cobalt issue beginning in late 2004 included a cross-section of business people and

engineers, including Mr. Altman and Lori Queen, Vehicle Line Executive on the case, both of

whom continued on at New GM.

         436.     New GM knew that Doug Parks, Chief Cobalt Engineer, was also active in

Problem Resolution. On March 1, 2005, he attended a meeting whose subject was “vehicle can

be keyed off with knee while driving.” Parks also attended a June 14, 2005 meeting that

included slides discussing a NEW YORK TIMES article that described how the Cobalt’s engine

could cut out because of the ignition switch problem.

         437.     New GM knew that in 2005, Parks sent an e-mail with the subject, “Inadvertent

Ign turn-off.” In the e-mail, Parks wrote, “For service, can we come up with a ‘plug’ to go into

the key that centers the ring through the middle of the key and not the edge/slot? This appears to

me to be the only real, quick solution.”

         438.     New GM knew that after considering this and a number of other solutions

(including changes to the key position and measures to increase the torque in the ignition

switch), the Current Product Improvement Team examining the issue decided to do nothing.

         439.     New GM knew that Old and New GM engineer Gary Altman recently admitted

that engineering managers (including himself and Ray DeGiorgio) knew about ignition switch

problems in the Cobalt that could cause these vehicles to stall, and disable power steering and

brakes, but launched the vehicle anyway because they believed that the vehicles could be safely

coasted off the road after a stall. Mr. Altman insisted that “the [Cobalt] was maneuverable and

controllable” with the power steering and power brakes inoperable.




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         440.     New GM knew that on February 28, 2005, Old GM issued a bulletin to its dealers

regarding engine-stalling incidents in 2005 Cobalts and 2005 Pontiac Pursuits (the Canadian

version of the Pontiac G5).

         441.     New GM knew that in the February 28, 2005 bulletin, Old GM provided the

following recommendations and instructions to its dealers—but not to the public in general:

                  There is potential for the driver to inadvertently turn off the
                  ignition due to low key ignition cylinder torque/effort. The
                  concern is more likely to occur if the driver is short and has a large
                  heavy key chain.

                  In the case this condition was documented, the driver’s knee would
                  contact the key chain while the vehicle was turning. The steering
                  column was adjusted all the way down. This is more likely to
                  happen to a person that is short as they will have the seat
                  positioned closer to the steering column.

                  In cases that fit this profile, question the customer thoroughly to
                  determine if this may be the cause. The customer should be
                  advised of this potential and to take steps, such as removing
                  unessential items from their key chains, to prevent it.

                  Please follow this diagnosis process thoroughly and complete each
                  step. If the condition exhibited is resolved without completing
                  every step, the remaining steps do not need to be performed.

         442.     New GM knew that on June 19, 2005, the NEW YORK TIMES reported that

Chevrolet dealers were advising some Cobalt owners to remove items from heavy key rings so

that they would not inadvertently move the ignition into the “off” position. The article’s author

reported that his wife had bumped the steering column with her knee while driving on the

freeway and the engine “just went dead.”

         443.     New GM knew that the NEW YORK TIMES contacted Old GM and Alan Adler,

manager for safety communications, who provided the following statement:

                  In rare cases when a combination of factors is present, a Chevrolet
                  Cobalt driver can cut power to the engine by inadvertently



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                  bumping the ignition key to the accessory or off position while the
                  car is running. Service advisers are telling customers they can
                  virtually eliminate the possibility by taking several steps, including
                  removing nonessential material from their key rings.

         444.     New GM knew that, in connection with this NEW YORK TIMES article, Alder

specifically told the editor that Old GM “had not had any complaints,” which was false, as

shown below.

         445.     New GM knew that between February 2005 and December 2005, Old GM opened

multiple Problem Resolution inquiries regarding reports of power failure and/or engine shutdown

in Delta Ignition Switch Vehicles.

         446.     New GM knew that one of these, opened by quality brand manager Steve Oakley

in March 2005, was prompted by Old GM engineer Jack Weber, who reported turning off a

Cobalt with his knee while driving. After Oakley opened the PRTS, Gary Altman advised that

the inadvertent shut down was not a safety issue. Oakley still works at New GM.

         447.     New GM knew that as part of the Problem Resolution, Oakley asked William

Chase, an Old GM warranty engineer, to estimate the warranty impact of the ignition switch

defect in the Cobalt and Pontiac G5 vehicles. Chase estimated that for Cobalt and G5 vehicles

on the road for 26 months, 12.40 out of every 1,000 vehicles would experience inadvertent

power failure while driving.

         448.     New GM knew that in September 2005, Old GM received notice that Amber

Marie Rose, a 16-year old resident of Clinton, Maryland, was killed in an accident after her 2005

Chevrolet Cobalt drove off the road and struck a tree head-on. During Old GM’s investigation, it

learned that the ignition switch in Amber’s Cobalt was in the “accessory” or “off” position at the

time of the collision. Upon information and belief, Old GM subsequently entered into a




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confidential settlement agreement with Amber’s mother. Old GM personnel familiar with Ms.

Rose’s fatal accident continued on at New GM after the bankruptcy sale.

         449.     New GM knew that in December 2005, Old GM issued Technical Service

Bulletin 05-02-35-007. The Bulletin applied to 2005-2006 Chevrolet Cobalts, 2006 Chevrolet

HHRs, 2005-2006 Pontiac Pursuits, 2006 Pontiac Solstices, and 2003-2006 Saturn Ions. The

Bulletin explained that “[t]here is potential for the driver to inadvertently turn off the ignition

due to low ignition key cylinder torque/effort.”

         450.     New GM knew that Old GM failed to disclose in this Technical Service Bulletin

that it knew that there had been fatal incidents involving vehicles with the ignition switch defect.

On November 17, 2005—shortly after Amber’s death and immediately before Old GM issued

the December Bulletin—a Cobalt went off the road and hit a tree in Baldwin, Louisiana. The

front airbags did not deploy in this accident. Old GM received notice of the accident, opened a

file, and referred to it as the “Colbert” incident. Old GM personnel familiar with this incident

continued on at New GM after Old GM’s bankruptcy sale.

         451.     New GM knew that on February 10, 2006, in Lanexa, Virginia—shortly after Old

GM issued the Technical Service Bulletin—a 2005 Cobalt flew off of the road and hit a light

pole. As with the Colbert incident (above), the frontal airbags failed to deploy in this incident as

well. The download of the SDM (the vehicle’s “black box”) showed the key was in the

“accessory/off” position at the time of the crash. Old GM received notice of this accident,

opened a file, and referred to it as the “Carroll” incident. Old GM personnel familiar with this

incident continued on at New GM after Old GM’s bankruptcy sale.

         452.     New GM knew that on March 14, 2006, in Frederick, Maryland, a 2005 Cobalt

traveled off the road and struck a utility pole. The frontal airbags did not deploy in this incident.




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The download of the SDM showed the key was in the “accessory/off” position at the time of the

crash. Old GM received notice of this incident, opened a file, and referred to it as the “Oakley”

incident. Old GM personnel familiar with this incident continued on at New GM after Old GM’s

bankruptcy sale.

         453.     New GM knew that in April 2006, Old GM design engineer Ray DeGiorgio

approved a design change for the Chevrolet Cobalt’s ignition switch, as proposed by Delphi.

The changes included a new detent plunger and spring and were intended to generate greater

torque values in the ignition switch. These values, though improved, were still consistently

below Old GM’s design specifications. Despite its redesign of the ignition switch, Old GM did

not change the part number for the switch.

         454.     Old GM’s decision not to change the part number is a violation of generally

accepted engineering standards and practices. For example, the American Society of Mechanical

Engineers (ASME) issued ASME Y14.100-2004, Engineering Drawing Practices, that sets forth

essential minimum requirements for engineering drawings and related documentation practices.

Such standards are generally relied upon by automotive engineers (indeed, a General Motors

engineer was on the ASME Y14 Standards Committee at the time ASME Y14.100-2004 was

approved). ASME Y14.100-2004, Section 6.8.1 governs “Change Requiring New

Identification” and provides that “New PINs [part identification numbers] shall be assigned when

a part or item is changed in such a manner that any of the following conditions occur: (a) When

performance or durability is affected to such an extent that the previous versions must be

discarded or modified for reasons of safety or malfunction.” Old GM redesigned the switch “for

reasons of safety or malfunction.” ASME Y14.100-2004, Section 6.8.1, applies here and

mandates that Old GM should have changed the part number.




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         455.     Old GM’s decision not to change the part number is also a violation of generally

accepted inventory management standards and practices, which dictate that a modification that is

necessary to meet product safety specifications requires a part number change.

         456.     While New GM has claimed that the ignition switch redesign was unknown to

any Old or New GM personnel outside of Mr. DeGiorgio, recently revealed documents show that

other Old GM personnel were aware of the change—including personnel who continued working

at New GM after Old GM’s bankruptcy sale.

         457.     In congressional testimony in 2014, New GM CEO Mary Barra acknowledged

that Old GM should have changed the part number when it redesigned the ignition switch, and

that its failure to do so did not meet industry standard behavior. Mr. DeGiorgio, who approved

the design change without changing the part number, continued on at New GM until 2014, when

he was terminated for his role in the Delta Ignition Switch crisis.

         458.     New GM knew that in October 2006, Old GM updated Technical Service Bulletin

05-02-35-007 to include additional model years: the 2007 Saturn Ion and Sky, 2007 Chevrolet

HHR, 2007 Cobalt, and 2007 Pontiac Solstice and G5. These vehicles had the same safety-

related defects in the ignition switch systems as the vehicles in the original Bulletin.

         459.     New GM knew that on December 29, 2006, in Sellenville, Pennsylvania, a 2005

Cobalt drove off the road and hit a tree. The frontal airbags failed to deploy in this incident. Old

GM received notice of this incident, opened a file, and referred to it as the “Frei” incident. Old

GM personnel familiar with this incident continued on at New GM after Old GM’s bankruptcy

sale.

         460.     New GM knew that GM’s practices were so deficient that key personnel did not

critically examine red flags raising safety issues. For example, on November 14, 2006, the




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senior manager for Old and New GM’s TREAD reporting was asked to pull the TREAD reports

in response to a media inquiry regarding “a 2005 Cobalt fatal crash in which two teenage girls

were killed October 24th in Woodville, Wisconsin. Parents and sheriff says front airbags did not

deploy when vehicle hit a tree.”139

          461.    New GM knew that on November 20, 2006, Senior Manager for TREAD

Reporting Dwayne Davidson was sent an e-mail with a link to a news story that ran on KSTP in

Minneapolis that featured suspected airbag non-deployment along with GM’s claim of no safety

recalls.140 Davidson testified he did not recall if he took enough interest in the story at the time

to actually click on the link and watch it.141

          462.    New GM knew that in 2007, Davidson was involved in a death inquiry involving

two teenage girls who were killed in a Chevy Cobalt on October 24, 2006. The death inquiry

was the result of a request for further information by NHTSA arising out of GM’s quarterly

report to NHTSA concerning the Wisconsin accident. As part of the death inquiry, Davidson

received a report prepared by Trooper Young from the Wisconsin State Patrol. Trooper Young’s

report noted that the ignition switch on the vehicle “appears to have been in the ‘accessory’

position when it impacted the trees preventing the airbags from deploying.” Rather than

critically analyzing the report, Davidson only scanned the report to see if the CD was working

properly. Davidson, when asked at his deposition if he connected this report to the prior media

inquiry involving the two girls killed in Wisconsin, where airbags did not deploy in a 2005

Chevy Cobalt, testified that he “did not put two-and-two together.”


    139
          GM-MDL2543-000722839 (Highly Confidential).
    140
          GM-MDL2543-400264015 (Highly Confidential).
    141
          May 15, 2015 Dwayne Davidson Dep. at 87.



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         463.     New GM knew that on February 6, 2007, in Shaker Township, Pennsylvania, a

2006 Cobalt sailed off the road and struck a truck. Despite there being a frontal impact in this

incident, the frontal airbags failed to deploy. The download of the SDM showed the key was in

the “accessory/off” position. Old GM received notice of this incident, opened a file, and referred

to it as the “White” incident. Old GM personnel familiar with this incident continued on at New

GM after Old GM’s bankruptcy sale.

         464.     New GM knew that on August 6, 2007, in Cross Lanes, West Virginia, a 2006

Cobalt rear-ended a truck. The frontal airbags failed to deploy. Old GM received notice of this

incident, opened a file, and referred to it as the “McCormick” incident. Old GM personnel

familiar with this incident continued on at New GM after Old GM’s bankruptcy sale.

         465.     New GM knew that on September 25, 2007, in New Orleans, Louisiana, a 2007

Cobalt lost control and struck a guardrail. Despite there being a frontal impact in this incident,

the frontal airbags failed to deploy. Old GM received notice of this incident, opened a file, and

referred to it as the “Gathe” incident. Old GM personnel familiar with this incident continued on

at New GM after Old GM’s bankruptcy sale.

         466.     New GM knew that on October 16, 2007, in Lyndhurst, Ohio, a 2005 Cobalt

traveled off road and hit a tree. The frontal airbags failed to deploy. Old GM received notice of

this incident, opened a file, and referred to it as the “Breen” incident. Old GM personnel familiar

with this incident continued on at New GM after Old GM’s bankruptcy sale.

         467.     New GM knew that on April 5, 2008, in Sommerville, Tennessee, a 2006 Cobalt

traveled off the road and struck a tree. Despite there being a frontal impact in this incident, the

frontal airbags failed to deploy. The download of the SDM showed the key was in the

“accessory/off” position. Old GM received notice of this incident, opened a file, and referred to




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it as the “Freeman” incident. Old GM personnel familiar with this incident continued on at New

GM after Old GM’s bankruptcy sale.

         468.     New GM knew that on May 21, 2008, in Argyle, Wisconsin, a 2007 G5 traveled

off the road and struck a tree. Despite there being a frontal impact in this incident, the frontal

airbags failed to deploy. The download of the SDM showed the key was in the “accessory/off”

position. Old GM received notice of this incident, opened a file, and referred to it as the “Wild”

incident. Old GM personnel familiar with this incident continued on at New GM after Old GM’s

bankruptcy sale.

         469.     New GM knew that on May 28, 2008, in Lufkin, Texas, a 2007 Cobalt traveled

off the road and struck a tree. Despite there being a frontal impact in this incident, the frontal

airbags failed to deploy. Old GM received notice of this incident, opened a file, and referred to it

as the “McDonald” incident. Old GM personnel familiar with this incident continued on at New

GM after Old GM’s bankruptcy sale.

         470.     New GM knew that on September 13, 2008, in Lincoln Township, Michigan, a

2006 Cobalt traveled off the road and struck a tree. Despite there being a frontal impact in this

incident, the frontal airbags failed to deploy. Old GM received notice of this incident, opened a

file, and referred to it as the “Harding” incident. Old GM personnel familiar with this incident

continued on at New GM after Old GM’s bankruptcy sale.

         471.     New GM knew that on November 29, 2008, in Rolling Hills Estates, California, a

2008 Cobalt traveled off the road and hit a tree. Despite there being a frontal impact in this

incident, the frontal airbags failed to deploy. Old GM received notice of this incident, opened a

file, and referred to it as the “Dunn” incident. Old GM personnel familiar with this incident

continued on at New GM after Old GM’s bankruptcy sale.




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         472.     New GM knew that on December 6, 2008, in Lake Placid, Florida, a 2007 Cobalt

traveled off the road and hit a utility pole. Despite there being a frontal impact in this incident,

the frontal airbags failed to deploy. The download of the SDM showed the key was in the

“accessory/off” position. Old GM received notice of this incident, opened a file, and referred to

it as the “Grondona” incident. Old GM personnel familiar with this incident continued on at

New GM after Old GM’s bankruptcy sale.

         473.     New GM knew that in February 2009, Old GM opened another Problem

Resolution regarding the ignition switches in the Defective Ignition Switch Vehicles. Old GM

engineers decided at this time to change the top of the Chevrolet Cobalt key from a “slot” to a

“hole” design, as had originally been suggested in 2005. The new key design was produced for

the 2010 model year. Old GM did not provide these redesigned keys to the owners or lessees of

any of the vehicles implicated in prior Technical Service Bulletins, including the 2005-2007

Cobalts.

         474.     New GM knew that just prior to Old GM’s bankruptcy sale, Old GM met with

Continental Automotive Systems US, its airbag supplier for the Cobalt, Ion, and other Defective

Ignition Switch Vehicles. Old GM requested that Continental download SDM data from a 2006

Chevrolet Cobalt accident where the airbags failed to deploy. In a report dated May 11, 2009,

Continental analyzed the SDM data and concluded that the SDM ignition state changed from

“run” to “off” during the accident. According to Continental, this, in turn, disabled the airbags.

New GM did not disclose this finding to NHTSA, despite its knowledge that NHTSA was

interested in airbag non-deployment incidents in Chevrolet Cobalt vehicles.




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                  b.     New GM continues to conceal the ignition switch defect.

          475.    Through the Valukas Report, New GM concedes, as it must, that it was aware of

the Delta Ignition Switch Defect from the date of its inception. But, in an attempt to minimize

the egregiousness of continuing concealment of the defect, it makes several illogical claims.

Recently revealed evidence shows that the claims are false.

          476.    First, New GM claims that it was unaware of the fact that the movement of the

ignition from the “run” to the “accessory” position caused the airbags not to deploy—even

though, as New GM concedes, its own engineers specifically designed the airbags to be disabled

when the ignition moves out of the run position. (In the recent Deferred Prosecution Agreement

with the Justice Department, New GM finally concedes that it was fully aware of this by the

spring of 2012; Plaintiffs believe that New GM was aware of this far earlier.)

          477.    But recently-revealed evidence shows that (i) New GM likely was aware of this

connection from the date of its inception and (ii) was definitively aware of the connection no

later than 2010. For example, in a case evaluation of the Lambert crash, dated April 18, 2012,

New GM’s investigator concluded that:142

                  Regardless of whether the impact was above the all-fire threshold
                  or not, neither the frontal, nor side impact airbags could deploy
                  because the Cobalt was in Accessory Mode, not Run Mode, at the
                  time of impact.

          478.    Second, New GM claims that—because it was unaware that the defect rendered

the airbags inoperable—it believed that the defect was a “customer convenience” issue and not a

safety issue. In other words, according to New GM, no safety issues arise when a moving

vehicle stalls, loses its power steering, and loses its power brakes.


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         479.     New GM’s “customer convenience” claim was never credible—and the evidence

now shows the falsity of the claim.

         480.     For example, in March 2010, New GM recalled nearly 1.1 million Cobalt and

Pontiac G5 vehicles with Power Steering Defects. In recalling these vehicles, New GM

recognized that loss of power steering, standing alone, was grounds for a safety recall. Yet,

incredibly, New GM claims it did not view the Delta Ignition Switch Defect as a “safety issue,”

even though it admittedly knew that the defect caused stalling and power brake failure in

addition to the loss of power steering. Despite its knowledge of the Delta Ignition Switch

Defect, which caused a loss of power steering, New GM did not include the Delta Ignition

Switch Defect in this recall.

         481.     In the culture New GM inherited from Old GM and which New GM took no steps

to change until 2014, the Company emphasized the avoidance of recalls—not through an

insistence on quality or spending on safety, but by avoiding the disclosure of safety issues and

concealing safety issues of which the Company was aware. Hence, in discussing the ignition

switch issues, New GM avoided using the word “stall,” in part to avoid the attention of

regulators. New GM also actively discouraged personnel from flagging the ignition switch

defect (or any defect) as a safety issue that would require an immediate response under the

TREAD Act.

         482.     While New GM attempts to downplay the severity of its misconduct by blaming

its failure on a lack of communication between “corporate silos,” the truth is far more damning:

New GM engaged in a prolonged and fraudulent cover-up of the Delta Ignition Switch Defect.

         483.     But the defect remained quite real, and quite dangerous, and New GM continued

to receive reports of deadly accidents caused by the defect.




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         484.     On March 10, 2010, Brooke Melton was driving her 2005 Cobalt on a two-lane

highway in Paulding County, Georgia. While she was driving, her key turned from the “run” to

the “accessory/off” position, causing her engine to shut off. After her engine shut off, she lost

control of her Cobalt, which traveled into an oncoming traffic lane, where it collided with an

oncoming car. Brooke was killed in the crash. New GM received notice of this incident, and

knew or should have known the accident was caused by the Delta Ignition Switch Defect.

         485.     On December 31, 2010, in Rutherford County, Tennessee, a 2006 Cobalt traveled

off the road and struck a tree. Despite there being a frontal impact in this incident, the frontal

airbags failed to deploy. The download of the SDM showed the key was in the “accessory/off”

position. New GM received notice of this incident, opened a file, referred to it as the

“Chansuthus” incident, and knew the accident was caused by the Delta Ignition Switch Defect.

When a lawsuit was filed over the Chansuthus incident, New GM chose to settle it confidentially

and continue to conceal the defect and its horrible consequences from NHTSA and the public.

         486.     On December 31, 2010, in Harlingen, Texas, a 2006 Cobalt traveled off the road

and struck a curb. Despite there being a frontal impact in this incident, the frontal airbags failed

to deploy. New GM received notice of this incident, opened a file, and referred to it as the

“Najera” incident. New GM knew or should have known the accident was caused by the Delta

Ignition Switch Defect.

         487.     On March 22, 2011, Ryan Jahr, a New GM engineer, downloaded the SDM from

Brooke Melton’s Cobalt. The information from the SDM download showed that the key in

Brooke’s Cobalt turned from the “run” to the “accessory/off” position 3-4 seconds before the

crash. On June 24, 2011, Brooke Melton’s parents, Ken and Beth Melton, filed a lawsuit against




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New GM. New GM knew or should have known the accident was caused by the Delta Ignition

Switch Defect.

         488.     In August 2011, New GM assigned Engineering Group Manager Brian Stouffer to

assist with a Field Performance Evaluation that it had opened to investigate frontal airbag non-

deployment incidents in Chevrolet Cobalts and Pontiac G5s.

         489.     On December 18, 2011, in Parksville, South Carolina, a 2007 Cobalt traveled off

the road and struck a tree. Despite there being a frontal impact in this incident, the frontal

airbags failed to deploy. The download of the SDM showed the key was in the “accessory/off”

position. New GM received notice of this incident, opened a file, and referred to it as the

“Sullivan” incident. New GM knew or should have known the accident was caused by the Delta

Ignition Switch Defect.

         490.     In early 2012, Mr. Stouffer asked Jim Federico, who reported directly to Mary

Barra, to oversee the Field Performance Evaluation investigation into frontal airbag non-

deployment incidents. Federico was named the “executive champion” for the investigation to

help coordinate resources.

         491.     In May 2012, New GM engineers tested the torque on numerous ignition switches

of 2005-2009 Chevrolet Cobalt, 2009 Pontiac G5, 2006-2009 HHR, and 2003-2007 Saturn Ion

vehicles that were parked in a junkyard. The results of these tests showed that the torque

required to turn the ignition switches from the “run” to the “accessory” or “off” position in most

of these vehicles did not meet GM’s minimum torque specification requirements. These results

were reported to Mr. Stouffer and other members of the Field Performance Evaluation team.

         492.     In September 2012, Mr. Stouffer requested assistance from a “Red X Team” as

part of the Field Performance Evaluation investigation. The Red X Team was a group of




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engineers within New GM assigned to find the root cause of the airbag non-deployments in

frontal accidents involving Chevrolet Cobalts and Pontiac G5s. By that time, however, it was

clear that the root cause of the airbag non-deployments in a majority of the frontal accidents was

the defective ignition switch and airbag system.

         493.     Indeed, Mr. Stouffer acknowledged in his request for assistance that the Chevrolet

Cobalt could experience a power failure during an off-road event, or if the driver’s knee

contacted the key and turned off the ignition. Mr. Stouffer further acknowledged that such a loss

of power could cause the airbags not to deploy.

         494.     At the time, New GM did not provide this information to NHTSA or the public.

         495.     Acting NHTSA Administrator David Friedman recently stated, “at least by 2012,

[New] GM staff was very explicit about an unreasonable risk to safety” from the ignition

switches in the Delta Ignition Switch Vehicles.

         496.     Mr. Friedman continued: “[New] GM engineers knew about the defect. [New]

GM lawyers knew about the defect. But [New] GM did not act to protect Americans from the

defect.”

         497.     There is significant evidence that multiple in-house attorneys also knew of and

understood the ignition switch defect. These attorneys, including Michael Milliken, negotiated

settlement agreements with families whose loved ones had been killed and/or injured while

operating a Delta Ignition Switch Vehicle. In spite of this knowledge, New GM’s attorneys

concealed their knowledge and neglected to question whether the Delta Ignition Switch Vehicles

should be recalled. This quest to keep the Delta Ignition Switch Defect secret delayed its public

disclosure and contributed to increased death and injury as a result of the ignition switch defect,

and also caused significant financial harm to Plaintiffs and members of the Class.




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         498.     The complaints from Delta Ignition Switch Vehicle owners who experienced an

ignition switch failure and a stall make it abundantly clear that New GM and ESIS knew that a

safety defect was at issue:

                  COMPLAINT 1/21/2010: CUSTOMER WAS INVOLVED IN
                  AN ACCIDENT ON THE 4TH OF JANUARY. WHEN HE WAS
                  DRIVING VEHICLE HAS SHUTTED OFF, AND HE
                  SMASHED AGAINST A TREE.

                  COMPLAINT 9/10/2007: CUSTOMER WAS VERY UPSET
                  AND CRYING—ALLEGES DAUGHTER INJURED B/C OF
                  VEHICLE FAILURE THAT HAS BEEN ONGOING. CUST STS:
                  WE DONT WANT THIS VEHICLE ANYMORE. WE’VE HAD
                  THIS ISSUE SINCE WE BOUGHT IT. THE DEALER HASN’T
                  BEEN ABLE TO FIX IT. AND NOW MY DAUGHTER IS
                  HURT! SHE COULD HAVE BEEN KILLED! WAS DRIVING
                  ON HWY 80 IN PA. NEAR LOCKHAVEN DRIVING AROUND
                  80 MPH WHENTHE VEHICLE COMPLETELY SHUT OFF IN
                  THE MIDDLE OF THE HWY. NO EMERGANY LIGHTS. NO
                  POWER. NO ENGINE. JUST DEAD. THANK GO SHE
                  WASN’T HIT BY ANYTHING BUT SHE COULD HAVE!
                  THEY SENT AN AMBULENCE AND POLICE. SO I DON’T
                  KNOW WHATS HAPPENING YET. BUT THI IS UNSAFE!
                  HOW DO I ENACT THE LEMON LAW?

                  COMPLAINT 11/29/2006: FIRST, I ACTUALLY HAVE A 2006
                  COBALT, BUT THAT OPTION WASN’T AVAILABLE ON
                  THE PULL-DOWN MENU ABOVE. SECOND, THE PROBLEM
                  I HAVE WITH MY CAR IS A SCARY ONE. MY CAR IS
                  CURRENTLY AT HERITAGE AUTO PLAZA. IT IS THERE
                  BECAUSE I WAS IN A CAR ACCIDENT WHEN THE POWER
                  IN MY CAR COMPLETELY SHUT OFF WHILE I WAS
                  DRIVING IT. THE STEERING WHEEL DID NOT WORK.
                  THE BRAKES WERE UNRESPONSIVE, AND EVERYTHING
                  IN THE COCKPIT WENT DOWN TO ZERO. ONLY THE
                  HEADLIGHTS AND RADIO CONTINUE TO WORK. THIS IS
                  THE SECOND TIME THIS HAPPENED. THE FIRST TIME, I
                  WAS ABLE TO MOVE THE CAR OFF THE ROAD. I TOOK
                  MY CAR TO ROSENTHAL CHEVROLET, THEY TOLD ME
                  NOTHING WAS WRONG. IT WAS A FLUKE, AND WOULD
                  NEVER HAPPEN AGAIN. I AM NOW COMPLETELY
                  AFRAID OF MY CAR. AGAIN THEY HAVE SAID THERE IS
                  NO PROBLEM. I HAVE SINCE LEARNED SOME THINGS




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                  ABOUT HOW THE COBALT IS MADE. IT IS VERY
                  DISTURBING. I DO NOT WANT THE CAR. CAN SOMEONE
                  PLEASE CONTACT ME SO WE CAN DISCUSS HOW TO
                  RESOLVE THIS?

                  COMPLAINT 2/12/2008: ALLEGED PRODUCT
                  ALLEGATION-INJURY/COLLISONCUST STS. THE
                  IGNITION AND THE SHIFTER AND THE WHEEL LOCKS UP
                  AND THE CAR SHUFTS OFF. A WEEK AGO I WRECKED
                  THE VEHICLE. AND IT IS GOING TO COST $5000.00. THAT
                  IS HOW MUCH DAMAGE. BUT I DO HAVE A
                  DEDUCTABLE FOR MY INSURANCE. THE DIR SHIP
                  DIDN’T WANT TO TOUCH IT UNTIL YOU SAID WHAT WE
                  ARE GOING TO DO IT. AND EVEN WHEN I WRECKED THE
                  CAR THE AIRBAGS DIDN’T DEPLY. DLR STATED IT WAS
                  IN THE CRUISE CONTROL THERE WAS A BAD SENSOR
                  WHICH CAUSED EVRYTHGIN TO LCOK UP. MY 2 WRISTS
                  ARE BRUISED AND I HIT MY HEAD. BUT I HAVE BEEN
                  BACK AND FORTH TO THE HOSPITAL AND I HAVE
                  INSURANCE FOR ALL OF THAT.

         499.     During the Field Performance Evaluation process, New GM determined that,

although increasing the detent in the ignition switch would reduce the chance that the key would

inadvertently move from the “run” to the “accessory” or “off” position, it would not be a total

solution to the problem.

         500.     Indeed, the New GM engineers identified several additional ways to actually fix

the problem. These ideas included adding a shroud to prevent a driver’s knee from contacting

the key, modifying the key and lock cylinder to orient the key in an upward facing orientation

when in the run position, and adding a push button to the lock cylinder to prevent it from

slipping out of “run.” New GM rejected each of these ideas.

         501.     The photographs below are of a New GM engineer in the driver’s seat of a Cobalt

during the investigation of Cobalt engine stalling incidents:




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         502.     These photographs show the dangerous position of the key in the lock module on

the steering column, as well as the key with the slot, which allow the key fob to hang too low off

the steering column. New GM engineers understood that the key fob can be impacted and

pinched between the driver’s knee and the steering column, and that this will cause the key to

inadvertently turn from the “run” to the “accessory” or “off” position. The photographs show

that the New GM engineers understood that increasing the detent in the ignition switch would

not be a total solution to the problem. They also show why New GM engineers believed that

additional changes (such as the shroud) were necessary to fix the defects with the ignition switch.

         503.     The New GM engineers clearly understood that increasing the detent in the

ignition switch alone was not a solution to the problem. But New GM concealed—and continues

to conceal—from the public the full nature and extent of the defects.

         504.     On October 4, 2012, there was a meeting of the Red X Team during which

Mr. Federico gave an update of the Cobalt airbag non-deployment investigation. According to

an e-mail from Mr. Stouffer on the same date, the “primary discussion was on what it would take

to keep the SDM active if the ignition key was turned to the accessory mode.” Despite this




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recognition by New GM engineers that the SDM should remain active if the key is turned to the

“accessory” or “off” position, New GM took no action to remedy the ignition switch defect or

notify customers that the defect existed.

         505.     During the October 4, 2012 meeting, Mr. Stouffer and other members of the Red

X Team also discussed “revising the ignition switch to increase the effort to turn the key from

Run to Accessory.”

         506.     On October 4, 2012, Mr. Stouffer e-mailed Ray DeGiorgio and asked him to

“develop a high level proposal on what it would take to create a new switch for service with

higher efforts.” On October 5, 2012, Mr. DeGiorgio responded:

                  Brian,

                  In order to provide you with a HIGH level proposal, I need to
                  understand what my requirements are. what is the TORQUE that
                  you desire?

                  Without this information I cannot develop a proposal.

         507.     On October 5, Mr. Stouffer responded to Mr. DeGiorgio’s e-mail, stating:

                  Ray,

                  As I said in my original statement, I currently don’t know what the
                  torque value needs to be. Significant work is required to determine
                  the torque. What is requested is a high level understanding of what
                  it would take to create a new switch.

         508.     Mr. DeGiorgio replied to Mr. Stouffer the following morning:

                  Brian,

                  Not knowing what my requirements are I will take a SWAG at the
                  Torque required for a new switch. Here is my level proposal

                  Assumption is 100 N cm Torque.

                  •        New switch design = Engineering Cost Estimate approx.
                           $300,000




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                  •      Lead Time = 18—24 months from issuance of GM
                         Purchase Order and supplier selection.

                  Let me know if you have any additional questions.

         509.     Mr. Stouffer later admitted in a deposition that Mr. DeGiorgio’s reference to

“SWAG” was an acronym for “Silly Wild-Ass Guess.”

         510.     Mr. DeGiorgio’s cavalier attitude exemplifies New GM’s approach to the safety-

related defects that existed in the ignition switch and airbag system in the Delta Ignition Switch

Vehicles. Rather than seriously addressing the safety-related defects, Mr. DeGiorgio’s e-mails

show he understood the ignition switches were contributing to the crashes and fatalities and he

could not care less.

         511.     It is also obvious from this e-mail exchange that Mr. Stouffer, who was a leader

of the Red X Team, had no problem with Mr. DeGiorgio’s cavalier and condescending response

to the request that he evaluate the redesign of the ignition switches.

         512.     In December 2012, in Pensacola, Florida, Ebram Handy, a New GM engineer,

participated in an inspection of components from Brooke Melton’s Cobalt, including the ignition

switch. At that inspection, Mr. Handy, along with Mark Hood, a mechanical engineer retained

by the Meltons, conducted testing on the ignition switch from Brooke Melton’s vehicle, as well

as a replacement ignition switch for the 2005 Cobalt.

         513.     At that inspection, Mr. Handy observed that the results of the testing showed that

the torque performance on the ignition switch from Brooke Melton’s Cobalt was well below Old

GM’s minimum torque performance specifications. Mr. Handy also observed that the torque

performance on the replacement ignition switch was significantly higher than the torque

performance on the ignition switch in Brooke Melton’s Cobalt.




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         514.     On April 29, 2013, Ray DeGiorgio, the chief design engineer for the ignition

switches in the Delta Ignition Switch Vehicles, was deposed. At his deposition, Mr. DeGiorgio

was questioned about his knowledge of differences in the ignition switches in early model-year

Cobalts and the switches installed in later model-year Cobalts:

                  Q. And I’ll ask the same question. You were not aware before
                  today that GM had changed the spring—the spring on the ignition
                  switch had been changed from ‘05 to the replacement switch?

                  MR. HOLLADAY: Object to the form. Lack of predicate and
                  foundation. You can answer.

                  THE WITNESS: I was not aware of a detent plunger switch
                  change. We certainly did not approve a detent plunger design
                  change.

                  Q. Well, suppliers aren’t supposed to make changes such as this
                  without GM’s approval, correct?

                  A. That is correct.

                  Q. And you are saying that no one at GM, as far as you know, was
                  aware of this before today?

                  MR. HOLLADAY: Object. Lack of predicate and foundation.
                  You can answer.

                  THE WITNESS: I am not aware about this change.

         515.     When Mr. DeGiorgio testified, he knew that he personally had authorized the

ignition switch design change in 2006 (though he continues to claim to the contrary), but he

stated unequivocally that no such change had occurred.

                  c.     New GM received many complaints of power failures in the Delta
                         Ignition Switch Vehicles.

         516.     Throughout the entirety of its corporate existence, New GM received numerous

and repeated complaints of moving engine stalls and/or power failures. These complaints are yet




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more evidence that New GM was fully aware of the Delta Ignition Switch Defect and should

have announced a recall much sooner than it did.

         517.     New GM was aware of these problems year after year and nationwide, as

reflected not only by the internal documents reflecting knowledge and cover-up at high levels,

but in the thousands of customer complaints, some of which are reflected in the common fact

patterns presented by the experiences of the named plaintiffs (as discussed above), but also, and

not by way of limitation, by New GM’s internal complaint logs and other documents.

         518.     To demonstrate the pervasiveness and consistency of the problems, and by way of

examples, New GM received and reviewed complaints of safety issues from Class Members with

Delta Ignition Switch Vehicles in Puerto Rico and in the States of Alaska, Arkansas,

Connecticut, Delaware, Hawaii, Indiana, Kansas, Massachusetts, Montana, Nebraska, Nevada,

New Hampshire, North Dakota, Oregon, Rhode Island, South Dakota, Tennessee, Utah, Virginia,

and Vermont. Documents produced by New GM show that New GM was aware of customer

complaints of stalling Defective Ignition Switch Vehicles in all of these states and territories.

New GM opened at least 38 complaint files between September 2009 and February 2014.

Further, in December 2010, GM closed at least 40 complaint files—which Old GM had opened

before Old GM’s bankruptcy sale in July 2009—without disclosing the safety defect to the

customers, thus further indicating that Old GM’s knowledge of these defective Delta Ignition

Switch Vehicles carried over to New GM.

         519.     New GM was certainly put on notice of safety issues with power steering.

         520.     In a September 14, 2009 e-mail, a customer writes:

                  “THIS IS MY SECOND COMPLAINT I HAVE HAD TO MAKE. I
                  HAVE BEEN DOING RESEARCH ON THIS TOPIC FOR OVER A
                  YEAR NOW. ALL YOU HAVE TO DO IS TYPE IN “COBALT




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                  POWER STEERING” INTO GOOGLE AND MILLIONS OF
                  COMPLAINTS ON VARIOUS WEBSITES AND FORUMS COME UP.
                  LAST YEAR WHEN I FILED A COMPLAINT THERE WAS NO
                  DAMAGE INVOLVED. THIS TIME THERE IS AND IT NEEDS TO
                  BE FIXED. I THINK THERE ARE PLENTY OF PEOPLE
                  COMPLAINING ABOUT THIS SUBJECT. I HAVE A 05’ CHEVY
                  COBALT THAT WHEN DRIVING RANDOMLY THE ELECTRONIC
                  POWER STEERING GOES OUT. I CAN’T DRIVE MORE THAN FIVE
                  MINUTES AND EVERY TIME I GET IN THE CAR IT CUTS OUT.
                  THIS TIME I WAS BACKING OUT OF A DRIVEWAY AND THE
                  POWER STEERING WENT OUT AS I WAS COMING TO MY
                  PARENTS MAILBOX. I WENT TO TURN AND I COULDN’T AND I
                  HIT IT. I HAVE $500 IN DAMAGE THAT I DON’T WANT TO
                  CLAIM TO INSURANCE BECAUSE THEN IT WILL JUST COST
                  MORE IN THE LONG RUN BECAUSE MY INSURANCE WILL GO
                  UP. I AM A FIREFIGHTER IN CENTRAL FLORIDA. I SEE CAR
                  ACCIDENTS ALL THE TIME BECAUSE OF VEHICLE PROBLEMS
                  OR FAILURE. IS IT GOING TO TAKE ME GOING DOWN THE
                  HIGHWAY, SOMEONE PULLING OUT IN FRONT OF ME, AND ME
                  DYING? ONE LESS PUBLIC SAFETY EMPLOYEE IN FLORIDA.143

          521.    During the years 2010 to 2014, New GM’s Technical Assistance Center received

hundreds, if not thousands, of complaints concerning stalling or otherwise malfunctioning

vehicles due to ignition issues, including “heavy key chains.”

          522.    Within the complaint files which New GM closed after Old GM’s bankruptcy

sale—those opened both before and after Old GM’s bankruptcy sale—many customers

complained they did not feel safe in their vehicles because of the stalling. Some customers

described accidents caused by stalling. The airbags did not deploy in some of these accidents.

          523.    One customer, who contacted New GM in February 2014, complained that he was

aware that people were dying from the Delta Ignition Switch Defect and that he refused to risk

the lives of himself, his wife, and his children. He was nearly rear-ended when his vehicle

stalled at 60 mph.


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          GM-MDL2543-004702427 (Highly Confidential).



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          524.    Finally, a customer contacted New GM in January 2011 complaining that he had

read various online forums describing the stalling problem and expressing his outrage that New

GM had done nothing to solve the problem. This customer’s car stalled at 65 mph on the

Interstate.

                  d.     New GM recalls 2.1 million vehicles with defective Delta Ignition
                         Switches in February and March of 2014.

          525.    Under continuing pressure to produce high-ranking employees for deposition in

the Melton litigation, New GM’s Field Performance Review Committee and Executive Field

Action Decision Committee (“Decision Committee”) finally decided to order a recall of some

vehicles with defective Delta Ignition Switches on January 31, 2014.

          526.    Initially, the Decision Committee ordered a recall of only the Chevrolet Cobalt

and Pontiac G5 for model years 2005-2007, and those were the only cars included in the first

recall ordered in February 2014.

          527.    After additional analysis, the Decision Committee expanded the recall on

February 24, 2014, to include the Chevrolet HHR and Pontiac Solstice for model years 2006 and

2007, the Saturn Ion for model years 2003-2007, and the Saturn Sky for model year 2007.

          528.    Public criticism in the wake of these recalls was withering. On March 17, 2014,

Mary Barra issued an internal video, which was broadcast to employees. In the video, Ms. Barra

admits:

                  Scrutiny of the recall has expanded beyond the review by the
                  federal regulators at NHTSA, the National Highway Traffic Safety
                  Administration. As of now, two congressional committees have
                  announced that they will examine the issue. And it’s been reported
                  that the Department of Justice is looking into this matter. . . . These
                  are serious developments that shouldn’t surprise anyone. After all,
                  something went wrong with our process in this instance and
                  terrible things happened.




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         529.     The public backlash continued and intensified. Eventually, New GM expanded

the Delta Ignition Switch recall yet again on March 28, 2014. This expansion finally included all

vehicles that had (or might have) the defective Delta Ignition Switch, and covered all model

years of the Chevrolet Cobalt and HHR, the Pontiac G5 and Solstice, and the Saturn Ion and Sky.

The expanded recall brought the total number of vehicles recalled for defective Delta Ignition

Switches to 2,191,146.

         530.     Several high-ranking New GM employees were summoned to testify before

Congress, including Ms. Barra and executive vice president and in-house counsel Michael

Milliken. Further, in an effort to counter the negative backlash, New GM announced that it had

hired Anton R. Valukas to conduct an internal investigation into the decade-long concealment of

the ignition switch defect.

         531.     As individuals came forward who had been injured and/or whose loved ones were

killed in the Delta Ignition Switch Vehicles, the public criticism continued. Under intense,

continuing pressure, New GM agreed in April 2014 to hire Ken Feinberg to design and

administer a claims program in order to compensate certain victims who were injured or killed in

the Defective Ignition Switch Vehicles. Ms. Barra explained to Congress: “[W]e will make the

best decisions for our customers, recognizing that we have legal obligations and responsibilities

as well as moral obligations. We are committed to our customers, and we are going to work very

hard to do the right thing for our customers.”

         532.     New GM’s compensation of such individuals, however, was limited to the

protocol set forth in the Feinberg Compensation Fund. In the courts, New GM has taken the

position that any accident that occurred prior to the Old GM bankruptcy is barred by the Sale

Order. In addition, New GM has argued that it has no independent responsibility for any vehicle




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manufactured prior to July 10, 2009. This position is obviously inconsistent with the statements

Ms. Barra provided to Congress and the public at large.

         533.     Following the waves of negative publicity surrounding New GM’s recall of the

first 2.1 million defective Delta Ignition Switch Vehicles, New GM was forced to issue a series

of additional recalls for more than 10 million additional Defective Ignition Switch Vehicles, as

summarized below.

         3.       Additional ignition switch low torque recalls.

         534.     In June and July 2014, New GM conducted three additional recalls of more than

10.4 million vehicles for ignition switches with low torque: Safety Recalls 14v355, 14v396, and

14v400.

         535.     Each of these three recalls involves the same defect (low-torque switches that

inadvertently move out of the “run” position on rough roads or due to a weight hanging from the

key or knee interaction with the switch) with the same adverse effect (loss of power to steering,

brakes, and airbag).

                  a.     Low torque Safety Recall 14v355.

         536.     On June 20, 2014, New GM recalled 3,141,731 vehicles in the United States for

ignition switch, or ignition key slot, defects (Recall No. 14v355).

         537.     Approximately 2,349,095 of the vehicles subject to this recall were made by Old

GM, and approximately 792,636 of the vehicles were made by New GM.

         538.     The following vehicles were included in the June 20, 2014 recall: 2005-2009

Buick Lacrosse, 2006-2014 Chevrolet Impala, 2000-2005 Cadillac Deville, 2006-2011 Cadillac

DTS, 2006-2011 Buick Lucerne, and 2006-2008 Chevrolet Monte Carlo.




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          539.    The recall notice states, “In the affected vehicles, the weight on the key ring

and/or road conditions or some other jarring event may cause the ignition switch to move out of

the run position, turning off the engine.” New GM’s internal description of the defect was

similar: “The ignition switch may inadvertently move out of the ‘run’ position if the key ring is

carrying added weight or the vehicle goes off road or experiences some other jarring event.”

Thus, New GM has admitted that all models involved in Safety Recall 14v355 have a common

defect.

          540.    The recall notice also explains that, “[i]f the key is not in the run position, the air

bags may not deploy if the vehicle is involved in a crash, increasing the risk of injury.

Additionally, a key knocked out of the run position could cause loss of engine power, power

steering, and power braking, increasing the risk of a vehicle crash.” This is similar to how New

GM internally described the effect of the defect: “If the ignition switch moves out of the ‘run’

position, there is an effect on power steering and power braking. In addition, the timing of the

key movement out of the “run position, relative to the activation of the sensing algorithm of the

crash event, may result in the airbags not deploying.” New GM has thus admitted that the effect

of the defect is the same for all models involved in Safety Recall 14v355.

          541.    New GM internally described the root cause of the defect as follows: “The

ignition switch torque performance may be below target curve. The system torque performance

may be insufficient to resist energy generated from weight hanging on slotted key.”




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          542.    Well before conducting the June 2014 recall, New GM was aware of hundreds of

complaints at its Technical Assistance Center in which the weight of the key chain was identified

as a source of the problem.144

          543.    The vehicles included in this recall were built on the same platform and their

defective ignition switches have weak detent plungers, just like the Cobalt and other Delta

Ignition Switch Vehicles recalled in February and March of 2014.

          544.    New GM was aware of the ignition switch defect in these vehicles beginning on

or soon after the date of its inception on July 10, 2009, as it acquired all of the knowledge

possessed by Old GM given the continuity in personnel, databases, and operations from Old GM

to New GM. In addition, New GM acquired additional information thereafter. The information,

all of which was known to New GM, included the following facts:

                  a.     New GM knew that, on or about August 25, 2005, Laura Andres, an Old

GM design engineer (who remains employed with New GM), wrote a description of ignition

switch issues that she experienced while operating a 2006 Chevrolet Impala on the highway.

Ms. Andres stated, “While driving home from work on my usual route, I was driving about 45

mph, where the road changes from paved to gravel & then back to paved, some of the gravel had

worn away, and the pavement acted as a speed bump when I went over it. The car shut off. I

took the car in for repairs. The technician thinks it might be the ignition detent, because in a

road test in the parking lot it also shut off.”

                  b.     New GM knew that Old GM employee Larry S. Dickinson, Jr. forwarded

Ms. Andres’ account on August 25, 2005, to four Old GM employees. Mr. Dickinson asked, “Is

this a condition we would expect to occur under some impacts?”

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          See, e.g., GM-MDL2543-00011834-35.



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                  c.     New GM knew that, on August 29, 2005, Old GM employee Jim Zito

forwarded the messages to Ray DeGiorgio and asked, “Do we have any history with the ignition

switch as far as it being sensitive to road bumps?”

                  d.     New GM knew that Mr. DeGiorgio responded the same day, stating, “To

date there has never been any issues with the detents being too light.”

                  e.     New GM knew that, on August 30, 2005, Ms. Andres sent an e-mail to

Old GM employee Jim Zito and copied ten other Old GM employees, including Ray DeGiorgio.

Ms. Andres, in her e-mail, stated, “I picked up the vehicle from repair. No repairs were

done. . . . The technician said there is nothing they can do to repair it. He said it is just the design

of the switch. He said other switches, like on the trucks, have a stronger detent and don’t

experience this.”

                  f.     New GM knew that Ms. Andres’ e-mail continued: “I think this is a

serious safety problem, especially if this switch is on multiple programs. I’m thinking big recall.

I was driving 45 mph when I hit the pothole and the car shut off and I had a car driving behind

me that swerved around me. I don’t like to imagine a customer driving with their kids in the

back seat, on I-75 and hitting a pothole, in rush-hour traffic. I think you should seriously

consider changing this part to a switch with a stronger detent.”

         545.     On or after July 10, 2009, senior executives and engineers at New GM knew that

some of the information relayed to allay Ms. Andres’ concerns was inaccurate. For example,

Ray DeGiorgio knew that there had been “issues with detents being too light.” Instead of

relaying those “issues,” Mr. DeGiorgio falsely stated that there were no such “issues.”

         546.     New GM has tried to characterize the recall of these 3.14 million vehicles as

being different than the recall for the ignition switch defect in the Cobalts and other Delta




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Ignition Switch Vehicles when in reality, and for all practical purposes, it is for exactly the same

defect that creates exactly the same safety risks. New GM has attempted to label and describe

the ignition key slot defect as being different in order to provide it with cover and an explanation

for why it did not recall these 3.14 million vehicles much earlier, and why it is not providing a

new ignition switch for the 3.14 million vehicles.

         547.     From 2001 to the present, Old GM and New GM received numerous reports from

consumers regarding complaints, crashes, injuries, and deaths linked to this safety defect. The

following are examples of just a few of the many reports and complaints regarding the defect that

New GM knew at the time it came into existence or knew post-sale:

         548.     New GM knew of a January 23, 2001 complaint filed with NHTSA involving a

2000 Cadillac Deville and an incident that occurred on January 23, 2001, in which the following

was reported:

                  COMPLETE ELECTRICAL SYSTEM AND ENGINE
                  SHUTDOWN WHILE DRIVING. HAPPENED THREE
                  DIFFERENT TIMES TO DATE. DEALER IS UNABLE TO
                  DETERMINE CAUSE OF FAILURE. THIS CONDITION
                  DEEMED TO BE EXTREMELY HAZARDOUS BY OWNER.
                  NHTSA ID Number: 739850.

         549.     New GM knew of a June 12, 2001 complaint filed with NHTSA involving a 2000

Cadillac Deville and an incident that occurred on June 12, 2001, in which the following was

reported:

                  INTERMITTENTLY AT 60MPH VEHICLE WILL STALL OUT
                  AND DIE. MOST TIMES VEHICLE WILL START UP
                  IMMEDIATELY AFTER. DEALER HAS REPLACED MAIN
                  CONSOLE 3 TIMES, AND ABS BRAKES. BUT, PROBLEM
                  HAS NOT BEEN CORRECTED. MANUFACTURER HAS
                  BEEN NOTIFIED.*AK NHTSA ID Number: 890227.




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         550.     New GM knew of a January 27, 2003 complaint filed with NHTSA involving a

2001 Cadillac Deville and an incident that occurred on January 27, 2003, in which the following

was reported:

                  WHILE DRIVING AT HIGHWAY SPEED ENGINE SHUT
                  DOWN, CAUSING AN ACCIDENT. PLEASE PROVIDE ANY
                  ADDITIONAL INFORMATION.*AK NHTSA ID Number:
                  10004759.

         551.     New GM knew of a September 18, 2007 complaint filed with NHTSA involving a

2006 Chevrolet Impala and an incident that occurred on September 15, 2006, in which it was

reported that:

                  TL*THE CONTACTS SON OWNS A 2006 CHEVROLET
                  IMPALA. WHILE DRIVING APPROXIMATELY 33 MPH AT
                  NIGHT, THE CONTACTS SON CRASHED INTO A STALLED
                  VEHICLE. HE STRUCK THE VEHICLE ON THE DRIVER
                  SIDE DOOR AND NEITHER THE DRIVER NOR THE
                  PASSENGER SIDE AIR BAGS DEPLOYED. THE DRIVER
                  SUSTAINED MINOR INJURIES TO HIS WRIST. THE
                  VEHICLE SUSTAINED MAJOR FRONT END DAMAGE. THE
                  DEALER WAS NOTIFIED AND STATED THAT THE CRASH
                  HAD TO HAVE BEEN A DIRECT HIT ON THE SENSOR. THE
                  CURRENT AND FAILURE MILEAGES WERE 21,600. THE
                  CONSUMER STATED THE AIR BAGS DID NOT DEPLOY.
                  THE CONSUMER PROVIDED PHOTOS OF THE VEHICLE.
                  UPDATED 10/10/07 *TR NHTSA ID Number: 10203350.

         552.     New GM knew of an April 2, 2009 complaint filed with NHTSA involving a

2005 Buick LaCrosse and an incident that occurred on April 2, 2009, in which the following was

reported:

                  POWER STEERING WENT OUT COMPLETELY, NO
                  WARNING JUST OUT. HAD A VERY HARD TIME
                  STEERING CAR. LUCKY KNOW ONE WAS HURT. *TR
                  NHTSA ID Number: 10263976.




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         553.     New GM continued to receive reports regarding the defect. For example, on

February 15, 2010, New GM became aware of a complaint filed with NHTSA involving a 2008

Buick LaCrosse and an incident that occurred on February 13, 2010, in which a driver reported:

                  WHILE DRIVING AT 55MPH I RAN OVER A ROAD BUMP
                  AND MY 2008 BUICK LACROSSE SUPER SHUT
                  OFF(STALLED). I COASTED TO THE BURM, HIT BRAKES
                  TO A STOP. THE CAR STARTED ON THE FIRST TRY.
                  CONTINUED MY TRIP WITH NO INCIDENCES. TOOK TO
                  DEALER AND NO CODES SHOWED IN THEIR COMPUTER.
                  CALLED GM CUSTOMER ASSISTANCE AND THEY GAVE
                  ME A CASE NUMBER. NO BULLETINS. SCARY TO DRIVE.
                  TRAFFIC WAS LIGHT THIS TIME BUT MAY NOT BE THE
                  NEXT TIME. *TR. NHTSA ID Number: 10310692.

         554.     On April 21, 2010, New GM became aware of a complaint filed with NHTSA

involving a 2006 Buick Lucerne and an incident that occurred on March 22, 2010, in which the

following was reported:

                  06 BUICK LUCERNE PURCHASED 12-3-09, DIES OUT
                  COMPLETELY WHILE DRIVING AT VARIOUS SPEEDS.
                  THE CAR HAS SHUT OFF ON THE HIGHWAY 3 TIMES
                  WITH A CHILD IN THE CAR. IT HAS OCCURRED A TOTAL
                  OF 7 TIMES BETWEEN 1-08-10 AND 4-17-10. THE CAR IS
                  UNDER FACTORY WARRANTY AND HAS BEEN
                  SERVICED 7 TIMES BY 3 DIFFERENT BUICK
                  DEALERSHIPS. *TR NHTSA ID Number: 10326754.

         555.     On April 29, 2010, New GM became aware of a complaint filed with NHTSA

involving a 2005 Buick LaCrosse and an incident that occurred on March 21, 2010, in which it

was reported that:

                  TRAVELING ON INTERSTATE 57 DURING DAYTIME
                  HOURS. WHILE CRUISING AT 73 MILES PER HOUR IN THE
                  RIGHT HAND LANE, THE VEHICLE SPUTTERED AND
                  LOST ALL POWER. I COASTED TO A STOP OFF THE SIDE
                  OF THE ROAD. I RESTARTED THE VEHICLE AND
                  EVERYTHING SEEMED OK, SO I CONTINUED ON. A
                  LITTLE LATER IT SPUTTERED AGAIN AND STARTED




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                  LOSING POWER. THE POWER CAME BACK BEFORE IT
                  CAME TO A COMPLETE STOP. I CALLED ON STAR FOR A
                  DIAGNOSTIC CHECK AND THEY TOLD ME I HAD A FUEL
                  SYSTEM PROBLEM AND THAT IF THE CAR WOULD RUN
                  TO CONTINUE THAT IT WAS NOT A SAFETY ISSUE. THEY
                  TOLD ME TO TAKE IT TO A DEALER FOR REPAIRS WHEN
                  I GOT HOME. I TOOK THE CAR WORDEN-MARTEN
                  SERVICE CENTER FOR REPAIRS ON MARCH 23RD. TO
                  REPAIR THE CAR THEY: 1.REPLACED CAT CONVERTER
                  AND OXYGEN SENSOR 125CGMPP- $750.47 A SECOND
                  INCIDENT OCCURRED WHILE TRAVELING ON
                  INTERSTATE 57 DURING DAYTIME HOURS. I WAS
                  PASSING A SEMI TRACTOR TRAILER WITH THREE CARS
                  FOLLOWING ME WHILE CRUISING AT 73 MILES PER
                  HOUR WHEN THE VEHICLE SPUTTERED AND LOST ALL
                  POWER PUTTING ME IN A VERY DANGEROUS
                  SITUATION. THE VEHICLE COASTED DOWN TO ABOUT
                  60 MILES PER HOUR BEFORE IT KICKED BACK IN. I IN
                  THE MEAN TIME HAD DROPPED BACK BEHIND THE SEMI
                  WITH THE THREE CARS BEHIND ME AND WHEN I COULD
                  I PULLED BACK INTO THE RIGHT HAND LANE. THIS WAS
                  A VERY DANGEROUS SITUATION FOR ME AND MY WIFE.
                  I CALLED ON STAR FOR A DIAGNOSTIC CHECK AND
                  THEY TOLD ME THAT EVERYTHING WAS OK. I TOOK
                  THE CAR WORDEN-MARTEN SERVICE CENTER FOR
                  REPAIRS AGAIN ON APRIL 19TH TO REPAIR THE CAR
                  THEY: 1.REPLACED MASS -AIR FLOW UNIT AND SENSOR
                  $131.39 WHO KNOWS IF IT IS FIXED RIGHT THIS TIME?
                  THIS WAS A VERY DANGEROUS SITUATION TO BE IN
                  FOR THE CAR TO FAIL. *TR NHTSA ID Number: 10328071.

         556.     On June 2, 2010, New GM became aware of a complaint filed with NHTSA

involving a 2007 Buick LaCrosse and an incident that occurred on March 1, 2010, in which the

following was reported:

                  2007 BUICK LACROSSE SEDAN. CONSUMER STATES
                  MAJOR SAFETY DEFECT. CONSUMER REPORTS WHILE
                  DRIVING THE ENGINE SHUT DOWN 3 TIMES FOR NO
                  APPARENT REASON *TGW NHTSA ID Number: 10334834.




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         557.     On February 20, 2014, New GM became aware of a complaint filed with NHTSA

involving a 2006 Chevrolet Monte Carlo and an incident that occurred on January 16, 2014, in

which the following was reported:

                  I WAS DRIVING GOING APPROXIMATELY 45 MPH, I HIT A
                  POT HOLE AND MY VEHICLE CUT OFF. THIS HAS
                  HAPPENED THREE TIMES SINCE JANUARY. THE SAME
                  THING HAPPENED THE SECOND TIME. THE LAST TIME IT
                  OCCURRED WAS TUESDAY, FEBRUARY 18. THIS TIME I
                  WAS ON THE EXPRESSWAY TRAVELING
                  APPROXIMATELY 75 MPH, HIT A BUMP AND IT CUT OFF.
                  THE CAR STARTS BACK UP WHEN I PUT IT IN NEUTRAL.
                  *TR NHTSA ID Number: 10565104.

         558.     On March 3, 2014, New GM became aware of a complaint filed with NHTSA

involving a 2006 Chevrolet Impala and an incident that occurred on February 29, 2012, in which

the following was reported:

                  I WAS DRIVING MY COMPANY ASSIGNED CAR DOWN A
                  STEEP HILL WHEN THE ENGINE STALLED WITHOUT
                  WARNING. THIS HAS HAPPENED 5 OTHER TIMES WITH
                  THIS VEHICLE. THIS WAS THE FIRST TIME I WAS
                  TRAVELING FAST THOUGH. IT’S LIKE THE ENGINE JUST
                  TURNS OFF. THE LIGHTS ARE STILL ON BUT I LOSE THE
                  POWER STEERING AND BRAKES. IT WAS TERRIFYING
                  AND EXTREMELY DANGEROUS. THIS PROBLEM
                  HAPPENS COMPLETELY RANDOMLY WITH NO
                  WARNING. IT HAS HAPPENED TO OTHERS IN MY
                  COMPANY WITH THEIR IMPALAS. I LOOKED ONLINE
                  AND FOUND NUMEROUS OTHER INSTANCES OF CHEVY
                  IMPALAS OF VARIOUS MODEL YEARS DOING THE SAME
                  THING. IT IS CURRENTLY IN THE REPAIR SHOP AND THE
                  MECHANIC CAN’T DUPLICATE THE PROBLEM. I TOLD
                  THEM ITS RANDOM AND OCCURS ABOUT EVERY 4
                  MONTHS OR SO. I AM AFRAID I WILL HAVE TO GET
                  BACK IN THIS DEATH TRAP DUE TO MY EMPLOYER
                  MAKING ME. PLEASE HELP- I DON’T WANT TO DIE
                  BECAUSE CHEVROLET HAS A PROBLEM WITH THEIR
                  ELECTRICAL SYSTEMS IN THEIR CARS. *TR NHTSA ID
                  Number: 10567458.




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         559.     On March 11, 2014, New GM became aware of a complaint filed with NHTSA

involving a 2007 Cadillac DTS and an incident that occurred on January 27, 2013, in which the

following was reported:

                  ENGINE STOPPED. ALL POWER EQUIPMENT CEASED TO
                  FUNCTION. I WAS ABLE TO GET TO THE SIDE OF THE
                  FREEWAY. PUT THE CAR IN NEUTRAL, TURNED THE KEY
                  AND THE CAR STARTED AND CONTINUED FOR THE
                  DURATION OF THE 200 MILE TRIP. THE SECOND TIME
                  APPROXIMATELY THREE WEEKS AGO MY WIFE WAS
                  DRIVING IN HEAVY CITY TRAFFIC WHEN THE SAME
                  PROBLEM OCCURRED AND SHE LOST THE USE OF ALL
                  POWER EQUIPMENT. SHE WAS ABLE TO PUT THE CAR IN
                  PARK AND GET IT STARTED AGAIN WITHOUT INCIDENT.
                  I CALLED GM COMPLAINT DEPARTMENT. THEY
                  INSTRUCTED ME TO TAKE THE CAR TO A DEALERSHIP
                  AND HAVE A DIAGNOSTIC TEST DONE ON IT. THIS WAS
                  DONE AND NOTHING WAS FOUND TO BE WRONG WITH
                  THE VEHICLE. I AGAIN CALLED CADILLAC COMPLAINT
                  DEPARTMENT AND OPENED A CASE. THIS TIME I WAS
                  TOLD TO TAKE THE CAR BACK TO THE DEALERSHIP
                  AND ASK THE SERVICE DEPARTMENT TO RECHECK IT. I
                  INFORMED THEM I HAVE THE DIAGNOSTIC REPORT
                  SHOWING NOTHING WRONG WAS FOUND. THEY
                  SUGGESTED I TAKE IT BACK AND HAVE THE SERVICE
                  PEOPLE DRIVE THE CAR. THIS DIDN’T MAKE ANY SENSE
                  BECAUSE I DON’T KNOW WHEN AND WHERE THE
                  PROBLEM WILL OCCUR AGAIN. WHAT WAS I TO DO FOR
                  A CAR WHILE THE DEALERSHIP HAD MINE? I INQUIRED
                  OF THE CADILLAC REPRESENTATIVE IF THIS CAR MAY
                  HAVE THE SAME IGNITION AS THE CARS CURRENTLY
                  BEING RECALLED BY GM. THEY WERE UNABLE TO
                  ANSWER THAT QUESTION. THEY FINALLY STATED THE
                  ONLY REMEDY WAS TO TAKE IT BACK TO THE
                  DEALERSHIP. IF THIS PROBLEM OCCURS AGAIN
                  SOMEONE COULD EASILY GET INJURED OR KILLED. I
                  WOULD APPRECIATE ANY ASSISTANCE YOU CAN GIVE
                  ME ON HOW TO RESOLVE THIS MATTER. NHTSA ID
                  Number: 10568491.




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         560.     On March 19, 2014, New GM became aware of a complaint filed with NHTSA

involving a 2006 Buick LaCrosse and an incident that occurred on March 15, 2014, in which the

following was reported:

                  WHILE DRIVING UP A LONG INCLINE ON I-10 VEHICLE
                  BEHAVED AS IF THE IGNITION HAD BEEN TURNED OFF
                  AND KEY REMOVED. IE: ENGINE OFF, NO LIGHTS OR
                  ACCESSORIES, NO WARNING LIGHTS ON DASH. TRAFFIC
                  WAS HEAVY AND MY WIFE WAS FORTUNATE TO
                  SAFELY COAST INTO SHOULDER. INCIDENT RECORDED
                  WITH BUICK, HAVE REFERENCE NUMBER. *TR NHTSA
                  ID Number: 10573586.

         561.     On July 1, 2014, New GM became aware of a complaint filed with NHTSA

involving a 2006 Buick LaCrosse and an incident that occurred on October 25, 2012, in which

the following was reported:

                  TRAVELING 40 MPH ON A FOUR LANE ABOUT TO PASS A
                  TRUCK. MOTOR STOPPED, POWER STEERING OUT,
                  POWER BRAKES OUT, MANAGED TO COAST ACROSS
                  THREE LANES TO SHOULDER TO PARK. WALKED 1/4
                  MILES TO STORE CALLED A LOCAL GARAGE. CAR STILL
                  WOULD NOT START, TOWED TO HIS GARAGE. CHECKED
                  GAS, FUEL PRESSURE OKAY BUT NO SPARK. MOVED
                  SOME CONNECTORS AROUND THE STARTING MODULE
                  AND CAR STARTED. HAVE NOT HAD ANY PROBLEMS
                  SINCE, HAVE THE FEAR THAT I WILL BE ON A CHICAGO
                  TOLL ROAD AND IT WILL STOP AGAIN. NHTSA ID
                  Number: 10607535.

         562.     On July 12, 2014, New GM became aware of a complaint filed with NHTSA

involving a 2009 Chevrolet Impala and an incident that occurred on March 19, 2010, in which

the following was reported:

                  I HAD JUST TURNED ONTO THIS ROAD, HAD NOT EVEN
                  GONE A MILE. NO SPEED, NO BLACK MARKS, CAR SHUT
                  DOWN RAN OFF THE ROAD AND HIT A TREE STUMP.
                  TOTAL THE CAR. THE STEERING WHEEL WAS BENT
                  ALMOST IN HALF. I HAVE PICTURES OF THE CAR. I GOT




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                  THIS CAR NEW, SO ALL MILES WE’RE PUT ON IT BY ME. I
                  BROKE MY HIP, BACK, KNEE, DISLOCATED MY ELBOW,
                  CRUSHED MY ANKLE AND FOOT. HAD A HEAD INJURY,
                  A DEFLATED LUNG. I WAS IN THE HOSPITAL FOR TWO
                  MONTHS AND A NURSING HOME FOR A MONTH. I HAVE
                  HAD 14 SURGERIES. STILL NOT ABLE TO WORK OR DO A
                  LOT OF THINGS FOR MY SELF. WITH THE RECALLS
                  SHOWING THE ISSUES OF THE ENGINE SHUTTING OFF, I
                  NEED THIS LOOKED INTO. NHTSA ID Number: 10610093.

         563.     On July 24, 2014, New GM became aware of a complaint filed with NHTSA

involving a 2008 Buick LaCrosse and an incident that occurred on July 15, 2014, in which the

following was reported:

                  WHILE DRIVING NORTH ON ALTERNATE 69 HIGHWAY
                  AT 65 MPH AT 5:00 P.M., MY VEHICLE ABRUPTLY LOSS
                  POWER EVEN THOUGH I TRIED TO ACCELERATE. THE
                  ENGINE SHUT OFF SUDDENLY AND WITHOUT WARNING.
                  VEHICLE SLOWED TO A COMPLETE STOP. I WAS
                  DRIVING IN THE MIDDLE LANE AND WAS UNABLE TO
                  GET IN THE SHOULDER LANE BECAUSE I HAD NO
                  PICKUP (UNABLE TO GIVE GAS TO ACCELERATE) SO MY
                  HUSBAND AND I WERE CAUGHT IN FIVE 5:00 TRAFFIC
                  WITH CARS WHIPPING AROUND US ON BOTH SIDES AND
                  MANY EXCEEDING 65 MPH. I PUT ON MY EMERGENCY
                  LIGHTS AND IMMEDIATELY CALLED ON-STAR. I WAS
                  UNABLE TO RESTART THE ENGINE. THANK GOD FOR
                  ON-STAR BECAUSE FROM THAT POINT ON, I WAS IN
                  TERROR WITNESSING CARS COMING UPON US NOT
                  SLOWING UNTIL THEY REALIZED I WAS AT A STAND
                  STILL WITH LIGHTS FLASHING. THE CARS WOULD
                  SWERVE TO KEEP FROM HITTING US. IT TOOK THE
                  HIGHWAY PATROL AND POLICE 15 MINUTES TO GET TO
                  US BUT DURING THAT TIME, I RELIVED VISIONS OF US
                  BEING KILLED ON THE HIGHWAY. I CANNOT DESCRIBE
                  THE HORROR, LOOKING OUT MY REAR VIEW MIRROR,
                  WITNESSING OUR DEMISE TIME AFTER TIME. THOSE 15
                  MINUTES SEEMED LIKE AN ETERNITY. WHEN THE
                  HIGHWAY PATROL ARRIVED THEY CLOSED LANES AND
                  ASSISTED IN PUSHING CAR OUT OF THE HIGHLY
                  TRAFFIC LANES. IT TOOK MY HUSBAND AND I BOTH TO
                  TURN THE STEERING WHILE IN NEUTRAL. THE CAR WAS
                  TOWED TO CONKLIN FANGMAN KC DEALERSHIP AND I




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                  HAD TO REPLACE IGNITION COIL AND MODULE THAT
                  COST ME $933.16. THEY SAID THESE PARTS WERE NOT
                  ON THE RECALL LIST, WHICH I HAVE FOUND OUT SINCE
                  THEN GM HAS PUT DEALERSHIPS ON NOTICE OF THIS
                  PROBLEM. IT HAS SOMETHING TO DO WITH SUPPLYING
                  ENOUGH MANUFACTURED PARTS TO TAKE CARE OF
                  RECALL. IF I COULD AFFORD TO PURCHASE ANOTHER
                  CAR I WOULD BECAUSE I DONT FEEL SAFE ANY
                  LONGER IN THIS CAR. EMOTIONALLY I AM STILL
                  SUFFERING FROM THE TRAUMA. NHTSA ID Number:
                  10604820.

         564.     Notwithstanding New GM’s recall, the reports and complaints relating to this

defect have continued to pour into New GM. Such complaints and reports indicate that New

GM’s proffered recall “fix” does not work.

         565.     For example, on August 2, 2014, New GM became aware of a complaint filed

with NHTSA involving a 2006 Buick LaCrosse and an incident that occurred on July 12, 2014,

in which the following was reported:

                  WHILE TRAVELING IN THE FAST LANE ON THE GARDEN
                  STATE PARKWAY I HIT A BUMP IN THE ROAD, THE
                  AUTO SHUT OFF. WITH A CONCRETE DIVIDER ALONG
                  SIDE AND AUTOS APPROACHING AT HIGH SPEED, MY
                  WIFE AND DAUGHTER SCREEMING I MANAGED TO GET
                  TO THE END OF THE DIVIDER WERE I COULD TURN OFF
                  THE AUTO RESTARTED ON 1ST TRY BUT VERY SCARY.
                  NHTSA ID Number: 10618391.

         566.     On August 18, 2014, New GM became aware of a complaint filed with NHTSA

involving a 2007 Buick LaCrosse and an incident that occurred on August 18, 2014, in which the

following was reported:

                  TL* THE CONTACT OWNS A 2007 BUICK LACROSSE. THE
                  CONTACT STATED WHILE DRIVING APPROXIMATELY 60
                  MPH, SHE HIT A POT HOLE AND THE VEHICLE STALLED.
                  THE VEHICLE COASTED TO THE SHOULDER OF THE
                  ROAD. THE VEHICLE WAS RESTARTED AND THE
                  CONTACT WAS ABLE TO DRIVE THE VEHICLE AS




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                  NORMAL. THE CONTACT RECEIVED A RECALL NOTICE
                  UNDER NHTSA CAMPAIGN NUMBER: 14V355000
                  (ELECTRICAL SYSTEM), HOWEVER THE PARTS NEEDED
                  FOR THE REPAIRS WAS UNAVAILABLE. THE VEHICLE
                  WAS NOT REPAIRED. THE MANUFACTURER WAS NOT
                  NOTIFIED OF THE FAILURE. THE APPROXIMATE
                  FAILURE MILEAGE WAS 110,000. NHTSA ID Number:
                  10626067.

         567.     On August 20, 2014, New GM became aware of a complaint filed with NHTSA

involving a 2007 Chevrolet Impala and an incident that occurred on August 6, 2014, in which it

was reported that:

                  TL* THE CONTACT OWNS A 2007 CHEVROLET IMPALA.
                  THE CONTACT STATED THAT WHILE DRIVING 25 MPH,
                  THE VEHICLE STALLED WITHOUT WARNING. THE
                  CONTACT RECEIVED A NOTIFICATION FOR RECALL
                  NHTSA CAMPAIGN NUMBER: 14V355000 (ELECTRICAL
                  SYSTEM). THE VEHICLE WAS TAKEN TO AN
                  INDEPENDENT MECHANIC WHERE THE TECHNICIAN
                  ADVISED THE CONTACT TO REMOVE THE KEY FOB AND
                  ANY OTHER OBJECTS. THE VEHICLE WAS NOT
                  REPAIRED. THE MANUFACTURER WAS MADE AWARE OF
                  THE FAILURE. THE FAILURE MILEAGE WAS 79,000.
                  NHTSA ID Number: 10626659.

         568.     On August 27, 2014, New GM became aware of the following complaint filed

with NHTSA involving a 2008 Chevrolet Impala and an incident that occurred on August 27,

2014, in which it was reported that:

                  TL-THE CONTACT OWNS A 2008 CHEVROLET IMPALA.
                  THE CONTACT STATED WHILE DRIVING
                  APPROXIMATELY 50 MPH, THE VEHICLE LOST POWER
                  AND THE STEERING WHEEL SEIZED WITHOUT
                  WARNING. AS A RESULT, THE CONTACT CRASHED INTO
                  A POLE AND THE AIR BAGS FAILED TO DEPLOY. THE
                  CONTACT SUSTAINED A CONCUSION, SPRAINED NECK,
                  AND WHIPLASH WHICH REQUIRED MEDICAL
                  ATTENTION. THE POLICE WAS NOT FILED. THE VEHICLE
                  WAS TOWED TO A TOWING COMPANY. THE CONTACT
                  RECEIVED NOTIFICATION OF NHTSA CAMPAIGN ID




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                  NUMBER: 14V355000 (ELECTRICAL SYSTEM), HOWEVER
                  THE PARTS ARE NOT AVAILABLE TO PERFORM THE
                  REPAIRS. THE VEHICLE WAS NOT REPAIRED. THE
                  MANUFACTURER WAS NOT NOTIFIED OF THE FAILURE.
                  THE APPROXIMATE FAILURE MILEAGE WAS 70,000. MF.
                  NHTSA ID Number: 10628704.

          569.    New GM knew that this serious safety defect existed for years yet did nothing to

warn the public or even attempt to correct the defect in these vehicles until late June 2014 when

New GM finally made the decision to implement a recall.

          570.    The “fix” that New GM offered as part of the recall is to modify the ignition key

from a “slotted” key to a “hole” key. This is insufficient and does not adequately address the

safety risks posed by the defect. First, New GM was “VERY concerned about the ‘cost’

associated with this particular field action, mainly because it involves so many vehicles,” and

“[t]hey have asked that I ‘remind’ you that we need to keep the costs of these inserts ‘very

low.’”145 Key inserts were chosen as the “obvious choice” “[c]ost-wise,” even though one

engineer expressed concerns that the inserts fall out.146 The ignition key and switch remain

prone to inadvertently moving from the “run” to the “accessory” position. Simply changing the

key slot or taking other keys and fobs off of key rings is New GM’s attempt to make consumers

responsible for the safety of New GM and Old GM vehicles and to divert its own responsibility

to make the vehicles safe. New GM considered replacing the ignition switch but rejected the

remedy on the basis of cost, and New GM’s “fix” does not adequately address the inherent

dangers and safety threats posed by the defect in the design.




    145
          GM-MDL2543-000766203.
    146
          See GM-MDL2543-002827790.



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         571.     Third, New GM is not addressing the other design issues that create safety risks in

connection with this defect. New GM is not altering the algorithm that prevents the airbags from

deploying when the ignition leaves the “run” position even when the vehicle is moving at high

speed. Fourth, New GM is not altering the placement of the ignition switch in an area where the

driver’s knees may inadvertently cause the ignition to move out of the “run” position.

                  b.     Low torque Safety Recalls 14v394 and 14v400.

         572.     On July 2, 2014, New GM recalled 554,328 vehicles in the United States for

ignition switch defects (Recall Number 14v394).

         573.     The July 2 recall applied to the 2003-2014 Cadillac CTS and the 2004-2006

Cadillac SRX. Approximately 100,000 of the vehicles involved in Recall No. 14v394 were

manufactured and/or sold by New GM.

         574.     The recall notice explains that the weight on the key ring and/or road conditions

or some other jarring event may cause the ignition switch to move out of the “run” position,

turning off the engine. Further, if the key is not in the “run” position, the airbags may not deploy

in the event of a collision, increasing the risk of injury. Internally, New GM characterized the

defect as “The ignition switch may move from RUN to ACCESSORY or OFF due to driver

interaction with the key or due to the weight of objects on the key ring.” Thus, New GM has

admitted that all vehicles subject to Safety Recall 14v394 have the same defect.

         575.     New GM internally described the effect of the defect as follows: “This will result

in a partial loss of electrical power and turn off the engine. Power steering/braking will be

affected and the air bags may not deploy if the vehicle is involved in a crash, increasing the risk

of injury or fatality.” New GM has thus admitted that the effect of the defect is the same for all

models involved in Safety Recall 14v394.




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          576.    On July 3, 2014, New GM recalled 5,877,718 additional vehicles in the United

States for ignition switch defects (Recall No. 14v400).

          577.    The following vehicles were included in Recall No. 14v400: 1997-2005

Chevrolet Malibu, 2000-2005 Chevrolet Impala, 2000-2005 Chevrolet Monte Carlo, 2000-2005

Pontiac Grand Am, 2004-2008 Pontiac Grand Prix, 1998-2002 Oldsmobile Intrigue, and 1999-

2004 Oldsmobile Alero. All of the vehicles involved in Recall No. 14v400 were manufactured

by Old GM.

          578.    The recall notice states that the weight on the key and/or road conditions or some

other jarring event may cause the ignition switch to move out of the “run” position, turning off

the engine. If the key is not in the “run” position, the airbags may not deploy if the vehicle is

involved in a collision, increasing the risk of injury. New GM internally described the defect

similarly: “The ignition switch may inadvertently move out of the ‘run’ position if the key ring

is carrying added weight and the vehicle goes off road or experiences some other jarring event.”

Thus, New GM has admitted that all vehicles subject to Safety Recall 14v400 have the same

defect.

          579.    New GM described the effect of the defect as follows: “If the key ring is carrying

added weight and the vehicle goes off road or experiences some other jarring event, it may

unintentionally move the key away from the ‘run’ position. If this occurs, engine power, power

steering and power braking will be affected, increasing the risk of a crash. The timing of the key

movement out of the ‘run’ position, relative to the activation of the sensing algorithm of the

crash event, may result in the airbags not deploying, increasing the potential for occupant injury

in certain kinds of crashes.” New GM has thus admitted that the effect of the defect is the same

for all models involved in Safety Recall 14v400.




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         580.     New GM internally described the root cause of the defect as follows: “The

ignition switch torque performance may be below target curve. The system torque performance

may be insufficient to resist energy generated from weight hanging on slotted key.”

         581.     In both Safety Recall 14v394 and 14v400, New GM notified NHTSA and the

public that the recall was intended to address a defect involving unintended or “inadvertent key

rotation” within the ignition switch of the vehicles. As with the ignition key defect announced

June 20, however, the defects for which these vehicles have been recalled is directly related to

the ignition switch defect in the Cobalt and other Defective Ignition Switch Vehicles and

involves the same safety risks and dangers.

         582.     Once again, the unintended ignition rotation defect is substantially similar to and

relates directly to the other ignition switch defects, including the Delta Ignition Switch Vehicles.

Like the other ignition switch defects, the unintended ignition key rotation defect poses a serious

and dangerous safety risk because it can cause a vehicle to stall while in motion by causing the

key in the ignition to inadvertently move from the “on” or “run” position to the “off” or

“accessory” position. Like the other ignition switch defects, the unintended ignition key rotation

defect can result in a loss of power steering, power braking, and increase the risk of a crash. And

as with the other ignition switch defects, if a crash occurs, the airbags will not deploy because of

the unintended ignition key rotation defect.

         583.     The unintended ignition key rotation defect involves several problems, and they

are identical to the problems in the other Defective Ignition Switch Vehicles: a weak detent

plunger, the low positioning of the ignition on the steering column, and the algorithm that

renders the airbags inoperable when the vehicle leaves the “run” position.




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         584.     The 2003-2006 Cadillac CTS and the 2004-2006 Cadillac SRX use the same

Delphi switch and have inadequate torque for the “run”-”accessory” direction of the key rotation.

This was known to Old GM and New GM, and was the basis for a change that was made to a

stronger detent plunger for the 2007 and later model years of the SRX model. The 2007 and

later CTS vehicles used a switch manufactured by Dalian Alps.

         585.     In 2010, New GM changed the CTS key from a “slot” to a “hole” design to

“reduce an observed nuisance” of the key fob contacting the driver’s leg. But in 2012, a New

GM employee reported two running stalls of a 2012 CTS that had a “hole” key and the stronger

detent plunger switch. When New GM did testing in 2014 of the “slot” versus “hole” keys, it

confirmed that the weaker detent plunger-equipped switches used in the older CTS and SRX

could inadvertently move from “run” to “accessory” or “off” when the “vehicle goes off road or

experience[s] some other jarring event.”

         586.     New GM has tried to characterize the recall of these 7.3 million vehicles as being

different than the Delta Ignition Switch recall even though these recalls are aimed at addressing

the same defects and safety risks as those that gave rise to the other ignition switch defect recalls.

New GM has attempted to portray the unintended ignition key rotation defect as being different

from the other ignition switch defects in order to deflect attention from the severity and

pervasiveness of the ignition switch defect, to try to provide a story and plausible explanation for

why it did not recall these 7.3 million vehicles much earlier, and to avoid providing new,

stronger ignition switches as a remedy.

         587.     Further, New GM acquired knowledge of the defects in these vehicles on or

shortly after July 10, 2009. On that date, it acquired knowledge of the following facts through




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the knowledge of personnel who transferred from Old GM as well as through databases and

documents that transferred to New GM, as discussed above:

                  a.     New GM knew that, in January of 2003, Old GM opened an internal

investigation after it received complaints from a Michigan GM dealership that a customer had

experienced a power failure while operating his model year 2003 Pontiac Grand Am.

                  b.     New GM knew that, during the investigation, Old GM’s Brand Quality

Manager for the Grand Am visited the dealership and requested that the affected customer

demonstrate the problem. The customer was able to recreate the shutdown event by driving over

a speed bump at approximately 30-35 mph.

                  c.     New GM knew that the customer’s key ring was allegedly quite heavy. It

contained approximately 50 keys and a set of brass knuckles.

                  d.     New GM knew that in May 2003, Old GM issued a voicemail to

dealerships describing the defective ignition condition experienced by the customer in the Grand

Am. Old GM identified the relevant population of the Defective Vehicles as the 1999-2003

Chevrolet Malibu, Oldsmobile Alero, and Pontiac Grand Am.

                  This information goes out to Chevrolet, Oldsmobile and Pontiac
                  dealers and concerns the 1999 through 2003 Chevrolet Malibu,
                  Oldsmobile Alero and Pontiac Grand Am. This voicemail provides
                  information about a condition that may be driving no trouble found
                  claims on customer vehicles on part replacements such as BCMs,
                  ignition lock cylinders, ignition switches and also some PCMs,
                  ABS modules, door lock modules, restraint control system and
                  theft security system replacements. We were able to capture a
                  customer’s vehicle for the complaint of intermittent vehicle shuts
                  off while driving. At times this vehicle would start up and then
                  shut off for no apparent reason. Sometimes no codes would set
                  and sometimes multiple codes would set. In both instances the
                  vehicle would immediately restart. The customer had brought the
                  vehicle in to the dealership four times. On the first three trips the
                  condition could not be duplicated. On the fourth trip back the




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                  dealership service manager noticed the customer’s excess size key
                  ring and mass. The condition was duplicated using the customer’s
                  full key ring, which was not left at the dealership on prior visits.
                  The actual cause of this customer’s condition was that over bumps
                  the mass and weight of the customer’s key ring forces the dash
                  mounted key lock cylinder switch out of its switch detent and
                  allows the key to rotate back one sixteenth of an inch from the on
                  position towards the accessory position. This amount of key
                  movement will shut the vehicle off and create this customer’s
                  complaint. Also, when the vehicle is started and the key is quickly
                  released between the ignition lock spring and weight and mass of
                  the key chain, the key can snap back just past the on position
                  detent and allow the engine to shut off. Noting the size of the
                  customer’s key ring, replacing the ignition lock cylinder with
                  another one of the same would not have corrected this issue.
                  Additionally, when the ignition is turned off in this type of manner,
                  depending on which module is communicating on the data line at
                  the time, is dependent on whether or not DTC codes will set and
                  which codes will set. The DTCs that set most consistently during
                  this condition was usually the communication or serial data codes
                  DTC U1040, U1088, U1255, C1298, B, as in boy, 2958 and/or B,
                  as in boy, 2960. As we investigated this condition further we also
                  found that it was not uncommon for customers to have a number of
                  items attached to their key rings. In many instances, especially
                  when the vehicle was in for service overnight, the customer usually
                  left only the vehicle key and key fob. Large key rings with
                  multiple items attached can also be responsible for customer
                  complaints of the vehicle shuts off while shifting into park on
                  column mounted ignition lock cylinders. This is caused when the
                  customer is shifting from a drive gear upward into park and an
                  item on the key ring hits the ignition lock cylinder key tabs on the
                  way up and moves the switch back out of the on detent position.
                  Please be aware that these conditions can be caused by excessive
                  key size and mass from the customer’s key ring, and attention to
                  this detail should be paid to allow you to better and more properly
                  diagnose the customer’s complaint. I also wanted to thank Rob
                  Maziac, the service manager at Art Moran, in Michigan, for his
                  efforts here in assisting General Motors with this issue. And many
                  of you others who have taken the time out of your busy schedules
                  and assisted us in the identification on many other issues. I
                  appreciate your time. Thanks. [GM-MDL2543-300732518]




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                  e.   New GM knew that Old GM did not recall these vehicles. Nor did it

provide owners and/or lessees with notice of the defective condition. Instead, its voicemail

directed dealerships to pay attention to the key size and mass of the customer’s key ring.

                  f.   New GM also knew that engineers had “recommended a higher spring rate

from day one,” as “this would be the least costly fastest fix.”

                  g.   New GM knew that, on July 24, 2003, Old GM issued an engineering

work order to increase the detent plunger force on the ignition switch for the 1999-2003

Chevrolet Malibu, Oldsmobile Alero, and Pontiac Grand Am vehicles. Old GM engineers

allegedly increased the detent plunger force and changed the part number of the ignition switch.

The new parts were installed beginning in the model year 2004 Malibu, Alero, and Grand Am

vehicles. No recall was done at the time to increase detent plunger force in prior models.

                  h.   New GM knew that Old GM issued a separate engineering work order in

March 2004 to increase the detent plunger force on the ignition switch in the Pontiac Grand Prix,

ostensibly to “maintain commonality” between the Grand Prix and the Malibu, Grand Am, and

the Alero. This change was made only in production vehicles beginning in 2005, and no recall

was done at the time to increase detent plunger force in prior models. Old GM engineers did not

change the part number for the new Pontiac Grand Prix ignition switch.

                  i.   New GM knew that then-Old GM design engineer Ray DeGiorgio signed

the work order in March 2004 authorizing the part change for the Grand Prix ignition switch

without changing the part number (Ray DeGiorgio maintained his position as design engineer

with New GM). An Engineering Group Manager approved the design change “w/o part number

change.” Old GM’s decision not to change the part number is a violation of generally accepted

engineering standards. For example, the American Society of Mechanical Engineers (ASME)




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issued ASME Y14.100-2004, Engineering Drawing Practices, which sets forth essential

minimum requirements for engineering drawings and related documentation practices. Such

standards are generally relied upon by automotive engineers (indeed, a General Motors engineer

was on the ASME Y14 Standards Committee at the time ASME Y14.100-2004 was approved).

ASME Y14.100-2004, Section 6.8.1 governs “Change Requiring New Identification” and

provides that “New PINs [part identification numbers] shall be assigned when a part or item is

changed in such a manner that any of the following conditions occur: (a) When performance or

durability is affected to such an extent that the previous versions must be discarded or modified

for reasons of safety or malfunction.” Old GM redesigned the switch “for reasons of safety or

malfunction.” ASME Y14.100-2004, Section 6.8.1, applies here and mandates that Old GM

should have changed the part number. Old GM’s decision not to change the part number is also

a violation of generally accepted inventory management standards and practices, which dictate

that a modification that is necessary to meet product safety specifications requires a part number

change.

                  j.    New GM knew that, on or around August 25, 2005, Laura Andres, an Old

GM design engineer (who remains employed with New GM), sent an e-mail describing ignition

switch issues that she experienced while operating a 2006 Chevrolet Impala on the highway.

Ms. Andres’ e-mail stated, “While driving home from work on my usual route, I was driving

about 45 mph, where the road changes from paved to gravel & then back to paved, some of the

gravel had worn away, and the pavement acted as a speed bump when I went over it. The car

shut off. I took the car in for repairs. The technician thinks it might be the ignition detent,

because in a road test in the parking lot it also shut off.”




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                  k.    New GM knew that Old GM employee Larry S. Dickinson, Jr. forwarded

Ms. Andres’ e-mail on August 25, 2005 to four Old GM employees. Mr. Dickinson asked, “Is

this a condition we would expect to occur under some impacts?”

                  l.    New GM knew that on August 29, 2005, Old GM employee Jim Zito

forwarded the messages to Ray DeGiorgio and asked, “Do we have any history with the ignition

switch as far as it being sensitive to road bumps?”

                  m.    New GM knew that DeGiorgio responded the same day, stating, “To date

there has never been any issues with the detents being too light.”

          588.    From 2002 to the present, first Old GM and then New GM received numerous

reports from consumers regarding complaints, crashes, injuries, and deaths linked to this safety

defect, and New GM was aware of all of them. The following are just a handful of examples of

some of the reports known to New GM.

          589.    New GM knew of a September 16, 2002 complaint filed with NHTSA regarding a

2002 Oldsmobile Intrigue involving an incident that occurred on March 16, 2002, in which the

following was reported:

                  WHILE DRIVING AT 30 MPH CONSUMER RAN HEAD ON
                  INTO A STEEL GATE, AND THEN HIT THREE TREES.
                  UPON IMPACT, NONE OF THE AIR BAGS DEPLOYED.
                  CONTACTED DEALER. PLEASE PROVIDE FURTHER
                  INFORMATION. *AK NHTSA ID Number: 8018687.

          590.    New GM knew of a November 22, 2002 complaint filed with NHTSA involving a

2003 Cadillac CTS involving an incident that occurred on July 1, 2002, in which it was reported

that:

                  THE CAR STALLS AT 25 MPH TO 45 MPH, OVER 20
                  OCCURANCES, DEALER ATTEMPTED 3 REPAIRS. DT
                  NHTSA ID Number: 770030.




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         591.     New GM knew of a January 21, 2003 complaint filed with NHTSA involving a

2003 Cadillac CTS, in which the following was reported:

                  WHILE DRIVING AT ANY SPEED,THE VEHICLE WILL
                  SUDDENLY SHUT OFF. THE STEERING WHEEL AND THE
                  BRAKE PEDAL BECOMES VERY STIFF. CONSUMER FEELS
                  ITS VERY UNSAFE TO DRIVE. PLEASE PROVIDE ANY
                  FURTHER INFORMATION. NHTSA ID Number: 10004288.

         592.     New GM knew of a June 30, 2003 complaint filed with NHTSA regarding a 2001

Oldsmobile Intrigue, which involved the following report:

                  CONSUMER NOTICED THAT WHILE TRAVELING DOWN
                  HILL AT 40-45 MPH BRAKES FAILED, CAUSING
                  CONSUMER TO RUN INTO THREES AND A POLE. UPON
                  IMPACT, AIR BAGS DID NOT DEPLOY. *AK NHTSA ID
                  Number: 10026252.

         593.     New GM knew of a March 11, 2004 complaint filed with NHTSA involving a

2004 Cadillac CTS involving an incident that occurred on March 11, 2004, in which the

following was reported:

                  CONSUMER STATED WHILE DRIVING AT 55-MPH
                  VEHICLE STALLED, CAUSING CONSUMER TO PULL OFF
                  THE ROAD. DEALER INSPECTED VEHICLE SEVERAL
                  TIMES, BUT COULD NOT DUPLICATE OR CORRECT THE
                  PROBLEM. *AK NHTSA ID Number: 10062993.

         594.     New GM knew of a March 11, 2004 complaint with NHTSA regarding a 2003

Oldsmobile Alero incident that occurred on July 26, 2003, in which the following was reported:

                  THE VEHICLE DIES. WHILE CRUISING AT ANY SPEED,
                  THE HYDRAULIC BRAKES & STEERING FAILED DUE TO
                  THE ENGINE DYING. THERE IS NO SET PATTERN, IT
                  MIGHT STALL 6 TIMES IN ONE DAY, THEN TWICE THE
                  NEXT DAY. THEN GO 4 DAYS WITH NO OCURRENCE,
                  THEN IT WILL STALL ONCE A DAY FOR 3 DAYS. THEN
                  GO A WEEK WITH NO OCURRENCE, THEN STALL 4 TIMES
                  A DAY FOR 5 DAYS, ETC., ETC. IN EVERY OCURRENCE, IT
                  TAKES APPROXIMATELY 10 MINUTES BEFORE IT WILL
                  START BACK UP. AT HIGH SPEEDS, IT IS EXTREMELY



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                  TOO DANGEROUS TO DRIVE. WE’VE TAKEN IT TO THE
                  DEALER, UNDER EXTENDED WARRANTY, THE
                  REQUIRED 4 TIMES UNDER THE LEMON LAW PROCESS.
                  THE DEALER CANNOT ASCERTAIN, NOR FIX THE
                  PROBLEM. IT HAPPENED TO THE DEALER AT LEAST
                  ONCE WHEN WE TOOK IT IN. I DOUBT THEY WILL
                  ADMIT IT, HOWEVER, MY WIFE WAS WITNESS. THE CAR
                  IS A 2003. EVEN THOUGH I BOUGHT IT IN JULY 2003, IT
                  WAS CONSIDERED A USED CAR. GM HAS DENIED OUR
                  CLAIM SINCE THE LEMON LAW DOES NOT APPLY TO
                  USED CARS. THE CAR HAS BEEN PERMANENTLY
                  PARKED SINCE NOVEMBER 2003. WE WERE FORCED TO
                  BUY ANOTHER CAR. THE DEALER WOULD NOT TRADE.
                  THIS HAS RESULTED IN A BADLUCK SITUATION FOR US.
                  WE CANNOT AFFORD 2 CAR PAYMENTS / 2 INSURANCE
                  PREMIUMS, NOR CAN WE AFFORD $300.00 PER HOUR TO
                  SUE GM. I STOPPED MAKING PAYMENTS IN DECEMBER
                  2003. I HAVE KEPT THE FINANCE COMPANY ABREAST OF
                  THE SITUATION. THEY HAVE NOT REPOSSED AS OF YET.
                  THEY WANT ME TO TRY TO SELL IT. CAN YOU HELP
                  ?*AK NHTSA ID Number: 10061898.

         595.     New GM knew of a July 20, 2004 complaint filed with NHTSA involving a 2004

Cadillac SRX, involving an incident that occurred on July 9, 2004, in which the following was

reported:

                  THE CAR DIES AFTER TRAVELING ON HIGHWAY. IT
                  GOES FROM 65 MPH TO 0. THE BRAKES, STEERING, AND
                  COMPLETE POWER DIES. YOU HAVE NO CONTROL OVER
                  THE CAR AT THIS POINT. I HAVE ALMOST BEEN HIT 5
                  TIMES NOW. ALSO, WHEN THE CARS DOES TURN BACK
                  ON IT WILL ONLY GO 10 MPH AND SOMETIMES WHEN
                  YOU TURN IT BACK ON THE RPM’S WILL GO TO THE
                  MAX. IT SOUNDS LIKE THE CAR IS GOING TO EXPLODE.
                  THIS CAR IS A DEATH TRAP. *LA NHTSA ID Number:
                  10082289.

         596.     New GM knew of an August 23, 2004 complaint filed with NHTSA regarding a

2004 Chevrolet Malibu incident that occurred on June 30, 2004, in which it was reported that:

                  WHILE TRAVELING AT ANY SPEED VEHICLE STALLED.
                  WITHOUT CONSUMER HAD SEVERAL CLOSE CALLS OF




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                  BEING REAR ENDED. VEHICLE WAS SERVICED SEVERAL
                  TIMES, BUT PROBLEM RECURRED. *AK. NHTSA ID
                  Number: 10089418.

         597.     New GM knew of a report in August of 2004 involving a 2004 Chevrolet Malibu

incident that occurred on August 3, 2004, in which it was reported that:

                  WHEN DRIVING, THE VEHICLE TO CUT OFF. THE DEALER
                  COULD NOT FIND ANY DEFECTS. *JB. NHTSA ID
                  Number: 10087966.

         598.     New GM knew of an October 23, 2004 complaint filed with NHTSA regarding a

2003 Chevrolet Monte Carlo, in which the following was reported:

                  VEHICLE CONTINUOUSLY EXPERIENCED AN
                  ELECTRICAL SYSTEM FAILURE. AS A RESULT,
                  THERE’WAS AN ELECTRICAL SHUT DOWN WHICH
                  RESULTED IN THE ENGINE DYING/ STEERING WHEEL
                  LOCKING UP, AND LOSS OF BRAKE POWER.*AK NHTSA
                  ID Number: 10044624.

         599.     New GM knew of an April 26, 2005 complaint filed with NHTSA involving a

2005 Pontiac Grand Prix, pertaining to an incident that occurred on December 29, 2004, in which

the following was reported:

                  2005 PONTIAC GRAND PRIX GT SEDAN VIN #[XXX]
                  PURCHASED 12/16/2004. INTERMITTENTLY VEHICLE
                  STALLS/ LOSS OF POWER IN THE ENGINE. WHILE
                  DRIVING THE VEHICLE IT WILL SUDDENLY JUST LOSES
                  POWER. YOU CONTINUE TO PRESS THE ACCELERATOR
                  PEDAL AND THEN THE ENGINE WILL SUDDENLY TAKE
                  BACK OFF AT A GREAT SPEED. THIS HAS HAPPENED
                  WHILE DRIVING NORMALLY WITHOUT TRYING TO
                  ACCELERATE AND ALSO WHILE TRYING TO
                  ACCELERATE. THE CAR HAS LOST POWER WHILE
                  TRYING TO MERGE IN TRAFFIC. THE CAR HAS LOST
                  POWER WHILE TRYING TO CROSS HIGHWAYS. THE CAR
                  HAS LOST POWER WHILE JUST DRIVING DOWN THE
                  ROAD. GMC HAS PERFORMED THE FOLLOWING REPAIRS
                  WITHOUT FIXING THE PROBLEM. 12/30/2004 [XXX]-
                  MODULE, POWERTRAIN CONTROL-ENGINE
                  REPROGRAMMING. 01/24/2005 [XXX]-



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                  SOLENOID,PRESSURE CONTROL-REPLACED. 02/04/2005
                  [XXX]-MODULE, PCM/VCM-REPLACED. 02/14/2005 [XXX]-
                  PEDAL,ACCELERATOR-REPLACED. DEALERSHIP
                  PURCHASED FROM CAPITAL BUICK-PONTIAC-GMC 225-
                  293-3500. DEALERSHIP HAS ADVISED THAT THEY DO
                  NOT KNOW WHAT IS WRONG WITH THE CAR. WE HAVE
                  BEEN TOLD THAT WE HAVE TO GO DIRECT TO PONTIAC
                  WITH THE PROBLEM. HAVE BEEN IN CONTACT WITH
                  PONTIAC SINCE 02/15/05. PONTIAC ADVISED THAT THEY
                  WERE GOING TO RESEARCH THE PROBLEM AND SEE IF
                  ANY OTHER GRAND PRI WAS REPORTING LIKE
                  PROBLEMS. SO FAR THE ONLY ADVICE FROM PONTIAC
                  IS THEY WANT US TO COME IN AND TAKE ANOTHER
                  GRAND PRIX OFF THE LOT AND SEE IF WE CAN GET THIS
                  CAR TO DUPLICATE THE SAME PROBLEM. THIS DID NOT
                  IMPRESS ME AT ALL. SO AFTER WAITING FOR 2-1/2
                  MONTHS FOR PONTIAC TO DO SOMETHING TO FIX THE
                  PROBLEM, I HAVE DECIDED TO REPORT THIS TO NHTSA.
                  *AK *JS INFORMATION REDACTED PURSUANT TO THE
                  FREEDOM OF INFORMATION ACT (FOIA), 5 U.S.C.
                  552(B)(6) NHTSA ID Number: 10118501.

         600.     New GM knew of a May 31, 2005 complaint filed with NHTSA regarding a 2004

Chevrolet Malibu incident that occurred on July 18, 2004, in which it was reported that:

                  THE CAR CUT OFF WHILE I WAS DRIVING AND IN
                  HEAVY TRAFFIC MORE THAN ONCE. THERE WAS NO
                  WARNING THAT THIS WOULD HAPPEN. THE CAR WAS
                  SERVICED BEFORE FOR THIS PROBLEM BUT IT
                  CONTINUED TO HAPPEN. I HAVE HAD 3 RECALLS, THE
                  HORN FUSE HAS BEEN REPLACED TWICE, AND THE
                  BLINKER IS CURRENTLY OUT. THE STEERING COLLAR
                  HAS ALSO BEEN REPLACED. THIS CAR WAS SUPPOSED
                  TO BE A NEW CAR. NHTSA ID Number: 10123684.

         601.     New GM knew of a June 2, 2005 complaint filed with NHTSA regarding a 2004

Pontiac Grand Am incident that occurred on February 18, 2005, in which the following was

reported:

                  2004 PONTIAC GRAND PRIX SHUTS DOWN WHILE
                  DRIVING AND THE POWER STEERING AND BRAKING




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                  ABILITY ARE LOST.*MR *NM. NHTSA ID
                  Number: 10124713.

         602.     New GM knew of an August 12, 2005 complaint filed with NHTSA involving a

2003 Cadillac CTS, regarding an incident that occurred on January 3, 2005, in which it was

reported that:

                  DT: VEHICLE LOST POWER WHEN THE CONSUMER HIT
                  THE BRAKES. THE TRANSMISSION JOLTS AND THEN THE
                  ENGINE SHUTS OFF. IT HAS BEEN TO THE DEALER 6
                  TIMES SINCE JANUARY. THE DEALER TRIED
                  SOMETHING DIFFERENT EVERY TIME SHE TOOK IT IN.
                  MANUFACTURER SAID SHE COULD HAVE A NEW
                  VEHICLE IF SHE PAID FOR IT. SHE WANTED TO GET RID
                  OF THE VEHICLE.*AK THE CHECK ENGINE LIGHT
                  ILLUMINATED. *JB NHTSA ID Number: 10127580.

         603.     New GM knew of an August 26, 2005 complaint with NHTSA regarding a 2004

Pontiac Grand Am incident that occurred on August 26, 2005, in which the following was

reported:

                  WHILE DRIVING MY 2004 PONTIAC GRAND AM THE CAR
                  FAILED AT 30 MPH. IT COMPLETELY SHUT OFF LEAVING
                  ME WITH NO POWER STEERING AND NO WAY TO
                  REGAIN CONTROL OF THE CAR UNTIL COMING TO A
                  COMPLETE STOP TO RESTART IT. ONCE I HAD STOPPED
                  IT DID RESTART WITHOUT INCIDENT. ONE WEEK LATER
                  THE CAR FAILED TO START AT ALL NOT EVEN TURNING
                  OVER. WHEN THE PROBLEM WAS DIAGNOSED AT THE
                  GARAGE IT WAS FOUND TO BE A FAULTY “IGNITION
                  CONTROL MODULE” IN THE CAR. AT THIS TIME THE
                  PART WAS REPLACED ONLY TO FAIL AGAIN WITHIN 2
                  MONTHS TIME AGAIN WHILE I WAS DRIVING THIS TIME
                  IN A MUCH MORE HAZARDOUS CONDITION BEING THAT
                  I WAS ON THE HIGHWAY AND WAS TRAVELING AT 50
                  MPH AND HAD TO TRAVEL ACROSS TWO LANES OF
                  TRAFFIC TO EVEN PULL OVER TO TRY TO RESTART IT.
                  THE CAR CONTINUED TO START AND SHUT OFF ALL
                  THE WAY TO THE SERVICE GARAGE WHERE IT WAS
                  AGAIN FOUND TO BE A FAULTY “IGNITION CONTROL
                  MODULE”. IN ANOTHER TWO WEEKS TIME THE CAR




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                  FAILED TO START AND WHEN DIAGNOSED THIS TIME IT
                  WAS SAID TO HAVE “ELECTRICAL PROBLEMS”
                  POSSIBLE THE “POWER CONTROL MODULE”. AT THIS
                  TIME THE CAR IS STILL UNDRIVEABLE AND UNSAFE
                  FOR TRAVEL. *JB NHTSA ID Number: 10134303.

         604.     New GM knew of a September 22, 2005 complaint filed with NHTSA involving a

2005 Cadillac CTS, concerning an incident that occurred on September 16, 2005, in which the

following was reported:

                  DT: 2005 CADILLAC CTS—THE CALLER’S VEHICLE WAS
                  INVOLVED IN AN ACCIDENT WHILE DRIVING AT 55 MPH.
                  UPON IMPACT, AIR BAGS DID NOT DEPLOY. THE
                  VEHICLE WENT OFF THE ROAD AND HIT A TREE. THIS
                  WAS ON THE DRIVER’S SIDE FRONT. THERE WERE NO
                  INDICATOR LIGHTS ON PRIOR TO THE ACCIDENT. THE
                  VEHICLE HAS NOT BEEN INSPECTED BY THE
                  DEALERSHIP, AND INSURANCE COMPANY TOTALED
                  THE VEHICLE. THE CALLER SAW NO REASON FOR THE
                  AIR BAGS NOT TO DEPLOY. . TWO INJURED WERE
                  INJURED IN THIS CRASH. T A POLICE REPORT WAS
                  TAKEN. THERE WAS NO FIRE. *AK NHTSA ID Number:
                  10137348.

         605.     New GM knew of a September 29, 2006 complaint filed with NHTSA involving a

2004 Cadillac CTS and an incident that occurred on September 29, 2006, in which the following

was reported:

                  DT*: THE CONTACT STATED AT VARIOUS SPEEDS
                  WITHOUT WARNING, THE VEHICLE LOST POWER AND
                  WOULD NOT ACCELERATE ABOVE 20 MPH. ALSO,
                  WITHOUT WARNING, THE VEHICLE STALLED ON
                  SEVERAL OCCASIONS, AND WOULD NOT RESTART. THE
                  VEHICLE WAS TOWED TO THE DEALERSHIP, WHO
                  REPLACED THE THROTTLE TWICE AND THE THROTTLE
                  BODY ASSEMBLY HARNESS, BUT THE PROBLEM
                  PERSISTED. *AK UPDATED 10/25/2006—*NM NHTSA ID
                  Number: 10169594.




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         606.     New GM knew of an April 18, 2007 complaint filed with NHTSA involving a

2004 Cadillac SRX, regarding an incident that occurred on April 13, 2007, in which it was

reported that:

                  TL*THE CONTACT OWNS A 2004 CADILLAC SRX. THE
                  ENGINE STALLED WITHOUT WARNING AND CAUSED
                  ANOTHER VEHICLE TO CRASH INTO THE VEHICLE. THE
                  VEHICLE WAS ABLE TO RESTART A FEW MINUTES
                  AFTER THE CRASH. THE DEALER AND MANUFACTURER
                  WAS UNABLE TO DIAGNOSE THE FAILURE. THE
                  MANUFACTURER HAD THE VEHICLE INSPECTED BY A
                  CADILLAC SPECIALIST WHO WAS UNABLE TO
                  DIAGNOSE THE FAILURE. THE DEALER UPDATED THE
                  COMPUTER FOUR TIMES, BUT THE ENGINE CONTINUED
                  TO STALL. THE CURRENT AND FAILURE MILEAGES
                  WERE 48,000. NHTSA ID Number: 10188245.

         607.     New GM knew of a September 20, 2007 complaint filed with NHTSA involving a

2007 Cadillac CTS, in connection with an incident that occurred on January 1, 2007, in which it

was reported that:

                  TL*THE CONTACT OWNS A 2007 CADILLAC CTS. WHILE
                  DRIVING 40 MPH, THE VEHICLE SHUT OFF WITHOUT
                  WARNING. THE FAILURE OCCURRED ON FIVE SEPARATE
                  OCCASIONS. THE DEALER WAS UNABLE TO DUPLICATE
                  THE FAILURE. AS OF SEPTEMBER 20, 2007, THE DEALER
                  HAD NOT REPAIRED THE VEHICLE. THE POWERTRAIN
                  WAS UNKNOWN. THE FAILURE MILEAGE WAS 2,000 AND
                  CURRENT MILEAGE WAS 11,998. NHTSA ID Number:
                  10203516.

         608.     New GM knew of a September 24, 2007 complaint filed with NHTSA involving a

2004 Cadillac SRX, regarding an incident that occurred on January 1, 2005, in which the

following was reported:

                  TL*THE CONTACT OWNS A 2004 CADILLAC SRX. WHILE
                  DRIVING 5 MPH OR GREATER, THE VEHICLE WOULD
                  SHUT OFF WITHOUT WARNING. THE DEALER STATED
                  THAT THE BATTERY CAUSED THE FAILURE AND THEY




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                  REPLACED THE BATTERY. APPROXIMATELY EIGHT
                  MONTHS LATER, THE FAILURE RECURRED. THE DEALER
                  STATED THAT THE BATTERY CAUSED THE FAILURE
                  AND REPLACED IT A SECOND TIME. APPROXIMATELY
                  THREE MONTHS LATER, THE FAILURE OCCURRED
                  AGAIN. SHE WAS ABLE TO RESTART THE VEHICLE. THE
                  DEALER WAS UNABLE TO DUPLICATE THE FAILURE,
                  HOWEVER, THEY REPLACED THE CRANK SHAFT
                  SENSOR. THE FAILURE CONTINUES TO PERSIST. AS OF
                  SEPTEMBER 24, 2007, THE DEALER HAD NOT REPAIRED
                  THE VEHICLE. THE POWERTRAIN WAS UNKNOWN. THE
                  FAILURE MILEAGE WAS 8,000 AND CURRENT MILEAGE
                  WAS 70,580. NHTSA ID Number: 10203943.

         609.     New GM knew of a June 18, 2008 complaint filed with NHTSA involving a 2006

Cadillac CTS and an incident that occurred on June 17, 2008, in which it was reported that:

                  TL*THE CONTACT OWNS A 2006 CADILLAC CTS. WHILE
                  DRIVING 60 MPH AT NIGHT, THE VEHICLE SHUT OFF
                  AND LOST TOTAL POWER. WHEN THE FAILURE
                  OCCURRED, THE VEHICLE CONTINUED TO ROLL AS IF IT
                  WERE IN NEUTRAL. THERE WERE NO WARNING
                  INDICATORS PRIOR TO THE FAILURE. THE CONTACT
                  FEELS THAT THIS IS A SAFETY HAZARD BECAUSE IT
                  COULD HAVE RESULTED IN A SERIOUS CRASH. THE
                  VEHICLE WAS TAKEN TO THE DEALER TWICE FOR
                  REPAIR FOR THE SAME FAILURE IN FEBURARY OF 2008
                  AND JUNE 17, 2008. THE FIRST TIME THE CAUSE OF THE
                  FAILURE WAS IDENTIFIED AS A GLITCH WITH THE
                  COMPUTER SWITCH THAT CONTROLS THE
                  TRANSMISSION. AT THE SECOND VISIT, THE SHOP
                  EXPLAINED THAT THEY COULD NOT IDENTIFY THE
                  FAILURE. IT WOULD HAVE TO RECUR IN ORDER FOR
                  THEM TO DIAGNOSE THE FAILURE PROPERLY. THE
                  CURRENT AND FAILURE MILEAGES WERE 43,000.
                  NHTSA ID Number: 10231507.

         610.     New GM knew of an October 14, 2008 complaint filed with NHTSA involving a

2008 Cadillac CTS and an incident that occurred on April 5, 2008, in which it was reported that:

                  WHILE DRIVING MY 2008 CTS, WITH NO ADVANCE
                  NOTICE, THE ENGINE JUST DIED. IT SEEMED TO RUN
                  OUT OF GAS. MY FUEL GAUGE READ BETWEEN 1/2 TO




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                  3/4 FULL. THIS HAPPENED 3 DIFFERENT OCCASIONS. ALL
                  3 TIMES I HAD TO HAVE IT TOWED BACK TO THE
                  DEALERSHIP THAT I PURCHASED THE CAR FROM. ALL 3
                  TIMES I GOT DIFFERENT REASONS IT HAPPENED, FROM
                  BAD FUEL PUMP IN GAS TANK, TO SOME TYPE OF BAD
                  CONNECTION, ETC. AFTER THIS HAPPENED THE 3RD
                  TIME, I DEMANDED A NEW CAR, WHICH I RECEIVED. I
                  HAVE HAD NO PROBLEMS WITH THIS CTS, RUNS GREAT.
                  *TR NHTSA ID Number: 10245423.

         611.     New GM knew of a November 13, 2008 complaint with NHTSA regarding a

2001 Oldsmobile Intrigue, and an incident that occurred on July 1, 2004, in which the following

was reported:

                  L*THE CONTACT OWNS A 2001 OLDSMOBILE INTRIGUE.
                  WHILE DRIVING 35 MPH, THE VEHICLE CONTINUOUSLY
                  STALLS AND HESITATES. IN ADDITION, THE
                  INSTRUMENT PANEL INDICATORS WOULD ILLUMINATE
                  AT RANDOM. THE VEHICLE FAILED INSPECTION AND
                  THE CRANKSHAFT SENSOR WAS REPLACED, WHICH
                  HELPED WITH THE STALLING AND HESITATION;
                  HOWEVER, THE CHECK ENGINE INDICATOR WAS STILL
                  ILLUMINATED. DAYS AFTER THE CRANKSHAFT SENSOR
                  WAS REPLACED, THE VEHICLE FAILED TO START.
                  HOWEVER, ALL OF THE INSTRUMENT PANEL
                  INDICATORS FLASHED ON AND OFF. AFTER NUMEROUS
                  ATTEMPTS TO START THE VEHICLE, HE HAD IT
                  JUMPSTARTED. THE VEHICLE WAS THEN ABLE TO
                  START. WHILE DRIVING HOME, ALL OF THE LIGHTING
                  FLASHED AND THE VEHICLE SUDDENLY SHUT OFF. THE
                  VEHICLE LOST ALL ELECTRICAL POWER AND POWER
                  STEERING ABILITY. THE CONTACT MANAGED TO PARK
                  THE VEHICLE IN A PARKING LOT AND HAD IT TOWED
                  THE FOLLOWING DAY TO A REPAIR SHOP. THE VEHICLE
                  IS CURRENTLY STILL IN THE SHOP. THE VEHICLE HAS
                  BEEN RECALLED IN CANADA AND HE BELIEVES THAT IT
                  SHOULD ALSO BE RECALLED IN THE UNITED STATES.
                  THE FAILURE MILEAGE WAS UNKNOWN AND THE
                  CURRENT MILEAGE WAS 106,000. NHTSA ID
                  Number: 10248694.




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         612.     New GM knew of a December 10, 2008 complaint filed with NHTSA regarding a

2004 Oldsmobile Alero and an incident that occurred on December 10, 2008, in which the

following was reported:

                  I WAS DRIVING DOWN THE ROAD IN RUSH HOUR GOING
                  APPROX. 55 MPH AND MY CAR COMPLETELY SHUT OFF,
                  THE GAUGES SHUT DOWN, LOST POWER STEERING. HAD
                  TO PULL OFF THE ROAD AS SAFELY AS POSSIBLE,
                  PLACE VEHICLE IN PARK AND RESTART CAR. MY CAR
                  HAS SHUT DOWN PREVIOUSLY TO THIS INCIDENT AND
                  FEEL AS THOUGH IT NEEDS SERIOUS INVESTIGATION. I
                  COULD HAVE BEEN ON THE HIGHWAY AND BEEN
                  KILLED. THIS ALSO HAS HAPPENED WHEN IN A SPIN
                  OUT AS WELL THOUGH THIS PARTICULAR INCIDENT
                  WAS RANDOM. *TR NHTSA ID Number: 10251280.

         613.     New GM knew of a March 31, 2009 complaint filed with NHTSA regarding a

2005 Chevrolet Malibu incident that occurred on May 30, 2008, in which it was reported that:

                  TL*THE CONTACT OWNS A 2005 CHEVROLET MALIBU.
                  THE CONTACT STATED THAT THE POWER WINDOWS,
                  LOCKS, LINKAGES, AND IGNITION SWITCH
                  SPORADICALLY BECOME INOPERATIVE. SHE TOOK THE
                  VEHICLE TO THE DEALER AND THEY REPLACED THE
                  IGNITION SWITCH AT THE COST OF $495. THE
                  MANUFACTURER STATED THAT THEY WOULD NOT
                  ASSUME RESPONSIBILITY FOR ANY REPAIRS BECAUSE
                  THE VEHICLE EXCEEDED ITS MILEAGE. ALL REMEDIES
                  AS OF MARCH 31, 2009 HAVE BEEN INSUFFICIENT IN
                  CORRECTING THE FAILURES. THE FAILURE MILEAGE
                  WAS 45,000 AND CURRENT MILEAGE WAS 51,000. NHTSA
                  ID Number: 10263716.

         614.     The defects did not get any safer and the reports did not stop when Old GM

ceased to exist. To the contrary, New GM continued receiving the same reports involving the

same defects. For example, on August 11, 2010, New GM became aware of the following

complaint filed with NHTSA involving a 2005 Cadillac CTS incident that occurred on May 15,

2010, in which it was reported:




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                  TL*THE CONTACT OWNS A 2005 CADILLAC CTS. WHILE
                  DRIVING 40 MPH, ALL OF THE SAFETY LIGHTS ON THE
                  DASHBOARD ILLUMINATED WHEN THE VEHICLE
                  STALLED. THE VEHICLE WAS TURNED BACK ON IT
                  BEGAN TO FUNCTION NORMALLY. THE FAILURE
                  OCCURRED TWICE. THE DEALER WAS CONTACTED AND
                  THEY STATED THAT SHE NEEDED TO BRING IT IN TO
                  HAVE IT DIAGNOSED AGAIN. THE DEALER PREVIOUSLY
                  STATED THAT THEY WERE UNABLE TO DUPLICATE THE
                  FAILURE. THE VEHICLE WAS NOT REPAIRED. THE
                  FAILURE MILEAGE WAS 4100 AND THE CURRENT
                  MILEAGE WAS 58,000. NHTSA ID Number: 10348743.

         615.     On April 16, 2012, New GM became aware of a complaint filed with NHTSA

involving a 2005 Cadillac SRX and an incident that occurred on March 31, 2012, in which the

following was reported:

                  TL* THE CONTACT OWNS A 2005 CADILLAC SRX. WHILE
                  DRIVING APPROXIMATELY 45 MPH, THE CONTACT
                  STATED THAT THE STEERING BECAME DIFFICULT TO
                  MANEUVER AND HE LOST CONTROL OF THE VEHICLE.
                  THERE WERE NO WARNING LIGHTS ILLUMINATED ON
                  THE INSTRUMENT PANEL. THE CONTACT THEN
                  CRASHED INTO A HIGHWAY DIVIDER AND INTO
                  ANOTHER VEHICLE. THERE WERE NO INJURIES. THE
                  VEHICLE WAS TOWED TO AN AUTO CENTER AND THE
                  MECHANIC STATED THAT THERE WAS A RECALL
                  UNDER NHTSA CAMPAIGN ID NUMBER 06V125000
                  (SUSPENSION:REAR), THAT MAY BE RELATED TO THE
                  FAILURE. THE MANUFACTURER WAS MADE AWARE OF
                  THE FAILURE AND STATED THAT THE VIN WAS NOT
                  INCLUDED IN THE RECALL. THE VEHICLE WAS NOT
                  REPAIRED. THE APPROXIMATE FAILURE MILEAGE WAS
                  46,000. NHTSA ID Number: 10455394.

         616.     On March 20, 2013, New GM became aware of a complaint filed with NHTSA

regarding a 2003 Chevrolet Impala incident that occurred on March 1, 2013, in which it was

reported that:

                  CAR WILL SHUT DOWN WHILE DRIVING AND SECURITY
                  LIGHT WILL FLASH. HAS DONE IT NUMEROUS TIMES,




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                  WORRIED IT WILL CAUSE AN ACCIDENT. THERE ARE
                  MULTIPLE CASES OF THIS PROBLEM ON INTERNET. *TR
                  NHTSA ID Number: 10503840.

         617.     On May 12, 2013, New GM became aware of the following complaint filed with

NHTSA regarding a 2005 Chevrolet Malibu incident that occurred on May 11, 2012, in which

the following was reported:

                  I WAS AT A STOP SIGN WENT TO PRESS GAS PEDAL TO
                  TURN ONTO ROAD AND THE CAR JUST SHUT OFF NO
                  WARNING LIGHTS CAME ON NOR DID IT SHOW ANY
                  CODES. GOT OUT OF CAR POPPED TRUNK PULLED
                  RELAY FUSE OUT PUT IT BACK IN AND IT CRANKED
                  UP,THEN ON MY WAY HOME FROM WORK,GOING
                  ABOUT 25 MPH AND IT JUST SHUT DOWN AGAIN,I
                  REPEATED PULLING OUT RELAY FUSE AND PUT IT BACK
                  IN THEN WAITED A MINUTE THEN IT CRANKED AND I
                  DROVE STRAIGHT HOME. *TR NHTSA ID
                  Number: 10458198.

         618.     On February 26, 2014, New GM became aware of a complaint filed with NHTSA

involving a 2004 Pontiac Grand Prix, concerning an incident that occurred on May 10, 2005, in

which it was reported that:

                  TL—THE CONTACT OWNS A 2004 PONTIAC GRAND PRIX.
                  THE CONTACT STATED THAT WHILE DRIVING AT
                  VARIOUS SPEEDS AND GOING OVER A BUMP, THE
                  VEHICLE WOULD STALL WITHOUT WARNING. THE
                  VEHICLE WAS TAKEN TO THE DEALER. THE
                  TECHNICIAN WAS UNABLE TO DIAGNOSE THE FAILURE.
                  THE MANUFACTURER WAS MADE AWARE OF THE
                  FAILURE. THE VEHICLE WAS NOT REPAIRED. THE VIN
                  WAS NOT AVAILABLE. THE FAILURE MILEAGE WAS
                  12,000 AND THE CURRENT MILEAGE WAS 82,000. KMJ
                  NHTSA ID Number: 10566118.

         619.     On March 13, 2014, New GM became aware of a complaint filed with NHTSA

involving a 2006 Pontiac Grand Prix and an incident that occurred on February 27, 2014, in

which a driver reported:




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                  I WAS DRIVING HOME FROM WORK AND WHEN I
                  TURNED A CORNER, THE ENGINE CUT OUT. I BELIEVE IT
                  WAS FROM THE KEY FLIPPING TO ACCESSORY. I’VE
                  HEARD THAT THIS HAS CAUSED CRASHES THAT HAVE
                  KILLED PEOPLE AND WOULD LIKE THIS FIXED. THIS IS
                  THE FIRST TIME IT HAPPENED, BUT NOW I’M WORRIED
                  EVERY TIME I DRIVE IT THAT THIS IS GOING TO HAPPEN
                  AND I DON’T FEEL SAFE LETTING MY WIFE DRIVE THE
                  CAR NOW. WHY ARE THE 2006 PONTIAC GRAND PRIX
                  VEHICLES NOT PART OF THE RECALL FROM GM? *TR
                  NHTSA ID Number: 10569215.

         620.     On April 1, 2014, New GM became aware of a complaint filed with NHTSA

involving a 2003 Cadillac CTS and an incident that occurred on January 1, 2008, in which the

following was reported:

                  TL* THE CONTACT OWNS A 2003 CADILLAC CTS. THE
                  CONTACT STATED THAT THE VEHICLE EXHIBITED A
                  RECURRING STALLING FAILURE. THE VEHICLE WAS
                  TAKEN TO THE DEALER NUMEROUS TIMES WHERE
                  SEVERAL UNKNOWN REPAIRS WERE PERFORMED ON
                  THE VEHICLE BUT TO NO AVAIL. THE FAILURE
                  MILEAGE WAS 59,730 AND THE CURRENT MILEAGE WAS
                  79,000. UPDATED 06/30/14 MA UPDATED 07/3/2014 *JS
                  NHTSA ID Number: 10576468.

         621.     On April 1, 2014, New GM became aware of a complaint with NHTSA regarding

a 2003 Chevrolet Monte Carlo and an incident that occurred on September 16, 2013, in which

the following was reported:

                  WHILE DRIVING AT ANY SPEED THE IGNITION SYSTEM
                  WOULD RESET LIGHTING UP THE DISPLAY CLUSTER
                  JUST AS IF THE KEY WAS TURNED OFF AND BACK ON.
                  THIS WOULD CAUSE A MOMENTARY SHUTDOWN OF
                  THE ENGINE. THE PROBLEM SEEMED TO BE MORE
                  PREVAILANT WHILE TURNING THE WHEEL FOR A
                  CURVE OR TURN OFF THE ROAD. THE TURN SIGNAL
                  UNIT WAS FIRST SUSPECT SINCE IT SEEMED TO
                  CORRELATE WITH APPLYING THE TURN SIGNAL AND
                  TURNING THE WHEEL. THE CONDITION WORSENED TO
                  THE IGNITION SHUTDOWN FOR LONGER PERIODS




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                  SHUTTING DOWN THE ENGINE CAUSING STEERING AND
                  BRAKING TO BE SHUT DOWN AND FINALLY DIFFICULTY
                  STARTING THE CAR. AFTER 2 VISITS TO A GM SERVICE
                  CENTER THE PROBLEM WAS FOUND TO BE A FAULTY
                  IGNITION THAT WAS REPLACED AND THE PROBLEM
                  HAS NOT RECURRED. NHTSA ID Number: 10576201.

         622.     On April 8, 2014, New GM became aware of a complaint with NHTSA regarding

a 2003 Chevrolet Impala and an incident that occurred on August 14, 2011, in which the

following was reported:

                  I HAVE HAD INCIDENTS SEVERAL TIMES OVER THE
                  YEARS WHERE I WOULD HIT A BUMP IN THE ROAD AND
                  MY CAR WOULD COMPLETLY SHUT OFF. I HAVE ALSO
                  HAD SEVERAL INCIDENTS WHERE I WAS TRAVELING
                  DOWN THE EXPRESSWAY AND MY CAR TURNED OFF ON
                  ME. I HAD TO SHIFT MY CAR INTO NEUTRAL AND
                  RESTART IT TO CONTINUE GOING. I WAS FORTUNATE
                  NOT TO HAVE AN ACCIDENT. NHTSA ID
                  Number: 10578158.

         623.     On May 14, 2014, New GM became aware of a complaint filed with NHTSA

regarding a 2004 Chevrolet Impala incident that occurred on April 5, 2013, in which it was

reported that:

                  CHEVY IMPALA 2004 LS- THE VEHICLE IS STOPPING
                  COMPLETELY WHILE DRIVING OR SITTING AT
                  INTERSECTION. THERE IS NO WARNING, NO MESSAGE,
                  IT JUST DIES. THE STEERING GOES WHEN THIS HAPPENS
                  SO I CANNOT EVEN GET OFF THE ROAD. THEN THERE
                  ARE TIMES THAT THE CAR WILL NOT START AT ALL
                  AND I HAVE BEEN STRANDED. EVENTUALLY AFTER
                  ABOUT 20 MINUTES THE CAR WILL START- I HAVE
                  ALREADY REPLACED THE STARTER BUT THE PROBLEM
                  STILL EXISTS. I HAVE HAD THE CAR CHECKED OUT AT 2
                  DIFFERENT SHOPS (FIRESTONE) AND THEY CANNOT
                  FIND THE PROBLEM. THERE ARE NO CODES COMING UP.
                  THEY ARE COMPLETELY PERPLEXED. CHEVY STATES
                  THEIR MECHANICS ARE BETTER. ALSO THE CLUSTER
                  PANEL IS GONE AND CHEVY IS AWARE OF THE
                  PROBLEM BUT THEY ONLY RECALLED CERTAIN




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                  MODELS AND DID NOT INCLUDE THE IMPALAS. I HAVE 2
                  ESTIMATES REGARDING FIXING THIS PROBLEM BUT
                  THE QUOTES ARE $500.00. I DO NOT FEEL THAT I
                  SHOULD HAVE TO PAY FOR THIS WHEN CHEVY KNEW
                  THEY HAD THIS PROBLEM WITH CLUSTER PANELS AND
                  OMITTED THE IMPALAS IN THEIR RECALL. SO, TO
                  RECAP: THE CAR DIES IN TRAFFIC (ALMOST HIT TWICE),
                  I DO NOT KNOW HOW MUCH GAS I HAVE, HOW FAST I
                  AM GOING, OR IF THE CAR IS OVERHEATING. IN
                  DEALING WITH CHEVY I WAS TOLD TO TAKE THE CAR
                  TO A CHEVY DEALERSHIP. THEY GAVE ME A PLACE
                  THAT IS 2 1/2 HOURS HOUSE AWAY FROM MY HOME. I
                  WAS ALSO TOLD THAT I WOULD HAVE THE HONOR OF
                  PAYING FOR THE DIAGNOSTICS. IN RESEARCHING THIS
                  PROBLEM, I HAVE PULLED UP SEVERAL COMPLAINTS
                  FROM OTHER CHEVY IMPALA 2004 OWNERS THAT ARE
                  EXPERIENCING THE SAME MULTIPLE PROBLEMS. I ALSO
                  NOTICED THAT MOST OF THE COMPLAINTS ARE
                  STATING THAT THE SAME ISSUES OCCURRED AT
                  APPROX. THE SAME MILEAGE AS MINE. I HAVE
                  DISCUSSED THIS WITH CHEVY CUSTOMER SERVICE
                  AND BASICALLY THAT WAS IGNORED. THIS CAR IS
                  HAZARDOUS TO DRIVE AND POTENTIALLY WILL CAUSE
                  BODILY HARM. DEALING WITH CHEVY IS POINTLESS.
                  ALL THEY CAN THINK OF IS HOW MUCH MONEY THEIR
                  DEFECTS WILL BRING IN. *TR NHTSA ID
                  Number: 10512006.

          624.    New GM has publicly admitted that it was aware of at least seven (7) crashes,

eight (8) injuries, and three (3) deaths linked to this serious safety defect before deciding to

finally implement a recall. However, in reality, the number of reports and complaints is much

higher.

          625.    Moreover, notwithstanding years of notice and knowledge of the defect, on top of

numerous complaints and reports from consumers, including reports of crashes, injuries, and

deaths, New GM delayed and did not implement a recall involving this defect until July of 2014.

          626.    New GM replicated the “knee to key” report in 2012 causing inadvertent key

rotation and a running stall. New GM recalled all of the CTS and SRX models and gave out new




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keys to those that did not have “hole” keys, and two key rings so the fob could be kept on one,

and the ignition key on another. New GM’s supposed recall fix does not address the defect or

the safety risks that it poses, including insufficient amount of torque to resist rotation from the

“run” to “accessory” position under reasonably foreseeable conditions, and puts the burden on

drivers to alter their behavior and carry their ignition keys separately from their other keys, and

even from their remote fob. The real answer must include the replacement of all the switches

with ones that have sufficient torque to resist foreseeable rotational forces. The consequences of

an unwanted rotation from the “run” to “accessory” position are the same in all these cars: loss

of power (stalling), loss of power steering, loss of power brakes after one or two depressions of

the brake pedal, and suppression of seat belt pretensioners and airbag deployments.

         627.     In addition, New GM is not addressing the other design issues that create safety

risks in connection with this defect. New GM is not altering the algorithm that prevents the

airbags from deploying when the ignition leaves the “run” position, even when the vehicle is

moving. And New GM is not altering the placement of the ignition in an area where the driver’s

knees may inadvertently cause the ignition to move out of the “run” position. Moreover,

notwithstanding years of notice and knowledge of the defect, on top of numerous complaints and

reports from consumers, including reports of crashes, injuries, and deaths, New GM delayed and

did not implement a recall involving this defect until July of 2014.

         4.       “Knee-to-key” Camaro Safety Recall 14v346.

         628.     On June 19, 2014, New GM recalled 464,712 model year 2010 through 2014

Chevrolet Camaro vehicles in the United States (NHTSA Recall Number 14V-346).




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         629.     The great majority of the defective Camaros were made and sold by New GM,

though some indeterminate number of the 117,959 model year 2010 Camaros were manufactured

by Old GM, and some smaller number were sold by Old GM.

         630.     New GM has described the defect as follows: “The ignition switch may move

from the RUN position due to driver knee interaction.” Thus, New GM has admitted that all

models involved in Safety Recall 14v346 have a common defect.

         631.     Internally, New GM described the effect of the defect as follows: “This will result

in a partial loss of electrical power and turn off the engine. Power steering/braking will be

affected and the air bags may not deploy if the vehicle is involved in a crash, increasing the risk

of injury or fatality.” Thus, New GM has admitted that the effect of the defect is the same for all

models involved in Safety Recall 14v346.

         632.     New GM’s June 19, 2014 letter to NHTSA described the risk as follows: “There

is a risk, under certain conditions, that some drivers may bump the ignition key with their knee

and unintentionally move the key away from the ‘run’ position. If this occurs, engine power, and

power braking will be affected and power steering may be affected, increasing the risk of a crash.

The timing of the key movement out of the ‘run’ position, relative to the activation of the sensing

algorithm of the crash event, may result in the airbags not deploying, increasing the potential for

occupant injury in certain kinds of crashes.”

         633.     The model year 2010-2014 Camaro had a “flip key” in which the key blade is

incorporated into an RKE transmitter. The blade is hidden in the RKE until the driver pushes a

button and the blade flips out.

         634.     During a Spring 2014 read-across conducted as a result of the Cobalt/Delta ISD

recall, New GM personnel found that the 2010-2014 Camaro had inadequate clearance between




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the key and the driver’s knee.147 When low clearance is combined with a key fob that is

integrated with the blade and oriented at 124 degrees, a tall driver’s knee can easily turn the key

when he’s seated in a “normal” position:148




          635.    In addition to very tall drivers, New GM found that drivers of varying heights

could also easily turn the Camaro key with their knees when seated in an abnormal position:149

                                                                                             KneeKey
                                                       5thPercentileFemale       50thPercentileMale         95thPercentileMale
                        Vehicle
                                                          Ease      Normal     Ease           Normal        Ease           Normal
                                  BuickVerano(14)   Impossible       NA       Easy              No     Impossible           NA
                                  BuickVerano(15)   Impossible       NA       Easy              No     Impossible           NA
                                     BuickLacrosse   Impossible       NA       Easy              No     Impossible           NA
                                        BuickRegal   Impossible       NA    Impossible           NA      Impossible           NA
                                   ChevyCruze(14)   Impossible       NA       DNE              DNE      Impossible           NA
                                   ChevyCruze(16)     Medium         No      Easy              No         Easy              Yes
                                       ChevySpark    Impossible       NA    Impossible       BrokeKey   Impossible           No
                                        M2XXSpark        Easy                  Easy                         Easy              Yes
                                       Ch S i        Impossible       NA     Medium              No      Im       l           NA
                                     ChevyCamaro         Easy         No       Easy              No         Easy              Yes
                                  ChevyImpala(14)     Difficult      No       Easy              No      Impossible           NA
                                  ChevyImpala(15)       Easy         No       Easy              No      Impossible           NA




    147
          GM-MDL2453-10013440.
    148
          GM-MDL2453-10013440.
    149
         GM-MDL2543-10013376. As part of these preliminary tests, GM also found that turning was
easy for 95% males in a normal driving position in the Chevy Cruze, M2XX Spark, and Chevy
Colorado/GMC Canyon. GM’s plan was to implement the same solution in these vehicles as for the
Camaro. We have not studied whether this was implemented for these vehicles, but they are not included
in this recall.




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          636.    GM also tested the torque on the Camaro ignition, with one test finding that the

torque values in the Camaro were close to 11 NCm.150

          637.    Between 2010 and 2014, NHTSA received numerous complaints of power

failures in 2010-2014 Camaros. These complaints started as early as January 2010, months after

New GM’s formation.

          638.    One complainant described an incident in which his model year 2010 Camaro lost

all power while he was driving 55-65 mph down a mountain road in heavy traffic. The

complainant was able to stop the vehicle by jamming it into a guardrail. He stated that he was

lucky he was not killed. When he notified his dealership, however, they told him there was

nothing wrong with the vehicle.

          639.    Another complainant, in May 2010, described several instances in which his

moving Camaro’s power failed, including one instance in which he was driving on the highway

at 70 mph. This complainant concluded his report by asking, “Will I have a head[-]on collision

while trying to pass another car?”

          640.    Between 2010 and 2014, NHTSA received numerous complaints reporting engine

stalls during normal and regular Camaro operations.

          641.    For example, on May 3, 2010, New GM became aware of a complaint filed with

NHTSA involving a 2010 Camaro in which the following was reported:

                  WHILE DRIVING TO THE DEALERSHIP IN BROOKDALE,
                  MN. ON FREEWAY APPROX 70MPH WHEN CAR
                  COMPLETELY GOES DEAD. QUICKLY I PUT IT IN
                  NEUTRAL AND TURNED IT BACK ON AND COMPLAINED
                  TO DEALER. DRIVING IN ST CLOUD, MN AT INTOWN
                  SPEEDS WHEN THE CAR SHUTS DOWN AGAIN. THEN IT
                  ALSO SHUT DOWN TWICE ON ME IN BRAINERD, MN AT

    150
          GM-MDL2543-001350437.



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                  A SPEED OF 50MPH WHILE DRIVING NORMAL. THEN ON
                  3 MAY 2010 I WAS GOING AROUND A CURVE WITH 2
                  FRIENDS WHEN IT AGAIN SHUT DOWN AT
                  APPROXIMATELY 60 MPH. THIS TIME WHILE ON THE
                  CURVE I WENT INTO THE DITCH AND HIT A MAIL BOX.
                  THUS CAUSING DAMAGE TO THE RIGHT FRONT OF THE
                  CAR. THE CAR WAS TOWED AND IS PRESENTLY AT THE
                  DEALERSHIP IN BRAINERD, MN. THIS CAR IS TO
                  DANGEROUS TO DRIVE; WILL I HAVE A HEAD[-]ON
                  COLLISION WHILE TRYING TO PASS ANOTHER CAR?

         642.     On October 20, 2010, New GM became aware of a complaint filed with NHTSA

involving a 2010 Camaro in which the following was reported:

                  2010 CHEVROLET CHEVY CAMARO V6, SUDDEN LOSS OF
                  POWER, COMPLETE ELECTRICAL FAILURE, AND ENGINE
                  SHUTDOWN WHILE DRIVING 30 MPH IN SUBDIVISION.
                  PULLED TO SIDE OF ROAD. TURNED CAR “OFF” AND
                  BACK ON. DROVE TO DEALER WHO SAID THEY COULD
                  FIND NO PROBLEM AND NOTHING RECORDED IN CAR’S
                  COMPUTER. GOOGLED RECALL OF V8 TO SHOW
                  DEALER, BUT DEALER SAID THIS WAS UNRELATED.

         643.     On March 6, 2012, New GM became aware of a complaint filed with NHTSA

involving a 2010 Camaro in which the following was reported:

                  WHILE DRIVING VEHICLE FIRST SHUT OFF AT A RED
                  LIGHT FOR NO REASON ON FEB 28 2012 SAME INCIDENT
                  ON MARCH 1ST SHUT OFF A RED LIGHT THIRD TIME IT
                  WAS WHILE DRIVING 10 MPH MAKING A TURN IN A
                  PARKING SPOT. WAS ABLE TO TURN BACK CAR ON
                  WITH NO PROBLEMS BUT IT IS OF GREAT CONCERN
                  NOW IF THIS SHOULD HAPPEN AT A HIGH SPEED I AM
                  SURE CAR CAN CAUSE INJURIES TO OTHERS AS WELL
                  AS MYSELF.

         644.     On October 9, 2012, New GM became aware of a complaint filed with NHTSA

involving a 2012 Camaro in which the following was reported:

                  THE CONTACT OWNS A 2012 CHEVROLET CAMARO. THE
                  CONTACT STATED THAT WHILE DRIVING 50 MPH, THE
                  VEHICLE STALLED WITHOUT WARNING. THE CONTACT
                  WAS ABLE TO RESTART THE VEHICLE. THE



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                  MANUFACTURER WAS CONTACTED AND HAD THE
                  VEHICLE TOWED TO A LOCAL DEALER. THE DEALER
                  RESET THE COMPUTER BUT THE REPAIR DID NOT
                  REMEDY THE ISSUE. THE CONTACT TOOK THE VEHICLE
                  BACK TO THE DEALER WHERE THE DEALER RESET THE
                  COMPUTER A SECOND TIME. THE DEALER ALSO DROVE
                  THE VEHICLE FOR ONE HUNDRED MILES AND COULD
                  NOT DUPLICATE THE STALLING ISSUE. THE VEHICLE
                  CONTINUED TO STALL SPORADICALLY. THE FAILURE
                  MILEAGE WAS 4,200.

         645.     On July 3, 2013, New GM became aware of a complaint filed with NHTSA

involving a 2013 Camaro in which the following was reported:

                  THE CONTACT OWNS A 2013 CHEVROLET CAMARO. THE
                  CONTACT STATED THAT WHILE DRIVING
                  APPROXIMATELY 55 MPH, THE VEHICLE STALLED
                  WITHOUT WARNING. THE CONTACT MENTIONED THAT
                  THE FAILURE WOULD RECUR INTERMITTENTLY. THE
                  VEHICLE WAS TAKEN TO A DEALER FOR A DIAGNOSTIC
                  WHERE THE FAILURE WAS UNABLE TO BE REPLICATED.
                  THE MANUFACTURER WAS NOTIFIED OF THE FAILURE.
                  THE APPROXIMATE FAILURE MILEAGE WAS 1,460 AND
                  THE CURRENT MILEAGE WAS 1,800.

         646.     On August 4, 2013, New GM became aware of a complaint filed with NHTSA

involving a 2010 Camaro in which the following was reported:

                  I PURCHASED MY 2010 CHEVY CAMARO 2SS, IN
                  FEBRUARY OF 2012. IT HAD 4,400 MILES ON IT. ABOUT A
                  MONTH OR TWO, AFTER I BOUGHT IT, IT COMPLETELY
                  SHUT OFF ON ME, ON A MAJOR HIGHWAY, WHILE
                  DOING 65 MPH. I THREW IT INTO NEUTRAL AND TURNED
                  THE KEY AND IT STARTED RIGHT BACK UP. ABOUT A
                  MONTH AFTER THAT, I WAS DOING ABOUT 20MPH ON A
                  BACK ROAD AND IT DID THE SAME EXACT THING. JUST
                  RECENTLY, ABOUT 2 WEEKS AGO, I WAS IN 6TH GEAR,
                  ON CRUISE DOING 60MPH AND I FELT THE CAR “JERK”
                  OR BUCK” A LITTLE BIT. FOLLOWED IMMEDIATELY BY
                  THE CAR DECELERATING. I DOWN-SHIFTED TO 4TH
                  GEAR AND WAS GIVING IT GAS, BUT STILL WOULDN’T
                  SPEED UP. IT FELL DOWN TO ABOUT 40MPH, BEFORE
                  FINALLY CATCHING ITSELF AND SPEEDING BACK UP.




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                  ABOUT A MILE LATER, I GOT OFF MY EXIT AND WAS
                  COMING DOWN TO THE STOP SIGN,WHEN ALL THE
                  INDICATOR LIGHTS CAME ON FOR ABOUT 10 SECONDS.
                  THEY WENT OFF AND I MADE A LEFT HAND TURN AND
                  WENT ABOUT A MILE UP THE ROAD. AT THAT POINT,
                  THE CAR COMPLETELY SHUT OFF DOING ABOUT 35MPH.
                  THERE WAS HEAVY TRAFFIC, SO I PULLED OVER AND
                  STARTED IT BACK UP. I CALLED THE CHEVY
                  DEALERSHIP, WHERE I BOUGHT IT FROM, AND THEY
                  HAD NO OPENINGS FOR A WEEK. SO I TOOK IT LAST
                  WEEK TO GET IT CHECKED AND THEY FOUND NOTHING
                  THAT COULD HAVE CAUSED IT, THEY SAY. I AM VERY
                  UPSET, BUT VERY THANKFUL THAT MY TWO CHILDREN
                  WERE NOT WITH ME WHEN IT HAPPENED. I AM
                  CURRENTLY CONTEMPLATING TRADING IT IN, CUZ I AM
                  WORRIED THAT IF IT HAPPENS AGAIN,AND MY
                  CHILDREN ARE IN THE CAR, THAT IT MIGHT SHUT OFF
                  IN VERY CONGESTED BUMPER TO BUMPER TRAFFIC, ON
                  THE HIGHWAY AT NIGHT, AND A TRACTOR TRAILER IS
                  BEHIND ME AND I CAN’T GET IT STARTED OR SOMEONE
                  DOESN’T SEE ME CUZ MY LIGHTS WOULD BE OFF. THE
                  THOUGHT OF THAT COMPLETELY SCARES ME.

         647.     On September 28, 2013, New GM became aware of a complaint filed with

NHTSA involving a 2010 Camaro in which the following was reported:

                  THE CONTACT OWNS A 2010 CHEVROLET CAMARO. THE
                  CONTACT STATED THAT WHILE DRIVING 5 MPH AND
                  MAKING A TURN, THE VEHICLE STALLED WITHOUT
                  WARNING. THE CONTACT WAS ABLE TO RESTART THE
                  VEHICLE BUT THE FAILURE RECURRED. THE VEHICLE
                  WAS TAKEN TO A DEALER WHO PERFORMED A
                  DIAGNOSTIC AND REPLACED A COMPONENT TO
                  CORRECT THE FAILURE. THE CONTACT WAS UNABLE
                  TO DETERMINE THE EXACT COMPONENT HOWEVER,
                  THE FAILURE RECURRED WITHOUT WARNING. THE
                  VEHICLE WAS TAKEN TO DEALER HOWEVER, NO
                  FAILURE WAS DETERMINED. THE MANUFACTURER WAS
                  MADE AWARE OF THE ISSUE AND AN INCIDENT
                  RECORDER WAS INSTALLED ON THE VEHICLE TO
                  DETERMINE ANY FUTURE FAILURES. THE FAILURE
                  MILEAGE WAS 23,000. THE CURRENT MILEAGE WAS
                  24,000.




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         648.         On October 2, 2013, New GM became aware of a complaint filed with NHTSA

involving a 2010 Camaro in which the following was reported:

                  I REACHED OUT TO [XXX], GM CEO ON MAY 24, 2013
                  WITH A STRONG CONCERNS OF POWER FAILURE FOR
                  THE 2ND TIME WHILE DRIVING THE VEHICLE; CAUSING
                  ME NOT TO HAVE CONTROL WHILE THE VEHICLE WAS
                  DRIVEN. THUS IT WAS ALSO NOTED THAT I ORIGINALLY
                  REACHED OUT TO GM TO REQUEST A REPLACED
                  VEHICLE WHILE MY VEHICLE WAS UNDER WARRANTY
                  DUE TO THE VEHICLE LOSING POWER ON A MAJOR
                  FREEWAY; WHICH WAS LIFE THREATENING; HOWEVER
                  THE RESPONSE BACK FROM GM WAS A DECLINED
                  LETTER THAT I RECEIVED ENSURING ME THAT THE
                  VEHICLE WAS SAFE TO DRIVE. I TRAVEL MAJOR
                  FREEWAYS AS PART OF CAREER SO HAVING A
                  RELIABLE VEHICLE IS IMPERATIVE AS FOR I VALUE MY
                  LIFE. [XXX], SENIOR VICE PRESIDENT OF GLOBAL
                  QUALITY & CUSTOMER EXPERIENCE HAS NOT
                  RETURNED MY CALLS AND NOW GM IS ALSO NOT
                  HONORING THE WARRANTY TOO. AFTER ASSISTING ME
                  WITH MY CAR FOR 5 MONTHS .PLEASE NOT MY 2010
                  CAMARO SS IS PARK AS FOR IT’S NOT SAFE TO DRIVE.
                  GM OFFER ME A CONTRACT TO SIGN THAT WOULD
                  GUARANTEE “NO FAULT TO GM “. I COULDN’T NOT DUE
                  THEM SHOULD MY CAMARO HARM MYSELF OR OTHERS
                  WHILE DRIVING IT. ADDITIONALLY, I WAS TOLD THAT
                  GM KNOWS THERE IS A PROBLEM WITH THE CAMARO
                  BUT CAN’T FIND THE PROBLEM. IT’S HAS BEEN NOTED
                  THAT THE CORRECTIONS THAT I NEED TO HAVE MADE
                  IN ORDER TO BE SAFE IN THE GM VEHICLE CANNOT BE
                  OBTAINED AS FOR MY VEHICLE HAS BEEN KEEP CHEVY
                  FOR SHOP 5 MONTHS….

         649.     On October 16, 2013, New GM became aware of a complaint filed with NHTSA

concerning a 2013 Camaro, in which the following was reported:

                  THE CONTACT OWNS A 2013 CHEVROLET CAMARO. THE
                  CONTACT STATED THAT WHILE MAKING A U-TURN, THE
                  VEHICLE STALLED WITHOUT WARNING. THE VEHICLE
                  WAS NOT TAKEN TO A DEALER FOR DIAGNOSIS OF THE
                  FAILURE. THE MANUFACTURER WAS NOT NOTIFIED OF
                  THE FAILURE. THE VEHICLE WAS NOT REPAIRED. THE




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                  APPROXIMATE FAILURE AND CURRENT MILEAGE WAS
                  830.

         650.     On April 20, 2014, New GM became aware of a complaint filed with NHTSA

concerning a 2014 Camaro, in which the following was reported:

                  AS I WAS TURNING THE CORNER ON TO WOODWARD
                  AVENUE MY CAR JUST SHUT DOWN. THE CAR WENT
                  TOTALLY BLACK AND SHUT DOWN IN THE MIDDLE OF
                  THE TURN ON THIS VERY BUSY-MAIN THOROUGHFARE.

         651.     On April 30, 2014, New GM became aware of a complaint filed with NHTSA

concerning a 2014 Camaro, in which the following was reported:

                  WITHIN TWO WEEKS AFTER PURCHASING MY CAR IT
                  STALLED TWICE--BOTH WHEN STOPPED AT RED LIGHTS.
                  I TOOK CAR TO DEALERSHIP AND THEY DID A ROAD
                  TEST BUT COULD NOT REPLICATE. ON 4/9/2014 I WAS
                  MAKING A RIGHT HAND TURN AND THE CAR STALLED
                  IN THE MIDDLE OF THE INTERSECTION. I RESTARTED
                  THE CAR, DROVE TO MY OFFICE AND THE CAR STALLED
                  WHEN TURNING INTO THE PARKING GARAGE AND
                  AGAIN WHEN TURNING INTO THE PARKING SPACE.
                  TOOK TO THE DEALERSHIP THE FOLLOWING DAY AND
                  THEY KEPT FOR AN EXTENDED TEST DRIVE BUT COULD
                  NOT REPLICATE THE PROBLEM. SINCE THERE WERE
                  NOT ANY CODES THE CAR WAS RETURNED TO ME.

         652.     On May 6, 2014, New GM became aware of a complaint filed with NHTSA

concerning a 2014 Camaro, in which the following was reported:

                  DRIVING ON CRUISE CONTROL. KNEE BUMPED KEY,
                  ENGINE TURNED OFF AT 60 MPH. POWER STEERING AND
                  BRAKES STILL WORKED, BUT ENGINE WAS OFF.

         653.     On May 9, 2014, New GM became aware of a complaint filed with NHTSA

involving a 2013 Camaro, in which the following was reported:

                  THE CONTACT INDICATED WHILE TRAVELING 60 MPH
                  ON A MAJOR HIGHWAY, THE VEHICLE STALLED
                  WITHOUT WARNING. THE CONTACT WAS ABLE TO
                  MOVE THE VEHICLE OVER TO THE SHOULDER AND



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                  AFTER SEVERAL ATTEMPTS THE VEHICLE WAS ABLE TO
                  RESTART. THE VEHICLE WAS TO BE FURTHER
                  INSPECTED, DIAGNOSED AND REPAIRED BY AN
                  AUTHORIZED DEALER BUT IT WAS NOT REPAIRED. THE
                  CONTACT WAS NOTIFIED OF NHTSA CAMPAIGN ID
                  NUMBER: 14V346000 (ELECTRICAL SYSTEM) AFTER
                  EXPERIENCING THE FAILURE MULTIPLE TIMES AND
                  WAS WAITING FOR PARTS TO GET THE VEHICLE
                  REPAIRED. THE MANUFACTURER WAS NOTIFIED OF THE
                  FAILURE. THE APPROXIMATE FAILURE MILEAGE WAS
                  28,000.

          654.    On May 19, 2014, New GM became aware of a complaint filed with NHTSA

involving a 2013 Camaro, in which the following was reported:

                  WHILE DRIVING DOWN I 75 IN OCALA FLORIDA CAR
                  STALLED IN MIDDLE OF HIGHWAY . I PULLED OVER TO
                  SHOULDER AND HAD TO RESTART CAR. I TOOK IT IN TO
                  A DEALER AND THEY SAID THEY COULD NOT FIND ANY
                  THING WRONG. THEY SAID TAKE THE CAR.

          655.    On May 20, 2014, New GM became aware of a complaint filed with NHTSA

involving a 2012 Camaro, in which the following was reported:

                  WHEN THE IGNITION SWITCH/ KEY IS SLIGHTLY
                  BUMPED WITH KNEE, THE CAR SHUTS OFF. THREE
                  TIMES NOW. DEALERSHIP NOT RESPONSIVE. TAUGHT
                  MY TEEN DRIVERS WHAT TO DO IF THIS HAPPENS AND
                  THIS SAVED MY DAUGHTER’S LIFE WHEN IT HAPPENED
                  TO HER.

          656.    New GM’s supposed “remedy” to correct the unintended rotation of the ignition

key from RUN to ACC or OFF in Camaro models is to provide Camaro owners with new keys

and key rings.151 Dealers were instructed to remove the key blade from the original flip




    151
          GM-MDL2543-100138040.



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key/RKE transmitter assemblies provided with the vehicle, and provide two new keys and two

key rings per key:152




          Camaro key & RKE before recall repair




          Camaro key & RKE after recall repair

          657.    But New GM’s remedy—providing new keys and key rings to Camaro owners—

does not resolve the issue. Before New GM’s decision to recall the Camaro in June 2014,

Valarie Boatman conducted an investigation of the Camaro ignition switches and recommended

turning the run position on the Camaro models 55 degrees counter clockwise (CCW).153 This

recommendation was based on testing the key with drivers of different heights. By turning the

run position 55 degrees CCW, hitting the key with the driver’s knee and knocking it out of the

run position would become more difficult to do. This is because the key is in a position that is

much less likely to be hit by the driver’s knee and moved out of position.

    152
          GM-MDL2543-100332357.
    153
      GM-MDL2543-402052790, GM-MDL2543-100702466 (revision 2), GM-MDL2543-
300896296 (revision 8), GM-MDL2543-300897782 (recommendation for -54 degrees CCW and
34 degrees CCW).



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          658.    New GM did not implement Boatman’s recommendation.154 New GM’s

solution—substituting keys and providing new key rings—does not address the position of the

key in the run position or the possibility of it being hit by the driver’s knee. Neither does this

quick modification resolve the matter of the position of the ignition switch on the steering

column which, as evident in the photos in the GM knee key studies, creates the risk for

unintended key rotation for tall drivers because the position of the ignition switch is too low on

the steering column.155 This remedy thus does nothing to address the basic ergonomics of the

vehicle. The remedy also disregards torque, thereby ignoring early testing showing low torque

values.

          659.    Further, there is no evidence that that a full 3D analysis was done of the vehicle

cab, or that post-remedy testing was done to validate the remedy.

          660.    The remedy for yet another recall involving the ignition switch in Old and New

GM vehicles also calls into question the efficacy of Recall 14v346. In Safety Recall 14v540,

New GM described the defect in MY 2011-2013 Chevy Caprices and MY 2008-2009 Pontiac

G8s as “[u]nintended key rotation from ‘RUN’; to ‘ACC’ position while driving as a result of

interaction between the vehicle operator’s knee and the ignition key.” New GM described the

root cause of the defect as follows: “The key blade orientation (perpendicular to the transmitted

body) and the alignment of the key cylinder in the ‘RUN’ position result in a sufficient surface

area of key transmitter being available for potential knee contact.” The remedy was to change

the position of the key while in the ignition switch: “Replace fixed-blade key with the blade

rotated by 90 degrees.” The blade rotation is designed to present the key transmitter in a vertical

    154
          GM-MDL2543-100702516, p. 5.
    155
          GM-MDL2543-300736014.



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plane (instead of a horizontal one) when the key is in the RUN position.156 The goal is for any

knee contact with the key to turn the key towards RUN position rather than away from RUN.157

          661.    In sum, the proposed “remedy” for Safety Recall 14v346 is insufficient because it

does not address (i) the poor placement of the ignition switch such that the keys are vulnerable to

being “kneed” by the driver; (ii) the airbag algorithm that can render the airbags inoperable even

when the vehicles are travelling at a high speed; and (iii) the possible need for a new switch with

higher torque.

          662.    Indeed, on July 31, 2014, after the recall was announced, New GM became aware

of a complaint filed with NHTSA involving a 2014 Camaro, in which the following was

reported:

                  I WAS TURNING ONTO THE HIGHWAY THAT THE SPEED
                  LIMIT IS 65 MPH FROM A SIDE ROAD. I WAITED FOR
                  ONCOMING TRAFFIC TO PASS AND THEN PULLED OUT.
                  AS I PULLED OUT, TURNING RIGHT, MY CAR HAD A
                  SUDDEN LOSS OF POWER. I TRIED TO RESTART AND IT
                  WOULD NOT RESTART. I HAD DIFFICULTY PULLING
                  OVER TO THE SIDE OF THE ROAD DUE TO THE STEERING
                  WHEEL BEING STIFF AND HARD TO HANDLE. AFTER I
                  GOT TO THE SIDE OF THE ROAD, I WAS ABLE TO
                  RESTART MY CAR. I DID NOT BUMP THE IGNITION
                  SWITCH WHEN THIS HAPPENED EITHER. [Emphasis
                  added.]

          5.      The ignition switch recalls were inadequate and poorly conducted.

          663.    New GM sent its first recall notices to the owners of vehicles with defective

ignition switches in late February and early March of 2014. New GM’s recall letter minimized

the risk of the ignition switch defect, indicating that ignition problems would occur only “under

certain circumstances.” New GM’s recall notification emphasized that the risk of power failure
    156
          GM-MDL2543-303953937.
    157
          Id.




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increased if the “key ring is carrying added weight . . . or your vehicle experiences rough road

conditions.”

          664.    To repair the Delta Ignition Switch Vehicles targeted in the February and March

2014 recalls, New GM replaced the defective ignition switch with a new ignition switch. At the

time it announced the recall of these cars, however, New GM did not have replacement switches

ready. New GM CEO Mary Barra told Congress that New GM would start replacing ignition

switches beginning in April of 2014.

          665.    Internally, New GM could not explain why it was recalling some vehicles subject

to the Technical Service bulletin and not others:

                  I am very concerned about answering the question why some
                  vehicles listed on the TSBs were not recalled. From our review,
                  we do not, with confidence, know the answer to the question. On
                  the ION, for example, we have been told that there is no record on
                  ignition status from the SDM. We have ION’s non-deployed with
                  blank records.158

          666.    New GM later revised its timeline, notifying NHTSA that all replacement

switches would be ready by October 4, 2014.

          667.    New GM’s repair of the defective switches proceeded painfully slowly. As of

August 5, 2014, New GM had repaired only 683,196 of the 2.1 million Defective Ignition Switch

Vehicles at issue in the February and March recalls. As of January 23, 2015, New GM had

repaired only 1,229,529 of the involved vehicles—or less than 60% of the total.

          668.    On September 8, 2014, Ms. Barra told CNBC radio that the repair process was

“substantially complete.” Nonetheless, at that time, New GM had repaired only 1 million

vehicles.


    158
          GM-MDL2543-001054064 (Highly Confidential).



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         669.     Meanwhile, dealerships across the country struggled to implement New GM’s

repair process. One dealership in Kalamazoo, Michigan, hired a “recall concierge” simply to

deal with the myriad issues raised by the recall repair process.

         670.     Although New GM touted to courts around the country that it was offering to

provide any concerned driver with a temporary loaner vehicle while he or she awaited a

replacement part (for many, over five months), New GM’s recall letter failed to inform vehicle

owners whether temporary loaner vehicles would be made available while they awaited

replacement parts. The letter also provided no time frame in which repairs would be completed.

         671.     To add insult to injury, the New GM recalls were fraught with problems for

consumers. Many consumers were unable to obtain a loaner vehicle despite New GM’s promise

to provide them with one pending repair. When individuals were fortunate enough to obtain a

loaner, they often experienced problems associated with the loaner program. Even worse, many

consumers continued to experience safety problems with the Delta Ignition Switch Vehicles,

even after the ignition switch was replaced pursuant to the recall.

         672.     Moreover, for those Class Members who did have work performed under the

recall, they were required to expend substantial uncompensated time dealing with the issue,

including getting the recall work scheduled, taking in the vehicle, dropping it off, and picking it

up.

                  a.     New GM failed to alert drivers of recalled vehicles to the possibility of
                         obtaining a loaner vehicle, and when consumers are aware, they often
                         find that loaner vehicles are not available.

         673.     One common problem consumers faced was the difficulty, if not impossibility, of

obtaining a rental or loaner vehicle while awaiting the replacement part for their Delta Ignition

Switch Vehicle pursuant to the recall. Yet after it announced the recalls, New GM represented to




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the government and courts across the country that it was offering consumers temporary loaner

vehicles, free of charge, while those consumers wait for their Delta Ignition Switch Vehicle to be

repaired.

         674.     New GM did not make this information easily accessible for consumers. Shortly

after the Delta Ignition Switch Recall was announced, for example, New GM published a

website at gmignitionupdate.com. The front page of that website did not inform consumers that

they were eligible to obtain a temporary replacement vehicle.

         675.     Indeed, consumers had to click on the Frequently Asked Questions page to learn

about New GM’s offer. Even there, the information was not included in a section entitled,

“What will GM do?” Neither is it included in a section entitled, “What should you do if you

have an affected vehicle?”

         676.     To learn that New GM offered temporary loaner vehicles, a class member had to

click on a section under the heading, “Parts Availability & Repair Timing.” A subsection

entitled, “Who is eligible for a rental vehicle?” stated that “[a]ny affected customer who is

concerned about operating their vehicle may request courtesy transportation. Dealership service

management is empowered to place the customer into a rental or loaner vehicle until parts are

available to repair the customer’s vehicle.”

         677.     Numerous owners and/or lessees of Delta Ignition Switch Vehicles were unaware

that New GM was offering temporary loaner vehicles. As a result, many Class Members driving

Delta Ignition Switch Vehicles and who were rightfully fearful of continuing to drive their

vehicles in light of the now-disclosed safety defect were denied an alternate vehicle pre-repair.

They were either forced to drive their unsafe Delta Ignition Switch Vehicles out of necessity, and

fear every time they sat behind the wheel they could be involved in an accident that would injure




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them or an innocent bystander, or to park their vehicles while awaiting the replacement part for

their vehicles and seek alternative means of transportation.

         678.     Upon information and belief, New GM also did not widely distribute its

temporary loaner vehicle guarantee to dealerships across the country. Many dealerships did not

know and have not been informed about New GM’s promise to provide rental/loaner vehicles to

owners of vehicles awaiting the ignition switch replacement part.

         679.     Further, licensed New GM dealerships aware of the loaner program quickly

exhausted their supply of loaner vehicles early into the recall. Numerous dealerships then

refused interested consumers. Because New GM’s ignition repair website only stated that

“[d]ealership service management” was empowered to provide a temporary loaner vehicle, many

such Class Members reasonably believed that their sole avenue for relief was foreclosed when

their dealership refused.

         680.     Even where Class Members inquired directly with New GM for provision of a

temporary loaner vehicle, numerous Class Members were refused.

         681.     Such refusals not only violated New GM’s representations, but also caused Class

Members substantial inconvenience and expense, such as:

                  a.     Class Members who could not perform their jobs because they were

denied a loaner/rental, despite repeated requests to both the dealership and the New GM hotline;

and

                  b.     Class Members who were denied a rental/loaner vehicle because they have

only property loss or property damage insurance coverage on their Delta Ignition Switch Vehicle

rather than full coverage.




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         682.     Further, even when a loaner vehicle was provided, consumers experience varied

and numerous problems with the program. Among the problems encountered:

                  a.     Class Members incurred substantially increased gasoline expenses with

their loaner vehicles because the loaner is far less fuel efficient than the Delta Ignition Switch

Vehicle;

                  b.     Class Members incurred substantially increased monthly insurance

premium—up to hundreds more per month—than they paid for their Delta Ignition Switch

Vehicle because the loaner vehicle was newer and more expensive; and

                  c.     Class Members were threatened with charges for the loaner vehicle if they

did not pick up their Delta Ignition Switch Vehicle immediately when it was repaired. Class

Members experienced these threats even when their Delta Ignition Switch Vehicle sat idle for

months at a dealership awaiting repair and the dealership provided no notice that it would repair

the vehicle until the repair was complete.

                  b.     The repair is inadequate and/or results in new vehicle defects.

         683.     Yet another common problem with the recall that Plaintiffs are experiencing is the

replacement part is not remedying the safety defect. Numerous Class Members report repeated

stalls and shut downs after their vehicles are purportedly repaired pursuant to the recalls.

Indeed, the most common complaint is that the vehicle continues to have unintended stalls while

driving, the very safety defect the Defective Ignition Switch Vehicle recalls are intended to

correct. What is more, dealerships and New GM have been known to accuse vehicle owners

who report stalls and shut downs following their ignition switch being replaced of lying. A




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sampling of post-recall repair complaints made by consumers to NHTSA include the

following:159

                  [Malibu 2004 No.10648335, 10/17/2014] TL* THE CONTACT
                  OWNS A 2004 CHEVROLET MALIBU. THE CONTACT
                  STATED THAT THE POWER STEERING AND SERVICE
                  ENGINE SENSORS ILLUMINATED ON SEVERAL
                  OCCASIONS. THE VEHICLE WAS TAKEN TO THE
                  AUTHORIZED DEALER. THE TECHNICIAN SERVICED THE
                  VEHICLE ACCORDING TO NHTSA CAMPAIGN NUMBER:
                  14V153000 (STEERING) AND NHTSA CAMPAIGN NUMBER:
                  14V252000 (ELECTRICAL SYSTEM, ELECTRONIC
                  STABILITY CONTROL, EXTERIOR LIGHTING, SERVICE
                  BRAKES, HYDRAULIC AND VEHICLE SPEED CONTROL).
                  THE CONTACT INDICATED THAT THE VEHICLE STALLED
                  SEVERAL TIMES AFTER THE RECALL REPAIR AND THE
                  POWER STEERING FAILURE PERSISTED. THE VEHICLE
                  WAS TAKEN BACK TO THE AUTHORIZED DEALER FOR
                  FURTHER INSPECTION, DIAGNOSIS AND REPAIR. THE
                  MANUFACTURER WAS NOTIFIED OF THE FAILURES. THE
                  APPROXIMATE FAILURE MILEAGE WAS 298, 000.

                  [Camaro 2011 No. 10653348, 12/2/2014] 2011 CHEVROLET
                  CAMARO CONSUMER IS NOT SATISFIED WITH RECALL
                  REPAIRS *CN THE CONSUMER STATED SHE THOUGHT
                  THE ISSUE WAS THE IGNITION. HOWEVER, WHEN THE
                  VEHICLE WAS RETURNED TO HER, SHE NOTICED THE
                  KEY FOBS WERE BROKEN AND AN ADDITIONAL KEY
                  WAS ADDED, WHICH WAS VERY ANNOYING AND
                  HANGING ON HER KNEE. THE CONSUMER STATED THE
                  REMEDY WAS A CHEAP FIX. *JB

                  [Camaro 2011 No.10640422, 10/1/2014] BROUGHT MY
                  CAMARO TO DEALERSHIP FOR RECALL 14294, IGNITION
                  KEY PROBLEM. THE SOLUTION OF REMOVING THE
                  BLADE FROM THE "FLIP" KEY AND ADDING A SEPARATE
                  KEY CREATES A WORSE PROBLEM. ONE, IT WEIGHS
                  MORE DEFEATING THE RECALL CONCERN AND TWO
                  HANGS LOWER INCREASING THE PROBABILITY OF
                  HITTING YOUR KNEE, AGAIN DEFEATING THE REASON
                  FOR THE RECALL AND ADDING A POTENTIAL MEDICAL

    159
       In the examples that follow, “No.” refers to the NHTSA ID Number, and the date refers to
the date the consumer made the complaint.



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                  CONCERN. AND WE WOULD BE RECEIVING AN INFERIOR
                  DESIGN TO WHAT I BOUGHT. I TOLD THEM TO CHANGE
                  IT BACK BECAUSE OF THE ABOVE FLAWS. SINCE THEY
                  STILL SELL THE CARS WITH THE "FLIP" KEY, WHY CANT
                  THEY JUST REPLACE THE KEYS COMPLETE AND NOT
                  JUST BAND AID THE PROBLEM. I BROKE THE BLADE OF
                  THE "FLIP" KEY ON MY 2011 EQUINOX AND COULDN'T
                  JUST REPLACE THE BLADE....A NEW KEY HAD TO BE
                  ORDERED AND BOTH KEYS REPROGRAMMED AT THE
                  COST OF $140. BOTTOM LINE IS THEY SHOULD REPLACE
                  DEFECTIVE MATERIAL WITH SOMETHING EQUAL OR
                  BETTER. AS CONSUMERS WE SHOULD NOT BE
                  PENALIZED FOR THEIR DESIGN MISTAKE....ESPECIALLY
                  TWICE! *TR

                  [Camaro 2011 No. 10640422, 10/1/2014] BROUGHT MY
                  CAMARO TO DEALERSHIP FOR RECALL 14294, IGNITION
                  KEY PROBLEM. THE SOLUTION OF REMOVING THE
                  BLADE FROM THE "FLIP" KEY AND ADDING A SEPARATE
                  KEY CREATES A WORSE PROBLEM. ONE, IT WEIGHS
                  MORE DEFEATING THE RECALL CONCERN AND TWO
                  HANGS LOWER INCREASING THE PROBABILITY OF
                  HITTING YOUR KNEE, AGAIN DEFEATING THE REASON
                  FOR THE RECALL AND ADDING A POTENTIAL MEDICAL
                  CONCERN. AND WE WOULD BE RECEIVING AN INFERIOR
                  DESIGN TO WHAT I BOUGHT. I TOLD THEM TO CHANGE
                  IT BACK BECAUSE OF THE ABOVE FLAWS. SINCE THEY
                  STILL SELL THE CARS WITH THE "FLIP" KEY, WHY CANT
                  THEY JUST REPLACE THE KEYS COMPLETE AND NOT
                  JUST BAND AID THE PROBLEM. I BROKE THE BLADE OF
                  THE "FLIP" KEY ON MY 2011 EQUINOX AND COULDN'T
                  JUST REPLACE THE BLADE....A NEW KEY HAD TO BE
                  ORDERED AND BOTH KEYS REPROGRAMMED AT THE
                  COST OF $140. BOTTOM LINE IS THEY SHOULD REPLACE
                  DEFECTIVE MATERIAL WITH SOMETHING EQUAL OR
                  BETTER. AS CONSUMERS WE SHOULD NOT BE
                  PENALIZED FOR THEIR DESIGN MISTAKE....ESPECIALLY
                  TWICE! *TR

                  [Camaro 2011 No. 10631658, 9/8/2014] GM SAFETY RECALL
                  14294, WE HAD NO ISSUES WITH THE IGNITION KEY
                  PRIOR TO THE RECALL. WE TOOK OUR CAMARO TO THE
                  GM DEALERSHIP, HAD THE RECALL TAKEN CARE OF.
                  UPON DRIVING THE CAMARO AFTER THE IGNITION KEY
                  WAS CHANGED DUE TO THE RECALL, IT IS NOW MORE




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                  OF A SAFETY HAZARD WITH THE KEY ACTUALLY
                  DANGLING DOWN ON OUR KNEE/LEGS WHILE DRIVING.
                  WE WOULD APPRECIATE THE OPPORTUNITY TO GET
                  THE PREVIOUS IGNITION KEY REFIGURED AS IT WAS
                  WHEN WE PURCHASED THE CAMARO AS WE HAD NO
                  PROBLEMS/ISSUES WITH IT PRIOR TO FOLLOWING THE
                  RECALL INSTRUCTIONS OF TAKING OUR CAMARO TO
                  THE DEALER. *TR

                  [Camaro 2014 No. 10671079, 3/10/2015] 2014 CHEVROLET
                  CAMARO. CONSUMER WRITES IN REGARDS TO
                  UNSATISFACTORY IGNITION SWITCH REPAIR WORK
                  DONE AT DEALERSHIP. *SMD THE CONSUMER STATE
                  HIS KNEE NEVER HIT THE KEY IN THE IGNITION
                  SWITCH, UNTIL AFTER THE RECALL WAS PERFORMED.
                  THE CONSUMER STATED HIS KNEE PINCHED THE RKE
                  TRANSMITTER AGAINST THE KEY IN THE IGNITION
                  SWITCH EVERY TIME HE MOVED HIS FOOT TO BRAKE
                  PEDAL. *JB

                  [Cobalt, 2005, No. 10573579, 3/19/2014]TL* THE CONTACT
                  OWNS A 2005 CHEVROLET COBALT. THE CONTACT
                  STATED WHILE DRIVING APPROXIMATELY 55 MPH, THE
                  VEHICLE STALLED AS THE POWER STEERING WARNING
                  LIGHT ILLUMINATED. THE VEHICLE WAS TAKEN TO THE
                  DEALER WHERE IT WAS DIAGNOSED THAT THE
                  IGNITION SWITCH NEEDED TO BE REPLACED. THE
                  MANUFACTURER WAS NOTIFIED OF THE FAILURE. THE
                  VEHICLE WAS REPAIRED BUT THE FAILURE RECURRED.
                  THE APPROXIMATE FAILURE MILEAGE WAS 31, 000 AND
                  THE CURRENT MILEAGE WAS 71, 155.

                  [Cobalt, 2009, No. 10630177, 9/2/2014], I HAVE ALREADY
                  HAD THE RECALL SERVICE PERFORMED ON MY 2009
                  CHEVROLET COBALT, BUT THE IGNITION SWITCH
                  PROBLEM STILL PERSISTS AFTER HAVING THE RECALL
                  SERVICE PERFORMED. THERE'S THE POSSIBILITY THAT
                  A SAFETY HAZARD TO THE AMERICAN PUBLIC STILL
                  EXISTS IF THERE ARE CASES SIMILAR TO MINE. THE
                  VEHICLE IGNITION WAS INADVERTENTLY SWITCHED
                  TO THE "OFF" POSITION WHILE I WAS GETTING ONTO A
                  HIGHWAY. I WAS SHIFTING MY HIPS TO ADJUST MY
                  SEATING POSITION, AND MY KNEE BUMPED INTO MY
                  KEYCHAIN AND CAUSED THE IGNITION TO SWITCH TO
                  THE "OFF" POSITION. I LOST SPEED CONTROL AND
                  POWER STEERING, BUT I WAS LUCKILY ABLE TO MOVE



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                  TO THE SHOULDER OF THE HIGHWAY, SHIFT INTO
                  "PARK", AND RE-START THE VEHICLE. THIS EVENT
                  HAPPENED WITHIN 48 HOURS OF ME HAVING THE
                  RECALL SERVICE PERFORMED AT A CHEVROLET
                  DEALERSHIP. *TR

                  [Cobalt, 2009, No. 10605114, 6/23/2014], TL* THE CONTACT
                  OWNS A 2009 CHEVROLET COBALT. WHILE DRIVING
                  APPROXIMATELY 30 MPH, THE ENGINE STALLED
                  WITHOUT WARNING. THE VEHICLE WAS ABLE TO BE
                  RESTARTED AND RESUMED NORMAL OPERATION. THE
                  FAILURE OCCURRED IMMEDIATELY AFTER THE
                  VEHICLE WAS SERVICED FOR NHTSA CAMPAIGN
                  NUMBER: 14V047000 (AIR BAG, ELECTRICAL SYSTEM).
                  THE VEHICLE WAS NOT REPAIRED AND THE
                  MANUFACTURER WAS NOTIFIED. THE APPROXIMATE
                  FAILURE MILEAGE WAS 60, 000.

                  [Cobalt, 2010, No. 10717308, 5/19/2015], TL* THE CONTACT
                  OWNS A 2010 CHEVROLET COBALT. THE CONTACT
                  STATED THAT THE VEHICLE RECEIVED THE RECALL
                  REPAIR FOR NHTSA CAMPAIGN NUMBER: 14V171000
                  (ELECTRICAL SYSTEM). MONTHS LATER, THE VEHICLE
                  STALLED SEVERAL TIMES. THE VEHICLE WAS TAKEN
                  BACK TO AN AUTHORIZED DEALER FOR FURTHER
                  INSPECTION TO DETERMINE THE FAILURE. THE
                  MANUFACTURER WAS NOTIFIED OF THE FAILURE. THE
                  VIN WAS UNAVAILABLE. THE APPROXIMATE FAILURE
                  MILEAGE WAS 95, 000.

                  [Cobalt, 2010, No. 10638140, 9/22/2014], TL* THE CONTACT
                  OWNS A 2010 CHEVROLET COBALT. THE CONTACT
                  STATED THAT THE VEHICLE WAS RECENTLY REPAIRED
                  UNDER RECALL NHTSA CAMPAIGN ID NUMBER:
                  14E021000 (ELECTRICAL). THE FAILURE RECURRED AS
                  THE CONTACT WAS LEAVING THE DEALER. THE
                  VEHICLE WAS TAKEN BACK TO THE DEALER.
                  TECHNICIAN STATED THAT THE IGNITION SWITCH
                  NEEDED TO BE REPLACED BUT SINCE THE VEHICLE
                  HAD ALREADY BEEN REPAIRED UNDER THE RECALL
                  THE MANUFACTURER WAS NO LONGER RESPONSIBLE
                  FOR THE REPAIRS. THE VEHICLE WAS NOT REPAIRED.
                  THE MANUFACTURER WAS NOTIFIED OF THE FAILURE.
                  THE APPROXIMATE FAILURE MILEAGE WAS 22, 000.




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                  [Cobalt, 2010, No. 10620681, 8/7/2014], TL* THE CONTACT
                  OWNS A 2010 CHEVROLET COBALT. THE CONTACT
                  STATED THAT THE VEHICLE FAILED TO START AFTER
                  NUMEROUS ATTEMPTS. IN ADDITION, THE VEHICLE
                  STALLED ON THREE OCCASIONS. THE VEHICLE WAS
                  ABLE TO RESTART ON SEVERAL OCCASIONS. THE
                  VEHICLE WAS PREVIOUSLY REPAIRED UNDER NHTSA
                  CAMPAIGN ID NUMBER: 14V171000 (ELECTRICAL
                  SYSTEM). THE FAILURE OCCURRED AFTER THE
                  VEHICLE WAS REPAIRED UNDER THE RECALL. THE
                  VEHICLE WAS NOT REPAIRED FOR THE INITIAL
                  FAILURE. THE MANUFACTURER WAS NOT NOTIFIED OF
                  THE FAILURE. THE APPROXIMATE FAILURE MILEAGE
                  WAS 68, 000.

                  [Cobalt, 2006, No. 10705425, 4/13/2015], MY VEHICLE
                  SUDDENLY AND COMPLETELY TURNED OFF BY ITSELF,
                  WHILE I WAS DRIVING ON A VERY BUSY, DANGEROUS
                  HIGHWAY. NOTE- I ALREADY HAD THE IGNITION
                  SWITCH REPAIRED UNDER THE RECALL, AND I HAVE
                  NOTHING ON MY KEY RING!!! I CONTACTED THE GM
                  CUSTOMER SERVICE NUMBER (1-800-222-1020) AND IT
                  FELT LIKE NO ONE IS TAKING THIS COMPLAINT VERY
                  SERIOUSLY. THEY PUT ME IN CONTACT WITH THE
                  DEALER THAT DID THE RECALL REPAIR, AND I NOW
                  HAVE AN APPOINTMENT SCHEDULED IN 12 DAYS,
                  WHICH I HAVE TO PAY FOR DIAGNOSTIC TESTING AT
                  $104/HOUR!!! WHAT'S HAPPENING TO MY CAR NOW IS
                  THE SAME THING THAT WAS HAPPENING TO INITIATE
                  THIS RECALL (AND LAWSUITS) IN THE FIRST PLACE.
                  HOW CAN THEY BE SO NONCHALANT ABOUT THIS
                  COMPLAINT, AND FURTHERMORE, MAKE ME PAY FOR
                  IT? CLEARLY THERE IS A DIFFERENT PROBLEM THAN
                  WHAT GM IS CLAIMING, AS I'VE SEARCHED ONLINE
                  AND HAVE FOUND OTHERS STILL HAVING THE SAME
                  DANGEROUS PROBLEM OF THEIR CAR COMPLETELY
                  TURNING OFF IN THE MIDDLE OF DRIVING, SINCE THEY
                  TOO HAVE HAD THE REPAIRS!!!

                  [Cobalt, 2006, No. 10693442, 3/11/2015], STARTING ON
                  SUNDAY I WAS DRIVING DOWN THE HIGHWAY AND MY
                  CAR SUDDENLY SHUT OFF. THE POWER STEERING
                  LIGHT FLASHED AND THEN THE SERVICE AIR BAG
                  LIGHT AS WELL. I PULLED OVER, STOPPED
                  COMPLETELY, AND TURNED MY CAR BACK ON AND




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                  TOOK THE BACK ROADS HOME. AFTER TURNING THE
                  CAR BACK ON THE WARNING LIGHTS ON THE DISPLAY
                  WERE GONE. THE NEXT DAY I WAS ON A DIFFERENT
                  HIGHWAY AND THE SAME THING HAPPENED EXCEPT
                  WHEN I TURNED MY CAR BACK ON THE SERVICE AIR
                  BAG LIGHT STAYED ON UNTIL I RETURNED HOME. I
                  HAD THE RECALL ON THE IGNITION SWITCH REPLACED
                  LAST YEAR.

                  [Cobalt, 2006, No. 10679149, 3/25/2015], 2006 CHEVROLET
                  COBALT. CONSUMER WRITES IN REGARDS TO TOTAL
                  POWER LOSS AND OTHER VEHICLE PROBLEMS. *SMD
                  THE CONSUMER STATED THE DASHBOARD LIGHTS
                  FLICKERED AND THE POWER STEERING FAILED. HE
                  ALSO STATED THE TRUCK WOULD NOT OPEN, AFTER
                  THE IGNITION RECALL WAS PERFORMED. *JB

                  [Cobalt, 2006, 10648486, 10/17/2014], TL* THE CONTACT
                  OWNS A 2006 CHEVROLET COBALT. THE CONTACT
                  STATED THAT WHILE DRIVING AT VARIOUS SPEEDS,
                  THE VEHICLE STALLED WITHOUT WARNING. THE
                  DEALER DIAGNOSED THAT THE CYLINDER KIT NEEDED
                  TO BE REPLACED. THE VEHICLE WAS REPAIRED UNDER
                  RECALL NHTSA CAMPAIGN NUMBER: 14V047000
                  (ELECTRICAL SYSTEM). HOWEVER, THE FAILURE
                  PERSISTED. THE MANUFACTURER WAS NOTIFIED OF
                  THE FAILURE. THE VIN WAS UNAVAILABLE. THE
                  APPROXIMATE FAILURE MILEAGE WAS 155, 214.

                  [Cobalt, 2006, No. 10629441, 8/29/2014], MY CAR WAS PART
                  OF THE GM RECALL FOR THE INCORRECT IGNITION
                  SWITCHES. IT WAS RETURNED TO ME ON JULY 23RD,
                  FIXED OR SO I WAS TOLD WITH A NEW IGNITION TO FIX
                  THE ISSUE. HOWEVER WITHIN A WEEK OF HAVING THE
                  CAR BACK, IT WAS DOING THE SAME AS BEFORE THE
                  RECALL FIX WAS DONE. SLIPPING INTO ACCESSIBILITY
                  MODE AND NOT GIVING ME ANY OPTION TO HIT THE
                  GAS, ONLY PULL OFF IF I WAS ABLE, TURN THE CAR
                  OFF, THEN BACK ON AND GO. THIS HAPPENED A
                  COUPLE OF TIMES WHEN I WAS GOING UPWARDS OF 40
                  MPH. THE LAST FEW TIMES THIS HAS HAPPENED WAS
                  PULLING FROM MY STREET INTO A BUSY STREET WITH
                  TRAFFIC GOING UPWARDS OF 55 MPH. I HAD TO PULL
                  OFF AS QUICKLY AS I COULD ONTO THE SHOULDER
                  AND TURN OFF THE CAR, BACK ON AGAIN AND GO
                  MEANWHILE HOPING TO NOT BE HIT. I CONTACTED GM



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                  AGAIN AND WAS TOLD THAT MY RECALLED PART WAS
                  FIXED AND THIS HAD TO BE ANOTHER ISSUE.
                  HOWEVER, IT'S THE EXACT ISSUE THAT HAPPENED
                  BEFORE MY CAR WAS FIXED. I'M 7 MONTHS PREGNANT
                  AND OFTEN DRIVE WITH MY 16 MONTH OLD SON IN
                  THIS CAR WITH ME. I DO NOT FEEL SAFE DRIVING IT
                  AND CANNOT JUST GO PURCHASE A NEW CAR. I FEEL
                  LIKE THIS NEEDS TO BE LOOKED INTO FURTHER TO
                  FIND OUT IF THERE ARE MORE ISSUES AFTER THE
                  INITIAL RECALL FIX. *TR

                  [Cobalt, 2006, No. 10620922, 8/8/2014], TL* THE CONTACT
                  OWNS A 2006 CHEVROLET COBALT. THE CONTACT
                  STATED WHILE DRIVING APPROXIMATELY 25 MPH , THE
                  VEHICLE STALLED WITHOUT ANY WARNING LIGHTS
                  ILLUMINATED. THE CONTACT RECEIVED NOTIFICATION
                  OF NHTSA CAMPAIGN NUMBER 14E021000 (IGNITION
                  SWITCH) AND THE VEHICLE WAS TAKEN TO THE
                  DEALER TO REMEDY THE RECALL HOWEVER, THE
                  FAILURE RECURRED. THE FAILURE WAS NOT
                  DIAGNOSED. THE MANUFACTURER WAS NOTIFIED OF
                  THE FAILURE. THE APPROXIMATE FAILURE MILEAGE
                  WAS 90, 000.

                  [Cobalt, 2006, No. 10599019, 6/17/2014], TL* THE CONTACT
                  OWNS A 2006 CHEVROLET COBALT. THE CONTACT
                  STATED WHEN MAKING A TURN, THE VEHICLE
                  INTERMITTENTLY STALLED. THE VEHICLE WAS TAKEN
                  TO THE DEALER WHO WAS UNABLE TO DUPLICATE THE
                  FAILURE. A COUPLE OF MONTHS LATER, THE CONTACT
                  RECEIVED RECALL NHTSA CAMPAIGN NUMBER:
                  14V171000 (ELECTRICAL SYSTEM) AND NHTSA
                  CAMPAIGN NUMBER: 14V047000 (AIR BAGS, ELECTRICAL
                  SYSTEM). THE VEHICLE WAS SERVICED UNDER BOTH
                  RECALLS. HOWEVER, THE NEXT DAY THE FAILURE
                  RECURRED. THE DEALER WAS MADE AWARE OF THE
                  FAILURE AND THE TECHNICIAN STATED THAT DURING
                  SERVICE THE VEHICLE BATTERY TESTED LOW. THE
                  VEHICLE WAS TAKEN TO AN INDEPENDENT MECHANIC,
                  WHO DIAGNOSED THAT THE IGNITION SWITCH FUSE
                  HAD BLOWN AND THAT THE BATTERY HAD TESTED
                  NORMAL. THE VEHICLE WAS REPAIRED. THE FAILURE
                  MILEAGE WAS 141, 420.

                  [Cobalt, 2006, No. 10598301, 6/14/2014], WE TOOK THE
                  COBOLT TO OURISMAN CHEVROLET, ALEXANDRIA, VA



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                  FOR REPAIRS TO THE IGNITION SWITCH WHICH IS
                  SUBJECT OF A RECALL. DEALER KEPT SAYING THE
                  NECESSARY PARTS WERE NOT AVAILABLE AND IT
                  WOULD TAKE MONTHS. WE TOOK THE CAR TO THEM
                  SINCE WE HAD 2 EVENTS WHEN THE IGNITION TURNED
                  OFF AND THE STEERING WHEEL LOCKED. TO OUR
                  SURPRISE THE DEALER HAD THE PART AND
                  SUPPOSEDLY FIXED IT THE SAME AFTERNOON. ABOUT
                  A WEEK LATER, WHEN WE WERE PULLING OUT OF THE
                  PARKING LOT, THE CAR STARTED TO TURN OFF AND ON
                  AND THEN THE IGNITION TURNED OFF COMPLETELY
                  AND THE STEERING LOCKED, WHICH WAS THE SAME
                  PROBLEM BEFORE THE SUPPOSED REPAIRS AND
                  SUBJECT TO THE RECALL. WE ARE LUCKY IT DIDN'T
                  HAPPEN ON THE HIGHWAY AND WANT TO ALERT
                  FEDERAL AUTHORITIES TO POTENTIAL FAULTY
                  REPLACEMENT PARTS OR IMPROPER REPAIRS. EITHER
                  WAY, THE PROBLEM CAN CAUSE ACCIDENTS, AS IT HAS
                  IN THE PAST AND COULD RESULT IN DEATHS. WE
                  CALLED GM AND WAS GIVEN A NUMBER. HOWEVER, A
                  CUSTOMER ADVISOR SUGGESTED THE PROBLEM IS
                  SOMETHING ELSE AND NOT RELATED, WHICH IS
                  HOGWASH. THE SAME PROBLEM AS BEFORE THE SO
                  CALLED REPAIRS. *JS

                  [Cobalt, 2006, No. 10594813, 5/29/2014], TL - THE CONTACT
                  OWNS A 2006 CHEVROLET COBALT. THE CONTACT
                  STATED THAT THE VEHICLE WAS SERVICED UNDER
                  NHTSA CAMPAIGN NUMBER: 14V047000. THE CONTACT
                  STATED THAT THE FAILURE RECURRED AFTER THE
                  REPAIRS WERE COMPLETED. THE MANUFACTURER WAS
                  NOT MADE AWARE OF THE FAILURE. THE FAILURE AND
                  CURRENT MILEAGE WAS 142, 000. DR UPDATED
                  8/27/14*CN THE CONSUMER STATED THE VEHICLE
                  EXPERIENCED POWER FAILURE AT ANY GIVEN TIME.
                  UPDATED 09/8/2014 *JS

                  [Cobalt, 2006, No. 10576147, 4/1/2014], TL* THE CONTACT
                  OWNS A 2006 CHEVROLET COBALT. THE CONTACT
                  STATED WHILE DRIVING APPROXIMATELY 25 MPH, THE
                  VEHICLE STALLED WITHOUT WARNING. AFTER
                  NUMEROUS ATTEMPTS THE CONTACT WAS ABLE TO
                  START THE VEHICLE. THE FAILURE OCCURRED THIRTY
                  TIMES OVER A ONE YEAR PERIOD. THERE WAS A
                  RECALL NOTIFICATION RELATED TO NHTSA CAMPAIGN




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                  ID NUMBER 14V047000; HOWEVER, THE CONTACT
                  NEVER RECEIVED DOCUMENTATION. THE VEHICLE WAS
                  TAKEN TO THE DEALER WHO REPLACED THE IGNITION
                  SWITCH; YET, THE FAILURE CONTINUED TO OCCUR.
                  THE MANUFACTURER WAS NOT NOTIFIED. THE
                  APPROXIMATE FAILURE MILEAGE WAS 141, 478.

                  [HHR, 2008, No. 10640923, 10/2/2014], TL* THE CONTACT
                  OWNS A 2008 CHEVROLET HHR. THE CONTACT STATED
                  THAT THE REMEDY FOR NHTSA CAMPAIGN NUMBER:
                  14V047000 (ELECTRICAL SYSTEM) FAILED. THE
                  SPECIFICS OF THE FAILURE WERE NOT AVAILABLE. THE
                  MANUFACTURER WAS MADE AWARE OF THE FAILURE.
                  THE APPROXIMATE FAILURE MILEAGE WAS 75, 000.
                  UPDATED 11/20/14*LJ THE IGNITION SWITCH WAS
                  REPLACE TWICE. THE CONSUMER STATED THE
                  PROBLEM STILL EXISTS. UPDATED 12/11/14*JB

                  [Impala, 2003, No. 10762858, 9/10/2015], TL* THE CONTACT
                  OWNS A 2003 CHEVROLET IMPALA. WHILE DRIVING AT
                  30 MPH, THE VEHICLE STALLED WITHOUT WARNING.
                  THE VEHICLE WAS ABLE TO RESTART AFTER SEVERAL
                  ATTEMPTS. ON SOME OCCASIONS, THE VEHICLE FAILED
                  TO START. THE VEHICLE WAS SERVICED UNDER NHTSA
                  CAMPAIGN NUMBER: 14V400000 (ELECTRICAL SYSTEM)
                  BUT THE REMEDY FAILED TO REPAIR THE VEHICLE.
                  THE MANUFACTURER WAS NOTIFIED OF THE FAILURE.
                  THE FAILURE MILEAGE WAS 100, 600.

                  [Impala, 2003, No. 10721505, 5/26/2015], TL* THE CONTACT
                  OWNS A 2003 CHEVROLET IMPALA. THE CONTACT
                  STATED THAT THE VEHICLE STALLED WHILE IN
                  MOTION AND STATIONARY WITHOUT WARNING. THE
                  VEHICLE RESTARTED AFTER 20 MINUTES. THE VEHICLE
                  WAS TAKEN A DEALER AND REPAIRED UNDER NHTSA
                  CAMPAIGN NUMBER: 14V400000 (ELECTRICAL SYSTEM);
                  HOWEVER, THE FAILURE RECURRED. THE
                  MANUFACTURER WAS NOT MADE AWARE OF THE
                  FAILURE. THE APPROXIMATE FAILURE MILEAGE WAS
                  109, 000.

                  [Impala, 2002, No. 10658705, 11/17/2014], TL* THE CONTACT
                  OWNS A 2002 CHEVROLET IMPALA. THE CONTACT
                  STATED THAT THE KEY FAILED TO TURN AND
                  PREVENTED THE VEHICLE FROM STARTING. THE
                  CONTACT MENTIONED THAT THE VEHICLE WAS



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                  REPAIRED UNDER NHTSA CAMPAIGN NUMBER:
                  14V400000 (ELECTRICAL SYSTEM). IN ADDITION, WHILE
                  DRIVING VARIOUS SPEEDS, THE VEHICLE WOULD
                  STALL. THE DEALER AND MANUFACTURER WERE MADE
                  AWARE OF THE FAILURE. THE VEHICLE WAS NOT
                  REPAIRED. THE APPROXIMATE FAILURE MILEAGE WAS
                  100, 000. UPDATED 1/7/15*CN THE CONSUMER STATED
                  THE VEHICLE WOULD NOT START WHEN THE KEY WAS
                  IN THE IGNITION. UPDATED 03/03/15

                  [Impala, 2000, No. 10643333, 10/8/2014], HIT A POT HOLE ON
                  THE HIGHWAY. KEY FELL OUT OF THE IGNITION, WAS
                  ABLE TO RETRIEVE THE KEY OFF THE FLOOR AND
                  RESTART THE CAR WHILE DRIVING. I THINK THAT MY
                  KNEE MAY HAVE HIT THE KEY KNOCKING IT INTO THE
                  ACCESSORIES POSITION RESULTING IN THE KEY
                  FALLING OUT OF THE IGNITION. I JUST LEFT MORAN
                  CHEVROLET IN CLINTON TOWNSHIP, MI TO HAVE THE
                  IGNITION KEY RECALL FIX. I NOTICE THE KEY CAN
                  STILL BE REMOVED IN THE ACCESSORIES POSITION. IN
                  MY OPINION ALL THE FIX DID FOR GM RECALL 14350
                  WAS ADD MORE WEIGHT TO MY KEY BY PUTTING A
                  LARGER, HEAVIER HEAD ON MY KEY. NHTSA
                  CAMPAIGN NUMBER: 14V400000. *TR

                  [Impala, 2001, No. 10721124, 5/23/2015], MY CAR WAS
                  RECENTLY SERVICED FOR THE RECALL ISSUE ON THE
                  IGNITION, WHICH I HAD THE ISSUE OF THE CAR
                  TURNING OFF WHILE DRIVING SEVERAL TIMES BEFORE
                  THEY FIXED IT, ANYWAYS WHILE DRIVING HOME
                  YESTERDAY (05/21/2016) MY CAR AGAIN SHUT OFF THIS
                  WAS AFTER I TOOK IT TO A CHEVOLET DEALER TO
                  HAVE IT FIXED. LUCKLY NO ONE WAS INJURED AS I DID
                  CAUSE A BIT OF PANIC ON THE ROAD AS I WAS TRYING
                  TO GAIN ENOUGH CONTROL TO PULL MY CAR OFF THE
                  ROAD.

                  [Impala, 2001, No. 10650892, 10/28/2014], WE'VE HAD
                  NUMEROUS ISSUES OVER THE LAST FEW YEARS
                  INCLUDING INTERMITTENT ELECTRICAL ISSUES,
                  ENGINE CUTTING OUT, ENGINE LURCHING, AND
                  DIFFICULTY STARTING. TWO PARTICULARLY
                  DANGEROUS TIMES WERE ESPECIALLY SCARY -- ONE
                  TIME THE ENGINE CUT OUT, WITHOUT WARNING,
                  WHILE MY SON WAS DRIVING IN TRAFFIC, ON A FOUR
                  LANE ROAD, WITH CHILDREN IN THE CAR. THE OTHER



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                  TIME WAS WHEN I WAS DRIVING DOWN A HILL IN A
                  SNOW STORM AT NIGHT. THE ROADS WERE SLIPPERY
                  AND I LOST ALL POWER INCLUDING THE LIGHTS AND
                  POWER STEERING. WE'VE SPENT AT LEAST $2000 FOR
                  DIAGNOSTICS/REPAIRS FOR FUEL SYSTEM CHECKS,
                  ELECTRICAL CHECKS, NEW IGNITION, NEW IGNITION
                  WIRES, NEW A/C COMPRESSOR (A/C WOULDN'T COOL),
                  AND ONE FUEL INJECTOR REPLACED. FOR SEVERAL
                  MONTHS IT DIDN'T CUT OUT BUT THE ENGINE WOULD
                  STILL LURCH ONCE IN AWHILE. FOUR DAYS AGO MY
                  HUSBAND TOOK IT IN FOR THE KEY RECALL AND THE
                  DEALER SAID THAT THE FUEL INJECTORS NEEDED
                  CLEANING SO WE HAD IT DONE. THE CAR RAN
                  FANTASTIC... UNTIL TODAY WHEN OUT OF THE BLUE,
                  WHILE DRIVING DOWN THE ROAD AT 30MPH, THE
                  ENGINE CUT OUT AFTER GOING OVER A BUMP IN THE
                  ROAD. WE CALLED THE DEALER AND THEY SAID TO
                  KEEP A JOURNAL OF WHEN THE ISSUE HAPPENS AGAIN.

                  [Impala, 2007, No. 10712697, 4/24/2015], TL* THE CONTACT
                  OWNS A 2007 CHEVROLET IMPALA. THE VEHICLE WAS
                  INCLUDED IN NHTSA CAMPAIGN NUMBER: 14V355000
                  (ELECTRICAL SYSTEM) AND RECEIVED THE RECALL
                  REPAIR. WITHIN TWO WEEKS LATER, THE VEHICLE
                  STALLED. THE CONTACT HAD TO MERGE TO THE SIDE
                  OF THE ROAD, WHERE THE VEHICLE WAS SHUT OFF
                  AND WAS ABLE TO RESTART THE VEHICLE TO RESET
                  THE COMPUTER. THE STALLING OCCURRED MORE
                  THAN FIVE TIMES. THE VEHICLE WAS NOT SAFE TO
                  DRIVE AND THE CONTACT NEEDED TO HAVE THE
                  VEHICLE TAKEN BACK TO THE AUTHORIZED DEALER
                  FOR FURTHER INSPECTIONS. THE VEHICLE WAS NOT
                  REPAIRED. THE MANUFACTURER WAS NOTIFIED OF THE
                  FAILURE AND PROVIDED NO REMEDY. THE FAILURE
                  MILEAGE WAS NOT AVAILABLE.

                  [Impala, 2007, No. 10654054, 11/10/2014], TL* THE CONTACT
                  OWNS A 2007 CHEVROLET IMPALA. THE CONTACT
                  STATED THAT WHILE DRIVING AT APPROXIMATELY 25
                  MPH, THE VEHICLE STALLED. THE CONTACT
                  MENTIONED THAT THE AIR BAG WARNING LIGHT
                  ILLUMINATED. THE CONTACT STATED THAT THE
                  FAILURE OCCURRED AFTER THE VEHICLE WAS
                  SERVICED UNDER NHTSA CAMPAIGN NUMBER:
                  14V355000 (ELECTRICAL SYSTEM). THE VEHICLE WAS




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                  TAKEN TO A DEALER WHERE THE FAILURE WAS
                  UNABLE TO BE DETERMINED. THE VEHICLE WAS NOT
                  REPAIRED. THE MANUFACTURER WAS NOTIFIED OF THE
                  FAILURE. THE APPROXIMATE FAILURE MILEAGE WAS
                  30, 000.

                  [Impala, 2008, No. 10669828, 1/3/2015], I HAVE HAD THE
                  IGNITION SWITCH REPAIRED UNDER THE THE RECALL
                  THINKING THIS MIGHT HELP THE PROBLEM. I WILL BE
                  DRIVING DOWN THE ROAD WHEN THE STEERING WILL
                  LOCK UP AND THE CAR SLOWS AND CUTS OFF. I HAVE
                  HAD SEVERAL NEAR MISS ACCIDENTS WITH OTHER
                  CARS AND AM LITERALLY AFRAID TO DRIVE THE CAR
                  ANYMORE.I HAVE TAKEN THE CAR TO SEVERAL OTHER
                  DEALERS AND THEY CLAIM THEY ARE UNABLE TO
                  DETERMINE WHAT IS WRONG OR HOW TO FIX IT.IT IS
                  ONLY A MATER OF TIME BEFORE I HAVE AN ACCIDENT
                  AND INJURE MYSELF OR OTHERS .

                  [Impala, 2008, No. 10669552, 1/2/2015], TL* THE CONTACT
                  OWNS A 2008 CHEVROLET IMPALA. THE CONTACT
                  STATED THAT WHILE DRIVING AT APPROXIMATELY 5
                  MPH, THE VEHICLE STALLED WITHOUT WARNING. THE
                  VEHICLE WAS RESTARTED; HOWEVER, THE FAILURE
                  RECURRED ON SEVERAL OCCASIONS. THE VEHICLE
                  WAS REPAIRED UNDER NHTSA CAMPAIGN NUMBER:
                  14V355000 (ELECTRICAL SYSTEM) BUT THE FAILURE
                  RECURRED. THE MANUFACTURER WAS MADE AWARE
                  OF THE FAILURE. THE APPROXIMATE FAILURE MILEAGE
                  WAS 175, 812.

                  [Impala, 2009, No. 10731446, 7/1/2015], I WAS DERIVING
                  DOWN A STEEP GRADE ON THE GATLINBURG BYPASS
                  TOWARD PIGEON FORGE, TN IN SECOND GEAR FOR
                  ENGINE BREAKING. I FIRST NOTICED THE CAR GETTING
                  WARMER AND I CHECKED THE DUAL CLIMATE
                  CONTROL BY FEEL TO MAKE SURE MY RIDER HAD NOT
                  INCREASED THE TEMPERATURE. THEN I NOTICED THE
                  STEERING WAS HARDER ON SLIGHT CURVES; THEN I
                  NOTICED THE TACHOMETER GOING TO ZERO AND SONE
                  OTHER GAUGES DECREASING; THEN I HAD TO SLOW
                  FOR A CHARPER CURVE WHERE I HAD NO POWER
                  BRAKE ASSIST AND NO POWERING STEERING ASSIST. I
                  MANAGED TO BRING THE VEHICLE TO A SAFE STOP
                  WHERE I TRIED TO RESTART THE ENGINE. THE VEHICLE
                  RESTARTED AFTER A SHORT CRANKING BUT ACTED IF



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                  IT WAS STARVING FOR FUEL. ONCE RESTARTED THE
                  VEHICLE RAN SATISFACTORY, IF I HAD BEEN A WEAK
                  PERSON OR HAD PANICKED THIS INCIDENT WOULD
                  PROBABLY HAVE RESULTED IN A CRASH. THE IGNITION
                  SWITCH RECALL HAD RECENTLY BEEN ACCOMPLISHED.
                  THE FUEL LEVEL WAS 1/2 TANK. AS AN ELECTRICAL
                  ENGINEER THIS APPEARED TO BE AN ELECTRICAL
                  PROBLEM WHERE THE ENGINE POWER WAS CUT OFF
                  SHUTTING DOWN THE FUEL PUMP, INSTRUMENT
                  CLUSTER, IGNITION, AND ELECTRIC STEERING ASSIST.

                  [Impala, 2009, No. 10648106, 10/22/2014], 2009 CHEVROLET
                  IMPALA. CONSUMER WRITES IN REGARDS TO RECALL
                  REPAIR. *TGW THE CONSUMER STATED THE RECALL
                  WAS PERFORMED ON SEPTEMBER 15, 2014. HOWEVER,
                  THE REPAIR ONLY LAST FOR ABOUT 10 MILES. THE
                  DEALER STATED THERE WAS PROBABLY SOMETHING
                  ELSE WRONG WITH THE VEHICLE. THE VEHICLE WOULD
                  NOT STAY IN THE RUN POSITION WHICH RESULTED IN
                  LOSS OF ENGINE POWER.*JB

                  [Impala, 2010, No. 10631642, 9/8/2014], TL* THE CONTACT
                  OWNS A 2010 CHEVROLET IMPALA. WHILE
                  APPROACHING A STOP OR DECELERATING AT VARIOUS
                  SPEEDS, THE VEHICLE WOULD STALL WITHOUT
                  WARNING. THE DEALER WAS UNABLE TO DIAGNOSE
                  THE CAUSE OF THE FAILURE. THE VEHICLE WAS
                  REPAIRED ACCORDING TO NHTSA CAMPAIGN NUMBER:
                  14355000 (ELECTRICAL SYSTEM); HOWEVER, THE
                  FAILURE RECURRED. THE MANUFACTURER WAS NOT
                  NOTIFIED. THE APPROXIMATE FAILURE MILEAGE WAS
                  81, 800.

                  [Ion, 2004, No. 10609205, 41829, TL* THE CONTACT OWNS
                  A 2004 SATURN ION. THE CONTACT STATED THAT THE
                  VEHICLE WAS REPAIRED UNDER THE NHTSA CAMPAIGN
                  ID NUMBER: 14E021000 (IGNITION SWITCH). THE
                  CONTACT STATED THE REPAIR DID NOT REMEDY THE
                  FAILURE. THE CONTACT STATED THAT WHILE DRIVING
                  AT APPROXIMATELY 55 MPH, THE VEHICLE STALLED
                  WITHOUT WARNING. THE MANUFACTURER WAS MADE
                  AWARE OF THE FAILURE. THE APPROXIMATE FAILURE
                  MILEAGE WAS 133, 000.

                  [Ion, 2003, No. 10640439, 10/1/2014], ASK A MECHANIC
                  SPRING 2014, WE HAD THE RECALL ON THE IGNITION



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                  FIXED ON MY 2003 SATURN. ON SEPTEMBER 9TH MY
                  SON DROVE THE SATURN TO DETROIT MI. ABOUT HALF
                  WAY THERE ON I-94, AT RUSH HOUR, THE SATURN LOST
                  POWER AND BEGAN STOPPING. HE WAS GOING ABOUT
                  70 MILES/HOUR AND DIDNÂ€™T HAVE EXTRA KEYS ON
                  THE KEY RING. LUCKILY, HE IS STRONG, SMART AND
                  QUICK THINKING. HE WAS ABLE TO WRESTLE THE
                  STEERING COLUMN TOWARD AN EXIT, WHILE
                  DEPRESSING THE CLUTCH AND RESTARTING THE CAR.
                  THANKFULLY IT STARTED! IF I HAD BEEN DRIVING THE
                  CAR, I DONÂ€™T THINK I COULD HAVE DONE THOSE
                  THINGS. WE CALLED THE DEALERSHIP THAT FIXED THE
                  CAR AND AFTER NUMEROUS CALLS, THEY SAID THEY
                  WERE NOT AUTHORIZED TO TOW THE CAR AND FIX IT.
                  NOW SEVERAL WEEKS LATER AND IN RESPONSE TO
                  LETTERS SENT TO GM EXECUTIVES, THEY TELL US THE
                  SAME THING. I AM TELLING THEM THEIR FIX IS NOT A
                  FIX! I DONÂ€™T WANT OTHERS INJURED OR DEAD.
                  WHY IS THIS ENTITLED Â€œASK A MECHANICÂ€ ? WE
                  WERE TOLD MANY YEARS AGO BY A MECHANIC AT THE
                  SATURN DEALER NOT TO HANG EXTRA KEYS ON OUR
                  RING. THIS DEALER HAS BEEN GONE FOR MANY YEARS.
                  MAYBE SOMEONE NEEDS TO ASK A CURRENT
                  MECHANIC IF THIS IS THE RIGHT FIX FOR GM VEHICLES.
                  *TR

                  [Ion, 2006, No. 10714985, 5/6/2015], I DO NOT RECALL THE
                  EXACT DATE OF THE FIRST OCCURRENCE. MY CAR DIES
                  RANDOMLY WHILE DRIVING. IT HAPPENED A SEVERAL
                  TIMES BEFORE THE RECALL. I HAD THE RECALLED
                  ITEMS RELATED TO THIS PROBLEM 'SUPPOSEDLY'
                  REPAIRED SEVERAL MONTHS AGO BY AN AUTHORIZED
                  GM DEALERSHIP. IT CONTINUED TO DIE WHILE
                  DRIVING. I TOOK IT BACK SATURDAY TO THE DEALER
                  AND MY CAR IS STILL THERE. THEY ARE HAVING
                  PROBLEMS DUPLICATING THE DYING SITUATION. I
                  TOLD THEM THEY DON'T NEED TO DUPLICATE IT, JUST
                  RE-REPAIR THE RECALL ITEMS. IF THEY CANNOT FIND
                  THE PROBLEM, I DO NOT FEEL SAFE DRIVING MY CAR
                  AND DO NOT WANT IT BACK. THE DAY I TOOK IT TO
                  THE DEALER, I WAS MAKING A LEFT HAND TURN FROM
                  THE BUSY MAIN STREET OF MY TOWN INTO A PARKING
                  LOT AND IT DIED BEFORE I EVEN REACHED THE CURB
                  (NO BUMP). LUCKILY, THERE WAS NO ONCOMING
                  TRAFFIC (I TAKE EXTRA PRECAUTIONS FOR FEAR OF




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                  MY CAR DYING) OR I WOULD HAVE BEEN CREAMED. A
                  WOMAN DRIVING OUT OF THE LOT HAD TO STOP AND
                  ALLOW ME TO PUT MY CAR INTO NEUTRAL AND START
                  IT BACK UP AGAIN. WHAT RECOURSE DO I HAVE IF THE
                  PROBLEM IS NOT FIXED AND FOUND THIS TIME? IT WAS
                  SUPPOSED TO BE FIXED THE FIRST TIME AND IT WAS
                  NOT. HOW DO I HAVE A GUARANTEE THAT IT WILL
                  ACTUALLY BE FIXED THIS TIME? WHAT IF IT IS NOT? I
                  DO NOT WANT TO OUT MY CHILD'S LIFE OR MY LIFE OR
                  ANY OTHER HUMAN BEING'S LIFE IN DANGER BY
                  DRIVING A DEATHTRAP CAR. WILL GM REPLACE MY
                  CAR FOR ME WITH A DIFFERENT ONE? MY CAR IS
                  COMPLETELY PAID OFF. PLEASE HELP! *TR

                  [Ion, 2006, No. 10691857, 3/3/2015], WHILE DRIVING THE
                  CAR WILL AUTOMATICALLY SHUT OFF. I CAN BE ON
                  THE FREEWAY AT 55 MILES AND THE CAR WILL JUST
                  DIE. I CAN BE AT A STOP LIGHT AND THE CAR WILL DIE.
                  I HAVE TAKEN IT IN AND TWICE THEY SAID THEY
                  FOUND NOTHING HOWEVER THE PROBLEM STILL
                  EXSIST. I THOUGHT THAT WITH THE RECALL REPAIR OF
                  THE IGNITION SWITCH IT MIGHT HELP BUT IT HASN'T
                  AND MY KEY STILL GETS STUCK IN THE IGNITION AT
                  TIMES AND I DON'T EVEN HAVE ANYTHING HANGING
                  ON THE KEY ONLY THE REMOTE. BASICALLY ONCE
                  YOU FEEL THE CAR LOSING POWER AND ALL DASH
                  LIGHTS SHOW UP, YOU NEED TO RESTART THE CAR TO
                  PROCEED. VERY DANGEROUS ESPECIALLY ON THE
                  ROAD.

                  [Ion, 2006, No. 10655364, 11/17/2014], WHILE DRIVING AND
                  COME TO A COMPLETE STOP CAR WILL JUST CUT OFF,
                  ALOTT OF JERKING, POWER STEEING COMES ON AND
                  STEERING HARD, ELECTRICAL DISPLAY WILL
                  AUTOMATIC START SHOWING UP.HAVE TAKEN CAR TO
                  DEALERSHIP FOR RECALL REPAIRS AND STILL HAVE
                  PROBLEMS WITH STERRING. WHEN I BROUGHT THE CAR
                  HAD TAKEN IT TO THE DEALERSHIP AND THEY SAID IT
                  WAS FIXED BUT GOT ON THE ROAD AND CAR STOPED,
                  THE DEALSHIP HAD CAR TOWED TO FACILITY AND SAID
                  IF WAS FIXED, IT WAS ELECTRIDAL PROBLEM WHEN I
                  TOOK BACK AND THE PROBLEM IS STILL ON GOING TO
                  THIS DAY.

                  [Ion, 2006, No. 10641172, 10/3/2014], TL* THE CONTACT
                  OWNS A 2006 SATURN ION. THE CONTACT STATED THAT



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                  THE VEHICLE STALLED INTERMITTENTLY WITHOUT
                  WARNING. THE VEHICLE WAS PREVIOUSLY REPAIRED
                  ACCORDING TO NHTSA CAMPAIGN NUMBER: 14V047000
                  (AIR BAGS, ELECTRICAL SYSTEM); HOWEVER, THE
                  FAILURE RECURRED. THE MANUFACTURER AND
                  DEALER WERE NOTIFIED. THE VEHICLE WAS NOT
                  REPAIRED. THE FAILURE MILEAGE WAS 72, 480.

                  [Lacrosse, 2005, No. 10681060, 2/3/2015], GM SENT OUT A
                  RECALL FOR THE BUICK LACROSSE 2005. THE RECALL
                  WAS TO FIX AN ISSUE THAT CAUSED THE CAR TO
                  SWITCH OFF AT RANDOM WHILE RUNNING CAUSING
                  FOR POTENTIAL CRASH AND LACK OF AIRBAGS TO
                  WORK AND OTHER POSSIBLE HAZARDS. THEY
                  RECOMMENDED THAT WE TAKE ANY THINGS OFF OF
                  THE KEY RING OTHER THAN THE KEY WHEN IN DRIVE. I
                  HAD NEVER EXPERIENCED THE ISSUE OF MY CAR
                  TURNING OFF ON ITS OWN PREVIOUS TO RECEIVING
                  THIS RECALL. BEING PROACTIVE I TOOK MY CAR TO
                  THE WILKINS GMC BUICK DEALERSHIP LOCATED AT
                  6913 RITCHIE HIGHWAY, GLEN BURNIE, MD 21061 IN
                  ORDER TO HAVE THE RECALL SERVICED. WHILE
                  HAVING THE RECALL FIXED I FOUND OUT FROM A
                  SERVICE WORKER AT THE DEALERSHIP THAT THE
                  RECALL FIX IS ONLY A CHANGE IN THE KEY. ONCE THE
                  RECALL FIX WAS COMPLETED I LEFT AND A WEEK
                  LATER HAD THE ISSUE OF THE CAR TURNING OFF
                  WHILE DRIVING OCCUR. I CALLED THE DEALERSHIP TO
                  SEE IF THEY WOULD LIKE TO TAKE A LOOK AT THE KEY
                  TO ENSURE THE FIX WAS PROPERLY DONE, THEY
                  INFORMED ME IT WAS PROPERLY DONE AND NO NEED
                  TO COME IN. I THEN CALLED GM CORPORATE AND WAS
                  TOLD THEY HAVE NO RECALL ON THE IGNITION PART
                  (THE REAL PROBLEM) AND THE KEY SHOULD HAVE
                  FIXED THE ISSUE. I WAS GIVEN NO ASSISTANCE FOR
                  THE TRUE CAUSE OF THE PROBLEM AND AM VERY
                  DISAPPOINTED IN THE LACK OF QUALITY AND QUALITY
                  ASSURANCE FROM THIS COMPANY. MY CAR HAS
                  PROGRESSIVELY GOTTEN WORSE AND NOW WILL
                  BARELY STAY ON WITHOUT THE KEY TURNING TO THE
                  OFF POSITION. I HAVE DONE RESEARCH AND SPOKEN
                  WITH MANY MECHANICS WITH ALL OF THE
                  INFORMATION POINTING TO THE NEED FOR A NEW
                  PROPER RECALL ON THE IGNITION ITSELF AND NOT THE
                  KEY.




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                  [Lacrosse, 2005, No. 10679413, 1/28/2015], TL*THE CONTACT
                  OWNS A 2005 BUICK LACROSSE. THE CONTACT STATED
                  THAT IMMEDIATELY AFTER BEING REPAIRED UNDER
                  NHTSA CAMPAIGN NUMBER: 14V355000 (ELECTRICAL
                  SYSTEM), THE ENGINE LOST POWER. THE VEHICLE WAS
                  TAKEN BACK TO THE DEALER, WHERE IT WAS
                  DIAGNOSED THAT THE IGNITION SWITCH NEEDED TO
                  BE REPLACED. THE VEHICLE WAS NOT REPAIRED. THE
                  MANUFACTURER WAS MADE AWARE OF THE FAILURE.
                  THE FAILURE MILEAGE WAS 112, 460.

                  [Lacrosse, 2007, No. 10672237, 1/13/2015], TL* THE CONTACT
                  OWNS A 2007 BUICK LACROSSE. WHILE DRIVING
                  APPROXIMATELY 35 MPH, THE VEHICLE STALLED. THE
                  VEHICLE WAS ABLE TO RESTART. THE FAILURE
                  RECURRED ON MULTIPLE OCCASIONS. THE VEHICLE
                  WAS REPAIRED UNDER NHTSA CAMPAIGN NUMBER:
                  14V355000 (ELECTRICAL SYSTEM) BUT THE REMEDY
                  FAILED TO REPAIR THE VEHICLE. THE MANUFACTURER
                  WAS NOTIFIED OF THE FAILURE. THE APPROXIMATE
                  FAILURE MILEAGE WAS 63, 000. THE VIN WAS
                  UNAVAILABLE.

                  [Lacrosse, 2006, No. 10659947, 11/21/2014, TL* THE
                  CONTACT OWNS A 2006 BUICK LACROSSE. THE
                  CONTACT STATED THAT WHILE DRIVING 60 MPH, THE
                  VEHICLE STALLED WITHOUT WARNING. THE VEHICLE
                  WAS REPAIRED UNDER NHTSA CAMPAIGN NUMBER:
                  14V355000 (ELECTRICAL SYSTEM) HOWEVER, THE
                  FAILURE RECURRED. THE MANUFACTURER WAS MADE
                  AWARE OF THE FAILURE. THE FAILURE MILEAGE WAS
                  170, 000. THE VIN WAS NOT AVAILABLE.

                  [Lacrosse, 2007, No. 10672237, 1/13/2015], TL* THE CONTACT
                  OWNS A 2007 BUICK LACROSSE. WHILE DRIVING
                  APPROXIMATELY 35 MPH, THE VEHICLE STALLED. THE
                  VEHICLE WAS ABLE TO RESTART. THE FAILURE
                  RECURRED ON MULTIPLE OCCASIONS. THE VEHICLE
                  WAS REPAIRED UNDER NHTSA CAMPAIGN NUMBER:
                  14V355000 (ELECTRICAL SYSTEM) BUT THE REMEDY
                  FAILED TO REPAIR THE VEHICLE. THE MANUFACTURER
                  WAS NOTIFIED OF THE FAILURE. THE APPROXIMATE
                  FAILURE MILEAGE WAS 63, 000. THE VIN WAS
                  UNAVAILABLE.




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                  [Lucerne, 2006, No. 10652548, 11/4/2014], TL* THE CONTACT
                  OWNS A 2006 BUICK LUCERNE. THE CONTACT STATED
                  WHILE STOPPED AT A TRAFFIC SIGN, THE VEHICLE
                  STALLED WITHOUT WARNING. THE CONTACT WAS
                  ABLE TO RESTART THE VEHICLE AFTER SHIFTING INTO
                  PARK. THE FAILURE RECURRED MULTIPLE TIMES. THE
                  CONTACT MENTIONED THAT THE VEHICLE WAS
                  REPAIRED UNDER NHTSA CAMPAIGN NUMBER:
                  14V355000 (ELECTRICAL SYSTEM). HOWEVER, THE
                  FAILURE PERSISTED. THE VEHICLE WAS NOT
                  DIAGNOSED OR REPAIRED. THE MANUFACTURER WAS
                  NOT NOTIFIED OF THE FAILURE. THE APPROXIMATE
                  FAILURE MILEAGE WAS 101, 000.

                  [Lucerne, 2007, No. 10668004, 2/26/2015], 2007 BUICK
                  LUCERNE. CONSUMER WRITES IN REGARDS TO
                  IGNITION SWITCH RECALL NOTICE. *SMD THE
                  CONSUMER STATED THE RECALL, DID NOT CORRECT
                  THE ISSUE. RECALL # 14V355000.*JB

                  [Malibu, 1998, No. 10731739, 7/2/2015, TL* THE CONTACT
                  OWNS A 1998 CHEVROLET MALIBU. WHILE DRIVING AT
                  45 MPH, THE VEHICLE SHUT OFF WITHOUT WARNING.
                  THE VEHICLE WAS SERVICED UNDER NHTSA CAMPAIGN
                  NUMBER: 14V400000 (ELECTRICAL SYSTEM), BUT THE
                  REMEDY FAILED TO REPAIR THE VEHICLE. THE
                  CONTACT MENTIONED THAT THE VEHICLE CONTINUED
                  TO FAIL INTERMITTENTLY AFTER THE RECALL REPAIR
                  WAS PERFORMED. THE MANUFACTURER WAS NOTIFIED
                  OF THE FAILURE. THE FAILURE MILEAGE WAS 285, 000.

                  [Malibu, 1999, No. 10713496, 4/29/2015], IGNITION SWITCH
                  HAS BEEN GETTING LOOSE AND DIFFICULT TO TURN ON
                  FOR A LONG TIME. RECEIVED NTSB RECALL LETTER
                  ABOUT UNINTENTIONAL KEY ROTATION FOR THE 1999
                  CHEVY MALIBU. I FOLLOWED THE NTSB INSTRUCTIONS
                  AND REMOVED THE KEY FROM THE KEY RING. ON
                  APRIL 21, 2015 THE CHEVY DEALER GLUED A PLASTIC
                  HOUSING TO MY KEYS. AFTER RECEIVING MY KEYS
                  BACK I COULD HARDLY GET THE KEY TO ROTATE THE
                  IGNITION LOCK, I HAD TO JIGGLE THE KEY QUITE
                  VIGOROUSLY TO GET THE IGNITION TO OPERATE. FOUR
                  DAYS LATER THE KEY FELL OUT OF THE IGNITION AND
                  THE ENGINE SHUT DOWN WHILE I WAS DRIVING ABOUT
                  40 MPH. ALTHOUGH DIFFICULT TO STEER AND BRAKE I
                  WAS ABLE TO SAFELY BRING THE CAR TO THE SIDE OF



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                  THE ROAD, LOCATE THE KEY ON THE FLOOR AND
                  AFTER REINSERTING THE KEY RESTARTED HE CAR. I
                  HAD A ROLL OF TAPE IN THE GLOVE BOX AND I USED IT
                  TO TAPE THE KEY IN POSITION. NO FURTHER
                  DIFFICULTIES. ON APRIL 27, 2015 I REPLACED THE LOCK
                  CORE SUCCESSFULLY. THE RECALL FIX FOR THIS
                  PROBLEM IS NOT ACCEPTABLE OR SAFE. I KNEW THE
                  IGNITION LOCK WAS GETTING BAD BUT WAS NOT
                  AWARE THAT THE ENGINE WOULD SHUT DOWN IF THE
                  KEY FELL OUT. THIS FIX GAVE ME A FALSE SENSE OF
                  SECURITY THAT A PROBLEM WAS TAKEN CARE OF.
                  WHEN I TOOK THE CAR TO THE DEALER I THOUGHT
                  THEY WOULD REPLACE THE LOCK CORE AND KEYS
                  AND NOT JUST GLUE A HOUSING ONTO MY WORN-OUT
                  KEYS. MY REPLACEMENT OF THE LOCK CORE SOLVED
                  THE PROBLEM THE WAY THE DEALER SHOULD HAVE. A
                  LETTER NEEDS TO GO OUT TO ALL THAT RECEIVED THE
                  RECALL LETTER THAT THIS IS NOT AN ACCEPTABLE FIX
                  IF THE LOCK CORE IS NOT REPLACED. WHEN THE
                  DEALER SHOWED ME THE FIX I LAUGHED AT THE TIME
                  AND SAID YOU HAVE TO BE KIDDING ME THAT I'VE
                  WASTED 1:45 OF MY TIME WAITING FOR THE GLUE TO
                  DRY. I DO NOT KNOW WHO THOUGHT THIS WOULD
                  SOLVE ANYTHING OR APPROVED IT BUT I THINK THEY
                  ARE AN IDIOT AND SHOULD BE FIRED FROM ANY
                  POSITION OF RESPONSIBILITY FOR THE SAFETY THAT
                  THESE RECALLS ARE SUPPOSE TO ADDRESS.

                  [Malibu, 2000, No. 10661656, 12/2/2014], THIS VEHICLE HAS
                  A DEFECTIVE IGNITION SWITCH. THE KEY COMES OUT
                  IN RUN POSITION WHILE CAR IS RUNNING. THIS
                  VEHICLE WAS PART OF THE GM RECALL FOR A FAULTY
                  IGNITION SWITCH. AS PART OF THIS RECALL, THE KEY
                  WAS MODIFIED. THIS DID NOT CORRECT THE PROBLEM
                  OF THE FAULTY SWITCH AND REMAINS A SAFETY
                  CONCERN.

                  [Malibu, 2000, No. 10643669, 10/9/2014], TL* THE CONTACT
                  OWNS A 2000 CHEVROLET MALIBU. THE CONTACT
                  STATED THAT THE VEHICLE STALLED WITHOUT
                  WARNING. THE CONTACT MENTIONED THAT THE
                  FAILURE STARTED OCCURRING AFTER THE VEHICLE
                  WAS REPAIRED UNDER RECALL NHTSA CAMPAIGN
                  NUMBER: 14V400000 (ELECTRICAL SYSTEM).THE
                  CONTACT WAS ABLE TO RESTART THE VEHICLE. THE




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                  VEHICLE WAS NOT REPAIRED. THE MANUFACTURER
                  WAS NOT MADE AWARE OF THE FAILURE. THE
                  APPROXIMATE FAILURE MILEAGE WAS 160, 000.

                  [Malibu, 2005, No. 10654527, 41955], TL* THE CONTACT
                  OWNS A 2005 CHEVROLET MALIBU. THE CONTACT
                  STATED THAT WHILE DRIVING APPROXIMATELY 35
                  MPH, THE VEHICLE STALLED WITHOUT WARNING
                  CAUSING THE THE STEERING WHEEL TO SEIZE. ALSO,
                  THE CONTACT STATED THAT THE WINDOWS AND
                  WINDSHIELD WIPERS FAILED TO OPERATE. THE
                  FAILURE RECURRED NUMEROUS TIMES. VEHICLE WAS
                  TAKEN TO AN INDEPENDENT MECHANIC FOR
                  DIAGNOSTIC TESTING AND THE IGNITION WAS
                  REPLACED. THE FAILURE RECURRED. THE VEHICLE
                  WAS REPAIRED UNDER RECALL NHTSA CAMPAIGN ID
                  NUMBER: 14V400000 (ELECTRICAL SYSTEM) BUT THE
                  FAILURE PERSISTED. THE MANUFACTURER WAS
                  NOTIFIED OF THE FAILURE. THE APPROXIMATE
                  FAILURE MILEAGE WAS 120, 000. UPDATED 12/22/14*LJ

                  [Malibu, 2003, No. 10705370, 4/13/2015], TL* THE CONTACT
                  OWNS A 2003 CHEVROLET MALIBU. WHILE DRIVING AT
                  AN UNKNOWN SPEED, THE VEHICLE STALLED. IN
                  ADDITION, THE CHECK ENGINE LIGHT, POWER
                  STEERING, TRACTION CONTROL, AND AIR BAG
                  WARNING LIGHTS ILLUMINATED. THE CONTACT
                  MENTIONED THAT THE VEHICLE WAS PRECIOUSLY
                  REPAIRED UNDER NHTSA CAMPAIGN NUMBER:
                  14V40000 (ELECTRICAL SYSTEM); HOWEVER, THE
                  RECALL REMEDY FAILED TO REPAIR THE VEHICLE. THE
                  MANUFACTURER WAS MADE AWARE OF THE FAILURE.
                  THE FAILURE MILEAGE WAS 119, 000.

                  [Malibu, 2003, No. 10690062, 2/23/2015], TL*THE CONTACT
                  OWNS A 2003 CHEVROLET MALIBU. THE CONTACT
                  STATED THAT WHILE DRIVING AT APPROXIMATELY 65
                  MPH, THE VEHICLE STALLED WITHOUT WARNING. THE
                  VEHICLE WAS REPAIRED UNDER NHTSA CAMPAIGN ID
                  NUMBER: 14V400000 (ELECTRICAL SYSTEM) HOWEVER,
                  THE FAILURE PERSISTED ON NUMEROUS OCCASIONS.
                  THE MANUFACTURER WAS NOT MADE AWARE OF THE
                  FAILURE. THE APPROXIMATE FAILURE MILEAGE WAS
                  65, 200.




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                  [Malibu, 2003, No. 10655059, 11/14/2014], TL* THE CONTACT
                  OWNS A 2003 CHEVROLET MALIBU. WHILE DRIVING 10
                  MPH, THE ENGINE STALLED AND ALL OF THE
                  INSTRUMENT PANEL LIGHTS ILLUMINATED. THE
                  CONTACT STATED THAT THE VEHICLE STARTED TO
                  EXHIBIT THE FAILURE IMMEDIATELY AFTER BEING
                  REPAIRED UNDER NHTSA CAMPAIGN NUMBER:
                  14V400000 (ELECTRICAL SYSTEM). THE DEALER AND
                  MANUFACTURER WERE NOT NOTIFIED OF THE FAILURE.
                  THE FAILURE MILEAGE WAS 168, 000.

                  [Malibu, 2001, No. 10694096, 3/13/2015], TL* THE CONTACT
                  OWNS A 2001 CHEVROLET MALIBU. THE CONTACT
                  STATED THAT THE VEHICLE WAS REPAIRED UNDER
                  NHTSA CAMPAIGN NUMBER: 14V400000 (ELECTRICAL
                  SYSTEM); HOWEVER, THE FAILURE RECURRED AND THE
                  VEHICLE BECAME INOPERABLE. THE VEHICLE WAS NOT
                  DIAGNOSED OR REPAIRED. THE MANUFACTURER WAS
                  MADE AWARE OF THE FAILURE. THE FAILURE MILEAGE
                  WAS 67, 000.

                  [Malibu, 2001, No. 10643886, 10/10/2014, TL* THE CONTACT
                  OWNS A 2001 CHEVROLET MALIBU. THE CONTACT
                  STATED THAT AFTER SERVICING THE VEHICLE UNDER
                  NHTSA CAMPAIGN NUMBER: 14V400000 (ELECTRICAL
                  SYSTEM), THE VEHICLE STALLED. THE FAILURE
                  OCCURRED ON TWO OCCASIONS. THE VEHICLE WAS
                  NOT DIAGNOSED OR REPAIRED. THE MANUFACTURER
                  WAS NOT MADE AWARE OF THE FAILURE. THE FAILURE
                  MILEAGE WAS 114, 000.

                  [Malibu Classic, 2005, No. 10663018, 12/9/2014], FROM THE
                  TIME WE BOUGHT THIS CAR IN JUNE 2014 TO NOW, THE
                  CAR HAS PERIODICALLY SHUT OFF WHILE THE CAR IS
                  IN MOTION. USUALLY IT HAS OCCURRED AT VERY LOW
                  SPEED FORTUNATELY. IT IS DIFFICULT TO GET THE KEY
                  TO THE THE TRUE OFF POSITION DESPITE THIS. THE
                  RECALL ONLY CALLS FOR A PLASTIC INSERT TO BE
                  INSTALLED ON THE KEY, WHICH WAS DONE ON 10/30/14.
                  THE CAR STILLS HAS THE SHUT OFF ISSUE, IT HAS
                  GOTTEN WORSE, AND THE DEALERSHIP SAYS IT NEEDS
                  THE IGNITION SWITCH AND THE LOCK CYLINDER
                  REPLACED. THE INSERT ON THE KEY IS INSUFFICIENT
                  TO FIX THE IGNITION SWITCH ISSUE. ONE STILL HAS TO
                  KEEP NOTHING ELSE ON THE KEY RING, YET GM
                  INSISTS THE PROBLEM IS TRULY FIXED BY PUTTING AN



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                  INSERT ON THE KEY. SOUNDS LIKE THE IGNITION
                  SWITCH IS FAULTY, TOO SENSITIVE AND THEY HAVE
                  AN INSUFFICIENT FIX.

                  [Malibu Classic, 2005, No. 10649442, 10/23/2014], MY CAR
                  HAS BEEN STALLING OUT RANDOMLY USUALLY AT
                  HIGHWAY SPEEDS HAS DONE THIS ABOUT 5 TIMES IN
                  TWO WEEKS I JUST HAD MY RECALL DONE BUT THE
                  PROBLEM STILL EXISTS VERY DANGEROUS MECHANIC
                  SEEM TO THINK ITS MY IGNITION SWITCH NOT JUST
                  THE KEYS AND COVER GM DID ON RECALL I'M
                  WONDERING IF OTHER COMPLAINTS HAVE COME IN
                  AND WHAT SHOULD I DO. I THOUGHT THIS IS WHY
                  THEY RECALLED THE CARS FOR STALLING OUT, NO
                  STEERING, BRAKES ETC. *TR

                  [Cobalt, 2008, No. 10630846, 9/4/2014], TL* THE CONTACT
                  OWNS A 2008 CHEVROLET COBALT. THE CONTACT
                  STATED THAT WHILE DRIVING AT AN UNKNOWN
                  SPEED, THE VEHICLE STALLED WITHOUT WARNING.
                  THE CONTACT STATED THAT THE VEHICLE STARTED
                  EXHIBITING THIS PROBLEM AFTER BEING REPAIRED
                  UNDER RECALL NHTSA CAMPAIGN NUMBER: 14V047000
                  (AIR BAGS, ELECTRICAL SYSTEM). THE VEHICLE WAS
                  TAKEN TO THE DEALER. THE TECHNICIAN WAS UNABLE
                  TO DIAGNOSE THE FAILURE. THE VEHICLE WAS NOT
                  REPAIRED. THE FAILURE MILEAGE WAS 209, 000.

                  [Cobalt, 2007, No. 10614521, 7/18/2014], TL* THE CONTACT
                  OWNS A 2007 CHEVROLET COBALT. THE CONTACT
                  STATED THAT THE VEHICLE WAS REPAIRED UNDER
                  NHTSA CAMPAIGN ID NUMBER: 14V047000 (AIR BAGS,
                  ELECTRICAL SYSTEM). THE CONTACT STATED THAT
                  SHORTLY AFTER THE REPAIRS WERE COMPLETED ON
                  THE VEHICLE UNDER THE RECALL, THE FAILURE
                  RECURRED. THE VEHICLE WAS TAKEN BACK TO THE
                  DEALER, WHO PERFORMED THE RECALL REPAIRS ON
                  THREE DIFFERENT OCCASIONS. THE REMEDY FAILED
                  TO REPAIR THE VEHICLE. UPDATED 08/25/14*LJ

                  [CTS, 2003, No. 10659968, 11/21/2014], TL* THE CONTACT
                  OWNS A 2003 CADILLAC CTS. THE CONTACT STATED
                  THAT THE AIR BAG WARNING LIGHT ILLUMINATED.
                  THE VEHICLE WAS TAKEN TO AN INDEPENDENT
                  MECHANIC, WHO DIAGNOSED THAT THE AIR BAG
                  MODULE NEEDED TO BE REPLACED. THE VEHICLE WAS



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                  REPAIRED. THE CONTACT ALSO STATED THAT WHILE
                  DRIVING AT 3 MPH, THE VEHICLE SUDDENLY SHUT OFF
                  DUE TO THE KEY FOB MAKING CONTACT WITH THE
                  DRIVER’S KNEE. THE VEHICLE WAS ABLE TO RESTART.
                  THE CONTACT STATED THAT NHTSA CAMPAIGN
                  NUMBER 14V394000 (ELECTRICAL SYSTEM) WAS
                  PREVIOUSLY PERFORMED. THE MANUFACTURER WAS
                  NOT NOTIFIED OF THE FAILURE. THE FAILURE MILEAGE
                  WAS 28, 000.

                  [Deville, 2001, No. 10682163, 2/9/2015], TL*THE CONTACT
                  OWNS A 2001 CADILLAC DEVILLE. THE CONTACT
                  STATED THAT WHILE DRIVING APPROXIMATELY 27
                  MPH, THE VEHICLE STALLED WITHOUT ANY
                  WARNINGS. THE CONTACT HAD TO MANEUVER TO THE
                  SIDE OF THE ROAD. THE VEHICLE RESTARTED AND WAS
                  DRIVEN HOME. THE VEHICLE WAS NOT TAKEN TO THE
                  DEALER. THE VEHICLE HAD PREVIOUSLY BEEN
                  REPAIRED UNDER AN IGNITION SWITCH RELATED
                  RECALL. THE VEHICLE WAS NOT REPAIRED. THE
                  MANUFACTURER WAS NOT NOTIFIED OF THE FAILURE.
                  THE APPROXIMATE FAILURE MILEAGE WAS 109, 000.

                  [Deville, 2001, No. 10662781, 1/29/2015], 2001 CADILLAC
                  DEVILLE. CONSUMER STATES AFTER THE IGNITION
                  REPAIRS WERE DONE, THE CAR BEGIN SHUTTING OFF
                  MORE THAN THREE TIMES. *TA THE CONSUMER
                  STATED SHE HAD NO CONTROL OVER THE VEHICLE.
                  THERE WAS NO STEERING OR BRAKES. THE CONSUMER
                  RETURNED TO THE DEALER. HOWEVER, THERE WERE
                  UNABLE TO IDENTIFY THE PROBLEM AND THEREFORE
                  DID NOT PERFORM ANY REPAIRS. *JB

                  [Deville, 2001, No. 10661734, 12/1/2014], S10 APPROPRIATE
                  HANDLING- LETTER TO THE SECRETARY FROM
                  CONSTITUENT RE COPY OF COMPLAINT TO MARY
                  BARRA, CHIEF EXECUTIVE OFFICER OF GENERAL
                  MOTORS (GM) COMPANY REGARDING VEHICLE RECALL
                  (CERT. NO. 7014 0150 0002 3462). *SMD THE CONSUMER
                  STATED AFTER THE IGNITION RECALL WAS
                  PERFORMED, THE VEHICLE SHUT OFF WHILE IN THE
                  MIDST OF DRIVING. THE CONSUMER HAD NO BRAKES
                  OR POWER STEERING. THE FIRST TWO OCCURRENCES,
                  SHE WAS ALMOST STOPPED OR MOVING SLOWLY. THE
                  THIRD OCCURRENCE WAS SERIOUSLY LIFE
                  THREATENING, AS SHE WAS DRIVING HER HUSBAND TO



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                  AN APPOINTMENT, WHEN SUDDENLY THE VEHICLE
                  SHUT OFF FOR NO APPARENT REASON, WITH ANOTHER
                  VEHICLE DIRECTLY BEHIND HER. THE VEHICLE WAS
                  TOWED TO THE DEALER. THEY WERE UNABLE TO
                  IDENTIFY THE PROBLEM AND THEREFORE DID NOT
                  PERFORM ANY REPAIRS. *JB

                  [DeVille, 2003, No. 10682286, 3/18/2015], 2003 CADILLAC
                  DEVILLE. CONSUMER WRITES IN REGARDS TO IGNITION
                  SWITCH ISSUES. *SMD THE CONSUMER STATED THE
                  RECALL REPAIR WAS NOT EFFECTIVE. THE CONSUMER
                  STATED THE IGNITION SWITCH SHOULD HAVE BEEN
                  REPLACED, AS THE VEHICLE SHUT OFF WHILE DRIVING
                  IN TRAFFIC. THE CONSUMER HAD TO PUT THE VEHICLE
                  IN NEUTRAL AND RE-START THE VEHICLE. THE
                  VEHICLE USUALLY RE-STARTED, BUT A TIMES WHEN
                  HE TURNED THE SWITCH NOTHING HAPPENED. ALSO,
                  THE AIR BAG LIGHT ILLUMINATED ON AN
                  INTERMITTENT BASIS. *JB

                  [DeVille, 2003, No. 10679929, 1/30/2015], TL*THE CONTACT
                  OWNS A 2003 CADILLAC DEVILLE. THE CONTACT
                  STATED THAT WHILE DRIVING AT APPROXIMATELY 10
                  MPH, THE VEHICLE STALLED WITHOUT WARNING. THE
                  VEHICLE WAS ABLE TO RESTART BUT THE FAILURE
                  RECURRED ON SEVERAL OCCASIONS. THE VEHICLE
                  WAS NOT DIAGNOSED OR REPAIRED. THE CONTACT
                  STATED THAT THE VEHICLE WAS PREVIOUSLY
                  SERVICED UNDER NHTSA CAMPAIGN NUMBER:
                  14V355000 (ELECTRICAL SYSTEM) AND THAT THE
                  RECALL REMEDY FAILED TO REPAIR THE VEHICLE. THE
                  MANUFACTURER WAS NOT MADE AWARE OF THE
                  FAILURE. THE APPROXIMATE FAILURE MILEAGE WAS
                  55, 000. UPDATED 3/31/15*CN

                  [DeVille, 2002, No. 10701990, 3/26/2015], TL* THE CONTACT
                  OWNS A 2002 CADILLAC DEVILLE. THE CONTACT
                  STATED THAT THE VEHICLE STALLED. THE VEHICLE
                  WAS REPAIRED UNDER NHTSA CAMPAIGN NUMBER:
                  14V355000 (ELECTRICAL SYSTEM) BUT THE FAILURE
                  PERSISTED. THE MANUFACTURER WAS NOTIFIED OF
                  THE FAILURE. THE FAILURE MILEAGE WAS UNKNOWN.
                  UPDATED 6/11/15*CN

                  [HHR, 2006, No. 10577847, 4/7/2014], ENGINE SHUT OFF
                  FIRST TIME RESULTING IN MINOR CONTACT WITH



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                  GARAGE DOOR WHILE PULLING INTO DRIVEWAY. SHUT
                  DOWN 2 MORE TIMES AT LOW SPEEDS AND A 4TH TIME
                  AT 50MPH IN A CEMENT BARRIER CONSTRUCTION ZONE
                  ON A BRIDGE, NO ROAD SHOULDER, DUE TO SPEED AT
                  SHUT DOWN WAS ABLE TO COAST THROUGH
                  CONSTRUCTION TO ROADSIDE. IGNITION CONTROL
                  MODULE WAS REPLACED AFTER INCIDENT, HOWEVER
                  SHUTDOWNS CONTINUED AFTER. DROVE CAR WITH
                  SINGLE KEY ONLY SINCE IGNITION CONTROL MODULE
                  WAS REPLACED, HOWEVER MY VEHICLE STILLS SHUTS
                  DOWN! IT HAS BEEN INCLUDED IN THE RECALL BUT IT
                  STILL IS NOT SAFE AND I DON'T BELIEVE WILL BE SAFE
                  AFTER RECALL REPAIR! I DON'T WANT TO WAIT UNTIL I
                  KILL SOMEONE TO HAVE THE GOV, GM, OR ANYONE
                  CARE, THAT THE CARS THAT ARE ACTUALLY SHUTTING
                  DOWN NEED TO BE TAKEN OFF THE ROAD AND
                  REPLACED! PLEASE SOMEONE HELP THE CAR OWNERS
                  LIKE ME! HELP US FEEL SAFE AGAIN AND NOT AS
                  THOUGH WE ARE PLAYING RUSSIAN ROULETTE EVERY
                  TIME WE DRIVE OUR CARS! I AM BEGGING SOMEONE AT
                  THIS AGENCY TO PLEASE MAKE THEM REPLACE OUR
                  KNOWN DEFECTIVE AND UNSAFE CARS! MY CAR
                  CONTINUES TO SHUTDOWN AFTER REMOVAL OF ALL
                  THINGS ON THE KEY! HELP! I HAVE 2 SMALL KIDS AND
                  HAVE TO KEEP THEM SAFE! *TR

                  [HHR, 2010, 10615339, 7/22/2014], TL* THE CONTACT OWNS
                  A 2010 CHEVROLET HHR. THE CONTACT STATED THAT
                  SHE RECEIVED NHTSA CAMPAIGN NUMBER: 14E021000
                  (IGNITION SWITCH). THE CONTACT STATED THAT
                  AFTER THE VEHICLE WAS SERVICED FOR THE RECALL,
                  THE VEHICLE ENGINE STALLED WHEN STOPPING FOR
                  TRAFFIC LIGHTS. THE CONTACT ALSO MENTIONED
                  THAT ALL OF THE WARNING LIGHTS, INCLUDING THE
                  "DISABLED AIR BAG" WARNING LIGHT, ILLUMINATED
                  PRIOR TO THE ENGINE STALLING. THE VEHICLE WAS
                  ABLE TO RESTART. THE FAILURE RECURRED ON
                  MULTIPLE OCCASIONS. THE VEHICLE WAS TAKEN TO
                  THE DEALER WHERE THE FAILURE WAS
                  UNDETERMINED. IN ADDITION, THE VEHICLE WAS
                  TAKEN TO AN INDEPENDENT MECHANIC WHERE THEY
                  DIAGNOSED THAT THE SECURITY FEATURE CHIP
                  NEEDED TO BE REPLACED WHICH WAS THE CAUSE OF
                  ALL THE SECURITY LIGHTS ILLUMINATING. THE
                  VEHICLE WAS NOT REPAIRED. THE MANUFACTURER




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                  WAS NOTIFIED OF THE FAILURE. THE APPROXIMATE
                  FAILURE MILEAGE WAS UNAVAILABLE.

                  [HHR, 2007, No. 10643807, 10/10/2014], TL* THE CONTACT
                  OWNS A 2007 CHEVROLET HHR. THE CONTACT STATED
                  THAT THE VEHICLE WAS SERVICED ACCORDING TO
                  NHTSA CAMPAIGN NUMBER: 14V047000 (AIR BAGS,
                  ELECTRICAL SYSTEM) AND WAS CONCERNED THAT THE
                  REMEDY FAILED TO REPAIR THE VEHICLE. WHILE
                  DRIVING APPROXIMATELY 25 MPH, THE ENGINE
                  STALLED. THE CONTACT WAS UNABLE TO REMOVE THE
                  KEY FROM THE IGNITION AND THE VEHICLE
                  RESTARTED INDEPENDENTLY. THE VEHICLE WAS NOT
                  DIAGNOSED OR REPAIRED. THE CONTACT HAD NOT
                  EXPERIENCED A FAILURE PRIOR TO THE RECALL
                  REPAIR. THE MANUFACTURER WAS NOTIFIED OF THE
                  FAILURE. THE APPROXIMATE FAILURE MILEAGE WAS
                  84, 000.

                  [Alero, 2000, No. 10658644, 11/17/2014], TL* THE CONTACT
                  OWNS A 2000 OLDSMOBILE ALERO. WHILE DRIVING
                  APPROXIMATELY 25 MPH, THE KEY EJECTED FROM THE
                  IGNITION SWITCH INADVERTENTLY. ALSO, THE
                  IGNITION SWITCH WOULD TURN TO THE OFF POSITION
                  AND THE VEHICLE STALLED MULTIPLE TIMES. THE
                  VEHICLE WAS TAKEN TO THE DEALER. THE
                  TECHNICIAN DIAGNOSED THAT THE IGNITION
                  SWITCHED NEEDED TO BE REPLACED. THE VIN WAS
                  INCLUDED IN NHTSA CAMPAIGN NUMBER: 14V400000
                  (ELECTRICAL SYSTEM). THE VEHICLE WAS REPAIRED
                  UNDER THE RECALL, BUT THE FAILURE RECURRED
                  MULTIPLE TIMES. THE MANUFACTURER WAS NOT
                  NOTIFIED OF THE FAILURE. THE FAILURE MILEAGE WAS
                  UNAVAILABLE.

                  [Grand Am, 2003, No. 10713751, 4/30/2015], VEHICLE HAS
                  BEEN "REPAIRED" AS PER NHTSA RECALL #14V400000
                  WITHIN THE LAST TWO (2) MONTHS. ON WEDNESDAY
                  APRIL 29, 2015, AT APPROXIMATELY 7:30 PM CDST,
                  WHEN DRIVING THE VEHICLE IS SHUT OFF AGAIN JUST
                  AS IT DID PRIOR TO THE RECALL "REPAIR". KEYS ON
                  KEY CHAIN ARE MINIMAL (6). VEHICLE RESTARTED
                  WITH NO FURTHER ISSUE OR INDICATION THAT THERE
                  WAS A ISSUE WITH THE ENGINE (NO CHECK ENGINE
                  LIGHT, ETC.).




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                  [Grand Prix, 2005, No. 10712325, 4/22/2015], MY CAR HAS
                  BEEN ACTING UP FOR A WHILE. IT STARTED WITH
                  GAUGES AND INFO CENTER FLICKERING WHILE GOING
                  DOWN THE ROAD LIKE IT WAS LOSING POWER
                  INTERMITTENTLY. THAN STARTED DOING THIS THING
                  WHEN YOU START IT AND LET OFF ON THE KEY IT
                  CONTINUES TO TURN ENGINE OVER. I RECEIVED THE
                  LETTER FOR THE RECALL AND TOOK IT IN. I TOLD
                  DEALER WHAT IT WAS DOING AND THEY SNAPPED
                  BACK AND SAID THAT WASN'T PART OF THE RECALL. I
                  SAID OH I THOUGHT THE IGNITION SWITCH WAS THE
                  PROBLEM THEY SAID NO. THEY TOOK MY KEYS PUT
                  THEIR STUIPID INCERTS IN AND SENT ME ON MY WAY. I
                  HAVE BEEN NERVOUS ABOUT IT AND THAN TODAY IT
                  HAPPENED GOING DOWN HIGHWAY AT 65MPH AND
                  EVERYTHING SHUT OFF!!! NO AIR BAGS NO POWER
                  STEERING NO POWER BRAKES LUCKLY I WAS NOT IN
                  TRAFFIC AND COSTED TO SHOULDER SHUT KEY OFF
                  RESTARTED CAR EVERYTHING FINE AGAIN. KEY NEVER
                  TURNED TO OFF POSITION. THE SWITCH ITSELF IS THE
                  PROBLEM. WHY DID SOME GET A NEW SWITCH AND
                  ALL I GET IS A KEY UPGRADE. I AM VERY
                  DISAPPOINTED AND I FEEL THEY HAVE NOT FIXED THE
                  REALLY PROBLEM. I CAN NOT LET ANYONE IN MY
                  FAMILY DRIVE THIS CAR. I LOOK FORWARD TO
                  HEARING YOUR RESPONSE.

                  [Alero, 2001, No. 10653853, 11/10/2014], TL* THE CONTACT
                  OWNS A 2001 OLDSMOBILE ALERO. THE CONTACT
                  STATED THAT WHILE DRIVING AT VARIOUS SPEEDS,
                  THE VEHICLE WOULD SUDDENLY STALLED. THE
                  VEHICLE WAS TAKEN TO THE DEALER WHO
                  PERFORMED THE REMEDY LISTED FOR NHTSA
                  CAMPAIGN NUMBER 14V400000 (ELECTRICAL). THE
                  CONTACT STATED THAT IMMEDIATELY AFTER
                  LEAVING THE DEALER, THE VEHICLE STALLED WHILE
                  ATTEMPTING TO ACCELERATE FROM A STOP LIGHT.
                  THE VEHICLE WAS NOT DIAGNOSED OR REPAIRED. THE
                  MANUFACTURER WAS NOT NOTIFIED OF THE FAILURE.
                  THE FAILURE MILEAGE WAS 106, 677.

                  [Alero, 2003, No. 10694691, 3/16/2015], TL* THE CONTACT
                  OWNS A 2003 OLDSMOBILE ALERO. WHILE DRIVING AT
                  VARIOUS SPEEDS, THE VEHICLE STALLED WITHOUT
                  WARNING. THE CONTACT STATED THAT THE VEHICLE




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                  WAS SERVICED UNDER NHTSA CAMPAIGN NUMBER:
                  14V400000 (ELECTRICAL SYSTEM); HOWEVER, THE
                  REMEDY FAILED TO REPAIR THE FAILURE. THE
                  VEHICLE WAS TAKEN TO AN INDEPENDENT MECHANIC.
                  THE TECHNICIAN DIAGNOSED THAT THE IGNITION
                  SWITCH WAS DEFECTIVE. THE VEHICLE WAS REPAIRED.
                  THE MANUFACTURER WAS NOT MADE AWARE OF THE
                  FAILURE. THE FAILURE MILEAGE WAS 159, 800.

                  [Alero, 2003, No. 10693503, 3/9/2015], RECALL 14350 WAS
                  FIXED BUT AFTER A WEEK, THE CAR STARTED TO SHUT
                  OFF AGAIN WHILE DRIVING . PLEASE HELP.NO ONE
                  SEEM TO KNOW WHAT IS WRONG . THIS IS MY
                  TRANSPORTATION BACK AND FOURTH TO WORK. I
                  NEVER NO WHETHER I'AM GOING TO GET HOME OR
                  NOT.

                  [Monte Carlo, 2001, 10722350, 5/29/2015], 2001 MONTE
                  CARLO SS; I'VE HAD MANY DIFFERENT OCCASIONS ON
                  WHERE THE CAR JUST DIES WHILE I'M DRIVING IT.
                  THEY HAD A RECALL FOR THE "IGNITION KEY" I TOOK
                  IT IN, THEY "FIXED" THE KEY-NOT THE IGNITION, AND
                  STILL, TO THIS DAY, THE VEHICLE CONTINUES TO DIE
                  WHILE DRIVING, WHICH INCLUDES LOSS OF POWER
                  STEERING COMPLETELY. LUCKILY, I HAVE NOT HAD A
                  CAR ACCIDENT DUE TO THIS ISSUE, BUT IT'S STILL
                  SCARY WHEN IT HAPPENS. IT HAPPENED AGAIN TODAY,
                  5/29/2015 WHILE DRIVING AND COMPLETELY LOST
                  STEERING CONTROL WHEN IT DIED.

                  [Monte Carlo, No. 2002, 10662013, 12/3/2014], TL* THE
                  CONTACT OWNS A 2002 CHEVROLET MONTE CARLO.
                  THE CONTACT RECEIVED A NOTIFICATION FOR NHTSA
                  CAMPAIGN ID NUMBER: 14V400000 (ELECTRICAL
                  SYSTEM) AND RECEIVED THE RECALL REPAIR. THE
                  CONTACT STATED THE IGNITION FAILED SEVERAL
                  TIMES BEFORE THE NOTIFICATION WAS RECEIVED. THE
                  CONTACT MENTIONED THAT THE KEY WOULD NOT
                  TURN OVER TO START THE VEHICLE ON NUMEROUS
                  OCCASIONS BEFORE AND AFTER THE RECALL REPAIR
                  AS WELL AS THE VEHICLE STALLED REPEATEDLY. THE
                  DEALER DID NOT PROVIDE A REMEDY FOR THE
                  IGNITION SWITCH FAILURE AND INDICATED THAT THE
                  CONTACT MAY HAVE THE VEHICLE INPSECTED AND
                  DIAGNOSED TO DETERMINE THE FAILURE. THE
                  VEHICLE CONTINUED TO STALL. THE VEHICLE WAS



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                  TAKEN TO A MECHANIC WHO DIAGNOSED THAT THE
                  IGNITION SWITCH NEEDED TO BE REPLACED AND WAS
                  ALSO GOING TO FURTHER INSPECT THE VEHICLE. THE
                  VIN WAS NOT AVAILABLE. THE MANUFACTURER WAS
                  NOTIFIED OF THE FAILURE. THE APPROXIMATE
                  FAILURE MILEAGE WAS 129, 000.

                  [Monte Carlo, 2003, No. 10702827, 3/31/2015], TL* THE
                  CONTACT OWNS A 2003 CHEVROLET MONTE CARLO.
                  THE CONTACT STATED THAT THE VEHICLE WAS
                  REPAIRED UNDER NHTSA CAMPAIGN NUMBER:
                  14V400000 (ELECTRICAL SYSTEM); HOWEVER, THE
                  REMEDY FAILED TO WORK AND THE FAILURE
                  PERSISTED. THE VEHICLE WAS TAKEN BACK TO THE
                  DEALER AND THE IGNITION SWITCH HAD TO BE
                  REPLACED. THE CONTACT STATED THAT THE
                  MANUFACTURER REFUSED TO COVER THE REPAIRS
                  SINCE THE KEY FOB WAS LISTED AS THE REMEDY ON
                  THE NOTIFICATION. THE VEHICLE WAS REPAIRED. THE
                  FAILURE MILEAGE WAS UNKNOWN.

                  [Monte Carlo, 2003, No. 10671677, 1/11/2015, JANUARY 11,
                  2015] 2003 CHEVROLET MONTE CARLO - VIN: [XXX],
                  MILEAGE: APPROX 120, 000 SINCE OCTOBER 2014, THE
                  CAR SHUTS OFF WHILE DRIVING. I LOOSE THE POWER
                  STEERING AND IT'S VERY SCARY IF YOU ARE ON THE
                  FREEWAY. IT'S HARD TO BRING TO A STOP AND
                  SOMETIMES WHEN I SHIFT TO PARK IT MAKES A
                  HORRIBLE GRINDING NOISE. IT ALWAYS RESTARTS
                  AFTER I SIT AWHILE AND DRIVES LIKE NOTHING HAS
                  HAPPENED. . IT HAS HAPPENED NUMEROUS TIMES AND
                  NOW IT'S HAPPENING MORE OFTEN. IT COULD CAUSE A
                  BAD ACCIDENT. IT'S TO THE POINT I AM VERY SCARED
                  TO DRIVE IT, BECAUSE I NEVER KNOW WHEN IT'S
                  GOING TO HAPPEN. LAST WEE IT HAPPENED THREE
                  TIMES. I TOOK IT IN FOR THE RECALL WHERE THEY
                  MODIFY THE KEY. IT DID NOT HELP. MY EXCELLENT
                  MECHANIC SAID HE HAS NEVER HAD A SITUATION LIKE
                  THIS WHERE HE CAN'T FIGURE OUT WHAT'S WRONG.
                  (INCIDENT INFORMATION WILL NOT LET ME ENTER
                  DATES). INFORMATION REDACTED PURSUANT TO THE
                  FREEDOM OF INFORMATION ACT (FOIA), 5 U.S.C.
                  552(B)(6). *TR

                  [Grand Am, 2001, No. 10661706, 12/29/2014], 2001 PONTIAC
                  GRAND AM. CONSUMER STATES HAD PROBLEMS WITH



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                  IGNITION SWITCH. *TA THE IGNITION SWITCH WAS
                  REPLACED. *JB

                  [Intrigue, 2000, No. 10658850, 11/18/2014], WHEN I DROVE
                  ON HIGH WAY OR LOCAL, SUDDENLY THE CAR IS
                  POWER OFF, ENGINE AND POWER STEERING DO NOT
                  WORK AT ALL, NEED PULL OVER RESTART SEVERAL
                  TIMES, THEN DRIVE A WHILE THIS HAPPEN AGAIN. THIS
                  HAPPENED SEVERAL TIMES IN THE PAST YEARS. I GOT
                  RECALL 14350 AND THE DEALER FIXED THE KEY RING, I
                  THOUGHT THE POWER OFF PROBLEM IS GONE, BUT IT
                  HAPPENED AGAIN, THIS MAY CAUSE CRASH AND
                  SERIOUS INJURY. I DON'T KNOW WHAT I CAN DO FOR
                  THIS, I CANNOT AFFORD NEW CAR AND DEFINITELY
                  WILL NOT SOLD THIS DEFECT CAR TO ANYONE ELSE.
                  *TR

                  [Intrigue, 1999, No. 10652582, 11/4/2014], I'D BEEN NOTICING
                  THAT MY CAR WOULD QUIT AT RANDOM TIMES A
                  LITTLE OVER A YEAR AGO, AT FIRST ONCE EVERY
                  MONTH OR THREE, THEN GRADUALLY WORKED UP TO
                  MAYBE ONCE OR TWICE A WEEK. WHEN I RECEIVED
                  THE RECALL NOTICE AND TOOK MY KEY OFF MY KEY
                  RING. I HAD NO FURTHER QUITTING INCIDENTS UNTIL I
                  TOOK MY CAR IN TO THE DEALER OCTOBER 31ST. THEY
                  DID THEIR THING WITH MY KEY, AND MY CAR QUIT
                  TEN MINUTES LATER, ON THE WAY TO AN URGENT
                  APPOINTMENT. I GOT IT STARTED AGAIN, THEN IT QUIT
                  AGAIN A COUPLE OF BLOCKS DOWN THE ROAD. I
                  FINALLY MADE IT TO MY APPOINTMENT, 5 MINUTES
                  LATE. I PUT ASIDE THE "NEW" KEY, USED A SPARE
                  FROM THEN ON, AND THE CAR SEEMED FINE OVER THE
                  WEEKEND. BUT ON MONDAY MORNING I DROVE TO THE
                  GYM TO WORK OUT, AND THE CAR WOULD NOT START
                  WHEN I FINISHED MY WORKOUT AND I WALKED THE
                  REST OF THE WAY TO WORK. IT STARTED FINE THAT
                  EVENING, THEN AGAIN THIS MORNING, BUT CONKED
                  OUT HALF WAY TO WORK AGAIN. I GOT IT STARTED
                  AGAIN BEFORE IT COASTED TO A STOP, BUT THIS IS
                  GETTING RIDICULOUS. I THINK THE RECALL IS A
                  FAILURE, AND GM NEEDS TO DO SOMETHING MUCH
                  MORE THAN REPLACING THE KEY HEAD FOR IT TO BE
                  EFFECTIVE. IF I WASN'T A STRONG MAN, I COULD HAVE
                  HAD MANY SERIOUS ACCIDENTS BY NOW. *TR




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                  [DeVille, 2001, No. 10795113, 11/20/2015], TL* THE CONTACT
                  OWNS A 2001 CADILLAC DEVILLE. WHILE DRIVING 72
                  MPH, THE VEHICLE STALLED AND THE SERVICE AIR
                  BAG WARNING LIGHT ILLUMINATED ON THE
                  INSTRUMENT PANEL. THE CONTACT STATED THAT THE
                  VEHICLE WAS ABLE TO BE MANEUVERED TO THE
                  SHOULDER OF THE HIGHWAY WHERE THE VEHICLE
                  WAS SUCCESSFULLY RESTARTED AFTER THE INITIAL
                  ATTEMPT. THE CONTACT STATED THAT THE FAILURE
                  OCCURRED ON A PREVIOUS OCCASION. THE VEHICLE
                  WAS SERVICED UNDER NHTSA CAMPAIGN NUMBER:
                  14V355000 (ELECTRICAL SYSTEM), BUT THE REMEDY
                  FAILED TO REPAIR THE VEHICLE. THE CONTACT
                  MENTIONED THAT THE ENGINE CONTINUED TO STALL
                  AFTER THE RECALL REPAIR. THE MANUFACTURER WAS
                  NOT MADE AWARE OF THE FAILURE. THE FAILURE
                  MILEAGE WAS 77, 000.

                  [DeVille, 2003, No. 10820714, 1/17/2016], IGNITION RECALL:
                  ON 12 MARCH 2015 I TOOK MY 2003 CADILLAC DEVILLE
                  INTO VALLEY CADILLAC ROCHESTER, NY AS PART OF
                  THE GM IGNITION RECALL. PRIOR TO THAT MY
                  VEHICLE WOULD JUST SHUT DOWN FOR NO REASON.
                  AFTER HAVING MY VEHICLE SERVICED, I HIT A POT
                  HOLE ON THE CITY STREET AND MY VEHICLE STOPPED
                  RUNNING. LAST WEEK I WAS TURNING A CORNER
                  AFTER COMING OFF THE FREEWAY OFF RAMP TURNING
                  ON TO A CITY STREET AND MY VEHICLE STOPPED
                  AGAIN AND EVERYTHING LOCKED UP. THE RECALL FIX
                  DID NOT REPAIR MY VEHICLE. I AM CALLING VALLEY
                  CADILLAC FIRST THING MONDAY TO GET IT SERVICED
                  AGAIN.

                  [DeVille, 2003, No. 10809048, 12/8/2015, MY CAR TURNS OFF
                  WHILE DRIVING. NO POWER FOR BRAKES, STEERING OR
                  LIGHTS. I HAD RECALL FOR KEY ROTATION
                  COMPLETED LAST WEEK BUT MY CAR TURNED OFF
                  LAST NIGHT WHILE DOING 70 ON INTERSTATE. THE
                  MOSSY OF PICAYUNE DEALERSHIP STATES THAT THE
                  RECALL MAY NOT BE THE CAUSE BUT FROM WHAT I
                  READ BEFORE TAKING CAR IN...THE PROBLEM WITH
                  KEY ROTATION CAUSES CAR TO TURN OFF WITHOUT
                  WARNING. I CONSIDER THIS A LIFE THREATENING
                  PROBLEM AND NEED TO KNOW HOW TO PROCEED TO
                  PREVENT BODILY HARM TO MYSELF AND POSSIBLY




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                  OTHERS. THE CAR HAD BEEN TURNING OFF PRIOR TO
                  THE RECALL.

                  [DeVille, 2003, 10703620, 4/3/2015], AFTER TAKING OFF
                  FROM A STOP SIGN, I DROVE UP OVER ABOUT 1 1/2 INCH
                  VERTICAL RISE IN THE PAVEMENT (SMALL BUMP). THE
                  ENGINE AND ELECTRICAL SYSTEMS SHUT DOWN. I
                  LOST POWER STIRRING AND POWER BRAKES. I GOT
                  STOPPED AND RESTARTED THE ENGINE. THIS
                  OCCURRED ABOUT 3 DAYS AFTER I HAD TAKEN MY
                  CAR TO THE GM DEALER FOR REPAIRS COVERED BY GM
                  RECALL 14299, "UNINTENDED IGNITION KEY
                  ROTATION". MY KEY DID NOT ROTATE. YESTERDAY
                  APRIL 2, 2015 WHEN DRIVING 45 MPH ON A STATE
                  HIGHWAY, THE ENGINE STOPPED AGAIN WITHOUT
                  HITTING ANY BUMPS. I WAS ABLE TO COAST, PUT THE
                  CAR IN NEUTRAL, AND RESTART THE ENGINE, BEFORE
                  THE CAR BEHIND ME COULD HIT ME. THERE WAS NO
                  SHOULDER TO PULL OFF.AGAIN THERE WAS NO KEY
                  ROTATION. I CALLED MY GM DEALER AFTER THE FIRST
                  OCCURRENCE AND WAS TOLD I WOULD HAVE TO PAY
                  FOR A NEW IGNITION SWITCH OR WHAT EVER WAS
                  CAUSING THE PROBLEM. THE RECALL ONLY REMOVED
                  ALL OTHER KEYS FROM THE IGNITION KEY RING. THIS
                  IS A VERY DANGEROUS DEFECT THAT GM NEEDS
                  ANOTHER RECALL TO FIX THIS SUDDEN ENGINE AND
                  ELECTRICAL SYSTEM SHUT DOWN BECAUSE IF THERE
                  IS A CRASH THE AIR BAGS WILL NOT DEPLOY. ALSO
                  LOST OF POWER STIRRING AND POWER BRAKES MAKES
                  CONTROL OF THE CAR VERY DIFFICULT.

                  [Camaro, 2014, No. 10763901, 9/15/2015], TL* THE CONTACT
                  OWNS A 2014 CHEVROLET CAMARO. PRIOR TO
                  PURCHASING THE VEHICLE, THE CONTACT STATED
                  THAT THE IGNITION SWITCH KEY FOB WAS REPLACED.
                  WHILE DRIVING AT ANY SPEEDS, THE CONTACT'S KNEE
                  TOUCHED THE KEY AND THE ENGINE LIGHT
                  ILLUMINATED. THE VEHICLE WENT FROM RUNNING TO
                  THE ACCESSORY MODE AND THEN THE STEERING
                  WHEEL SEIZED. THE CONTACT HAD TO PULL THE
                  VEHICLE OVER TO THE SIDE OF THE ROAD AND PLACE
                  THE GEAR IN THE PARK POSITION TO RESTART THE
                  VEHICLE. THE FAILURE RECURRED. THE VEHICLE WAS
                  NOT REPAIRED. THE APPROXIMATE FAILURE MILEAGE
                  WAS 800.




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                  [CTS, 2003, No. 10762302, 9/8/2015], TL* THE CONTACT
                  OWNS A 2003 CADILLAC CTS. THE CONTACT STATED
                  THAT THE REPAIR FOR NHTSA CAMPAIGN NUMBER:
                  14V394000 (ELECTRICAL SYSTEM) WAS PERFORMED;
                  HOWEVER, THE REPAIR DID NOT REMEDY THE FAILURE.
                  THE CONTACT STATED THAT THE VEHICLE STALLED
                  SEVERAL TIMES WHILE DRIVING AND THAT THE
                  “REMOVE DISABLE KEY” WARNING LIGHT
                  ILLUMINATED. THE VEHICLE COULD BE RESTARTED
                  AND RESUMED TO NORMAL FUNCTION. THE FAILURE
                  OCCURRED SEVERAL TIMES. THE VEHICLE WAS NOT
                  DIAGNOSED OR REPAIRED. THE MANUFACTURER WAS
                  MADE AWARE OF THE FAILURE. THE VIN WAS NOT
                  AVAILABLE. THE FAILURE MILEAGE WAS 99, 000.

                  [Alero, 2004, No. 10884842, 7/14/2016], TL* THE CONTACT
                  OWNS A 2004 OLDSMOBILE ALERO. WHILE DRIVING 55
                  MPH, THE ENGINE STALLED WITHOUT WARNING. THE
                  VEHICLE WAS REPAIRED PER NHTSA CAMPAIGN
                  NUMBER: 14V400000 (ELECTRICAL SYSTEM). THE
                  FAILURE RECURRED NUMEROUS TIMES. THE VEHICLE
                  WAS ABLE TO RESTART AFTER SEVERAL ATTEMPTS.
                  THE MANUFACTURER WAS NOT NOTIFIED OF THE
                  FAILURE. THE FAILURE MILEAGE WAS
                  APPROXIMATELY 162, 000.

                  [Intrigue, 2000, No. 10836616, 2/17/2016], MY CAR STALLS
                  WHILE I'M MOVING! I BOUGHT THE CAR FROM A USED
                  LOT IN AUG 2014, SHORTLY AFTER I RECEIVED A
                  RECALL NOTICE. I TOOK THE CAR IN TO A DEALER AND
                  THE DEALER PUT SHELLS OVER THE KEYS &
                  SUPPOSEDLY DIDWHATEVER ELSE WAS REQUIRED IN
                  THE RECALL. SHORTLY AFTER THAT, I WAS HAVING A
                  HARD TIME STARTING THE CAR, I TOOK IT BACK TO
                  THE LOT WHERE I BOUGHT IT THIS TIME. THEIR
                  MECHANIC CHECKED IT OUT & DETERMINED THE
                  CRANKSHAFT POSITION SENSOR NEEDED TO BE
                  REPLACED. SO THEY REPLACED IT. RECENTLY MY CAR
                  IS HAVING A HARD TIME STARTING BUT MORE
                  IMPORTANTLY, MY CAR WILL STALL WHILE I'M
                  DRIVING! THIS IS SCARY TO BE GOING 25-45 MPH AND
                  NOT BE ABLE TO CONTROL MY CAR! THIS MORNING I
                  SLOWED DOWN TO TURN A CORNER & IT JUST SHUT
                  OFF ON ME AND I COULD NOT TURN THE WHEEL!
                  CAUSED MY TO COME ABOUT 2 FEET FROM HITTING A




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                  MEDIAN & ALMOST BE REAR ENDED! MY KIDS RODE IN
                  THIS VEHICLE & ONE OR ALL OF US IS GONNA END UP
                  SERIOUSLY INJURED OR KILLED! THIS SEEMS TO BE A
                  SERIOUS ISSUE WITH THESE VEHICLES & IT NEEDS TO
                  BE FIXED & QUICKLY! I CAN'T KEEP PRAYING TO HAVE
                  THIS FIXED ONCE A YEAR NOR SHOULD I HAVE TO! THIS
                  ISSUE NEEDS TO BE ADDRESSED IMMEDIATELY &
                  THERE SHOULD BE A RECALL OUT REGARDING THIS
                  ISSUE!

                  [Grand Prix, 2004, No. 10811434, 12/21/2015], CAR HAD KEY
                  RETROFIT BY DEALER BUT IGNITION SWITCH IS
                  TURNING OFF WHILE CAR IS IN DRIVE AT FULL POWER.
                  IT IS IF THE KEY IS BEING TURNED OFF. ALL POWER TO
                  VEHICLE IS LOST. OBVIOUSLY THE KEY RETROFIT DID
                  NOT SOLVE THE PROBLEM. I BELIEVE THE IGNITION
                  SWITCH ITSELF IS THE ISSUE.

                  [Malibu, 2002, No. 10806455, 11/24/2015], GM HAS A RECALL
                  ON IGNITION SWITCH (GM#14350). WE HAD THE WORK
                  DONE AT A GM DEALER FOR THE RECALL. (DEALER
                  PROVIDES 2 KEY RINGS AND A KEY COVER AND CALLS
                  IT FIXED.) APPARENTLY IT DIDN'T WORK. CAR
                  CURRENTLY IN MY LOCAL MECHANIC SHOP FOR
                  ROUTINE MAINTENANCE. DURING INSPECTION,
                  MECHANIC FOUND THE VEHICLE NEEDS A NEW
                  IGNITION SWITCH ASSEMBLY TO SOLVE THE SAME
                  PROBLEM. MECHANIC SAYS CAR EXTREMELY UNSAFE
                  TO DRIVE UNLESS REPLACED. HE TOOK A VIDEO OF MY
                  IGNITION SHOWING THAT JUST TOUCHING THE KEY
                  WHILE IN IGNITION CAUSES CAR TO TURN OFF. (HAVE
                  20 YR RELATIONSHIP WITH MECHANIC - VERY
                  RELIABLE.) PLEASE INVESTIGATE IF GM IS REALLY
                  DOING THE PROPER WORK FOR THE RECALL OR JUST
                  SUGAR COATING A DANGEROUS DEFECT.

                  [Camaro, 2014, No. 10763901, 9/15/2015], TL* THE CONTACT
                  OWNS A 2014 CHEVROLET CAMARO. PRIOR TO
                  PURCHASING THE VEHICLE, THE CONTACT STATED
                  THAT THE IGNITION SWITCH KEY FOB WAS REPLACED.
                  WHILE DRIVING AT ANY SPEEDS, THE CONTACT'S KNEE
                  TOUCHED THE KEY AND THE ENGINE LIGHT
                  ILLUMINATED. THE VEHICLE WENT FROM RUNNING TO
                  THE ACCESSORY MODE AND THEN THE STEERING
                  WHEEL SEIZED. THE CONTACT HAD TO PULL THE
                  VEHICLE OVER TO THE SIDE OF THE ROAD AND PLACE



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                  THE GEAR IN THE PARK POSITION TO RESTART THE
                  VEHICLE. THE FAILURE RECURRED. THE VEHICLE WAS
                  NOT REPAIRED. THE APPROXIMATE FAILURE MILEAGE
                  WAS 800.

                  [Malibu Classic, 2005, No. 10765796, 9/20/2015], AFTER
                  TAKING MY CHEVROLET MALIBU CLASSIC 2005 INTO
                  THE DEALERSHIP FOR THE RECALL IN WHICH THEY PUT
                  INSERTS ON MY KEY AND A KING RING, RIDICULOUS IF
                  YOU ASK ME, MY CAR HAS NOW DONE THE SAME
                  THING THREE MORE TIMES I THOUGHT THE RECALL
                  WAS SUPPOSE TO FIX. WHILE DRIVING AT DIFFERENT
                  SPEEDS ( 60 MPH., 45 MPH., 20 MPH) MY CARS SHUTS OFF
                  AS IF I TURNED THE KEY OFF. MY POWER STEERING,
                  BRAKES ALL ELECTRICAL COMPONENTS ARE
                  EFFECTED. I HAVE TO THEN TURN MY KEY TO THE OFF
                  POSITION AND AGAIN START MY CAR TO CONTINUE
                  DRIVING. IT DOES THIS WITH NO WARNING, WHILE
                  DRIVING DOWN A HIGHWAY, WHILE TURNING, WHILE
                  DRIVING DOWN A HILL WHICH ARE ALL VERY MUCH
                  SAFETY ISSUES. DRIVING 60 ON A HIGHWAY AND THE
                  CAR SHUTS DOWN LEAVING YOU WITH NO POWER
                  STEERING NO POWER BRAKES NO WARNING LIGHTS
                  ETC. VERY SCARY. WHILE TURNING A CORNER ALL OF
                  A SUDDEN NO POWER STEERING SEEMS TO ME COULD
                  CAUSE A MAJOR WRECK, AND WHILE DRIVING DOWN A
                  HILL LOOSING YOUR POWER BRAKES COULD ALSO.
                  THIS HAPPEN TO ME NUMEROUS TIMES BEFORE THE
                  RECALL ALSO. I DO BELIEVE IT WAS A CHEAP WAY OF
                  CHEVY TO TRY TO GET OUT OF THE RESPONSIBILITY
                  FOR THIS PROBLEM. WHEN I EXPLAINED TO THE
                  DEALER MECHANIC WHAT WAS HAPPENING HE
                  INFORMED ME THAT THE RECALL THAT FIXED THE KEY
                  WOULD NOT HELP THE PROBLEM OF MY CAR
                  RANDOMLY SHUTTING OFF WHILE DRIVING IT SO
                  WHAT WAS IT FOR THEN?

                  [Ion, 2007, No. 10809556, 12/10/2015], TL* THE CONTACT
                  OWNS A 2007 SATURN ION. WHILE DRIVING 35 MPH AND
                  ATTEMPTING TO AVOID A VEHICLE THAT WAS STOPPED
                  IN THE ROADWAY, THE IGNITION KEY BECAME JARRED
                  AND MOVED TO THE OFF POSITION, WHICH CAUSED
                  THE VEHICLE TO STALL WITHOUT WARNING. THE
                  CONTACT ATTEMPTED TO SWITCH LANES; HOWEVER,
                  THE STEERING WHEEL SEIZED AND THE BRAKES




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                  FAILED TO FUNCTION WHEN THE PEDAL WAS
                  DEPRESSED. THE CONTACT STATED THAT THE VEHICLE
                  CRASHED INTO THE REAR OF THE PARKED VEHICLE.
                  THE AIR BAGS FAILED TO DEPLOY. THERE WAS NO
                  POLICE REPORT FILED. THE CONTACT SUSTAINED
                  INJURIES TO THE NECK, SHOULDER, AND LOWER BACK
                  THAT REQUIRED MEDICAL ATTENTION. THE CONTACT
                  STATED THAT THE VEHICLE WAS REPAIRED UNDER
                  NHTSA CAMPAIGN NUMBER: 14E021000 (ELECTRICAL
                  SYSTEM); HOWEVER, THE FAILURE RECURRED. THE
                  VEHICLE WAS TOWED TO A DEALER TO BE REPAIRED.
                  THE MANUFACTURER WAS NOTIFIED OF THE FAILURE.
                  THE APPROXIMATE FAILURE MILEAGE WAS 76, 000.

                  [HHR, 2006, No. 10760032, 8/28/2015], TL* THE CONTACT
                  OWNS A 2006 CHEVROLET HHR. THE CONTACT STATED
                  THAT NHTSA CAMPAIGN NUMBER: 14V171000
                  (ELECTRICAL SYSTEM) WAS PERFORMED; HOWEVER,
                  THE REPAIR DID NOT CORRECT THE FAILURE. THE
                  VEHICLE STALLED SEVERAL TIMES. IN ADDITION,
                  WHEN THE GEAR WAS SHIFTED INTO PARK, THE
                  IGNITION SWITCH FAILED TO TURN TO THE OFF
                  POSITION AND THE KEY DID NOT RELEASE FROM THE
                  IGNITION SWITCH. THE BATTERY WAS DISCONNECTED
                  TO BE ABLE TO SHUT THE ENGINE OFF. THE VEHICLE
                  WAS TOWED TO THE DEALER BUT WAS NOT
                  DIAGNOSED OR REPAIRED. THE MANUFACTURER WAS
                  NOTIFIED OF THE FAILURE. THE APPROXIMATE
                  FAILURE MILEAGE WAS 160, 000.

                  [Lacrosse, 2007, No. 10715998, 5/12/2015], TL* THE CONTACT
                  OWNS A 2007 BUICK LACROSSE. THE CONTACT HAD THE
                  DEALER PERFORM THE REPAIR FOR NHTSA CAMPAIGN
                  NUMBER: 14V355000 (ELECTRICAL SYSTEM) AND THE
                  DEALER ONLY REPAIRED THE FILLER FOR THE KEY.
                  THE CONTACT STATED THAT THE VEHICLE STALLED
                  BEFORE AND AFTER THE RECALL REPAIR WAS
                  PERFORMED. THE CONTACT SPOKE WITH THE DEALER
                  WHO STATED THAT THE MANUFACTURER REPLACED
                  THE IGNITION, BUT CHANGED IT TO JUST THE KEY
                  FILLER. THE CONTACT FELT THAT THE REPAIR WAS
                  INADEQUATE. THE CONTACT HAD NOT EXPERIENCED A
                  FAILURE.

                  [Malibu, 1999, No. 10679297, 1/27/2015], TL* THE CONTACT
                  OWNS A 1999 CHEVROLET MALIBU. WHILE DRIVING AT



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                  35 MPH, THE VEHICLE STALLED. THE CONTACT WAS
                  ABLE TO RESTART THE VEHICLE AND ALL THE
                  WARNING LIGHTS ILLUMINATED. THE VEHICLE WAS
                  TAKEN TO A DEALER. THE VEHICLE WAS REPAIRED
                  UNDER NHTSA CAMPAIGN NUMBER: 14V400000
                  (ELECTRICAL SYSTEM); HOWEVER, THE FAILURE
                  RECURRED. THE MANUFACTURER WAS NOT NOTIFIED
                  OF THE FAILURE. THE APPROXIMATE FAILURE MILEAGE
                  WAS 166, 000. UPDATED 03/24/15*LJ

                  [G5, 2007, No. 10730540, 6/26/2015], TL* THE CONTACT
                  OWNS A 2007 PONTIAC G5. WHILE DRIVING
                  APPROXIMATELY 25 MPH, THE VEHICLE STALLED. THE
                  VEHICLE WAS TOWED TO A DEALER WHERE THE BCI
                  AND THE IGNITION CYLINDER SWITCH NEEDED TO BE
                  REPLACED. THE VEHICLE WAS NOT REPAIRED. THE
                  CONTACT MENTIONED THAT A YEAR PRIOR TO THE
                  FAILURE OCCURRING, THE VEHICLE WAS SERVICED
                  UNDER A MANUFACTURERS RECALL FOR THE RELATED
                  FAILURE. THE MANUFACTURER WAS NOTIFIED OF THE
                  FAILURE. THE APPROXIMATE FAILURE MILEAGE WAS
                  41, 100. THE VIN WAS NOT AVAILABLE.

                  [HHR, 2006, No. 10692136, 3/4/2015], TL* THE CONTACT
                  OWNS A 2006 CHEVROLET HHR. AFTER THE VEHICLE
                  WAS SERVICED UNDER NHTSA CAMPAIGN NUMBERS:
                  14V047000 (AIR BAGS, ELECTRICAL SYSTEM) AND
                  14V171000 (ELECTRICAL SYSTEM), THE STEERING
                  WHEEL SEIZED AND THE VEHICLE STALLED. THE
                  VEHICLE WAS ABLE TO RESTART. THE VEHICLE WAS
                  NOT DIAGNOSED OR REPAIRED. THE MANUFACTURER
                  WAS NOTIFIED OF THE FAILURE. THE FAILURE MILEAGE
                  WAS NOT AVAILABLE.

                  [Cobalt, 2006, No. 10595540, 6/2/2014], TL* THE CONTACT
                  OWNS A 2006 CHEVROLET COBALT. THE CONTACT
                  STATED THAT THE VEHICLE INTERMITTENTLY
                  STALLED WITHOUT WARNING. THE DEALER WAS
                  UNABLE TO DIAGNOSE THE FAILURE. TWO MONTHS
                  LATER, THE CONTACT RECEIVED NOTIFICATION OF
                  NHTSA CAMPAIGN NUMBERS: 14V047000 (AIR BAGS,
                  ELECTRICAL SYSTEM) AND 14V171000 (ELECTRICAL
                  SYSTEM). THE VEHICLE WAS TAKEN TO THE DEALER
                  FOR THE RECALL REPAIRS, BUT IT DID NOT REMEDY
                  THE FAILURE THE CONTACT WAS EXPERIENCING. THE
                  VEHICLE RECENTLY STALLED AND WAS TOWED TO THE



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                  DEALER, WHO WAS ABLE TO DIAGNOSE THE VEHICLE
                  AFTER TWO MONTHS AS THE IGNITION SWITCH
                  NEEDING TO BE REPLACED. THE VEHICLE WAS
                  REPAIRED AND THE MANUFACTURER WAS MADE
                  AWARE OF THE FAILURE. THE APPROXIMATELY
                  FAILURE MILEAGE WAS 101, 000.

                  [Cobalt, 2006, No. 10654168, 11/11/2014], I HAVE OWNED MY
                  2006 CHEVY COBALT SINCE 2008. STARTING IN 2009 ALL
                  THE WAY UNTIL NOW 2014 I HAVE HAD ISSUES WITH
                  THE CAR THAT ARE RELATED TO THE IGNITION SWITCH
                  RECALL. I TOOK MY CAR IN TO THE CHEVY DEALER TO
                  TAKE CARE OF THE IGNITION SWITCH RECALL ON
                  NOVEMBER 5, 2014. I GOT MY CAR BACK THE SAME
                  DAY, THEY REPLACED THE IGNITION SWITCH AND
                  GAVE ME TWO NEW KEYS. SURPRISE! TWO DAYS LATER
                  ON NOVEMBER 7, 2014 MY CAR AGAIN HAD THE EXACT
                  SAME PROBLEMS RELATED TO THE IGNITION SWITCH
                  RECALL THAT IT DID BEFORE I TOOK IT IN FOR THE
                  RECALL FIX. HENCE, CHEVY'S "RECALL IGNITION
                  SWITCH FIX" DOES NOT SOLVE THE PROBLEM WITH
                  THESE CARS! MY CAR STILL DOES THE FOLLOWING
                  THINGS EVEN AFTER THE IGNITION SWITCH FIX THAT IS
                  SUPPOSED TO SOLVE THESE PROBLEMS. WHENEVER IT
                  PLEASES IT WILL LOSE ELECTRICAL POWER AND TURN
                  OFF THE ENGINE, LEAVING ME STUCK IN THE MIDDLE
                  OF A BUSY HIGHWAY, THIS HAS HAPPENED ON
                  NUMEROUS OCCASIONS!! AS IF THAT ISN'T BAD
                  ENOUGH THERE'S MORE! THE POWER STEERING LIGHT
                  FLASHES, THE CHECK ENGINE LIGHT COMES ON, THE
                  SERVICE AIRBAG LIGHT COMES ON, THE GAUGES ON
                  THE DASH COMPLETELY STOP WORKING PROPERLY
                  THE SPEEDOMETER NEEDLE GOES HAYWIRE MOVING
                  FROM 0 MPH TO 60 MPH BACK AND FORTH NON-STOP
                  WHEN I'M NOT EVEN ACCELERATING TO THOSE SPEEDS.
                  THE RPM GAUGE DOES THE EXACT SAME THING. THE
                  CAR JOLTS FORWARD UNCONTROLLABLY, LIKE IT IS
                  HAVING A PROBLEM SHIFTING ESPECIALLY WHEN THE
                  RPM IS BETWEEN 2000 AND 3000. WHEN YOU GO TO
                  BRAKE YOU HAVE TO SLAM THE BRAKES ALL THE WAY
                  DOWN BECAUSE YOU LOSE YOUR NORMAL BRAKING
                  POWER THE CAR SKIDS AS YOU'RE BRAKING AND
                  CONTINUES TO JOLT FORWARD UNCONTROLLABLY. OH
                  AND ON TOP OF ALL OF THIS SOMETIMES THE POWER
                  STEERING COMPLETELY GOES OUT LEAVING YOU WITH




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                  ALL OF THE PROBLEMS MENTIONED ABOVE AND YOU
                  CAN'T STEER PROPERLY! SOMETHING NEEDS TO BE
                  DONE IMMEDIATELY! THE IGNITION SWITCH RECALL
                  FIX DOES NOT WORK! THESE CARS SHOULD NOT BE ON
                  THE ROAD PERIOD.

                  [Impala, 2005, No. 10702838, 3/31/2015], PROBLEMS BEFORE
                  GM RECALL 14350/CAMPAIGN ID 14V400. PROBLEM 1
                  THE IGNITION SWITCH CONTINUED TO STILL ENGAGE
                  AFTER VEHICLE WAS STARTED AND KEY WAS IN THE
                  RUN POSITION. PROBLEM 2 AFTER TURNING THE KEY
                  TO STOP ENGINE WOULD CONTINUE TO RUN UNTIL YOU
                  JIGGLED THE KEY IN THE IGNITION SWITCH. PROBLEM 3
                  HITTING A POT HOLE AT 45 MPH SHUT THE CAR OFF
                  LUCKY MY QUICK REACTION WAS PUT IT INTO
                  NEUTRAL AND RESTARTED THE CAR. SEPTEMBER 2014
                  RECEIVED THE SAFETY RECALL FOLLOWED THE
                  INSTRUCTIONS AS CLAIMED WHICH MADE ME LAUGH
                  CAUSE THE ONLY THING I HAD ON THE KEY RING WAS
                  THE KEY AND ENTRY REMOTE. NOVEMBER 2014
                  RECALL WAS DONE WITH A PLASTIC INSERT ON THE
                  KEY TO KEEP THE WEIGHT CENTER MASS ON THE KEY.
                  AS OF THIS DAY MARCH 2015 I STILL HAVE ALL 3
                  PROBLEMS I STATED EARLIER, THAT RECALL HAS NOT
                  FIXED THE UNDER LINING PROBLEM OF A DEFECTIVE
                  IGNITION SWITCH ITS NOT THE KEY ITS THE SWITCH
                  ITSELF BECAUSE THE CAR STILL DOES ALL THE
                  PROBLEMS I MENTIONED IN THE BEGINNING, I FIND
                  THIS A CHEAP AND SCARY NO FIX BUT TO SATISFY
                  ANYONE WHO THINKS THIS WAS A FIX BUT IN REALITY
                  WILL CAUSE MORE HARM. THE SWITCH NEEDS
                  REPLACED.

                  [Grand Am, 2000, No. 10670734, 1/7/2015], TL* THE
                  CONTACT OWNS A 2000 PONTIAC GRAND AM. THE
                  CONTACT STATED THAT WHILE DRIVING AT
                  APPROXIMATELY 10 MPH, THE VEHICLE STALLED
                  WITHOUT WARNING. THE VEHICLE WAS TAKEN TO A
                  DEALER WHERE IT WAS SERVICED UNDER NHTSA
                  CAMPAIGN NUMBER: 14V400000 (ELECTRICAL SYSTEM)
                  HOWEVER, THE FAILURE RECURRED. IN ADDITION, THE
                  CONTACT STATED THAT AFTER THE VEHICLE WAS
                  SERVICED, THE IGNITION KEY FAILED TO TURN TO THE
                  OFF POSITION. THE VEHICLE WAS NOT DIAGNOSED OR




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                  REPAIRED. THE MANUFACTURER WAS NOTIFIED OF THE
                  FAILURE. THE FAILURE MILEAGE WAS 99, 000.

         684.     Yet from its inception, New GM has known that simply replacing the ignition

switches in the Defective Ignition Switch Vehicles and/or providing a new key is not a solution

to the potential for the key to inadvertently turn from the “run” to the “accessory/off” position in

these vehicles. The necessary modifications New GM undertook with respect to the Defective

Ignition Switch Vehicles’ ignition switches and keys are insufficient to make the Defective

Ignition Switch Vehicles safe or to restore their value.

         685.     New GM’s recalls fail to address the design defect that causes the key fob/chain

to hang too low on the steering column. During testing of the Delta Ignition Switch Vehicles,

Old GM (then New GM) engineers repeatedly observed that the vehicles’ ignition switches could

be moved to the “accessory/off” position when a driver touched the ignition key with his or her

knee during ordinary and foreseeable driving conditions. New GM’s recall repairs fail to address

such occurrences. New GM’s recall is thus inadequate to remedy the defective product.

         686.     Further, New GM’s recalls fail to address the defective airbag system, which

disables the airbag immediately when the engine shuts off. The loss of airbags is a serious safety

condition, especially because it can happen when a vehicle is traveling at highway speeds.

         687.     Following replacement of the ignition switch pursuant to the recall, problems

occurring with the Defective Ignition Switch Vehicles include, but are not limited to: (i) stalls

and shut down on roads and highways; (ii) the ignition key does not fully turn to the “off”

position and, instead, becomes stuck in the “accessory” position; (iii) the ignition key cannot be

removed when the engine is off; (iv) power steering fails; and (v) cars are returned following

replacement of the ignition switch with new parts in non-working order that were in working




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order prior to the “repair,” such as an airbag light remaining on, the horn not working, a broken

door locking mechanism, and the steering wheel locking.

         688.     Among the specific problems experienced in connection with the recalls are:

                  a.     Accidents in Delta Ignition Switch Vehicles as a result of unintended shut

downs or stalls, after the ignition switch has been replaced pursuant to the recall;

                  b.     Class Members were threatened with charges for leaving Delta Ignition

Switch Vehicles at the dealership once the replacement part is installed pursuant to the recall,

even in circumstances where the Delta Ignition Switch Vehicle has been at the dealership for

months awaiting the repair and the dealership did not provide timely notice of the repair’s

completion;

                  c.     Class Members have been charged the costs of a replacement battery when

their Delta Ignition Switch Vehicle’s battery dies on the dealership lot while waiting for months

for the ignition switch replacement parts;

                  d.     Class Members’ Delta Ignition Switch Vehicles, following replacement of

the ignition switch pursuant to the recall, often are returned without the ability to turn the

ignition key to the “off” position and, instead, the key becomes stuck in the “accessory” position,

and/or the driver is unable to remove the key at all; and

                  e.     When Delta Ignition Switch Vehicles were returned after months of

storage at the dealership (pursuant to New GM’s instruction to the dealerships to store the

vehicles while they await repair), new damages appeared on the vehicle and/or additional

mileage has appeared on the odometer.

         689.     And each Class Member who participated in the recall incurred the expense of

their time in taking the car into the dealer that they would not have but for the defect.




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                  c.     The recalls were not completed in a timely fashion.

         690.     At the time it announced the Delta Ignition Switch recall, New GM acknowledged

that it was not prepared to begin replacing defective ignition switches with presumably non-

defective switches.

         691.     New GM informed NHTSA that it would complete 100% of the ignition switch

replacements in connection with the February and March recalls on or before October 4, 2014.

New GM did not meet that deadline.

         692.     The recall was delayed even further because even the replacement ignition

switches were sometimes defective. Various news outlets reported on New GM’s delivery of

faulty replacement switches. The DETROIT NEWS reported on July 9, 2014, that New GM

notified dealerships that it had delivered 542 ignition switch kits with faulty tabs. Those

switches, some of which were delivered to a dealership in New York, were sent back to New

GM.

         693.     The slow pace of the recall caused many problems for Class Members, including

the following:

                  a.     Class Members saw their vehicle’s registration expire while their

Defective Ignition Switch Vehicle sat on the dealership’s lot awaiting recall repairs;

                  b.     Class Members experienced unintended stalls and power failures in Delta

Ignition Switch Vehicles while they awaited repair of their vehicles and either were refused

loaner vehicles, or did not know loaner vehicles were available;

                  c.     Class Members were involved in accidents when they experienced an

unintended stall in their Delta Ignition Switch Vehicle while waiting for replacement parts and

repair; and




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                  d.     Class Members who owned only their Delta Ignition Switch Vehicle and

did not obtain a loaner vehicle faced daily inconveniences and additional expense to obtain

alternate transportation, as they understandably refused to drive their Delta Ignition Switch

Vehicle.

         694.     These delays had real and significant consequences for Class members. As one

illustrative example of the worst, yet entirely foreseeable, outcome of this common problem

known to New GM, on September 27, 2014, the NEW YORK TIMES reported that Laura Gass, a

27-year-old owner of a 2006 Saturn Ion, was killed just days after she received her recall notice.

That notice informed her that replacement parts were not yet available. The notice also did not

inform Ms. Gass that she was eligible to obtain a loaner vehicle should she not wish to drive her

defective Saturn. Ms. Gass needed transportation, and was unaware that New GM was prepared

to provide temporary transportation to replace her defective automobile. As a result, she

continued to drive her defective Ion, a turn of events that had disastrous consequences. On

March 18, 2014, the ignition switch in Ms. Gass’s Saturn slipped to the “accessory” or “off”

position, the power to the vehicle failed, and she was unable to control the vehicle as it collided

with a truck on the interstate. Ms. Gass was killed, but the tragedy should have been prevented.

                  d.     The repair of the other ignition switch defects.

         695.     The repair of the vehicles recalled for ignition switch-related problems in June

and July 2014 also proceeded in a problematic fashion.

         696.     Owners of these vehicles—more than 10 million—were notified that their vehicle

is defective, but no replacement parts were immediately available. New GM did not provide a

timeline within which it would provide any remedy for the ignition switch defect in these

vehicles.




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         697.     Further, because New GM claims that the defect afflicting these vehicles was

distinct from the ignition switch defect affecting the 2.1 million vehicles implicated in the Delta

Ignition Switch recall, it offered owners significantly less safe alternatives. New GM did not

offer loaner vehicles to owners of these 10 million vehicles. It simply advised them to remove

everything from the key chain.

         698.     Of course, the recall notice for each of these 10 million vehicles noted the

possibility that the vehicle may experience a moving stall and/or power failure by traveling

across a bumpy roadway or when a driver’s knee inadvertently contacts the ignition key.

         699.     What is more, New GM’s “repair” of these vehicles is wholly inadequate. New

GM simply modified the ignition key for all the Defective Ignition Switch Vehicles so that the

key is less susceptible to movement. New GM’s remedy, however, does nothing to prevent one

from impacting the ignition key with one’s knee during ordinary and foreseeable driving

conditions. It does nothing to ensure that the airbag system is not disabled if and when the

ignition switch moves into the “accessory” or “off” position. And it does not address the fact

that many of the Defective Vehicles contain ignition switches with inadequate “detent plungers.”

         700.     New GM’s “repairs” are an attempt to rid itself of safety problems on the cheap.

Indeed, New GM did not offer temporary rental vehicles to those affected customers driving the

vehicles recalled in June and early July. Nor will New GM reimburse owners for any previous

repairs aimed at preventing inadvertent power failure in these subject vehicles.

         701.     According to New GM spokesperson Alan Adler, and despite the fact that the

June and July recalls were aimed at safety problems that are substantially similar, if not identical,

to those present in the Delta Ignition Switch Vehicles, the recall of more than 10 million vehicles




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in June and July was to remedy “key issues,” not because the vehicles contain bad ignition

switches.

         702.     This statement is belied by the facts on the ground. Many Class Members have

experienced power failures and engine stalls, and many individuals have been in accidents

attributable to such failures. Court supervision and involvement is required in order to force

New GM to provide its customers with a repair that will truly make the Defective Ignition

Switch Vehicles safe for ordinary and foreseeable driving conditions.

F.       Side-Impact Airbag Wiring Harness Defect

         703.     On March 17, 2014, New GM recalled nearly 1.2 million model year 2008-2013

Buick Enclave, 2009-2013 Chevrolet Traverse, 2008-2013 GMC Acadia, and 2008-2010 Saturn

Outlook vehicles in Safety Recall No. 14v118 for a dangerous defect involving airbags and

seatbelt pretensioners.

         704.     In a March 31, 2014 letter to NHTSA, New GM described the defect as follows:

“Corrosion and/or loose crimps in the driver and passenger seat mounted side impact airbag

(SIAB) wiring harness connectors can cause an increase in resistance. The airbag sensing

system will interpret an increase in resistance as a fault. A fault will illuminate the airbag

readiness light on the instrument cluster and a ‘SERVICE AIR BAG’ message in the Driver

Information Center (DIC), and set a Diagnostic Trouble Code (DTC). At first, at lower levels of

resistance, the light and DIC message may be intermittent and the airbags and pretensioners will

still deploy. Over time, the resistance may reach a level where the SIABs, front center side

airbag, if equipped, and pretensioners will not deploy in a crash.” Thus, New GM has admitted

that all models involved in Safety Recall 14v118 have a common defect.




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          705.    Internally, New GM described the effect of the defect as follows: “If the

resistance reaches a high enough level, the SIABs, driver’s center side airbag, or pretensioners

may not deploy in a crash.” Thus, New GM has admitted that the effect of the defect is the same

for all models involved in Safety Recall 14v118.

          706.    Once again, New GM knew of the dangerous airbag defect long before it took

anything approaching the requisite remedial action.

          707.    The SIAB module is mounted to the seat back structure and has a direct electrical

connection to the inflator. The wiring harness routes from the airbag, attaches to the seat

suspension, secures to the seat structure, and mounts to the front edge of the seat. The mating

socket side of the connector is on a breakout from the body harness that exits through an opening

in the carpet.160

                         airbag side


                                                                    body harness side




                                body harness exits through an opening in the carpet


                                                                          161
                                  Fig. 1 Connecter location and setup

          708.    New GM knew that in 2007 the GMC Acadia and Saturn Outlook were launched

using a Delphi Metropak 150 connector for the driver and passenger SIABs. Old GM plant
    160
          GM-MDL2543-000698574, sheet 2, row 1686.
    161
          GM-MDL2543-402353770.




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Lansing Delta Township expressed concern using that connector because the orientation required

the operator to reach in and behind the connector to install the connector position assurance

clip.162 The blind installation and limited hand clearance prompted LDT to issue PRTS N208096

so that it could meet production requirements.163 To meet these requirements, Old GM replaced

the Delphi Metropak connecter with a two way connector from JST that was easier to connect—

it could be locked with a one-handed single motion.164

          709.     New GM knew that, in June 2008, Old GM found that even after corrections had

been made to prevent claims related to wire routing and terminal crimping, there were still

significant SIAB warranty claims for May 2008-built vehicles.165

          710.     New GM knew that, from September 2, 2008 through September 16, 2008, three

pairs of failed parts were analyzed by supplier JST,166 which concluded that the issue was

fretting corrosion.167 An Old GM current production PRTS opened in October 2008 confirmed

that the issue was indeed fretting corrosion.168 Vinod Katothia, Problem Resolution Process

Engineer found that fretting corrosion of non-noble metals (tin in this case) is the result of the

continual rupture of oxide films on the contact surfaces caused by motion of the contact

interface.169


    162
          GM-MDL2543-000698574, sheet 2, row 1686.
    163
          GM-MDL2543-402353770.
    164
     GM-MDL2543-000698574, sheet 2, row 1686; GM-MDL2543-303352291 (EWO CSXTJ); GM-
MDL2543-303352291 (Supply Contract).
    165
          GM-MDL2543-402353770.
    166
          GM-MDL2543-304666870.
    167
          Id.
    168
          GM-MDL2543-300128031.
    169
          Id. at p.11.




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          711.    New GM knew that, in November of 2008, Old GM released a field service

“rework” for 2008 vehicles.170 The dealers were advised to clear the terminal of debris and

apply Nyogel 760G, a grease that seals electrical contacts from oxygen, moisture, aggressive

gasses and other hostile elements. No action was taken for 2009 vehicles.

          712.    Thus, from the date of its inception, New GM knew that in 2008 there had been

an increase in warranty claims for airbag service on certain of its vehicles and determined it was

due to increased resistance in airbag wiring. New GM further knew that a September 2008

analysis of the tin connectors revealed that corrosion and wear to the connectors was causing the

increased resistance in the airbag wiring. New GM knew that a technical service bulletin had

been issued on November 25, 2008, for 2008-2009 Buick Enclave, 2009 Chevy Traverse, 2008-

2009 GMC Acadia, and 2008-2009 Saturn Outlook models, instructing dealers to repair the

defect by using Nyogel grease, securing the connectors, and adding slack to the line. Finally,

New GM knew that Old GM had also begun the transition back to gold-plated terminals in

certain vehicles and suspended all investigation into the defective airbag wiring without taking

further action.171

          713.    This same issue arose again in late 2009. As a result of an investigation of

connector wear in Chevrolet Malibu and Pontiac G6 vehicles, New GM reviewed warranty data

for Lambda vehicles and noticed another spike in warranty data.172 The 2009 vehicles with

supposed gold connectors were also experiencing wear.173 On further investigation, New GM



    170
          GM-MDL2543-302802992 (TSB 08-09-41-011).
    171
          See New GM Notification Campaign No. 14V-118 dated March 31, 2014, at 1-2.
    172
          GM-MDL2543-303776028.
    173
          GM-MDL2543-200125245.




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determined that JST did not revise the parts for the 2009 model year, and therefore some

connectors still used tin.174 As a result of its review, New GM extended a Customer Satisfaction

bulletin previously issued for Malibu and G6 vehicles to include Lambda vehicles (certain 2008

Buick Enclave, 2008 Saturn Outlook, and 2008 GMC Acadia models built from October 2007 to

March 2).175 New GM’s instruction to dealers was to re-route or replace the SIAB connectors.

          714.     New GM issued a revised Customer Service Bulletin on February 3, 2011,

requiring replacement of the front seat-mounted side-impact airbag connectors in the same faulty

vehicles mentioned in the November 2010 bulletin. In July 2011, New GM again replaced its

connector, this time with a Tyco-manufactured connector featuring a silver-sealed terminal.176

          715.     In 2012, New GM noticed another spike in the volume of warranty claims relating

to side impact airbag connectors in vehicles built in the second half of 2011. After further

analysis of the Tyco connectors, it discovered that inadequate crimping of the connector terminal

was causing increased system resistance. In response, New GM issued an internal bulletin for

2011-2012 Buick Enclave, Chevy Traverse, and GMC Acadia vehicles, recommending dealers

repair Defective Vehicles by replacing the original connector with a new sealed connector.177

          716.     Warranty data for 2011-2012 Lambda vehicles continued to rise throughout 2012

and 2013.178 In October 2013 another FPE investigation was opened. Initially, New GM’s

EFADC determined that a special coverage was necessary, but after a call with NHTSA, it



    174
          Id.
    175
          GM-MDL2543-402160516.
    176
          New GM Notification Campaign No. 14V-118 dated March 31, 2014, at 3.
    177
          See id. at 4.
    178
          GM-MDL2543-304666597.




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determined that it would issue a safety recall instead.179 The population included 2010-2013

Lambda models, as well as 2008-2009 Lambda models that had not previously been repaired

under the numerous Customer Satisfaction and Special Coverage bulletins.180                 New GM

ultimately conceded after the recall that this was a systemic issue caused by New GM’s failure to

test the part to make sure it could withstand the vibration from the vehicle and the occupant.181

          717.    New GM estimated that for one model and model year, it could expect 99 airbag

non-deployments in ten years due to this defect.182 But New GM repeatedly classified this issue

as an “annoyance/continuous improvement” defect. It wasn’t until March 14, 2014, three days

before the recall, that New GM converted this issue to a safety field action.183 The new

treatment as a safety concern arose from a conversation that Carmen Benavides had with

NHTSA, at which Gerald Johnson, Jeff Wrona, and John Calabrese were present. On the day

that a safety recall was finally announced, Alan Adler described it to Selim Bingol as “borderline

safety.”184

          718.    New GM initially planned to issue a less-urgent Customer Satisfaction Program to

address the airbag flaw in the 2010-2013 vehicles. But it wasn’t until a call with NHTSA on

March 14, 2014, that New GM finally issued a full-blown safety recall on the vehicles with the

faulty harness wiring—years after it first learned of the defective airbag connectors, after four

investigations into the defect, and after issuing at least six service bulletins on the topic. The

    179
          GM-MDL2543-402058927.
    180
       E.g., GM-MDL2543-304666314 (Customer Satisfaction); GM-MDL2543-304666333 (Special
Coverage, Re-route wiring harness).
    181
          GM-MDL2543-304843794.
    182
          GM-MDL2543-304666390, p.8.
    183
          GM-MDL2543-402058927.
    184
          GM-MDL2543-303156131.



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recall as first approved covered only 912,000 vehicles, but on March 16, 2014, it was increased

to cover approximately 1.2 million vehicles.185

           719.      On March 17, 2014, New GM issued a recall for 1,176,407 vehicles potentially

afflicted with the defective airbag system. The recall instructs dealers to remove driver and

passenger SIAB connectors and splice and solder the wires together.186 But this is an error-prone

process for dealers to follow. On March 27, 2014, Kathy Koski, New GM Global Technical

Lead and Safety Liason for Passive Safety Electronics e-mailed Brian Everest and Lisa Stacey

regarding an issue with the wiring that the dealers are instructed to follow.187 Ms. Koski

explained that certain circuits may be wired incorrectly, and the SDM would not detect the faulty

wiring.188

G.         Power Steering Defect

           720.      Between 2003 and 2010, over 1.3 million Old GM and New GM vehicles in the

United States were sold with a safety defect that causes the vehicle’s electric power steering

(“power steering”) to suddenly fail during ordinary driving conditions and revert back to manual

steering, requiring greater effort by the driver to steer the vehicle and increasing the risk of

collisions and injuries.

           721.      The affected vehicles are model year 2004-2006 and 2008-2009 Chevrolet

Malibu, 2004-2006 Chevrolet Malibu Maxx, 2009-2010 Chevrolet HHR, 2010 Chevrolet Cobalt,

2005-2006 and 2008-2009 Pontiac G6, 2004-2007 Saturn Ion, and 2008-2009 Saturn Aura

vehicles. All of these recalls were covered by Safety Recall 14v153.

     185
           New GM Notification Campaign No. 14V-118 dated March 31, 2014 at 5.
     186
           See id.
     187
           GM-MDL2543-402326622.
     188
           Id.



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          722.    In a March 28, 2014 letter to NHTSA, New GM described the Power Steering

Defect as follows: “The subject vehicles equipped with electric power steering (EPS) may

experience a sudden loss of power steering assist that could occur at any time while driving.”

Thus, New GM has admitted that all models involved in Safety Recall 14v153 have a common

defect.

          723.    New GM internally described the effect of the defect as follows: “The Driver

Information Center (DIC) displays ‘PWR STRG’, a diagnostic trouble code is set, and the power

steering assist is lost. A chime is momentarily activated to alert the driver to the DIC message.

Steering control is maintained, although greater driver effort is required at low vehicle speeds.

Typically, at the next ignition cycle, power assist is regained and the DIC message is off.” In its

March 28, 2014 letter to NHTSA, New GM acknowledged that steering that requires greater

driver effort at low vehicle speeds “could result in an increased risk of a crash.” Thus, New GM

has admitted that the effect of the defect is the same for all models involved in Safety Recall

14v153.

          724.    As with the ignition switch defects and many of the other defects, New GM was

aware of the Power Steering Defect long before it took anything approaching full remedial

action.

          725.    From the date of its inception, New GM knew that, in 2003, Old GM began

receiving customer complaints regarding loss of power steering in Ions, and in 2004, Old GM

instituted a “Customer Satisfaction program” for 2004 Malibus in which dealers were instructed

to replace the steering column if a customer complained. Despite acknowledging the problem,

no recall was initiated.




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         726.     New GM knew that, in response to a NHTSA Preliminary Investigation into

potential Power Steering Defect in the 2005-2006 Pontiac G6, Old GM extended warranty

coverage for the 2005-06 G6 and 2005 Malibu and Malibu Maxx to replace the steering column

assembly. No recall was done.

         727.     In 2010, New GM first recalled MY 2005-2010 Chevy Cobalts and MY 2007-

2010 Pontiac G5s for these power steering issues, yet it did not recall the many other vehicles

that had the same Power Steering Defects. Moreover, the Valukas Report found that New GM’s

recall was not motivated by customer safety but by the desire to avoid further government

scrutiny: “Alan Adler, GM’s manager for safety communications, remembered that GM had

initially been planning to categorize the electric power-steering issue as a customer satisfaction

issue, but as a result of the congressional scrutiny of Toyota and the unintended acceleration

issues, it was agreed that GM should issue a safety recall before the hearings so that ‘we would

not get mentioned or dragged in to the Senate.’” Valukas Report at 140.

         728.     New GM enacted a series of “half measures” well short of a safety recall for other

models that would not ultimately be recalled until 2014. In June 2010, New GM approved

Special Coverage for model year 2004-2007 Saturn Ions, extending EPS warranty to 10 years or

100,000 miles and instructing dealers to replace power steering motors under Service Bulletin

10187 for customers who complained. A similar Special Coverage program was initiated in June

for the following models: (i) Chevrolet Malibu and Malibu Maxx MY 2005-2006 and 2008; (ii)

Pontiac G6 MY2006; (iii) Saturn Aura MY 2008, and (iv) Saturn Ion MY 2004-2007. And in

July 2010, New GM issued Service Bulletins to provide special coverage to replace the power

steering motor for (i) certain Saturn Ion MY 2004-2007, (ii) Malibu and Malibu Maxx MY 2005-




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2006 and 2008; (iii) Pontiac G6 MY 2006; and (iv) Saturn Aura MY 2008. Yet, again, no safety

recall was initiated.

          729.    In December 2010, GM Canada issued a recall for EPS defects in 2003-07 Ion

and 2006-10 HHR—models equipped with the same EPS motor as the 2005-2010 Cobalts and

G5’s recalled earlier. But New GM did not issue a recall in the United States, although NHTSA

had begun investigating.

          730.    In October 2012, GM Canada issued a notice of defect for certain Malibu, Malibu

Maxx, G6, and Aura vehicles, although it would take almost two more years for New GM to

recall those vehicles in the United States.

          731.    Documents released by NHTSA show that New GM waited years to recall nearly

335,000 Saturn Ions for power-steering failure—despite receiving nearly 4,800 consumer

complaints and more than 30,000 claims for warranty repairs. That translates to a complaint rate

of 14.3 incidents per thousand vehicles and a warranty claim rate of 9.1 percent. By way of

comparison, NHTSA has described as “high” a complaint rate of 250 complaints per 100,000

vehicles.189 Here, the rate translates to 1,430 complaints per 100,000 vehicles.

          732.    In response to the consumer complaints, in September 2011, NHTSA opened an

investigation into the Power Steering Defect in Saturn Ions.

          733.    NHTSA has linked approximately 12 crashes and two injuries to the Power

Steering Defect in the Ions. The first injury was reported in May 2007, and was known to New

GM from the date of its inception.




    189
        See https://www-odi.nhtsa.dot.gov/cars/problems/defect/-
results.cfm?action_number=EA06002&Search Type= QuickSearch&summary=true.



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         734.     In September 2011, after NHTSA began to make inquiries about the safety of the

Saturn Ion, New GM acknowledged that it had received almost 3,500 customer reports claiming

a sudden loss of power steering in 2004-2007 Ion vehicles.

         735.     The following month, New GM engineer Terry Woychowski informed current

CEO Mary Barra—then head of product development—that there was a serious power-steering

issue in Saturn Ions, and that it may be the same power steering issue that plagued the Chevy

Cobalt and Pontiac G5. Ms. Barra was also informed of the ongoing NHTSA investigation. At

the time, NHTSA reportedly came close to concluding that Saturn Ions should have been

included in New GM’s 2010 steering recall of Cobalt and G5 vehicles.

         736.     Instead of recalling the Saturn Ion, New GM sent dealers a service bulletin in

May of 2012 identifying complaints about the steering system in the vehicle.

         737.     By the time New GM finally recalled the Saturn Ion in March 2014, NHTSA had

received more than 1,200 complaints about the vehicle’s power steering. Similar complaints

resulted in over 30,000 warranty claims with New GM.

         738.     After announcing the March 31, 2014 recall, Jeff Boyer, New GM’s Vice

President of Global Vehicle Safety, acknowledged that New GM recalled some of these same

vehicle models previously for the same issue, but that New GM “did not do enough.”

         739.     According to an analysis by the NEW YORK TIMES published on April 20, 2014,

New GM has “repeatedly used technical service bulletins to dealers and sometimes car owners as

stopgap safety measures instead of ordering a timely recall.”

         740.     Former NHTSA head Joan Claybrook echoed this conclusion, stating, “There’s no

question that service bulletins have been used where recalls should have been.”




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         741.     NHTSA has recently criticized New GM for issuing service bulletins on at least

four additional occasions in which a recall would have been more appropriate and in which New

GM later, in fact, recalled the subject vehicles.

         742.     These inappropriate uses of service bulletins prompted Frank Borris, the top

defect investigator for NHTSA, to write to New GM’s product investigations director, Carmen

Benavides, in July 2013, complaining that “GM is slow to communicate, slow to act, and, at

times, requires additional effort . . . that we do not feel is necessary with some of [GM’s] peers.”

         743.     Mr. Borris’ correspondence was circulated widely among New GM’s top

executives including John Calabrese and Alicia Boler-Davis, two vice presidents for product

safety; Michael Robinson, vice president of regulatory affairs; engineer Jim Federico; Gay Kent,

director of product investigations who had been involved in safety issues with the Cobalt since

2006; and William Kemp, an in-house product liability lawyer.

H.       Contrary to their Representations about Safety and Quality, Both Old and New GM
         Concealed and Disregarded Safety Issues as a Way of Doing Business

         744.     From its inception, New GM has possessed vastly superior (if not exclusive)

knowledge and information to that of consumers about the design and function of Old GM and

New GM vehicles and the existence of the defects in those vehicles.

         745.     Old GM also had similar knowledge about the defects in the Defective Vehicles.

This knowledge both (i) renders New GM liable on a successor liability theory for Old GM’s

acts and omissions with respect to the Delta Ignition Switch Vehicles and (ii) may be imputed to

New GM with respect to all of the Defective Vehicles.




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          746.    Recently revealed information presents a disturbing picture of the approach to

safety issues of both Old and New GM—both in the design and manufacturing stages, and in

discovering and responding to defects in New GM and Old GM vehicles that are on the road.

          747.    Like Old GM before it, New GM made very clear to its personnel that cost-

cutting was more important than safety, deprived its personnel of necessary resources for

spotting and remedying defects, trained its employees not to reveal known defects, and rebuked

those who attempted to “push hard” on safety issues.

          748.    In stark contrast to New GM’s public mantra that “Nothing is more important

than the safety of our customers” and similar statements, a prime “directive” at New GM was

“cost is everything.”190 The messages from top leadership at both Old and New GM to

employees, as well as their actions, were focused on the need to control cost.191

          749.    One New GM engineer stated that emphasis on cost control at New GM

“permeates the fabric of the whole culture,” and the same emphasis existed at Old GM.192

          750.    According to Mark Reuss (President of General Motors North America from

2009-2013 before succeeding Mary Barra as Executive Vice President for Global Product

Development, Purchasing and Supply Chain in 2014), cost and time-cutting principles known as

the “Big 4” at both Old and New GM “emphasized timing over quality.”193

          751.    The focus on cost-cutting at Old and New GM created major disincentives to

personnel who might wish to address safety issues. For example, those responsible for a vehicle



    190
          Valukas Report at 249.
    191
          Id. at 250.
    192
          Valukas Report at 250.
    193
          Id.



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were responsible for its costs, but if they wanted to make a change that incurred cost and affected

other vehicles, they also became responsible for the costs incurred in the other vehicles.

          752.    The drive to cut costs at both Old and New GM also resulted in a policy to

“minimize needless part number changes” in order to achieve “cost savings to the corporation,”

as reflected in a 2012 instructional document from Global Product Description System.

          753.    The culture of cost cutting contributed to the unwillingness of both Old and New

GM to adequately remediate the defects. For example, in an October 2012 e-mail to Peter Judis

and John Zuzelsnski, Terrence Connolly noted that New GM engineers determined it was

possible to cause the airbag to stay active for five seconds after an ignition switch rotated to the

accessory position.194

          754.    This measure undoubtedly would have saved many lives and mitigated many

injuries. But New GM—focused on costs, not customer safety—determined it would be an

“expensive field fix”195 and ultimately decided not to implement the “fix.”

          755.    That same month, Stouffer and DeGiorgio e-mailed about another potential fix for

the Delta Ignition Switch defect: increasing the torque required to rotate the key from the

accessory position. Stouffer was particularly focused on the cost of the potential

replacements.196

          756.    In a 2013 e-mail to Wachtel & Furney, Hall raised the idea of re-mailing special

coverage bulletins regarding many known defects including, but not limited to, the power

steering defect in Ions, the airbag defect in Acadias, Enclaves, Outlooks and Traverses, and the


    194
          HIGHLY CONFIDENTIAL DOC: GM-MDL2543-003609538.
    195
          HIGHLY CONFIDENTIAL DOC: Id.
    196
          HIGHLY CONFIDENTIAL DOC: GM-MDL2543-000592970.



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ignition switch defect in Cobalts and HHRs. Chief among Hall’s concerns was the fact that re-

mailing the bulletins, a measure which could have raised awareness and saved lives, would

“drive a lot of cost and will create part issues.”197

          757.    When New GM finally decided to take action to address the ignition switch

defects, cost, not customer safety, remained the driving consideration. A PowerPoint

presentation from December 17, 2013, revealed the cost comparison between replacing ignition

switches—$37.7 million—and adding “key inserts”—$14.2 million.198 Unsurprisingly, New

GM opted not to replace all the ignition switches, and to rely solely on the key fix for many of

the Defective Ignition Switch Vehicles.

          758.    Even then, Omar Perea of part supplier Srattec, advised New GM’s Joseph Rec

that the key inserts “have a history of becoming loose and a tendency of falling out of the

overmold.” Given this, in January 2014, Christine Witt asked John Murawa if “the key insert

[is] still the way we want to respond.” Witt’s response, unsurprisingly, was again focused on

cost: “Due to the cost of a key set        versus the inserts      replacing the keys and

reprogramming is approximately             more than using the inserts.”199

          759.    Shortly thereafter, Witt relayed to Allen that the New GM Executive Decision

Committee is “VERY concerned about the cost associated” with the key inserts, explained that

she was asked to “‘remind’ [Allen] that we need to keep the costs of these inserts ‘very low.’”200




    197
          HIGHLY CONFIDENTIAL DOC: GM-MDL2543-001514667.
    198
          HIGHLY CONFIDENTIAL DOC: GM-MDL2543-003328192.
    199
          HIGHLY CONFIDENTIAL DOC: GM-MDL2543-002827790.
    200
          HIGHLY CONFIDENTIAL DOC: GM-MDL2543-0031419974.



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          760.    As another cost-cutting measure at both Old and New GM, parts were sourced to

the lowest bidder, even if they were not the highest quality parts.201

          761.    Because of the focus on cost-cutting at both Old and New GM, engineers did not

believe they had extra funds to spend on product improvements.202

          762.    The focus of Old and New GM on cost-cutting also made it harder for personnel

to discover safety defects, as in the case of the “TREAD Reporting team.”

          763.    Both Old and New GM used the TREAD database (known as “TREAD”) to store

the data required to be reported quarterly to NHTSA under the TREAD Act.203 From the date of

its inception in 2009, TREAD has been the principal database used by New GM to track

incidents related to its vehicles, just as was the case at Old GM.204

          764.    Generally, the TREAD Reporting team has consisted of employees who conduct

monthly searches and prepare scatter graphs to identify spikes in the number of accidents or

complaints with respect to various New GM and Old GM vehicles. The TREAD Reporting team

reports have gone to a review panel and have sometimes spawned investigations to determine if

any safety defect existed.205

          765.    In 2010, New GM elected to continue the understaffing of the TREAD team

implemented by Old GM, adding two people to the team of three but opting not to have them

participate in the TREAD database searches.206 Moreover, until 2014, the TREAD Reporting


    201
          Valukas Report at 251.
    202
          Id.
    203
          Id. at 306.
    204
          Id.
    205
          Id. at 307.
    206
          Id. at 307-308.



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team did not have sufficient resources to obtain any of the advanced data mining software

programs available in the industry to better identify and understand potential defects.207

          766.    By starving the TREAD Reporting team of the resources it needed to identify

potential safety issues, both Old and New GM helped to insure that safety issues would not come

to light.

          767.    “[T]here was resistance or reluctance to raise issues or concerns in the GM

culture.” The culture, atmosphere and supervisor response at both Old and New GM

“discouraged individuals from raising safety concerns.”208

          768.    Dwayne Davidson, senior manager for TREAD reporting at both Old and New

GM, testified that after the creation of New GM, his team did not have the expertise, manpower,

or resources necessary to perform his job.

          769.    New GM CEO, Mary Barra, experienced instances where Old and New GM

engineers were “unwilling to identify issues out of concern that it would delay the launch” of a

vehicle.209

          770.    Old and New GM supervisors warned employees to “never put anything above

the company” and “never put the company at risk.”210

          771.    Old and New GM systematically “pushed back” on describing matters as safety

issues and, as a result, “GM personnel failed to raise significant issues to key decision-

makers.”211



    207
          Id. at 208.
    208
          Id. at 252.
    209
          Valukas Report at 252.
    210
          Id. at 252-253.



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          772.     So, for example, Old and New GM discouraged the use of the word “stall” in

Technical Service Bulletins (“TSBs”) that sometimes went to dealers about issues in New GM

and Old GM vehicles. According to Steve Oakley, who drafted a Technical Service Bulletin in

connection with the ignition switch defects while working at Old GM, “the term ‘stall’ is a ‘hot’

word that GM generally does not use in bulletins because it may raise a concern about vehicle

safety, which suggests GM should recall the vehicle, not issue a bulletin.”212 Other New GM

(and former Old GM) personnel confirmed Oakley on this point, stating that “there was concern

about the use of ‘stall’ in a TSB because such language might draw the attention of NHTSA.”213

          773.     Oakley further noted that “he was reluctant to push hard on safety issues because

of his perception that his predecessor had been pushed out of the job for doing just that.”214

          774.     Many Old and New GM employees “did not take notes at all at critical safety

meetings because they believed New GM lawyers did not want such notes taken.”215

          775.     A training document released by NHTSA as an attachment to its Consent Order

sheds further light on the lengths to which Old and New GM went to ensure that known defects

were concealed. The vast majority of employees who participated in this webinar presentation

given at Old GM continued on in their same positions at New GM after July 10, 2009, and New

GM never altered these instructions to its employees. It therefore appears that the defects were

concealed pursuant to Old and New GM company policy. The presentation focused on recalls

and the “reasons for recalls.”

    211
          Id. at 253.
    212
          Id. at 92.
    213
          Id. at 93.
    214
          Id.
    215
          Id. at 254.



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         776.     One major component of the presentation was captioned “Documentation

Guidelines,” and focused on what employees should (and should not say) when describing

problems in vehicles. Employees were instructed to “[w]rite smart,” and to “[b]e factual, not

fantastic” in their writing. In practice, “factual” was a euphemism for avoiding facts and

relevant details.

         777.         Old and New GM vehicle drivers were given examples of comments to avoid,

including the following: “This is a safety and security issue”; “I believe the wheels are too soft

and weak and could cause a serious problem”; and “Dangerous … almost caused accident.”

         778.     In documents used for reports and presentations, employees were advised to avoid

a long list of words, including: “bad,” “dangerous,” “defect,” “defective,” “failed,” “flawed,”

“life-threatening,” “problem,” “safety,” “safety-related,” and “serious.”

         779.     In truly Orwellian fashion, the company advised employees to use the words (1)

“Issue, Condition [or] Matter” instead of “Problem”; (2) “Has Potential Safety Implications”

instead of “Safety”; (3) “Broke and separated 10 mm” instead of “Failed”; (4)

“Above/Below/Exceeds Specification” instead of “Good [or] Bad”; and (5) “Does not perform to

design” instead of “Defect/Defective.”

         780.     As NHTSA’s Acting Administrator Friedman noted at the May 16, 2014 press

conference announcing the Delta Ignition Switch Defect Consent Order, it was Old and New

GM’s company policy to avoid using words that might suggest the existence of a safety defect.

         781.     According to Friedman, “[New] GM must rethink the corporate philosophy

reflected in the documents we reviewed, including training materials that explicitly discouraged

employees from using words like ‘defect,’ ‘dangerous,’ ‘safety related,’ and many more essential




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terms for engineers and investigators to clearly communicate up the chain when they suspect a

problem.”

          782.    Thus, Old and New GM employees were trained to conceal the existence of

known safety defects from consumers and regulators. Indeed, it is nearly impossible to convey

the potential existence of a safety defect without using the words “safety” or “defect” or

similarly strong language that was forbidden at New GM.

          783.    So institutionalized was the “phenomenon of avoiding responsibility” at both Old

and New GM that the practice was given a name: “the ‘GM salute,’” which was “a crossing of

the arms and pointing outward towards others, indicating that the responsibility belongs to

someone else, not me.”216

          784.    Similarly, Old and New GM had a silo-ed culture, designed to cabin information

relating to potential safety defects rather than reveal such information.

          785.    In a May 13, 2013 meeting about safety defects and potential troubles with

NHTSA, Maureen Foley-Gardner noted that Old and New GM engineers were abided by the

practice of shielding upper management from information about safety defects that might require

recalls.217

          786.    CEO Mary Barra described a related phenomenon, “known as the ‘GM nod,’”

which was “when everyone nods in agreement to a proposed plan of action, but then leaves the

room with no intention to follow through, and the nod is an empty gesture.”218




    216
          Valukas Report at 255.
    217
          HIGHLY CONFIDENTIAL DOC: GM-MDL2543-400264009.
    218
          Valukas Report at 256.



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          787.    According to the New GM Report prepared by Anton R. Valukas (known as the

“Valukas Report”), part of the failure to properly correct the Delta Ignition Switch Defect was

due to problems with Old and New GM’s organizational structure219 and a corporate culture that

did not care enough about safety.220 Other culprits included a lack of open and honest

communication with NHTSA regarding safety issues,221 and the improper conduct and handling

of safety issues by lawyers within New GM’s Legal Staff.222 On information and belief, all of

these issues independently and in tandem helped cause the concealment of, and failure to

remedy, all of the many defects that have led to the spate of recalls in 2014, including those in

the Defective Vehicles.

          788.    An automobile manufacturer has a duty to promptly disclose and remedy defects.

Yet both Old and New GM knowingly concealed information about material safety hazards from

the driving public, their own customers, and the Class, thereby allowing unsuspecting vehicle

owners and lessees to continue unknowingly driving patently unsafe vehicles that posed a mortal

danger to themselves, their passengers and loved ones, other drivers, and pedestrians.

          789.    Not only did Old and New GM take far too long in failing to address or remedy

the defects, they deliberately worked to cover-up, hide, omit, fraudulently conceal, and/or

suppress material facts from the Class who relied upon it to the detriment of the Class.




    219
          Id. at 259-260.
    220
          Id. at 260-61.
    221
          Id. at 263.
    222
          Id. at 264.



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          790.    New GM further endeavored to conceal and suppress material facts by quietly

settling claims brought on behalf of people hurt by the defects in the Delta Ignition Switch

Vehicles.

          791.    For example, in a November 2, 2010 evaluation of the “Chansuthus” case, New

GM’s outside counsel explained that “because there appears to be clear evidence of a defect,

every effort should be made to settle this claim at this stage,” i.e., before a case was filed and a

public record developed.223

          792.    New GM’s counsel made a similar recommendation in the “Melton” case on July

22, 2013: “This case needs to be settled,” counsel advised, because “there is little doubt” the

vehicle was defective and New GM needed to avoid letting the plaintiff’s counsel continue to

develop and publicize “a record from which he can compelling argue that GM has known about

this safety defect” for almost a decade “and has done nothing to correct the problem.”224 The

case was settled confidentially for the maximum amount the Settlement Review Committee

could authorize without direct approval of New GM’s general counsel.

          793.    Even after the 2014 Recalls, New GM continued its efforts to conceal facts about

the defects by offering terminated employees generous severance packages tied to confidentiality

provisions.

          1.      New GM’s deceptions continued in its public discussions of the ignition
                  switch recalls.

          794.    From the CEO on down, New GM once again embarked on a public relations

campaign to convince consumers and regulators that, this time, New GM has sincerely reformed.



    223
          HIGHLY CONFIDENTIAL DOC: GM-MDL2543-00660601.
    224
          HIGHLY CONFIDENTIAL DOC: GM-MDL2543-300002915.



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          795.    On February 25, 2014, New GM North America President Alan Batey publicly

apologized and again reiterated New GM’s purported commitment to safety: “Ensuring our

customers’ safety is our first order of business. We are deeply sorry and we are working to

address this issue as quickly as we can.”225

          796.    In a press release on March 18, 2014, New GM announced that Jeff Boyer had

been named to the newly created position of Vice President, Global Vehicle Safety. In the press

release, New GM quoted Mr. Boyer as stating that: “Nothing is more important than the safety

of our customers in the vehicles they drive. Today’s GM is committed to this, and I’m ready to

take on this assignment.”

          797.    In an April 10, 2014 press release, CEO Mary Barra announced that New GM was

“creating a Speak Up for Safety program to recognize employees for ideas that make vehicles

safer, and for speaking up when they see something that could impact customer safety.” Barra

explained: “We will recognize employees who discover and report safety issues to fix problems

that could have been found earlier and identify ways to make vehicles safer.”226

          798.    On May 13, 2014, New GM published a video to defend its product and maintain

that the Delta Ignition Switch Defect will never manifest when only a single key is used. Jeff

Boyer addressed viewers and told them New GM’s Milford Proving Ground is one of “the

largest and most comprehensive testing facilities in the world.” He told viewers that if you use a

New GM single key that there is no safety risk.227


    225
      https://media.gm.com/media/us/en/gm/news.detail/content/Pages/news/us/en/2014/Feb/
0225-ion.
    226
      http://media.gm.com/media/us/en/gm/news.detail.html/content/Pages/news/us/en/2014/
Apr/0410-speakup.html.
    227
          https://www.youtube.com/watch?v=rXO7F3aUBAY.



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          799.    As of July 2014, New GM continued to praise its safety testing. It published a

video entitled “90 Years of Safety Testing at New GM’s Milford Proving Ground.” The narrator

describes New GM’s testing facility as “one of the world’s top automotive facilities” where data

is “analyzed for customer safety.” The narrator concludes by saying, “[o]ver the past ninety

years one thing remained unchanged, GM continues to develop and use the most advanced

technologies available to deliver customers the safest vehicles possible.”228




          800.    On July 31, 2014, Jack Jensen, the New GM engineering group manager for the

“Milford Proving Ground” dummy lab, told customers that “[w]e have more sophisticated


    228
          https://www.youtube.com/watch?v=BPQdlJZvZhE&list=UUxN-Csvy_9sveql5HJviDjA.



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dummies, computers to monitor crashes and new facilities to observe different types of potential

hazards. All those things together give our engineers the ability to design a broad range of

vehicles that safely get our customers where they need to go.”229

          801.    As discussed in this Complaint, these recent statements from New GM personnel

contrast starkly with New GM’s wholly inadequate response to remedy the defects in its

vehicles, including the Defective Ignition Switch Vehicles.

          802.    New GM’s recent actions underscore its unwillingness to reform. Owners of

2013-2014 Buick Verano, Chevrolet Cruze, and Chevrolet Malibu have complained that their

steering wheels can stick in one position after driving for a long period of time, compromising

the driver’s ability to steer effectively.230

          803.    More than 50 complaints have been registered with NHTSA so far. One customer

reported: “At highway speeds the steering sticks, making it scary to drive and dangerous.”231

New GM’s response? Another service bulletin.

          804.    In July 2014, New GM issued a TSB to dealers advising them how to install a

software update to fix the problem, but only if a customer affirmatively brought it to the dealers’

attention.232 In November 2014, New GM alerted customers with a letter advising the wheel

could “stick in the straight-ahead position.”233


    229
       https://media.gm.com/media/us/en/gm/news.detail/content/Pages/news/us/en/2014/
Jul/0731-mpg.
    230
       http://www.nytimes.com/2015/04/11/business/gm-steering-issue-pushes-automakers-
limits.html?_r=1; http://gmauthority.com/blog/2015/04/general-motors-says-it-will-not-issue-
steering-related-recall-based-on-nhtsa-findings/.
    231
          Id.
    232
          Id.
    233
          Id.



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          805.    And yet, despite this potentially dangerous defect, New GM refused to issue a

recall. New GM’s pattern and practice of stopgap and half-measures continues unabated.

          2.      There are serious safety defects in millions of New GM and Old GM vehicles
                  across many models and years and, until recently, New GM concealed them
                  from consumers.

          806.        In 2014, New GM announced at least 84 recalls for more than 70 separate defects

affecting over 27 million New GM and Old GM vehicles sold in the United States from model

years 1997-2015. The number of recalls and serious safety defects are unprecedented, and can

only lead to troubling conclusions: New GM was concealing the fact that it was incapable of

building safe vehicles free from defects, and, with respect to Old GM vehicles, it was concealing

its knowledge of serious safety defects in order to protect its profits, avoid costly recalls and

maintain New GM’s false claims that safety was its highest priority. For context, in 2013, the

whole auto industry in the United States issued recalls affecting 23 million vehicles, and the

previous record for the whole industry in a given year was 31 million in 2004.234 Thus, New

GM’s recalls in 2014 impacts more vehicles than the entire industry’s recalls did in 2013, and

the total of over 27 million vehicles recalled in one year is three times larger than Honda or

Chrysler. In 2015, New GM announced five more significant recalls for separate safety-related

defects affecting over 129,000 New and Old GM vehicles sold in the United States from model

years 2004-2015.

          807.    Even more disturbing, the available evidence shows a common pattern: From its

inception in 2009, New GM knew about an ever-growing list of serious safety defects in millions




    234
       In 2014, that record was broken when the whole industry issued recalls affecting 64
million vehicles.



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of Old GM vehicles, but concealed them from consumers and regulators in order to cut costs,

boost sales, and avoid the cost and publicity of recalls.

          808.    Unsurprisingly in light of New GM’s systemic devaluation of safety issues, the

evidence also shows that New GM has manufactured and sold a grossly inordinate number of

vehicles with serious safety defects.

          809.    New GM valued cost-cutting over safety, actively discouraged its personnel from

taking a “hard line” on safety issues, avoided using “hot” words like “stall” that might attract the

attention of NHTSA and suggest that a recall was required, and its employees were trained to not

use words such as “defect” or “problem” that might flag the existence of a safety issue.

          810.    The Center for Auto Safety recently stated that it has identified 2,004 death and

injury reports filed by New GM with federal regulators in connection with vehicles that were

recalled in 2014.235 The GM Ignition Compensation Claims Resolution Facility has concluded

that at 124 fatalities and 275 personal injury claims are attributable to the Delta Ignition Switch

Defect alone.236 Many of these deaths and injuries would have been avoided had New GM

complied with its TREAD Act obligations over the past five plus years.

          811.    The many defects concealed and/or created by New GM affect important safety

systems in New GM and Old GM vehicles, including the ignition, power steering, airbags, brake

lights, gearshift systems, and seatbelts.




    235
      See Thousands of Accident Reports Filed Involving Recalled GM Cars: Report, Irvin
Jackson (June 3, 2014).
    236
       http://www.gmignitioncompensation.com/docs/program_Statistics.pdf. These figures
continue to grow, moreover, and account for only a subset of the vehicles affected by the Ignition
Switch Defects.



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         812.     The available evidence shows a consistent pattern: New GM learned about a

particular defect and, often only at the prodding of regulatory authorities, “investigated” the

defect and decided upon a “root cause.” New GM then took minimal action—such as issuing a

carefully worded “Technical Service Bulletin” to its dealers, or even recalling a limited number

of the vehicles with the defect. All the while, the true nature and scope of the defects were kept

under wraps, vehicles affected by the defects remained on the road, New GM continued to create

new defects in new vehicles, and New GM enticed Class Members to purchase its vehicles by

touting the safety, quality, and reliability of its vehicles, and presenting itself as a manufacturer

that stands behind its products.

         813.     Many of the most significant, additional defects leading to recalls in 2014 include

the following:

             x    ignition lock cylinder defect (2,393,169 vehicles);

             x    driver-side airbag shorting-bar defect (38,636 vehicles);

             x    driver-side airbag inflator defect (29,019 vehicles);

             x    roof-rail airbag defect (16,932 vehicles);

             x    passenger-side airbag defect (1,953 vehicles);

             x    sport seat side-impact airbag defect (712 vehicles);

             x    passenger-side airbag inflator defect (61 vehicles);

             x    front passenger airbag defect (303,013 vehicles);

             x    electrical short circuit airbag defect (33 vehicles);

             x    seat belt connector cable defect (1.4 million vehicles);

             x    seat belt retractor defect (28,789 vehicles);




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             x    frontal lap-belt pretensioner defect (48,059 vehicles);

             x    power height adjustable seat defect (414,333 vehicles);

             x    brake light defect (2.4 million vehicles);

             x    brake booster pump defect (63,903 vehicles);

             x    hydraulic boost assist defect (140,067 vehicles);

             x    brake rotor defect (8,208 vehicles);

             x    reduced brake performance defect (1,968 vehicles);

             x    parking brake defect (221,000 vehicles);

             x    power steering hose clamp defect (57,192 vehicles);

             x    power steering control module defect (57,242 vehicles);

             x    lower control arm ball joint defect (1,919 vehicles);

             x    steering tie-rod defect (477 vehicles);

             x    joint fastener torque defect (106 vehicles);

             x    loss of electric power steering assist defect (69,633 vehicles);

             x    steering column assembly defect (2,295 vehicles);

             x    transmission shift cable defect (1.1 million vehicles);

             x    transmission shift cable defect for Cadillacs (90,750 vehicles);

             x    transmission oil cooler line defect (489,936 vehicles);

             x    transfer case control module software defect (392,459 vehicles);

             x    acceleration-lag defect (50,571 vehicles);

             x    transmission turbine shaft fracture defect (21,567 vehicles);

             x    automatic transmission shift cable adjuster (352 vehicles);




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             x    power management mode software defect (324,970 vehicles);

             x    light control module defect (217,578 vehicles);

             x    electrical short in driver’s door module defect (181,984 vehicles);

             x    front axle shaft defect (174,046 vehicles);

             x    seat hook weld defect (124,007 vehicles);

             x    front turn signal bulb defect (120,426 vehicles);

             x    low-beam headlight defect (103,158 vehicles);

             x    radio chime defect (57,512 vehicles);

             x    fuel gauge defect (51,460 vehicles);

             x    fuel pump module defect (40,859 vehicles);

             x    windshield wiper system defect (19,225 vehicles);

             x    console bin door latch defect (14,940 vehicles);

             x    driver door wiring splice defect (14,765 vehicles);

             x    overloaded feed defect (9,371 vehicles);

             x    windshield wiper module assembly defect (4,794 vehicles);

             x    engine block heater power cord insulation defect (2,990 vehicles);

             x    rear shock absorber defect (1,939 vehicles);

             x    electronic stability control defect (656 vehicles);

             x    unsecured floor mat defect (184 vehicles);

             x    fuse block defect (58 vehicles);

             x    diesel transfer pump defect (51 vehicles);

             x    rear suspension toe adjuster link defect (290,241 vehicles);




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              x   hood latch defect (89,294 vehicles);

              x   electrical short defect (117,652 vehicles);

              x   headlamp driver module failure (273,182 vehicles);

              x   ignition lock actuator binding defect (83,572 vehicles);

              x   tire tread cracking defect (5,876 vehicles);

              x   engine software defect (50,236 vehicles); and

              x   valve cover gasket defect (1,207 vehicles).

I.         New GM Sold Used Defective Ignition Switch Vehicles and Other Defective Vehicles
           As “Certified Pre- Owned” Vehicles

           814.   From the date of its inception on July 10, 2009, New GM sold New GM vehicles

and Old GM vehicles, including Defective Vehicles, as “Certified Pre-Owned” vehicles. In so

doing, New GM concealed the fact that the vehicles contained serious safety defects,

fraudulently represented that the vehicles were free of known safety defects, and were built with

“premium” and superior engineering and design.

           815.   According to New GM’s current website, “[b]uying a Certified Pre-Owned

vehicle can make your used car purchase and ownership worry-free. Because every Certified

Pre-Owned Chevy, Buick, and GMC is a vehicle you can trust.”237

           816.   According to New GM’s website, Certified Pre-Owned vehicles have “$2,135 of

Built-In Value.” That is because, according to New GM:

                  Before you buy, our vehicles have to meet stringent standards and
                  inspection criteria to earn the Certified Pre-Owned badge. After
                  you buy, experience hassle-free driving with our maintenance,
                  warranty and other benefits that come standard with every

     237
      http://www.gmcertified.com/?seo=goo_|_%5Baccount+name%5D_|_RTN-GM+CPO-
Exact_|_GM+CPO_|_gm%20certified (last visited on May 28, 2015).



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                  Certified Pre-Owned vehicle. And we did the math. These
                  benefits are worth $2,135.238

          817.    With respect to all New GM and Old GM vehicles in general, and Defective

Ignition Vehicles in particular, these representations were false. In fact, as a result of the ignition

switch defect and the raft of negative publicity associated with the New GM-brand as a result of

New GM’s fraudulent concealment and misrepresentations, the Certified Pre-Owned vehicles

have greatly diminished in value, as have all New GM made vehicles that were sold to

consumers prior to July 2014.

          818.    California and Nationwide Class Representatives Marc and Madelaine

Koppelman were among those Class Members unfortunate enough to have purchased vehicles

subject to the Delta Ignition Switch recall from New GM as a Certified Pre-Owned vehicle, in

this case a 2010 Chevy HHR.

          819.    On information and belief, the documentation provided to these plaintiffs is

identical or similar to the documentation provided to all Certified Pre-Owned vehicle purchasers.

According that documentation, before selling the Koppelman’s vehicle, New GM performed a

rigorous “172-Point Vehicle and Reconditioning” protocol.

          820.    As part of that protocol, New GM checked boxes claiming that it had done an

“inspection” of the “Engine Compartment,” including, inter alia, the “ignition system,” and

claimed that it had “inspect[d] [the] operation of all components” and had “replace[d] or

“repair[ed]” as necessary.

          821.    In the same documentation, New GM also advised these plaintiffs—just as it still

does on its website—that the “benefits” of a Certified Pre-Owned vehicle were worth “$2,135.”

    238
      http://www.gmcertified.com/?seo=goo_|_%5Baccount+name%5D_|_RTN-GM+CPO-
Exact_|_GM+CPO_|_gm%20certified (last visited on May 28, 2015).



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           822.   Because of New GM’s promises in connection the Certified Pre-Owned vehicles,

Class Members who purchased Defective Vehicles as Certified Pre-Owned vehicles stand in the

same position with respect to New GM as do purchasers of new vehicles made and sold by New

GM.

J.         In A Deferred Prosecution Agreement Entered into with the Justice Department,
           New GM Made Admissions that Are Highly Relevant to Plaintiffs’ Claims

           823.   On September 16, 2015, New GM and the Department of Justice entered into a

Deferred Prosecution Agreement (“DPA”). In that agreement, New GM consented to the filing

of an Information charging it with a scheme to conceal a deadly safety defect from its U.S.

Regulator in violation of 18 U.S.C. § 1001, and committing wire fraud in violation of 18 U.S.C.

§ 1343.

           824.   As part of the DPA, New GM agreed to a Statement of Facts as being “true and

accurate.”239

           825.   The following agreed facts are relevant to claims and allegations pled in this

Complaint:240

                           2.     At all times relevant to this Statement of Facts, GM
                  designed, manufactured, assembled, and sold Chevrolet brand
                  vehicles. From the earliest date relevant to this Statement of Facts
                  until in or about 2010, GM designed, manufactured, assembled,
                  and sold Pontiac brand vehicles. From the earliest date relevant to
                  this Statement of Facts until in or about 2009, GM designed,
                  manufactured, assembled, and sold Saturn brand vehicles. And

     239
           See Deferred Prosecution Agreement, p. 2, ¶ 2.
     240
        The term “GM” appears in the Statement of Facts agreed to and admitted by New GM.
The term refers to New GM with respect to all incidents that occurred on or after July 10, 2009.
With respect to events that occurred prior to that point, the allegations are relevant to the
Plaintiffs’ claims here because New GM was aware of them from the date of its inception given
that the same personnel involved in and/or with knowledge of those events transferred to New
GM, along with documents reflecting all the events related in the Statement of Facts.



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                  from the earliest date relevant to this Statement of Facts until in or
                  about the spring of 2013, GM promoted sales of “pre-owned” (i.e.,
                  used) Chevrolet, Pontiac, and Saturn brand vehicles by GM
                  dealerships nationwide.

                          3.      As set forth in more detail below, from in or about
                  the spring of 2012 through in or about February 2014, GM failed
                  to disclose a deadly safety defect to its U.S. regulator, the National
                  Highway Traffic Safety Administration (“NHTSA”). It also
                  falsely represented to consumers that vehicles containing the defect
                  posed no safety concern.

                         7.      From approximately the spring of 2012, certain GM
                  personnel knew that the Defective Switch presented a safety defect
                  because it could cause airbag non-deployment associated with
                  death and serious injury.

                          8.     Yet not until approximately 20 months later, in
                  February 2014, did GM first notify NHTSA and the public of the
                  connection between the Defective Switch and fatal airbag non-
                  deployment incidents. This announcement accompanied an initial
                  recall of approximately 700,000 vehicles—a population that
                  would, by March 2014, grow to more than 2 million.

                          9.     Inside GM, certain personnel responsible for
                  shepherding safety defects through GM’s internal recall process
                  delayed this recall until GM could fully package, present, explain,
                  and handle the deadly problem, taking affirmative steps to keep the
                  Defective Switch matter outside the normal process. On at least
                  two occasions while the Defective Switch condition was well
                  known by some within GM but not disclosed to the public or
                  NHTSA, certain GM personnel made incomplete and therefore
                  misleading presentations to NHTSA assuring the regulator that
                  GM would and did act promptly, effectively, and in accordance
                  with its formal recall policy to respond to safety problems—
                  including airbag-related safety defects.

                            10.    Moreover, for much of the period during which GM
                  failed to disclose this safety defect, it not only failed to correct its
                  June 2005 assurance that the Defective Switch posed no safety
                  concern but also actively touted the reliability and safety of cars
                  equipped with the Defective Switch, with a view to promoting
                  sales of used GM cars. Although GM sold no new cars equipped
                  with the Defective Switch during this period, GM dealers were
                  still, from in or about the spring of 2012 through in or about the
                  spring of 2013, selling pre-owned Chevrolet, Pontiac, and Saturn



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                  brand cars that would later become subject to the February 2014
                  recalls. These sales were accompanied by certifications from GM,
                  assuring the unwitting consumers that the vehicles’ components,
                  including their ignition systems and keys, met all safety standards.

                         11.    After the spring of 2012 but before the recall was
                  announced, the fifteenth Company-acknowledged death associated
                  with the Defective Switch occurred.

                           44.     As noted, the too-easy movement of the Defective
                  Switch from the Run to the Accessory or Off position resulted in
                  an unexpected shutoff of the engine and—as both the February
                  2005 Preliminary Information and the 2005 Service Bulletin
                  properly described—a “loss of electrical system[s].” These
                  electrical systems included power steering and power brakes.
                  They also included the sensing diagnostic module or “SDM,”
                  which controlled airbag deployment. Internal GM documents
                  reflect that although the impact of an engine shutoff on the SDM
                  was not on GM engineers’ minds, certain employees within GM
                  understood no later than 2001 the natural connection between a
                  loss of electrical systems and non-deployment of airbags: if the
                  ignition switch turned to Off or Accessory, the SDM would
                  “drop,” and the airbags would therefore be disabled. If a crash
                  then ensued, neither the driver nor any passengers could have the
                  protection of an airbag.

                          45.     And, indeed, the deadly effects of the Defective
                  Switch on airbag non-deployment began manifesting themselves
                  early on, in crashes about which GM was made aware
                  contemporaneously. In July 2004, the 37 year-old driver of a 2004
                  Ion, a mother of three children and two step-children, died in a
                  crash after her airbags failed to deploy. A few months later, in
                  November 2004, the passenger of a 2004 Ion died in another crash
                  where the airbags failed to deploy. The driver was charged with,
                  and ultimately pled guilty to, negligent homicide. Then, in June
                  2005, a 40-year-old man suffered serious injuries after his 2005
                  Ion crashed and the airbags failed to deploy.

                         46.     For each of these Ion crashes in which the subject
                  vehicles evidently lost power before impact, the SDM data
                  recovered from the crashed vehicles was unilluminating. Unlike
                  the SDM installed in the Cobalt, the Ion’s SDM was incapable of
                  recording data—including power mode status—after the vehicle
                  had lost power.




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                         47.    The Cobalt SDM data, by contrast, reflected a
                  number of non-deployments accompanied by a power mode status
                  recording of Accessory or Off.

                          48.     In July 2005, just months after GM closed its first
                  engineering inquiry into the Defective Switch, a 16-year-old driver
                  died in Maryland when the airbags in her 2005 Cobalt failed to
                  deploy. The power mode status recorded for that vehicle at the
                  time of the crash was Accessory.

                          49.     In October 2006, two more teenagers died, also in a
                  2005 Cobalt, in Wisconsin. The airbags in the vehicle failed to
                  deploy when they should have, and the police officer who
                  examined the crashed vehicle noted in a February 2007 report on
                  the incident that the ignition switch “appeared to have been in the
                  accessory position … preventing the airbags from deploying.” An
                  April 2007 report about the same crash by Indiana University
                  likewise posited that the airbags had failed to deploy because the
                  key was in the Accessory position. This report even specifically
                  referenced the October 2006 version of the 2005 Service Bulletin,
                  which described the Defective Switch.

                          50.     In the spring of 2007, NHTSA approached certain
                  GM personnel to express concern about a high number of airbag
                  non-deployment complaints in Cobalts and Ions, and to ask
                  questions about the July 2005 Cobalt crash resulting in the death of
                  the 16-year-old girl. Around this same time, and as a result of
                  NHTSA’s inquiries, a GM field performance assessment engineer
                  with expertise in airbags who worked principally with GM lawyers
                  (the “Airbag FPA Engineer”) began, at the request of his
                  supervisors, to track reports of crashes in Cobalts where the
                  airbags failed to deploy. And, in May 2007, the PI group even
                  placed the issue of Cobalt airbag non-deployment into the first
                  stage of GM’s recall process, the ISR. But the PI group, under the
                  supervision of the PI Senior Manager, conducted no follow-up at
                  the time.

                         51.     In September 2008, another crash, this one
                  involving a 2006 Cobalt, killed two people. The airbags failed to
                  deploy when they should have. GM sent the crashed car’s SDM to
                  the Company’s SDM supplier for examination. In May 2009, the
                  SDM supplier reported that the power mode status was at one point
                  during the crash recorded as Off, and that this was one of two
                  possible explanations for the failure of the airbags to deploy. This
                  report was provided in writing, but also in person, at a meeting
                  attended by several GM employees—including a member of the PI



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                  group, in-house counsel, and the Airbag FPA Engineer who had
                  been tracking the Cobalt non-deploy incidents.

                          52.     In April 2009, a 73-year-old grandmother and her
                  13-year-old granddaughter were killed in rural Pennsylvania in a
                  crash when the ignition switch in the grandmother’s 2005 Cobalt
                  slipped into the Accessory position, thereby disabling the frontal
                  airbags and preventing their deployment. The grandmother and
                  her 13-year-old granddaughter, who was in the front passenger
                  seat, both died at the scene. A 12-month-old great grandson, the
                  sole survivor, was paralyzed from the waist down. He was
                  hospitalized for 33 days following the crash.

                          53.     In December 2009, a 35-year-old Virginia woman
                  crashed her 2005 Cobalt, sustaining serious head injuries and rib
                  fractures (hereinafter, the “Virginia Crash”). The airbags failed to
                  deploy, and, as the Airbag FPA Engineer noted, the power mode at
                  the time of the crash was recorded as Accessory.

                         54.      Two weeks later, a 25-year-old nursing student died
                  in Tennessee following a head-on collision in her 2006 Cobalt
                  (hereinafter, the “Tennessee Crash”). Again, the airbags failed to
                  deploy when they should have, and the power mode status was
                  recorded as Off at the time of the crash.

                          55.    In March 2010, a 29 year-old woman was killed in
                  Georgia after her 2005 Cobalt crashed (hereinafter, the “Georgia
                  Crash”). Although there was no allegation that the frontal airbag
                  should have deployed, there was an allegation that loss of power
                  steering caused the crash. The SDM from the vehicle showed that
                  the power mode status was recorded as Accessory at the time of
                  the crash.

                          56.      Notably, just nine days before the Georgia Crash,
                  GM had conducted a safety recall for a power steering problem in
                  the Cobalt unrelated to the Defective Switch, in which it
                  acknowledged that loss of power steering, standing alone,
                  constituted a “defect … relate[d] to motor vehicle safety” and thus
                  warranted recall action. The Defective Switch, of course, caused
                  more than just loss of power steering; it also caused loss of other
                  electrical systems. This was known by many within GM by no
                  later than 2004—even if they did not appreciate precisely what
                  electrical, system components were affected (e.g., the airbag
                  SDM). Yet at no time before February 2014 did GM announce a
                  recall for cars associated with the Defective Switch.




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                          57.    Many of the deaths and serious injuries associated
                  with airbag non-deployment discussed in the foregoing paragraphs
                  became the subject of legal claims—formal and informal—against
                  GM. Certain GM lawyers, aided by the Airbag FPA Engineer and
                  others like him who assisted in evaluating causes of crashes,
                  realized by no later than early 2011 that a number of these non-
                  deployment cases involved some sort of “anomaly” in the ignition
                  switch. Specifically, in connection with the Tennessee Crash,
                  discussed above, a GM engineer explained to legal staff that when
                  the ignition switch power mode status is in Off (as it was in that
                  case), the SDM “powers down,” and the airbags fail to deploy.
                  The engineer further opined that the “a crash sensing system
                  ‘anomaly”’ resulting in a power mode status of Off had indeed
                  caused non-deployment in the Tennessee Crash case.

                          60.     Meanwhile, the GM attorney principally responsible
                  for airbag non-deployment claims (the “GM Airbag Attorney”),
                  who had become familiar with a number of Cobalt non-
                  deployment incidents, grew concerned that the “anomaly”
                  identified in these cases was getting insufficient attention from the
                  PI group, which was supposed to investigate and work toward
                  remedying safety problems with cars on the road. At the time, no
                  one within GM had yet sourced the “anomaly” to the Defective
                  Switch’s torque.

                          61.    Certain members of the legal department took the
                  unusual step of arranging a meeting with PI. The meeting, which
                  took place on July 27, 2011, was attended not just by the PI Senior
                  Manager, who ran the PI group on a day-to-day basis, but also by
                  his boss, the GM Director of Product Investigations (the “GM
                  Safety Director”). Also present were the Airbag FPA Engineer,
                  the GM Airbag Attorney, and the GM Safety Attorney. In advance
                  of the meeting, the PI Senior Manager wrote to a colleague that the
                  Cobalt airbag non-deployment problem was “ugly” and would
                  make for “a difficult investigation.”

                         62.     At the July 27, 2011 meeting, the Airbag FPA
                  Engineer showed photographs of three of the most serious non-
                  deployment crashes he had seen involving Cobalts, including
                  photographs of the Tennessee Crash, and specifically highlighted
                  his observations that many of these Cobalt non-deployment crashes
                  had occurred while the power mode was in Accessory or Off.

                         64.    One of the first steps the PI Investigator took, in or
                  about August 2011, was to gather learning and materials from the
                  Airbag FPA Engineer who had been tracking non-deployment



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                  incidents in Cobalts since 2007, and who had been involved in
                  evaluating a number of crashes that were the subject of Cobalt
                  non-deployment legal claims. The Airbag FPA Engineer
                  explained to the PI Investigator that he had observed that in some
                  of these cases the power mode was recorded as either Accessory or
                  Off at the time of the subject crashes. The Airbag FPA Engineer
                  further noted that the non-deployment problem appeared to be
                  limited to 2005-2007 model years of the Cobalt and appeared not
                  to affect model years 2008 and later.

                         65.      By March 2012, more than six months after he had
                  been assigned to the matter, the PI Investigator had done little to
                  advance the investigation. The GM Airbag Attorney called
                  another meeting with PI for March 15, 2012. Attendees at this
                  meeting included the GM Safety Attorney, the GM Airbag
                  Attorney, the GM Safety Director, the PI Investigator, the PI
                  Senior Manager, and the Airbag FPA Engineer. During the
                  meeting, the PI Investigator complained that he needed more
                  support from GM’s electrical engineering group to investigate a
                  potential electrical (as opposed to mechanical) explanation for the
                  Accessory and Off power mode recordings in many of the subject
                  crashes.

                          70.    In an April 23, 2012 email responding to a query
                  about an ignition switch turning too easily from Run to Off, the PI
                  Senior Manager wrote to colleagues claiming—inexplicably—that
                  he had “not heard of” complaints about low torque in the “Cobalt
                  or other models” since 2005, when the first PI examination was
                  conducted and closed with the issuance of the 2005 Service
                  Bulletin. The PI Investigator, meanwhile, pressed electrical
                  engineers to continue to look into other possible causes of non-
                  deployment, beyond the low torque problem.

                          71.     No one from PI ushered the matter into the first
                  stage of the formal recall process, the ISR, at this time. This
                  approach represented a stark contrast even to the way in which the
                  Defective Switch itself had been handled in 2005. Back then,
                  before the dangerous connection to airbag non-deployment had
                  been drawn, PI had promptly introduced the matter into the ISR.

                          72.    In May 2012, the GM Safety Attorney asked a GM
                  Vice President to act as an “Executive Champion” in order to
                  propel the matter forward. During the first meeting chaired by this
                  Executive Champion, on May 15, 2012, the GM Electrical
                  Engineer presented his view that the Defective Switch was the
                  cause of non-deployment in the affected Cobalt models. Those in



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                  attendance included the GM Safety Attorney, the GM Safety
                  Director, the PI Senior Manager, the PI Investigator, and others.
                  The Executive Champion encouraged confirmation of this
                  hypothesis through more scientific study.

                          73.    Days later, on May 22, 2012, such confirmation was
                  obtained. The GM Electrical Engineer, the PI Investigator, and
                  others traveled once more to an auto salvage yard and, using
                  equipment much more sophisticated than fish scales, conducted a
                  thorough study of torque in the ignition switches of several model
                  years of Cobalt, Ion, and other cars. The results confirmed that the
                  majority of vehicles from model years 2003 through 2007
                  exhibited torque performance below the Torque Specification that
                  GM had adopted in 2001. They also showed that starting
                  somewhere in model year 2007 (that is, for vehicles produced at
                  some point in 2006), the torque values were higher and within
                  specification.

                          74.     The observed discrepancy was, of course, due to the
                  ignition switch part change that the Switch DRE had ordered in
                  April 2006. But neither anyone from PI nor others working on the
                  airbag non-deployment investigation in the spring of 2012 knew
                  yet about that change; the part number was the same for the
                  Defective Switch and the new one. Indeed, when the PI
                  Investigator asked the Switch DRE in early 2012 to detail any
                  changes that might account for the discrepancy observed at the
                  salvage yard, the Switch DRE denied any of relevance. This was
                  baffling to the PI Investigator and others.

                          75.     Still, the engineers involved knew that studied cars
                  built before a certain point in 2006 were equipped with low-torque
                  ignition switches, and that low torque in an ignition switch could
                  result in airbag non-deployment. At this time, no further
                  engineering tests were conducted to explore any other purported
                  root cause of the observed non-deployment pattern or to compare
                  the 2005 through 2007 model year Cobalt ignition switches with
                  those of later model years.

                          76.     On June 12, 2012, three weeks after the May 2012
                  salvage yard expedition, an expert retained by the Virginia Crash
                  plaintiffs issued a report. Noting both the 2005 Service Bulletin
                  and the Indiana University study from 2007 that had identified a
                  connection between the Defective Switch and non-deployment of
                  an airbag in a fatal Cobalt crash, the expert opined that the
                  Defective Switch was indeed responsible for non-deployment in
                  the Virginia Crash. In early July, outside counsel for GM



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                  forwarded the Virginia Crash expert’s report to the GM Airbag
                  Attorney. In late July, the GM Airbag Attorney forwarded the
                  Indiana University study to the PI Senior Manager, the GM Safety
                  Attorney, and the Airbag FPA Engineer.

                          77.     At a meeting among GM lawyers in late July 2012
                  in which the Virginia Crash expert’s report was discussed, a newly
                  hired GM attorney asked the group why the Cobalt had not been
                  recalled for the Defective Switch. Those present explained that the
                  engineers had yet to devise a solution to the problem but that
                  engineering was looking into it. The new attorney took from this
                  that the GM legal department had done all it could do.

                          78.      The PI Investigator, the PI Senior Manager, the GM
                  Safety Attorney, the GM Safety Director, and others met at lengthy
                  intervals through the summer and fall of 2012 and early 2013 to
                  consider potential solutions and further explore why the defect
                  condition appeared to be limited to earlier model years. As one of
                  the several Executive Champions who would be tasked with
                  overseeing these meetings from early 2012 through 2013 has
                  explained, the purpose of the meetings was not to identify the root
                  cause of the problem, which had by approximately the spring of
                  2012 been traced to the Defective Switch, but rather to develop the
                  optimal remedy for the defect condition and set with precision the
                  scope of the anticipated recall. Certain GM personnel wanted to be
                  sure that the fix adopted for the problem would be affordable and
                  yet appeal to consumers; that GM would have sufficient parts on
                  hand to address the recall; and that GM representatives would be
                  able to fully articulate to NHTSA and the public a “complete root
                  cause” accounting for the discrepancy between the earlier and later
                  vehicle populations.

                          79.    At the same time, the manner in which the
                  responsible GM personnel were approaching the Defective Switch
                  and its deadly consequences in 2012 contrasted with the picture the
                  Company was presenting to NHTSA about its recall process.

                          80.     On October 22, 2012, certain GM personnel,
                  including the GM Safety Director, met with NHTSA officials in
                  Washington, D.C., and gave a description of the Company’s recall
                  process intended to assure the regulator that safety issues were
                  routinely addressed in a methodical and efficient fashion. The
                  presentation, which touted a “common global process” with
                  “standard work templates,” explained that the first step toward
                  potential recall involved investigation by PI of the suspected safety
                  problem. Then, according to the presentation, the matter would be



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                  placed promptly into the FPE process, which was controlled not by
                  engineers but by personnel in charge of Quality. At this stage, GM
                  further explained, the FPET would consider the logistics of
                  implementing the proposed recall or other contemplated action; the
                  FPERC would recommend the particular field action to be taken
                  (recall or, for example, a customer advisory); and, in short order
                  thereafter, the EFADC would either make the final decision
                  concerning that recommended field action or order “further study.”
                  According to individuals who attended this meeting and others in
                  2012 and 2013, GM gave the impression that its recall process was
                  linear, robust, uniform, and prompt.

                          81.      To the extent this presentation may have accurately
                  described GM’s general recall process and handling of other
                  defects, it did not accurately describe GM’s handling of the
                  Defective Switch (about which NHTSA would remain unaware
                  until 2014). By approximately five months prior to this
                  presentation, certain GM personnel had identified what they knew
                  to be a dangerous safety defect and had not started it into the first
                  phase of the recall process.

                          82.     By early 2013, the Defective Switch still had not
                  been introduced into the FPE process. GM was exploring optimal
                  remedies and trying to understand why the defect appeared to
                  affect only a limited population. Those involved remained
                  unaware of the part change that the Switch DRE had made back in
                  April 2006—the change that explained why cars built after around
                  late 2006 seemed not to be affected.

                          83.     Meanwhile, during this same period, GM lawyers
                  were engaged in heavy litigation related to the Georgia Crash,
                  referenced above. The Georgia Crash plaintiffs’ attorney had
                  learned about the 2005 Service Bulletin, and had developed a
                  theory that the Defective Switch caused the driver to lose control
                  of her vehicle. The attorney was seeking discovery related to the
                  bulletin and the Defective Switch more generally. He was also
                  asking about any design changes that had been made to the switch.

                         84.    GM denied that any such design changes had been
                  made that would affect the amount of torque it takes to move the
                  key from Run to Accessory.

                          85.      Then, on April 29, 2013, the Georgia Crash
                  plaintiffs’ attorney took the deposition of the Switch DRE. During
                  that deposition, the plaintiffs’ attorney showed x-ray photographs
                  of the ignition switch from the subject vehicle (the Defective



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                  Switch) and another switch from a later model year Cobalt (one
                  installed after implementation of the Switch DRE’s April 2006 part
                  change directive). The photographs showed that the detent plunger
                  in the Georgia Crash car was much shorter—and therefore would
                  have had much lower torque performance—than the one in the
                  later model year Cobalt. The Switch DRE, confronted with these
                  photographs, continued to deny knowledge of any change to the
                  switch that would have accounted for this difference.

                          86.    But, as the Switch DRE has acknowledged, he knew
                  almost immediately following his deposition that there had been a
                  design change to the switch following production of the model
                  year 2005 Cobalt, and that he must have been the engineer
                  responsible for that design change. He knew as much because, the
                  day after the April 29, 2013 deposition, he personally collected and
                  took apart switches from a 2005 Cobalt and a later model year
                  Cobalt and observed the difference in lengths of their respective
                  detent plungers.

                          87.    The Switch DRE has said that he recalls
                  communicating these observations to his boss and to another
                  supervisor and being advised to let the legal department handle the
                  matter.

                          88.    The GM Safety Attorney learned what transpired
                  during the Switch DRE’s deposition. Having previously received a
                  request from the PI group for retention of an outside expert (the
                  “Switch Expert”) to help determine why the Defective Switch
                  seemed to affect only a limited vehicle population, the GM Safety
                  Attorney, on or about May 2, 2013, authorized retention of the
                  Switch Expert in connection with the Georgia Crash case. The PI
                  Investigator and the PI Senior Manager did not participate in
                  meetings with the Switch Expert until the Switch Expert presented
                  his conclusions following the settlement of the Georgia Crash case.
                  The PI Investigator understood that he was to put his own
                  investigation on hold pending the Switch Expert’s evaluation.

                          89.     Of course, by the time the Switch Expert had been
                  retained, certain GM personnel had already learned from the
                  Georgia Crash plaintiffs’ attorney about the design change to the
                  Defective Switch, and the Switch DRE had already confirmed that
                  the change had in fact occurred. GM thus had an explanation for
                  why the defect condition did not appear to affect cars built after the
                  middle of 2006. And, indeed, some within GM had known for
                  approximately a year that a confirmed population of GM’s
                  compact cars was equipped with the Defective Switch. Yet still



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                  there was no recall; indeed, still there was no move to even place
                  the matter into the FPE process. Instead, GM personnel awaited
                  the study and conclusions of the Switch Expert.

                          90.     Meanwhile, on June 22, 2013, a 23-year-old man
                  was killed in a crash on a highway near Roxton Pond, Quebec after
                  his 2007 Cobalt left the road and ran into some trees. The driver-
                  side airbag in the Cobalt failed to deploy. The power mode status
                  was recorded as Accessory.

                          91.      By July 2013, the Switch Expert had confirmed
                  what the Georgia Crash plaintiffs’ expert and the Switch DRE had
                  known since no later than April 2013: Cobalts from model years
                  2008 through 2010 had longer detent plungers and springs than
                  those from model years 2005 and 2006. GM’s outside counsel in
                  the Georgia Crash case urged GM in-house lawyers to settle it:
                  “[T]here is little doubt that a jury here will find that the ignition
                  switch used on [the Georgia Crash car] was defective and
                  unreasonably dangerous, and that it did not meet GM’s own torque
                  specifications. In addition, the [engineering inquiry documents
                  about the Defective Switch from 2004 and 2005] and the on-going
                  FPE investigation have enabled plaintiffs’ counsel to develop a
                  record from which he can compellingly argue that GM has known
                  about this safety defect from the time the first 2005 Cobalts rolled
                  off the assembly line and essentially has done nothing to correct
                  the problem for the last nine years.”

                          92.    GM followed its outside counsel’s advice and
                  settled the Georgia Crash case at the end of August 2013, agreeing
                  to pay $5 million.

                         93.    Then, in late October 2013, GM received
                  documentary confirmation from the Switch Supplier that the
                  Switch DRE had in fact directed a part change to fix the Defective
                  Switch in April 2006. This evidence further showed that the part
                  was changed without a corresponding change to the part number.

                          94.     Only at this point did GM finally place the
                  Defective Switch matter into the formal FPE process. An ISR was
                  scheduled for November 5, 2013. Meanwhile, on October 30, the
                  PI Investigator, who was by now back working on the matter and
                  helping to lay the practical groundwork for a recall, asked an
                  employee in charge of ordering vehicle parts what the costs of new
                  ignition switch components would be for the 2005 through 2007
                  Cobalts.




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                          95.      On July 23, 2013, one day after GM’s outside
                  counsel had advised GM to settle the Georgia Crash case and noted
                  that plaintiffs’ counsel could make a “compelling” argument that
                  GM “essentially has done nothing to correct” the Defective Switch
                  “for the last nine years,” the GM Safety Director received an email
                  from NHTSA’s Director of Defects Investigation accusing GM of
                  being “slow to communicate” and “slow to act” in the face of
                  safety defects—including defects unrelated to the Defective Switch
                  (about which NHTSA remained unaware) but related to non-
                  deployment of airbags.

                         96.     Two days later, certain GM personnel, including the
                  GM Safety Director, met with NHTSA to try to quell the agency’s
                  concerns. According to notes taken by the GM Safety Director at
                  that meeting, NHTSA agreed with GM that the Company appeared
                  to have a “robust and rigorous process” for evaluating and
                  addressing safety issues, but worried that it “tend[ed] to focus on
                  proving the issue [wa]s not a safety defect.”

                          97.     On November 7, 2013, two days after the ISR
                  concerning the Defective Switch, certain GM personnel met again
                  with NHTSA, this time to give a more in-depth presentation
                  targeted at assuring the regulator that GM was “responsive” and
                  “customer focused” when it came to safety concerns. Although the
                  presentation did not specifically address the Defective Switch-
                  related airbag non-deployment problem—which, having just
                  entered the recall process within GM, remained unknown to
                  NHTSA—it did address concerns related to airbag non-
                  deployment more generally.

                          98.     First, certain GM personnel showed NHTSA slides
                  that touted the increasing swiftness with which GM had addressed
                  safety defects from 2008 through 2012. One graph reflected that
                  the average time taken from identification of the issue through to
                  execution of the recall was 160 days in 2008 and 84 days in 2012.
                  It further showed that the average time an issue remained in the
                  “pre-FPE” stage was 105 days in 2008 and 33 days in 2012. And
                  the average number of days between entry into the FPE process
                  and recall decision was 15 days in 2008 and 13 days in 2012.

                          99.    Other portions of GM’s presentation suggested that
                  any airbag defect that presented with a failure to warn the driver
                  and/or certain other aggravating factors would be recalled swiftly.

                          108. On January 31, the voting members agreed that a
                  recall of the affected model year Cobalts, G5s, and Pursuits was



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                  warranted. On February 7, 2014, GM announced the recall to the
                  public and NHTSA.

                          109. Although other models—the Ion, most notably—
                  were likewise equipped with the Defective Switch, these were not
                  recalled on February 7. The stated reasons for not including these
                  other models varied. Some believed there were differences in
                  electronic architecture and physical switch placement between the
                  unrecalled cars and the recalled cars, such that the risk of switch
                  movement and/or airbag non-deployment was reduced. Others
                  cited an error by the PI Investigator in collecting incident data
                  about the Ion, which they said gave the erroneous impression that
                  there was no comparable problem with the Ion.

                          110. In any event, following intense criticism from the
                  press about the limited scope of the February 7 recall, GM held
                  another EFADC meeting on February 24, 2014 to consider the
                  affected model years of the Ion, Sky, HHR, and Solstice. Voting
                  members agreed that the February 7 recall should be expanded to
                  encompass these other models. The next day, GM announced that
                  decision.

                         111. All of the cars subject to the February and March
                  2014 airbag non-deployment recalls were relatively old. GM
                  stopped manufacturing the Ion in 2006; stopped manufacturing the
                  Cobalt, the G5, the Sky, and the Solstice in 2009; and stopped
                  manufacturing the HHR in 2010.

                           112. From in or about the spring of 2012, when certain
                  GM personnel knew that the Defective Switch could cause airbag
                  non-deployment, through at least in or about May of 2013, GM
                  dealerships (which GM had not made aware of the issue) continued
                  to sell “certified pre-owned” cars equipped with the Defective
                  Switch. GM, which profited indirectly from these sales, certified
                  the safety of the vehicles to the public, explaining that the
                  certification process involved testing of over a hundred
                  components, including, specifically, the ignition system.

                           113. But the safety certification was made despite there
                  being no change or alteration to either the ignition switch itself or
                  the accompanying key in these cars. The Defective Switch was
                  left intact and unremedied.

                          114. Approximately 800 consumers purchased certified
                  pre-owned vehicles equipped with the Defective Switch. The GM
                  dealer certifications thus may have caused consumers who relied



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                  on the certifications to buy vehicles that they may incorrectly have
                  believed to be safe.

                          115. As detailed above, starting no later than 2003, GM
                  knowingly manufactured and sold several models of vehicles
                  equipped with the Defective Switch. By approximately the spring
                  of 2012, certain GM personnel knew that the Defective Switch
                  could cause frontal airbag non-deployment in at least some model
                  years of the Cobalt, and were aware of several fatal incidents and
                  serious injuries that occurred as a result of accidents in which the
                  Defective Switch may have caused or contributed to airbag non-
                  deployment. This knowledge extended well above the ranks of
                  investigating engineers to certain supervisors and attorneys at the
                  Company—including GM’s Safety Director and the GM Safety
                  Attorney. Yet, GM overshot the five-day regulatory reporting
                  requirement for safety defects by approximately 20 months. And
                  throughout this 20-month period, GM failed to correct its 2005
                  statement that the Defective Switch posed no “safety” problem.

         826.     The Old and New GM personnel referred to in the foregoing agreed facts include

the following: Ray DeGiorgio is the “Switch DRE;” Alberto Manzor is the “Vehicle

Performance Manager;” Doug Wachtel is the “PI Senior Manager;” Gay Kent is the “Director of

Vehicle Safety & Crashworthiness;” William Kemp is the “GM Safety Attorney;” Jaclyn Palmer

is the “GM Airbag Attorney;” Carmen Benavides is the “GM Safety Director;” John Sprague is

the “Airbag FPA Engineer;” Brian Stouffer is the “PI Investigator;” John Dolan is the “GM

Electrical Engineer;” and Maureen Foley-Gardner is the “FPE Director.”

K.       New GM’s Deception Has Harmed Plaintiffs and Class Members

         827.     New GM was well aware that vehicle recalls, especially untimely ones, can taint

its brand image and the value of New GM vehicles and Defective Vehicles in particular. In its

2010 Form 10-K submitted to the SEC, New GM admitted that “Product recalls can harm our

reputation and cause us to lose customers, particularly if those recalls cause consumers to




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question the safety or reliability of our products. Any costs incurred or lost sales caused by

future product recalls could materially adversely affect our business.”241

          828.    New GM also understood that safety was an important feature to consumers:

                  According to GM research, safety ranks among the top 10 reasons
                  for purchase. According to 2012 calendar year sales data, 54
                  percent of Chevrolet, Cadillac, GMC and Buick buyers surveyed
                  listed safety features as an “extremely important” purchase
                  consideration. The same percentage of buyers industrywide also
                  listed safety features as “extremely important.”

                  “We design safety and crashworthiness into our vehicles very
                  early in development,” said Gay Kent, GM’s general director
                  of Vehicle Safety and Crashworthiness. “We are committed to
                  offering advanced safety technologies on a broad range of
                  models, not just on the most expensive vehicles. All of our
                  vehicles are designed to provide continuous protection for
                  customers before, during and after a crash.”242

          829.    Unfortunately for owners of New GM and Old GM vehicles, New GM Certified

Pre-Owned Vehicles and Defective Vehicles, New GM was correct. It is difficult to find a brand

whose reputation has taken as great a beating as has the New GM brand starting in February

2014 when the first ignition switch recall occurred.

          830.    In fact, the public outcry has been significant in response to the ongoing

revelations of the massive number of defects New GM concealed, and the massive number of

defective vehicles New GM has sold. The following are illustrative examples of the almost

constant beating the New GM brand has taken ever since the first ignition switch recall was

announced on July 13, 2014.



    241
        General Motors 2010 Form 10-K, p. 31, available at
https://www.sec.gov/Archives/edgar/data/1467858/0001193125 10078119/dlOk.htm#toc857334.
    242
      http://media.gm.com/media/us/en/chevrolet/news.detail.html/content/
Pages/news/us/en/2013/Sep/0920-5-star.html.



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          831.    After the announcement of the first ignition switch recall the media was highly

critical of New GM. For example, a CBS February 27, 2014 news report headlined:




          832.    The CBS report had a video link:243




          833.    On March 13, 2014, a CNN report was entitled:




          834.    On March 16, 2014, Reuters reported as follows:

                  Owners of recalled GM cars feel angry,
                  vindicated
                  (Reuters)—As details emerge about how General Motors Co dealt
                  with faulty ignition switches in some of its models, car owners are
                  increasingly angry after learning that the automaker knowingly
                  allowed them to drive defective vehicles.

                  Saturn Ion owner Nancy Bowman of Washington, Michigan, said
                  she is outraged that GM allowed her to drive a “death trap.” She
    243
          http://www.cbsnews.com/news/did-general-motors-wait-too-long -to-issue-its-recall/.



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                  said her car had so many ignition problems she was afraid to resell
                  it to an innocent buyer.

                  She bought the 2004 model car new and still drives it after
                  extensive repairs and multiple run-ins with a Saturn dealer she
                  called dismissive.

                  “Five times the car died right out from under me after hitting a
                  bump in the road,” she wrote in a 2013 posting on a complaint
                  website, arfc.org, that says it sends information to the National
                  Highway Traffic Safety Administration (NHTSA).

                  Every time I brought it in they said it was an isolated incident.
                  Couldn’t find the problem, so they acted like I was an idiot.

          835.    On March 24, 2014, the NEW YORK TIMES issued an article entitled:




          836.    It contained a troublesome account of New GM’s conduct:

                  It was nearly five years ago that any doubts were laid to rest
                  among engineers at General Motors about a dangerous and faulty
                  ignition switch. At a meeting on May 15, 2009, they learned that
                  data in the black boxes of Chevrolet Cobalts confirmed a
                  potentially fatal defect existed in hundreds of thousands of cars.[244]

                  But in the months and years that followed, as a trove of internal
                  documents and studies mounted, G.M. told the families of accident
                  victims and other customers that it did not have enough evidence
                  of any defect in their cars, interviews, letters and legal documents
                  show. Last month, G.M. recalled 1.6 million Cobalts and other
                  small cars, saying that if the switch was bumped or weighed down
                  it could shut off the engine’s power and disable air bags.

                  In one case, G.M. threatened to come after the family of an
                  accident victim for reimbursement of legal fees if the family did
                  not withdraw its lawsuit. In another instance, it dismissed a family
                  with a terse, formulaic letter, saying there was no basis for claims.


    244
     New GM was of course aware of this for all the reasons discussed throughout this
Complaint.



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                                                  ***

                  Since the engineers’ meeting in May 2009, at least 23 fatal crashes
                  have involved the recalled models, resulting in 26 deaths. G.M.
                  reported the accidents to the government under a system called
                  Early Warning Reporting, which requires automakers to disclose
                  claims they receive blaming vehicle defects for serious injuries or
                  deaths.

                  A New York Times review of 19 of those accidents—where
                  victims were identified through interviews with survivors, family
                  members, lawyers and law enforcement officials—found that G.M.
                  pushed back against families in at least two of the accidents, and
                  reached settlements that required the victims to keep the
                  discussions confidential.

                                                  ***

                  In other instances, G.M. ignored repeated calls, families said. “We
                  did call G.M.,” said Leslie Dueno, whose 18-year-old son,
                  Christopher Hamberg, was killed on June 12, 2009—not quite a
                  month after the critical May 15 meeting of G.M. engineers about
                  the ignition data—driving his 2007 Cobalt home before dawn in
                  Houston. He lost control at 45 miles per hour and hit a curb, then a
                  tree, the police report said. “Nobody ever called me. They never
                  followed up. Ever.”

                  Last month’s recalls of the Cobalt and five other models
                  encompassed model years 2003 through 2007. G.M. faces
                  numerous investigations, including one by the Justice Department
                  looking into the company’s disclosures in its 2009 bankruptcy
                  filing as well as what it told regulators.

                  “We are conducting an unsparing, comprehensive review of the
                  circumstances leading to the ignition switch recall,” G.M. said in a
                  statement on Monday. “As part of that review we are examining
                  previous claims and our response to them. If anything changes as
                  a result of our review, we will promptly bring that to the attention
                  of regulators.”

                  G.M. has said it has evidence of 12 deaths tied to the switch
                  problem, but it has declined to give details other than to say that
                  they all occurred in 2009 or earlier. It says it has no conclusive
                  evidence of more recent deaths tied to the switch.

                                                  ***




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                  It was unclear how many of the 26 deaths since the 2009 meeting
                  were related to the faulty ignition, but some appeared to fit patterns
                  that reflected the problem, such as an inexplicable loss of control
                  or air bags that did not deploy. In some cases, the drivers had put
                  themselves at risk, including having high blood-alcohol levels or
                  texting.

                  Still, by the time Benjamin Hair, 20, crashed into a tree in
                  Charlottesville, Va., on Dec. 13, 2009, while driving a Pontiac G5
                  home, G.M. had conducted five internal studies about the ignition
                  problem, its records indicate.

                                                  ***

                  Consumer complaints and claims came to the company in a variety
                  of ways—through lawsuits, calls, letters and emails, warranty
                  claims, or insurance claims. G.M.’s legal staff was the recipient of
                  lawsuits, insurance information, accident reports and any other
                  litigation-related paperwork. But warranty claims and customer
                  calls were routed through the sales and service division—a vast
                  bureaucracy that occupies most of one tower at G.M.’s
                  headquarters in Detroit. Because the legal staff reports to the chief
                  executive, and the sales department to the head of G.M. North
                  America, it is unclear whether they share information related to a
                  specific car, like the Cobalt.

         837.     NPR ran a story on March 31, 2014:




         838.     The NPR story raised questions about New GM’s candor:

                  NPR looked into the timeline of events that led to the recall. It’s
                  long and winding, and it presents many questions about how GM
                  handled the situation: How long did the company know of the
                  problem? Why did the company not inform federal safety officials
                  of the problem sooner? Why weren’t recalls done sooner? And
                  did GM continue to manufacture models knowing of the defect?

         839.     On May 11, 2014, the CHICAGO TRIBUNE ran an article entitled:

                  GM ranked worst automaker by U.S. suppliers: survey




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                  DETROIT (Reuters)—General Motors Co, already locked in a
                  public relations crisis because of a deadly ignition defect that has
                  triggered the recall of 2.6 million vehicles, has a new perception
                  problem on its hands.

                  The U.S. company is now considered the worst big automaker to
                  deal with, according to a new survey of top suppliers to the car
                  industry in the United States.

                  Those so-called “Tier 1” suppliers say GM is now their least
                  favorite big customer, according to the rankings, less popular even
                  than Chrysler, the unit of Fiat Chrysler Automobiles FIA.MI,
                  which since 2008 had consistently earned that dubious distinction.

                  Suppliers gave GM low marks on all kinds of key measures,
                  including its overall trustworthiness, its communication skills, and
                  its protection of intellectual property.

          840.    On May 25, 2014, an article reported on a 2.4 million vehicle recall:

                  When Will GM’s Recall Mess End?
                  General Motors (NYSE: GM) on Tuesday said it is recalling
                  about 2.4 million additional vehicles in four separate recalls for a
                  variety of problems, including faulty seat belts and gearshift
                  troubles.

                  This announcement came on the heels of another set of GM recalls,
                  announced last Thursday, covering 2.7 million vehicles. Including
                  the four recalls announced on Tuesday, GM has issued a total of 30
                  recalls in the U.S. so far in 2014, encompassing about 13.8 million
                  vehicles.

                  That’s a stupendous number.[245]

          841.    On May 26, 2014, the NEW YORK TIMES ran an article:




    245
          http://www.fool.com/investing/general/2014/05/25/when-will-gms-recall-mess-end.aspx.



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         842.     The article once again pointed blame at New GM:

                  BEN WHEELER, Tex.—For most of the last decade, Candice
                  Anderson has carried unspeakable guilt over the death of her
                  boyfriend. He was killed in 2004 in a car accident here, and she
                  was at the wheel. At one point, Ms. Anderson, who had a trace of
                  Xanax in her blood, even faced a manslaughter charge. She was
                  21.

                  All these years, Ms. Anderson—now engaged and a mother—has
                  been a devoted visitor to his grave. She tidies it every season,
                  sweeping away leaves and setting down blue daisies with gold
                  glitter for his birthday, miniature lit trees for Christmas, stones
                  with etched sayings for the anniversary of their accident.

                  “It’s torn me up,” Ms. Anderson said of the death of Gene Mikale
                  Erickson. “I’ve always wondered, was it really my fault?”

                  Last week, she learned it was not.

                                                 ***

                  Inside G.M., the nation’s largest automaker, some of the 13 victims
                  appear on charts and graphs with a date and a single word: “fatal.”

         843.     News of New GM’s misconduct and of the recalls made the front page of every

major newspaper and was the lead story on every major television news program in the country.

         844.     The congressional hearings where New GM executives were subject to harsh

questioning and criticism were widely reported in every type of media.

         845.     In June 2014, New GM recalled another 8.2 million vehicles and again these

recalls received widespread attention in the press. The stories often included charts and graphs

depicting the ever-growing list of vehicles recalled:




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                  GM to recall 8.2 million more vehicles
                  over ignition-switch defect
                  POSTED AT 3:21 PM ON JUNE 30, 2014

                  The recall blues continue at GM, as does the scope of their
                  previously hidden ignition-switch defect. The world’s largest
                  automaker added 8.45 million more vehicles to its list, with some
                  models going back to 1997. This puts GM over the 28-million
                  mark for cars recalled on a global basis in 2014, and over 26
                  million domestic.[246]

          846.    The coverage did not simply die down as often happens. On July 15, 2014, the

NEW YORK TIMES ran an article entitled, “Documents Show General Motors Kept Silent on Fatal

Crashes.”

          847.    By August 2, 2014, the press was reporting that New GM used vehicles were

losing value:

                                  THE DALLAS MORNING NEWS

                                      August 2, 2014 Saturday
                                             1 Edition

                  SECTION: BRIEFING; Pg. 10

                  LENGTH: 80 words

                  HEADLINE: GM vehicles’ resale values are taking a hit as safety
                  recalls mount

                  BODY:

                  Although General Motors’ sales remained solid in the midst of its
                  recent record recalls, some vehicles experienced significant drops
                  in their resale values.

                  In an analysis of more than 11 million used cars for sale between
                  March and June of this year, iSeeCars.com found that the resale

    246
       http://hotair.com/archives/2014/06/30/gm-to-recall-8-2-million-more-vehicles-over-
ignition-switch-defect-8-45-million-overall/.



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                  values of the main vehicles in GM’s recalls dropped 14 percent
                  from the same period last year.

          848.    An August 5, 2014 article also reported that used New GM and Old GM vehicles,

particularly those affected by the Delta Ignition Switch recall, were suffering loss in value due to

the recalls:247




                  Ignition recall caused resale values to take a hit—some Pontiac,
                  Saturn and Chevy models were most affected.

                  General Motors Co. GM -0.41% has been fortunate to avoid a
                  collapse of new-vehicle sales since the ignition-switch safety crisis
                  blew up in January, engulfing the automaker in litigation, a federal
                  criminal probe and Congressional inquiries.

                  Used GM vehicles—models affected by the recall—meanwhile
                  have taken a substantial hit in value, according to a study by
                  iSeeCars.com, an online search engine. GM’s new-vehicles sales
                  are up 3.5% in the U.S. through July in a market that has risen 5%
                  in terms of unit sales.

                  (Holders of GM stock have gotten whacked as well since January,
                  the value of shares falling nearly 18%, compared with a S&P 500
                  Index that has risen 4% during the period.)

                  The operators of the search engine said they created an algorithm
                  to determine the market value of six GM cars affected by the
                  recall, based on asking prices of used vehicles on dealer lots from
                  March to June 2013, compared to a year later. The change in value
                  also was compared to the dropping value of all used cars in the
                  U.S., which has been occurring for the past few months. The
                  sample size was 11 million cars.



    247
          Doron Levin, FORTUNE MAGAZINE, August 5, 2014.



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                  The average price of the recalled GM models dropped 14% from
                  March to June 2014, compared to a year earlier and adjusted for
                  inflation. The drop in value of all similar models was 6.7% during
                  the same period.

                  Phong Ly, chief executive and co-founder of iSeeCars.com said
                  “recalls are playing a role in motivating sellers to sell their used
                  cars and at a lower price point than they otherwise would.” His
                  company provides free information to car shoppers and sells sales
                  leads to dealers.

          849.    The crisis that affected the New GM Brand was so significant that New GM stock

has been battered. A September 22, 2014 report observed:248




                  Summary

                  x   GM has been in a rut since the ignition switch recalls.

                  x   More and more, GM is coming off as a perpetually troubled
                      business.

                  x   We continue to avoid General Motors stock.

                  We previously wrote about GM (NYSE:GM) and placed a $31
                  price target on it here. Our basic argument was that GM was going
                  to have trouble presenting itself into the mainstream as a reputable
                  brand to buy after the ignition switch recall.

                  Late Sunday, it was announced that GM was recalling 222,500
                  vehicles due to brake pad malfunction. This number towers over
                  the amount of normal recalls that come during the course of
                  business. It’s also involving vehicles that were made from 2013 to
                  2015, a clear indicator that these vehicles (manufactured by the
                  post-bankruptcy GM) should have had a renewed focus of safety
                  on them from the beginning.



    248
          See http://seekingalpha.com/article/2511545-gm-falls-deeper-into-the-abyss.



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          850.    The diminution in value was recognized by Class Members as reflected in this e-

mail to Mary T. Barra dated May 7, 2014:249

                  I am writing to request your help. I own a 2007 Pontiac G5 and a
                  2006 Chevy Cobalt, both under your recent recall [for the defective
                  Delta Ignition Switch.] Because of the recall and all the publicity
                  the value of my vehicles have plummeted by over $3,000 in the
                  past 2 months.

                  Because of my concerns and the fact that both vehicles are driven
                  by my to college age sons, my intent is to sell them. As you can
                  imagine now I’m out significant amounts of money. So I am
                  reaching out to ask for your assistance prior to hiring an attorney. I
                  am simply wanting the difference between today’s value and the
                  value prior to the recall announcement. Or for you to have a
                  dealership buy my vehicles directly. Each vehicle was value over
                  $9000 just a few short months ago; today under $6000! If anyone
                  will even look at them.

          851.    Another example of the economic injury to Class Members comes from the

following e-mail to Mary Barra and other New GM executives:250

                  I am highly upset finding out that my 2007 Chevy Cobalt is being
                  recalled yet again for the 3rd time. This has been the unsafest
                  vehicle that I have ever purchased. I am a single mother with a
                  small child. I depend on my vehicle to get us everywhere and
                  everytime I turn around it is being recalled. This is
                  UNACCEPTABLE.

                  The first recall my son was a little over two years when the power
                  steering recall was replaced. Then again last year the faulty fuel
                  line that broke and leaked fuel out of my car. I was told that the
                  car had to be parked because it had the potential to blow up and
                  was unsafe to drive until it was repaired from the recall. Not only
                  is this vehicle unsafe, but I paid $13,500 dollars for a vehicle that
                  has CLEARLY not been worth the money. Not to mention a list of
                  other things that have gone wrong with this car.

                  The fact remains your company knew by 2007 they had 10
                  incidents where the air bag didn’t deploy in this type of crash.”

    249
          GM-MDL2543-400293557 (emphasis added).
    250
          GM-MDL-2543-001193336 (emphasis in original).



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                  As a matter of FACT, my airbag light keeps going on and off
                  saying it needs to be services, on top of this car leaving not just
                  myself but my son on the side of the interstate twice in the last
                  month because the traction and engine starts flashing and the car
                  starts jumbling and says the engine is powering down. THIS IS
                  UNACCEPTABLE!!! The fact is this company knew in 2004 that
                  this needed to be replaced and did NOTHING ABOUT IT, the
                  only reason that it was recalled was because deaths and crashes
                  have been escalating, and I am myself nor my son will be part of
                  this trial and error on this companys faulty manufacturing. If I
                  have to contact an attorney and have this issue resolved and take it
                  to a higher level and sue with a class action suit I will. I will report
                  this to the Federal Trade Commission, the news, the Better
                  Business Bureau and so fourth if I am not taken out of this vehicle
                  and given a replacement in compensation for the faulty vehicle that
                  I have purchased or until it is fixed.

          852.    And another:

                  For a new car, not a Chevy, this has caused us to spend thousands
                  of dollars we really do not have.251

          853.    And another to Mary Barra about the 2004 Saturn Ion 2:252

                  Due to the fact we had purchased an additional car to replace the
                  unsafe Saturn, we decided to sell it. Unfortunately no one would
                  not buy the vehicle due to the recalls and the only offer I received
                  was to sell it as junk.

          854.    Another owner wrote CEO Barra and confirmed the trust consumers placed in

New GM, the defect at work and loss of value.253

                  June 5, 2014:

                  I realize you are extremely busy & under immense pressure with
                  the Chevy Cobalt issue. My daughter, Anna, who is going into her
                  college senior year for Registered Nursing, has a 2006 Chevy
                  Cobalt. She had a situation with her car shutting off on the
                  highway, due to the ignition problem. Fortunately, she was able to

    251
          GM-MDL2543-001236494.
    252
          GM-MDL2543-100373492.
    253
          GM-MDL2543-400396144.



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                  get the car off the road & restarted, without being involved in an
                  accident. We are grateful that she wasn’t hurt or killed.

                  We put our faith & trust into GM to produce a safe vehicle for our
                  which turned out not to be the case. The government has issued a
                  record fine against your company, but now with all the media
                  attention, my daughter’s Cobalt is essentially worthless in value.
                  This, GM and the government, has not addressed. We would like
                  to get our daughter a newer vehicle, but with no trade in value, it
                  makes the next purchase more costly.

          855.    New GM was aware of how its deception has diminished the value of Defective

Vehicles, and specifically asked Kelley Blue Book: “
           254




          856.    Internally New GM was receiving advice that “

                                                    ”255

          857.    The impact on the value of the New GM-brand is also evidenced by the decline in

New GM’s stock price, which hit a 52-week low on October 10, 2014 and dropped even lower

by September of 2015.

          858.    New GM’s unprecedented concealment of a large number of serious defects, and

its irresponsible approach to safety, quality, and reliability issues, has caused damage to

Plaintiffs and Class Members.

          859.    A vehicle made by a reputable manufacturer of safe, high quality, and reliable

vehicles who stands behind its vehicles after they are sold is worth more than an otherwise



    254
          GM-MDL2543-200063855.
    255
          GM-MDL2543-006254731.



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similar vehicle made by a disreputable manufacturer known for selling Defective Vehicles and

for concealing and failing to remedy serious defects after the vehicles are sold.

         860.     A vehicle purchased or leased under the reasonable assumption that it is safe and

reliable is worth more than a vehicle of questionable safety, quality, and reliability due to the

manufacturer’s recent history of concealing serious defects from consumers and regulators.

         861.     Purchasers and lessees of New GM and Old GM vehicles, New GM Certified Pre-

Owned Vehicles and Defective Vehicles after the July 10, 2009 inception of New GM paid more

for the vehicles than they would have had New GM disclosed the many defects it had a duty to

disclose in New GM and Old GM vehicles, and disclosed that GM’s culture and business model

was such that it did not produce safe, high quality, and reliable vehicles. Because New GM

concealed the defects and the fact that it was a disreputable company that valued cost-cutting

over safety, Plaintiffs and Class Members did not receive the benefit of their bargain. And the

value of all their vehicles has diminished as the result of New GM’s deceptive conduct. Owners

of Old GM Defective Vehicles have also been harmed by New GM’s deceptive conduct, as the

value of their vehicles has also diminished. To be clear the value of class vehicles, those with

Defects, and GM owners with vehicles without defects, all suffered injury in the loss of value

and/or overpayment at the time of purchase.

         862.     On information and belief, an estimate of the diminished value in Class vehicles is

illustrated by way of example for a few Model Year 2013 vehicles:

                                                                September Diminished
                 GMC                       Terrain              Value: $1,052
                                                                September Diminished
                 GMC                       Sierra 1500          Value: $325
                                                                September Diminished
                 Buick                     Lacrosse             Value: $954




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                                                                September Diminished
                 Chevrolet                 Suburban             Value: $854
                                                                September Diminished
                 Cadillac                  CTS                  Value: $867
                                                                September Diminished
                 Cadillac                  XTS                  Value: $1,722

         863.     Another example is the diminished value of illustrative 2011 models:

                                                                September Diminished
                 GMC                       Terrain              Value: $891
                                                                September Diminished
                 Buick                     Lacrosse             Value: $1,017

         864.     Old GM vehicles subject to the Delta Ignition Switch recall also have suffered

diminished, including, value by way of example:

                                                 Diminished           Diminished
                                                 Value as of          Value as of
                                                  03/2014              09/2014
                      2008 Cobalt                    $256               $357
                      2008 HHR                       $162               $477
                      2009 Sky                       $173               $429

         865.     New GM vehicles have continued even in 2015 to suffer from diminished value.

By way of example:

                                                            Diminished Value as of
                                                                 April 2015
                      2011 Chevrolet Caprice                   $1,736
                      2013 Chevrolet Caprice                   $2,678
                      2011 Buick Lucerne                       $702
                      2013 GMC Denali                          $1,840
                      2010 GMC Denali Hybrid                   $4,693
                      2013 GMC Yukon                           $2,020
                      2012 Chevrolet Captiva Sport             $1,376




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          866.    Other examples are as follows of diminished value through June 2016:

                                                               Diminished Value
                                                                as of June 2016
                      2008 Buick Enclave                          $410
                      2005 Buick Lacrosse                         $270
                      2006 Buick Lucerne                          $170
                      2010 Chevrolet Camaro                       $1,104
                      2011 Chevrolet Camaro Convertible           $3,365
                      2010 Chevrolet Caprice Police Vehicle       $2,502
                      2003 Chevrolet Impala                       $195
                      2009 Chevrolet Traverse                     $3,080
                      2008 Chevrolet Acalia                       $2,587
                      2003 Oldsmobile Alero                       $287
                      2004 Pontiac Grand Prix                     $238
                      2008 Saturn Aura                            $948
                      2008 Saturn Outlook                         $932


          867.    If New GM had timely disclosed the many defects as required by the TREAD

Act, the law of fraudulent concealment, and consumer laws set forth below, Class Members’

vehicles would be considerably more valuable than they are now and/or Class Members would

have paid less than they did.

                        VI.     SUCCESSOR LIABILITY ALLEGATIONS

          868.    General Motors Corporation (“Old GM”) was founded on September 16, 1908, in

Flint, Michigan, and was incorporated on October 13, 1916, in Delaware. On June 1, 2009,

General Motors Corporation (“Old GM”) filed a Chapter 11 bankruptcy petition in the United

States Bankruptcy Court for the Southern District of New York.256




    256
          Valukas Report at 1 n.1 and Valukas Report at 131.



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          869.    On July 5, 2009, the Bankruptcy Court approved the sale of substantially all of the

assets of Old GM to a predecessor of General Motors LLC (“New GM”).257 Old GM sold all of

its assets to New GM in a transaction (the “363 Sale”) finalized on July 10, 2009.258

          870.    Through the 363 sale, all Old GM brands, inventory, physical assets,

management, personnel, vehicles and general business operations were transferred to New GM.

New GM also acquired the contracts, books, and records of Old GM, as well as the goodwill and

intellectual property of Old GM.

          871.    New GM provided no cash consideration for the 363 Sale.259 However, New GM

assumed more than $7 billion of debt owed by Old GM, and provided Old GM with 10% of New

GM’s common stock, in addition to warrants to purchase 15% of New GM’s common stock.260

          872.    Old GM’s decision to file for bankruptcy, and all of the major decisions made in

the course of the 363 Sale negotiations, and with respect to all the actions of Old and New GM

during Old GM’s bankruptcy proceedings, originated from the company headquarters at 300

Renaissance Center, Detroit, Michigan.

          873.    At no time was the business enterprise of the General Motors Company

interrupted, and the New GM brand was continued as the same brand as Old GM.261 New GM is

the mere continuation or reincarnation of the same business enterprise as Old GM.



    257
          Id.
    258
          Valukas Report at 131-132.
    259
       New GM August 7, 2009 Form 8-K, at 16; Bankruptcy Court July 5, 2009 Order (I)
Authorizing Sale of Assets Pursuant to Amended and Restated Master Sale and Purchase
Agreement; (II) Authorizing Assumption and Assignment of Certain Executory Contracts and
Unexpired Leases in Connection with the Sale; and (III) Granting Related Relief (“Sale Order”)
at 18-19.
    260
          Id.



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          874.    Before the 363 Sale, Old GM’s principal executive offices were located at 300

Renaissance Center, Detroit, Michigan.262 After the Sale, New GM’s principal executive offices

were located at 300 Renaissance Center, Detroit, Michigan.263

          875.    Old GM established the General Motors Proving Grounds in Milford, Michigan in

1924, for vehicle testing; the Milford Proving Grounds property is still owned and used by New

GM.

          876.    Under the terms of 363 Sale, New GM assumed the majority of Old GM’s dealer

franchise agreements.264 New GM also assumed certain Old GM agreements with suppliers,

including substantially all of Old GM’s executory contracts with direct suppliers.265

          877.    After the 363 Sale, New GM continued to use over 111 Old GM facilities in 28

states and 89 cities in the United States, 18 locations in Canada, and locations in 56 other

countries.266

          878.    New GM retained ownership and control over nearly all of Old GM’s

manufacturing plants, and closed only 14.267 New GM also assumed ownership and

responsibility for over 3,600 of Old GM’s U.S. dealerships.268

          879.    After the 363 Sale, New GM continued to produce Old GM’s “core” automobile

brands.269

    261
          Valukas Report at 132 n.577.
    262
          Old GM April 27, 2009 Form 8-K.
    263
          New GM August 7, 2009 Form 8-K.
    264
          New GM August 7, 2009 Form 8-K; Sale Order at 5.
    265
          New GM August 7, 2009 Form 8-K, at 19; Sale Order at 20.
    266
          New GM August 27 Form 8-K at 32.
    267
          http://money.cnn.com/2009/07/10/news/companies/new_gm/.
    268
          Id.



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          880.    After the 363 Sale, New GM continued the manufacture, marketing sale and

warranty of such former Old GM vehicles as the Chevrolet Cobalt, the Chevrolet HHR, the

Buick Allure, the Buick LaCrosse, the Buick Lucerne, the Cadillac Deville, the Cadillac DTS,

the Cadillac CTS, the Cadillac SRX, the Chevrolet Impala, the Chevrolet Camaro, the Chevrolet

Malibu, and the Chevrolet Monte Carlo.

          881.    Saturn Corporation was established on January 7, 1985 as a subsidiary of Old

GM. The Saturn Sky was first manufactured in 2006 for the 2007 model year (“MY”), and the

Pontiac Solstice was first manufactured in 2005 for the 2006 MY. Old GM manufactured both of

these vehicles at its Wilmington, Delaware plant, and New GM continued to manufacture market

and sell these vehicles after Old GM’s bankruptcy. After attempting to sell the Saturn brand to

Penske, New GM announced on September 30, 2009, that it was going to wind down the Saturn

brand by October 2010.270

          882.    Adam Opel AG was founded on January 21, 1862 as a sewing machine

manufacturer and produced its first automobiles in 1899. Opel, based in Russelsheim, Hesse,

Germany, became a subsidiary of Old GM in 1931. The Opel/Vauxhall GT was introduced as a

production model in late 1968. Production of the Opel/Vauxhall GT was shut down in 1973 only

to return 34 years later as a 2007 MY vehicle for GM. The Daewoo G2X was a rebadged version

of the Opel GT available in September 2007. Old GM manufactured these vehicles from 2007

until July 28, 2009 at its Wilmington, Delaware plant, and New GM continued to manufacture,


    269
          New GM August 7, 2009 Form 8-K, at 1.
    270
        Valukas Report at 19;
http://media.gm.com/media/us/en/gm/news.detail.html/content/Pages/news/us/en/
2009/Jun/0601_PlantClosures.html;
http://www.bloomberg.com/apps/news?pid=newsarchive&sid=aioTrH.Mfo0o.



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market, and sell these same vehicles after Old GM’s bankruptcy. New GM announced on July

21, 2014, that Opel Group, a new entity created by Adam Opel AG and New GM, would manage

and maintain full responsibility for New GM’s European business, including Cadillac, Chevrolet,

and the Opel/Vauxhall brands.271

          883.    Old GM began production of the Chevrolet Cobalt at its Lordstown Assembly

plant in Lordstown, Ohio, in 2004 for the 2005 MY. New GM continued to manufacture, market,

and sell the Cobalt after Old GM’s bankruptcy until New GM discontinued the brand in 2010.272

          884.    The Chevrolet HHR was manufactured at Old GM’s Ramos Arizpe, Mexico plant

for the 2006 MY. New GM continued to manufacture, market, and sell the Chevrolet HHR after

Old GM’s bankruptcy.273

          885.    Old GM introduced the Pontiac G5/Pursuit in Canada for the 2005 MY and in the

U.S. for the 2007 MY. New GM continued to manufacture, market, and sell the Pontiac

G5/Pursuit after Old GM’s bankruptcy.274

          886.    Old GM began manufacturing the Buick LaCrosse (U.S.) (or Buick Allure in

Canada) in September 2004 for the 2005 MY.275 The last vehicle of the first-generation Buick

LaCrosse was manufactured on December 23, 2008, at Old GM’s Oshawa, Ontario plant. The

second-generation Buick LaCrosse was unveiled at the North American International Auto Show


    271
        http://en.wikipedia.org/wiki/Opel_GT; http://en.wikipedia.org/wiki/Saturn_Sky;
http://www.detroitnews.com/ article/20140721/AUTO0103/307210084.
    272
        Valukas Report at 18;
http://www.cleveland.com/business/index.ssf/2010/06/gm_taking_some _unusual_risks_i.html.
    273
       Valukas Report at 18; http://www.prlog.org/11024409-chevrolet-discontinues-the-
hhr.html; http://www.autofieldguide.com/articles/lookingthe-chevy-hhr.
    274
          http://www.answers.com/topic/pontiac-g5.
    275
          Ward’s Automotive Yearbook 2005. Ward’s Communications, Inc. 2005. p. 115.



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in Detroit, Michigan in January 2009. New GM continued to manufacture, market, and sell the

LaCrosse.276

          887.    Old GM began production of the Buick Lucerne in 2005 for the 2006 MY.277 New

GM continued production of the Buick Lucerne model vehicle until 2011.278

          888.    Old GM began manufacturing the Cadillac DTS in 2005 for the 2006 MY. In Old

GM’s bankruptcy, New GM acquired the Cadillac brand and continued to manufacture, market,

and sell the Cadillac DTS until 2011.279

          889.    The first-generation Cadillac SRX was manufactured and sold by Old GM

between 2004 and 2009. New GM released the second-generation Cadillac SRX in 2010 and

continued to manufacture, market, and sell those vehicles.280

          890.    Old GM began production of the Cadillac CTS in 2002 for the 2003 MY. Old GM

redesigned portions of the Cadillac CTS in 2008, and New GM completed another redesign of

this model in 2014.281 New GM continued to manufacture, market, and sell the Cadillac CTS.

          891.    The Chevrolet Impala was manufactured, marketed, and sold by Old GM since

1958. Old GM manufactured, marketed, and sold the eighth-generation Impala from 2000-2005;

followed by the ninth-generation Impala from 2006-2009. New GM continued to manufacture,

market, and sell the ninth-generation Chevrolet Impala between 2009 and 2013. New GM




    276
          http://www.autoblog.com/2009/01/08/detroit-preview-2010-buick-lacrosse-breaks-cover/.
    277
          http://www.edmunds.com/buick/lucerne/.
    278
          http://www.just-auto.com/news/gm-axes-cadillac-dts-and-buick-lucerne_id111499.aspx.
    279
          http://www.edmunds.com/cadillac/dts/.
    280
          http://www.edmunds.com/cadillac/srx/.
    281
          http://www.edmunds.com/cadillac/cts/.



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performed a redesign in 2013 for the 2014 MY, and continued to manufacture, market, and sell

the Chevrolet Impala. 282

          892.    Old GM began manufacturing and selling the Chevrolet Malibu in 1963 for the

1964 MY. Four generations of Malibu were manufactured, marketed, and sold by Old GM

between 1964 and 1983, when the Malibu was discontinued. Old GM brought back the Malibu

make in 1996 for the 1997 MY. With MY 2004, Old GM redesigned the Malibu, manufacturing,

marketing, and selling the second-generation Malibu until 2008. The third-generation Chevrolet

Malibu was manufactured, marketed, and sold by Old GM from 2008 to 2009. New GM

continued to manufacture, market, and sell the third-generation Chevrolet Malibu from July 10,

2009 through 2012. New GM continued to manufacture, market, and sell the current version of

the Malibu as redesigned for MY 2013.283

          893.    Old GM manufactured, marketed, and sold the Chevrolet Camaro model from its

inception in the late 1960s until 2002, when the model was discontinued. The Chevrolet Camaro

returned to the New GM lineup in 2009 for the 2010 MY, and continued to be manufactured,

marketed, and sold by New GM.284

          894.    New GM enjoyed the benefits of the Old GM brands in continuing these brands

and product lines. And New GM knowingly and intentionally undertook ongoing duties to the

purchasers and lessees of Old GM vehicles to ensure the safety, function, and value of these

vehicles.

          895.    Old GM did substantial business in Michigan, and so does New GM.

    282
          http://www.edmunds.com/chevrolet/impala/.
    283
       http://wot.motortrend.com/a-quick-history-of-the-chevy-malibu-125595.html;
http://www.edmunds.com/ chevrolet/malibu/.
    284
          http://www.edmunds.com/chevrolet/camaro/.



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         896.     Michigan hosted a significant number of Old GM’s U.S. operations, and also

hosts a significant number of New GM’s U.S. operations.

         897.     Old GM’s conduct that forms the basis of certain Delta Ignition Switch Vehicle

owners’ successor liability claims against New GM emanated from Old GM’s headquarters in

Detroit, Michigan.

         898.     Old GM personnel responsible for customer communications were located at Old

GM’s Michigan headquarters, and the core decision not to disclose the Delta Ignition Switch

Defect to consumers was made and implemented from there.

         899.     Some or all of Old GM marketing campaigns falsely promoting the Delta Ignition

Switch Vehicles as safe and reliable were conceived and designed in Michigan.

         900.     Old GM had a far more substantial presence in Michigan than in any other state.

         901.     New GM’s conduct that forms the basis of all Class Members’ independent

claims against New GM emanated from New GM’s headquarters in Detroit, Michigan.

         902.     New GM personnel responsible for customer communications were located at

New GM’s Michigan headquarters, and the decision not to disclose defects at issue in this case to

consumers was made and implemented from there.

         903.     Some or all of the New GM marketing campaigns falsely promoting the Defective

Vehicles at issue in the case as safe and reliable were conceived and designed in Michigan.

         904.     Old GM’s decision to file for bankruptcy, and other key decisions in connection

with Old GM’s bankruptcy, were made in Michigan.

         905.     New GM has a far more substantial presence in Michigan than in any other state.

         906.     New GM honored the vehicle warranties and customer programs of Old GM on

Old GM vehicles. On June 1, 2009, days before it was to file for bankruptcy protection, Old GM




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posted on its Internet website (www.gm.com) a “Customer FAQ on GM’s Chapter 11 Filing,”

which remained accessible on New GM’s website (www.gm.com) after Old GM’s bankruptcy.285

Among other things, New GM promised its customers:

                  There will be no interruptions in GM’s ability to take care of our
                  customers and honor customer programs, warranties and provide
                  replacement parts. In fact, GM has asked the Court for specific
                  orders authorizing GM to honor customer warranties and programs
                  as it always has. You should have total confidence that:

                      x   Our products are safe and sound;

                      x   We will honor your existing warranty;

                      x   Customer promotions and incentives will continue without
                          interruption;

                      x   You do not need to do anything differently regarding your
                          warranty.286

          907.    New GM continued:

                          Will New GM honor customer warranty claims?

                          Yes. GM will succeed and win by taking care of our
                          customers every day. New GM will assume the obligations
                          to support the express warranties issued by GM to its
                          customers.287

          908.    With respect to Old GM’s loyalty program—GM Card Earnings:

                          What happens to my GM Card Earnings?

                          Your GM Card Earnings will continue to be honored in
                          accordance with the Program Rules. You can keep using

    285

http://web.archive.org/web/20090606083403/http://www.gmreinvention.com/index.php/site/
progress_reports/0601_Viability_CustomerFAQ/#;
http://web.archive.org/web/20100107122701/;
http://www.gmreinvention.com/index.php/site/progress_reports/.
    286
          Id.
    287
          Id.



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                         your Card at more than 18 million outlets where
                         MasterCard is accepted to accumulate Earnings and redeem
                         them toward eligible, new GM vehicles.288

          909.    Under the 363 Sale Agreement, New GM also expressly agreed to comply with

certain statutory requirements:

                  From and after the Closing, Purchaser [New GM] shall comply
                  with the certification, reporting and recall requirements of the
                  National Traffic and Motor Vehicle Safety Act, the Transportation
                  Recall Enhancement, Accountability and Documentation Act, the
                  Clean Air Act, the California Health and Safety Code and similar
                  Laws, in each case, to the extent applicable in respect of vehicles
                  and vehicle parts manufactured or distributed by Seller.

          910.    In the Sale Agreement, New GM expressly agreed that it:

                  shall be responsible for the administration, management and
                  payment of all Liabilities arising under (i) express written
                  warranties of Sellers [Old GM] that are specifically identified as
                  warranties and delivered in connection with the sale of new,
                  certified used or pre-owned vehicles or new or remanufactured
                  motor vehicle parts and equipment (including service parts,
                  accessories, engines and transmissions) manufactured or sold by
                  Sellers or Purchaser prior to or after the Closing and (ii) Lemon
                  Laws.

          911.    Seven out of thirteen of New GM’s Directors after the 363 Sale were previously

associated with Old GM:

                  a.     Errol B. David, Jr. had been a member of the Board of Old GM;

                  b.     Stephen J. Girsky had been a special advisor to the Chief Executive

          Officer and the Chief Financial Officer of Old GM from 2005 to 2006;

                  c.     Frederick A. Henderson had been a member of the Board of Old GM, and

          “had been associated with” Old GM since 1984;

                  d.     E. Neville Isdell had been a member of the Board of Old GM;

    288
          Id.



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                  e.      Kent Kresa had been a member of the Board of Old GM and served as

          interim non-executive Chairman from March 29, 2009, to July 10, 2009;

                  f.      Philip A. Laskawy had been a member of the Board of Old GM; and

                  g.      Kathryn Marinello had been a member of the Board of Old GM.289

          912.    All twelve of New GM’s Executive Officers after the 363 Sale were previously

associated with and employed by Old GM:

                  a.      Walter G. Borst, New GM’s Vice President and Treasurer, had been

          “associated with” Old GM since 1980 and had served as an officer of certain Old GM

          subsidiaries and an officer of Old GM;

                  b.      Nicholas S. Cyprus, New GM’s Vice President, Controller and Chief

          Accounting Officer, had served as Old GM’s Controller and Chief Accounting Officer

          since 2006;

                  c.      Frederick A. Henderson, New GM’s first Chief Executive Officer, had

          been a member of the Board of Old GM, and “had been associated with” Old GM since

          1984;

                  d.      Mark R. LaNeve, New GM’s Vice President, U.S. Sales, had been

          “associated with” Old GM since 2001 and had served as an officer of certain Old GM

          subsidiaries;

                  e.      Timothy E. Lee, New GM’s Group Vice President, Global Manufacturing

          and Labor, had been “associated with” Old GM since 1969 and had served as an officer

          of certain Old GM subsidiaries;



    289
          New GM August 7, 2009 Form 8-K at 35-36.



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                  f.      Robert Lutz, New GM’s Vice Chairman, Marketing and Communications,

          was “first associated with” Old GM in 1964 and “rejoined [Old GM] on September 4,

          2001” as its Vice Chairman, Product Development;

                  g.      Michael P. Millikin, New GM’s Vice President and General Counsel until

          2015, had been “associated with” Old GM since 1977 and had previously served as Old

          GM’s Assistant General Counsel and Associate General Counsel;

                  h.      David N. Reilly, New GM’s Executive Vice President, GMIO, had been

          “associated with” Old GM since 1975 and had served as an officer of certain Old GM

          subsidiaries;

                  i.      John F. Smith, New GM’s Vice President, Planning and Alliances, had

          been “associated with” Old GM since 1968 and had previously served as an officer of

          Old GM;

                  j.      Robert E. Socia, New GM’s Vice President, Global Purchasing and

          Supply Chain, had been “associated with” Old GM since 1975 and had previously served

          as an officer of Old GM and certain Old GM subsidiaries;

                  k.      Thomas G. Stephens, New GM’s Vice Chairman, Global Product

          Development, had been “associated with” Old GM since 1969 and had served as Old

          GM’s Vice Chairman, Global Product Development, since April 1, 2009; and

                  l.      Ray G. Young, New GM’s Executive Vice President and Chief Financial

          Officer, had been “associated with” Old GM since 1986 and had served as Old GM’s

          Executive Vice President and Chief Financial Officers since March 3, 2008.290



    290
          New GM’s August 7, 2009 Form 8-K at 37-38.



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          913.    In the 363 Sale, New GM assumed the compensation agreements of Old GM’s

senior executives.291

          914.    New GM kept the same employees as Old GM and retained over 65,000 of Old

GM’s employees. In fact, New GM made an offer of employment to all of Old GM’s non-

unionized employees and those unionized employees represented by the United Automobile

Workers union (“UAW”).292

          915.    New GM retained much of Old GM’s top management and key players involved

in the defects at issue in this case, including, among others:

                      x   Alan Adler served as Old GM’s Safety Communications
                          Manager in 2005when he acknowledged an ignition switch
                          defect in the 2005 Chevrolet Cobalt but claimed it was not
                          a safety issue, and was also aware of airbag nondeployment
                          incidents in the Cobalt by November 2006. He continued
                          working in the same or similar capacity at New GM.293

                      x   Gary Altman served as Old GM’s Program Engineering
                          Manager for the Chevrolet Cobalt in 2004 and continued to
                          serve New GM as a manager until he was fired in 2014.294

                      x   Kathy Anderson was an Old GM Field Performance
                          Assessment Engineer who was assigned to gather
                          information and assess technical issues in lawsuits and
                          NISMs (not-in-suit matters).295 Beginning in 2006, she
                          investigated fatal crashes involving airbag nondeployment
                          in a 2004 Saturn Ion and a 2005 Chevrolet Cobalt.296 She



    291
          New GM’s August 7, 2009 Form 8-K at 40.
    292
          Sale Order at 20.
    293
          Valukas Report at 84-85, 140.
    294
      Valukas Report at 58; http://www.newsweek.com/gm-fired-15-over-defect-killed-least-
13-253685.
    295
          Valukas Report at 105, 106.
    296
          Valukas Report at 110, 112.



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                          continued to work in the same or similar capacity at New
                          GM.297

                      x   Mary T. Barra, current New GM Chief Executive Officer,
                          began her career at Old GM in 1980 as a student at General
                          Motors Institute.298 She served in a number of engineering
                          and management positions throughout Old GM and New
                          GM prior to becoming New GM’s Executive Vice
                          President, Global Product Development, Purchasing and
                          Supply Chain in 2013.299 She assumed her current role with
                          New GM on January 15, 2014.300

                      x   Douglas Brown was in-house counsel at Old GM when
                          Cobalt and Ion airbag nondeployment cases began to reach
                          the Old GM legal staff, including Brown. He continued on
                          in the same or similar capacity at New GM.301

                      x   Eric Buddrius was an engineer in Old GM’s Product
                          Investigations unit, the primary unit charged with resolving
                          significant engineering problems, including safety
                          problems.302 He continued to work in the same or similar
                          capacity at New GM.303

                      x   Lawrence Buonomo served as an attorney in Old GM’s
                          legal department from 1994-2009, and served as New
                          GM’s Executive Director of Litigation from 2009-2012.304
                          New GM named him Practice Area Manager and Global
                          Legal Process Leader—Litigation in 2012, a position in
                          which he served until he was fired in 2014.305



    297
          Valukas Report at 141.
    298
          http://www.gm.com/company/aboutGM/board_of_directors0/mary_barra.html.
    299
          Id.
    300
          Id.
    301
          Valukas Report at 103 & n.419.
    302
          Valukas Report at 86.
    303
          Valukas Report at 153 n.685.
    304
          http://www.linkedin.com/pub/lawrence-larry-buonomo/5/978/499
    305
     Id.; See also http://online.wsj.com/articles/gm-dismissals-include-lawyers-lawrence-
buonomo-bill-kemp-1402003050



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                      x   John R. Buttermore began his career at GM as an engineer
                          in 1978.306 He served Old GM as Vice President of
                          Powertrain and Manufacturing Operations, and has served
                          as New GM’s Vice President of Manufacturing since
                          September 2009.307

                      x   William K. Chase worked for Old GM and then New GM
                          from 1984-2009.308 In 2005, he worked as a Warranty
                          Engineer for Old GM where he was responsible for
                          reducing warranty costs for vehicles produced in
                          Lordstown, Ohio, where the Cobalt and the Pontiac G5
                          were produced.309 He first learned of an ignition switch
                          problem with the 2005 Cobalt in 2005, when he was asked
                          to estimate the warranty impact of the problem.310

                      x   Dwayne Davidson was Old GM’s Senior Manager for
                          TREAD Reporting, charged with reviewing relevant data in
                          order for Old GM to comply with its federal safety
                          monitoring and reporting obligations under the TREAD
                          Act. He continued to head the TREAD reporting team at
                          New GM.311

                      x   Raymond DeGiorgio served Old GM as the Design Release
                          Engineer for defective ignition switches.312 He continued to
                          be employed by New GM in an engineering role until he
                          was fired in 2014.313




    306

http://investing.businessweek.com/research/stocks/people/person.asp?personId=2971371&ticker
= GM&previousCapId=61206100&previousTitle=GENERAL%20MOTORS%20CO.
    307
          Id.
    308
          Chase Dep. at 6:24-7:3.
    309
          Chase Dep. at 7:16-8:2, 20:14-18.
    310
          Chase Dep. at 7:7-14, 8:3-8.
    311
          Valukas Report at 113-114, 117, 159.
    312
          Valukas Report at 37-38.
    313
          http://www.newsweek.com/gm-fired-15-over-defect-killed-least-13-253685.



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                      x   John Dolan was an electrical engineer for Old GM and
                          continued to work in the same or similar capacity at New
                          GM.314

                      x   Brian Everest, an engineer, was an Old GM Field
                          Performance Assessment Supervisor involved with the
                          Cobalt airbag nondeployment investigation. He continued
                          to work in the same or similar capacity at New GM.315

                      x   Michael Gruskin was an attorney for Old GM who chaired
                          the Settlement Review Committee and the Roundtable
                          (both charged with approving settlements, including of
                          claims resulting from defective ignition switches) from
                          September 2007 to March 2012 (by which time he was of
                          course an attorney for New GM).316

                      x   William Hohmstadt was an Old GM sensing performance
                          engineer involved in the investigation of Cobalt airbag
                          nondeployment. He continued to work at New GM in the
                          same or similar capacity.317

                      x   William J. Kemp served as a top product safety attorney for
                          Old GM during 2003-2013.318 He continued to serve in
                          New GM’s legal department until his termination in
                          2014.319

                      x   Gay Kent, an engineer, was Old GM’s Director of Product
                          Investigations, where she studied the ignition switch defect
                          in the Chevrolet Cobalt. She continued working in the
                          same or similar capacity at New GM.320

                      x   Elizabeth Kiihr was an engineer in Old GM’s Product
                          Investigations Unit and was assigned in 2005 to investigate

    314
          Valukas Report at 134, 165, 174 n.793; Dolan Dep. at 87:1-9, 186:17-188:5.
    315
          Valukas Report at 114, 118-119, 134-35, 153.
    316
          Valukas Report at 107, 110.
    317
          Valukas Report at 134-135.
    318
          Valukas Report at 85-86, 104, 147-148, 150, 153, 164-165, 171, 178, 183 and 196.
    319
     Id; http://online.wsj.com/articles/gm-dismissals-include-lawyers-lawrence-buonomo-bill-
kemp-1402003050
    320
          Valukas Report at 86-87, 113-14.



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                          the ignition switch defect in the Chevrolet Cobalt. She
                          continued to work in the same or similar capacity at New
                          GM.321

                      x   Alberto Manzor was an Old GM engineer who became
                          involved in the investigation of the Cobalt ignition switch
                          in 2005.322 He continued to work in the same or similar
                          capacity at New GM.323

                      x   Stephen Oakley was a Brand Quality Manager at Old GM
                          who wrote Technical Services Bulletins concerning
                          defective ignition switches.324 He continued to work in the
                          same or similar capacity at New GM.325

                      x   Jaclyn Palmer was an in-house product liability attorney at
                          Old GM who attended Roundtable meetings and was
                          described as an “airbag lawyer.”326 She continued working
                          in the same or similar capacity at New GM until she was
                          terminated in 2014.

                      x   Doug Parks was an Old GM Vehicle Chief Engineer for the
                          Chevrolet Cobalt leading up to its launch.327 He continued
                          to work for New GM where, in February 2016, he became
                          Vice President of Autonomous Technology and Vehicle
                          Execution.328

                      x   Manuel Peace was an Old GM Field Performance
                          Assessment Engineer who investigated at least three
                          crashes in Saturn Ion or Chevrolet Cobalt vehicles.329 He



    321
          Valukas Report at 86-88. Kiihr Dep. at 23:24-24:12.
    322
          Valukas Report at 83-84.
    323
          Manzor Dep. at 301:15-302:6.
    324
          Valukas Report at 92-93.
    325
          Oakley Dep. at 223:8-23, 274:1-20.
    326
          Valukas Report at 108, 113-114, 140-141; GM-MDL2543-000660577.
    327
          Valukas Report at 57-60, 81-84.
    328
      https://www.boardroominsiders.com/executive-profiles/1000807/General-Motors-
Corporation/Douglas-L.-(Doug)-Parks
    329
          Valukas Report at 110, 112, 124-126.



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                          continued to work at New GM where he remains a Senior
                          Manager.330

                      x   Lori Queen was an Old GM Vehicle Line Director involved
                          with the Chevrolet Cobalt.331 She continued to work at
                          New GM in the same or similar capacity before she
                          retired.332

                      x   Mark L. Reuss began his career with Old GM as an
                          engineering intern in 1983.333 Having held numerous
                          management positions in engineering for GM, he served as
                          President of GM North America from 2009-2013.334 He
                          currently serves New GM as Executive Vice President,
                          Global Product Development, Purchasing and Supply
                          Chain, having assumed the role from Barra.335

                      x   Michael J. Robinson joined Old GM in 1984, and moved
                          up to become North American General Counsel in 2008.336
                          He continued to serve in New GM’s legal department,
                          becoming New GM’s Vice President of Environment,
                          Energy and Safety Policy in September 2009, holding that
                          position until he was fired in 2014.337

                      x   Keith Schultz was Manager of Internal Investigations at
                          Old GM’s Product Investigations Unit, in which capacity
                          he was involved with the Cobalt/Ion airbag nondeployment
                          issue.338 He continued to work at New GM in the same or
                          in a similar capacity.339

    330
          https://www.linkedin.com/in/manuel-peace-94bb398
    331
          Valukas Report at 63-64.
    332
          Queen Dep. at 139:24-140:11.
    333
          http://www.gm.com/company/corporate-officers/mark-reuss.
    334
          Id.
    335
          Id.
    336
      http://green.autoblog.com/2009/09/04/general-motors-announces-mike-robinson-as-new-
environment-vp/.
    337
       Id; http://fortune.com/2014/06/06/report-names-top-gm-workers-fired-over-gm-safety-
probe/.
    338
          Valukas Report at 113-114, 118-119.
    339
          GM-MDL2543-402369642.



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                      x   James Sewell was an Old GM Engineer who authored an
                          August 2001 pre-production report regarding stalls in a pre-
                          Ion prototype vehicle.340 He continued to work for New
                          GM in the same or in a similar capacity as a Performance
                          Engineer.341

                      x   John Sprague was an Old GM Field Performance
                          Assessment Engineer tasked with supporting Old GM’s
                          product liability defense team.342 He continued to work at
                          New GM in the same or in a similar capacity.343

                      x   Lisa Stacey was an Old GM Field Performance Assessment
                          Engineer involved in the investigation of airbag
                          nondeployment in Chevrolet Cobalts.344 She continued to
                          work at New GM in the same or in a similar capacity.345

                      x   David Trush was the Old GM Design Engineer for the
                          ignition cylinder and key of the 2005 Chevrolet Cobalt.346
                          He continued to work for New GM in the same or in a
                          similar capacity where he remains a Design and Release
                          Engineer to this day.347

                      x   Douglas Wachtel was a manager in Old GM’s Product
                          Investigations Unit.348 He continued to work for New GM
                          in the same or in a similar capacity.349

                      x   Chester N. Watson served as General Auditor for Old GM
                          and New GM from 2003 through 2010.350



    340
          Valukas Report at 42-43.
    341
          Sewell Dep. at 10:10-15, 16:7-17:5; https://www.linkedin.com/in/james-sewell-03312112.
    342
          Valukas Report at 9, 126.
    343
          Valukas Report at 141.
    344
          Valukas Report at 132, 134-135.
    345
          Stacey Dep. at 11:3-6, 13:24-14:1.
    346
          Trush Dep. at 11:1-3, 20:11-16, 21:10-17.
    347
          Trush Dep. at 16:10-14, 95:8-17. https://www.linkedin.com/in/david-trush-1a6442b.
    348
          Valukas Report at 114, 120.
    349
          Valukas Report at 145.



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                      x   Terry J. Woychowski was with Old GM since 1978,
                          serving in various engineering positions including Global
                          Vehicle Chief Engineer.351 He held the position of Vice
                          President of Global Quality and Vehicle Launch for New
                          GM until retiring in June 2012.352

          916.    New GM kept the same logos and brand marketing as Old GM. Old GM unveiled

its “Mark of Excellence” logo in 1966.




          917.    The words “Mark of Excellence” were removed in the late 1970’s, but what

remained of the logo is still in use today.




    350
      http://www.dbusiness.com/January-February-2011/General-Motors-
Co/?cparticle=5&siarticle=4#. VBrd9U1OXcs; See also GM Annual Reports.
    351
      http://www.dbusiness.com/January-February-2011/General-Motors-
Co/?cparticle=5&siarticle=4#. VBsxQE1OXcs.
    352
          Valukas Report at 171.



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         918.     On August 24, 2009, New GM announced the removal of its logo from all of its

vehicles starting with the 2010 model year; however, New GM continued to use this logo on its

websites and marketing materials.

         919.     New GM has also maintained the logos and branding for Chevrolet and Cadillac,

after acquiring these brand assets post-bankruptcy. The Chevrolet bowtie was introduced in late

1913 containing the “Chevrolet” name within the bowtie. Old GM continued to use the bowtie

logo after it purchased Chevrolet in 1918.




         920.     Around 2000, the Chevrolet name was removed from the logo, and, despite slight

design variations to the bowtie, the logo and brand remained the same as used by New GM.




         921.     The iconic Cadillac crest was first unveiled in 1906. Though there have been

slight varying designs of the crest, the Cadillac logo consisting of a silver, gold, red, and blue

crest surrounded by a wreath has remained conceptually the same since 1982.




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         922.     In January of 2014, New GM announced it was removing the Cadillac wreath

from the logo and widening the crest for a more streamlined appearance.




         923.     New GM undertook the same manufacturing operations as Old GM. New GM

continued the product lines of Old GM. The totality of the transaction between the predecessor

and successor corporations demonstrates a basic continuity of the predecessor corporation’s

business. Indeed, the purpose of the bankruptcy transaction funded by taxpayer dollars was to

save and continue the Old GM brand, the Old GM name, the Old GM product line, and to ensure

the continuation or reincarnation of the same business enterprise as New GM. The fraudulent

concealment of material facts begun under Old GM was continued, carried on, and furthered by

New GM and its agents.




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          924.    New GM continued the business of General Motors as evidenced by the

continuity of management, personnel, physical location, assets, and general business operations

of Old GM.

          925.    New GM expressly and impliedly assumed the obligations of Old GM to

manufacture non-defective vehicles by warranting to the Class and the public that the GM brand

would remain in operation as a continuation of the same company. At all relevant times, New

GM held itself out to the Class, and to the world, as the effective continuation of Old GM.

          926.    So, for example, after the 363 Sale, New GM stated, “We believe that continuity

in our Senior Leadership Group is in our best interests and those of our stockholders.”353

          927.    After the 363 Sale, New GM released a commercial in which New GM Chairman

and Chief Executive Officer Ed Whitacre stated “a lot of Americans didn’t agree with giving

GM a second chance.”354

          928.    After the 363 Sale, New GM stated its “long-term profitability depends on” New

GM’s “ability to restore consumers’ confidence in us.”355

          929.    Old GM ceased its ordinary business operations and was dissolved by terms of

Old GM’s bankruptcy. Old GM became Motors Liquidation Company, and remained a legal

entity for the sole purpose of liquidating its remaining assets and liabilities.356 Old GM dissolved

on December 15, 2011.357


    353
          New GM’s August 7, 2009 Form 8-K at 51, 71.
    354
      New GM April 2010 Commercial, available at https://www.youtube.com/
watch?v=jbXpV0aqEM4.
    355
          New GM’s August 7, 2009 Form 8-K at 21.
    356
          New GM’s August 7, 2009 Form 8-K at 1, Sale Order at 18.
    357
          Old GM December 15, 2011 Form 8-K at 2.



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                      VII.   TOLLING OF THE STATUTES OF LIMITATION

A.        Discovery Rule Tolling

          930.    Class Members had no way of knowing about the defects and the other

information concealed by New GM. Even NHTSA, the agency expert, acknowledged the

difficulties in ascertaining the problems in light of New GM’s conduct. By contrast, New GM

was so intent on expressly hiding the defects and is systemic devaluation of safety that it lied to

each and every stakeholder, and even attempted to stifle every internal channel of transparency.

This is the quintessential case for tolling.

          931.    Within the period of any applicable statutes of limitation, Plaintiffs and the other

Class Members could not have discovered through the exercise of reasonable diligence that New

GM was concealing scores of defects and misrepresenting the Company’s true position on safety

issues.

          932.    Plaintiffs and the other Class Members did not discover, and did not know of facts

that would have caused a reasonable person to suspect, that New GM did not report information

within its knowledge to federal authorities (including NHTSA), its dealerships, or consumers,

nor would a reasonable and diligent investigation have disclosed that New GM had information

in its possession about the existence and dangerousness of numerous defects and opted to

conceal that information until shortly before this action was filed, nor would such an

investigation have disclosed that New GM valued cost-cutting over safety and actively

discouraged its personnel from uncovering or raising safety issues.

          933.    All applicable statutes of limitation have been tolled by operation of the discovery

rule.




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B.       Fraudulent Concealment Tolling

         934.     All applicable statutes of limitation have also been tolled by New GM’s knowing

and active fraudulent concealment and denial of the facts alleged herein throughout the period

relevant to this action.

         935.     Instead of disclosing the myriad safety defects and disregard of safety of which it

was aware, including the defects in the Defective Vehicles, New GM falsely represented that its

vehicles were safe, reliable, and of high quality, and that it was a reputable manufacturer that

stood behind New GM and Old GM vehicles that were on the road.

C.       Estoppel

         936.     New GM was under a continuous duty to disclose to Plaintiffs and the other Class

Members the true character, quality, and nature of the many defects plaguing Old GM vehicles

and New GM vehicles, including those in the Defective Vehicles.

         937.     New GM knowingly, affirmatively, and actively concealed the true nature,

quality, and character of the Delta Ignition Switch Defect, the Low Torque Ignition Switch

Defect, the Knee-to-Key Camaro Defect, the Side Airbag Defect, and the Power Steering Defect

from consumers.

         938.     New GM was also under a continuous duty to disclose to Plaintiffs and Class

Members that scores of other defects plagued New GM and Old GM vehicles, and that it

systematically devalued safety.

         939.     Based on the foregoing, New GM is estopped from relying on any statutes of

limitations in defense of this action.




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                                  VIII. CLASS ALLEGATIONS

A.         The Classes

           940.   Under Rules 23(a), 23(b)(1), 23(b)(2), 23(b)(3), 23(c)(4), and 23(g) of the Federal

Rules of Civil Procedure, Plaintiffs bring this action on behalf of themselves and the Classes and

Subclasses initially defined below for the assertion of claims under the laws of each state and the

District of Columbia.358

           941.   Excluded from the Classes are New GM, its employees, co-conspirators, officers,

directors, legal representatives, heirs, successors, and wholly or partly owned subsidiaries or

affiliates of New GM; New GM Dealers; Class Counsel and their employees; and the judicial

officers and their immediate family members and associated court staff assigned to this case.

           1.     The Delta Ignition Switch Defect Class and Subclasses.

           942.   Plaintiffs allege claims, under the laws of each state and the District of Columbia,

for the following Delta Ignition Switch Defect Class:

                  All persons who bought or leased a Delta Ignition Switch Vehicle
                  on or before February 14, 2014.

           943.   The following vehicles are included in the Delta Ignition Switch Defect Class:

                                            VEHICLES
                              2005-2010 Chevy Cobalt
                            · 2006-2011 Chevy HHR
                            · 2007-2010 Pontiac G5
                            · 2007-2010 Saturn Sky
                            · 2003-2007 Saturn ION
                              2006-2010 Pontiac Solstice



     358
       Plaintiffs incorporate by reference the class claims and models identified therein, asserted
in the Third Amended and Consolidated Class Action Complaint to preserve these claims for
appeal. Plaintiffs classes asserted in this Complaint include any vehicles with a specific defect.



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         944.     Plaintiffs also allege claims under the laws of the following jurisdictions for the

Delta Ignition Switch Defect Magnuson-Moss and Implied Warranty Subclass for vehicles sold

or leased as new or Certified Pre-Owned vehicles between July 10, 2009, and February 14, 2014:

Alaska, Arkansas, California, Colorado, Delaware, District of Columbia, Hawaii, Indiana,

Kansas, Louisiana, Maine, Maryland, Massachusetts, Michigan, Minnesota, Mississippi,

Missouri, Montana, Nebraska, Nevada, New Hampshire, New Jersey, New Mexico, New York,

North Carolina, North Dakota, Oklahoma, Pennsylvania, Rhode Island, South Carolina, South

Dakota, Texas, Utah, Virginia, West Virginia, and Wyoming.

         945.     Plaintiffs also allege claims, under the laws of each state and the District of

Columbia, on behalf of the following Delta Ignition Switch Defect Successor Liability Subclass:

                  All persons who bought or leased a Delta Ignition Switch Vehicle
                  on or before July 9, 2009.

         946.     Plaintiffs also allege claims under the laws of the following jurisdictions for the

Delta Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor Liability

Subclass on behalf of all persons who bought or leased a new or Certified Pre-Owned Delta

Ignition Switch Vehicle on or before July 9, 2009: Alaska, Arkansas, California, Colorado,

Delaware, District of Columbia, Hawaii, Indiana, Kansas, Louisiana, Maine, Maryland,

Massachusetts, Michigan, Minnesota, Mississippi, Missouri, Montana, Nebraska, Nevada, New

Hampshire, New Jersey, New Mexico, New York, North Carolina, North Dakota, Oklahoma,

Pennsylvania, Rhode Island, South Carolina, South Dakota, Texas, Utah, Virginia, West

Virginia, and Wyoming.




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         2.       The Low Torque Ignition Switch Defect Class and Subclass.

         947.     Plaintiffs allege claims, under the laws of each state and the District of Columbia,

for the following Low Torque Ignition Switch Defect Class:

                  All persons in the United States who bought or leased a Low
                  Torque Ignition Switch Vehicle prior to July 3, 2014.

         948.     The following vehicles are included in the Low Torque Ignition Switch Defect

Class:

                                            VEHICLES
                                 · 2005-2009 Buick Lacrosse
                                 · 2000-2014 Chevrolet Impala
                                 · 2000-2005 Cadillac Deville
                                 · 2006-2011 Cadillac DTS
                                 · 2006-2011 Buick Lucerne
                                 · 2000-2008 Chevrolet Monte Carlo
                                 · 2003-2014 Cadillac CTS
                                 · 2004-2006 Cadillac SRX
                                 · 1997-2005 Chevrolet Malibu
                                 · 2000-2005 Pontiac Grand Am
                                 · 2004-2008 Pontiac Grand Prix
                                 · 1998-2002 Oldsmobile Intrigue
                                 · 1999-2004 Oldsmobile Alero
                                 · 2009-2010 Chevy Cobalt

         949.     Plaintiffs also allege claims under the laws of the following jurisdictions for the

Low Torque Ignition Switch Defect Magnuson-Moss and Implied Warranty Subclass for

vehicles sold or leased as new or Certified Pre-Owned vehicles between July 10, 2009, and July

3, 2014: Alaska, Arkansas, California, Colorado, Delaware, District of Columbia, Hawaii,

Indiana, Kansas, Louisiana, Maine, Maryland, Massachusetts, Michigan, Minnesota, Mississippi,

Missouri, Montana, Nebraska, Nevada, New Hampshire, New Jersey, New Mexico, New York,




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North Carolina, North Dakota, Oklahoma, Pennsylvania, Rhode Island, South Carolina, South

Dakota, Texas, Utah, Virginia, West Virginia, and Wyoming.

         3.       The Knee-to-Key Camaro Defect Class and Subclass.

         950.     Plaintiffs allege claims, under the laws of each state and the District of Columbia,

for the following Knee-to-Key Camaro Defect Class:

                  All persons in the United States who bought or leased a Knee-to-
                  Key Camaro Defect Vehicle prior to July 3, 2014.

         951.     The following vehicles are included in the Knee-to-Key Camaro Defect Class,

2014:

                                             VEHICLES
                             2010-2014     Chevy Camaro

         952.     Plaintiffs also allege claims under the laws of the following jurisdictions for the

Knee-to-Key Camaro Defect Magnuson-Moss and Implied Warranty Subclass for vehicles sold

or leased as new or Certified Pre-Owned vehicles between July 10, 2009, and July 3, 2014:

Alaska, Arkansas, California, Colorado, Delaware, District of Columbia, Hawaii, Indiana,

Kansas, Louisiana, Maine, Maryland, Massachusetts, Michigan, Minnesota, Mississippi,

Missouri, Montana, Nebraska, Nevada, New Hampshire, New Jersey, New Mexico, New York,

North Carolina, North Dakota, Oklahoma, Pennsylvania, Rhode Island, South Carolina, South

Dakota, Texas, Utah, Virginia, West Virginia, and Wyoming.

         4.       The Side Airbag Defect Class and Subclass.

         953.     Plaintiffs allege claims, under the laws of each state and the District of Columbia,

for the following Side Airbag Defect Class:

                  All persons in the United States who bought or leased a Side
                  Airbag Defect Vehicle prior to March 17, 2014.




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         954.     The following vehicles are included in the Side Airbag Defect Class:

                                           VEHICLES
                             2008-2013 Buick Enclave
                             2009-2013 Chevrolet Traverse
                             2008-2013 Acadia
                             2008-2010 Saturn Outlook

         955.     Plaintiffs also allege claims under the laws of the following jurisdictions for the

Side Airbag Defect Magnuson-Moss and Implied Warranty Subclass for vehicles sold or leased

as new or Certified Pre-Owned vehicles between July 10, 2009, and March 17, 2014: Alaska,

Arkansas, California, Colorado, Delaware, District of Columbia, Hawaii, Indiana, Kansas,

Louisiana, Maine, Maryland, Massachusetts, Michigan, Minnesota, Mississippi, Missouri,

Montana, Nebraska, Nevada, New Hampshire, New Jersey, New Mexico, New York, North

Carolina, North Dakota, Oklahoma, Pennsylvania, Rhode Island, South Carolina, South Dakota,

Texas, Utah, Virginia, West Virginia, and Wyoming.

         5.       The Power Steering Defect Class and Subclass.

         956.     Plaintiffs allege claims, under the laws of each state and the District of Columbia,

for the following Power Steering Defect Class:

                  All persons in the United States who bought or leased a Power
                  Steering Defect Vehicle prior to April 1, 2014.

         957.     The following vehicles are included in the Power Steering Defect Class:

                                            VEHICLES
                             2004-2006 and 2008-2009 Chevrolet Malibu
                             2004-2006 Chevrolet Malibu Maxx
                             2009-2010 Chevrolet HHR
                             2008-2010 Saturn Outlook
                             2010 Chevrolet Cobalt
                             2005-2006 and 2008-2009 Pontiac G6




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                                           VEHICLES
                             2004-2007 Saturn Ion
                             2008-2009 Saturn Aura

         958.     Plaintiffs also allege claims under the laws of the following jurisdictions for the

Power Steering Defect Magnuson-Moss and Implied Warranty Subclass for vehicles sold or

leased as new or Certified Pre-Owned vehicles between July 10, 2009, and April 1, 2014:

Alaska, Arkansas, California, Colorado, Delaware, District of Columbia, Hawaii, Indiana,

Kansas, Louisiana, Maine, Maryland, Massachusetts, Michigan, Minnesota, Mississippi,

Missouri, Montana, Nebraska, Nevada, New Hampshire, New Jersey, New Mexico, New York,

North Carolina, North Dakota, Oklahoma, Pennsylvania, Rhode Island, South Carolina, South

Dakota, Texas, Utah, Virginia, West Virginia, and Wyoming.

         6.       The Delta Ignition Switch Defect Bankruptcy Class.

         959.     Plaintiffs allege claims, under the laws of each state and the District of Columbia,

for the following Delta Ignition Switch Defect Bankruptcy Class:

                  All persons who owned or leased a Delta Ignition Switch Vehicle
                  between July 10, 2009, and November 30, 2009.

         960.     The following vehicles are included in the Delta Ignition Switch Defect

Bankruptcy Class:

                                            VEHICLES
                              2005-2010 Chevy Cobalt
                            · 2006-2011 Chevy HHR
                            · 2007-2010 Pontiac G5
                            · 2007-2010 Saturn Sky
                            · 2003-2007 Saturn ION
                              2006-2010 Pontiac Solstice

B.       The Classes and Subclasses Meet Rule 23 Requirements




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         961.     Plaintiffs are informed and believe that there are over 20 million Defective

Vehicles nationwide and hundreds-of-thousands of the Defective Vehicles in each state. The

approximate number of Defective Vehicles owned or leased by members of each Class are:

Delta Ignition Switch Class, over 2 million; Low Torque Ignition Switch Defect Class, over 3.6

million; Knee-to-Key Camaro Defect Class, more than 460,000; Side Airbag Defect Class, more

than 1.2 million; and Power Steering Defect Class, over 1.3 million. Individual joinder of all

Class Members is impracticable.

         962.     The Class can be readily identified using registration records, sales records,

production records, and other information kept by New GM or third parties in the usual course of

business and within their control.

         963.     Questions of law and fact are common to each of the Classes and Subclasses and

predominate over questions affecting only individual members, including the following:

                  a.     Whether the Defective Vehicles suffer from serious defects;

                  b.     Whether Old and New GM were aware of, and concealed the defects from

regulators, Plaintiffs, and the Class;

                  c.     Whether Old and New GM misrepresented to Defective Vehicle

purchasers that the Defective Vehicles were safe, reliable, and of high quality;

                  d.     Whether New GM misrepresented itself as a reputable manufacturer that

values safety and stands behind its vehicles after they are sold;

                  e.     Whether New GM actively encouraged the concealment of such known

defects from regulators and consumers;

                  f.     Whether New GM engaged in fraudulent concealment;




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                  g.   Whether New GM engaged in unfair, deceptive, unlawful, and/or

fraudulent acts or practices in trade or commerce by failing to disclose that many New GM and

Old GM vehicles had serious defects;

                  h.   Whether New GM violated various state consumer protection statutes;

                  i.   Whether the Defective Vehicles manufactured and sold by New GM were

unfit for the ordinary purposes for which they were used, in violation of the implied warranty of

merchantability;

                  j.   Whether New GM’s unlawful, unfair, fraudulent, and/or deceptive

practices harmed Plaintiffs and the members of the Class;

                  k.   Whether New GM has been unjustly enriched;

                  l.   Whether New GM has successor liability for Old GM’s violations of law;

                  m.   Whether New GM had and breached a duty under the bankruptcy Sale

Agreement to monitor and protect the vehicles owned by the Delta Ignition Switch Defect Class,

and whether the owners of those vehicles were damaged thereby;

                  n.   Whether Plaintiffs and the members of the classes are entitled to equitable

and/or injunctive relief;

                  o.   What aggregate amounts of statutory penalties, as available under the laws

of certain States, are sufficient to punish and deter New GM and to vindicate statutory and public

policy, and how such penalties should most equitably be distributed among Class Members; and

                  p.   Whether any or all applicable limitations periods are tolled by New GM’s

acts of fraudulent concealment.




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         964.     Plaintiffs’ claims are typical of the claims of the Class Members, and arise from

the same course of conduct by New GM. The relief Plaintiffs seek is typical of the relief sought

for the absent Class Members.

         965.     Plaintiffs will fairly and adequately represent and protect the interests of all absent

Class Members. Plaintiffs are represented by counsel competent and experienced in product

liability, consumer protection, and class action litigation.

         966.     A class action is superior to other available methods for the fair and efficient

adjudication of this controversy, since joinder of all the individual Class Members is

impracticable. Because the damages suffered by each individual Class Member may be

relatively small, the expense and burden of individual litigation would make it very difficult or

impossible for individual Class Members to redress the wrongs done to each of them

individually, and the burden imposed on the judicial system would be enormous. Rule 23

provides the Court with authority and flexibility to maximize the benefits of the class mechanism

and reduce management challenges. The Court may, on motion of Plaintiffs or on its own

determination, utilize the processes of Rule 23(c)(4) and/or (c)(5) to certify common questions of

fact or law and to designate subclasses.

         967.     The prosecution of separate actions by the individual Class Members would

create a risk of inconsistent or varying adjudications for individual Class Members, which would

establish incompatible standards of conduct for New GM. The conduct of this action as a class

action presents far fewer management difficulties, conserves judicial resources and the parties’

resources, and protects the rights of each Class Member.

         968.     Plaintiffs are not aware of any obstacles likely to be encountered in the

management of this action that would preclude its maintenance as a class action. Plaintiffs




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anticipate providing appropriate notice to be approved by the Court after discovery into the size

and nature of the Class.

           969.   Absent a class action, most Class Members would likely find the cost of litigating

their claims prohibitively high and would therefore have no effective remedy at law. Because of

the relatively small size of the individual Class Members’ claims, it is likely that only a few

Class Members could afford to seek legal redress for New GM’s misconduct. Absent a class

action, Class Members will continue to incur damages, and New GM’s misconduct will continue

without remedy.

                                   IX.     CLAIMS FOR RELIEF

A.         Nationwide Claim

                                               COUNT I

  VIOLATION OF RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS
                  ACT (“RICO”), 18 U.S.C. § 1961, et seq.359

           970.   Plaintiffs hereby incorporate by reference the allegations contained in the

preceding paragraphs of this Complaint.

           971.   This Claim is brought on behalf of the Nationwide RICO Class against New GM

for actual damages and treble damages and equitable relief under 18 U.S.C. § 1964 for violations

of 18 U.S.C. § 1961 et seq. Members of the RICO Class are referred to herein collectively as

“Class Members.”

           972.   New GM, the Enterprise Members, Plaintiffs, and the Class Members are

“persons” within the meaning of 18 U.S.C. § 1961(3).



     359
       Plaintiffs are aware the that the Court has dismissed this claim, and include it here solely
for the purposes of preserving the claim for appellate purposes.



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B.         The New GM RICO Enterprise

           973.   On May 24, 2015, the United States Department of Justice announced it had

found evidence of criminal wrongdoing by New GM, including repeated acts of fraud for its

failure to disclose the Delta Ignition Switch Defect. New GM committed both criminal and civil

fraud and, as set forth in this Complaint, did not act alone.

           974.   On September 16, 2015, New GM and the Department of Justice entered into a

Deferred Prosecution Agreement (“DPA”). In that agreement, New GM consented to the filing

of an Information charging it with a scheme to conceal a deadly safety defect from its U.S.

Regulator in violation of 18 U.S.C. § 1001, and committing wire fraud in violation of 18 U.S.C.

§ 1343.

           975.   As part of the DPA, New GM agreed to a Statement of Facts as being “true and

accurate.”360

           976.   The following agreed facts are relevant to the mail and wire fraud allegations, and

the other causes of action, pleaded in this Complaint:361

                           2.     At all times relevant to this Statement of Facts, GM
                  designed, manufactured, assembled, and sold Chevrolet brand
                  vehicles. From the earliest date relevant to this Statement of Facts
                  until in or about 2010, GM designed, manufactured, assembled,
                  and sold Pontiac brand vehicles. From the earliest date relevant to
                  this Statement of Facts until in or about 2009, GM designed,
                  manufactured, assembled, and sold Saturn brand vehicles. And
                  from the earliest date relevant to this Statement of Facts until in or

     360
           See Deferred Prosecution Agreement, p. 2, ¶ 2.
     361
        The term “GM” appears in the Statement of Facts agreed to and admitted by New GM.
The term refers to New GM with respect to all incidents that occurred on or after July 10, 2009.
With respect to events that occurred prior to that point, the allegations are relevant to the
Plaintiffs’ claims here because New GM was aware of them from the date of its inception given
that the same personnel involved in and/or with knowledge of those events transferred to New
GM, along with documents reflecting all the events related in the Statement of Facts.



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                  about the spring of 2013, GM promoted sales of “pre-owned” (i.e.,
                  used) Chevrolet, Pontiac, and Saturn brand vehicles by GM
                  dealerships nationwide.

                          3.      As set forth in more detail below, from in or about
                  the spring of 2012 through in or about February 2014, GM failed
                  to disclose a deadly safety defect to its U.S. regulator, the National
                  Highway Traffic Safety Administration (“NHTSA”). It also
                  falsely represented to consumers that vehicles containing the defect
                  posed no safety concern.

                         7.      From approximately the spring of 2012, certain GM
                  personnel knew that the Defective Switch presented a safety defect
                  because it could cause airbag non-deployment associated with
                  death and serious injury.

                          8.     Yet not until approximately 20 months later, in
                  February 2014, did GM first notify NHTSA and the public of the
                  connection between the Defective Switch and fatal airbag non-
                  deployment incidents. This announcement accompanied an initial
                  recall of approximately 700,000 vehicles—a population that
                  would, by March 2014, grow to more than 2 million.

                          9.     Inside GM, certain personnel responsible for
                  shepherding safety defects through GM’s internal recall process
                  delayed this recall until GM could fully package, present, explain,
                  and handle the deadly problem, taking affirmative steps to keep the
                  Defective Switch matter outside the normal process. On at least
                  two occasions while the Defective Switch condition was well
                  known by some within GM but not disclosed to the public or
                  NHTSA, certain GM personnel made incomplete and therefore
                  misleading presentations to NHTSA assuring the regulator that
                  GM would and did act promptly, effectively, and in accordance
                  with its formal recall policy to respond to safety problems—
                  including airbag-related safety defects.

                            10.    Moreover, for much of the period during which GM
                  failed to disclose this safety defect, it not only failed to correct its
                  June 2005 assurance that the Defective Switch posed no safety
                  concern but also actively touted the reliability and safety of cars
                  equipped with the Defective Switch, with a view to promoting
                  sales of used GM cars. Although GM sold no new cars equipped
                  with the Defective Switch during this period, GM dealers were
                  still, from in or about the spring of 2012 through in or about the
                  spring of 2013, selling pre-owned Chevrolet, Pontiac, and Saturn
                  brand cars that would later become subject to the February 2014



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                  recalls. These sales were accompanied by certifications from GM,
                  assuring the unwitting consumers that the vehicles’ components,
                  including their ignition systems and keys, met all safety standards.

                         11.    After the spring of 2012 but before the recall was
                  announced, the fifteenth Company-acknowledged death associated
                  with the Defective Switch occurred.

                           44.     As noted, the too-easy movement of the Defective
                  Switch from the Run to the Accessory or Off position resulted in
                  an unexpected shutoff of the engine and—as both the February
                  2005 Preliminary Information and the 2005 Service Bulletin
                  properly described—a “loss of electrical system[s].” These
                  electrical systems included power steering and power brakes.
                  They also included the sensing diagnostic module or “SDM,”
                  which controlled airbag deployment. Internal GM documents
                  reflect that although the impact of an engine shutoff on the SDM
                  was not on GM engineers’ minds, certain employees within GM
                  understood no later than 2001 the natural connection between a
                  loss of electrical systems and non-deployment of airbags: if the
                  ignition switch turned to Off or Accessory, the SDM would
                  “drop,” and the airbags would therefore be disabled. If a crash
                  then ensued, neither the driver nor any passengers could have the
                  protection of an airbag.

                          45.     And, indeed, the deadly effects of the Defective
                  Switch on airbag non-deployment began manifesting themselves
                  early on, in crashes about which GM was made aware
                  contemporaneously. In July 2004, the 37 year-old driver of a 2004
                  Ion, a mother of three children and two step-children, died in a
                  crash after her airbags failed to deploy. A few months later, in
                  November 2004, the passenger of a 2004 Ion died in another crash
                  where the airbags failed to deploy. The driver was charged with,
                  and ultimately pled guilty to, negligent homicide. Then, in June
                  2005, a 40-year-old man suffered serious injuries after his 2005
                  Ion crashed and the airbags failed to deploy.

                         46.     For each of these Ion crashes in which the subject
                  vehicles evidently lost power before impact, the SDM data
                  recovered from the crashed vehicles was unilluminating. Unlike
                  the SDM installed in the Cobalt, the Ion’s SDM was incapable of
                  recording data—including power mode status—after the vehicle
                  had lost power.




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                         47.    The Cobalt SDM data, by contrast, reflected a
                  number of non-deployments accompanied by a power mode status
                  recording of Accessory or Off.

                          48.     In July 2005, just months after GM closed its first
                  engineering inquiry into the Defective Switch, a 16-year-old driver
                  died in Maryland when the airbags in her 2005 Cobalt failed to
                  deploy. The power mode status recorded for that vehicle at the
                  time of the crash was Accessory.

                          49.     In October 2006, two more teenagers died, also in a
                  2005 Cobalt, in Wisconsin. The airbags in the vehicle failed to
                  deploy when they should have, and the police officer who
                  examined the crashed vehicle noted in a February 2007 report on
                  the incident that the ignition switch “appeared to have been in the
                  accessory position … preventing the airbags from deploying.” An
                  April 2007 report about the same crash by Indiana University
                  likewise posited that the airbags had failed to deploy because the
                  key was in the Accessory position. This report even specifically
                  referenced the October 2006 version of the 2005 Service Bulletin,
                  which described the Defective Switch.

                          50.     In the spring of 2007, NHTSA approached certain
                  GM personnel to express concern about a high number of airbag
                  non-deployment complaints in Cobalts and Ions, and to ask
                  questions about the July 2005 Cobalt crash resulting in the death of
                  the 16-year-old girl. Around this same time, and as a result of
                  NHTSA’s inquiries, a GM field performance assessment engineer
                  with expertise in airbags who worked principally with GM lawyers
                  (the “Airbag FPA Engineer”) began, at the request of his
                  supervisors, to track reports of crashes in Cobalts where the
                  airbags failed to deploy. And, in May 2007, the PI group even
                  placed the issue of Cobalt airbag non-deployment into the first
                  stage of GM’s recall process, the ISR. But the PI group, under the
                  supervision of the PI Senior Manager, conducted no follow-up at
                  the time.

                         51.     In September 2008, another crash, this one
                  involving a 2006 Cobalt, killed two people. The airbags failed to
                  deploy when they should have. GM sent the crashed car’s SDM to
                  the Company’s SDM supplier for examination. In May 2009, the
                  SDM supplier reported that the power mode status was at one point
                  during the crash recorded as Off, and that this was one of two
                  possible explanations for the failure of the airbags to deploy. This
                  report was provided in writing, but also in person, at a meeting
                  attended by several GM employees—including a member of the PI



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                  group, in-house counsel, and the Airbag FPA Engineer who had
                  been tracking the Cobalt non-deploy incidents.

                          52.     In April 2009, a 73-year-old grandmother and her
                  13-year-old granddaughter were killed in rural Pennsylvania in a
                  crash when the ignition switch in the grandmother’s 2005 Cobalt
                  slipped into the Accessory position, thereby disabling the frontal
                  airbags and preventing their deployment. The grandmother and
                  her 13-year-old granddaughter, who was in the front passenger
                  seat, both died at the scene. A 12-month-old great grandson, the
                  sole survivor, was paralyzed from the waist down. He was
                  hospitalized for 33 days following the crash.

                          53.     In December 2009, a 35-year-old Virginia woman
                  crashed her 2005 Cobalt, sustaining serious head injuries and rib
                  fractures (hereinafter, the “Virginia Crash”). The airbags failed to
                  deploy, and, as the Airbag FPA Engineer noted, the power mode at
                  the time of the crash was recorded as Accessory.

                         54.      Two weeks later, a 25-year-old nursing student died
                  in Tennessee following a head-on collision in her 2006 Cobalt
                  (hereinafter, the “Tennessee Crash”). Again, the airbags failed to
                  deploy when they should have, and the power mode status was
                  recorded as Off at the time of the crash.

                          55.    In March 2010, a 29 year-old woman was killed in
                  Georgia after her 2005 Cobalt crashed (hereinafter, the “Georgia
                  Crash”). Although there was no allegation that the frontal airbag
                  should have deployed, there was an allegation that loss of power
                  steering caused the crash. The SDM from the vehicle showed that
                  the power mode status was recorded as Accessory at the time of
                  the crash.

                          56.      Notably, just nine days before the Georgia Crash,
                  GM had conducted a safety recall for a power steering problem in
                  the Cobalt unrelated to the Defective Switch, in which it
                  acknowledged that loss of power steering, standing alone,
                  constituted a “defect … relate[d] to motor vehicle safety” and thus
                  warranted recall action. The Defective Switch, of course, caused
                  more than just loss of power steering; it also caused loss of other
                  electrical systems. This was known by many within GM by no
                  later than 2004—even if they did not appreciate precisely what
                  electrical, system components were affected (e.g., the airbag
                  SDM). Yet at no time before February 2014 did GM announce a
                  recall for cars associated with the Defective Switch.




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                          57.    Many of the deaths and serious injuries associated
                  with airbag non-deployment discussed in the foregoing paragraphs
                  became the subject of legal claims—formal and informal—against
                  GM. Certain GM lawyers, aided by the Airbag FPA Engineer and
                  others like him who assisted in evaluating causes of crashes,
                  realized by no later than early 2011 that a number of these non-
                  deployment cases involved some sort of “anomaly” in the ignition
                  switch. Specifically, in connection with the Tennessee Crash,
                  discussed above, a GM engineer explained to legal staff that when
                  the ignition switch power mode status is in Off (as it was in that
                  case), the SDM “powers down,” and the airbags fail to deploy.
                  The engineer further opined that the “a crash sensing system
                  ‘anomaly”’ resulting in a power mode status of Off had indeed
                  caused non-deployment in the Tennessee Crash case.

                          60.     Meanwhile, the GM attorney principally responsible
                  for airbag non-deployment claims (the “GM Airbag Attorney”),
                  who had become familiar with a number of Cobalt non-
                  deployment incidents, grew concerned that the “anomaly”
                  identified in these cases was getting insufficient attention from the
                  PI group, which was supposed to investigate and work toward
                  remedying safety problems with cars on the road. At the time, no
                  one within GM had yet sourced the “anomaly” to the Defective
                  Switch’s torque.

                          61.    Certain members of the legal department took the
                  unusual step of arranging a meeting with PI. The meeting, which
                  took place on July 27, 2011, was attended not just by the PI Senior
                  Manager, who ran the PI group on a day-to-day basis, but also by
                  his boss, the GM Director of Product Investigations (the “GM
                  Safety Director”). Also present were the Airbag FPA Engineer,
                  the GM Airbag Attorney, and the GM Safety Attorney. In advance
                  of the meeting, the PI Senior Manager wrote to a colleague that the
                  Cobalt airbag non-deployment problem was “ugly” and would
                  make for “a difficult investigation.”

                         62.     At the July 27, 2011 meeting, the Airbag FPA
                  Engineer showed photographs of three of the most serious non-
                  deployment crashes he had seen involving Cobalts, including
                  photographs of the Tennessee Crash, and specifically highlighted
                  his observations that many of these Cobalt non-deployment crashes
                  had occurred while the power mode was in Accessory or Off.

                         64.    One of the first steps the PI Investigator took, in or
                  about August 2011, was to gather learning and materials from the
                  Airbag FPA Engineer who had been tracking non-deployment



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                  incidents in Cobalts since 2007, and who had been involved in
                  evaluating a number of crashes that were the subject of Cobalt
                  non-deployment legal claims. The Airbag FPA Engineer
                  explained to the PI Investigator that he had observed that in some
                  of these cases the power mode was recorded as either Accessory or
                  Off at the time of the subject crashes. The Airbag FPA Engineer
                  further noted that the non-deployment problem appeared to be
                  limited to 2005-2007 model years of the Cobalt and appeared not
                  to affect model years 2008 and later.

                         65.      By March 2012, more than six months after he had
                  been assigned to the matter, the PI Investigator had done little to
                  advance the investigation. The GM Airbag Attorney called
                  another meeting with PI for March 15, 2012. Attendees at this
                  meeting included the GM Safety Attorney, the GM Airbag
                  Attorney, the GM Safety Director, the PI Investigator, the PI
                  Senior Manager, and the Airbag FPA Engineer. During the
                  meeting, the PI Investigator complained that he needed more
                  support from GM’s electrical engineering group to investigate a
                  potential electrical (as opposed to mechanical) explanation for the
                  Accessory and Off power mode recordings in many of the subject
                  crashes.

                          70.    In an April 23, 2012 email responding to a query
                  about an ignition switch turning too easily from Run to Off, the PI
                  Senior Manager wrote to colleagues claiming—inexplicably—that
                  he had “not heard of” complaints about low torque in the “Cobalt
                  or other models” since 2005, when the first PI examination was
                  conducted and closed with the issuance of the 2005 Service
                  Bulletin. The PI Investigator, meanwhile, pressed electrical
                  engineers to continue to look into other possible causes of non-
                  deployment, beyond the low torque problem.

                          71.     No one from PI ushered the matter into the first
                  stage of the formal recall process, the ISR, at this time. This
                  approach represented a stark contrast even to the way in which the
                  Defective Switch itself had been handled in 2005. Back then,
                  before the dangerous connection to airbag non-deployment had
                  been drawn, PI had promptly introduced the matter into the ISR.

                          72.    In May 2012, the GM Safety Attorney asked a GM
                  Vice President to act as an “Executive Champion” in order to
                  propel the matter forward. During the first meeting chaired by this
                  Executive Champion, on May 15, 2012, the GM Electrical
                  Engineer presented his view that the Defective Switch was the
                  cause of non-deployment in the affected Cobalt models. Those in



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                  attendance included the GM Safety Attorney, the GM Safety
                  Director, the PI Senior Manager, the PI Investigator, and others.
                  The Executive Champion encouraged confirmation of this
                  hypothesis through more scientific study.

                          73.    Days later, on May 22, 2012, such confirmation was
                  obtained. The GM Electrical Engineer, the PI Investigator, and
                  others traveled once more to an auto salvage yard and, using
                  equipment much more sophisticated than fish scales, conducted a
                  thorough study of torque in the ignition switches of several model
                  years of Cobalt, Ion, and other cars. The results confirmed that the
                  majority of vehicles from model years 2003 through 2007
                  exhibited torque performance below the Torque Specification that
                  GM had adopted in 2001. They also showed that starting
                  somewhere in model year 2007 (that is, for vehicles produced at
                  some point in 2006), the torque values were higher and within
                  specification.

                          74.     The observed discrepancy was, of course, due to the
                  ignition switch part change that the Switch DRE had ordered in
                  April 2006. But neither anyone from PI nor others working on the
                  airbag non-deployment investigation in the spring of 2012 knew
                  yet about that change; the part number was the same for the
                  Defective Switch and the new one. Indeed, when the PI
                  Investigator asked the Switch DRE in early 2012 to detail any
                  changes that might account for the discrepancy observed at the
                  salvage yard, the Switch DRE denied any of relevance. This was
                  baffling to the PI Investigator and others.

                          75.     Still, the engineers involved knew that studied cars
                  built before a certain point in 2006 were equipped with low-torque
                  ignition switches, and that low torque in an ignition switch could
                  result in airbag non-deployment. At this time, no further
                  engineering tests were conducted to explore any other purported
                  root cause of the observed non-deployment pattern or to compare
                  the 2005 through 2007 model year Cobalt ignition switches with
                  those of later model years.

                          76.     On June 12, 2012, three weeks after the May 2012
                  salvage yard expedition, an expert retained by the Virginia Crash
                  plaintiffs issued a report. Noting both the 2005 Service Bulletin
                  and the Indiana University study from 2007 that had identified a
                  connection between the Defective Switch and non-deployment of
                  an airbag in a fatal Cobalt crash, the expert opined that the
                  Defective Switch was indeed responsible for non-deployment in
                  the Virginia Crash. In early July, outside counsel for GM



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                  forwarded the Virginia Crash expert’s report to the GM Airbag
                  Attorney. In late July, the GM Airbag Attorney forwarded the
                  Indiana University study to the PI Senior Manager, the GM Safety
                  Attorney, and the Airbag FPA Engineer.

                          77.     At a meeting among GM lawyers in late July 2012
                  in which the Virginia Crash expert’s report was discussed, a newly
                  hired GM attorney asked the group why the Cobalt had not been
                  recalled for the Defective Switch. Those present explained that the
                  engineers had yet to devise a solution to the problem but that
                  engineering was looking into it. The new attorney took from this
                  that the GM legal department had done all it could do.

                          78.      The PI Investigator, the PI Senior Manager, the GM
                  Safety Attorney, the GM Safety Director, and others met at lengthy
                  intervals through the summer and fall of 2012 and early 2013 to
                  consider potential solutions and further explore why the defect
                  condition appeared to be limited to earlier model years. As one of
                  the several Executive Champions who would be tasked with
                  overseeing these meetings from early 2012 through 2013 has
                  explained, the purpose of the meetings was not to identify the root
                  cause of the problem, which had by approximately the spring of
                  2012 been traced to the Defective Switch, but rather to develop the
                  optimal remedy for the defect condition and set with precision the
                  scope of the anticipated recall. Certain GM personnel wanted to be
                  sure that the fix adopted for the problem would be affordable and
                  yet appeal to consumers; that GM would have sufficient parts on
                  hand to address the recall; and that GM representatives would be
                  able to fully articulate to NHTSA and the public a “complete root
                  cause” accounting for the discrepancy between the earlier and later
                  vehicle populations.

                          79.    At the same time, the manner in which the
                  responsible GM personnel were approaching the Defective Switch
                  and its deadly consequences in 2012 contrasted with the picture the
                  Company was presenting to NHTSA about its recall process.

                          80.     On October 22, 2012, certain GM personnel,
                  including the GM Safety Director, met with NHTSA officials in
                  Washington, D.C., and gave a description of the Company’s recall
                  process intended to assure the regulator that safety issues were
                  routinely addressed in a methodical and efficient fashion. The
                  presentation, which touted a “common global process” with
                  “standard work templates,” explained that the first step toward
                  potential recall involved investigation by PI of the suspected safety
                  problem. Then, according to the presentation, the matter would be



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                  placed promptly into the FPE process, which was controlled not by
                  engineers but by personnel in charge of Quality. At this stage, GM
                  further explained, the FPET would consider the logistics of
                  implementing the proposed recall or other contemplated action; the
                  FPERC would recommend the particular field action to be taken
                  (recall or, for example, a customer advisory); and, in short order
                  thereafter, the EFADC would either make the final decision
                  concerning that recommended field action or order “further study.”
                  According to individuals who attended this meeting and others in
                  2012 and 2013, GM gave the impression that its recall process was
                  linear, robust, uniform, and prompt.

                          81.      To the extent this presentation may have accurately
                  described GM’s general recall process and handling of other
                  defects, it did not accurately describe GM’s handling of the
                  Defective Switch (about which NHTSA would remain unaware
                  until 2014). By approximately five months prior to this
                  presentation, certain GM personnel had identified what they knew
                  to be a dangerous safety defect and had not started it into the first
                  phase of the recall process.

                          82.     By early 2013, the Defective Switch still had not
                  been introduced into the FPE process. GM was exploring optimal
                  remedies and trying to understand why the defect appeared to
                  affect only a limited population. Those involved remained
                  unaware of the part change that the Switch DRE had made back in
                  April 2006—the change that explained why cars built after around
                  late 2006 seemed not to be affected.

                          83.     Meanwhile, during this same period, GM lawyers
                  were engaged in heavy litigation related to the Georgia Crash,
                  referenced above. The Georgia Crash plaintiffs’ attorney had
                  learned about the 2005 Service Bulletin, and had developed a
                  theory that the Defective Switch caused the driver to lose control
                  of her vehicle. The attorney was seeking discovery related to the
                  bulletin and the Defective Switch more generally. He was also
                  asking about any design changes that had been made to the switch.

                         84.    GM denied that any such design changes had been
                  made that would affect the amount of torque it takes to move the
                  key from Run to Accessory.

                          85.      Then, on April 29, 2013, the Georgia Crash
                  plaintiffs’ attorney took the deposition of the Switch DRE. During
                  that deposition, the plaintiffs’ attorney showed x-ray photographs
                  of the ignition switch from the subject vehicle (the Defective



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                  Switch) and another switch from a later model year Cobalt (one
                  installed after implementation of the Switch DRE’s April 2006 part
                  change directive). The photographs showed that the detent plunger
                  in the Georgia Crash car was much shorter—and therefore would
                  have had much lower torque performance—than the one in the
                  later model year Cobalt. The Switch DRE, confronted with these
                  photographs, continued to deny knowledge of any change to the
                  switch that would have accounted for this difference.

                          86.    But, as the Switch DRE has acknowledged, he knew
                  almost immediately following his deposition that there had been a
                  design change to the switch following production of the model
                  year 2005 Cobalt, and that he must have been the engineer
                  responsible for that design change. He knew as much because, the
                  day after the April 29, 2013 deposition, he personally collected and
                  took apart switches from a 2005 Cobalt and a later model year
                  Cobalt and observed the difference in lengths of their respective
                  detent plungers.

                          87.    The Switch DRE has said that he recalls
                  communicating these observations to his boss and to another
                  supervisor and being advised to let the legal department handle the
                  matter.

                          88.    The GM Safety Attorney learned what transpired
                  during the Switch DRE’s deposition. Having previously received a
                  request from the PI group for retention of an outside expert (the
                  “Switch Expert”) to help determine why the Defective Switch
                  seemed to affect only a limited vehicle population, the GM Safety
                  Attorney, on or about May 2, 2013, authorized retention of the
                  Switch Expert in connection with the Georgia Crash case. The PI
                  Investigator and the PI Senior Manager did not participate in
                  meetings with the Switch Expert until the Switch Expert presented
                  his conclusions following the settlement of the Georgia Crash case.
                  The PI Investigator understood that he was to put his own
                  investigation on hold pending the Switch Expert’s evaluation.

                          89.     Of course, by the time the Switch Expert had been
                  retained, certain GM personnel had already learned from the
                  Georgia Crash plaintiffs’ attorney about the design change to the
                  Defective Switch, and the Switch DRE had already confirmed that
                  the change had in fact occurred. GM thus had an explanation for
                  why the defect condition did not appear to affect cars built after the
                  middle of 2006. And, indeed, some within GM had known for
                  approximately a year that a confirmed population of GM’s
                  compact cars was equipped with the Defective Switch. Yet still



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                  there was no recall; indeed, still there was no move to even place
                  the matter into the FPE process. Instead, GM personnel awaited
                  the study and conclusions of the Switch Expert.

                          90.     Meanwhile, on June 22, 2013, a 23-year-old man
                  was killed in a crash on a highway near Roxton Pond, Quebec after
                  his 2007 Cobalt left the road and ran into some trees. The driver-
                  side airbag in the Cobalt failed to deploy. The power mode status
                  was recorded as Accessory.

                          91.      By July 2013, the Switch Expert had confirmed
                  what the Georgia Crash plaintiffs’ expert and the Switch DRE had
                  known since no later than April 2013: Cobalts from model years
                  2008 through 2010 had longer detent plungers and springs than
                  those from model years 2005 and 2006. GM’s outside counsel in
                  the Georgia Crash case urged GM in-house lawyers to settle it:
                  “[T]here is little doubt that a jury here will find that the ignition
                  switch used on [the Georgia Crash car] was defective and
                  unreasonably dangerous, and that it did not meet GM’s own torque
                  specifications. In addition, the [engineering inquiry documents
                  about the Defective Switch from 2004 and 2005] and the on-going
                  FPE investigation have enabled plaintiffs’ counsel to develop a
                  record from which he can compellingly argue that GM has known
                  about this safety defect from the time the first 2005 Cobalts rolled
                  off the assembly line and essentially has done nothing to correct
                  the problem for the last nine years.”

                          92.    GM followed its outside counsel’s advice and
                  settled the Georgia Crash case at the end of August 2013, agreeing
                  to pay $5 million.

                         93.    Then, in late October 2013, GM received
                  documentary confirmation from the Switch Supplier that the
                  Switch DRE had in fact directed a part change to fix the Defective
                  Switch in April 2006. This evidence further showed that the part
                  was changed without a corresponding change to the part number.

                          94.     Only at this point did GM finally place the
                  Defective Switch matter into the formal FPE process. An ISR was
                  scheduled for November 5, 2013. Meanwhile, on October 30, the
                  PI Investigator, who was by now back working on the matter and
                  helping to lay the practical groundwork for a recall, asked an
                  employee in charge of ordering vehicle parts what the costs of new
                  ignition switch components would be for the 2005 through 2007
                  Cobalts.




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                          95.      On July 23, 2013, one day after GM’s outside
                  counsel had advised GM to settle the Georgia Crash case and noted
                  that plaintiffs’ counsel could make a “compelling” argument that
                  GM “essentially has done nothing to correct” the Defective Switch
                  “for the last nine years,” the GM Safety Director received an email
                  from NHTSA’s Director of Defects Investigation accusing GM of
                  being “slow to communicate” and “slow to act” in the face of
                  safety defects—including defects unrelated to the Defective Switch
                  (about which NHTSA remained unaware) but related to non-
                  deployment of airbags.

                         96.     Two days later, certain GM personnel, including the
                  GM Safety Director, met with NHTSA to try to quell the agency’s
                  concerns. According to notes taken by the GM Safety Director at
                  that meeting, NHTSA agreed with GM that the Company appeared
                  to have a “robust and rigorous process” for evaluating and
                  addressing safety issues, but worried that it “tend[ed] to focus on
                  proving the issue [wa]s not a safety defect.”

                          97.     On November 7, 2013, two days after the ISR
                  concerning the Defective Switch, certain GM personnel met again
                  with NHTSA, this time to give a more in-depth presentation
                  targeted at assuring the regulator that GM was “responsive” and
                  “customer focused” when it came to safety concerns. Although the
                  presentation did not specifically address the Defective Switch-
                  related airbag non-deployment problem—which, having just
                  entered the recall process within GM, remained unknown to
                  NHTSA—it did address concerns related to airbag non-
                  deployment more generally.

                          98.     First, certain GM personnel showed NHTSA slides
                  that touted the increasing swiftness with which GM had addressed
                  safety defects from 2008 through 2012. One graph reflected that
                  the average time taken from identification of the issue through to
                  execution of the recall was 160 days in 2008 and 84 days in 2012.
                  It further showed that the average time an issue remained in the
                  “pre-FPE” stage was 105 days in 2008 and 33 days in 2012. And
                  the average number of days between entry into the FPE process
                  and recall decision was 15 days in 2008 and 13 days in 2012.

                          99.    Other portions of GM’s presentation suggested that
                  any airbag defect that presented with a failure to warn the driver
                  and/or certain other aggravating factors would be recalled swiftly.

                          108. On January 31, the voting members agreed that a
                  recall of the affected model year Cobalts, G5s, and Pursuits was



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                  warranted. On February 7, 2014, GM announced the recall to the
                  public and NHTSA.

                          109. Although other models—the Ion, most notably—
                  were likewise equipped with the Defective Switch, these were not
                  recalled on February 7. The stated reasons for not including these
                  other models varied. Some believed there were differences in
                  electronic architecture and physical switch placement between the
                  unrecalled cars and the recalled cars, such that the risk of switch
                  movement and/or airbag non-deployment was reduced. Others
                  cited an error by the PI Investigator in collecting incident data
                  about the Ion, which they said gave the erroneous impression that
                  there was no comparable problem with the Ion.

                          110. In any event, following intense criticism from the
                  press about the limited scope of the February 7 recall, GM held
                  another EFADC meeting on February 24, 2014 to consider the
                  affected model years of the Ion, Sky, HHR, and Solstice. Voting
                  members agreed that the February 7 recall should be expanded to
                  encompass these other models. The next day, GM announced that
                  decision.

                         111. All of the cars subject to the February and March
                  2014 airbag non-deployment recalls were relatively old. GM
                  stopped manufacturing the Ion in 2006; stopped manufacturing the
                  Cobalt, the G5, the Sky, and the Solstice in 2009; and stopped
                  manufacturing the HHR in 2010.

                           112. From in or about the spring of 2012, when certain
                  GM personnel knew that the Defective Switch could cause airbag
                  non-deployment, through at least in or about May of 2013, GM
                  dealerships (which GM had not made aware of the issue) continued
                  to sell “certified pre-owned” cars equipped with the Defective
                  Switch. GM, which profited indirectly from these sales, certified
                  the safety of the vehicles to the public, explaining that the
                  certification process involved testing of over a hundred
                  components, including, specifically, the ignition system.

                           113. But the safety certification was made despite there
                  being no change or alteration to either the ignition switch itself or
                  the accompanying key in these cars. The Defective Switch was
                  left intact and unremedied.

                          114. Approximately 800 consumers purchased certified
                  pre-owned vehicles equipped with the Defective Switch. The GM
                  dealer certifications thus may have caused consumers who relied



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                  on the certifications to buy vehicles that they may incorrectly have
                  believed to be safe.

                          115. As detailed above, starting no later than 2003, GM
                  knowingly manufactured and sold several models of vehicles
                  equipped with the Defective Switch. By approximately the spring
                  of 2012, certain GM personnel knew that the Defective Switch
                  could cause frontal airbag non-deployment in at least some model
                  years of the Cobalt, and were aware of several fatal incidents and
                  serious injuries that occurred as a result of accidents in which the
                  Defective Switch may have caused or contributed to airbag non-
                  deployment. This knowledge extended well above the ranks of
                  investigating engineers to certain supervisors and attorneys at the
                  Company—including GM’s Safety Director and the GM Safety
                  Attorney. Yet, GM overshot the five-day regulatory reporting
                  requirement for safety defects by approximately 20 months. And
                  throughout this 20-month period, GM failed to correct its 2005
                  statement that the Defective Switch posed no “safety” problem.

         977.     As demonstrated in part in the facts admitted in the Statement of Facts, from the

inception of New GM onwards, New GM conducted an enterprise of associated-in-fact entities

(the “Enterprise”). The Enterprise was designed and conducted to conceal information regarding

the true nature and scope of the defects, particularly the Delta Ignition Switch Defect, from the

public, the federal government and its agencies, its customers, and the owners and lessees of

New GM vehicles and Old GM vehicles; and to simultaneously and affirmatively misrepresent

the safety and quality of New GM vehicles and Old GM vehicles, in order to: (a) fraudulently

induce Plaintiffs and other Class Members to purchase or lease the Defective Vehicles (as

relevant to the period after New GM’s inception only), (b) maintain the brand image of New GM

and the value of New GM cars as well as the value of all Old and New GM vehicles on the road,

and (c) avoid the costs of fixing the defects, undermining New GM’s brand image in Defective

Vehicles owned by Plaintiffs and Class Members.




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         978.     New GM was associated with the illegal Enterprise, and conducted and

participated in the Enterprise’s affairs through a pattern of racketeering activity consisting of

numerous and repeated uses of the interstate mails and wire communications to execute a scheme

to defraud, all in violation of 18 U.S.C. § 1962(c).

         979.     The RICO Enterprise which engaged in, and whose activities affected, interstate

and foreign commerce, is an association-in-fact enterprise within the meaning of 18 U.S.C.

§ 1961(4) and consists of “persons” associated together for the common purpose of employing

the multiple deceptive, abusive, and fraudulent acts described herein.

         980.         The New GM RICO Enterprise is an ongoing organization with an ascertainable

structure, and a framework for making and carrying out decisions, that functions as a continuing

unit with established duties, and that is separate and distinct from the pattern of racketeering

activity in which Enterprise members have engaged and are engaging. The Enterprise was and is

used by New GM as a tool to effectuate the pattern of racketeering activity.

         981.     At all times, the Enterprise consisted of at least New GM, including its senior

lawyers and engineers, ESIS, Inc. (“ESIS”), and King & Spalding LLP (“K&S”) and other

unnamed outside law firms that handled numerous accidents involving the Delta Ignition Switch

and/or defective airbags who knowingly and/or unknowingly joined the Enterprise when each

began representing New GM in matters related to the Delta Ignition Switch Defect, which began

in October 2010, if not before.

         982.     The following persons, and others presently unknown, have been members of and

constitute the association-in-fact RICO Enterprise (“Enterprise Members”):

                  a.        New GM: New GM’s officers, executives, engineers, and in-house

lawyers collaborated and colluded with each other and with other Enterprise Members to




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actively conceal the nature of the defects, thereby inducing Plaintiffs and Class Members

to purchase or lease Defective Vehicles (as relevant to the time period after New GM’s

inception), and avoiding the responsibility and economic costs to fix or replace the

Defective Vehicles already in Class Members’ possession. This collusion also caused

members of the Class to retain Defective Vehicles even if they purchased them prior to

New GM’s existence.

                  b.    King & Spalding: K&S is a law firm that employs hundreds of

attorneys in more than one dozen offices worldwide.362 During the duration of the

Enterprise, K&S was retained by New GM to defend lawsuits and other claims involving

the defects in Old GM vehicles. During that period, K&S knowingly or unknowingly

collaborated with New GM and ESIS to fraudulently conceal information about the

defects—particularly the Delta Ignition Switch Defect—from litigants and the public.

The scheme was furthered by New GM’s counsel K&S, as well as New GM’s

communications with litigants, courts, and consumers.

                  c.    Unnamed Law Firms: Unnamed Law Firms that handled lawsuits

involving accidents and injuries caused by the defective Delta Ignition Switch and/or

defective airbags. During their involvement, these unnamed firms either knowingly or

unknowingly aided New GM’s scheme to hide the defects from the public.

                  d.    ESIS: ESIS is a company that offers “risk management products

and services.”363 It is a part of the Ace Group, headed by ACE Limited, and is separate




    362
          http://www.kslaw.com/About-Us.
    363
          http://www.acegroup.com/esis-en/about-esis/.



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and distinct from the other Enterprise constituents.364 During the duration of the

Enterprise, ESIS served as New GM’s claims administrator, routinely investigating,

analyzing, and resolving claims involving defects in New and Old GM vehicles,

including the defects alleged herein. Product liability claims forwarded to ESIS for

investigation and review included, among others, those involving personal injury,

fatalities, and property damage. ESIS knowingly collaborated with New GM and K&S in

a scheme to fraudulently conceal information about the defects from claimants, the

government and its agencies, and the public, which was furthered by ESIS’ mailings and

wire communications with the Enterprise and claimants.

          983.    ESIS was at all relevant times well aware of the Delta Ignition Switch Defect by

virtue of its having worked with New GM for years in settling and hiding defect claims. For

example, ESIS was notified of a June 4, 2010 accident when a customer was driving a Chevy

HHR when “it shut off.” New GM turned the incident over to ESIS.

          984.    In another instance, ESIS was involved in the investigation of a 2006 Cobalt that

lost power and crashed. According to the customer, “the power in my car shut off while I was

driving it.” These are but a few examples of dozens of reports of Delta Ignition Switch defects

that were investigated by New GM and ESIS, and their use of mailings and wires to

communicate information on these defects, all in furtherance of the scheme to conceal

information from regulators and the public.

          985.    The Enterprise, which engaged in, and whose activities affected, interstate and

foreign commerce, is an association-in-fact enterprise within the meaning of 18 U.S.C. § 1961(4)



    364
          Id.



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and consists of “persons” associated together for the common purpose of employing the multiple

deceptive, abusive, and fraudulent acts described herein.

         986.     New GM, ESIS, K&S, and the unnamed law firms were entities separate and

distinct from each other and from the Enterprise. All of the Enterprise constituents are

independent legal entities with the authority and responsibility to act independently of the

Enterprise and of the other Enterprise members. K&S and the unnamed law firms are governed

by rules of professional conduct that require they maintain professional independence from

clients and to avoid furthering wrongdoing by clients.

         987.     The members of the Enterprise all had a common purpose: to misrepresent the

safety and quality of New GM vehicles and Old GM vehicles and/or to conceal information

regarding the nature and scope of the defects, particularly the Delta Ignition Switch Defect, from

the government, its agencies, the public, and the Class. For New GM, the purpose of the scheme

to defraud was to conceal the true scope and nature of the defects in order to sell and lease more

vehicles, maintain the value of existing vehicles, and avoid incurring the cost and responsibility

of repairing or replacing Defective Vehicles. By concealing the scope and nature of the defects,

New GM maintained and boosted consumer confidence in the New GM brand, maintained the

sales price of New GM vehicles and the value of used New GM and Old GM vehicles, sold more

New GM vehicles and Certified Pre-Owned vehicles, and avoided remediation costs and

negative publicity associated with the defects and recalls. New GM has admitted its intent with

respect to concealing the Delta Ignition Switch defect in the Deferred Prosecution Agreement

Statement of Facts where, for example, New GM admitted that it “delayed” the recall “until

[New] GM could fully package, present, explain and handle the deadly problem” such that




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certain insiders at New GM kept the Delta Ignition Switch issue “outside the normal process.”365

New GM’s motive and scheme is further revealed by its admission that it delayed disclosure

until the fix “would be affordable.”366

           988.    Alternatively, each of the members of the Enterprise, if they did not knowingly

join in New GM’s purpose, aided New GM in its accomplishment of New GM’s scheme to

conceal the Delta Ignition Switch Defect.

           989.    Each member of the Enterprise benefited from the common purpose, knowingly

or unknowingly facilitating New GM’s scheme: New GM sold or leased Defective Vehicles

after New GM was created and New GM avoided and deferred the cost and responsibility of

recalling, repairing or replacing Defective Vehicles; K&S, the unnamed law firms and ESIS

secured ongoing business and income from New GM as a result of achieving settlements for

New GM that avoided public disclosure of the Delta Ignition Switch Defect.

C.         Pattern of Racketeering Activity

           990.    As set forth below, New GM conducted and participated in the affairs of the

Enterprise through a pattern of racketeering activity that lasted many years, commencing from on

or shortly after New GM’s inception as an entity in 2009, and continuing through at least mid-

2014. This pattern consisted of numerous and repeated violations of the federal mail and wire

fraud statutes—namely, 18 U.S.C. §§ 1341 and 1343—that prohibit the use of any interstate or

foreign mail or wire facility for the purpose of executing a scheme to defraud. These mailings

and wirings were executed in furtherance of the Enterprise’s scheme to defraud the Class and

caused injury to the property of Class members.

     365
           Statement of Facts, ¶ 9.
     366
           Statement of Facts, ¶ 78.



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         991.     New GM had actual knowledge and intentionally suppressed material information

on the scope and nature of all the defects described in this Complaint, including, but not limited

to, the Delta Ignition Switch Defect. This knowledge and information included both knowledge

that New GM possessed at its inception, and additional information New GM obtained from

complaints and reports it received and internal investigations it conducted after July 10, 2009,

throughout the period encompassed in this Complaint.

         992.     New GM, with the assistance and collaboration of the other persons associated in

fact with the Enterprise, devised and employed a fraudulent scheme to conceal and suppress

knowledge regarding the defects by use of the telephone and internet and transmitted, or caused

to be transmitted, by means of wire communication traveling in interstate or foreign commerce,

writing(s) and/or signal(s), including New GM’s website, Service Bulletins to dealers,

communications with federal regulatory agencies, and communications with other members of

the Enterprise, for the purpose of executing such scheme or artifice to defraud, in violation of 18

U.S.C. §§ 1341 and 1343.

D.       New GM Conducted the Enterprise to Conceal the Nature and Scope of the Defects
         from Litigants, Claimants and Courts, the Public, and the Nationwide Class

         1.       K&S warns New GM of a defect.

         993.     Using the Enterprise, New GM caused to be transmitted interstate

communications by mail and wire in furtherance of the scheme to defraud, sent with the

objective of suppressing safety-related information that emerged in handling litigation and other

claims. This pattern of conduct is exemplified by the Enterprise’s handling of various Delta

Ignition Switch cases, which is detailed herein.




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          994.    GM, K&S, the unnamed law firms, and ESIS were aware of and concealed

multiple incidents of death or injury as a result of the Delta Ignition Switch Defect long before

the recall. Specific cases that New GM, K&S, the unnamed law firms, and ESIS were aware of

that involved the Delta Ignition Switch Defect include: Rademaker, Dunn, Towne, Lambert,

Anderson, Chansuthus, Gemmill, Sullivan, Harding, and Preuss.

          995.    In addition, New GM, K&S, and ESIS were aware of 21 Field Performance

Evaluations concerning the Delta Ignition Switch Defect.

          996.    As part of the Enterprise, in October 2010, K&S attorney Harold Franklin sent a

case evaluation letter to New GM in-house counsel, Jaclyn Palmer, regarding a Not-In-Suit-

Matter (“NISM”) in which K&S represented New GM. The matter involved a 25-year-old

nursing student, Hasaya Chansuthus, who was killed after she lost control of her 2006 Cobalt,

which slammed head-on into a tree without triggering airbag deployment. In this letter, and

another dated November 2, 2010, Franklin attributed the non-deployment to an “anomaly” New

GM had seen in other Cobalt vehicles, and which presented “clear evidence of defect.” Franklin

also noted that New GM’s Kathy Anderson explained to K&S that the anomaly occurred when

Cobalts experience rough conditions that can “bounce” the ignition switch off, power down the

vehicle, and deactivate the airbags.367

          997.    Despite explicitly acknowledging that the “anomaly” was present in other Cobalts

and that it resulted in power loss and airbag non-deployment that could, and did, lead to serious

injuries and fatalities, K&S did not investigate the issue further, or warn consumers and

regulators. Nor did K&S counsel New GM to take any actions to protect consumers.368 From its

    367
          HIGHLY CONFIDENTIAL DOC: GM-MDL2543-000660577.
    368
          HIGHLY CONFIDENTIAL DOC: Id.



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representation of New GM, K&S was aware of New GM’s obligation to report safety defects to

NHTSA and knew that the defect it had discovered while working for New GM was a reportable

event.

          998.    Instead, K&S advised New GM to suppress the facts of the case by quietly

making “every effort [to] . . . settle th[e] claim” confidentially before litigation, especially since,

in K&S’s words, “the facts and circumstances surrounding the investigation into the sensing

‘anomaly’ that may be present in some Cobalts could provide fertile ground for laying the

foundation for an award of punitive damages. . . .”369 This communication furthered the

Enterprise’s fraudulent scheme to conceal information regarding the defect and reflects K&S’s

participation in and complicity with the scheme and its objectives. Because the e-mail was sent

between Franklin in Georgia, and Palmer and ESIS’ Annette Rigdon in Michigan, it serves as a

predicate act in violation of 18 U.S.C. § 1343.

          999.    K&S suspected before a March 10, 2010 inspection of the Chansuthus vehicle

that the accident may have implicated a power steering defect. But because the claimant had not

explicitly alleged a steering defect at that time, K&S chose not to inspect the vehicle for the

“steering defect issue” out of concern that it would put the defect on claimant’s “radar screen.”

When Palmer later proposed the idea of another inspection, K&S noted that a “downside” of

such an inspection was that it could reveal “the steering codes” associated with the defect were in

fact present. In other words, rather than work to uncover and understand dangerous safety

defects, the Enterprise schemed to conceal them. All of this was communicated in an interstate




    369
          HIGHLY CONFIDENTIAL DOC: Id.



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e-mail exchange between Palmer and Franklin, in furtherance of the scheme, and in violation of

18 U.S.C. § 1343.370

          1000. As NHTSA found in a report issued on June 5, 2015, New GM’s outside counsel

knew of the Delta Ignition Switch defect and warned New GM but neither K&S nor New

GM disclosed the defect:371

                  The number of air bag non-deployments grew, and GM faced
                  litigation for air bag nondeployment claims in instances where the
                  air bags inexplicably did not activate. GM was repeatedly
                  warned by in-house and outside counsel that a defect
                  preventing air bag deployment seemed to exist…. [Emphasis
                  added.]

          1001. K&S’s and the unnamed law firms’ culpable participation can also be inferred

from the fact that ABA Model Rule of Professional Conduct 1.2(d) prohibits a lawyer from

engaging in conduct the lawyer knows to be criminal or fraudulent. See Model Rule 1.2(d) (“A

lawyer shall not counsel a client to engage, or assist a client, in conduct that the lawyer knows is

criminal or fraudulent.” (emphasis added)). Further, Model Rule 1.16(a) mandates that an

attorney withdraw from (or decline) representation if the representation will result in a violation

of the rules of professional conduct or other law. Model Rules 1.2(d) and 1.16(a) are not

discretionary. Thus, even if a lawyer chooses to keep confidential the continuing crime or fraud,

he or she may not continue to provide counsel to that client and must withdraw from

representation. See also RESTATEMENT (THIRD) OF THE LAW GOVERNING LAWYERS § 32.

          1002. K&S and the unnamed law firms did neither of these things during their

representation of New GM. The Rules of Professional Conduct make clear how New GM’s



    370
          HIGHLY CONFIDENTIAL DOC: GM-MDL2543-003455136.
    371
          NHTSA’s Path Forward at 7.



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attorneys were required to act when they learned of New GM’s continuing, ongoing fraud:

withdraw from representation. At the very least, Rule 1.2(d) forbade K&S from continuing to

engage in litigation behavior that would allow the fraud to continue. Instead, K&S continued to

advance New GM’s concealment of the defect and to enter into settlement agreements that

required confidentiality while knowing that New GM was obligated to disclose the defect to

NHTSA.

         1003. As K&S recognized, a jury would understand New GM’s refusal to address a

known safety issue, including through a “recall and design change,” to be intentional conduct

that would subject New GM to punitive damages. Knowing this, New GM repeatedly entered

secret settlements of Delta Ignition Switch Defect claims for the express purpose of preventing

evidence of the defect—including New GM’s long-running knowledge of the defect and the real

danger it posed—from being exposed. Indeed, New GM had a pattern and practice of

confidentially settling the K&S cases and others—at least 21 cases in total—to avoid the punitive

damages that would result from disclosure of the fact that New GM had known for years that the

Delta Ignition Switch posed a widespread safety hazard affecting all 2005-2007 Cobalts (and

several other models with the same Delta Ignition Switch), and to keep the defect hidden. New

GM’s conduct and K&S’s legal services in furtherance thereof (not to mention the dire

consequences for crash victims) were hardly “routine” or “unremarkable.”

         2.       New GM and K&S knew years before the recall that a safety defect existed in
                  model year 2005-2007 Cobalts.

         1004. New GM lawyers, including its outside counsel, K&S, and the unnamed law

firms, knew years before the 2014 recall that a pattern of crashes involving airbag non-

deployment and loss of power in model year 2005-2007 Cobalts was related to an ignition switch




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“anomaly” (a euphemism for “defect”) that was causing serious injuries and deaths. Moreover,

through their cumulative knowledge of the defect, developed over a number of years and by

virtue of repeated crashes involving cars with ignitions in the “accessory” or “off” position, New

GM, K&S, ESIS, and the unnamed law firms, knew long before the recall both that the defect

existed across 2005-2007 Cobalts and what was causing it. More specifically, New GM lawyers

knew:

                  x    By June 2009, that enough evidence of an ignition switch defect existed to
                       require Old GM “under the Safety Act, to conduct a recall of the affected
                       vehicles,” i.e., those with the Delta Ignition Switch Defect.372

                  x    By October 7, 2010, that (a) there was an “anomaly” in the ignition switch
                       of 2005-2007 model year Cobalt vehicles that prevented airbag deployment,
                       (b) the “anomaly” likely caused the non-deployment in the deadly
                       Chansuthus crash, and (c) New GM’s knowledge and investigation of the
                       so-called “anomaly” in multiple vehicles would provide “fertile ground” for
                       an “award of punitive damages, resulting in a significantly larger verdict.”

                  x    By November 2, 2010, that the ignition switch “anomaly” presented “clear
                       evidence of a defect.”

                  x    By July 26, 2011, that the “anomaly” caused the ignition switch to move
                       from “run” to “accessory” mode and New GM engineers could not rule out
                       the “anomaly” as the cause of non-deployment in the Sullivan crash.

                  x    By July 27, 2011 (at the very latest), that (a) the pattern of Cobalt non-
                       deployments was a safety issue, (b) the engineers should not be focused on
                       individual product liability cases, and (c) the “anomaly” was also a factor in,
                       among others, the fatal 2005 Rose crash and 2008 Harding crashes.

                  x    By February 24, 2012, that another deadly crash (Melton) had occurred that
                       fit the pattern of the “anomaly” New GM engineers had identified in model
                       year 2005-2007 Cobalts that “results in the car’s ignition going from the run
                       position to the accessory mode.”

                  x    By March 29, 2012, that Old GM had issued Information Service Bulletin
                       05-02-35-007 (“TSB”), which identified the potential for drivers of the

    372
          In re Motors Liquidation Co., 529 B.R. 510, 557 (S.D.N.Y. Apr. 15, 2015).



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                      affected vehicles to “inadvertently turn off the ignition due to low ignition
                      key cylinder torque/effort,” meaning that ignition switches in all model year
                      2005-2007 Cobalts (and other Defective Vehicles) might inadvertently
                      move from “run” to “accessory” or “off” mode because too little force was
                      required to do so.

                  x   By April 18, 2012, that (a) another Cobalt non-deployment crash (Lambert)
                      was attributed to the ignition switch being in “accessory”, not “run”, at the
                      time of impact, (b) the TSB addressed a “similar problem as that seen in the
                      field where the key in the ignition switch in the 2005 Cobalt could toggle
                      from the Run mode to the Accessory mode by traveling off-road or over
                      rough terrain,” and (c) outside counsel had warned New GM at least four
                      times that the existence of the defect in other vehicles put New GM at risk
                      for punitive damages.

                  x   By May 2012, that the insufficient torque issue identified in the TSB
                      “explain[ed] why frontal air bags did not deploy in crashes in which the car
                      was in accessory mode....,” and torque values for 2005 and 2006 model year
                      Cobalts were noticeably lower than values for 2008-2010 model years.

                  x   By June 12, 2012, that a 2007 Indiana University Study of the deadly 2006
                      Rademaker Cobalt crash attributed non-deployment to the condition
                      identified in the TSB.

                  x   By July 25, 2012, that at least one product liability lawyer with knowledge
                      of the Delta Ignition Switch Defect questioned why New GM had not yet
                      recalled the defective Cobalts.

                  x   By September 2012, that at least 22 crashes involving deaths and injuries
                      were likely attributable to the ignition switch “anomaly.”

                  x   By October 31, 2012, that another Cobalt non-deployment crash (Preuss)
                      was attributed to the ignition switch being in “accessory” mode and that
                      “NHTSA has also commented on the type of situation in a Cobalt.”

                  x   By April 29, 2013, that the Cobalt ignition switch had been changed from
                      2005 to 2008 Cobalts.

                  x   By July 22, 2013, that New GM’s outside expert had confirmed the Melton
                      expert’s analysis revealing that the original equipment switches installed in
                      2005-2007 Cobalts contained a shorter detent plunger and spring than
                      replacement switches for 2005-2007 Cobalts and switches installed in 2008-
                      2010 Cobalts.




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                  x    By July 30, 2013, that New GM’s outside expert had confirmed that the
                       2005 Cobalt ignition switches did not meet GM’s specifications for the force
                       required to move the ignition between “run” and “accessory” position.

          1005. Despite this knowledge, and New GM’s clear and ongoing legal obligation to

notify NHTSA and vehicle owners and purchasers about this known safety defect, New GM did

not recall the defective Delta Ignition Switch Vehicles until February 2014. K&S, ESIS, and the

unnamed law firms knew that New GM had an obligation to report the defect to NHTSA.

          3.      Continued concealment of the defect.

          1006. ESIS also participated and was complicit in this scheme which it, too, furthered

through the use of mail and wire communications. Annette Rigdon of ESIS communicated via

mail, telephone, and e-mail with the estate’s attorneys at the law firm of Butler, Wooten &

Fryhofer, LLP in Georgia, as well as with the estate representatives in Tennessee, in furtherance

of the settlement efforts. This included a check request submitted by Rigdon which caused a

check to be sent via Federal Express from Michigan to Georgia via Tennessee.373 These

communications also constituted predicate violations of 18 U.S.C. §§ 1341 and 1343 and,

coupled with ESIS’ inclusion in the exchange noted above, reflect ESIS’ knowing collusion in

the Enterprise’s scheme.

          1007. The Enterprise engaged in similar racketeering conduct in the case of Bridgette

Sullivan, who lost control of her 2007 Cobalt in February 2011. K&S represented New GM in

this matter as well, and in a July 2011 e-mail to New GM, Palmer again discussed the “anomaly”

mentioned in the Chansuthus matter. He explains that the vehicle was in “accessory” mode, and

that the profile of the crash fit the pattern of the “anomaly” that New GM engineers identified in



    373
          HIGHLY CONFIDENTIAL DOC: GM-MDL2453-00061149.



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Cobalts—that the car was traversing rough terrain, the bounce likely caused the ignition switch

to slip from “run” to “accessory” mode, and the airbag did not deploy.374

          1008. The Enterprise made every effort to settle this case, too. In an April 20, 2012

e-mail, Palmer explained that she had communicated with Rigdon about the Sullivan settlement

offer and had urged K&S to seek the necessary court approval of the minor settlement, because

she did “not want this one to come back somewhere down the line.”375

          1009. The court rejected the original settlement for $8,000, however, and in an April 5,

2013 e-mail, K&S’s Franklin explained to Palmer that “the fact that the vehicle was in accessory

mode provides a[] . . . compelling defect theory . . . that could provide fertile ground for laying a

foundation for a punitives award.” In his e-mail, Franklin recommended increasing the

settlement offer in furtherance of the scheme to conceal the scope of the defect and quell public

disclosure of information regarding the defect.376 The interstate communications regarding this

claim, including the e-mails referenced above, also constitute predicate violations of 18 U.S.C.

§§ 1341 and 1343, and reflect K&S’s knowing collusion in the Enterprise’s scheme.

          1010. The Enterprise continued its pattern of racketeering activity in the handling of the

case of Brooke Melton. As in the matters of Chansuthus, Sullivan, and others, New GM’s

outside counsel—here, K&S—recommended New GM seek early settlement of a suspected

Delta Ignition Switch Defect claim to minimize the exposure that would be created if the defect

were publicly disclosed. In a February 24, 2012 communication sent via U.S. Mail and e-mail,

K&S attorney Franklin explained to New GM attorney Ronald Porter:


    374
          HIGHLY CONFIDENTIAL DOC: GM-MDL2453-00345366.
    375
          HIGHLY CONFIDENTIAL DOC: GM-MDL2453-400258799.
    376
          HIGHLY CONFIDENTIAL DOC: GM-MDL2453-000662287.



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                  [T]hat a jury will almost certainly conclude that the Cobalt’s
                  ignition switch is defective and unreasonably dangerous because
                  the torque effort required to move the key from the run to
                  accessory is too low, which leads to inadvertent key movement and
                  the engine shutting off with little to no warning.377

          1011. Franklin further explained that “the phenomena was identified almost

immediately after the 2005 Cobalt went into production” and “the issue was assessed internally”

in 2005 and “more recently” in connection with non-deployment incidents in 2005-2007 Cobalts.

Given the above, Franklin advised Palmer to “talk settlement sooner rather than later” before the

“thorough” plaintiff’s attorney could develop all the facts of the case.378 This communication,

too, was sent interstate via the mails and wires in furtherance of the fraudulent scheme and in

violation of 18 U.S.C. §§ 1341 and 1343.

          1012. In an April 18, 2012 memorandum, K&S again warned New GM of the

possibility of punitive damages:

                  It will be difficult to explain why the ignition switch toggled to the
                  Accessory Mode simply from running off-road. GM will also be
                  forced to contend with other incidents, some of which resulted in
                  deaths, due to the non-deployment of the frontal airbags in the
                  2005-2007 Cobalt. Those other incidents put GM at risk for
                  imposition of punitive damages in West Virginia.379

          1013. New GM, K&S, and ESIS, in April 2012, in connection with an accident

involving Tonya Lambert, were aware that New GM engineers had concluded that the airbags in

a Cobalt did not deploy because the “Cobalt was in Accessory Mode, not Run Mode at the time

of impact.” Or as stated elsewhere in the report:



    377
          HIGHLY CONFIDENTIAL DOC: GM-MDL2453-300002915.
    378
          HIGHLY CONFIDENTIAL DOC: Id.
    379
          HIGHLY CONFIDENTIAL DOC: GM-MDL2453-000669092.



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                  Since the Cobalt was in the Accessory Mode, instead of Run Mode
                  at the time of the crash, the algorithm that the SDM runs to
                  determine whether to deploy the airbags was disabled. Therefore,
                  the SDM was incapable of deploying the airbags, regardless of the
                  severity of the impact.380

                  Regardless of whether the impact was above the all-fire threshold
                  or not, neither the frontal, nor side impact airbags could deploy
                  because the Cobalt was in Accessory Mode, not Run Mode, at the
                  time of impact.381

          1014. The foregoing paragraphs demonstrate that New GM, New GM’s legal staff, and

K&S knew, but concealed, that in many of the crashes, where the crash recorder indicated that

the ignition switches were in the “run” position, they were actually in “accessory.” By

concealing these findings, New GM, K&S, and ESIS hid from crash victims the fact that their

vehicles’ ignition switches were in the “accessory” position at the time of the accident:

                  The big anomaly was why we had some non-deploys with the
                  SDM recording run position and some that were recorded as
                  accessory. That was confounding for a long time but ultimately it
                  was concluded that in all these events the ignition was actually in
                  accessory position but due to the timing the sampling of data by
                  the SDM some were recorded as the run position because that was
                  the data available to the SDM. I don’t think that was ever proven
                  experimentally but Subbaiah and the in house engineers were
                  confident of the analysis.382

          1015. This ongoing concealment helped continue to hide the Delta Ignition Switch

Defect from discovery.

          1016. In preparing discovery responses in crash cases, and in deciding to conceal

material information by omitting it from production, Enterprise members sent various interstate


    380
          Id. at 000669092.008.
    381
          Id. at 000669092.002.
    382
      GM-MDL2543-000775889. “Subbaiah” is New GM’s outside consultant, Subbaiah
Malladi.



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communications to each other which furthered the fraudulent scheme and violated 18 U.S.C.

§§ 1341 and 1343. For example, in a December 2012 e-mail exchange between Michigan-based

GM attorneys Anneke Shepherd and Ronald Porter and Georgia-based K&S attorney Harold

Franklin, the lawyers discuss whether to produce a Field Performance Evaluation (“FPE”)

related to airbag non-deployment. Notwithstanding New GM and K&S’s knowledge that the

airbag non-deployments at issue in the FPE were directly related to the ignition switch issue

addressed by the Technical Service Bulletin, Franklin ultimately opined that he was

“comfortable with excluding” the FPE from production.383

          4.      ESIS’ awareness of the defect in numerous incidents.

          1017. ESIS was in a central position to receive evidence of the airbag non-deployment

issue and communicate these facts to New GM and, on occasion, K&S and the other unnamed

law firms. A “Discovery Review Report for 2005-2010 Chevrolet Cobalts” reveals

communications of airbag non-deployment regarding:

                  x     An August 2006 incident with a 2005 Cobalt (settled).

                  x     A February 21, 2007 incident with a 2005 Cobalt where
                        K&S was counsel (settled).

                  x     An April 27, 2007 incident in a 2006 Cobalt (settled).

                  x     A December 29, 2006 incident in a 2005 Cobalt (settled).

                  x     A September 9, 2007 incident in a 2007 Cobalt (discussed).

                  x     A June 13, 2008 incident in a 2008 Cobalt (settled).

                  x     A December 13, 2009 incident in a 2005 Cobalt (settled).

                  x     A July 9, 2010 incident in a 2005 Cobalt (settled).


    383
          HIGHLY CONFIDENTIAL DOC: GM-MDL2453-400253332.



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                  x     An April 15, 2012 incident in a 2005 Cobalt (settled).

                  x     A September 26, 2010 incident in a 2006 Cobalt (settled).

          1018. In each of these cases, ESIS used the wire communications and the mails to

communicate with New GM employees, including Jaclyn Palmer, John T. Sprague, and Hamed

Sadrina.

          1019. K&S attorneys regularly used the wires to communicate with ESIS regarding the

Delta Ignition Switch Defect. An example is an August 21, 2013 e-mail between New GM

attorneys Palmer and Porter concerning ESIS data showing a vehicle in an accident was in

“accessory” mode at the time of the accident. The vehicle was a 2005 Cobalt and the airbags did

not deploy. ESIS conducted an investigation of “non-deployment of the driver’s frontal

airbags,” and in doing so used the wires and mails to communicate with New GM and K&S.

          1020. At the time of this exchange, ESIS and K&S knew of the Delta Ignition Switch

Defect and had been exchanging information on the Melton matter as early as March 4, 2011.

          5.      New GM and K&S lied to the Meltons and the court to prevent disclosure of
                  evidence relating to the Delta Ignition Switch Defect in other vehicles.

                  a.    The parents of Jennifer Brooke Melton sought discovery from New
                        GM regarding the Delta Ignition Switch Defect that killed their
                        daughter.

          1021. After a post-crash inspection revealed that Ms. Melton’s ignition switch was in

the “accessory” position, the Meltons sought discovery about the defect identified in a Technical

Service Bulletin. On September 13, 2012, the Melton plaintiffs served their Second Set of

Interrogatories and their Second Request for Production of Documents.384 The Melton Requests


    384
     See GM-MDL2543-000728812 (Plaintiffs’ Second Set of Interrogatories to Defendant
General Motors LLC); GM-MDL2543-000936810 (Plaintiffs’ Second Request for Production of
Documents to Defendant General Motors LLC) (together, the “Melton Requests”).



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sought, inter alia: (a) all documents relating to the Technical Service Bulletin; (b) all documents

relating to “other similar incidents, being identified as incidents which allegedly occurred as a

result of the defective conditions identified in the Technical Service Bulletin” (id. at RFP No. 6);

(c) the identity of, and all documents relating to, “every lawsuit, claim, or complaint that has

been made against GM relating to the Technical Service Bulletin”; and (d) ”[a]ll documents and

materials relating to the design and testing of the ignition switch and key cylinder” in the

affected vehicles (id. at RFP No. 9).

                  b.    New GM and K&S knew that airbag non-deployment in Cobalts was
                        related to the condition identified in the Technical Service Bulletin.

          1022. By September 2012 (when they received the Melton Requests) New GM and

K&S knew that the condition identified in the Technical Service Bulletin explained airbag non-

deployment in incidents where the ignition had moved from “run” to “accessory.”

          1023. On March 29, 2012, Ms. Palmer received the Technical Service Bulletin from

New GM engineer John Sprague.385 Ms. Palmer forwarded the Technical Service Bulletin to

Mr. Porter, who forwarded the Technical Service Bulletin to K&S attorney Mr. Franklin as an

“FYI on Melton.”386

          1024. In an April 2012 case evaluation, New GM’s outside counsel, Eckert Seamans

Cherin & Mellott, LLC, wrote that the front airbags could not deploy because the “Cobalt was in

Accessory Mode, not Run Mode, at the time of impact.”387 New GM’s counsel explicitly

referenced the Technical Service Bulletin as “address[ing] a similar problem as that seen in the

field where the key in the ignition switch in the 2005 Cobalt could toggle from the Run mode to

    385
       GM-MDL2543-400025369.
    386
       Id. Mr. Franklin was also still representing New GM in connection with the Sullivan
NISM at this time.
   387
       Id. at .001.



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the Accessory mode by traveling off-road or over rough terrain.”388 Ms. Palmer, the New GM

in-house attorney responsible for the Lambert (and Chansuthus and Sullivan) matters discussed

the Technical Service Bulletin with the Settlement Roundtable Committee during the

committee’s April 2012 consideration of a possible Lambert settlement.

          1025. In May 2012, New GM engineer Brian Stouffer tested a variety of vehicles

covered by the Technical Service Bulletin to determine the torque required to move the key from

the “run” to “accessory” position. Stouffer concluded “that the condition described in

Information Service Bulletin 05-02-007 [the Technical Service Bulletin] explains why the frontal

air bags did not deploy in crashes in which the car was in accessory mode….”

          1026. On June 12, 2012, the Lambert plaintiffs’ expert, Erin Shipp, submitted a report

that relied on the Technical Service Bulletin in concluding that the airbag non-deployment was

caused by low torque of the ignition switch.389

          1027. On July 25, 2012, Ms. Palmer told the Settlement Roundtable Committee that the

Lambert plaintiffs’ expert “attributed the frontal airbag non deployment to the ignition being in

the Accessory mode, which she relates to the service bulletin involving the potential for the

driver to inadvertently turn off the ignition by contacting a large and/or heavy key chain with the




    388
       Id. at .004. New GM’s outside counsel also attached the TSB as an exhibit to its case
evaluation. Id. at .021.
   389
       See GM-MDL2543-000669158.



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knee.”390 Multiple New GM attorneys attended the Lambert Roundtable, including Ronald C.

Porter—who oversaw discovery in the Melton case.391

                  c.   New GM and K&S told the Meltons and the Court that New GM had
                       no documents regarding other incidents involving the condition
                       identified in the Technical Service Bulletin.

          1028. On January 17, 2013, K&S served New GM’s supplemental responses to the

Melton Requests, telling the Meltons that New GM had not located any documents responsive to

the Melton Requests. For example, New GM and K&S told the Meltons that New GM had no

documents or information about any “other similar incidents, being identified as incidents which

allegedly occurred as a result of the defective conditions identified in the Technical Service

Bulletin”392 or any other “lawsuit, claim or complaint that has been made against GM relating to

the Technical Service Bulletin.”393 K&S attorneys Philip Holladay and Harold Franklin signed

New GM’s January 2013 supplemental discovery responses.394




    390
        See GM-MDL2543-000669168.001 (Settlement Roundtable Case Summary) (noting that
plaintiffs’ expert “attributed the frontal airbag non deployment to the ignition being in the
Accessory mode, which she relates to the service bulletin involving the potential for the driver to
inadvertently turn off the ignition by contacting a large and/or heavy key chain with the knee”);
id. at .002 (discussing the TSB).
    391
        See GM-MDL2543-000919920 (July 24, 2012 email regarding attendees and agenda for
July 25, 2012 Roundtable).
    392
        Supp. RFP Resp. at .007 (New GM found no documents “relating to other similar
incidents, being identified as incidents which allegedly occurred as a result of the defective
conditions identified in the TSB”);
    393
        Id. at .008 (New GM found no documents in response to request seeking documents and
materials “for every lawsuit, claim or complaint that has been made against GM relating to the
TSB”); Rog. Resp. at .003-.004 (GM found no information or documents responsive to
interrogatory seeking the identity of “every lawsuit, claim or complaint that has been made
against GM wherein in was alleged that an injury or death resulted from a problem related to”
the TSB).
    394
        GM-MDL2543-001282913.001 at .013.



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          1029. At a February 7, 2013 motion to compel hearing, Mr. Franklin repeatedly told the

Court that New GM was “not withholding documents that are responsive.”395 Mr. Franklin—

who wrote the Chansuthus and Sullivan case evaluation letters to New GM in 2010 and 2011—

also told the Court that he was personally unaware of any lawsuit or NISM “[s]ince 2005 against

GM with regard to the ignition cutoff.”396

          1030. Mr. Franklin justified New GM’s refusal to produce any responsive documents on

the basis that New GM had run searches for documents that yielded no results.397 New GM and

K&S, however, had crafted the searches to omit responsive documents. Mr. Franklin told the

Court that “[w]e did search for stalling with lawsuits and ‘NISMs’ and there were none that came

back related to this issue.” Yet a search for lawsuits alleging stalling that were related to the

Technical Service Bulletin was unlikely to yield any results because New GM purposefully

omitted the word “stall” from the Technical Service Bulletin in order to downplay the safety risk

associated with loss of power. Moreover, New GM and K&S did not search for lawsuits,

complaints or claims related to airbag non-deployment despite their knowledge that non-

deployment was related to the condition identified in the Technical Service Bulletin.



    395
        GM-MDL2543-300044406 at 300044441; see also id. at 300044445-46 (“And so, Your
Honor, again, it’s not as if we got documents and decided not to produce them.”).
    396
        Id. at 300044471. Moreover, Mr. Franklin later led the Court to believe that he could not
know whether, in fact, other similar incidents or lawsuits existed. Id. at 300044472 (“Your
Honor, with all due respect, I mean, I’m not all-knowing. I’m not at GM I’m not able to query
databases myself.”). But Mr. Franklin did have personal knowledge of other similar incidents or
lawsuits—no database queries needed.
    397
        Id. (“GM has, in fact, produced the documents that it—that resulted from its searches and
has produced them….”); id. at 300044445 (“the results of those searches, nothing came back
with regard to the lawsuit searches in interrogatory number one”); id. at 300044446 (“There were
no documents that resulted from those searches and, again, in terms of the searches, you see
there in GM’s response what it said it would do. We did supplement the response by making it
clear that nothing came back.”).



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         1031. The Court criticized Mr. Franklin’s and New GM’s refusal to say definitively

whether any similar lawsuits existed, noting that New GM’s responses were “written with

ambivalence and ambiguity.” The Court ruled that, rather than relying on search results,

Mr. Franklin needed to speak with a knowledgeable product liability lawyer at New GM to

determine whether or not responsive documents existed. The Court further required New GM

and K&S to give the Meltons unqualified answers to the discovery as written and not hide behind

search-based responses or general objections. The Court warned Mr. Franklin:

                  You’re going to have to say it in a supplemental response…And
                  then be held to the answer…And if you don’t answer again, there
                  might be consequences. So you’ve got to find out the answer.
                  Because you’re representing to the Court that you’ve given every
                  document.

         1032. On February 28, 2013, New GM and K&S sent their second supplemental

responses to the Melton Requests. Those responses relied—as before—on general objections

and searches designed by New GM and K&S to yield incomplete results. And although New

GM expanded its searches somewhat, it still refused to search for other lawsuits, claims, and

complaints related to airbag non-deployment.

                  d.     K&S told one thing to the Court and the opposite to New GM on the
                         same day.

         1033. On July 22, 2013, K&S filed its response to the Melton plaintiffs’ motion for

sanctions against it. That same day, K&S also sent to New GM an updated Melton case

evaluation letter. K&S attorney Philip Holladay signed both documents.

         1034. In its response to the Court, K&S argued that New GM should not be sanctioned

for refusing to produce documents related to airbag non-deployment incidents because such

incidents were purportedly not relevant to the Melton case and not responsive to the Melton




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Requests. New GM and K&S represented to the Court that New GM had “adhered to the

Court’s instruction to expansively and broadly interpret plaintiffs’ discovery requests in

conducting its supplemental searches.”

          1035. At the same time, in a letter to New GM, K&S recognized the relevance and

responsiveness of documents regarding the airbag non-deployment incidents and investigation to

the Melton case. Mr. Holladay wrote:

                  [T]he [Delta Ignition Switch Defect] issue was assessed internally
                  in a series of investigations conducted as part of the Product
                  Resolution Tracking System and ultimately addressed by issuing
                  an Information Service Bulletin in the Fall of 2005 that provided a
                  field service fix for customers who experienced an incident
                  involving inadvertent key movement. More recently, this [same]
                  issue has surfaced again as part of an ongoing FPE investigation
                  into why frontal air bags have not deployed in certain high-speed
                  multiple impact frontal collisions involving 2005-2007 Chevrolet
                  Cobalts. In more than half of those incidents, it appears the reason
                  that the air bag did not deploy was because the car’s ignition was
                  in the accessory rather than the run position. While there is no
                  allegation here that Ms. Melton’s frontal air bags should have
                  deployed, the on-going investigation ties nicely into plaintiffs’
                  expected theme that the original Information Service Bulletin was
                  an inadequate “band-aid fix” for a significant safety issue that
                  should have been addressed through a recall and design change.398




    398
       July 22, 2013 Melton Letter at .002-.003; see also id. at .026 (“the PRTS documents
referenced above and the on-going FPE investigation have enabled plaintiffs’ counsel to develop
a record from which he can compellingly argue that GM has known about this safety defect from
the time the first 2005 Cobalts rolled off the assembly line and essentially has done nothing to
correct the problem for the last nine years. He specifically will criticize GM for not doing more
than implementing the field service campaign back in 2005, and point to GM’s failure to take
any action in the on-going FPE investigation that has now been dragging on for almost two years
as proof positive of GM’s conscience indifference and willful misconduct when it comes to the
safety of its vehicles’ occupants.”).



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New GM attorney Ron Porter also discussed the Cobalt airbag non-deployment incidents and

investigation in his presentation of the Melton case to New GM’s Settlement Review Committee

because airbag non-deployments in Cobalts may be “linked to the ignition switch issue.”399

                  e.   New GM and K&S lied to the court and the Meltons about the
                       relevance of the airbag non-deployment investigation documents.

          1036. After the Meltons filed their motion to compel in December 2012, New GM and

K&S discussed what documents New GM would produce. Brian Stouffer, the New GM

engineer heading the Field Performance Evaluation (“FPE”) charged with assessing whether a

recall was necessary, provided to Porter and K&S lawyer Anneke Shepard “file

materials…relating to [Stouffer’s] work with regard to the Cobalt ignition switch issues for

possible production in the Melton case.”400 Porter told Stouffer that the lawyers needed

Stouffer’s help in understanding the documents and their background so that New GM could

“assert any privileges or other protection from discovery that GM is entitled to.”401 Stouffer told

Shepard that “[t]he airbag investigation has nothing to do with the information bulletin or the

investigation that lead to the information bulletin.”402 Franklin then determined that New GM

should not produce the FPE file.403 By this time, however, Stouffer had already determined that

the condition described in the Technical Service Bulletin was the cause of frontal airbag non-




    399
      GM-MDL2543-000672756.001 at .002 (Aug. 8, 2013 Melton Settlement Review
Committee Case Summary).
  400
      GM-MDL2543-400253332 at 33.
  401
      Id.
  402
      Id. at 32.
    403
       “If the airbag investigation was separate and distinct…from the information bulletin at
issue (and the info bulletin was merely later used by the folks doing the airbag investigation (and
thus included in the airbag investigation file)), I am comfortable excluding it.”



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deployments in crashes in which the vehicle was in the “accessory” position.404 And the

Technical Service Bulletin had already been “made available to in-house and outside counsel.”405

          1037. New GM did not produce the FPE file to the Meltons in response to their

Requests.406 New GM eventually agreed to produce some airbag investigation documents that

one of its experts had viewed prior to his deposition.407 But New GM maintained its position

that all other documents regarding New GM’s airbag investigation were irrelevant to the Melton

case and unresponsive to the Melton Requests.408 New GM and K&S further hid ongoing airbag

investigation documents from discovery in Melton by, inter alia, boxing Stouffer out of meetings

relating to the investigation that he had previously led and hiring an expert consultant to assist

with the ongoing investigation under the guise of work on the Melton case in order to shield

ongoing analyses from discovery under claims of privilege.409


    404
        The Meltons’ counsel told the Court: “The results of this 2005-2006 Cobalt ignition
switch testing is critical evidence. It supports the testimony of Plaintiffs’ expert witnesses that
the low torque from the ignition switch on Brooke Melton’s 2005 Cobalt caused her vehicle to
shut off that evening, resulting in the accident and her death.”
    405
        Valukas Report at pp. 166-67.
    406
        GM-MDL2543-000885044 (Jan. 31, 2013 email from Shepard to Porter and Franklin:
“Please note that we are not referencing the FPE file in the response to this motion [to compel]
because our position is that the file is not responsive to plaintiffs’ requests. . . .”).
    407
        Id. at 89-90.
    408
        Id. at 55-57.
    409
        GM-MDL2543-002288948 at 50 (May 2, 2013 calendar invitation for a May 3, 2013
meeting about “Cobalt Airbag Non-deployments” that includes Stouffer as a required attendee);
GM-MDL2543-000770767.001 (May 3, 2013 email from Porter to GM lawyer Jennifer Sevigny
stating that the invite list for the May 3, 2013 Cobalt airbag non-deployment meeting “is going to
be pared to Kemp, me, Hollady, Subbaiah [Malladi], Gay and you” because “[w]e are very
focused on maintaining work product protection for Subbaiah’s work and because, discovery in
Melton is ongoing, wanted to keep the numbers with knowledge limited”); Valukas Report at
197-98 (“Porter recalled Kemp contacting him in April (when Porter was preparing Stouffer for
his deposition in the [Melton] case), and telling Porter that FPE wanted to hire Malladi, but that
Kemp and Porter ultimately agreed to hire Malladi under the auspices of the [Melton] case to
shield Malladi’s analyses under the work product doctrine.”); id. at 196 (although the FPE team



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                  f.    K&S expected the Melton court to sanction New GM for discovery
                        abuse.

         1038. The Melton court scheduled a hearing on the Meltons’ sanctions motion for

September 16, 2013. K&S “suspect[ed] Judge Tanksley will go into the September 16th hearing

inclined to grant plaintiffs some relief.” New GM settled the Melton I case before the sanctions

motion hearing.410

         6.       New GM and K&S committed other fraudulent litigation misconduct to hide
                  evidence of the Delta Ignition Switch Defect.

         1039. By the end of the April 29, 2013 deposition of Old and New GM engineer Ray

DeGeorgio, New GM and K&S knew that the ignition switch had been changed between 2005

and 2008.411 Within days of the DeGeorgio deposition, New GM and K&S hired expert

Subbaiah Malladi to assist with New GM’s ongoing investigation.412

         1040. Thereafter, the Meltons served their Fifth Request for Production of Documents,

which sought, inter alia, documents relating to “GM’s investigation into the change in the cap

and spring in the 2005 Cobalt ignition switch to the cap and spring in the 2008 Cobalt ignition



asked Federico and Kemp to retain Malladi in February 2013 in connection with their ongoing
investigation, GM did not then engage Malladi; he did not begin work until May 2013,
ostensibly as part of the Melton litigation); id. at 201 (Porter asked Stouffer not to participate in
the meeting with Malladi because Stouffer was scheduled to be deposed in the Melton litigation).
    410
        New GM and K&S settled Melton for $5 million—the highest settlement amount that
could be paid before New GM lawyers were required to inform GM’s General Counsel. Valukas
Report at 207.
    411
        Valukas Report at 199. See also GM-MDL2543-001049338 (April 29, 2013 email from
K&S attorney Holladay to GM attorney Porter: “It has not been pretty and we need to talk.
Lance has dropped a bombshell that we need to discuss and figure out how to address.”).
    412
        Valukas Report at 200 (three days after the DeGiorgio deposition, K&S attorney Holladay
spoke with GM lawyers Porter and Kemp about hiring Malladi because “GM needed to bring the
FPE investigation to closure without delay”). Eventually, Malladi merely confirmed what the
Melton plaintiffs’ expert had proved to GM and K&S five months earlier—the ignition switch
had been changed. Valukas Report at 209.



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switch.”413 In a June 17, 2013 response, New GM and K&S refused to produce any responsive

documents, relying on DeGiorgio’s false testimony that “GM LLC did not request and was not

asked to authorize or approve a change in the cap and spring in the ignition switch used in the

2008 Chevrolet Cobalt or in replacement ignition switches for the 2005-2007 that would affect

the torque required to move the key from the run to accessory position.”414 Just days later, on

June 21, 2013, Holladay, Porter, and Malladi discussed the need to obtain part change

documentation from New GM’s part supplier Delphi in connection with New GM’s ongoing

investigation. New GM, however, waited to confirm the part change with Delphi until October

2013—five months after the “bombshell” deposition and after New GM settled the Melton

case.415 New GM and K&S also refused to produce responsive documents under the guise of the

attorney-client and/or work product privileges—all according to New GM’s and K&S’s plan to

thwart the Meltons’ discovery of New GM’s investigation documents and to continue to conceal

the Delta Ignition Switch Defect and its tragic consequences.

          7.      K&S also worked for New GM in connection with the Delta Ignition Switch
                  recall and the “investigation” of the reasons for the delay.

          1041. K&S continued to represent New GM in connection with the Delta Ignition

Switch Defect even after each of the product liability matters K&S handled for New GM had

settled. For example: (a) K&S attorney Holladay continued to be involved in New GM’s



    413
        GM-MDL2543-400151182 at 83.
    414
        Id. at 84.
    415
        New GM settled the Melton case on September 9, 2013. GM engineer Stouffer did not
ask Delphi for part change documents until October 23, 2013. Valukas Report at 208. “On
October 29, 2013, after dialogue with the supplier, New GM was provided with supplier records
showing that changes had in fact been made to the detent plunger and spring late in the 2006
calendar year. Those changes increased the switch’s torque performance.” GM-MDL2543-
000862203 at 2209 (GM’s Feb. 24, 2014 updated Part 573 letter to NHTSA).



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investigation of the defect after Melton settled, including Malladi’s investigation;416 (b) K&S

attorney Holladay counseled New GM with respect to the Delta Ignition Switch recall, and his

work included drafting communications to NHTSA and the public; (c) other K&S attorneys also

represented New GM in connection with recall communications with NHTSA and responses to

requests from governmental agencies;417 and (d) K&S attorneys interviewed a number of

witnesses in connection with the preparation of the Valukas Report.418

          1042. The above are but examples of how the Enterprise Members furthered the scheme

to conceal the nature and scope of all the defects and suppressed and withheld information from

litigants, courts, claimants, and the public.

          1043. ESIS was equally as instrumental in this arm of the Enterprise’s scheme to

conceal the true nature and scope of all the defects. As described above, ESIS was charged with

handling, investigating, and resolving claims generated through New GM’s customer assistance

center. In executing those responsibilities, ESIS routinely communicated with New GM

lawyers, officers, and engineers, as well as outside and out-of-state counsel—including K&S.

As with the litigation matters described above, the Enterprise systematically concealed from

claimants the true scope and nature of the defects, including the Delta Ignition Switch Defect,

and strove to deny or settle claims in order to avoid exposing facts about the defects.

          1044. The regular communications between ESIS and the other Enterprise Members as

well as the communications made with third parties regarding these claims, were made in



    416
        Valukas Report at 197, 200.
    417
        Valukas Report at 15. Gary G. Grindler, a K&S partner in the Government Investigations
Practice Group, was involved with advising New GM on legal issues “regarding ignition switch
issues” as early as September 13, 2013 (almost five months before the recall).
    418
        Id.



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furtherance of the scheme to defraud and constitute predicate violations of 18 U.S.C. §§ 1341

and 1343.

E.       New GM Conducted the Enterprise to Affirmatively Promote the Safety and
         Quality of Its Vehicles While Actively Concealing the Defects

         1045. To further the scheme to defraud, New GM promoted and touted the safety,

reliability, and quality of its vehicles, while simultaneously, necessarily, and correspondingly

concealing the nature and scope of the defects, including the Delta Ignition Switch Defect.

These promotions, which included national advertising campaigns, advanced New GM’s

objective of concealing the nature and scope of the defects, and constitute predicate violations of

18 U.S.C. §§ 1341 and 1343.

         1046. New GM further advanced its scheme to defraud through communications with its

Dealerships. New GM communicated with its Dealership network on a daily basis, conveying

information but affirmatively concealing the nature of the defects or the need for a recall in Delta

Ignition Switch Vehicles and other Defective Vehicles. These communications, transmitted

through interstate mailings and/or wires, furthered the fraudulent scheme in violation of 18

U.S.C. §§ 1341 and 1343.

         1047. To further the scheme to defraud, New GM used the Enterprise to routinely

conceal from litigants, claimants, regulators, and the public the true nature and scope of the

defects by, among other things, misrepresenting and failing to reveal New GM’s knowledge

about the defects to claimants, litigants, and courts, and quickly and quietly settling claims

involving the defects in order to avoid exposing the facts of the claims to the public. This

process involved regular interstate mailings and wirings between the Enterprise Members as well

as to courts, claimants, and litigants nationwide.




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F.       New GM Conducted the Enterprise to Issue Incomplete and Misleading Service
         Bulletins

         1048. To further the scheme to defraud, New GM routinely issued Technical Service

Bulletins to the dealers and/or letters to consumers as a stopgap half-measure designed to avoid

costly recalls.

         1049. By way of example, on July 1, 2011, New GM issued a Technical Service

Bulletin that had been previously issued by Old GM to include new vehicle and model years. In

the Technical Service Bulletin, New GM blatantly concealed and misrepresented the true scope

and nature of the Delta Ignition Switch Defect, by, among other things, omitting the word “stall”

to obscure safety concerns and avoid regulatory attention, as well as disseminating false and

misleading information about the condition of the defective vehicles and the potential fix. The

fraudulent Technical Service Bulletin was issued in furtherance of the Enterprise’s fraudulent

scheme and was sent across state lines via the mail and/or wires, including through New GM’s

GlobalConnect website.

         1050. New GM further misused the Technical Service Bulletin process to conceal the

nature and scope of other defects as well. For example, in May 2012, New GM issued a

Technical Service Bulletin identifying customer complaints about the Power Steering Defect.

By at least September 2011, New GM had received almost 3,500 complaints regarding sudden

loss of power steering in 2004-2007 Ions. After NHTSA initiated an inquiry into the Power

Steering Defect in the 2004-2007 Ions, New GM engineer Terry Woychowski informed current

CEO Mary Barra—then head of product development—that there was a serious power steering

issue in Saturn Ions, and that it may be the same power steering issue that plagued the Chevy

Cobalt and Pontiac G5.




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         1051. Instead of recalling the vehicles, New GM issued the fraudulent Technical Service

Bulletin as a stopgap measure to conceal the true nature and scope of the power steering defect.

This Technical Service Bulletin, like many others, was issued in furtherance of the Enterprise’s

fraudulent scheme and was communicated via the mail and/or wires, including through New

GM’s GlobalConnect website, in violation of §§ 1341 and 1343.

G.       New GM Conducted the Enterprise to Submit Incomplete and Misleading Reports
         to Regulators in Order to Conceal the Defects from the Regulators, the Public, and
         the Nationwide Class

         1052. As part of its obligations under the TREAD act, New GM was required to submit

to NHTSA monthly and quarterly reports regarding potential safety defects and incidents and

complaints involving potential safety defects. To further the scheme to defraud, and in order to

escape investigation and costs associated with recalls, New GM systematically underreported

and omitted relevant information about the nature of the defects and the number of defect-related

incidents and complaints from these reports, which New GM transmitted or caused to be

transmitted from its offices in Michigan to federal regulators in Washington, D.C.

         1053. To further the scheme to defraud, New GM continued to conceal the true nature

and scope of the defects through the recalls and beyond. Even as New GM began to recall the

Delta Ignition Switch Vehicles, the recalls were incomplete (in that they were under-inclusive,

based on New GM’s knowledge) and offered inadequate and ineffective remedies.

         1054. The concealment of the dangerous and defective condition of the Defective

Vehicles, and corresponding misrepresentations about safety and reliability, are the core

purposes of the underlying racketeering offense. The Enterprise had an ascertainable structure

by which New GM operated and managed the association-in-fact by using its Dealers to concoct,

obfuscate, carry out, and attempt to justify the fraudulent scheme described herein.




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         1055. The predicate acts constituted a variety of unlawful activities, each conducted in

furtherance of the Enterprise and with the common purpose of defrauding Plaintiffs and other

Class Members and obtaining significant funds while providing Defective Vehicles worth

significantly less than the purchase price paid by customers (as relates to purchases after New

GM came into existence), and/or avoiding the costs of recalls and brand diminution. The

predicate acts also had the same or similar results, participants, victims, and methods of

commission. The predicate acts were part of a pattern of conduct and not isolated events.

         1056. The predicate acts all had the purpose of generating significant revenue and

profits for New GM at the expense of Plaintiffs and the Class Members, who were never

informed of the defects in their vehicles or that New GM vehicles and Certified Pre-Owned

vehicles were not safe and reliable as a general matter. The predicate acts were committed or

caused to be committed by New GM, through its participation in the RICO Enterprise and in

furtherance of its fraudulent scheme, and were interrelated in that they involved obtaining

Plaintiffs’ and all other Class Members’ funds (as to purchases or leases after New GM came

into being) and avoiding the expenses associated with remediating the defects during the entire

time period from New GM’s inception until the end of the Class Period.

         1057. The conduct of New GM and the Enterprise Members in furtherance of this

scheme was intentional. Plaintiffs and Class Members were harmed by New GM’s conduct in

the Enterprise and, as a result, purchased or leased dangerous Defective Vehicles after New GM

was created for significantly more money than they would have paid absent the scheme to

defraud, and/or remained in possession of vehicles of diminished value that New GM otherwise

would have repaired or replaced, and/or sold Defective Vehicles after the (belated and




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inadequate) revelations of defects for a loss. New GM unfairly reaped millions of dollars in

excessive sales revenue as a result of this scheme and its conduct in furtherance of this scheme.

H.       The Members of the Nationwide Class Suffered Injuries and Damage to Their
         Business and Property by Reason of New GM’s RICO Violations.

         1058. Plaintiffs and the Nationwide Class were damaged and injured in their business

and property by reason of New GM’s conduct in violation of RICO in at least the following

ways:

                  a.    Plaintiffs and Class Members who purchased or leased their

         Defective Vehicles after New GM’s creation were fraudulently induced into

         making those transactions and/or paying more than they otherwise would have

         had the defects been revealed; and/or continued driving vehicles they would not

         have but for the RICO violations.

                  b.    Plaintiffs and Class Members who sold a Defective Vehicle after

         the revelation of the defects were injured by the low sale price relative to what the

         car would be worth in the absence of New GM’s fraudulent scheme.

                  c.    Plaintiffs and Class Members who owned Defective Vehicles after

         New GM’s creation remained in possession of vehicles of diminished value.

                  d.    Plaintiffs and Class Members who owned Defective Vehicles

         remained in possession of vehicles of diminished value which New GM would

         otherwise have been compelled to fix or replace.

                  e.    Plaintiffs and Class Members whose vehicles were recalled in

         2014 incurred expense and loss in connection with their efforts to implement the




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         2014 recall corrections and/or eliminate or reduce the risks and costs to which

         their vehicles and parts have exposed them.

         1059. By reason of the foregoing, New GM, through its managerial officials, has

unlawfully, knowingly, and willfully conducted and participated directly or indirectly in the

foregoing Enterprise through a pattern of racketeering activity in violation or attempted violation

of 18 U.S.C. § 1962(c).

         1060. These violations of 18 U.S.C. § 1962(c) by New GM have directly and

proximately caused Plaintiffs’ and Class Members’ injuries and damage set forth above.

Plaintiffs and Class Members are entitled to bring this action for three times their actual

damages, equitable relief, and their costs and reasonable attorneys’ fees, in conducting this

litigation at trial and on appeal pursuant to 18 U.S.C. § 1964(c).

B.       MULTI-STATE CLAIMS

                                                 COUNT I

                      VIOLATION OF THE MAGNUSON-MOSS WARRANTY ACT
                                     15 U.S.C. § 2301, et seq.

         1061. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1062. Plaintiffs bring this Count on behalf of all persons who are members of (i) the

Delta Ignition Switch Defect Magnuson-Moss and Implied Warranty Subclass; (ii) the Low

Torque Ignition Switch Defect Magnuson-Moss and Implied Warranty Subclass; (iii) the Knee-

to-Key Camaro Defect Magnuson-Moss and Implied Warranty Subclass; (iv) the Side Airbag

Defect Magnuson-Moss and Implied Warranty Subclass; and (v) the Power Steering Defect




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Magnuson-Moss and Implied Warranty Subclass (collectively for the purposes of this Count, the

“Magnuson-Moss Subclass”).

         1063. This Court has jurisdiction to decide claims brought under 15 U.S.C. § 2301 by

virtue of 28 U.S.C. § 1332(a)-(d).

         1064. The Defective Vehicles sold as new or New GM Certified Pre-Owned vehicles on

or after July 10, 2009 (hereinafter, in this Count, “Defective Vehicles”) are “consumer products”

within the meaning of the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(1).

         1065. Plaintiffs are “consumers” within the meaning of the Magnuson-Moss Warranty

Act, 15 U.S.C. § 2301(3). They are consumers because they are persons entitled under

applicable state law to enforce against the warrantor the obligations of its implied warranties.

         1066. New GM is a “supplier” and “warrantor” within the meaning of the Magnuson-

Moss Warranty Act, 15 U.S.C. § 2301(4)-(5).

         1067. 15 U.S.C. § 2310(d)(1) provides a cause of action for any consumer who is

damaged by the failure of a warrantor to comply with an implied warranty.

         1068. New GM provided Plaintiffs with an implied warranty of merchantability in

connection with the purchase or lease of their vehicles on or after July 10, 2009, that is an

“implied warranty” within the meaning of the Magnuson-Moss Warranty Act, 15 U.S.C.

§ 2301(7). As a part of the implied warranty of merchantability, New GM warranted that the

Defective Vehicles were fit for their ordinary purpose as safe passenger motor vehicles, would

pass without objection in the trade as designed, manufactured, and marketed, and were

adequately contained, packaged, and labeled.

         1069. New GM breached its implied warranties, as described in more detail above, and

is therefore liable to Plaintiffs pursuant to 15 U.S.C. § 2310(d)(1). Without limitation, the




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Defective Ignition Switch Vehicles share common design defects in that they are equipped with

defective ignition switch systems that can suddenly fail during normal operation, leaving

occupants of the Defective Ignition Switch Vehicles vulnerable to crashes, serious injury, and

death. New GM has admitted that the Defective Ignition Switch Vehicles are defective in

issuing its recalls, but the recalls are insufficient to address each of the defects. In addition, the

Side Airbag Defect Vehicles are inherently defective in that there are defects in the wiring

harness connectors that can cause the side impact airbags (SIABs) and seatbelt pretensioners not

to deploy in the event of a collision, thereby causing an increased likelihood of serious injury or

death. And the Power Steering Defect Vehicles are inherently defective in that there are defects

in the vehicles that can cause the loss of power steering assist, resulting in an increased risk of

accident.

         1070. In its capacity as a warrantor, New GM had knowledge of the inherent defects in

the Defective Vehicles. Any effort by New GM to limit the implied warranties in a manner that

would exclude coverage of the Defective Vehicles is unconscionable, and any such effort to

disclaim, or otherwise limit, liability for the Old GM is null and void.

         1071. Any limitations New GM might seek to impose on its warranties are procedurally

unconscionable. There was unequal bargaining power between New GM and Plaintiffs, as, at

the time of purchase and lease, Plaintiffs had no other options for purchasing warranty coverage

other than directly from New GM.

         1072. Any limitations New GM might seek to impose on its warranties are substantively

unconscionable. New GM knew that the Defective Vehicles were defective and would continue

to pose safety risks after the warranties purportedly expired. New GM failed to disclose these




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defects to Plaintiffs. Thus, New GM’s enforcement of the durational limitations on those

warranties is harsh and shocks the conscience.

         1073. Plaintiffs have had sufficient direct dealings with either New GM or its agents

(dealerships) to establish privity of contract between New GM and Plaintiffs. Nonetheless,

privity is not required here because Plaintiffs are intended third-party beneficiaries of contracts

between New GM and its dealers, and specifically, of New GM’s implied warranties. The

dealers were not intended to be the ultimate consumers of the Defective Vehicles and have no

rights under the warranty agreements provided with the Defective Vehicles; the warranty

agreements were designed for and intended to benefit consumers. Finally, privity is also not

required because the Defective Vehicles are dangerous instrumentalities due to the

aforementioned defects and nonconformities.

         1074. Pursuant to 15 U.S.C. § 2310(e), Plaintiffs are entitled to bring this class action

and are not required to give New GM notice and an opportunity to cure until such time as the

Court determines the representative capacity of Plaintiffs pursuant to Rule 23 of the Federal

Rules of Civil Procedure.

         1075. Plaintiffs would suffer economic hardship if they returned their Defective

Vehicles but did not receive the return of all payments made by them. Because New GM is

refusing to acknowledge any revocation of acceptance and return immediately any payments

made, Plaintiffs have not re-accepted their Defective Vehicles by retaining them.

         1076. The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

sum of $25. The amount in controversy of this action exceeds the sum of $50,000, exclusive of

interest and costs, computed on the basis of all claims to be determined in this lawsuit. Plaintiffs,

individually and on behalf of all other Magnuson-Moss Subclass members, seek all damages




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permitted by law, including diminution in value of their vehicles, in an amount to be proven at

trial. In addition, pursuant to 15 U.S.C. § 2310(d)(2), Plaintiffs are entitled to recover a sum

equal to the aggregate amount of costs and expenses (including attorneys’ fees based on actual

time expended) determined by the Court to have reasonably been incurred by Plaintiffs and the

other Magnuson-Moss Subclass members in connection with the commencement and

prosecution of this action.

         1077. Further, Plaintiffs and the Magnuson-Moss Subclass are also entitled to equitable

relief under 15 U.S.C. § 2310(d)(1). Based on New GM’s continuing failures to fix the known

dangerous defects, Plaintiffs seek a declaration that New GM has not adequately implemented its

recall commitments and requirements and general commitments to fix its failed processes, and

injunctive relief in the form of judicial supervision over the recall process is warranted.

Plaintiffs also seek the establishment of a New GM-funded program for Plaintiffs and

Magnuson-Moss Subclass members to recover out of pocket costs incurred in attempting to

rectify the defects in their vehicles.

                                         COUNT II
                        SUCCESSOR LIABILITY CLAIM FOR VIOLATION
                          OF THE MAGNUSON-MOSS WARRANTY ACT
                                   15 U.S.C. § 2301, et seq.

         1078. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1079. Plaintiffs bring this Count on behalf of the Delta Ignition Switch Defect

Magnuson-Moss and Implied Warranty Successor Liability Subclass (the “Subclass,” for the

purposes of this Count only).




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         1080. This Court has jurisdiction to decide claims brought under 15 U.S.C. § 2301 by

virtue of 28 U.S.C. § 1332(a)-(d).

         1081. The Delta Ignition Switch Vehicles manufactured and sold by Old GM on or

before July 9, 2009, are “consumer products” within the meaning of the Magnuson-Moss

Warranty Act, 15 U.S.C. § 2301(1).

         1082. Plaintiffs are “consumers” within the meaning of the Magnuson-Moss Warranty

Act, 15 U.S.C. § 2301(3). They are consumers because they are persons entitled under

applicable state law to enforce against the warrantor the obligations of its implied warranties.

         1083. Old GM was a “supplier” and “warrantor” within the meaning of the Magnuson-

Moss Warranty Act, 15 U.S.C. § 2301(4)-(5).

         1084. 15 U.S.C. § 2310(d)(1) provides a cause of action for any consumer who is

damaged by the failure of a warrantor to comply with an implied warranty.

         1085. Old GM provided Plaintiffs with an implied warranty of merchantability in

connection with the purchase or lease of its vehicles on or before July 9, 2009, that is an “implied

warranty” within the meaning of the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(7). As a

part of the implied warranty of merchantability, Old GM warranted that the Delta Ignition

Switch Vehicles were fit for their ordinary purpose as safe passenger motor vehicles, would pass

without objection in the trade as designed, manufactured, and marketed, and were adequately

contained, packaged, and labeled.

         1086. Old GM breached its implied warranties, as described in more detail above, and is

therefore liable to Plaintiffs and the Subclass pursuant to 15 U.S.C. § 2310(d)(1). Without

limitation, the Delta Ignition Switch Vehicles were equipped with defective ignition switch

systems that can suddenly fail during normal operation, causing sudden stalling, the loss of




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power steering and power brakes, and rendering the airbags inoperable. The occupants of the

Delta Ignition Switch Vehicles were therefore vulnerable to crashes, serious injury, and death.

New GM (the successor to Old GM) admitted that the Delta Ignition Switch Vehicles are

defective in issuing its recalls, but the recalls are insufficient to address the defects.

         1087. In its capacity as a warrantor, Old GM had knowledge of the inherent defects in

the Delta Ignition Switch Vehicles. Any effort by New GM (in its capacity as successor to Old

GM) to limit the implied warranties in a manner that would exclude coverage of the Delta

Ignition Switch Vehicles is unconscionable, and any such effort to disclaim, or otherwise limit,

liability for the Delta Ignition Switch Vehicles is null and void.

         1088. Any limitations New GM might seek to impose on Old GM’s warranties are

procedurally unconscionable. There was unequal bargaining power between Old GM and

Plaintiffs and the other Subclass members, as, at the time of purchase and lease, Plaintiffs and

the other Subclass Members had no other options for purchasing warranty coverage other than

directly from New GM.

         1089. Any limitations New GM might seek to impose on Old GM’s warranties are

substantively unconscionable. Old GM knew that the Delta Ignition Switch Vehicles were

defective and would continue to pose safety risks after the warranties purportedly expired.

Old GM failed to disclose these defects to Plaintiffs and the other Subclass members. Thus, any

enforcement of the durational limitations on those warranties is harsh and shocks the conscience.

         1090. Plaintiffs and each of the other Subclass members have had sufficient direct

dealings with either Old GM or its agents (dealerships) to establish privity of contract between

Old GM, on the one hand, and Plaintiffs and each of the other Subclass members, on the other

hand. Nonetheless, privity is not required here because Plaintiffs and each of the other Subclass




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members are intended third-party beneficiaries of contracts between Old GM and its dealers, and

specifically, of Old GM’s implied warranties. The dealers were not intended to be the ultimate

consumers of the Delta Ignition Switch Vehicles and have no rights under the warranty

agreements provided with the Delta Ignition Switch Vehicles; the warranty agreements were

designed for and intended to benefit consumers. Finally, privity is also not required because the

Delta Ignition Switch Vehicles are dangerous instrumentalities due to the aforementioned defects

and nonconformities.

         1091. Pursuant to 15 U.S.C. § 2310(e), Plaintiffs are entitled to bring this class action

and are not required to give New GM notice and an opportunity to cure (in its capacity as

successor to Old GM) until such time as the Court determines the representative capacity of

Plaintiffs pursuant to Rule 23 of the Federal Rules of Civil Procedure.

         1092. Plaintiffs and the other Subclass members would suffer economic hardship if they

returned their Delta Ignition Switch Vehicles but did not receive the return of all payments made

by them. Because New GM (in its capacity as successor to Old GM) is refusing to acknowledge

any revocation of acceptance and return immediately any payments made, Plaintiffs and the

other Subclass members have not re-accepted their Defective Vehicles by retaining them.

         1093. The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

sum of $25. The amount in controversy of this action exceeds the sum of $50,000, exclusive of

interest and costs, computed on the basis of all claims to be determined in this lawsuit. Plaintiffs,

individually and on behalf of the other Subclass members, seek all damages permitted by law,

including diminution in value of their vehicles, in an amount to be proven at trial. In addition,

pursuant to 15 U.S.C. § 2310(d)(2), Plaintiffs and the other Subclass members are entitled to

recover a sum equal to the aggregate amount of costs and expenses (including attorneys’ fees




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based on actual time expended) determined by the Court to have reasonably been incurred by

Plaintiffs and the other Subclass members in connection with the commencement and

prosecution of this action.

         1094. Further, Plaintiffs and the Subclass are also entitled to equitable relief under 15

U.S.C. § 2310(d)(1). Based on New GM’s continuing failures to fix the known dangerous

defects (in its capacity as successor to Old GM), Plaintiffs seek a declaration that New GM has

not adequately implemented its recall commitments and requirements and general commitments

to fix its failed processes, and injunctive relief in the form of judicial supervision over the recall

process is warranted. Plaintiffs also seek the establishment of a New GM-funded program for

Plaintiffs and Subclass Members to recover out of pocket costs incurred in attempting to rectify

the defects in their vehicles.

C.       STATE LAW CLAIMS

                                            ALABAMA

                                              COUNT I

            VIOLATION OF ALABAMA DECEPTIVE TRADE PRACTICES ACT
                            (ALA. CODE § 8-19-1, et seq.)

         1095. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1096. This claim is brought on behalf of Alabama residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.



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         1097. Plaintiffs are “consumers” within the meaning of ALA. CODE § 8-19-3(2).

         1098. Plaintiffs and New GM are “persons” within the meaning of ALA. CODE § 8-19-

3(5).

         1099. The Defective Vehicles are “goods” within the meaning of ALA. CODE § 8-19-

3(3).

         1100. New GM was and is engaged in “trade or commerce” within the meaning of ALA.

CODE § 8-19-3(8).

         1101. The Alabama Deceptive Trade Practices Act (“Alabama DTPA”) declares several

specific actions to be unlawful, including: “(5) Representing that goods or services have

sponsorship, approval, characteristics, ingredients, uses, benefits, or qualities that they do not

have,” “(7) Representing that goods or services are of a particular standard, quality, or grade, or

that goods are of a particular style or model, if they are of another,” and “(27) Engaging in any

other unconscionable, false, misleading, or deceptive act or practice in the conduct of trade or

commerce.” ALA. CODE § 8-19-5. By concealing the defects in the Defective Vehicles and

promoting the safety of New GM vehicles, New GM engaged in deceptive business practices

prohibited by the Alabama DTPA, including: representing that Defective Vehicles have

characteristics, uses, benefits, and qualities which they do not have; representing that Defective

Vehicles are of a particular standard, quality, and grade when they are not; advertising Defective

Vehicles with the intent not to sell or lease them as advertised; representing that the subject of a

transaction involving a Defective Vehicle has been supplied in accordance with a previous

representation when it has not; and engaging in other unconscionable, false, misleading, or

deceptive acts or practices in the conduct of trade or commerce. The defects in each vehicle

include not only the specific defect (e.g., the Delta Ignition Switch), but also include the




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defective process through which New GM built cars, a process that included cost-cutting,

minimizing the importance of safety issues, siloing, the depletion of resources devoted to

recognizing and studying safety issues, the failure to follow acceptable engineering and

inventory processes concerning parts management, and the failure to follow a proper FMEA

process. All of these defective processes would be material to a reasonable consumer.

         1102. New GM also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression or omission

of any material fact with intent that others rely upon such concealment, suppression or omission,

in connection with the sale of Defective Vehicles on or after July 10, 2009.

         1103. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         1104. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Alabama DTPA.

         1105. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.




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         1106. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         1107. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         1108. New GM knew or should have known that its conduct violated the Alabama

DTPA.

         1109. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         1110. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles, because New GM:

                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         1111. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.



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         1112. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

deadly ignition switch defect, the value of Old GM Defective Vehicles greatly decreased to well-

below the value the vehicles would have had in the absence of the defect. This diminished value

is directly attributed to New GM’s dishonesty and omissions with respect to the quality and

safety of the Defective Vehicles.

         1113. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         1114. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         1115. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Delta Ignition Switch Vehicles had they been aware of New GM’s

misconduct. By assuming TREAD Act responsibilities with respect to Old GM vehicles, New

GM effectively undertook the role of manufacturer of those vehicles because the TREAD Act on

its face only applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing

duty to all Defective Vehicle owners to refrain from unfair and deceptive acts or practices under

the Alabama DTPA—regardless of when those owners acquired their vehicles.

         1116. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta




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Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         1117. As a direct and proximate result of New GM’s violations of the Alabama DTPA,

Plaintiffs have suffered injury-in-fact and/or actual damage as alleged above. As a direct result

of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.

         1118. Pursuant to ALA. CODE § 8-19-10, Plaintiffs seek monetary relief against

New GM measured as the greater of (a) actual damages in an amount to be determined at trial

and (b) statutory damages in the amount of $100 for each Plaintiff.

         1119. Plaintiffs also seek an order enjoining New GM’s unfair, unlawful, and/or

deceptive practices, attorneys’ fees, and any other just and proper relief available under ALA.

CODE § 8-19-1, et seq.

         1120. On October 8, 2014, certain Plaintiffs sent a letter complying with ALA. CODE

§ 8-19-10(e). Because New GM failed to remedy its unlawful conduct within the requisite time

period, Plaintiffs seek all damages and relief to which Plaintiffs are entitled.

                                             COUNT II

                                     FRAUD BY CONCEALMENT

         1121. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1122. This claim is brought on behalf of Alabama residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect




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Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         1123. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         1124. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         1125. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         1126. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         1127. New GM did so in order to falsely assure purchasers, lessees, and owners of the

Defective Vehicles that vehicles they were purchasing, leasing, or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         1128. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in




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the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         1129. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         1130. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         1131. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         1132. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs as

alleged above. Had they been aware of the concealed defects that existed in the Defective




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Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         1133. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         1134. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.

                                            COUNT III

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         1135. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1136. This claim is brought only on behalf of Alabama residents who are members of

the Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).

         1137. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         1138. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required




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… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         1139. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.

         1140. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         1141. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         1142. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         1143. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).




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         1144. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         1145. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         1146. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC

Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         1147. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         1148. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         1149. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         1150. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute




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additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         1151. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         1152. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable

by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         1153. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         1154. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.




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         1155. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         1156. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.

                                            COUNT IV

                                    UNJUST ENRICHMENT

         1157. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1158. This claim is brought on behalf of Alabama residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         1159. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         1160. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.




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         1161. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         1162. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         1163. Thus, all Plaintiffs conferred a benefit on New GM.

         1164. It is inequitable for New GM to retain these benefits.

         1165. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         1166. New GM knowingly accepted the benefits of its unjust conduct.

         1167. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                            COUNT V

        SUCCESSOR LIABILITY CLAIM FOR VIOLATIONS OF THE ALABAMA
                     DECEPTIVE TRADE PRACTICES ACT
                          (ALS. CODE § 8-10-1, et seq.)

         1168. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1169. This claim is brought on behalf of Alabama residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).




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         1170. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         1171. Old GM and Plaintiffs are “persons” within the meaning of ALA. CODE § 8-19-

3(5).

         1172. Plaintiffs are “consumers” within the meaning of ALA. CODE § 8-19-3(2).

         1173. The Delta Ignition Switch Vehicles sold by Old GM are “goods” within the

meaning of ALA. CODE § 8-19-3(3).

         1174. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce within the meaning of ALA. CODE § 8-19-3(8).

         1175. The Alabama Deceptive Trade Practices Act (“Alabama DTPA”) declares several

specific actions to be unlawful, including: “(5) Representing that goods or services have

sponsorship, approval, characteristics, ingredients, uses, benefits, or qualities that they do not

have,” “(7) Representing that goods or services are of a particular standard, quality, or grade, or

that goods are of a particular style or model, if they are of another,” and “(27) Engaging in any

other unconscionable, false, misleading, or deceptive act or practice in the conduct of trade or

commerce.” ALA. CODE § 8-19-5. By concealing the defects in the Delta Ignition Switch

Vehicles and promoting the safety of Old GM vehicles, Old GM engaged in deceptive business

practices prohibited by the Alabama DTPA, including: representing that the vehicles have

characteristics, uses, benefits, and qualities which they do not have; representing that the vehicles

are of a particular standard, quality, and grade when they are not; advertising the vehicles with

the intent not to sell or lease them as advertised; representing that the subject of a transaction




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involving a Delta Ignition Switch Vehicle has been supplied in accordance with a previous

representation when it has not; and engaging in other unconscionable, false, misleading, or

deceptive acts or practices in the conduct of trade or commerce.

         1176. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         1177. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         1178. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Alabama DTPA.

         1179. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         1180. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         1181. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         1182. Old GM knew or should have known that its conduct violated the Alabama

DTPA.




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         1183. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         1184. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         1185. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         1186. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         1187. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all.




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         1188. As a direct and proximate result of Old GM’s violations of the Alabama DTPA,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability. Plaintiffs also incurred repair costs, as alleged above.

         1189. Pursuant to ALA. CODE § 13-19-10, Plaintiffs seek monetary relief against New

GM (as the successor to Old GM), measured as the greater of (a) actual damages in an amount to

be determined at trial and (b) statutory damages in the amount of $100 for each of the Plaintiffs.

         1190. Certain Plaintiffs sent a letter complying with ALA. CODE § 8-19-10(e). Because

New GM failed to remedy its unlawful conduct within the requisite time period, Plaintiffs seek

all damages and relief to which Plaintiffs are entitled.

                                             COUNT VI

           SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         1191. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1192. This claim is brought on behalf of Alabama residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         1193. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         1194. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.




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         1195. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         1196. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         1197. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         1198. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         1199. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.




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         1200. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         1201. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         1202. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         1203. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         1204. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.




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                                             ALASKA

                                             COUNT I

                       VIOLATION OF THE ALASKA UNFAIR TRADE
                      PRACTICES AND CONSUMER PROTECTION ACT
                           (ALASKA STAT. ANN. § 45.50.471, et seq.)

         1205. Plaintiffs realleges and incorporate by reference all paragraphs as though fully set

forth herein.

         1206. This claim is brought on behalf of Alaska residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         1207. The Alaska Unfair Trade Practices And Consumer Protection Act (“Alaska

CPA”) declares unfair methods of competition and unfair or deceptive acts or practices in the

conduct of trade or commerce unlawful, including: “(4) representing that goods or services have

sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities that they do not

have or that a person has a sponsorship, approval, status, affiliation, or connection that the person

does not have;” “(6) representing that goods or services are of a particular standard, quality, or

grade, or that goods are of a particular style or model, if they are of another;” “(8) advertising

goods or services with intent not to sell them as advertised;” or “(12) using or employing

deception, fraud, false pretense, false promise, misrepresentation, or knowingly concealing,

suppressing, or omitting a material fact with intent that others rely upon the concealment,

suppression or omission in connection with the sale or advertisement of goods or services




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whether or not a person has in fact been misled, deceived or damaged.” ALASKA STAT. ANN.

§ 45.50.471.

         1208. New GM participated in misleading, false, or deceptive acts that violated the

Alaska CPA. By concealing the known defects in Plaintiffs’ vehicles, New GM engaged in

deceptive business practices prohibited by the Alaska CPA. New GM also engaged in unlawful

trade practices by representing that the Defective Vehicles have characteristics, uses, benefits,

and qualities which they do not have; representing that the Defective Vehicles are of a particular

standard and quality when they are not; advertising the Defective Vehicles with the intent not to

sell them as advertised; and omitting material facts in describing the Defective Vehicles. The

defects in each vehicle include not only the specific defect (e.g., the Delta Ignition Switch), but

also include the defective process through which New GM built cars, a process that included

cost-cutting, minimizing the importance of safety issues, siloing, the depletion of resources

devoted to recognizing and studying safety issues, the failure to follow acceptable engineering

and inventory processes concerning parts management, and the failure to follow a proper FMEA

process. All of these defective processes would be material to a reasonable consumer.

         1209. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         1210. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles.




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         1211. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         1212. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Alaska CPA.

         1213. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         1214. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         1215. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         1216. New GM knew or should have known that its conduct violated the Alaska CPA.

         1217. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         1218. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles, because New GM:




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                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         1219. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         1220. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.

         1221. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         1222. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased



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New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         1223. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By assuming TREAD Act responsibilities with respect to Old GM vehicles, New GM effectively

undertook the role of manufacturer of those vehicles because the TREAD Act on its face only

applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing duty to all

Defective Vehicle owners to refrain from unfair and deceptive acts or practices under the Alaska

CPA—regardless of when those owners acquired their vehicles.

         1224. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         1225. As a direct and proximate result of New GM’s violations of the Alaska CPA,

Plaintiffs have suffered injury-in-fact and/or actual damage as alleged above. As a direct result

of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.

         1226. Pursuant to ALASKA STAT. ANN. § 45.50.531, Plaintiffs seek monetary relief

against New GM measured as the greater of (a) three times the actual damages in an amount to

be determined at trial or (b) $500 for each Plaintiff.




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         1227. Plaintiffs also seek an order enjoining New GM’s unfair, unlawful, and/or

deceptive practices pursuant to ALASKA STAT. ANN. § 45.50.535(b)(1), attorneys’ fees, and any

other just and proper relief available under the Alaska CPA.

         1228. On October 8, 2014, certain Plaintiffs sent a letter complying with ALASKA STAT.

ANN. § 45.50.535(b)(1).

                                            COUNT II

                                   FRAUD BY CONCEALMENT

         1229. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1230. This claim is brought on behalf of Alaska residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         1231. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         1232. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         1233. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.




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         1234. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         1235. New GM did so in order to falsely assure purchasers, lessees, and owners of the

Defective Vehicles that the vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         1236. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Defective Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         1237. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.




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         1238. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         1239. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         1240. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         1241. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.




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         1242. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of rights and well-being to enrich New GM. New GM’s

conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.

                                            COUNT III

           BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
                           (ALASKA STAT. § 45.02.314)

         1243. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1244. This claim is brought only on behalf of Alaska residents who are members of any

of the following Subclasses: (i) the Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Subclass; (ii) the Low Torque Ignition Switch Defect Magnuson-Moss and Implied

Warranty Subclass; (iii) the Knee-to-Key Camaro Defect Magnuson-Moss and Implied Warranty

Subclass; (iv) the Side Airbag Defect Magnuson-Moss and Implied Warranty Subclass; and (v)

the Power Steering Defect Magnuson-Moss and Implied Warranty Subclass (collectively for the

purposes of this Count, “Plaintiffs”).

         1245. New GM was a merchant with respect to motor vehicles within the meaning of

ALASKA STAT. § 45.02.104(a).

         1246. Under ALASKA STAT. § 45.02.314 a warranty that the Defective Vehicles were in

merchantable condition was implied by law in the transactions when Plaintiffs purchased or

leased their Defective Vehicles from New GM on or after July 10, 2009.

         1247. The Defective Vehicles, when sold and at all times thereafter, were not

merchantable and are not fit for the ordinary purpose for which cars are used.




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         1248. The Defective Ignition Switch Vehicles are inherently defective in that there are

defects in the ignition switch systems that cause sudden unintended stalling to occur, with the

attendant shut down of power steering and power brakes and the nondeployment of airbags in the

event of a collision, thereby causing an increased likelihood of serious injury or death.

         1249. The Power Steering Defect Vehicles are inherently defective in that there are

defects in the vehicles that can cause the loss of power steering assist, resulting in an increased

risk of accident.

         1250. The Side Airbag Defect Vehicles are inherently defective in that there are defects

in the wiring harness connectors that can cause the side impact airbags (SIABs) and seatbelt

pretensioners not to deploy in the event of a collision, thereby causing an increased likelihood of

serious injury or death.

         1251. New GM was provided notice of these issues by numerous complaints filed

against it, internal investigations, and by numerous individual letters and communications sent

by Plaintiffs and others before or within a reasonable amount of time after New GM issued the

recall and the allegations of vehicle defects became public.

         1252. As a direct and proximate result of New GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                            COUNT IV

                      FRAUD BY CONCEALMENT OF THE RIGHT TO FILE
                        A CLAIM AGAINST OLD GM IN BANKRUPTCY

         1253. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.




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         1254. This claim is brought only on behalf of Alaska residents who are members of the

Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).

         1255. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         1256. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         1257. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.

         1258. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         1259. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.




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         1260. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         1261. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         1262. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         1263. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         1264. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC

Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         1265. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness




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bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         1266. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         1267. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         1268. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         1269. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         1270. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable

by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.




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         1271. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         1272. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         1273. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         1274. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.

                                            COUNT V

                                       UNJUST ENRICHMENT

         1275. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1276. This claim is brought on behalf of Alaska residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect




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Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         1277. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         1278. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

         1279. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         1280. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         1281. Thus, all Plaintiffs conferred a benefit on New GM.

         1282. It is inequitable for New GM to retain these benefits.

         1283. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         1284. New GM knowingly accepted the benefits of its unjust conduct.

         1285. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.




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                                            COUNT VI

   SUCCESSOR LIABILITY CLAIM FOR VIOLATIONS OF THE ALASKA UNFAIR
          TRADE PRACTICES AND CONSUMER PROTECTION ACT
                   (ALASKA STAT. ANN. § 45.50.471, et seq.)

         1286. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1287. This claim is brought on behalf of Alaska residents who are members of the Delta

Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count, “Plaintiffs”).

         1288. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         1289. The Alaska Unfair Trade Practices And Consumer Protection Act (“Alaska

CPA”) declares unfair methods of competition and unfair or deceptive acts or practices in the

conduct of trade or commerce unlawful, including: “(4) representing that goods or services have

sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities that they do not

have or that a person has a sponsorship, approval, status, affiliation, or connection that the person

does not have;” “(6) representing that goods or services are of a particular standard, quality, or

grade, or that goods are of a particular style or model, if they are of another;” “(8) advertising

goods or services with intent not to sell them as advertised;” or “(12) using or employing

deception, fraud, false pretense, false promise, misrepresentation, or knowingly concealing,

suppressing, or omitting a material fact with intent that others rely upon the concealment,

suppression or omission in connection with the sale or advertisement of goods or services




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whether or not a person has in fact been misled, deceived or damaged.” ALASKA STAT. ANN.

§ 45.50.471.

         1290. Old GM participated in misleading, false, or deceptive acts that violated the

Alaska CPA. By concealing the known defects in Plaintiffs’ vehicles, New GM engaged in

deceptive business practices prohibited by the Alaska CPA. Old GM also engaged in unlawful

trade practices by representing that the Delta Ignition Switch Vehicles have characteristics, uses,

benefits, and qualities which they do not have; representing that the vehicles are of a particular

standard and quality when they are not; advertising the vehicles with the intent not to sell them

as advertised; and omitting material facts in describing the Delta Ignition Switch Vehicles.

         1291. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         1292. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         1293. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         1294. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Alaska CPA.




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         1295. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         1296. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         1297. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         1298. Old GM knew or should have known that its conduct violated the Alaska CPA.

         1299. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         1300. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         1301. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of




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the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         1302. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         1303. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         1304. As a direct and proximate result of Old GM’s violations of the Alaska CPA,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.

         1305. Pursuant to ALASKA STAT ANN. § 45.50.531, Plaintiffs seek monetary relief

against New GM (as the successor of Old GM) measured as the greater of (a) three times the

actual damages in an amount to be determined at trial or (b) $ 500 for each Plaintiff.

         1306. Plaintiffs also seek attorneys’ fees, and any other just and proper relief available

under the Alaska CPA.

         1307. On October 8, 2014, certain Plaintiffs sent a letter complying with ALASKA STAT

ANN. § 45.50.535(b)(1).

                                            COUNT VII

             SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         1308. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.




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         1309. This claim is brought on behalf of Alaska residents who are members of the Delta

Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count, “Plaintiffs”).

         1310. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         1311. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         1312. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         1313. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         1314. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         1315. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         1316. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably




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discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         1317. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         1318. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         1319. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         1320. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.




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         1321. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                             COUNT VIII

                      SUCCESSOR LIABILITY CLAIM FOR BREACH OF
                       IMPLIED WARRANTY OF MERCHANTABILITY
                              (ALASKA STAT. § 45.02.3142-314)

         1322. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1323. This claim is brought on behalf of Alaska residents who are members of the Delta

Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor Liability Subclass (for

the purposes of this Count, “Plaintiffs”).

         1324. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         1325. Old GM was a merchant with respect to motor vehicles within the meaning of

ALASKA STAT. § 45.02.104(a).

         1326. Under ALASKA STAT. 45.02-314, a warranty that the Delta Ignition Switch

Vehicles were in merchantable condition was implied by law in the transactions when Plaintiffs

purchased or leased their vehicles from Old GM on or before July 9, 2009.

         1327. The Delta Ignition Switch Vehicles, when sold and at all times thereafter, were

not merchantable and not fit for the ordinary purpose for which cars are used. Specifically, the




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Delta Ignition Switch Vehicles were inherently defective in that there were defects in the ignition

switch systems that permit sudden unintended shutdown to occur, with the attendant shut down

of power steering and power brakes and the nondeployment of airbags in the event of a collision,

thereby causing an increased likelihood of serious injury or death.

         1328. New GM, as the successor to Old GM, was provided notice of these issues by

numerous complaints filed against it, internal investigations, and by numerous individual letters

and communications sent by Plaintiffs and others before or within a reasonable amount of time

after New GM issued the recall and the allegations of vehicle defects became public.

         1329. As a direct and proximate result of Old GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                            ARIZONA

                                             COUNT I

                      VIOLATIONS OF THE CONSUMER FRAUD ACT
                          (ARIZONA REV. STAT. § 44-1521, et seq.)

         1330. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1331. This claim is brought on behalf of Arizona residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.




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         1332. New GM and Plaintiffs are “persons” within the meaning of the Arizona

Consumer Fraud Act (“Arizona CFA”), ARIZ. REV. STAT. § 44-1521(6).

         1333. The Defective Vehicles are “merchandise” within the meaning of ARIZ. REV.

STAT. § 44-1521(5).

         1334. The Arizona CFA provides that “[t]he act, use or employment by any person of

any deception, deceptive act or practice, fraud, … misrepresentation, or concealment,

suppression or omission of any material fact with intent that others rely upon such concealment,

suppression or omission, in connection with the sale … of any merchandise whether or not any

person has in fact been misled, deceived or damaged thereby, is declared to be an unlawful

practice.” ARIZ. REV. STAT. § 44-1522(A).

         1335. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         1336. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles. The defects in each vehicle include not only the specific

defect (e.g., the Delta Ignition Switch), but also include the defective process through which

New GM built cars, a process that included cost-cutting, minimizing the importance of safety

issues, siloing, the depletion of resources devoted to recognizing and studying safety issues, the

failure to follow acceptable engineering and inventory processes concerning parts management,




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and the failure to follow a proper FMEA process. All of these defective processes would be

material to a reasonable consumer.

         1337. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         1338. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Arizona CFA.

         1339. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         1340. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         1341. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         1342. New GM knew or should have known that its conduct violated the Arizona CFA.

         1343. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.




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         1344. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles because New GM:

                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         1345. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         1346. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defects. This diminished value is directly

attributed to New GM’s dishonesty and omissions with respect to the quality and safety of the

Defective Vehicles.

         1347. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.



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         1348. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         1349. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By assuming TREAD Act responsibilities with respect to Old GM vehicles, New GM effectively

undertook the role of manufacturer of those vehicles because the TREAD Act on its face only

applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing duty to all

Defective Vehicle owners to refrain from unfair and deceptive acts or practices under the

Arizona CFA—regardless of when those owners acquired their vehicles.

         1350. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         1351. As a direct and proximate result of New GM’s violations of the Arizona CFA,

Plaintiffs have suffered injury-in-fact and/or actual damage as alleged above. As a direct result

of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.




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         1352. Plaintiffs seek monetary relief against New GM in an amount to be determined at

trial. Plaintiffs also seek punitive damages because New GM engaged in aggravated and

outrageous conduct with an evil mind.

         1353. Plaintiffs also seek an order enjoining New GM’s unfair, unlawful, and/or

deceptive practices, attorneys’ fees, and any other just and proper relief available under the

Arizona CFA.

                                            COUNT II

                                   FRAUD BY CONCEALMENT

         1354. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1355. This claim is brought on behalf of Arizona residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         1356. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         1357. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         1358. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.




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         1359. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         1360. New GM did so in order to falsely assure purchasers, lessees, and owners of the

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         1361. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         1362. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.




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         1363. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         1364. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         1365. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         1366. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.




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         1367. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.

                                            COUNT III

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         1368. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1369. This claim is brought only on behalf of Arizona residents who are members of the

Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).

         1370. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         1371. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”




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         1372. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.

         1373. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         1374. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         1375. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         1376. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         1377. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.




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         1378. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         1379. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC

Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         1380. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         1381. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         1382. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         1383. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         1384. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims




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by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         1385. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable

by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         1386. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         1387. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         1388. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         1389. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’




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rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.

                                            COUNT IV

                                    UNJUST ENRICHMENT

         1390. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1391. This claim is brought on behalf of Arizona residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         1392. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         1393. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

         1394. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         1395. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs




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of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         1396. Thus, all Plaintiffs conferred a benefit on New GM.

         1397. It is inequitable for New GM to retain these benefits.

         1398. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         1399. New GM knowingly accepted the benefits of its unjust conduct.

         1400. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                            COUNT V

                      SUCCESSOR LIABILITY CLAIM FOR VIOLATIONS
                         OF THE ARIZONA CONSUMER FRAUD ACT
                             (ARIZONA REV. STAT. § 44-1521, et seq.)

         1401. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1402. This claim is brought on behalf of Arizona residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         1403. New GM and Plaintiffs are “persons” within the meaning of the Arizona

Consumer Fraud Act (“Arizona CFA”), ARIZ. REV. STAT. § 44-1521(6).

         1404. The Defective Vehicles are “merchandise” within the meaning of ARIZ. REV.

STAT. § 44-1521(5).

         1405. The Arizona CFA provides that “[t]he act, use or employment by any person of

any deception, deceptive act or practice, fraud, … misrepresentation, or concealment,




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suppression or omission of any material fact with intent that others rely upon such concealment,

suppression or omission, in connection with the sale … of any merchandise whether or not any

person has in fact been misled, deceived or damaged thereby, is declared to be an unlawful

practice.” ARIZ. REV. STAT. § 44-1522(A). By concealing the known defects in Plaintiffs’

vehicles, Old GM engaged in deceptive business practices prohibited by the Arizona CFA.

         1406. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         1407. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         1408. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         1409. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Arizona CFA.

         1410. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         1411. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.




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         1412. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         1413. Old GM knew or should have known that its conduct violated the Arizona CFA.

         1414. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         1415. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         1416. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         1417. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         1418. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of



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the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         1419. As a direct and proximate result of Old GM’s violations of the Arizona CFA,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.

         1420. Plaintiffs seek monetary relief against New GM (as the successor to Old GM) in

an amount to be determined at trial, as well as attorneys’ fees, and any other just and proper

relief available under the Arizona CFA.

                                            COUNT VI

             SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         1421. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1422. This claim is brought on behalf of Arizona residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         1423. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         1424. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.




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         1425. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         1426. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         1427. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         1428. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         1429. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.




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         1430. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         1431. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         1432. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         1433. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         1434. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.




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                                           ARKANSAS

                                             COUNT I

                VIOLATIONS OF THE DECEPTIVE TRADE PRACTICE ACT
                          (ARK. CODE ANN. § 4-88-101, et seq.)

         1435. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1436. This claim is brought on behalf of Arkansas residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         1437. New GM and Plaintiffs are “persons” within the meaning of the Arkansas

Deceptive Trade Practices Act (“Arkansas DTPA”), ARK. CODE ANN. § 4-88-102(5).

         1438. The Defective Vehicles are “goods” within the meaning of ARK. CODE ANN. § 4-

88-102(4).

         1439. The Arkansas DTPA prohibits “[d]eceptive and unconscionable trade practices,”

which include, but are not limited to, a list of enumerated items, including “[e]ngaging in any

other unconscionable, false, or deceptive act or practice in business, commerce, or trade[.]”

ARK. CODE ANN. § 4-88-107(a)(10). The Arkansas DTPA also prohibits the following when

utilized in connection with the sale or advertisement of any goods: “(1) The act, use, or

employment by any person of any deception, fraud, or false pretense; or (2) The concealment,

suppression, or omission of any material fact with intent that others rely upon the concealment,




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suppression, or omission.” ARK. CODE ANN. § 4-88-108. New GM violated the Arkansas DTPA

and engaged in deceptive and unconscionable trade practices by, among other things, concealing

the defects in the Defective Vehicles and otherwise engaging in activities with a tendency or

capacity to deceive. The defects in each vehicle include not only the specific defect (e.g., the

Delta Ignition Switch), but also include the defective process through which New GM built cars,

a process that included cost-cutting, minimizing the importance of safety issues, siloing, the

depletion of resources devoted to recognizing and studying safety issues, the failure to follow

acceptable engineering and inventory processes concerning parts management, and the failure to

follow a proper FMEA process. All of these defective processes would be material to a

reasonable consumer.

         1440. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         1441. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles.

         1442. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed




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above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         1443. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Arkansas DTPA.

         1444. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         1445. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         1446. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         1447. New GM knew or should have known that its conduct violated the Arkansas

DTPA.

         1448. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         1449. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles because New GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Defective Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Defective Vehicles, while purposefully




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                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         1450. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         1451. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defects. This diminished value is directly

attributed to New GM’s dishonesty and omissions with respect to the quality and safety of the

Defective Vehicles.

         1452. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         1453. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.




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         1454. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By assuming TREAD Act responsibilities with respect to Old GM vehicles, New GM effectively

undertook the role of manufacturer of those vehicles because the TREAD Act on its face only

applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing duty to all

Defective Vehicle owners to refrain from unfair and deceptive acts or practices under the

Arkansas DTPA—regardless of when those owners acquired their vehicles.

         1455. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         1456. As a direct and proximate result of New GM’s violations of the Arkansas DTPA,

Plaintiffs have suffered injury-in-fact and/or actual damage as alleged above. As a direct result

of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.

         1457. Plaintiffs seek monetary relief against New GM in an amount to be determined at

trial. Plaintiffs also seek punitive damages because New GM acted wantonly in causing the

injury or with such a conscious indifference to the consequences that malice may be inferred.

         1458. Plaintiffs also seek an order enjoining New GM’s unfair, unlawful, and/or

deceptive practices, attorneys’ fees, and any other just and proper relief available under the

Arkansas DTPA.




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                                            COUNT II

                                   FRAUD BY CONCEALMENT

         1459. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1460. This claim is brought on behalf of Arkansas residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         1461. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         1462. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         1463. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         1464. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         1465. New GM did so in order to falsely assure purchasers, lessees, and owners of the

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to




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consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         1466. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         1467. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         1468. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         1469. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other




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affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         1470. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         1471. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         1472. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.




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                                            COUNT III

           BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
                           (ARK. CODE ANN. § 4-2-314)

         1473. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1474. This claim is brought only on behalf of Arkansas residents who are members of

any of the following Subclasses: (i) the Delta Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (ii) the Low Torque Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (iii) the Knee-to-Key Camaro Defect Magnuson-Moss and Implied

Warranty Subclass; (iv) the Side Airbag Defect Magnuson-Moss and Implied Warranty

Subclass; and (v) the Power Steering Defect Magnuson-Moss and Implied Warranty Subclass

(collectively for the purposes of this Count, “Plaintiffs”).

         1475. New GM was a merchant with respect to motor vehicles within the meaning of

ARK. CODE ANN. § 4-2-104(1).

         1476. Under ARK. CODE ANN. § 4-2-314, a warranty that the Defective Vehicles were in

merchantable condition was implied by law in the transactions when Plaintiffs purchased or

leased their Defective Vehicles from New GM on or after July 10, 2009.

         1477. The Defective Vehicles, when sold and at all times thereafter, were not

merchantable and are not fit for the ordinary purpose for which cars are used.

         1478. The Defective Ignition Switch Vehicles are inherently defective in that there are

defects in the ignition switch systems that cause sudden unintended stalling to occur, with the

attendant shut down of power steering and power brakes and the nondeployment of airbags in the

event of a collision, thereby causing an increased likelihood of serious injury or death.




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         1479. The Power Steering Defect Vehicles are inherently defective in that there are

defects in the vehicles that can cause the loss of power steering assist, resulting in an increased

risk of accident.

         1480. The Side Airbag Defect Vehicles are inherently defective in that there are defects

in the wiring harness connectors that can cause the side impact airbags (SIABs) and seatbelt

pretensioners not to deploy in the event of a collision, thereby causing an increased likelihood of

serious injury or death.

         1481. New GM was provided notice of these issues by numerous complaints filed

against it, internal investigations, and by numerous individual letters and communications sent

by Plaintiffs and others before or within a reasonable amount of time after New GM issued the

recall and the allegations of vehicle defects became public.

         1482. As a direct and proximate result of New GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                            COUNT IV

                                          NEGLIGENCE

         1483. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1484. Plaintiffs bring this Count on behalf of Arkansas residents who are members of

any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque

Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag

Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of this

Count, “Plaintiffs”). All claims in this Count are Independent Claims, and challenge only the

conduct of New GM.




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         1485. New GM has designed, manufactured and/ or “certified” and sold or otherwise

placed in the stream of commerce Defective Vehicles as New GM or New GM Certified Pre-

Owned vehicles, as set forth above.

         1486. New GM had a duty to design, manufacture, and/or “certify” only a product that

would be safe for its intended and foreseeable uses and users, including the use to which its

products were put by Plaintiffs. New GM breached its duties to Plaintiffs because it was

negligent in the design, development, manufacture, and testing of the Defective Vehicles it

manufactured and/or sold as Certified Pre-Owned vehicles on or after July 10, 2009, and New

GM is responsible for this negligence.

         1487. New GM was negligent in the design, development, manufacture, testing, and/or

“certification” of the Defective Vehicles because it knew, or in the exercise of reasonable care

should have known, that the vehicles equipped with defective ignition systems, defective wiring

harnesses controlling side airbags and/or defective power steering pose an unreasonable risk of

death or serious bodily injury to Plaintiffs, passengers, other motorists, pedestrians, and the

public at large, because they are susceptible to incidents in which brakes, power steering, seatbelt

pretensioners, and/or airbags are rendered inoperable.

         1488. New GM thus “failed to exercise reasonable care in the manufacture of [its

Defective Vehicles]”, in violation of RESTATEMENT (SECOND) OF TORTS § 395 (“A manufacturer

who fails to exercise reasonable care in the manufacture of a chattel which, unless carefully

made, he should recognize as involving an unreasonable risk of causing physical harm to those

who use it for a purpose for which the manufacturer should expect it to be used and to those

whom he should expect to be endangered by its probable use, is subject to liability for physical

harm caused to them by its lawful use in a manner and for a purpose for which it is supplied.”).




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         1489. New GM further breached its duties to by supplying directly or through a third

person Defective Vehicles to be used by such foreseeable persons as Plaintiffs when:

                  a.   New GM knew or had reason to know that the vehicles were dangerous or

likely to be dangerous for the use for which they were supplied; and

                  b.   New GM failed to exercise reasonable care to inform customers of the

dangerous condition or of the facts under which the vehicles are likely to be dangerous.

         1490. New GM had a continuing duty to warn and instruct the intended and foreseeable

users of its vehicles, including Plaintiffs, of the defective condition of the vehicles and the high

degree of risk attendant to using the vehicles. Plaintiffs were entitled to know that the vehicles, in

their ordinary operation, were not reasonably safe for their intended and ordinary purposes and

uses.

         1491. Pursuant to its ongoing relationship with owners and lessees of Old GM Defective

Vehicles, New GM also had a duty to warn those Plaintiffs of the defects, and inform these

Plaintiffs that their vehicles, in their ordinary operation, were not reasonably safe for their

intended purposes.

         1492. New GM knew or should have known of the defects described herein. New GM

breached its duty to Plaintiffs because it failed to warn and instruct the intended and foreseeable

users of its vehicles of the defective condition of the vehicles and the high degree of risk

attendant to using the vehicles.

         1493. As a direct and proximate result of New GM’s negligence, Plaintiffs suffered

damages, including overpayment at the time of purchase, diminished value, and cost of repair.




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                                             COUNT V

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         1494. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1495. This claim is brought only on behalf of Arkansas residents who are members of

the Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).

         1496. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         1497. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         1498. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.




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         1499. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         1500. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         1501. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         1502. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         1503. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         1504. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         1505. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC




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Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         1506. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         1507. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         1508. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         1509. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         1510. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         1511. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable




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by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         1512. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         1513. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         1514. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         1515. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.




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                                            COUNT VI

                                    UNJUST ENRICHMENT

         1516. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1517. This claim is brought on behalf of Arkansas residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         1518. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         1519. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

         1520. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         1521. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         1522. Thus, all Plaintiffs conferred a benefit on New GM.




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         1523. It is inequitable for New GM to retain these benefits.

         1524. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         1525. New GM knowingly accepted the benefits of its unjust conduct.

         1526. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                            COUNT VII

                      SUCCESSOR LIABILITY CLAIM FOR VIOLATIONS OF
                          THE DECEPTIVE TRADE PRACTICE ACT
                            (ARK. CODE ANN. § 4-88-101, ET SEQ.)

         1527. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1528. This claim is brought on behalf of Arkansas residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         1529. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         1530. Old GM and Plaintiffs are “persons” within the meaning of the Arkansas

Deceptive Trade Practices Act (“Arkansas DTPA”), ARK. CODE ANN. § 4-88-102(5).

         1531. The Delta Ignition Switch Vehicles are “goods” within the meaning of ARK.

CODE ANN. § 4-88-102(4).




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         1532. The Arkansas DTPA prohibits “[d]eceptive and unconscionable trade practices,”

which include, but are not limited to, a list of enumerated items, including “[e]ngaging in any

other unconscionable, false, or deceptive act or practice in business, commerce, or trade[.]”

ARK. CODE ANN. § 4-88-107(a)(10). The Arkansas DTPA also prohibits the following when

utilized in connection with the sale or advertisement of any goods: “(1) The act, use, or

employment by any person of any deception, fraud, or false pretense; or (2) The concealment,

suppression, or omission of any material fact with intent that others rely upon the concealment,

suppression, or omission.” ARK. CODE ANN. § 4-88-108. Old GM violated the Arkansas DTPA

and engaged in deceptive and unconscionable trade practices by, among other things, concealing

the defects in the Delta Ignition Switch Vehicles and otherwise engaging in activities with a

tendency or capacity to deceive.

         1533. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         1534. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         1535. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.




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         1536. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Arkansas DTPA.

         1537. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         1538. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         1539. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         1540. Old GM knew or should have known that its conduct violated the Arkansas

DTPA.

         1541. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         1542. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.




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         1543. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         1544. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         1545. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         1546. As a direct and proximate result of Old GM’s violations of the Arkansas DTPA,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.

         1547. Plaintiffs seek monetary relief against New GM (as successor to Old GM) in an

amount to be determined at trial. Plaintiffs also seek attorneys’ fees, and any other just and

proper relief available under the Arkansas DTPA.

                                           COUNT VIII

             SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         1548. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.




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         1549. This claim is brought on behalf of Arkansas residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         1550. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         1551. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         1552. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         1553. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         1554. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         1555. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         1556. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge




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and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         1557. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         1558. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         1559. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         1560. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.




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         1561. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                            COUNT IX

                      SUCCESSOR LIABILITY CLAIM FOR BREACH OF
                       IMPLIED WARRANTY OF MERCHANTABILITY
                                (ARK. CODE ANN. § 4-2-314)

         1562. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1563. This claim is brought on behalf of Arkansas residents who are members of the

Delta Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor Liability

Subclass (for the purposes of this Count, “Plaintiffs”).

         1564. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         1565. Old GM was a merchant with respect to motor vehicles within the meaning of

ARK. CODE ANN. § 4-2-104(1).

         1566. Under ARK. CODE ANN. § 4-2-314, a warranty that the Delta Ignition Switch

Vehicles were in merchantable condition was implied by law in the transactions when Plaintiffs

purchased or leased their vehicles from Old GM on or before July 9, 2009.

         1567. The Delta Ignition Switch Vehicles, when sold and at all times thereafter, were

not merchantable and not fit for the ordinary purpose for which cars are used. Specifically, the




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Delta Ignition Switch Vehicles were inherently defective in that there were defects in the ignition

switch systems that cause sudden unintended stalling to occur, with the attendant shut down of

power steering and power brakes and the nondeployment of airbags in the event of a collision,

thereby causing an increased likelihood of serious injury or death.

         1568. New GM, as the successor to Old GM, was provided notice of these issues by

numerous complaints filed against it, internal investigations, and by numerous individual letters

and communications sent by Plaintiffs and others before or within a reasonable amount of time

after New GM issued the recall and the allegations of vehicle defects became public.

         1569. As a direct and proximate result of Old GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                            COUNT X

                      SUCCESSOR LIABILITY CLAIM FOR NEGLIGENCE

         1570. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1571. This claim is brought on behalf of Arkansas residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         1572. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         1573. Old GM designed, manufactured and sold or otherwise placed in the stream of

commerce Delta Ignition Switch Vehicles, as set forth above.




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         1574. Old GM had a duty to design, manufacture, and sell only a product that would be

safe for its intended and foreseeable uses and users, including the use to which its products were

put by Plaintiffs. Old GM breached its duties to Plaintiffs because it was negligent in the design,

development, manufacture, and testing of the Delta Ignition Switch Vehicles it manufactured and

sold on or before July 9, 2009, and New GM is responsible for Old GM’s negligence under the

doctrine of successor liability.

         1575. Old GM was negligent in the design, development, manufacture, testing, and/or

“certification” of the Delta Ignition Switch Vehicles because it knew, or in the exercise of

reasonable care should have known, that the vehicles equipped with defective ignition systems

pose an unreasonable risk of death or serious bodily injury to Plaintiffs, passengers, other

motorists, pedestrians, and the public at large, because they are susceptible to incidents in which

brakes, power steering, seatbelt pretensioners, and airbags are rendered inoperable.

         1576. Old GM thus “failed to exercise reasonable care in the manufacture of [its

Defective Vehicles]”, in violation of RESTATEMENT (SECOND) OF TORTS § 395 (“A manufacturer

who fails to exercise reasonable care in the manufacture of a chattel which, unless carefully

made, he should recognize as involving an unreasonable risk of causing physical harm to those

who use it for a purpose for which the manufacturer should expect it to be used and to those

whom he should expect to be endangered by its probable use, is subject to liability for physical

harm caused to them by its lawful use in a manner and for a purpose for which it is supplied.”).

         1577. Old GM further breached its duties to Plaintiffs by supplying directly or through a

third person defective Delta Ignition Switch Vehicles to be used by such foreseeable persons as

Plaintiffs when:




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         a.       Old GM knew or had reason to know that the vehicles were dangerous or likely to

be dangerous for the use for which they were supplied; and

         b.       Old GM failed to exercise reasonable care to inform customers of the dangerous

condition or of the facts under which the vehicles are likely to be dangerous.

         1578. Old GM had a continuing duty to warn and instruct the intended and foreseeable

users of its vehicles of the defective condition of the vehicles and the high degree of risk

attendant to using the vehicles. Plaintiffs were entitled to know that the vehicles, in their ordinary

operation, were not reasonably safe for their intended and ordinary purposes and uses.

         1579. Old GM knew or should have known of the defects described herein. Old GM

breached its duty to Plaintiffs because it failed to warn and instruct the intended and foreseeable

users of its vehicles of the defective condition of the vehicles and the high degree of risk

attendant to using the vehicles.

         1580. As a direct and proximate result of Old GM’s negligence, Plaintiffs suffered

damages, for which New GM has successor liability. The damages include overpayment for the

Delta Ignition Switch Vehicles and repair costs, as discussed above.

                                          CALIFORNIA

                                             COUNT I

                VIOLATIONS OF THE CONSUMER LEGAL REMEDIES ACT
                            (CAL. CIV. CODE § 1750, et seq.)

         1581. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1582. This claim is brought on behalf of California residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition




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Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         1583. New GM is a “person” under CAL. CIV. CODE § 1761(c).

         1584. Plaintiffs are “consumers,” as defined by CAL. CIVIL CODE § 1761(d), who

purchased or leased one or more Defective Vehicles.

         1585. The California Legal Remedies Act (“CLRA”) prohibits “unfair or deceptive acts

or practices undertaken by any person in a transaction intended to result or which results in the

sale or lease of goods or services to any consumer[.]” CAL. CIV. CODE § 1770(a). New GM has

engaged in unfair or deceptive acts or practices that violated CAL. CIV. CODE § 1750, et seq., as

described above and below, by among other things, concealing the known defects in Plaintiffs’

vehicles, representing that Defective Vehicles have characteristics, uses, benefits, and qualities

which they do not have; representing that Defective Vehicles are of a particular standard, quality,

and grade when they are not; advertising Defective Vehicles with the intent not to sell or lease

them as advertised; and representing that the subject of a transaction involving Defective

Vehicles has been supplied in accordance with a previous representation when it has not. The

defects in each vehicle include not only the specific defect (e.g., the Delta Ignition Switch), but

also include the defective process through which New GM built cars, a process that included

cost-cutting, minimizing the importance of safety issues, siloing, the depletion of resources

devoted to recognizing and studying safety issues, the failure to follow acceptable engineering

and inventory processes concerning parts management, and the failure to follow a proper FMEA

process. All of these defective processes would be material to a reasonable consumer.




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         1586. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         1587. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles.

         1588. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         1589. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the CLRA.

         1590. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.




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         1591. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         1592. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         1593. New GM knew or should have known that its conduct violated the CLRA.

         1594. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         1595. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles because New GM:

                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         1596. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.




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         1597. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defects. This diminished value is directly

attributed to New GM’s dishonesty and omissions with respect to the quality and safety of the

Defective Vehicles.

         1598. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         1599. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         1600. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By assuming TREAD Act responsibilities with respect to Old GM vehicles, New GM effectively

undertook the role of manufacturer of those vehicles because the TREAD Act on its face only

applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing duty to all

Defective Vehicle owners to refrain from unfair and deceptive acts or practices under the

CLRA—regardless of when those owners acquired their vehicles.

         1601. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta




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Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         1602. As a direct and proximate result of New GM’s violations of the CLRA, Plaintiffs

have suffered injury-in-fact and/or actual damage as alleged above. As a direct result of New

GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time required to

repair their vehicles.

         1603. Under CAL. CIV. CODE § 1780(a), Plaintiffs seek monetary relief against New GM

for the harm caused by New GM’s violations of the CLRA as alleged herein.

         1604. Under CAL. CIV. CODE § 1780(b), Plaintiffs seek an additional award against

New GM of up to $5,000 for each Plaintiff who qualifies as a “senior citizen” or “disabled

person” under the CLRA. New GM knew or should have known that its conduct was directed to

one or more Plaintiffs who are senior citizens or disabled persons. New GM’s conduct caused

one or more of these senior citizens or disabled persons to suffer a substantial loss of property set

aside for retirement or for personal or family care and maintenance, or assets essential to the

health or welfare of the senior citizen or disabled person. One or more Plaintiffs who are senior

citizens or disabled persons are substantially more vulnerable to New GM’s conduct because of

age, poor health or infirmity, impaired understanding, restricted mobility, or disability, and each

of them suffered substantial physical, emotional, or economic damage resulting from New GM’s

conduct.

         1605. Plaintiffs also seek punitive damages against New GM because it carried out

reprehensible conduct with willful and conscious disregard of the rights and safety of others,

subjecting Plaintiffs to potential cruel and unjust hardship as a result. New GM intentionally and




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willfully deceived Plaintiffs on life-or-death matters, and concealed material facts that only

New GM knew. New GM’s unlawful conduct constitutes malice, oppression, and fraud

warranting punitive damages under CAL. CIV. CODE § 3294.

         1606. Plaintiffs further seek an order enjoining New GM’s unfair or deceptive acts or

practices, restitution, punitive damages, costs of court, attorneys’ fees under CAL. CIV. CODE

§ 1780(e), and any other just and proper relief available under the CLRA.

         1607. Certain Plaintiffs have sent a letter complying with CAL. CIV. CODE § 1780(b).

                                            COUNT II

            VIOLATION OF THE CALIFORNIA UNFAIR COMPETITION LAW
                       (CAL. BUS. & PROF. CODE § 17200, et seq.)

         1608. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1609. This claim is brought on behalf of California residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         1610. California Business and Professions Code § 17200 prohibits any “unlawful,

unfair, or fraudulent business act or practices.” New GM has engaged in unlawful, fraudulent,

and unfair business acts and practices in violation of the UCL.

         1611. New GM violated the unlawful prong of § 17200 by the following:




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                  a.    violations of the CLRA, CAL. CIV. CODE § 1750, et seq., as
                        set forth in California Count I by the acts and practices set
                        forth in this Complaint.

                  b.    violation of the National Traffic and Motor Vehicle Safety
                        Act of 1996, codified at 49 U.S.C. §§ 30101-30170, and its
                        regulations. Federal Motor Vehicle Safety Standard
                        (“FMVSS”) 573 governs a motor vehicle manufacturer’s
                        responsibility to notify NHTSA of a motor vehicle defect
                        within five days of determining that the defect is safety
                        related. See 49 C.F.R. § 573.6. New GM violated these
                        reporting requirements by failing to report the defects in the
                        Defective Vehicles within the required time, and failing to
                        timely recall all impacted vehicles.

         1612. New GM also violated the “fraudulent” prong of section 17200 by concealing the

defects in the Defective Vehicles, information that was material to a reasonable consumer, while

it touted the safety and reliability of its vehicles.

         1613. New GM also violated the unfair prong of section 17200 because the acts and

practices set forth in the Complaint, including devaluing safety and concealing the defects in the

Defective Vehicles, offend established public policy, and also because the harm New GM caused

consumers greatly outweighs any benefits associated with those practices. New GM’s conduct

has also impaired competition within the automotive vehicles market and has prevented Plaintiffs

from making fully informed decisions about whether to lease, purchase and/or retain the

Defective Vehicles.

         1614. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection




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with the sale of the Defective Vehicles. The defects in each vehicle include not only the specific

defect (e.g., the Delta Ignition Switch), but also include the defective process through which

New GM built cars, a process that included cost-cutting, minimizing the importance of safety

issues, siloing, the depletion of resources devoted to recognizing and studying safety issues, the

failure to follow acceptable engineering and inventory processes concerning parts management,

and the failure to follow a proper FMEA process. All of these defective processes would be

material to a reasonable consumer.

         1615. New GM’s actions, as set forth above, occurred in the conduct of New GM’s

business, and in trade or commerce.

         1616. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         1617. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the UCL.

         1618. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.




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         1619. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         1620. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         1621. New GM knew or should have known that its conduct violated the UCL.

         1622. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         1623. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles because New GM:

                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         1624. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.




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         1625. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defects. This diminished value is directly

attributed to New GM’s dishonesty and omissions with respect to the quality and safety of the

Defective Vehicles.

         1626. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         1627. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         1628. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By assuming TREAD Act responsibilities with respect to Old GM vehicles, New GM effectively

undertook the role of manufacturer of those vehicles because the TREAD Act on its face only

applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing duty to all

Defective Vehicle owners to refrain from unfair and deceptive acts or practices under the UCL—

regardless of when those owners acquired their vehicles.

         1629. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta




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Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         1630. As a direct and proximate result of New GM’s violations of the UCL, Plaintiffs

have suffered injury-in-fact and/or actual damage.

         1631. Plaintiffs request that this Court enter such orders or judgments as may be

necessary, including a declaratory judgment that New GM has violated the UCL; an order

enjoining New GM from continuing its unfair, unlawful, and/or deceptive practices; an order

supervising the recalls; an order and judgment restoring to the Plaintiffs any money lost as the

result of New GM’s unfair, unlawful, and deceptive trade practices, including restitution and

disgorgement of any profits New GM received as a result of its unfair, unlawful, and/or

deceptive practices, as provided in CAL. BUS. & PROF. CODE § 17203, CAL CIV. PROC. § 384 and

CAL. CIV. CODE § 3345; and for such other relief as may be just and proper.

                                            COUNT III

                                     FRAUD BY CONCEALMENT

         1632. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1633. This claim is brought on behalf of California residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”) The claims in this Count are Independent Claims, and challenge only the conduct of

New GM.




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         1634. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         1635. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         1636. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         1637. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         1638. New GM did so in order to falsely assure purchasers, lessees, and owners of the

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         1639. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and




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implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         1640. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         1641. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         1642. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         1643. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all




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Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         1644. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         1645. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.

                                            COUNT IV

            VIOLATION OF SONG-BEVERLY CONSUMER WARRANTY ACT
           FOR BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                         (CAL. CIV. CODE §§ 1791.1 & 1792)

         1646. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1647. This claim is brought only on behalf of California residents who are members of

any of the following Subclasses: (i) the Delta Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (ii) the Low Torque Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (iii) the Knee-to-Key Camaro Defect Magnuson-Moss and Implied

Warranty Subclass; (iv) the Side Airbag Defect Magnuson-Moss and Implied Warranty

Subclass; and (v) the Power Steering Defect Magnuson-Moss and Implied Warranty Subclass

(collectively for the purposes of this Count, “Plaintiffs”).

         1648. Plaintiffs are “buyers” within the meaning of CAL. CIV. CODE § 1791(b).

         1649. The Defective Vehicles are “consumer goods” within the meaning of CIV. CODE

§ 1791(a).




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         1650. New GM is the “manufacturer” of the Defective Vehicles within the meaning of

CAL. CIV. CODE § 1791(j).

         1651. New GM impliedly warranted to Plaintiffs that Defective Vehicles sold or leased

as new or New GM Certified Pre-Owned vehicles on or after July 10, 2009 were “merchantable”

within the meaning of CAL. CIV. CODE §§ 1791.1(a) & 1792; however, the Defective Vehicles do

not have the quality that a buyer would reasonably expect, and were therefore not merchantable.

         1652. CAL. CIV. CODE § 1791.1(a) states:

                  “Implied warranty of merchantability” or “implied warranty that
                  goods are merchantable” means that the consumer goods meet
                  each of the following:

                  (1)    Pass without objection in the trade under the contract
                         description.

                  (2)    Are fit for the ordinary purposes for which such goods are
                         used.

                  (3)    Are adequately contained, packaged, and labeled.

                  (4)    Conform to the promises or affirmations of fact made on
                         the container or label.

         1653. The Defective Vehicles would not pass without objection in the automotive trade

because of the dangerous defects in each vehicle that created an unreasonable likelihood of

accident and/or an unreasonable likelihood that such accidents will cause serious bodily harm or

death to vehicle occupants.

         1654. Because of the ignition switch defects that cause sudden unintended stalling to

occur, with the attendant shut down of power steering and power brakes and the nondeployment

of airbags in the event of a collision, thereby causing an increased likelihood of serious injury or

death., the Defective Ignition Switch Vehicles are not safe to drive and thus not fit for ordinary

purposes.



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         1655. The Power Steering Defect Vehicles are inherently defective and not fit for

ordinary purposes in that there are defects in the vehicles that can cause the loss of power

steering assist, resulting in an increased risk of accident.

         1656. The Side Airbag Defect Vehicles are inherently defective and not fit for ordinary

purposes in that there are defects in the wiring harness connectors that can cause the side impact

airbags (SIABs) and seatbelt pretensioners not to deploy in the event of a collision, thereby

causing an increased likelihood of serious injury or death.

         1657. The Defective Ignition Switch Vehicles are not adequately labeled because the

labeling fails to disclose the ignition switch defects and does not advise Plaintiffs to avoid

attaching anything to their vehicle key rings. New GM failed to warn about the dangerous safety

defects in the Defective Ignition Switch Vehicles.

         1658. New GM breached the implied warranty of merchantability by selling Defective

Vehicles containing defects leading to the sudden and unintended shutdown of the vehicles

during ordinary driving conditions, and/or the failure of power steering and/or the disablement of

the vehicles’ airbags. These defects have deprived Plaintiffs of the benefit of their bargain and

have caused the Defective Vehicles to depreciate in value.

         1659. Notice of breach is not required because Plaintiffs did not purchase their

automobiles directly from New GM.

         1660. As a direct and proximate result New GM’s breach of its duties under California’s

Lemon Law, Plaintiffs received goods whose dangerous condition substantially impairs their

value. Plaintiffs have been damaged by the diminished value of their vehicles, the product’s

malfunctioning, and the loss of use of their Defective Vehicles.




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          1661. Under CAL. CIV. CODE §§ 1791.1(d) & 1794, Plaintiffs are entitled to damages

and other legal and equitable relief including, at their election, the purchase price of their

Defective Vehicles, or the overpayment or diminution in value of their Defective Vehicles.

          1662. Under CAL. CIV. CODE § 1794, Plaintiffs are entitled to costs and attorneys’ fees.

                                             COUNT V

                            NEGLIGENT FAILURE TO RECALL419

          1663. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

          1664. Plaintiffs bring this Count on behalf of California residents who are members of

any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque

Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag

Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of this

Count, “Plaintiffs”). All claims in this Count are Independent Claims, and challenge only the

conduct of New GM.

          1665. New GM manufactured, distributed, and sold Defective Vehicles. It also sold

Defective Vehicles as New GM Certified Pre-Owned Vehicles. It also had a duty in negligence

to all owners and lessees of the Defective Vehicles, regardless of when those vehicles were

bought or leased.

          1666. New GM knew or reasonably should have known that the Defective Vehicles

were dangerous and/or were likely to be dangerous when used in a reasonably foreseeable

manner.

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       Plaintiffs are aware that this Court has held that California’s economic loss rule bars this
claim, and are asserting this claim here solely for the purposes of preserving the claim for
appellate purposes.



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         1667. New GM either knew of the defects before the Defective Vehicles were sold, or

became aware of the ignition switch defects and their attendant risks after the vehicles were sold.

         1668. New GM failed to adequately recall the Defective Vehicles in a timely manner.

         1669. Owners and lessees of the Defective Vehicles, including Plaintiffs, were harmed

by New GM’s failure to adequately recall all the Defective Vehicles in a timely manner and have

suffered damages, including, without limitation, damage to other components of the Defective

Vehicles caused by the defects, the diminished value of the Defective Vehicles, and the costs

associated with the loss of use of the Defective Vehicles.

         1670. New GM’s failure to timely and adequately recall the Defective Vehicles was a

substantial factor in causing Plaintiffs’ harm, including overpayment at the time of purchase,

diminished value, and cost of repair.

                                            COUNT VI

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         1671. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1672. This claim is brought only on behalf of California residents who are members of

the Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).

         1673. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         1674. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required




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… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         1675. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.

         1676. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         1677. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         1678. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         1679. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).




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         1680. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         1681. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         1682. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC

Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         1683. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         1684. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         1685. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         1686. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute




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additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         1687. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         1688. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable

by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         1689. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         1690. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.




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          1691. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

          1692. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.

                                            COUNT VII

                                    UNJUST ENRICHMENT420

          1693. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

          1694. This claim is brought on behalf of California residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

          1695. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

          1696. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

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       Plaintiffs understand that this Court has found Plaintiffs cannot state this claim if they had
an express warranty with New GM. This claim is asserted here on behalf of such Plaintiffs
solely for the purpose of preserving the claim for appellate purposes.



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         1697. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         1698. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         1699. Thus, all Plaintiffs conferred a benefit on New GM.

         1700. It is inequitable for New GM to retain these benefits.

         1701. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         1702. New GM knowingly accepted the benefits of its unjust conduct.

         1703. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                               COUNT VIII

           SUCCESSOR LIABILITY CLAIM FOR VIOLATIONS OF THE CONSUMER
                           LEGAL REMEDIES ACT

                                  (CAL. CIV. CODE § 1750, ET SEQ.)

         1704. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.




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         1705. This claim is brought on behalf of California residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         1706. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         1707. Old GM was a “person” under CAL. CIV. CODE § 1761(c).

         1708. Plaintiffs are “consumers,” as defined by CAL. CIVIL CODE § 1761(d), who

purchased or leased one or more Defective Vehicles.

         1709. The California Legal Remedies Act (“CLRA”) prohibits “unfair or deceptive acts

or practices undertaken by any person in a transaction intended to result or which results in the

sale or lease of goods or services to any consumer[.]” CAL. CIV. CODE § 1770(a). Old GM

engaged in unfair or deceptive acts or practices that violated CAL. CIV. CODE § 1750, et seq., as

described above and below, by among other things, concealing the known defects in Plaintiffs’

Delta Ignition Switch Vehicles, representing that the vehicles have characteristics, uses, benefits,

and qualities which they do not have; representing that the vehicles s are of a particular standard,

quality, and grade when they are not; advertising the vehicles with the intent not to sell or lease

them as advertised; and representing that the subject of a transaction involving a Delta Ignition

Switch Vehicle has been supplied in accordance with a previous representation when it has not.

         1710. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.




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         1711. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         1712. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         1713. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the CLRA.

         1714. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         1715. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         1716. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         1717. Old GM knew or should have known that its conduct violated the CLRA.

         1718. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         1719. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:




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                  a.   Possessed exclusive knowledge about the defects in the
                       Delta Ignition Switch Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Delta Ignition Switch Vehicles, while
                       purposefully withholding material facts from Plaintiffs that
                       contradicted these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to
                       disclose and remedy the defects.

         1720. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Plaintiffs been aware of the defects in their vehicles, they would

have either not bought their Delta Ignition Switch Vehicles or would have paid less for them.

         1721. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         1722. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         1723. As a direct and proximate result of Old GM’s violations of the CLRA, Plaintiffs

have suffered injury-in-fact and/or actual damage for which New GM has successor liability.

         1724. Under CAL. CIV. CODE § 1780(a), Plaintiffs seek monetary relief against New GM

for the harm caused by Old GM’s violations of the CLRA as alleged herein.




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         1725. Under CAL. CIV. CODE § 1780(b), Plaintiffs seek an additional award against

New GM of up to $5,000 for each Plaintiff who qualifies as a “senior citizen” or “disabled

person” under the CLRA. Old GM knew or should have known that its conduct was directed to

one or more Plaintiffs who are senior citizens or disabled persons. Old GM’s conduct caused

one or more of these senior citizens or disabled persons to suffer a substantial loss of property set

aside for retirement or for personal or family care and maintenance, or assets essential to the

health or welfare of the senior citizen or disabled person. One or more Plaintiffs who are senior

citizens or disabled persons were substantially more vulnerable to Old GM’s conduct because of

age, poor health or infirmity, impaired understanding, restricted mobility, or disability, and each

of them suffered substantial physical, emotional, or economic damage resulting from Old GM’s

conduct for which New GM has successor liability.

         1726. Plaintiffs further seek costs of court, attorneys’ fees under CAL. CIV. CODE

§ 1780(e), and any other just and proper relief available under the CLRA.

         1727. Certain Plaintiffs have sent a letter complying with CAL. CIV. CODE § 1780(b).

                                            COUNT IX

                      SUCCESSOR LIABILITY CLAIM FOR VIOLATION OF
                        THE CALIFORNIA UNFAIR COMPETITION LAW
                            (CAL. BUS. & PROF. CODE § 17200, et seq.)

         1728. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1729. This claim is brought on behalf of California residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).




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         1730. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         1731. California Business and Professions Code § 17200 prohibits any “unlawful,

unfair, or fraudulent business act or practices.” Old GM engaged in unlawful, fraudulent, and

unfair business acts and practices in violation of the UCL.

         1732. Old GM violated the unlawful prong of § 17200 by the following:

                  a.    violations of the CLRA, CAL. CIV. CODE § 1750, et seq., as
                        set forth in California Count 8 by the acts and practices set
                        forth in this Complaint.

                  b.    violation of the National Traffic and Motor Vehicle Safety
                        Act of 1996, codified at 49 U.S.C. §§ 30101-30170, and its
                        regulations. Federal Motor Vehicle Safety Standard
                        (“FMVSS”) 573 governs a motor vehicle manufacturer’s
                        responsibility to notify NHTSA of a motor vehicle defect
                        within five days of determining that the defect is safety
                        related. See 49 C.F.R. § 573.6. Old GM violated these
                        reporting requirements by failing to report the defects in the
                        Delta Ignition Switch Vehicles within the required time,
                        and failing to timely recall all impacted vehicles.

         1733. Old GM also violated the “fraudulent” prong of section 17200 by concealing the

defects in the Delta Ignition Switch Vehicles, information that was material to a reasonable

consumer, while it touted the safety and reliability of its vehicles.

         1734. Old GM also violated the unfair prong of section 17200 because the acts and

practices set forth in the Complaint, including devaluing safety and concealing the defects in the

Delta Ignition Switch Vehicles, offend established public policy, and also because the harm Old

GM caused consumers greatly outweighs any benefits associated with those practices. Old GM’s




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conduct also impaired competition within the automotive vehicles market and prevented

Plaintiffs from making fully informed decisions about whether to lease, purchase and/or retain

their vehicles.

         1735. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Delta Ignition Switch Vehicles.

         1736. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         1737. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         1738. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         1739. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the UCL.




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         1740. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         1741. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         1742. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         1743. Old GM knew or should have known that its conduct violated the UCL.

         1744. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         1745. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         1746. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Plaintiffs been aware of the defects in their vehicles, they would

have either not bought their Delta Ignition Switch Vehicles or would have paid less for them.



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         1747. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         1748. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all.

         1749. As a direct and proximate result of Old GM’s violations of the UCL, Plaintiffs

have suffered injury-in-fact and/or actual damage for which New GM has successor liability.

         1750. As a direct and proximate result of Old GM’s violations of the UCL for which

New GM has successor liability, Plaintiffs have suffered injury-in-fact and/or actual damage.

         1751. Plaintiffs request that this Court enter such orders or judgments as may be

necessary, including an order and judgment restoring to the Plaintiffs any money lost as the

result of Old GM’s unfair, unlawful, and deceptive trade practices, including restitution and

disgorgement of any profits Old GM received as a result of its unfair, unlawful, and/or deceptive

practices, as provided in CAL. BUS. & PROF. CODE § 17203, CAL CIV. PROC. § 384 and CAL. CIV.

CODE § 3345; and for such other relief as may be just and proper.

                                            COUNT X

           SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         1752. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1753. This claim is brought on behalf of California residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).




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         1754. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         1755. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         1756. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         1757. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         1758. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         1759. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         1760. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as




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set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         1761. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         1762. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         1763. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         1764. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         1765. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old




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GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                            COUNT XI

                SUCCESSOR LIABILITY CLAIM FOR VIOLATION OF
                  SONG-BEVERLY CONSUMER WARRANTY ACT
           FOR BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                        (CAL. CIV. CODE §§ 1791.1 & 1792)

         1766. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1767. This claim is brought on behalf of California residents who are members of the

Delta Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor Liability

Subclass (for the purposes of this Count, “Plaintiffs”).

         1768. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         1769. Plaintiffs are “buyers” within the meaning of CAL. CIV. CODE § 1791(b).

         1770. The Delta Ignition Switch Vehicles are “consumer goods” within the meaning of

CIV. CODE § 1791(a).

         1771. Old GM was the “manufacturer” of the Defective Vehicles within the meaning of

CAL. CIV. CODE § 1791(j).

         1772. Old GM impliedly warranted to Plaintiffs that Delta Ignition Switch Vehicles

were “merchantable” within the meaning of CAL. CIV. CODE §§ 1791.1(a) & 1792; however, the




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Delta Ignition Switch Vehicles did not have the quality that a buyer would reasonably expect,

and were therefore not merchantable.

         1773. CAL. CIV. CODE § 1791.1(a) states:

                  “Implied warranty of merchantability” or “implied warranty that
                  goods are merchantable” means that the consumer goods meet
                  each of the following:

                  (1)    Pass without objection in the trade under the contract
                         description.

                  (2)    Are fit for the ordinary purposes for which such goods are
                         used.

                  (3)    Are adequately contained, packaged, and labeled.

                  (4)    Conform to the promises or affirmations of fact made on
                         the container or label.

         1774. The Delta Ignition Switch Vehicles would not pass without objection in the

automotive trade because of the dangerous defects that created an unreasonable likelihood of

accident, and an unreasonable likelihood that such accidents will cause serious bodily harm or

death to vehicle occupants.

         1775. Because of the ignition switch defects that cause sudden unintended stalling to

occur, with the attendant shut down of power steering and power brakes and the nondeployment

of airbags in the event of a collision, thereby causing an increased likelihood of serious injury or

death., the Delta Ignition Switch Vehicles are not safe to drive and thus not fit for ordinary

purposes.

         1776. The Delta Ignition Switch Vehicles are not adequately labeled because the

labeling fails to disclose the ignition switch defects and does not advise Plaintiffs to avoid

attaching anything to their vehicle key rings. Old GM failed to warn about the dangerous safety

defects in the Delta Ignition Switch Vehicles.



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          1777. Old GM breached the implied warranty of merchantability by selling Delta

Ignition Switch Vehicles containing defects leading to the sudden and unintended shutdown of

the vehicles during ordinary driving conditions, the failure of power steering and power brakes,

and the disablement of the vehicles’ airbags. The defects deprived Plaintiffs of the benefit of

their bargain.

          1778. Notice of breach is not required because Plaintiffs did not purchase their

automobiles directly from Old GM.

          1779. As a direct and proximate result of Old GM’s breach of its duties under

California’s Lemon Law, Plaintiffs received goods whose dangerous condition substantially

impaired their value. .

          1780. Under CAL. CIV. CODE §§ 1791.1(d) & 1794, Plaintiffs are entitled to damages

and other legal and equitable relief including, at their election, the purchase price of their

vehicles, or the overpayment or diminution in value of their vehicles.

          1781. Under CAL. CIV. CODE § 1794, Plaintiffs are entitled to costs and attorneys’ fees.

                                            COUNT XII

    SUCCESSOR LIABILITY CLAIM FOR NEGLIGENT FAILURE TO RECALL421

          1782. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

          1783. This claim is brought on behalf of California residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

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       Plaintiffs are aware that this Court has held that California’s economic loss rule bars this
claim, and are asserting this claim here solely for the purposes of preserving the claim for
appellate purposes.



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         1784. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         1785. Old GM knew or reasonably should have known that the Delta Ignition Switch

Vehicles were dangerous and/or were likely to be dangerous when used in a reasonably

foreseeable manner.

         1786. Old GM either knew of the defects before the Delta Ignition Switch Vehicles

were sold, or became aware of the ignition switch defect and its attendant risks after the vehicles

were sold.

         1787. Old GM failed to recall the Delta Ignition Switch Vehicles.

         1788. Owners and lessees of the Delta Ignition Switch Vehicles sold by Old GM,

including Plaintiffs, were harmed by Old GM’s failure to recall all the vehicles and have suffered

damages, including, without limitation, damage to other components of the vehicles caused by

the defects, the diminished value of the vehicles, the costs associated with the loss of use of the

vehicles, overpayment for the Delta Ignition Switch Vehicles and repair costs, as discussed

above.

         1789. Old GM’s failure to recall the Delta Ignition Switch Vehicles was a substantial

factor in causing Plaintiffs’ harm, including overpayment, diminishment of value, and repair

costs as alleged above.




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                                           COLORADO

                                             COUNT I

          VIOLATIONS OF THE COLORADO CONSUMER PROTECTION ACT
                        (COL. REV. STAT. § 6-1-101, et seq.)

         1790. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1791. This claim is brought on behalf of Colorado residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         1792. New GM is a “person” under § 6-1-102(6) of the Colorado Consumer Protection

Act (“Colorado CPA”), COL. REV. STAT. § 6-1-101, et seq.

         1793. Plaintiffs are “consumers” for purposes of COL. REV. STAT § 6-1-113(1)(a).

         1794. The Colorado CPA prohibits deceptive trade practices in the course of a person’s

business. New GM engaged in deceptive trade practices prohibited by the Colorado CPA,

including: (1) knowingly making a false representation as to the characteristics, uses, and

benefits of the Defective Vehicles that had the capacity or tendency to deceive Plaintiffs; (2)

representing that the Defective Vehicles are of a particular standard, quality, and grade even

though New GM knew or should have known they are not; (3) advertising the Defective

Vehicles with the intent not to sell them as advertised; and (4) failing to disclose material

information concerning the Defective Vehicles that was known to New GM at the time of




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advertisement or sale with the intent to induce Plaintiffs to purchase, lease or retain the Defective

Vehicles. The defects in each vehicle include not only the specific defect (e.g., the Delta Ignition

Switch), but also include the defective process through which New GM built cars, a process that

included cost-cutting, minimizing the importance of safety issues, siloing, the depletion of

resources devoted to recognizing and studying safety issues, the failure to follow acceptable

engineering and inventory processes concerning parts management, and the failure to follow a

proper FMEA process. All of these defective processes would be material to a reasonable

consumer.

         1795. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         1796. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles.

         1797. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety




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issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         1798. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Colorado CPA.

         1799. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         1800. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         1801. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         1802. New GM knew or should have known that its conduct violated the Colorado CPA.

         1803. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         1804. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles because New GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Defective Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Defective Vehicles, while purposefully
                        withholding material facts from Plaintiffs that contradicted
                        these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to disclose and
                        remedy the defects.



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         1805. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         1806. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defects. This diminished value is directly

attributed to New GM’s dishonesty and omissions with respect to the quality and safety of the

Defective Vehicles.

         1807. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         1808. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         1809. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.




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By assuming TREAD Act responsibilities with respect to Old GM vehicles, New GM effectively

undertook the role of manufacturer of those vehicles because the TREAD Act on its face only

applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing duty to all

Defective Vehicle owners to refrain from unfair and deceptive acts or practices under the

Colorado CPA—regardless of when those owners acquired their vehicles.

         1810. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         1811. As a direct and proximate result of New GM’s violations of the Colorado CPA,

Plaintiffs have suffered injury-in-fact and/or actual damage.

         1812. Pursuant to COLO. REV. STAT. § 6-1-113, Plaintiffs seek monetary relief against

New GM measured as the greater of (a) actual damages in an amount to be determined at trial

and discretionary trebling of such damages, or (b) statutory damages in the amount of $500 for

each Plaintiff.

         1813. Plaintiffs also seek an order enjoining New GM’s unfair, unlawful, and/or

deceptive practices, declaratory relief, attorneys’ fees, and any other just and proper relief

available under the Colorado CPA.

                                            COUNT II

                                     FRAUD BY CONCEALMENT

         1814. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.




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         1815. This claim is brought on behalf of Colorado residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”) The claims in this Count are Independent Claims, and challenge only the conduct of

New GM.

         1816. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         1817. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         1818. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         1819. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         1820. New GM did so in order to falsely assure purchasers, lessees, and owners of the

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         1821. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by




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Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         1822. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         1823. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         1824. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         1825. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the




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defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         1826. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         1827. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.

                                            COUNT III

           BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
                           (COL. REV. STAT. § 4-2-314)

         1828. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1829. This claim is brought only on behalf of Colorado residents who are members of

any of the following Subclasses: (i) the Delta Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (ii) the Low Torque Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (iii) the Knee-to-Key Camaro Defect Magnuson-Moss and Implied




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Warranty Subclass; (iv) the Side Airbag Defect Magnuson-Moss and Implied Warranty

Subclass; and (v) the Power Steering Defect Magnuson-Moss and Implied Warranty Subclass

(collectively for the purposes of this Count, “Plaintiffs”).

         1830. New GM was a merchant with respect to motor vehicles.

         1831. Under COL. REV. STAT. § 4-2-314, a warranty that the Defective Vehicles were in

merchantable condition was implied by law in the transactions when Plaintiffs purchased or

leased their Defective Vehicles from New GM on or after July 10, 2009.

         1832. The Defective Vehicles, when sold and at all times thereafter, were not

merchantable and are not fit for the ordinary purpose for which cars are used.

         1833. The Defective Ignition Switch Vehicles are inherently defective in that there are

defects in the ignition switch systems that cause sudden unintended stalling to occur, with the

attendant shut down of power steering and power brakes and the nondeployment of airbags in the

event of a collision, thereby causing an increased likelihood of serious injury or death.

         1834. The Power Steering Defect Vehicles are inherently defective in that there are

defects in the vehicles that can cause the loss of power steering assist, resulting in an increased

risk of accident.

         1835. The Side Airbag Defect Vehicles are inherently defective in that there are defects

in the wiring harness connectors that can cause the side impact airbags (SIABs) and seatbelt

pretensioners not to deploy in the event of a collision, thereby causing an increased likelihood of

serious injury or death.

         1836. New GM was provided notice of these issues by numerous complaints filed

against it, internal investigations, and by numerous individual letters and communications sent




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by Plaintiffs and others before or within a reasonable amount of time after New GM issued the

recall and the allegations of vehicle defects became public.

         1837. As a direct and proximate result of New GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                            COUNT IV

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         1838. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1839. This claim is brought only on behalf of Colorado residents who are members of

the Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).

         1840. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         1841. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”




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         1842. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.

         1843. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         1844. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         1845. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         1846. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         1847. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.




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         1848. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         1849. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC

Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         1850. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         1851. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         1852. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         1853. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         1854. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims




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by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         1855. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable

by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         1856. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         1857. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         1858. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         1859. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’




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rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.

                                            COUNT V

                                    UNJUST ENRICHMENT

         1860. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1861. This claim is brought on behalf of Colorado residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”).

         1862. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         1863. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

         1864. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         1865. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs




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of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         1866. Thus, all Plaintiffs conferred a benefit on New GM.

         1867. It is inequitable for New GM to retain these benefits.

         1868. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         1869. New GM knowingly accepted the benefits of its unjust conduct.

         1870. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                            COUNT VI

       SUCCESSOR LIABILITY CLAIM FOR VIOLATIONS OF THE COLORADO
                       CONSUMER PROTECTION ACT
                       (COL. REV. STAT. § 6-1-101, et seq.)

         1871. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1872. This claim is brought on behalf of Colorado residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         1873. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply Plaintiffs, so they are free

to assert this successor liability claim without impediment from the Sale Order.

         1874. Old GM was a “person” under § 6-1-102(6) of the Colorado Consumer Protection

Act (“Colorado CPA”), COL. REV. STAT. § 6-1-101, et seq.




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         1875. Plaintiffs are “consumers” for purposes of COL. REV. STAT § 6-1-113(1)(a).

         1876. The Colorado CPA prohibits deceptive trade practices in the course of a person’s

business. Old GM engaged in deceptive trade practices prohibited by the Colorado CPA,

including: (1) knowingly making a false representation as to the characteristics, uses, and

benefits of the Delta Ignition Switch Vehicles that had the capacity or tendency to deceive

Plaintiffs; (2) representing that the Delta Ignition Switch were of a particular standard, quality,

and grade even though Old GM knew or should have known they are not; (3) advertising the

Delta Ignition Switch Vehicles with the intent not to sell them as advertised; and (4) failing to

disclose material information concerning the Delta Ignition Switch that was known to Old GM at

the time of advertisement or sale with the intent to induce Plaintiffs to purchase, lease or retain

the Delta Ignition Switch Vehicles.

         1877. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         1878. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         1879. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.




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         1880. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Colorado CPA.

         1881. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         1882. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         1883. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         1884. Old GM knew or should have known that its conduct violated the Colorado CPA.

         1885. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         1886. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         1887. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their



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bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         1888. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         1889. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all.

         1890. As a direct and proximate result of Old GM’s violations of the Colorado CPA,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.

         1891. Pursuant to COLO. REV. STAT. § 6-1-113, Plaintiffs seek monetary relief against

New GM (as Old GM’s successor) measured as the greater of (a) actual damages in an amount to

be determined at trial and discretionary trebling of such damages, or (b) statutory damages in the

amount of $500 for each Plaintiff.

         1892. Plaintiffs also seek an order enjoining New GM’s unfair, unlawful, and/or

deceptive practices, declaratory relief, attorneys’ fees, and any other just and proper relief

available under the Colorado CPA.




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                                            COUNT VII

           SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         1893. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1894. This claim is brought on behalf of Colorado residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         1895. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         1896. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         1897. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         1898. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         1899. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         1900. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material




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to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         1901. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         1902. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         1903. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         1904. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their




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Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         1905. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         1906. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                            COUNT IX

                      SUCCESSOR LIABILITY CLAIM FOR BREACH OF
                       IMPLIED WARRANTY OF MERCHANTABILITY
                                (COL. REV. STAT. § 4-2-314)

         1907. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1908. This claim is brought on behalf of Colorado residents who are members of the

Delta Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor Liability

Subclass (for the purposes of this Count, “Plaintiffs”).

         1909. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         1910. Old GM was a merchant with respect to motor vehicles.




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         1911. Under COL REV. STAT. § 4-2-314, a warranty that the Delta Ignition Switch

Vehicles were in merchantable condition was implied by law in the transactions when Plaintiffs

purchased or leased their vehicles from Old GM on or before July 9, 2009.

         1912. The Delta Ignition Switch Vehicles, when sold and at all times thereafter, were

not merchantable and not fit for the ordinary purpose for which cars are used. Specifically, the

Delta Ignition Switch Vehicles were inherently defective in that there were defects in the ignition

switch systems that cause sudden unintended stalling to occur, with the attendant shut down of

power steering and power brakes and the nondeployment of airbags in the event of a collision,

thereby causing an increased likelihood of serious injury or death.

         1913. New GM, as the successor to Old GM, was provided notice of these issues by

numerous complaints filed against it, internal investigations, and by numerous individual letters

and communications sent by Plaintiffs and others before or within a reasonable amount of time

after New GM issued the recall and the allegations of vehicle defects became public.

         1914. As a direct and proximate result of Old GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                         CONNECTICUT

                                             COUNT I

        VIOLATION OF CONNECTICUT UNLAWFUL TRADE PRACTICES ACT
                      (CONN. GEN. STAT. § 42-110A, et seq.)

         1915. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1916. This claim is brought on behalf of Connecticut residents who are members of any

of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition




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Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         1917. The Connecticut Unfair Trade Practices Act (“Connecticut UTPA”) provides:

“No person shall engage in unfair methods of competition and unfair or deceptive acts or

practices in the conduct of any trade or commerce.” CONN. GEN. STAT. § 42-110b(a).

         1918. New GM is a “person” within the meaning of CONN. GEN. STAT. § 42-110a(3).

New GM’s challenged acts occurred is in “trade” or “commerce” within the meaning of CONN.

GEN. STAT. § 42-110a(4).

         1919. New GM participated in deceptive trade practices that violated the Connecticut

UTPA as described herein. In the course of its business, New GM concealed the defects in the

Defective Vehicles as described herein and otherwise engaged in activities with a tendency or

capacity to deceive. New GM also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression or omission

of any material fact with intent that others rely upon such concealment, suppression or omission,

in connection with the sale of Defective Vehicles.

         1920. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

The defects in each vehicle include not only the specific defect (e.g., the Delta Ignition Switch),

but also include the defective process through which New GM built cars, a process that included

cost-cutting, minimizing the importance of safety issues, siloing, the depletion of resources

devoted to recognizing and studying safety issues, the failure to follow acceptable engineering




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and inventory processes concerning parts management, and the failure to follow a proper FMEA

process. All of these defective processes would be material to a reasonable consumer.

         1921. New GM also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression or omission

of any material fact with intent that others rely upon such concealment, suppression or omission,

in connection with the sale of the Defective Vehicles.

         1922. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         1923. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Connecticut UTPA.

         1924. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         1925. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.




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         1926. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         1927. New GM knew or should have known that its conduct violated the Connecticut

UTPA.

         1928. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         1929. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles because New GM:

                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         1930. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         1931. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the



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defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defects. This diminished value is directly

attributed to New GM’s dishonesty and omissions with respect to the quality and safety of the

Defective Vehicles.

         1932. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         1933. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         1934. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By assuming TREAD Act responsibilities with respect to Old GM vehicles, New GM effectively

undertook the role of manufacturer of those vehicles because the TREAD Act on its face only

applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing duty to all

Defective Vehicle owners to refrain from unfair and deceptive acts or practices under the

Connecticut UTPA—regardless of when those owners acquired their vehicles.

         1935. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.




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         1936. As a direct and proximate result of New GM’s violations of the Connecticut

UTPA, Plaintiffs have suffered injury-in-fact and/or actual damage as alleged above. As a direct

result of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.

         1937. As a direct and proximate result of New GM’s violations of the Connecticut

UTPA, Plaintiffs have suffered injury-in-fact and/or actual damage.

         1938. Plaintiffs are entitled to recover their actual damages, punitive damages, and

attorneys’ fees pursuant to CONN. GEN. STAT. § 42-110g.

         1939. New GM acted with a reckless indifference to another’s rights or wanton or

intentional violation to another’s rights and otherwise engaged in conduct amounting to a

particularly aggravated, deliberate disregard of the rights and safety of others. Therefore,

punitive damages are warranted.

                                            COUNT II

                               FRAUDULENT CONCEALMENT

         1940. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1941. This claim is brought on behalf of Connecticut residents who purchased or leased

Defective Vehicles, regardless of whether the vehicles were sold by New GM or Old GM (the

“Connecticut Class”). who are members of any of the following Classes: (i) the Delta Ignition

Switch Defect Class; (ii) the Low Torque Ignition Switch Defect Class; (iii) the Knee-to-Key

Camaro Defect Class; (iv) the Side Airbag Defect Class; and (v) the Power Steering Defect Class

(collectively for the purposes of this Count, “Plaintiffs”). The claims in this Count are

Independent Claims, and challenge only the conduct of New GM.




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         1942. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         1943. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         1944. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         1945. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         1946. New GM did so in order to falsely assure purchasers, lessees, and owners of the

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         1947. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and




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implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         1948. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         1949. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         1950. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         1951. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all




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Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         1952. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         1953. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.

                                            COUNT III

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         1954. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1955. This claim is brought only on behalf of Connecticut residents who are members of

the Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).

         1956. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         1957. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge




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from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         1958. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.

         1959. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         1960. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         1961. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         1962. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         1963. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured




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claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         1964. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         1965. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC

Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         1966. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         1967. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         1968. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         1969. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.




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         1970. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         1971. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable

by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         1972. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         1973. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         1974. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.




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         1975. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.

                                            COUNT IV

                                    UNJUST ENRICHMENT

         1976. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1977. This claim is brought on behalf of all Connecticut residents who are members of

any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque

Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag

Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of this

Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the

conduct of New GM.

         1978. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         1979. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

         1980. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.




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         1981. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         1982. Thus, all Plaintiffs conferred a benefit on New GM.

         1983. It is inequitable for New GM to retain these benefits.

         1984. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         1985. New GM knowingly accepted the benefits of its unjust conduct.

         1986. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                            COUNT V

         SUCCESSOR LIABILITY CLAIM FOR VIOLATION OF CONNECTICUT
                     UNLAWFUL TRADE PRACTICES ACT
                       (CONN. GEN. STAT. § 42-110A, et seq.)

         1987. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         1988. This claim is brought on behalf of Connecticut residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         1989. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,




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the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         1990. The Connecticut Unfair Trade Practices Act (“Connecticut UTPA”) provides:

“No person shall engage in unfair methods of competition and unfair or deceptive acts or

practices in the conduct of any trade or commerce.” CONN. GEN. STAT. § 42-110b(a).

         1991. Old GM was a “person” within the meaning of CONN. GEN. STAT. § 42-110a(3).

Old GM’s challenged acts occurred in “trade” or “commerce” within the meaning of CONN. GEN.

STAT. § 42-110a(4).

         1992. Old GM participated in deceptive trade practices that violated the Connecticut

UTPA as described herein. In the course of its business, Old GM concealed the defects in the

Delta Ignition Switch Vehicles as described herein and otherwise engaged in activities with a

tendency or capacity to deceive. Old GM also engaged in unlawful trade practices by employing

deception, deceptive acts or practices, fraud, misrepresentations, or concealment, suppression or

omission of any material fact with intent that others rely upon such concealment, suppression or

omission, in connection with the sale of Delta Ignition Switch Vehicles. In the course of its

business, Old GM concealed the defects in Plaintiffs’ vehicles as described herein and otherwise

engaged in activities with a tendency or capacity to deceive. Old GM also engaged in unlawful

trade practices by employing deception, deceptive acts or practices, fraud, misrepresentations, or

concealment, suppression or omission of any material fact with intent that others rely upon such

concealment, suppression or omission, in connection with the sale of Delta Ignition Switch

Vehicles.

         1993. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.




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         1994. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         1995. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         1996. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Connecticut UTPA.

         1997. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         1998. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         1999. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         2000. Old GM knew or should have known that its conduct violated the Connecticut

UTPA.

         2001. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.




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         2002. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         2003. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         2004. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         2005. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.




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         2006. As a direct and proximate result of Old GM’s violations of the Connecticut

UDTPA, Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has

successor liability

         2007. Plaintiffs are entitled to recover their actual damages, punitive damages, and

attorneys’ fees pursuant to CONN. GEN. STAT. § 42-110g.

                                            COUNT VI

           SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         2008. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2009. This claim is brought on behalf of Connecticut residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         2010. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         2011. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         2012. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         2013. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.




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         2014. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         2015. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         2016. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         2017. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         2018. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.




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Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         2019. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         2020. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         2021. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                           DELAWARE

                                             COUNT I

                VIOLATION OF THE DELAWARE CONSUMER FRAUD ACT
                             (6 DEL. CODE § 2513, et seq.)

         2022. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2023. This claim is brought only on behalf of Delaware residents who are members of

any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque

Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag




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Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of this

Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the

conduct of New GM.

         2024. New GM is a “person” within the meaning of 6 DEL. CODE § 2511(7).

         2025. The Delaware Consumer Fraud Act (“Delaware CFA”) prohibits the “act, use or

employment by any person of any deception, fraud, false pretense, false promise,

misrepresentation, or the concealment, suppression, or omission of any material fact with intent

that others rely upon such concealment, suppression or omission, in connection with the sale,

lease or advertisement of any merchandise, whether or not any person has in fact been misled,

deceived or damaged thereby.” 6 DEL. CODE § 2513(a).

         2026. New GM participated in deceptive trade practices that violated the Delaware CFA

as described herein. In the course of its business, New GM concealed the defects in the

Defective Vehicles as described herein and otherwise engaged in activities with a tendency or

capacity to deceive. The defects in each vehicle include not only the specific defect (e.g., the

Delta Ignition Switch), but also include the defective process through which New GM built cars,

a process that included cost-cutting, minimizing the importance of safety issues, siloing, the

depletion of resources devoted to recognizing and studying safety issues, the failure to follow

acceptable engineering and inventory processes concerning parts management, and the failure to

follow a proper FMEA process. All of these defective processes would be material to a

reasonable consumer. New GM also engaged in unlawful trade practices by employing

deception, deceptive acts or practices, fraud, misrepresentations, or concealment, suppression or

omission of any material fact with intent that others rely upon such concealment, suppression or

omission, in connection with the sale of Defective Vehicles.




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         2027. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         2028. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles.

         2029. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         2030. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Delaware CFA.

         2031. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.




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         2032. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         2033. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         2034. New GM knew or should have known that its conduct violated the Delaware

CFA.

         2035. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         2036. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles because New GM:

                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         2037. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.



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         2038. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defects. This diminished value is directly

attributed to New GM’s dishonesty and omissions with respect to the quality and safety of the

Defective Vehicles.

         2039. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         2040. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         2041. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By assuming TREAD Act responsibilities with respect to Old GM vehicles, New GM effectively

undertook the role of manufacturer of those vehicles because the TREAD Act on its face only

applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing duty to all

Defective Vehicle owners to refrain from unfair and deceptive acts or practices under the

Delaware CFA—regardless of when those owners acquired their vehicles.

         2042. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta




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Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         2043. As a direct and proximate result of New GM’s violations of the Delaware CFA,

Plaintiffs have suffered injury-in-fact and/or actual damage as alleged above. As a direct result

of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.

         2044. Plaintiffs seek damages under the Delaware CFA for injury resulting from the

direct and natural consequences of New GM’s unlawful conduct. See, e.g., Stephenson v.

Capano Dev., Inc., 462 A.2d 1069, 1077 (Del. 1983). Plaintiffs also seek an order enjoining

New GM’s unfair, unlawful, and/or deceptive practices, declaratory relief, attorneys’ fees, and

any other just and proper relief available under the Delaware CFA.

         2045. New GM engaged in gross, oppressive, or aggravated conduct justifying the

imposition of punitive damages.

                                            COUNT II

                                     FRAUD BY CONCEALMENT

         2046. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2047. This claim is brought on behalf of Delaware residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,




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“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         2048. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         2049. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         2050. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         2051. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         2052. New GM did so in order to falsely assure purchasers, lessees, and owners of the

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         2053. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to




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disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         2054. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         2055. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         2056. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         2057. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their




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vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         2058. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         2059. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.

                                            COUNT III

           BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
                             (6 DEL. CODE § 2-314)

         2060. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2061. This claim is brought only on behalf of Delaware residents who are members of

any of the following Subclasses: (i) the Delta Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (ii) the Low Torque Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (iii) the Knee-to-Key Camaro Defect Magnuson-Moss and Implied

Warranty Subclass; (iv) the Side Airbag Defect Magnuson-Moss and Implied Warranty

Subclass; and (v) the Power Steering Defect Magnuson-Moss and Implied Warranty Subclass

(collectively for the purposes of this Count, “Plaintiffs”).




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         2062. New GM was a merchant with respect to motor vehicles within the meaning of 6

DEL. CODE § 2-104(1).

         2063. Under 6 DEL. CODE § 2-314, a warranty that the Defective Vehicles were in

merchantable condition was implied by law in the transactions when Plaintiffs purchased or

leased their Defective Vehicles from New GM on or after July 10, 2009.

         2064. The Defective Vehicles, when sold and at all times thereafter, were not

merchantable and are not fit for the ordinary purpose for which cars are used.

         2065. The Defective Ignition Switch Vehicles are inherently defective in that there are

defects in the ignition switch systems that cause sudden unintended stalling to occur, with the

attendant shut down of power steering and power brakes and the nondeployment of airbags in the

event of a collision, thereby causing an increased likelihood of serious injury or death.

         2066. The Power Steering Defect Vehicles are inherently defective in that there are

defects in the vehicles that can cause the loss of power steering assist, resulting in an increased

risk of accident.

         2067. The Side Airbag Defect Vehicles are inherently defective in that there are defects

in the wiring harness connectors that can cause the side impact airbags (SIABs) and seatbelt

pretensioners not to deploy in the event of a collision, thereby causing an increased likelihood of

serious injury or death.

         2068. New GM was provided notice of these issues by numerous complaints filed

against it, internal investigations, and by numerous individual letters and communications sent

by Plaintiffs and others before or within a reasonable amount of time after New GM issued the

recall and the allegations of vehicle defects became public.




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         2069. As a direct and proximate result of New GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                             COUNT IV

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         2070. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2071. This claim is brought only on behalf of Delaware residents who are members of

the Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).

         2072. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         2073. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         2074. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.




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         2075. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         2076. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         2077. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         2078. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         2079. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         2080. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         2081. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC




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Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         2082. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         2083. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         2084. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         2085. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         2086. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         2087. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable




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by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         2088. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         2089. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         2090. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         2091. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.




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                                            COUNT V

                                    UNJUST ENRICHMENT

         2092. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2093. This claim is brought on behalf Delaware residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         2094. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         2095. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

         2096. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         2097. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         2098. Thus, all Plaintiffs conferred a benefit on New GM.




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         2099. It is inequitable for New GM to retain these benefits.

         2100. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         2101. New GM knowingly accepted the benefits of its unjust conduct.

         2102. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                            COUNT VI

                      SUCCESSOR LIABILITY CLAIM FOR VIOLATION OF
                          THE DELAWARE CONSUMER FRAUD ACT
                                 (6 DEL. CODE § 2513, et seq.)

         2103. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2104. This claim is brought on behalf of Delaware residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         2105. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         2106. Old GM was a “person” within the meaning of 6 DEL. CODE § 2511(7).

         2107. The Delaware Consumer Fraud Act (“Delaware CFA”) prohibits the “act, use or

employment by any person of any deception, fraud, false pretense, false promise,

misrepresentation, or the concealment, suppression, or omission of any material fact with intent

that others rely upon such concealment, suppression or omission, in connection with the sale,




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lease or advertisement of any merchandise, whether or not any person has in fact been misled,

deceived or damaged thereby.” 6 DEL. CODE § 2513(a).

         2108. Old GM participated in deceptive trade practices that violated the Delaware CFA

as described herein. In the course of its business, Old GM concealed the defects in the Delta

Ignition Switch Vehicles as described herein and otherwise engaged in activities with a tendency

or capacity to deceive. Old GM also engaged in unlawful trade practices by employing

deception, deceptive acts or practices, fraud, misrepresentations, or concealment, suppression or

omission of any material fact with intent that others rely upon such concealment, suppression or

omission, in connection with the sale of Delta Ignition Switch Vehicles.

         2109. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         2110. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         2111. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         2112. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Delaware CFA.




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         2113. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         2114. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         2115. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         2116. Old GM knew or should have known that its conduct violated the Delaware CFA.

         2117. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         2118. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         2119. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of




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the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         2120. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         2121. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         2122. As a direct and proximate result of Old GM’s violations of the Delaware CFA,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.

         2123. Plaintiffs seek damages under the Delaware CFA for injury resulting from the

direct and natural consequences of Old GM’s unlawful conduct. See, e.g., Stephenson v. Capano

Dev., Inc., 462 A.2d 1069, 1077 (Del. 1983). Plaintiffs also seek an order for declaratory relief,

attorneys’ fees, and any other just and proper relief available under the Delaware CFA.

         2124. Old GM engaged in gross, oppressive, or aggravated conduct justifying the

imposition of punitive damages for which New GM has successor liability.

                                           COUNT VII

             SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         2125. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.




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         2126. This claim is brought on behalf of Delaware residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         2127. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         2128. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         2129. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         2130. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         2131. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         2132. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         2133. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge




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and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         2134. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         2135. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         2136. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         2137. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.




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         2138. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                           COUNT VIII

                      SUCCESSOR LIABILITY CLAIM FOR BREACH OF
                       IMPLIED WARRANTY OF MERCHANTABILITY
                              (6 DEL. CODE COM. LAW § 2-314)

         2139. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2140. This claim is brought on behalf of Delaware residents who are members of the

Delta Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor Liability

Subclass (for the purposes of this Count, “Plaintiffs”).

         2141. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         2142. Old GM was a merchant with respect to motor vehicles within the meaning of 6

DEL. CODE§ 2-104(1).

         2143. Under 6 DEL. CODE § 2-314, a warranty that the Delta Ignition Switch Vehicles

were in merchantable condition was implied by law in the transactions when Plaintiffs purchased

or leased their vehicles from Old GM on or before July 9, 2009.

         2144. The Delta Ignition Switch Vehicles, when sold and at all times thereafter, were

not merchantable and not fit for the ordinary purpose for which cars are used. Specifically, the




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Delta Ignition Switch Vehicles were inherently defective in that there were defects in the ignition

switch systems that cause sudden unintended stalling to occur, with the attendant shut down of

power steering and power brakes and the nondeployment of airbags in the event of a collision,

thereby causing an increased likelihood of serious injury or death.

          2145. New GM, as the successor to Old GM, was provided notice of these issues by

numerous complaints filed against it, internal investigations, and by numerous individual letters

and communications sent by Plaintiffs and others before or within a reasonable amount of time

after New GM issued the recall and the allegations of vehicle defects became public.

          2146. As a direct and proximate result of Old GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                    DISTRICT OF COLUMBIA

                                               COUNT I

          VIOLATION OF THE CONSUMER PROTECTION PROCEDURES ACT
                          (D.C. CODE § 28-3901, et seq.)

          2147. Plaintiffs reallege and incorporate by reference all paragraphs as if fully set forth

herein.

          2148. This claim is brought on behalf of District of Columbia residents who are

members of any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low

Torque Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side

Airbag Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of

this Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only

the conduct of New GM.




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         2149. New GM is a “person” under the Consumer Protection Procedures Act (“District

of Columbia CPPA”), D.C. CODE § 28-3901(a)(1).

         2150. Plaintiffs are “consumers,” as defined by D.C. CODE § 28-3901(1)(2), who

purchased or leased one or more Defective Vehicles.

         2151. New GM’s actions as set forth herein constitute “trade practices” under D.C.

CODE § 28-3901.

         2152. New GM participated in unfair or deceptive acts or practices that violated the

District of Columbia CPPA. By systematically concealing the defects in the Defective Vehicles,

New GM engaged in unfair or deceptive practices prohibited by the District of Columbia CPPA,

D.C. CODE § 28-3901, et seq., including: (1) representing that the Defective Vehicles have

characteristics, uses, benefits, and qualities which they do not have; (2) representing that the

Defective Vehicles are of a particular standard, quality, and grade when they are not; (3)

advertising the Defective Vehicles with the intent not to sell them as advertised; (4) representing

that the subject of a transaction involving the Defective Vehicles has been supplied in

accordance with a previous representation when it has not; (5) misrepresenting as to a material

fact which has a tendency to mislead; and (6) failing to state a material fact when such failure

tends to mislead.

         2153. In the course of its business in trade or commerce, New GM systematically

concealed the defects in the Defective Vehicles as described herein and otherwise engaged in

activities with a tendency or capacity to deceive. The defects in each vehicle include not only the

specific defect (e.g., the Delta Ignition Switch), but also include the defective process through

which New GM built cars, a process that included cost-cutting, minimizing the importance of

safety issues, siloing, the depletion of resources devoted to recognizing and studying safety




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issues, the failure to follow acceptable engineering and inventory processes concerning parts

management, and the failure to follow a proper FMEA process. All of these defective processes

would be material to a reasonable consumer. New GM also engaged in unlawful trade practices

by employing deception, deceptive acts or practices, fraud, misrepresentations, or concealment,

suppression or omission of any material fact with intent that others rely upon such concealment,

suppression or omission, in connection with the sale of Defective Vehicles.

         2154. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         2155. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the District of Columbia CPPA.

         2156. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         2157. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.




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         2158. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         2159. New GM knew or should have known that its conduct violated the District of

Columbia CPPA.

         2160. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         2161. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles because New GM:

                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         2162. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         2163. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the



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defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defects. This diminished value is directly

attributed to New GM’s dishonesty and omissions with respect to the quality and safety of the

Defective Vehicles.

         2164. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         2165. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         2166. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By assuming TREAD Act responsibilities with respect to Old GM vehicles, New GM effectively

undertook the role of manufacturer of those vehicles because the TREAD Act on its face only

applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing duty to all

Defective Vehicle owners to refrain from unfair and deceptive acts or practices under the District

of Columbia CPPA—regardless of when those owners acquired their vehicles.

         2167. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.




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         2168. As a direct and proximate result of New GM’s violations of the District of

Columbia CPPA, Plaintiffs have suffered injury-in-fact and/or actual damage as alleged above.

As a direct result of New GM’s misconduct, all Plaintiffs incurred damages in at least the form

of lost time required to repair their vehicles.

         2169. Plaintiffs are entitled to recover treble damages or $1,500, whichever is greater,

punitive damages, reasonable attorneys’ fees, and any other relief the Court deems proper, under

D.C. CODE § 28-3901.

         2170. Plaintiffs seek punitive damages against New GM because New GM’s conduct

evidences malice and/or egregious conduct. New GM maliciously and egregiously

misrepresented the safety and reliability of the Defective Vehicles, deceived Plaintiffs on life-or-

death matters, concealed material facts that only it knew, and repeatedly promised Plaintiffs that

all vehicles were safe—all to avoid the expense and public relations nightmare of correcting

deadly flaws in the Defective Vehicles. New GM’s unlawful conduct constitutes malice

warranting punitive damages.

                                             COUNT II

                                  FRAUD BY CONCEALMENT

         2171. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2172. This claim is brought on behalf of District of Columbia residents who are

members of any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low

Torque Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side

Airbag Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of




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this Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only

the conduct of New GM.

         2173. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         2174. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         2175. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         2176. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         2177. New GM did so in order to falsely assure purchasers, lessees, and owners of the

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         2178. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to




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disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         2179. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         2180. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         2181. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         2182. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their




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vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

          2183. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

          2184. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.

                                              COUNT III

               BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                               (D.C. CODE § 28:2-314)

          2185. Plaintiffs reallege and incorporate by reference all paragraphs as if fully set forth

herein.

          2186. This claim is brought only on behalf of District of Columbia residents who are

members of any of the following Subclasses: (i) the Delta Ignition Switch Defect Magnuson-

Moss and Implied Warranty Subclass; (ii) the Low Torque Ignition Switch Defect Magnuson-

Moss and Implied Warranty Subclass; (iii) the Knee-to-Key Camaro Defect Magnuson-Moss and

Implied Warranty Subclass; (iv) the Side Airbag Defect Magnuson-Moss and Implied Warranty

Subclass; and (v) the Power Steering Defect Magnuson-Moss and Implied Warranty Subclass

(collectively for the purposes of this Count, “Plaintiffs”).




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         2187. New GM was a merchant with respect to motor vehicles within the meaning of

D.C. CODE § 28:2-104(1).

         2188. Under D.C. CODE § 28:2-314, a warranty that the Defective Vehicles were in

merchantable condition was implied by law in the transactions when Plaintiffs purchased or

leased their Defective Ignition Switch Vehicles from New GM on or after July 10, 2009.

         2189. The Defective Vehicles, when sold and at all times thereafter, were not

merchantable and are not fit for the ordinary purpose for which cars are used.

         2190. The Defective Ignition Switch Vehicles are inherently defective in that there are

defects in the ignition switch systems that cause sudden unintended stalling to occur, with the

attendant shut down of power steering and power brakes and the nondeployment of airbags in the

event of a collision, thereby causing an increased likelihood of serious injury or death.

         2191. The Power Steering Defect Vehicles are inherently defective in that there are

defects in the vehicles that can cause the loss of power steering assist, resulting in an increased

risk of accident.

         2192. The Side Airbag Defect Vehicles are inherently defective in that there are defects

in the wiring harness connectors that can cause the side impact airbags (SIABs) and seatbelt

pretensioners not to deploy in the event of a collision, thereby causing an increased likelihood of

serious injury or death.

         2193. New GM was provided notice of these issues by numerous complaints filed

against it, internal investigations, and by numerous individual letters and communications sent

by Plaintiffs and others before or within a reasonable amount of time after New GM issued the

recall and the allegations of vehicle defects became public.




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         2194. As a direct and proximate result of New GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                            COUNT IV

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         2195. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2196. This claim is brought only on behalf of District of Columbia residents who are

members of the Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count,

“Plaintiffs”).

         2197. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         2198. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”




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         2199. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.

         2200. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         2201. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         2202. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         2203. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         2204. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.




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         2205. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         2206. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC

Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         2207. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         2208. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         2209. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         2210. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         2211. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims




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by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         2212. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable

by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         2213. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         2214. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         2215. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         2216. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’




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rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.

                                             COUNT V

                                    UNJUST ENRICHMENT422

          2217. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

          2218. This claim is brought on behalf of District of Columbia residents who are

members of any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low

Torque Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side

Airbag Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of

this Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only

the conduct of New GM.

          2219. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

          2220. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

          2221. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.



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        Plaintiffs are aware that this Court has held that the existence of an express warranty
between with New GM is a bar to this claim, and assert the claim on behalf of such Plaintiffs
here solely to preserve the claim for appellate review.



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          2222. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

          2223. Thus, all Plaintiffs conferred a benefit on New GM.

          2224. It is inequitable for New GM to retain these benefits.

          2225. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

          2226. New GM knowingly accepted the benefits of its unjust conduct.

          2227. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                              COUNT VI

        SUCCESSOR LIABILITY CLAIM FOR VIOLATION OF THE CONSUMER
                      PROTECTION PROCEDURES ACT
                          (D.C. CODE § 28-3901, et seq.)

          2228. Plaintiffs reallege and incorporate by reference all paragraphs as if fully set forth

herein.

          2229. This claim is brought on behalf of District of Columbia residents who are

members of the Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of

this Count, “Plaintiffs”).

          2230. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,




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the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         2231. Old GM was a “person” under the District of Columbia Consumer Protection

Procedures Act (“District of Columbia CPPA”), D.C. CODE § 28-3901(a)(1).

         2232. Plaintiffs are “consumers,” as defined by D.C. CODE § 28-3901(1)(2), who

purchased or leased one or more Defective Vehicles.

         2233. Old GM’s actions as set forth herein constitute “trade practices” under D.C. CODE

§ 28-3901.

         2234. Old GM participated in unfair or deceptive acts or practices that violated the

District of Columbia CPPA. By systematically concealing the defects in the Delta Ignition

Switch Vehicles, Old GM engaged in unfair or deceptive practices prohibited by the District of

Columbia CPPA, D.C. CODE § 28-3901, et seq., including: (1) representing that the Delta

Ignition Switch Vehicles have characteristics, uses, benefits, and qualities which they do not

have; (2) representing that the Delta Ignition Switch Vehicles are of a particular standard,

quality, and grade when they are not; (3) advertising the Delta Ignition Switch Vehicles with the

intent not to sell them as advertised; (4) representing that the subject of a transaction involving

the Delta Ignition Switch Vehicles has been supplied in accordance with a previous

representation when it has not; (5) misrepresenting as to a material fact which has a tendency to

mislead; and (6) failing to state a material fact when such failure tends to mislead.

         2235. In the course of its business in trade or commerce, Old GM systematically

concealed the defects in the Delta Ignition Switch Vehicles as described herein and otherwise

engaged in activities with a tendency or capacity to deceive. Old GM also engaged in unlawful

trade practices by employing deception, deceptive acts or practices, fraud, misrepresentations, or




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concealment, suppression or omission of any material fact with intent that others rely upon such

concealment, suppression or omission, in connection with the sale of the Delta Ignition Switch

Vehicles.

         2236. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         2237. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         2238. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         2239. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the District of Columbia CPPA.

         2240. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         2241. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         2242. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.




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         2243. Old GM knew or should have known that its conduct violated the District of

Columbia CPPA.

         2244. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         2245. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         2246. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         2247. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         2248. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their



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vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above

         2249. As a direct and proximate result of Old GM’s violations of the District of

Columbia CPPA, Plaintiffs have suffered injury-in-fact and/or actual damage for which New

GM has successor liability.

         2250. Plaintiff are entitled to recover treble damages or $1,500, whichever is greater,

punitive damages, reasonable attorneys’ fees, and any other relief the Court deems proper, under

D.C. CODE § 28-3901.

         2251. Plaintiffs seek punitive damages against New GM as the successor to Old GM

because Old GM’s conduct evidences malice and/or egregious conduct. Old GM maliciously

and egregiously misrepresented the safety and reliability of the Delta Ignition Switch Vehicles,

deceived Plaintiffs on life-or-death matters, concealed material facts that only it knew, and

repeatedly promised Plaintiffs that all vehicles were safe—all to avoid the expense and public

relations nightmare of correcting deadly flaws in the Delta Ignition Switch Vehicles. This

unlawful conduct constitutes malice warranting punitive damages.

                                           COUNT VII

           SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         2252. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2253. This claim is brought on behalf of District of Columbia residents who are

members of the Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of

this Count, “Plaintiffs”).




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         2254. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         2255. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         2256. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         2257. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         2258. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         2259. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         2260. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as




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set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         2261. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         2262. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         2263. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         2264. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         2265. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old




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GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                           COUNT VIII

                      SUCCESSOR LIABILITY CLAIM FOR BREACH OF
                       IMPLIED WARRANTY OF MERCHANTABILITY
                                  (D.C. CODE § 28-314)

         2266. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2267. This claim is brought on behalf of District of Columbia residents who are

members of the Delta Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor

Liability Subclass (for the purposes of this Count, “Plaintiffs”).

         2268. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         2269. Old GM was a merchant with respect to motor vehicles within the meaning of

D.C. Code § 28:2-104(1).

         2270. Under D.C. Code § 28:2-314, a warranty that the Delta Ignition Switch Vehicles

were in merchantable condition was implied by law in the transactions when Plaintiffs purchased

or leased their vehicles from Old GM on or before July 9, 2009.

         2271. The Delta Ignition Switch Vehicles, when sold and at all times thereafter, were

not merchantable and not fit for the ordinary purpose for which cars are used. Specifically, the

Delta Ignition Switch Vehicles were inherently defective in that there were defects in the ignition

switch systems that cause sudden unintended stalling to occur, with the attendant shut down of




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power steering and power brakes and the nondeployment of airbags in the event of a collision,

thereby causing an increased likelihood of serious injury or death.

         2272. New GM, as the successor to Old GM, was provided notice of these issues by

numerous complaints filed against it, internal investigations, and by numerous individual letters

and communications sent by Plaintiffs and others before or within a reasonable amount of time

after New GM issued the recall and the allegations of vehicle defects became public.

         2273. As a direct and proximate result of Old GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                            FLORIDA

                                             COUNT I

                           VIOLATION OF FLORIDA’S UNFAIR &
                           DECEPTIVE TRADE PRACTICES ACT
                                (FLA. STAT. § 501.201, et seq.)

         2274. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2275. This claim is brought on behalf of Florida residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         2276. Plaintiffs are “consumers” within the meaning of the Florida Unfair and

Deceptive Trade Practices Act (“FUDTPA”), FLA. STAT. § 501.203(7).




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         2277. New GM engaged in “trade or commerce” within the meaning of FLA. STAT.

§ 501.203(8).

         2278. The FUDTPA prohibits “[u]nfair methods of competition, unconscionable acts or

practices, and unfair or deceptive acts or practices in the conduct of any trade or commerce …”

FLA. STAT. § 501.204(1). By concealing the known defects in Plaintiffs’ vehicles, New GM

participated in unfair and deceptive trade practices that violated the FUDTPA as described

herein. The defects in each vehicle include not only the specific defect (e.g., the Delta Ignition

Switch), but also include the defective process through which New GM built cars, a process that

included cost-cutting, minimizing the importance of safety issues, siloing, the depletion of

resources devoted to recognizing and studying safety issues, the failure to follow acceptable

engineering and inventory processes concerning parts management, and the failure to follow a

proper FMEA process. All of these defective processes would be material to a reasonable

consumer.

         2279. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         2280. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles.

         2281. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of




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Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         2282. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the FUDTPA.

         2283. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         2284. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         2285. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         2286. New GM knew or should have known that its conduct violated the FUDTPA.

         2287. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         2288. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles because New GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Defective Vehicles;




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                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         2289. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         2290. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.

         2291. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         2292. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date




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of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         2293. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By assuming TREAD Act responsibilities with respect to Old GM vehicles, New GM effectively

undertook the role of manufacturer of those vehicles because the TREAD Act on its face only

applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing duty to all

Defective Vehicle owners to refrain from unfair and deceptive acts or practices under the

FUDTPA—regardless of when those owners acquired their vehicles.

         2294. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         2295. As a direct and proximate result of New GM’s violations of the FUDTPA,

Plaintiffs have suffered injury-in-fact and/or actual damage as alleged above. As a direct result

of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.

         2296. Plaintiffs are entitled to recover their actual damages under FLA. STAT.

§ 501.211(2) and attorneys’ fees under FLA. STAT. § 501.2105(1).

         2297. Plaintiffs also seek an order enjoining New GM’s unfair, unlawful, and/or

deceptive practices, declaratory relief, attorneys’ fees, and any other just and proper relief

available under the FUDTPA.




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                                             COUNT II

                                   FRAUD BY CONCEALMENT423

          2298. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

          2299. This claim is brought on behalf of Florida residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

          2300. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

          2301. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

          2302. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

          2303. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

          2304. New GM did so in order to falsely assure purchasers, lessees, and owners of the

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

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       Plaintiffs understand that this Court has held that this claim is barred by Florida’s
economic loss rule, and assert the claim here solely for the purpose of preserving the claim for
appellate review.



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to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         2305. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         2306. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         2307. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         2308. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have




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continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         2309. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         2310. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         2311. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.




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                                             COUNT III

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         2312. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2313. This claim is brought only on behalf of Florida residents who are members of the

Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).

         2314. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         2315. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         2316. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.




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         2317. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         2318. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         2319. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         2320. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         2321. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         2322. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         2323. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC




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Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         2324. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         2325. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         2326. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         2327. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         2328. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         2329. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable




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by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         2330. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         2331. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         2332. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         2333. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.




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                                             COUNT IV

                                    UNJUST ENRICHMENT424

          2334. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

          2335. This claim is brought on behalf Florida residents who are members of any of the

following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

          2336. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

          2337. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

          2338. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

          2339. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs



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       Plaintiffs understand that this Court has found that the existence of an express warranty
between New GM and Plaintiffs is a bar to this claim, and are asserting this claim here solely for
the purposes of preserving the claim for appellate purposes.



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of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         2340. Thus, all Plaintiffs conferred a benefit on New GM.

         2341. It is inequitable for New GM to retain these benefits.

         2342. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         2343. New GM knowingly accepted the benefits of its unjust conduct.

         2344. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                            COUNT V

                  SUCCESSOR LIABILITY CLAIM FOR VIOLATION
            OF FLORIDA’S UNFAIR & DECEPTIVE TRADE PRACTICES ACT
                           (FLA. STAT. § 501.201, et seq.)

         2345. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2346. This claim is brought on behalf of Florida residents who are members of the Delta

Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count, “Plaintiffs”).

         2347. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         2348. Plaintiffs are “consumers” within the meaning of the Florida Unfair and

Deceptive Trade Practices Act (“FUDTPA”), FLA. STAT. § 501.203(7).




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         2349. Old GM engaged in “trade or commerce” within the meaning of FLA. STAT.

§ 501.203(8).

         2350. The FUDTPA prohibits “[u]nfair methods of competition, unconscionable acts or

practices, and unfair or deceptive acts or practices in the conduct of any trade or commerce …”

FLA. STAT. § 501.204(1). Old GM participated in unfair and deceptive trade practices that

violated the FUDTPA as described herein. In particular, by concealing the known defects in

Plaintiffs’ vehicles, Old GM engaged in deceptive business practices prohibited by the

FUDTPA.

         2351. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         2352. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         2353. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         2354. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the FUDTPA.

         2355. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.




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         2356. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         2357. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         2358. Old GM knew or should have known that its conduct violated the FUDTPA.

         2359. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         2360. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         2361. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.




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         2362. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         2363. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         2364. As a direct and proximate result of Old GM’s violations of the FUDTPA,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.

         2365. Plaintiffs are entitled to recover their actual damages under FLA. STAT.

§ 501.211(2) and attorneys’ fees under FLA. STAT. § 501.2105(1).

         2366. Plaintiffs also seek attorneys’ fees, and any other just and proper relief available

under the FUDTPA.

                                            COUNT VI

             SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         2367. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2368. This claim is brought on behalf of Florida residents who are members of the Delta

Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count, “Plaintiffs”).

         2369. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,




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the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         2370. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         2371. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         2372. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         2373. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         2374. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         2375. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old




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GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         2376. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         2377. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         2378. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         2379. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         2380. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof




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                                            GEORGIA

                                             COUNT I

              VIOLATION OF GEORGIA’S FAIR BUSINESS PRACTICES ACT
                          (GA. CODE ANN. § 10-1-390, et seq.)

         2381. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2382. This claim is brought on behalf of Georgia residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         2383. The Georgia Fair Business Practices Act (“Georgia FBPA”) declares “[u]nfair or

deceptive acts or practices in the conduct of consumer transactions and consumer acts or

practices in trade or commerce” to be unlawful, GA. CODE. ANN. § 10-1-393(a), including, but

not limited to, “representing that goods or services have sponsorship, approval, characteristics,

ingredients, uses, benefits, or quantities that they do not have,” “[r]epresenting that goods or

services are of a particular standard, quality, or grade … if they are of another,” and

“[a]dvertising goods or services with intent not to sell them as advertised,” GA. CODE. ANN. § 10-

1-393(b).

         2384. By systematically concealing the defects in the Defective Vehicles, New GM

engaged in unfair or deceptive practices prohibited by the Georgia FBPA, including: (1)

representing that the Defective Vehicles have characteristics, uses, benefits, and qualities which




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they do not have; (2) representing that the Defective Vehicles are of a particular standard,

quality, and grade when they are not; and (3) advertising the Defective Vehicles with the intent

not to sell them as advertised. New GM participated in unfair or deceptive acts or practices that

violated the Georgia FBPA. The defects in each vehicle include not only the specific defect

(e.g., the Delta Ignition Switch), but also include the defective process through which New GM

built cars, a process that included cost-cutting, minimizing the importance of safety issues,

siloing, the depletion of resources devoted to recognizing and studying safety issues, the failure

to follow acceptable engineering and inventory processes concerning parts management, and the

failure to follow a proper FMEA process. All of these defective processes would be material to a

reasonable consumer.

         2385. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         2386. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles.

         2387. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed




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above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         2388. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Georgia FBPA.

         2389. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         2390. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         2391. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         2392. New GM knew or should have known that its conduct violated the Georgia

FBPA.

         2393. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         2394. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles because New GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Defective Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Defective Vehicles, while purposefully




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                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         2395. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         2396. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.

         2397. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         2398. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.




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         2399. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By assuming TREAD Act responsibilities with respect to Old GM vehicles, New GM effectively

undertook the role of manufacturer of those vehicles because the TREAD Act on its face only

applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing duty to all

Defective Vehicle owners to refrain from unfair and deceptive acts or practices under the

Georgia FBPA—regardless of when those owners acquired their vehicles.

         2400. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         2401. As a direct and proximate result of New GM’s violations of the Georgia FBPA,

Plaintiffs have suffered injury-in-fact and/or actual damage as alleged above. As a direct result

of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.

         2402. Plaintiff are entitled to recover damages and exemplary damages (for intentional

violations) per GA. CODE. ANN § 10-1-399(a).

         2403. Plaintiffs also seek an order enjoining New GM’s unfair, unlawful, and/or

deceptive practices, attorneys’ fees, and any other just and proper relief available under the

Georgia FBPA per GA. CODE. ANN § 10-1-399.




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         2404. On October 8, 2014, certain Plaintiffs sent a letter complying with GA. CODE.

ANN § 10-1-399(b). Because New GM failed to remedy its unlawful conduct within the requisite

time period, Plaintiffs seek all damages and relief to which they are entitled.

                                            COUNT II

   VIOLATION OF GEORGIA’S UNIFORM DECEPTIVE TRADE PRACTICES ACT
                    (GA. CODE ANN. § 10-1-370, et seq.)

         2405. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2406. This claim is brought on behalf of Georgia residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         2407. New GM and Plaintiffs are “persons’ within the meaning of Georgia Uniform

Deceptive Trade Practices Act (“Georgia UDTPA”), GA. CODE. ANN § 10-1-371(5).

         2408. The Georgia UDTPA prohibits “deceptive trade practices,” which include the

“misrepresentation of standard or quality of goods or services,” and “engaging in any other

conduct which similarly creates a likelihood of confusion or of misunderstanding.” GA. CODE.

ANN § 10-1-372(a). By systematically concealing the defects in the Defective Vehicles,

New GM engaged in deceptive trade practices prohibited by the Georgia UDTPA. The defects

in each vehicle include not only the specific defect (e.g., the Delta Ignition Switch), but also

include the defective process through which New GM built cars, a process that included cost-




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cutting, minimizing the importance of safety issues, siloing, the depletion of resources devoted to

recognizing and studying safety issues, the failure to follow acceptable engineering and

inventory processes concerning parts management, and the failure to follow a proper FMEA

process. All of these defective processes would be material to a reasonable consumer.

         2409. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         2410. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles.

         2411. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         2412. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Georgia UDTPA.




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         2413. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         2414. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         2415. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         2416. New GM knew or should have known that its conduct violated the Georgia

UDTPA.

         2417. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         2418. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles because New GM:

                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         2419. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for



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repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         2420. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.

         2421. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         2422. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         2423. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By assuming TREAD Act responsibilities with respect to Old GM vehicles, New GM effectively

undertook the role of manufacturer of those vehicles because the TREAD Act on its face only

applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing duty to all

Defective Vehicle owners to refrain from unfair and deceptive acts or practices under the

Georgia UDTPA—regardless of when those owners acquired their vehicles.




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         2424. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         2425. As a direct and proximate result of New GM’s violations of the Georgia UDTPA,

Plaintiffs have suffered injury-in-fact and/or actual damage as alleged above. As a direct result

of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.

         2426. Plaintiffs seek an order enjoining New GM’s unfair, unlawful, and/or deceptive

practices, attorneys’ fees, and any other just and proper relief available under the Georgia

UDTPA per GA. CODE. ANN § 10-1-373.

                                            COUNT III

                                     FRAUD BY CONCEALMENT

         2427. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2428. This claim is brought on behalf of Georgia residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.




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         2429. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         2430. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         2431. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         2432. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         2433. New GM did so in order to falsely assure purchasers, lessees, and owners of the

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         2434. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and




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implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         2435. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         2436. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         2437. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         2438. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all




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Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         2439. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         2440. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.

                                            COUNT IV

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         2441. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2442. This claim is brought only on behalf of Georgia residents who are members of the

Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).

         2443. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         2444. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge




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from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         2445. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.

         2446. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         2447. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         2448. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         2449. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         2450. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured




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claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         2451. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         2452. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC

Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         2453. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         2454. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         2455. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         2456. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.




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         2457. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         2458. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable

by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         2459. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         2460. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         2461. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.




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         2462. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.

                                            COUNT V

                                    UNJUST ENRICHMENT

         2463. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2464. This claim is brought on behalf of Georgia residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         2465. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         2466. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

         2467. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.




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         2468. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         2469. Thus, all Plaintiffs conferred a benefit on New GM.

         2470. It is inequitable for New GM to retain these benefits.

         2471. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         2472. New GM knowingly accepted the benefits of its unjust conduct.

         2473. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                            COUNT VI

                      SUCCESSOR LIABILITY CLAIM FOR VIOLATION
                      OF GEORGIA’S FAIR BUSINESS PRACTICES ACT
                             (GA. CODE ANN. § 10-1-390, et seq.)

         2474. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2475. This claim is brought on behalf of Georgia residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         2476. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,




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the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         2477. The Georgia Fair Business Practices Act (“Georgia FBPA”) declares “[u]nfair or

deceptive acts or practices in the conduct of consumer transactions and consumer acts or

practices in trade or commerce” to be unlawful, GA. CODE. ANN. § 10-1-393(a), including, but

not limited to, “representing that goods or services have sponsorship, approval, characteristics,

ingredients, uses, benefits, or quantities that they do not have,” “[r]epresenting that goods or

services are of a particular standard, quality, or grade … if they are of another,” and

“[a]dvertising goods or services with intent not to sell them as advertised,” GA. CODE. ANN. § 10-

1-393(b).

         2478. By systematically concealing the defects in the Delta Ignition Switch Vehicles,

Old GM engaged in unfair or deceptive practices prohibited by the Georgia FBPA, including:

(1) representing that the Delta Ignition Switch Vehicles have characteristics, uses, benefits, and

qualities which they do not have; (2) representing that the Delta Ignition Switch Vehicles are of a

particular standard, quality, and grade when they are not; and (3) advertising the Delta Ignition

Switch Vehicles with the intent not to sell them as advertised. Old GM participated in unfair or

deceptive acts or practices that violated the Georgia FBPA.

         2479. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         2480. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material




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fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         2481. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         2482. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Georgia FBPA.

         2483. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         2484. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         2485. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         2486. Old GM knew or should have known that its conduct violated the Georgia FBPA.

         2487. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         2488. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while




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                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         2489. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them. Plaintiffs also incurred repair costs, as alleged above.

         2490. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         2491. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all.

         2492. As a direct and proximate result of Old GM’s violations of the Georgia FBPA,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.

         2493. Plaintiffs are entitled to recover damages and exemplary damages (for intentional

violations) per GA. CODE. ANN § 10-1-399(a).

         2494. Plaintiffs also seek attorneys’ fees, and any other just and proper relief available

under the Georgia FBPA per GA. CODE. ANN § 10-1-399.




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         2495. On October 8, 2014, certain Plaintiffs sent a letter complying with GA. CODE.

ANN § 10-1-399(b). Because New GM failed to remedy its unlawful conduct within the requisite

time period, Plaintiffs seek all damages and relief to which Plaintiffs are entitled.

                                            COUNT VII

           SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         2496. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2497. This claim is brought on behalf of Georgia residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         2498. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         2499. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         2500. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         2501. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         2502. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.




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         2503. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         2504. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         2505. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         2506. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.




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         2507. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         2508. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         2509. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                             HAWAII

                                             COUNT I

           UNFAIR AND DECEPTIVE ACTS IN VIOLATION OF HAWAII LAW
                         (HAW. REV. STAT. § 480, et seq.)

         2510. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2511. This claim is brought on behalf of Hawaii residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,




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“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         2512. New GM is a “person” under HAW. REV. STAT. § 480-1.

         2513. Plaintiffs are “consumer[s]” as defined by HAW. REV. STAT. § 480-1, who

purchased or leased one or more Defective Vehicles.

         2514. New GM’s acts or practices as set forth above occurred in the conduct of trade or

commerce.

         2515. The Hawaii Act § 480-2(a) prohibits “unfair methods of competition and unfair or

deceptive acts or practices in the conduct of any trade or commerce.…” By systematically

concealing the defects in the Defective Vehicles, New GM engaged in unfair and deceptive trade

practices prohibited by the Hawaii Act. The defects in each vehicle include not only the specific

defect (e.g., the Delta Ignition Switch), but also include the defective process through which

New GM built cars, a process that included cost-cutting, minimizing the importance of safety

issues, siloing, the depletion of resources devoted to recognizing and studying safety issues, the

failure to follow acceptable engineering and inventory processes concerning parts management,

and the failure to follow a proper FMEA process. All of these defective processes would be

material to a reasonable consumer.

         2516. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         2517. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material




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fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles.

         2518. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         2519. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Hawaii Act.

         2520. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         2521. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         2522. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         2523. New GM knew or should have known that its conduct violated the Hawaii Act.

         2524. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.




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         2525. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles because New GM:

                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         2526. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         2527. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.

         2528. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.



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         2529. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         2530. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By assuming TREAD Act responsibilities with respect to Old GM vehicles, New GM effectively

undertook the role of manufacturer of those vehicles because the TREAD Act on its face only

applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing duty to all

Defective Vehicle owners to refrain from unfair and deceptive acts or practices under the Hawaii

Act—regardless of when those owners acquired their vehicles.

         2531. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         2532. As a direct and proximate result of New GM’s violations of the Hawaii Act,

Plaintiffs have suffered injury-in-fact and/or actual damage as alleged above. As a direct result

of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.




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         2533. Pursuant to HAW. REV. STAT. § 480-13, Plaintiffs seek monetary relief against

New GM measured as the greater of (a) $1,000 and (b) threefold actual damages in an amount to

be determined at trial.

         2534. Under HAW. REV. STAT. § 480-13.5, Plaintiffs seek an additional award against

New GM of up to $10,000 for each violation directed at a Hawaiian elder. New GM knew or

should have known that its conduct was directed to one or more Plaintiffs who are elders.

New GM’s conduct caused one or more of these elders to suffer a substantial loss of property set

aside for retirement or for personal or family care and maintenance, or assets essential to the

health or welfare of the elder. Plaintiffs who are elders are substantially more vulnerable to

New GM’s conduct because of age, poor health or infirmity, impaired understanding, restricted

mobility, or disability, and each of them suffered substantial physical, emotional, or economic

damage resulting from New GM’s conduct.

                                            COUNT II

                                 FRAUD BY CONCEALMENT

         2535. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2536. This claim is brought on behalf of Hawaii residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.




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         2537. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         2538. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         2539. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         2540. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         2541. New GM did so in order to falsely assure purchasers, lessees, and owners of the

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         2542. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and




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implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         2543. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         2544. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         2545. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         2546. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all




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Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         2547. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         2548. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.

                                            COUNT III

           BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
                          (HAW. REV. STAT. § 490:2-314)

         2549. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2550. This claim is brought only on behalf of Hawaii residents who are members of any

of the following Subclasses: (i) the Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Subclass; (ii) the Low Torque Ignition Switch Defect Magnuson-Moss and Implied

Warranty Subclass; (iii) the Knee-to-Key Camaro Defect Magnuson-Moss and Implied Warranty

Subclass; (iv) the Side Airbag Defect Magnuson-Moss and Implied Warranty Subclass; and (v)

the Power Steering Defect Magnuson-Moss and Implied Warranty Subclass (collectively for the

purposes of this Count, “Plaintiffs”).

         2551. New GM was a merchant with respect to motor vehicles within the meaning of

HAW. REV. STAT. § 490:2-104(1).




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         2552. Under HAW. REV. STAT. § 490:2-314, a warranty that the Defective Vehicles were

in merchantable condition was implied by law in the transactions when Plaintiffs purchased or

leased their Defective Ignition Switch Vehicles from New GM on or after July 10, 2009.

         2553. The Defective Vehicles, when sold and at all times thereafter, were not

merchantable and are not fit for the ordinary purpose for which cars are used.

         2554. The Defective Ignition Switch Vehicles are inherently defective in that there are

defects in the ignition switch systems that cause sudden unintended stalling to occur, with the

attendant shut down of power steering and power brakes and the nondeployment of airbags in the

event of a collision, thereby causing an increased likelihood of serious injury or death.

         2555. The Power Steering Defect Vehicles are inherently defective in that there are

defects in the vehicles that can cause the loss of power steering assist, resulting in an increased

risk of accident.

         2556. The Side Airbag Defect Vehicles are inherently defective in that there are defects

in the wiring harness connectors that can cause the side impact airbags (SIABs) and seatbelt

pretensioners not to deploy in the event of a collision, thereby causing an increased likelihood of

serious injury or death.

         2557. New GM was provided notice of these issues by numerous complaints filed

against it, internal investigations, and by numerous individual letters and communications sent

by Plaintiffs and others before or within a reasonable amount of time after New GM issued the

recall and the allegations of vehicle defects became public.

         2558. As a direct and proximate result of New GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.




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                                             COUNT IV

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         2559. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2560. This claim is brought only on behalf of Hawaii residents who are members of the

Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).

         2561. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         2562. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         2563. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.




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         2564. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         2565. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         2566. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         2567. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         2568. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         2569. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         2570. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC




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Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         2571. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         2572. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         2573. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         2574. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         2575. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         2576. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable




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by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         2577. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         2578. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         2579. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         2580. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.




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                                            COUNT V

                                    UNJUST ENRICHMENT

         2581. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2582. This claim is brought on behalf of Hawaii residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         2583. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         2584. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

         2585. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         2586. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         2587. Thus, all Plaintiffs conferred a benefit on New GM.




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         2588. It is inequitable for New GM to retain these benefits.

         2589. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         2590. New GM knowingly accepted the benefits of its unjust conduct.

         2591. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                            COUNT VI

      SUCCESSOR LIABILITY CLAIM FOR UNFAIR AND DECEPTIVE ACTS IN
                       VIOLATION OF HAWAII LAW
                     (HAW. REV. STAT. § 480, ET SEQ.)

         2592. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2593. This claim is brought on behalf of Hawaii residents who are members of the Delta

Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count, “Plaintiffs”).

         2594. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         2595. Old GM was a “person” under HAW. REV. STAT. § 480-1.

         2596. Plaintiffs are “consumer[s]” as defined by HAW. REV. STAT. § 480-1.

         2597. Old GM’s acts or practices as set forth above occurred in the conduct of trade or

commerce.

         2598. The Hawaii Act § 480-2(a) prohibits “unfair methods of competition and unfair or

deceptive acts or practices in the conduct of any trade or commerce.…” By systematically




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concealing the defects in the Delta Ignition Switch Vehicles, Old GM engaged in unfair and

deceptive trade practices prohibited by the Hawaii Act for which New GM has successor

liability.

         2599. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         2600. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         2601. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Hawaii Act.

         2602. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         2603. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         2604. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         2605. Old GM knew or should have known that its conduct violated the Hawaii Act.




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         2606. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         2607. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         2608. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         2609. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         2610. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.



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         2611. As a direct and proximate result of Old GM’s violations of the Hawaii Act,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.

         2612. Pursuant to HAW. REV. STAT. § 480-13, Plaintiffs seek monetary relief against

New GM measured as the greater of (a) $1,000 and (b) threefold actual damages in an amount to

be determined at trial.

         2613. Under HAW. REV. STAT. § 480-13.5, Plaintiffs seek an additional award against

New GM of up to $10,000 for each violation directed at a Hawaiian elder. Old GM knew or

should have known that its conduct was directed to one or more Plaintiffs who are elders.

Old GM’s conduct (for which New GM has successor liability) caused one or more of these

elders to suffer a substantial loss of property set aside for retirement or for personal or family

care and maintenance, or assets essential to the health or welfare of the elder. Elders are

substantially more vulnerable to Old GM’s conduct because of age, poor health or infirmity,

impaired understanding, restricted mobility, or disability, and each Plaintiff-elder suffered

substantial physical, emotional, or economic damage resulting from Old GM’s conduct.

                                            COUNT VII

             SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         2614. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2615. This claim is brought on behalf of Hawaii residents who are members of the Delta

Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count, “Plaintiffs”).

         2616. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,




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the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         2617. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         2618. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         2619. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         2620. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         2621. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         2622. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old




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GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         2623. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         2624. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         2625. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         2626. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         2627. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.




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                                             COUNT VIII

                      SUCCESSOR LIABILITY CLAIM FOR BREACH OF
                       IMPLIED WARRANTY OF MERCHANTABILITY
                               (HAW. REV. STAT. § 490:2-314)

         2628. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2629. This claim is brought on behalf of Hawaii residents who are members of the Delta

Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor Liability Subclass (for

the purposes of this Count, “Plaintiffs”).

         2630. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         2631. Old GM was a merchant with respect to motor vehicles within the meaning of

HAW. REV. STAT. § 490-2-104(1).

         2632. Under HAW. REV. STAT. § 490-§ 2-314, a warranty that the Delta Ignition Switch

Vehicles were in merchantable condition was implied by law in the transactions when Plaintiffs

purchased or leased their vehicles from Old GM on or before July 9, 2009.

         2633. The Delta Ignition Switch Vehicles, when sold and at all times thereafter, were

not merchantable and not fit for the ordinary purpose for which cars are used. Specifically, the

Delta Ignition Switch Vehicles were inherently defective in that there were defects in the ignition

switch systems that cause sudden unintended stalling to occur, with the attendant shut down of

power steering and power brakes and the nondeployment of airbags in the event of a collision,

thereby causing an increased likelihood of serious injury or death.




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         2634. New GM, as the successor to Old GM, was provided notice of these issues by

numerous complaints filed against it, internal investigations, and by numerous individual letters

and communications sent by Plaintiffs and others before or within a reasonable amount of time

after New GM issued the recall and the allegations of vehicle defects became public.

         2635. As a direct and proximate result of Old GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                              IDAHO

                                             COUNT I

                VIOLATION OF THE IDAHO CONSUMER PROTECTION ACT
                           (IDAHO CIV. CODE § 48-601, et seq.)

         2636. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2637. This claim is brought on behalf of Idaho residents who are members of any of the

following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         2638. New GM is a “person” under the Idaho Consumer Protection Act (“Idaho CPA”),

IDAHO CIV. CODE § 48-602(1).

         2639. New GM’s acts or practices as set forth above occurred in the conduct of “trade”

or “commerce” under IDAHO CIV. CODE § 48-602(2).




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         2640. New GM participated in misleading, false, or deceptive acts that violated the

Idaho CPA. By systematically concealing the defects in the Defective Vehicles, New GM

engaged in deceptive business practices prohibited by the Idaho CPA, including:

(1) representing that the Defective Vehicles have characteristics, uses, and benefits which they

do not have; (2) representing that the Defective Vehicles are of a particular standard, quality, and

grade when they are not; (3) advertising the Defective Vehicles with the intent not to sell them as

advertised; (4) engaging in acts or practices which are otherwise misleading, false, or deceptive

to the consumer; and (5) engaging in any unconscionable method, act or practice in the conduct

of trade or commerce. See IDAHO CIV. CODE § 48-603. The defects in each vehicle include not

only the specific defect (e.g., the Delta Ignition Switch), but also include the defective process

through which New GM built cars, a process that included cost-cutting, minimizing the

importance of safety issues, siloing, the depletion of resources devoted to recognizing and

studying safety issues, the failure to follow acceptable engineering and inventory processes

concerning parts management, and the failure to follow a proper FMEA process. All of these

defective processes would be material to a reasonable consumer.

         2641. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         2642. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles.




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         2643. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         2644. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Idaho CPA.

         2645. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         2646. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         2647. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         2648. New GM knew or should have known that its conduct violated the Idaho CPA.

         2649. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         2650. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles because New GM:




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                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         2651. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         2652. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.

         2653. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         2654. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased



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New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         2655. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By assuming TREAD Act responsibilities with respect to Old GM vehicles, New GM effectively

undertook the role of manufacturer of those vehicles because the TREAD Act on its face only

applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing duty to all

Defective Vehicle owners to refrain from unfair and deceptive acts or practices under the Idaho

CPA—regardless of when those owners acquired their vehicles.

         2656. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         2657. As a direct and proximate result of New GM’s violations of the Idaho CPA,

Plaintiffs have suffered injury-in-fact and/or actual damage as alleged above. As a direct result

of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.

         2658. Pursuant to IDAHO CODE § 48-608, Plaintiffs seek monetary relief against

New GM measured as the greater of (a) actual damages in an amount to be determined at trial

and (b) statutory damages in the amount of $1,000 for each Plaintiff.




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         2659. Plaintiffs also seek an order enjoining New GM’s unfair, unlawful, and/or

deceptive practices, attorneys’ fees, and any other just and proper relief available under the Idaho

CPA.

         2660. Plaintiffs also seek punitive damages against New GM because New GM’s

conduct evidences an extreme deviation from reasonable standards. New GM flagrantly,

maliciously, and fraudulently misrepresented the safety and reliability of the Defective Vehicles,

deceived Plaintiffs on life-or-death matters, concealed material facts that only it knew, and

repeatedly promised Plaintiffs that the Defective Vehicles were safe—all to avoid the expense

and public relations nightmare of correcting the dangerous defects in the Defective Vehicles.

New GM’s unlawful conduct constitutes malice, oppression, and fraud warranting punitive

damages.

                                            COUNT II

                                   FRAUD BY CONCEALMENT

         2661. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2662. This claim is brought on behalf of Idaho residents who are members of any of the

following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         2663. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.




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         2664. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         2665. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         2666. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         2667. New GM did so in order to falsely assure purchasers, lessees, and owners of the

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         2668. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.




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         2669. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         2670. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         2671. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         2672. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.




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         2673. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         2674. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.

                                            COUNT III

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         2675. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2676. This claim is brought only on behalf of Idaho residents who are members of the

Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).

         2677. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         2678. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel




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(all of whom were transferred to New GM), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         2679. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.

         2680. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         2681. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         2682. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         2683. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         2684. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.




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         2685. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         2686. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC

Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         2687. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         2688. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         2689. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         2690. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         2691. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims




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by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         2692. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable

by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         2693. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         2694. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         2695. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         2696. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’




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rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.

                                            COUNT IV

                                    UNJUST ENRICHMENT

         2697. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2698. This claim is brought on behalf of Idaho residents who are members of any of the

following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         2699. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         2700. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

         2701. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         2702. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs




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of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         2703. Thus, all Plaintiffs conferred a benefit on New GM.

         2704. It is inequitable for New GM to retain these benefits.

         2705. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         2706. New GM knowingly accepted the benefits of its unjust conduct.

         2707. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                            COUNT V

                      SUCCESSOR LIABILITY CLAIM FOR VIOLATION OF
                         THE IDAHO CONSUMER PROTECTION ACT
                              (IDAHO CIV. CODE § 48-601, et seq.)

         2708. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2709. This claim is brought on behalf of Idaho residents who are members of the Delta

Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count, “Plaintiffs”).

         2710. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         2711. Old GM was a “person” under the Idaho Consumer Protection Act (“Idaho

CPA”), IDAHO CIV. CODE § 48-602(1).




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         2712. Old GM’s acts or practices as set forth above occurred in the conduct of “trade”

or “commerce” under IDAHO CIV. CODE § 48-602(2).

         2713. Old GM participated in misleading, false, or deceptive acts that violated the Idaho

CPA. By systematically concealing the defects in the Delta Ignition Switch Vehicles, Old GM

engaged in deceptive business practices prohibited by the Idaho CPA, including:

(1) representing that the Delta Ignition Switch Vehicles have characteristics, uses, and benefits

which they do not have; (2) representing that the Delta Ignition Switch Vehicles are of a

particular standard, quality, and grade when they are not; (3) advertising the Delta Ignition

Switch Vehicles with the intent not to sell them as advertised; (4) engaging in acts or practices

which are otherwise misleading, false, or deceptive to the consumer; and (5) engaging in any

unconscionable method, act or practice in the conduct of trade or commerce. See IDAHO CIV.

CODE § 48-603.

         2714. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         2715. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         2716. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.




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         2717. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Idaho CPA.

         2718. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         2719. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         2720. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         2721. Old GM knew or should have known that its conduct violated the Idaho CPA.

         2722. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         2723. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         2724. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their



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bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         2725. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         2726. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         2727. As a direct and proximate result of Old GM’s violations of the Idaho CPA,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.

         2728. Pursuant to IDAHO CODE § 48-608, Plaintiffs seek monetary relief against

New GM (in its capacity as successor to Old GM) measured as the greater of (a) actual damages

in an amount to be determined at trial and (b) statutory damages in the amount of $1,000 for each

Plaintiff.

         2729. Plaintiffs also seek attorneys’ fees, and any other just and proper relief available

under the Idaho CPA.




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                                            COUNT VI

           SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         2730. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2731. This claim is brought on behalf of Idaho residents who are members of the Delta

Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count, “Plaintiffs”).

         2732. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         2733. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         2734. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         2735. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         2736. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         2737. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material




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to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         2738. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         2739. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         2740. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         2741. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their




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Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         2742. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         2743. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                            ILLINOIS

                                             COUNT I

                      VIOLATION OF ILLINOIS CONSUMER FRAUD AND
                           DECEPTIVE BUSINESS PRACTICES ACT
                          (815 ILCS 505/1, et seq. and 720 ILCS 295/1A)

         2744. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2745. This claim is brought on behalf of Illinois residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         2746. New GM is a “person” as that term is defined in 815 ILCS 505/1(c).

         2747. Plaintiffs are “consumers” as that term is defined in 815 ILCS 505/1(e).




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         2748. The Illinois Consumer Fraud and Deceptive Business Practices Act (“Illinois

CFA”) prohibits “unfair or deceptive acts or practices, including, but not limited to, the use or

employment of any deception, fraud, false pretense, false promise, misrepresentation or the

concealment, suppression or omission of any material fact, with intent that others rely upon the

concealment, suppression or omission of such material fact … in the conduct of trade or

commerce … whether any person has in fact been misled, deceived or damaged thereby.” 815

ILCS 505/2.

         2749. New GM participated in misleading, false, or deceptive acts that violated the

Illinois CFA. By concealing the known defects in Plaintiffs’ vehicles, New GM engaged in

deceptive business practices prohibited by the Illinois CFA. The defects in each vehicle include

not only the specific defect (e.g., the Delta Ignition Switch), but also include the defective

process through which New GM built cars, a process that included cost-cutting, minimizing the

importance of safety issues, siloing, the depletion of resources devoted to recognizing and

studying safety issues, the failure to follow acceptable engineering and inventory processes

concerning parts management, and the failure to follow a proper FMEA process. All of these

defective processes would be material to a reasonable consumer.

         2750. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         2751. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material




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fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles.

         2752. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         2753. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Illinois CFA.

         2754. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         2755. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         2756. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         2757. New GM knew or should have known that its conduct violated the Illinois CFA.

         2758. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.




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         2759. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles because New GM:

                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         2760. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         2761. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.

         2762. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.



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         2763. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         2764. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By assuming TREAD Act responsibilities with respect to Old GM vehicles, New GM effectively

undertook the role of manufacturer of those vehicles because the TREAD Act on its face only

applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing duty to all

Defective Vehicle owners to refrain from unfair and deceptive acts or practices under the Illinois

CFA—regardless of when those owners acquired their vehicles.

         2765. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         2766. As a direct and proximate result of New GM’s violations of the Illinois CFA,

Plaintiffs have suffered injury-in-fact and/or actual damage as alleged above. As a direct result

of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.




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         2767. Pursuant to 815 ILCS 505/10a(a), Plaintiffs seek monetary relief against New GM

in the amount of actual damages, as well as punitive damages because New GM acted with fraud

and/or malice and/or was grossly negligent.

         2768. Plaintiffs also seek an order enjoining New GM’s unfair and/or deceptive acts or

practices, punitive damages, and attorneys’ fees, and any other just and proper relief available

under 815 ILCS § 505/1 et seq.

                                            COUNT II

                                   FRAUD BY CONCEALMENT

         2769. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2770. This claim is brought on behalf of Illinois residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         2771. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         2772. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         2773. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.




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         2774. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         2775. New GM did so in order to falsely assure purchasers, lessees, and owners of the

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         2776. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         2777. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.




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         2778. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         2779. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         2780. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         2781. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.




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         2782. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.

                                            COUNT III

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         2783. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2784. This claim is brought only on behalf of Illinois residents who are members of the

Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).

         2785. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         2786. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”




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         2787. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.

         2788. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         2789. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         2790. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         2791. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         2792. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.




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         2793. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         2794. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC

Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         2795. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         2796. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         2797. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         2798. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         2799. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims




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by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         2800. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable

by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         2801. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         2802. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         2803. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         2804. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’




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rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.

                                            COUNT IV

                                    UNJUST ENRICHMENT

         2805. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2806. This claim is brought on behalf of Illinois residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         2807. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         2808. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

         2809. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         2810. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs




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of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         2811. Thus, all Plaintiffs conferred a benefit on New GM.

         2812. It is inequitable for New GM to retain these benefits.

         2813. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         2814. New GM knowingly accepted the benefits of its unjust conduct.

         2815. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                            COUNT V

    SUCCESSOR LIABILITY CLAIM FOR VIOLATION OF ILLINOIS CONSUMER
            FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT
                 (815 ILCS 505/1, et seq. and 720 ILCS 295/1A)

         2816. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2817. This claim is brought on behalf of Illinois residents who are members of the Delta

Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count, “Plaintiffs”).

         2818. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         2819. Old GM was a “person” as that term is defined in 815 ILCS 505/1(c).

         2820. Plaintiffs are “consumers” as that term is defined in 815 ILCS 505/1(e).




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         2821. The Illinois Consumer Fraud and Deceptive Business Practices Act (“Illinois

CFA”) prohibits “unfair or deceptive acts or practices, including, but not limited to, the use or

employment of any deception, fraud, false pretense, false promise, misrepresentation or the

concealment, suppression or omission of any material fact, with intent that others rely upon the

concealment, suppression or omission of such material fact … in the conduct of trade or

commerce … whether any person has in fact been misled, deceived or damaged thereby.” 815

ILCS 505/2.

         2822. Old GM participated in misleading, false, or deceptive acts that violated the

Illinois CFA. By concealing the known defects in Plaintiffs’ vehicles, Old GM engaged in

deceptive business practices prohibited by the Illinois CFA.

         2823. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         2824. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         2825. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         2826. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Illinois CFA.




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         2827. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         2828. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         2829. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         2830. Old GM knew or should have known that its conduct violated the Illinois CFA.

         2831. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         2832. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         2833. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of




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the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         2834. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         2835. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         2836. As a direct and proximate result of Old GM’s violations of the Illinois CFA,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability

         2837. Pursuant to 815 ILCS 505/10a(a), Plaintiffs seek monetary relief against New GM

(as successor to Old GM) in the amount of actual damages, as well as punitive damages because

Old GM acted with fraud and/or malice and/or was grossly negligent, attorneys’ fees, and such

other relief as may be just and proper under the Illinois CFA.

                                            COUNT VI

            SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         2838. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2839. This claim is brought on behalf of Illinois residents who are members of the Delta

Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count, “Plaintiffs”).




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         2840. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         2841. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         2842. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         2843. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         2844. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         2845. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         2846. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as




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set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         2847. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         2848. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         2849. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         2850. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         2851. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old




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GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                             INDIANA

                                             COUNT I

          VIOLATION OF THE INDIANA DECEPTIVE CONSUMER SALES ACT
                             (IND. CODE § 24-5-0.5-3)

         2852. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2853. This claim is brought on behalf of Indiana residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         2854. New GM is a “person” within the meaning of IND. CODE § 24-5-0.5-2(2) and a

“supplier” within the meaning of IND. CODE § 24-5-.05-2(a)(3).

         2855. Plaintiffs’ purchases of Defective Vehicles are “consumer transactions” within the

meaning of IND. CODE § 24-5-.05-2(a)(1).

         2856. Indiana’s Deceptive Consumer Sales Act (“Indiana DCSA”) prohibits a person

from engaging in a “deceptive trade practice,” which includes representing: “(1) That such

subject of a consumer transaction has sponsorship, approval, performance, characteristics,

accessories, uses, or benefits that they do not have, or that a person has a sponsorship, approval,

status, affiliation, or connection it does not have; (2) That such subject of a consumer transaction




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is of a particular standard, quality, grade, style or model, if it is not and if the supplier knows or

should reasonably know that it is not; … (7) That the supplier has a sponsorship, approval or

affiliation in such consumer transaction that the supplier does not have, and which the supplier

knows or should reasonably know that the supplier does not have; … (b) Any representations on

or within a product or its packaging or in advertising or promotional materials which would

constitute a deceptive act shall be the deceptive act both of the supplier who places such a

representation thereon or therein, or who authored such materials, and such suppliers who shall

state orally or in writing that such representation is true if such other supplier shall know or have

reason to know that such representation was false.”

         2857. New GM participated in misleading, false, or deceptive acts that violated the

Indiana DCSA. By systematically concealing the defects in the Defective Vehicles, New GM

engaged in deceptive business practices prohibited by the Indiana DCSA. New GM also

engaged in unlawful trade practices by: (1) representing that the Defective Vehicles have

characteristics, uses, benefits, and qualities which they do not have; (2) representing that the

Defective Vehicles are of a particular standard and quality when they are not; (3) advertising the

Defective Vehicles with the intent not to sell them as advertised; and (4) otherwise engaging in

conduct likely to deceive. The defects in each vehicle include not only the specific defect (e.g.,

the Delta Ignition Switch), but also include the defective process through which New GM built

cars, a process that included cost-cutting, minimizing the importance of safety issues, siloing, the

depletion of resources devoted to recognizing and studying safety issues, the failure to follow

acceptable engineering and inventory processes concerning parts management, and the failure to

follow a proper FMEA process. All of these defective processes would be material to a

reasonable consumer.




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         2858. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         2859. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles.

         2860. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         2861. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Indiana DCSA.

         2862. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.




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         2863. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         2864. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         2865. New GM knew or should have known that its conduct violated the Indiana DCSA.

         2866. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         2867. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles because New GM:

                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         2868. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.




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         2869. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.

         2870. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         2871. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         2872. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By assuming TREAD Act responsibilities with respect to Old GM vehicles, New GM effectively

undertook the role of manufacturer of those vehicles because the TREAD Act on its face only

applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing duty to all

Defective Vehicle owners to refrain from unfair and deceptive acts or practices under the Indiana

DCSA—regardless of when those owners acquired their vehicles.

         2873. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta




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Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         2874. As a direct and proximate result of New GM’s violations of the Indiana DCSA,

Plaintiffs have suffered injury-in-fact and/or actual damage as alleged above. As a direct result

of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.

         2875. Pursuant to IND. CODE § 24-5-0.5-4, Plaintiffs seek monetary relief against

New GM measured as the greater of (a) actual damages in an amount to be determined at trial

and (b) statutory damages in the amount of $500 for each Plaintiff, including treble damages up

to $1,000 for New GM’s willfully deceptive acts.

         2876. Plaintiffs also seek punitive damages based on the outrageousness and

recklessness of the New GM’s conduct and New GM’s high net worth.

         2877. On October 8, 2014, certain Plaintiffs sent a letter complying with IND. CODE

§ 24-5-0.5-5(a). Because New GM failed to remedy its unlawful conduct within the requisite

time period, Plaintiffs seek all damages and relief to which Plaintiffs are entitled.

                                             COUNT II

                                     FRAUD BY CONCEALMENT

         2878. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2879. This claim is brought on behalf of Indiana residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect




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Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         2880. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         2881. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         2882. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         2883. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         2884. New GM did so in order to falsely assure purchasers, lessees, and owners of the

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         2885. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in




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the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         2886. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         2887. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         2888. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         2889. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs as

alleged above. Had they been aware of the concealed defects that existed in the Defective




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Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         2890. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         2891. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.

                                             COUNT III

                BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

                                         (IND. CODE § 26-1-2-314)

         2892. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2893. This claim is brought only on behalf of Indiana residents who are members of any

of the following Subclasses: (i) the Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Subclass; (ii) the Low Torque Ignition Switch Defect Magnuson-Moss and Implied

Warranty Subclass; (iii) the Knee-to-Key Camaro Defect Magnuson-Moss and Implied Warranty

Subclass; (iv) the Side Airbag Defect Magnuson-Moss and Implied Warranty Subclass; and (v)

the Power Steering Defect Magnuson-Moss and Implied Warranty Subclass (collectively for the

purposes of this Count, “Plaintiffs”).




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         2894. New GM was a merchant with respect to motor vehicles within the meaning of

IND. CODE § 26-1-2-104(1).

         2895. Under IND. CODE § 26-1-2-314, a warranty that the Defective Vehicles were in

merchantable condition was implied by law in the transactions when Plaintiffs purchased or

leased their Defective Vehicles from New GM on or after July 10, 2009.

         2896. The Defective Vehicles, when sold and at all times thereafter, were not

merchantable and are not fit for the ordinary purpose for which cars are used.

         2897. The Defective Ignition Switch Vehicles are inherently defective in that there are

defects in the ignition switch systems that cause sudden unintended stalling to occur, with the

attendant shut down of power steering and power brakes and the nondeployment of airbags in the

event of a collision, thereby causing an increased likelihood of serious injury or death.

         2898. The Power Steering Defect Vehicles are inherently defective in that there are

defects in the vehicles that can cause the loss of power steering assist, resulting in an increased

risk of accident.

         2899. The Side Airbag Defect Vehicles are inherently defective in that there are defects

in the wiring harness connectors that can cause the side impact airbags (SIABs) and seatbelt

pretensioners not to deploy in the event of a collision, thereby causing an increased likelihood of

serious injury or death.

         2900. New GM was provided notice of these issues by numerous complaints filed

against it, internal investigations, and by numerous individual letters and communications sent

by Plaintiffs and others before or within a reasonable amount of time after New GM issued the

recall and the allegations of vehicle defects became public.




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         2901. As a direct and proximate result of New GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                             COUNT IV

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         2902. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2903. This claim is brought only on behalf of Indiana residents who are members of the

Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).

         2904. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         2905. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         2906. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.




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         2907. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         2908. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         2909. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         2910. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         2911. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         2912. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         2913. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC




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Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         2914. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         2915. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         2916. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         2917. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         2918. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         2919. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable




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by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         2920. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         2921. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         2922. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         2923. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.




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                                            COUNT V

                                    UNJUST ENRICHMENT

         2924. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2925. This claim is brought on behalf of Indiana residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         2926. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         2927. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

         2928. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         2929. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         2930. Thus, all Plaintiffs conferred a benefit on New GM.




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         2931. It is inequitable for New GM to retain these benefits.

         2932. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         2933. New GM knowingly accepted the benefits of its unjust conduct.

         2934. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                            COUNT VI

SUCCESSOR LIABILITY CLAIM FOR VIOLATION OF THE INDIANA DECEPTIVE
                      CONSUMER SALES ACT
                       (IND. CODE § 24-5-0.5-3)

         2935. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2936. This claim is brought on behalf of Indiana residents who are members of the Delta

Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count, “Plaintiffs”).

         2937. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         2938. Old GM was a “person” within the meaning of IND. CODE § 24-5-0.5-2(2) and a

“supplier” within the meaning of IND. CODE § 24-5-.05-2(a)(3).

         2939. Plaintiffs’ purchases of the Old GM Delta Ignition Switch Vehicles were

“consumer transactions” within the meaning of IND. CODE § 24-5-.05-2(a)(1).

         2940. Indiana’s Deceptive Consumer Sales Act (“Indiana DCSA”) prohibits a person

from engaging in a “deceptive trade practice,” which includes representing: “(1) That such




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subject of a consumer transaction has sponsorship, approval, performance, characteristics,

accessories, uses, or benefits that they do not have, or that a person has a sponsorship, approval,

status, affiliation, or connection it does not have; (2) That such subject of a consumer transaction

is of a particular standard, quality, grade, style or model, if it is not and if the supplier knows or

should reasonably know that it is not; … (7) That the supplier has a sponsorship, approval or

affiliation in such consumer transaction that the supplier does not have, and which the supplier

knows or should reasonably know that the supplier does not have; … (b) Any representations on

or within a product or its packaging or in advertising or promotional materials which would

constitute a deceptive act shall be the deceptive act both of the supplier who places such a

representation thereon or therein, or who authored such materials, and such suppliers who shall

state orally or in writing that such representation is true if such other supplier shall know or have

reason to know that such representation was false.”

         2941. Old GM participated in misleading, false, or deceptive acts that violated the

Indiana DCSA. By systematically concealing the defects in the Delta Ignition Switch Vehicles,

Old GM engaged in deceptive business practices prohibited by the Indiana DCSA. Old GM also

engaged in unlawful trade practices by: (1) representing that the Delta Ignition Switch Vehicles

have characteristics, uses, benefits, and qualities which they do not have; (2) representing that

the Delta Ignition Switch Vehicles are of a particular standard and quality when they are not; (3)

advertising the Delta Ignition Switch e Vehicles with the intent not to sell them as advertised;

and (4) otherwise engaging in conduct likely to deceive.

         2942. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.




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         2943. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         2944. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         2945. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Indiana DCSA.

         2946. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         2947. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         2948. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         2949. Old GM knew or should have known that its conduct violated the Indiana DCSA.

         2950. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         2951. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:




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                  a.   Possessed exclusive knowledge about the defects in the
                       Delta Ignition Switch Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Delta Ignition Switch Vehicles, while
                       purposefully withholding material facts from Plaintiffs that
                       contradicted these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to
                       disclose and remedy the defects.

         2952. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         2953. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         2954. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         2955. As a direct and proximate result of Old GM’s violations of the Indiana DCSA,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.




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         2956. Pursuant to IND. CODE § 24-5-0.5-4, Plaintiffs seek monetary relief against

New GM (as Old GM’s successor) measured as the greater of (a) actual damages in an amount to

be determined at trial and (b) statutory damages in the amount of $500 for each Plaintiff,

including treble damages up to $1,000 for Old GM’s willfully deceptive acts.

         2957. On October 8, 2014, certain Plaintiffs sent a letter complying with IND. CODE

§ 24-5-0.5-5(a). Because New GM failed to remedy the unlawful conduct of Old GM (for which

it has successor liability) within the requisite time period, Plaintiffs seek all damages and relief to

which Plaintiffs are entitled.

                                            COUNT VII

           SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         2958. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2959. This claim is brought on behalf of Indiana residents who are members of the Delta

Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count, “Plaintiffs”).

         2960. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         2961. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         2962. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.




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         2963. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         2964. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         2965. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         2966. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         2967. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.




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         2968. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         2969. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         2970. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         2971. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                           COUNT VIII

                      SUCCESSOR LIABILITY CLAIM FOR BREACH OF
                       IMPLIED WARRANTY OF MERCHANTABILITY
                                 (IND. CODE § 26-1-2-314)

         2972. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.




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         2973. This claim is brought on behalf of Indiana residents who are members of the Delta

Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor Liability Subclass (for

the purposes of this Count, “Plaintiffs”).

         2974. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         2975. Old GM was a merchant with respect to motor vehicles within the meaning of

IND. CODE § 26-1-2-104(1).

         2976. Under IND. CODE § 26-1-2-314, a warranty that the Delta Ignition Switch Vehicles

were in merchantable condition was implied by law in the transactions when Plaintiffs purchased

or leased their vehicles from Old GM on or before July 9, 2009.

         2977. The Delta Ignition Switch Vehicles, when sold and at all times thereafter, were

not merchantable and not fit for the ordinary purpose for which cars are used. Specifically, the

Delta Ignition Switch Vehicles were inherently defective in that there were defects in the ignition

switch systems that cause sudden unintended stalling to occur, with the attendant shut down of

power steering and power brakes and the nondeployment of airbags in the event of a collision,

thereby causing an increased likelihood of serious injury or death.

         2978. New GM, as the successor to Old GM, was provided notice of these issues by

numerous complaints filed against it, internal investigations, and by numerous individual letters

and communications sent by Plaintiffs and others before or within a reasonable amount of time

after New GM issued the recall and the allegations of vehicle defects became public.




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         2979. As a direct and proximate result of Old GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                              IOWA

                                             COUNT I

                      VIOLATIONS OF THE PRIVATE RIGHT OF ACTION
                              FOR CONSUMER FRAUDS ACT
                                (IOWA CODE § 714H.1, et seq.)

         2980. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         2981. This claim is brought on behalf of Iowa residents who are members of any of the

following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         2982. New GM is “person” under IOWA CODE § 714H.2(7).

         2983. Plaintiffs are “consumers,” as defined by IOWA CODE § 714H.2(3), who

purchased or leased one or more Defective Vehicles.

         2984. The Iowa Private Right of Action for Consumer Frauds Act (“Iowa CFA”)

prohibits any “practice or act the person knows or reasonably should know is an unfair practice,

deception, fraud, false pretense, or false promise, or the misrepresentation, concealment,

suppression, or omission of a material fact, with the intent that others rely upon the unfair

practice, deception, fraud, false pretense, false promise, misrepresentation, concealment,

suppression, or omission in connection with the advertisement, sale, or lease of consumer




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merchandise.” IOWA CODE § 714H.3. New GM participated in misleading, false, or deceptive

acts that violated the Iowa CFA. By systematically concealing the defects in Defective Vehicles,

New GM engaged in deceptive business practices prohibited by the Iowa CFA. The defects in

each vehicle include not only the specific defect (e.g., the Delta Ignition Switch), but also

include the defective process through which New GM built cars, a process that included cost-

cutting, minimizing the importance of safety issues, siloing, the depletion of resources devoted to

recognizing and studying safety issues, the failure to follow acceptable engineering and

inventory processes concerning parts management, and the failure to follow a proper FMEA

process. All of these defective processes would be material to a reasonable consumer.

         2985. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         2986. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles.

         2987. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety




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issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         2988. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Iowa CFA.

         2989. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         2990. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         2991. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         2992. New GM knew or should have known that its conduct violated the Iowa CFA.

         2993. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         2994. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles because New GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Defective Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Defective Vehicles, while purposefully
                        withholding material facts from Plaintiffs that contradicted
                        these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to disclose and
                        remedy the defects.



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         2995. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         2996. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.

         2997. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         2998. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         2999. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.




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By assuming TREAD Act responsibilities with respect to Old GM vehicles, New GM effectively

undertook the role of manufacturer of those vehicles because the TREAD Act on its face only

applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing duty to all

Defective Vehicle owners to refrain from unfair and deceptive acts or practices under the Iowa

CFA—regardless of when those owners acquired their vehicles.

         3000. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         3001. As a direct and proximate result of New GM’s violations of the Iowa CFA,

Plaintiffs have suffered injury-in-fact and/or actual damage as alleged above. As a direct result

of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.

         3002. Pursuant to IOWA CODE § 714H.5, Plaintiffs seek an order enjoining New GM’s

unfair and/or deceptive acts or practices; actual damages; in addition to an award of actual

damages, statutory damages up to three times the amount of actual damages awarded as a result

of New GM’s willful and wanton disregard for the rights or safety of others; attorneys’ fees; and

such other equitable relief as the Court deems necessary to protect the public from further

violations of the Iowa CFA.




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                                            COUNT II

                                   FRAUD BY CONCEALMENT

         3003. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3004. This claim is brought on behalf of Iowa residents who are members of any of the

following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         3005. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         3006. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         3007. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         3008. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         3009. New GM did so in order to falsely assure purchasers, lessees, and owners of the

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to




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consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         3010. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         3011. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         3012. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         3013. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other




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affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         3014. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         3015. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         3016. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.




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                                             COUNT III

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         3017. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3018. This claim is brought only on behalf of Iowa residents who are members of the

Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).

         3019. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         3020. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         3021. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.




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         3022. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         3023. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         3024. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         3025. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         3026. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         3027. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         3028. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC




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Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         3029. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         3030. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         3031. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         3032. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         3033. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         3034. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable




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by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         3035. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         3036. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         3037. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         3038. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.




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                                            COUNT IV

                                    UNJUST ENRICHMENT

         3039. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3040. This claim is brought on behalf of Iowa residents who are members of any of the

following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         3041. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         3042. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

         3043. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         3044. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         3045. Thus, all Plaintiffs conferred a benefit on New GM.




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         3046. It is inequitable for New GM to retain these benefits.

         3047. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         3048. New GM knowingly accepted the benefits of its unjust conduct.

         3049. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                            COUNT V

         SUCCESSOR LIABILITY CLAIM FOR VIOLATIONS OF THE PRIVATE
                RIGHT OF ACTION FOR CONSUMER FRAUDS ACT
                          (IOWA CODE § 714H.1, et seq.)

         3050. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3051. This claim is brought on behalf of Iowa residents who are members of the Delta

Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count, “Plaintiffs”).

         3052. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         3053. Old GM was a “person” under IOWA CODE § 714H.2(7).

         3054. Plaintiffs are “consumers,” as defined by IOWA CODE § 714H.2(3), who

purchased or leased one or more Delta Ignition Switch Vehicles from Old GM.

         3055. The Iowa Private Right of Action for Consumer Frauds Act (“Iowa CFA”)

prohibits any “practice or act the person knows or reasonably should know is an unfair practice,

deception, fraud, false pretense, or false promise, or the misrepresentation, concealment,




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suppression, or omission of a material fact, with the intent that others rely upon the unfair

practice, deception, fraud, false pretense, false promise, misrepresentation, concealment,

suppression, or omission in connection with the advertisement, sale, or lease of consumer

merchandise.” IOWA CODE § 714H.3. New GM participated in misleading, false, or deceptive

acts that violated the Iowa CFA. By systematically concealing the defects in the Delta Ignition

Switch Vehicles, Old GM engaged in deceptive business practices prohibited by the Iowa CFA.

         3056. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         3057. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         3058. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         3059. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Iowa CFA.

         3060. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.




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         3061. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         3062. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         3063. Old GM knew or should have known that its conduct violated the Iowa CFA.

         3064. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         3065. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         3066. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.




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         3067. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         3068. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         3069. As a direct and proximate result of Old GM’s violations of the Iowa CFA,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.

         3070. Pursuant to IOWA CODE § 714H.5, Plaintiffs seek actual damages; in addition to

an award of actual damages, statutory damages up to three times the amount of actual damages

awarded as a result of Old GM’s willful and wanton disregard for the rights or safety of others

(for which New GM has successor liability); attorneys’ fees; and such other relief as the Court

deems necessary under the Iowa CFA.

                                            COUNT VI

             SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         3071. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3072. This claim is brought on behalf of Iowa residents who are members of the Delta

Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count, “Plaintiffs”).

         3073. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,




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the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         3074. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         3075. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         3076. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         3077. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         3078. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         3079. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old




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GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         3080. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         3081. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         3082. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         3083. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         3084. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.




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                                             KANSAS

                                             COUNT I

             VIOLATIONS OF THE KANSAS CONSUMER PROTECTION ACT
                         (KAN. STAT. ANN. § 50-623, et seq.)

         3085. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3086. This claim is brought on behalf of Kansas residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         3087. New GM is a “supplier” under the Kansas Consumer Protection Act (“Kansas

CPA”), KAN. STAT. ANN. § 50-624(l).

         3088. Plaintiffs are “consumers,” within the meaning of KAN. STAT. ANN. § 50-624(b),

who purchased or leased one or more Defective Vehicles.

         3089. The sale of the Defective Vehicles to Plaintiffs was a “consumer transaction”

within the meaning of KAN. STAT. ANN. § 50-624(c).

         3090. The Kansas CPA states “[n]o supplier shall engage in any deceptive act or

practice in connection with a consumer transaction,” KAN. STAT. ANN. § 50-626(a), and that

deceptive acts or practices include: (1) knowingly making representations or with reason to

know that “(A) Property or services have sponsorship, approval, accessories, characteristics,

ingredients, uses, benefits or quantities that they do not have;” and “(D) property or services are




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of particular standard, quality, grade, style or model, if they are of another which differs

materially from the representation;” “(2) the willful use, in any oral or written representation, of

exaggeration, falsehood, innuendo or ambiguity as to a material fact;” and “(3) the willful failure

to state a material fact, or the willful concealment, suppression or omission of a material fact.”

The Kansas CPA also provides that “[n]o supplier shall engage in any unconscionable act or

practice in connection with a consumer transaction.” KAN. STAT. ANN. § 50-627(a).

         3091. New GM participated in misleading, false, or deceptive acts that violated the

Kansas CPA. By systematically concealing the defects in Defective Vehicles, New GM engaged

in deceptive business practices prohibited by the Kansas CPA. The defects in each vehicle

include not only the specific defect (e.g., the Delta Ignition Switch), but also include the

defective process through which New GM built cars, a process that included cost-cutting,

minimizing the importance of safety issues, siloing, the depletion of resources devoted to

recognizing and studying safety issues, the failure to follow acceptable engineering and

inventory processes concerning parts management, and the failure to follow a proper FMEA

process. All of these defective processes would be material to a reasonable consumer. New GM

also engaged in unlawful trade practices by: (1) representing that the Defective Vehicles have

characteristics, uses, benefits, and qualities which they do not have; (2) representing that the

Defective Vehicles are of a particular standard and quality when they are not; (3) advertising the

Defective Vehicles with the intent not to sell them as advertised; (4) willfully using, in any oral

or written representation, of exaggeration, falsehood, innuendo or ambiguity as to a material fact;

(5) willfully failing to state a material fact, or the willfully concealing, suppressing or omitting a

material fact; and (6) otherwise engaging in an unconscionable act or practice in connection with

a consumer transaction.




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         3092. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         3093. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles.

         3094. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         3095. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Kansas CPA.

         3096. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.




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         3097. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         3098. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         3099. New GM knew or should have known that its conduct violated the Kansas CPA.

         3100. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         3101. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles because New GM:

                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         3102. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.




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         3103. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.

         3104. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         3105. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         3106. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By assuming TREAD Act responsibilities with respect to Old GM vehicles, New GM effectively

undertook the role of manufacturer of those vehicles because the TREAD Act on its face only

applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing duty to all

Defective Vehicle owners to refrain from unfair and deceptive acts or practices under the Kansas

CPA—regardless of when those owners acquired their vehicles.

         3107. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta




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Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         3108. As a direct and proximate result of New GM’s violations of the Kansas CPA,

Plaintiffs have suffered injury-in-fact and/or actual damage as alleged above. As a direct result

of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.

         3109. Pursuant to KAN. STAT. ANN. § 50-634, Plaintiffs seek monetary relief against

New GM measured as the greater of (a) actual damages in an amount to be determined at trial

and (b) statutory damages in the amount of $10,000 for each Plaintiff.

         3110. Plaintiff also seeks an order enjoining New GM’s unfair, unlawful, and/or

deceptive practices, declaratory relief, attorneys’ fees, and any other just and proper relief

available under KAN. STAT. ANN § 50-623, et seq.

                                            COUNT II

                                     FRAUD BY CONCEALMENT

         3111. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3112. This claim is brought on behalf of Kansas residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.




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         3113. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         3114. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         3115. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         3116. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         3117. New GM did so in order to falsely assure purchasers, lessees, and owners of the

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         3118. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and




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implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         3119. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         3120. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         3121. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         3122. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all




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Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         3123. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         3124. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.

                                            COUNT III

                BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                             (KAN. STAT. ANN. § 84-2-314)

         3125. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3126. This claim is brought only on behalf of Kansas residents who are members of any

of the following Subclasses: (i) the Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Subclass; (ii) the Low Torque Ignition Switch Defect Magnuson-Moss and Implied

Warranty Subclass; (iii) the Knee-to-Key Camaro Defect Magnuson-Moss and Implied Warranty

Subclass; (iv) the Side Airbag Defect Magnuson-Moss and Implied Warranty Subclass; and (v)

the Power Steering Defect Magnuson-Moss and Implied Warranty Subclass (collectively for the

purposes of this Count, “Plaintiffs”).

         3127. New GM was a merchant with respect to motor vehicles within the meaning of

KAN. STAT. ANN. § 84-2-104(1).




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         3128. Under KAN. STAT. ANN. § 84-2-314, a warranty that the Defective Vehicles were

in merchantable condition was implied by law in the transactions when Plaintiffs purchased or

leased their Defective Ignition Switch Vehicles from New GM on or after July 10, 2009.

         3129. The Defective Vehicles, when sold and at all times thereafter, were not

merchantable and are not fit for the ordinary purpose for which cars are used.

         3130. The Defective Ignition Switch Vehicles are inherently defective in that there are

defects in the ignition switch systems that cause sudden unintended stalling to occur, with the

attendant shut down of power steering and power brakes and the nondeployment of airbags in the

event of a collision, thereby causing an increased likelihood of serious injury or death.

         3131. The Power Steering Defect Vehicles are inherently defective in that there are

defects in the vehicles that can cause the loss of power steering assist, resulting in an increased

risk of accident.

         3132. The Side Airbag Defect Vehicles are inherently defective in that there are defects

in the wiring harness connectors that can cause the side impact airbags (SIABs) and seatbelt

pretensioners not to deploy in the event of a collision, thereby causing an increased likelihood of

serious injury or death.

         3133. New GM was provided notice of these issues by numerous complaints filed

against it, internal investigations, and by numerous individual letters and communications sent

by Plaintiffs and others before or within a reasonable amount of time after New GM issued the

recall and the allegations of vehicle defects became public.

         3134. As a direct and proximate result of New GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.




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                                             COUNT IV

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         3135. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3136. This claim is brought only on behalf of Kansas residents who are members of the

Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).

         3137. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         3138. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         3139. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.




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         3140. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         3141. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         3142. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         3143. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         3144. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         3145. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         3146. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC




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Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         3147. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         3148. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         3149. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         3150. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         3151. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         3152. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable




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by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         3153. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         3154. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         3155. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         3156. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.




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                                            COUNT V

                                    UNJUST ENRICHMENT

         3157. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3158. This claim is brought on behalf of Kansas residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         3159. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         3160. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

         3161. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         3162. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         3163. Thus, all Plaintiffs conferred a benefit on New GM.




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         3164. It is inequitable for New GM to retain these benefits.

         3165. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         3166. New GM knowingly accepted the benefits of its unjust conduct.

         3167. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                            COUNT VI

                      SUCCESSOR LIABILITY CLAIM FOR VIOLATIONS OF
                         THE KANSAS CONSUMER PROTECTION ACT
                               (KAN. STAT. ANN. § 50-623, et seq.)

         3168. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3169. This claim is brought on behalf of Kansas residents who are members of the Delta

Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count, “Plaintiffs”).

         3170. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         3171. Old GM was a “supplier” under the Kansas Consumer Protection Act (“Kansas

CPA”), KAN. STAT. ANN. § 50-624(l).

         3172. Plaintiffs are “consumers,” within the meaning of KAN. STAT. ANN. § 50-624(b),

who purchased or leased one or more Defective Vehicles.

         3173. Each sale of a Delta Ignition Switch Vehicle to Plaintiffs was a “consumer

transaction” within the meaning of KAN. STAT. ANN. § 50-624(c).




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         3174. The Kansas CPA states “[n]o supplier shall engage in any deceptive act or

practice in connection with a consumer transaction,” KAN. STAT. ANN. § 50-626(a), and that

deceptive acts or practices include: (1) knowingly making representations or with reason to

know that “(A) Property or services have sponsorship, approval, accessories, characteristics,

ingredients, uses, benefits or quantities that they do not have;” and “(D) property or services are

of particular standard, quality, grade, style or model, if they are of another which differs

materially from the representation;” “(2) the willful use, in any oral or written representation, of

exaggeration, falsehood, innuendo or ambiguity as to a material fact;” and “(3) the willful failure

to state a material fact, or the willful concealment, suppression or omission of a material fact.”

The Kansas CPA also provides that “[n]o supplier shall engage in any unconscionable act or

practice in connection with a consumer transaction.” KAN. STAT. ANN. § 50-627(a).

         3175. Old GM participated in misleading, false, or deceptive acts that violated the

Kansas CPA. By systematically concealing the defects in Delta Ignition Switch Vehicles,

Old GM engaged in deceptive business practices prohibited by the Kansas CPA. Old GM also

engaged in unlawful trade practices by: (1) representing that the Delta Ignition Switch Vehicles

have characteristics, uses, benefits, and qualities which they do not have; (2) representing that

the Delta Ignition Switch Vehicles are of a particular standard and quality when they are not; (3)

advertising the Delta Ignition Switch Vehicles with the intent not to sell them as advertised; (4)

willfully using, in any oral or written representation, of exaggeration, falsehood, innuendo or

ambiguity as to a material fact; (5) willfully failing to state a material fact, or the willfully

concealing, suppressing or omitting a material fact; and (6) otherwise engaging in an

unconscionable act or practice in connection with a consumer transaction.




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         3176. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         3177. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         3178. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         3179. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Kansas CPA.

         3180. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         3181. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         3182. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         3183. Old GM knew or should have known that its conduct violated the Kansas CPA.

         3184. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.




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         3185. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         3186. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         3187. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         3188. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.




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         3189. As a direct and proximate result of Old GM’s violations of the Kansas CPA,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.

         3190. Pursuant to KAN. STAT. ANN. § 50-634, Plaintiffs seek monetary relief against

New GM (as the successor to Old GM) measured as the greater of (a) actual damages in an

amount to be determined at trial and (b) statutory damages in the amount of $10,000 for each

Plaintiff.

         3191. Plaintiff also seeks attorneys’ fees, and any other just and proper relief available

under KAN. STAT. ANN § 50-623, et seq.

                                            COUNT VII

             SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         3192. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3193. This claim is brought on behalf of Kansas residents who are members of the Delta

Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count, “Plaintiffs”).

         3194. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         3195. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         3196. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.




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         3197. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         3198. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         3199. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         3200. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         3201. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.




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         3202. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         3203. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         3204. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         3205. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                           COUNT VIII

                      SUCCESSOR LIABILITY CLAIM FOR BREACH OF
                       IMPLIED WARRANTY OF MERCHANTABILITY
                               (KAN. CODE COM. LAW § 2-314)

         3206. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.




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         3207. This claim is brought on behalf of Kansas residents who are members of the Delta

Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor Liability Subclass (for

the purposes of this Count, “Plaintiffs”).

         3208. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         3209. Old GM was a merchant with respect to motor vehicles within the meaning of

KAN. STAT. ANN. § 84-2-104(1).

         3210. Under KAN. STAT. ANN. § 84-2-314, a warranty that the Delta Ignition Switch

Vehicles were in merchantable condition was implied by law in the transactions when Plaintiffs

purchased or leased their vehicles from Old GM on or before July 9, 2009.

         3211. The Delta Ignition Switch Vehicles, when sold and at all times thereafter, were

not merchantable and not fit for the ordinary purpose for which cars are used. Specifically, the

Delta Ignition Switch Vehicles were inherently defective in that there were defects in the ignition

switch systems that cause sudden unintended stalling to occur, with the attendant shut down of

power steering and power brakes and the nondeployment of airbags in the event of a collision,

thereby causing an increased likelihood of serious injury or death.

         3212. New GM, as the successor to Old GM, was provided notice of these issues by

numerous complaints filed against it, internal investigations, and by numerous individual letters

and communications sent by Plaintiffs and others before or within a reasonable amount of time

after New GM issued the recall and the allegations of vehicle defects became public.




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         3213. As a direct and proximate result of Old GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial

                                           KENTUCKY

                                             COUNT I

           VIOLATION OF THE KENTUCKY CONSUMER PROTECTION ACT
                         (KY. REV. STAT. § 367.110, et seq.)

         3214. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3215. This claim is brought on behalf of Kentucky residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct of

New GM.

         3216. New GM and Plaintiffs are “persons” within the meaning of the KY. REV. STAT. §

367.110(1).

         3217. New GM engaged in “trade” or “commerce” within the meaning of KY. REV.

STAT. § 367.110(2).

         3218. The Kentucky Consumer Protection Act (“Kentucky CPA”) makes unlawful

“[u]nfair, false, misleading, or deceptive acts or practices in the conduct of any trade or

commerce ….” KY. REV. STAT. § 367.170(1). New GM participated in misleading, false, or

deceptive acts that violated the Kentucky CPA. By systematically concealing the defects in the

Defective Vehicles, New GM engaged in deceptive business practices prohibited by the




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Kentucky CPA. The defects in each vehicle include not only the specific defect (e.g., the Delta

Ignition Switch), but also include the defective process through which New GM built cars, a

process that included cost-cutting, minimizing the importance of safety issues, siloing, the

depletion of resources devoted to recognizing and studying safety issues, the failure to follow

acceptable engineering and inventory processes concerning parts management, and the failure to

follow a proper FMEA process. All of these defective processes would be material to a

reasonable consumer.

         3219. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         3220. In the course of its business, New GM systematically concealed the defects in the

Defective Vehicles as described herein and otherwise engaged in activities with a tendency or

capacity to deceive. New GM also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression or omission

of any material fact with intent that others rely upon such concealment, suppression or omission,

in connection with the sale of Defective Vehicles.

         3221. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.




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         3222. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Kentucky CPA.

         3223. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         3224. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         3225. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         3226. New GM knew or should have known that its conduct violated the Kentucky

CPA.

         3227. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         3228. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles because New GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Defective Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Defective Vehicles, while purposefully
                        withholding material facts from Plaintiffs that contradicted
                        these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to disclose and
                        remedy the defects.




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         3229. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         3230. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.

         3231. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         3232. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         3233. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By assuming TREAD Act responsibilities with respect to Old GM vehicles, New GM effectively




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undertook the role of manufacturer of those vehicles because the TREAD Act on its face only

applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing duty to all

Defective Vehicle owners to refrain from unfair and deceptive acts or practices under the

Kentucky CPA—regardless of when those owners acquired their vehicles.

         3234. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         3235. As a direct and proximate result of New GM’s violations of the Kentucky CPA,

Plaintiffs have suffered injury-in-fact and/or actual damage as alleged above. As a direct result

of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.

         3236. Pursuant to KY. REV. STAT. ANN. § 367.220, Plaintiffs seek to recover actual

damages in an amount to be determined at trial; an order enjoining New GM’s unfair, unlawful,

and/or deceptive practices; declaratory relief; attorneys’ fees; and any other just and proper relief

available under KY. REV. STAT. ANN. § 367.220.

                                            COUNT II

                                     FRAUD BY CONCEALMENT

         3237. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3238. This claim is brought on behalf of Kentucky residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition




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Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         3239. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         3240. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         3241. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         3242. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         3243. New GM did so in order to falsely assure purchasers, lessees, and owners of the

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         3244. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth




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above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         3245. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         3246. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         3247. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         3248. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs as




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alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         3249. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         3250. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.

                                            COUNT III

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         3251. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3252. This claim is brought only on behalf of Kentucky residents who are members of

the Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).

         3253. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.




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         3254. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         3255. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.

         3256. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         3257. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         3258. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         3259. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two




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series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         3260. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         3261. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         3262. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC

Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         3263. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         3264. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         3265. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.




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         3266. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         3267. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         3268. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable

by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         3269. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         3270. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the




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ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         3271. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         3272. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.

                                            COUNT IV

                                    UNJUST ENRICHMENT

         3273. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3274. This claim is brought on behalf of Kentucky residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         3275. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         3276. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.




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         3277. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         3278. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         3279. Thus, all Plaintiffs conferred a benefit on New GM.

         3280. It is inequitable for New GM to retain these benefits.

         3281. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         3282. New GM knowingly accepted the benefits of its unjust conduct.

         3283. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                            COUNT V

        SUCCESSOR LIABILITY CLAIM FOR VIOLATION OF THE KENTUCKY
                       CONSUMER PROTECTION ACT
                        (KY. REV. STAT. § 367.110, et seq.)

         3284. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3285. This claim is brought on behalf of Kentucky residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).




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         3286. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         3287. Old GM and Plaintiffs are “persons” within the meaning of the KY. REV. STAT. §

367.110(1).

         3288. Old GM engaged in “trade” or “commerce” within the meaning of KY. REV.

STAT. § 367.110(2).

         3289. The Kentucky Consumer Protection Act (“Kentucky CPA”) makes unlawful

“[u]nfair, false, misleading, or deceptive acts or practices in the conduct of any trade or

commerce ….” KY. REV. STAT. § 367.170(1). Old GM participated in misleading, false, or

deceptive acts that violated the Kentucky CPA. By systematically concealing the defects in the

Delta Ignition Switch Vehicles, New GM engaged in deceptive business practices prohibited by

the Kentucky CPA.

         3290. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         3291. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.




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         3292. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         3293. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Kentucky CPA.

         3294. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         3295. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         3296. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         3297. Old GM knew or should have known that its conduct violated the Kentucky CPA.

         3298. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         3299. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.



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         3300. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         3301. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         3302. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         3303. As a direct and proximate result of Old GM’s violations of the Kentucky CPA,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.

         3304. Pursuant to KY. REV. STAT. ANN. § 367.220, Plaintiffs seek to recover actual

damages in an amount to be determined at trial; attorneys’ fees; and any other just and proper

relief available under KY. REV. STAT. ANN. § 367.220.

                                            COUNT VI

             SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         3305. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.




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         3306. This claim is brought on behalf of Kentucky residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         3307. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         3308. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         3309. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         3310. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         3311. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         3312. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         3313. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge




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and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         3314. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         3315. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         3316. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         3317. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.




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          3318. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                            LOUISIANA

                                              COUNT I

              VIOLATION OF THE LOUISIANA UNFAIR TRADE PRACTICES
                       AND CONSUMER PROTECTION LAW
                         (LA. REV. STAT. § 51:1401, et seq.)425

          3319. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

          3320. This claim is brought on behalf of Louisiana residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

          3321. New GM and Plaintiffs are “persons” within the meaning of the LA. REV. STAT.

§ 51:1402(8).

          3322. Plaintiffs are “consumers” within the meaning of LA. REV. STAT. § 51:1402(1).


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       Plaintiffs understand that this Court has found that the claims of New GM vehicle
purchasers and lessees are barred by the Louisiana Products Liability Act (“LPA”), and are
asserting those claims here solely for the purpose of preserving the claims for appellate purposes.
As this Court held in the Scheuer litigation, the LPA does not bar claims against New GM
brought by Old GM purchasers since New GM did not manufacture the Old GM vehicles. In re
Gen. Motors, 2016 WL 874778, at *4.



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         3323. New GM engaged in “trade” or “commerce” within the meaning of LA. REV.

STAT. § 51:1402(9).

         3324. The Louisiana Unfair Trade Practices and Consumer Protection Law (“Louisiana

CPL”) makes unlawful “deceptive acts or practices in the conduct of any trade or commerce.”

LA. REV. STAT. § 51:1405(A). New GM participated in misleading, false, or deceptive acts that

violated the Louisiana CPL. By systematically concealing the defects in Defective Vehicles,

New GM engaged in deceptive business practices prohibited by the Louisiana CPL. The defects

in each vehicle include not only the specific defect (e.g., the Delta Ignition Switch), but also

include the defective process through which New GM built cars, a process that included cost-

cutting, minimizing the importance of safety issues, siloing, the depletion of resources devoted to

recognizing and studying safety issues, the failure to follow acceptable engineering and

inventory processes concerning parts management, and the failure to follow a proper FMEA

process. All of these defective processes would be material to a reasonable consumer.

         3325. New GM participated in misleading, false, or deceptive acts that violated the

Louisiana CPL. By concealing the known defects in Plaintiffs’ vehicles, New GM engaged in

deceptive business practices prohibited by the Louisiana CPL.

         3326. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         3327. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material




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fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles.

         3328. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         3329. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Louisiana CPL.

         3330. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         3331. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         3332. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         3333. New GM knew or should have known that its conduct violated the Louisiana

CPL.




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         3334. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         3335. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles because New GM:

                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         3336. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         3337. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.



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         3338. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         3339. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         3340. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By assuming TREAD Act responsibilities with respect to Old GM vehicles, New GM effectively

undertook the role of manufacturer of those vehicles because the TREAD Act on its face only

applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing duty to all

Defective Vehicle owners to refrain from unfair and deceptive acts or practices under the

Louisiana CPL—regardless of when those owners acquired their vehicles.

         3341. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         3342. As a direct and proximate result of New GM’s violations of the Louisiana CPL,

Plaintiffs have suffered injury-in-fact and/or actual damage as alleged above. As a direct result

of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.




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          3343. Pursuant to LA. REV. STAT. § 51:1409, Plaintiffs seek to recover actual damages

in an amount to be determined at trial; treble damages for New GM’s knowing violations of the

Louisiana CPL; an order enjoining New GM’s unfair, unlawful, and/or deceptive practices;

declaratory relief; attorneys’ fees; and any other just and proper relief available under LA. REV.

STAT. § 51:1409.

                                             COUNT II

                                   FRAUD BY CONCEALMENT426

          3344. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

          3345. This claim is brought on behalf of Louisiana residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

          3346. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

          3347. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.


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       Plaintiffs understand that this Court has found that the claims of New GM vehicle
purchasers and lessees are barred by the Louisiana Products Liability Act (“LPA”), and are
asserting those claims here solely for the purpose of preserving the claims for appellate purposes.
As this Court held in the Scheuer litigation, the LPA does not bar claims against New GM
brought by Old GM purchasers since New GM did not manufacture the Old GM vehicles. In re
Gen. Motors, 2016 WL 874778, at *4.



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         3348. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         3349. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         3350. New GM did so in order to falsely assure purchasers, lessees, and owners of the

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         3351. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.




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         3352. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         3353. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         3354. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         3355. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.




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          3356. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

          3357. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.

                                             COUNT III

               BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY/
                   WARRANTY AGAINST REDHIBITORY DEFECTS
                           (LA. CIV. CODE ART. 2520, 2524)427

          3358. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

          3359. This claim is brought only on behalf of Louisiana residents who are members of

any of the following Subclasses: (i) the Delta Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (ii) the Low Torque Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (iii) the Knee-to-Key Camaro Defect Magnuson-Moss and Implied

Warranty Subclass; (iv) the Side Airbag Defect Magnuson-Moss and Implied Warranty

Subclass; and (v) the Power Steering Defect Magnuson-Moss and Implied Warranty Subclass

(collectively for the purposes of this Count, “Plaintiffs”).

          3360. At the time Plaintiffs acquired their Defective Vehicles, those vehicles had a

redhibitory defect within the meaning of LA. CIV. CODE ART. 2520, in that (a) the defects


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       Plaintiffs understand that this Court has found, albeit it in dicta, that the implied warranty
claims of New GM vehicle purchasers and lessees are barred by the Louisiana Products Liability
Act (“LPA”), and are asserting those claims here solely for the purpose of preserving the claims
for appellate purposes.



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rendered the use of the Defective Vehicles so inconvenient that Plaintiffs either would not have

purchased the Defective Vehicles had they known of the defects, or, because the defects so

diminished the usefulness and/or value of the Defective Vehicles such that it must be presumed

that the Plaintiffs would have purchased the Defective Vehicles, but for a lesser price.

         3361. No notice of the defect is required under LA. CIV. CODE ART. 2520, since New

GM had knowledge of a redhibitory defect in the Defective Vehicles at the time they were sold

to Plaintiffs.

         3362. Under LA. CIV. CODE ART. 2524, a warranty that the Defective Vehicles were in

merchantable condition, or fit for ordinary use, was implied by law in the transactions when

Plaintiffs purchased or leased their Defective Vehicles from New GM on or after July 10, 2009.

         3363. The Defective Vehicles, when sold and at all times thereafter, were not

merchantable and are not fit for the ordinary purpose for which cars are used.

         3364. The Defective Ignition Switch Vehicles are inherently defective in that there are

defects in the ignition switch systems that cause sudden unintended stalling to occur, with the

attendant shut down of power steering and power brakes and the nondeployment of airbags in the

event of a collision, thereby causing an increased likelihood of serious injury or death.

         3365. The Power Steering Defect Vehicles are inherently defective in that there are

defects in the vehicles that can cause the loss of power steering assist, resulting in an increased

risk of accident.

         3366. The Side Airbag Defect Vehicles are inherently defective in that there are defects

in the wiring harness connectors that can cause the side impact airbags (SIABs) and seatbelt

pretensioners not to deploy in the event of a collision, thereby causing an increased likelihood of

serious injury or death.




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          3367. New GM was provided notice of these issues by numerous complaints filed

against it, internal investigations, and by numerous individual letters and communications sent

by Plaintiffs before or within a reasonable amount of time after New GM issued the recall and

the allegations of vehicle defects became public.

          3368. As a direct and proximate result of New GM’s sale of vehicles with redhibitory

defects, and in violation of the implied warranty that the Defective Vehicles were fit for ordinary

use, Plaintiffs are entitled to either rescission or damages in an amount to be proven at trial.

                                             COUNT IV

                                         NEGLIGENCE428

          3369. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

          3370. Plaintiffs bring this Count on behalf of Louisiana residents who are members of

any of the following Classes: (i) Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). All claims in this Count are Independent Claims, and challenge only the conduct of

New GM.




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       Plaintiffs understand that this Court has found that the claims of New GM vehicle
purchasers and lessees are barred by the Louisiana Products Liability Act (“LPA”), and are
asserting those claims here solely for the purpose of preserving the claims for appellate purposes.
As this Court held in the Scheuer litigation, the LPA does not bar claims against New GM
brought by Old GM purchasers since New GM did not manufacture the Old GM vehicles. In re
Gen. Motors, 2016 WL 874778, at *4.



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         3371. New GM has designed, manufactured and/ or “certified” and sold or otherwise

placed in the stream of commerce Defective Vehicles as New GM or New GM Certified Pre-

Owned vehicles, as set forth above.

         3372. New GM had a duty to design, manufacture, and/or “certify” only a product that

would be safe for its intended and foreseeable uses and users, including the use to which its

products were put by Plaintiffs. New GM breached its duties to Plaintiffs because it was

negligent in the design, development, manufacture, and testing of the Defective Vehicles it

manufactured and/or sold as Certified Pre-Owned vehicles on or after July 10, 2009, and New

GM is responsible for this negligence.

         3373. New GM was negligent in the design, development, manufacture, testing, and/or

“certification” of the Defective Vehicles because it knew, or in the exercise of reasonable care

should have known, that the vehicles equipped with defective ignition systems, defective wiring

harnesses controlling side airbags and/or defective power steering pose an unreasonable risk of

death or serious bodily injury to Plaintiffs, passengers, other motorists, pedestrians, and the

public at large, because they are susceptible to incidents in which brakes, power steering, seatbelt

pretensioners, and/or airbags are rendered inoperable.

         3374. New GM thus “failed to exercise reasonable care in the manufacture of [its

Defective Vehicles]”, in violation of RESTATEMENT (SECOND) OF TORTS § 395 (“A manufacturer

who fails to exercise reasonable care in the manufacture of a chattel which, unless carefully

made, he should recognize as involving an unreasonable risk of causing physical harm to those

who use it for a purpose for which the manufacturer should expect it to be used and to those

whom he should expect to be endangered by its probable use, is subject to liability for physical

harm caused to them by its lawful use in a manner and for a purpose for which it is supplied.”).




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         3375. New GM further breached its duties to Plaintiffs by supplying directly or through

a third person Defective Vehicles to be used by such foreseeable persons as Plaintiffs when:

                  a.   New GM knew or had reason to know that the vehicles were dangerous or

likely to be dangerous for the use for which they were supplied; and

                  b.   New GM failed to exercise reasonable care to inform customers of the

dangerous condition or of the facts under which the vehicles are likely to be dangerous.

         3376. New GM had a continuing duty to warn and instruct the intended and foreseeable

users of its vehicles, including Plaintiffs, of the defective condition of the vehicles and the high

degree of risk attendant to using the vehicles. Plaintiffs were entitled to know that the vehicles, in

their ordinary operation, were not reasonably safe for their intended and ordinary purposes and

uses.

         3377. Pursuant to its ongoing relationship with owners and lessees of Old GM Defective

Vehicles, New GM also had a duty to warn those Plaintiffs of the defects, and inform these

Plaintiffs that their vehicles, in their ordinary operation, were not reasonably safe for their

intended purposes.

         3378. New GM knew or should have known of the defects described herein. New GM

breached its duty to Plaintiffs because it failed to warn and instruct the intended and foreseeable

users of its vehicles of the defective condition of the vehicles and the high degree of risk

attendant to using the vehicles.

         3379. As a direct and proximate result of New GM’s negligence, Plaintiffs suffered

damages, including overpayment at the time of purchase, diminished value, and cost of repair.




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                                             COUNT V

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         3380. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3381. This claim is brought only on behalf of Louisiana residents who are members of

the Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).

         3382. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         3383. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         3384. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.




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         3385. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         3386. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         3387. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         3388. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         3389. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         3390. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         3391. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC




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Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         3392. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         3393. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         3394. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         3395. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         3396. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         3397. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable




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by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         3398. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         3399. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         3400. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         3401. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.




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                                             COUNT VI

                                    UNJUST ENRICHMENT429

          3402. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

          3403. This claim is brought on behalf Louisiana residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

          3404. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

          3405. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

          3406. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

          3407. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM


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       Plaintiffs understand that this Court has found that the claims of New GM vehicle
purchasers and lessees are barred by the Louisiana Products Liability Act (“LPA”), and are
asserting those claims here solely for the purpose of preserving the claims for appellate purposes.
As this Court held in the Scheuer litigation, the LPA does not bar claims against New GM
brought by Old GM purchasers since New GM did not manufacture the Old GM vehicles. In re
Gen. Motors, 2016 WL 874778, at *4.



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had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

          3408. Thus, all Plaintiffs conferred a benefit on New GM.

          3409. It is inequitable for New GM to retain these benefits.

          3410. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

          3411. New GM knowingly accepted the benefits of its unjust conduct.

          3412. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                             COUNT VII

         SUCCESSOR LIABILITY CLAIM FOR VIOLATION OF THE
 LOUISIANA UNFAIR TRADE PRACTICES AND CONSUMER PROTECTION LAW
                    (LA. REV. STAT. § 51:1401, et seq.)430

          3413. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

          3414. This claim is brought on behalf of Louisiana residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

          3415. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,



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       Plaintiffs understand that this Court has found that the claims of new vehicle purchasers
and lessees are barred by the Louisiana Products Liability Act, and are asserting those claims
here solely for the purpose of preserving the claims for appellate purposes.



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the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         3416. Old GM and Plaintiffs are “persons” within the meaning of the LA. REV. STAT.

§ 51:1402(8).

         3417. Plaintiffs are “consumers” within the meaning of LA. REV. STAT. § 51:1402(1).

         3418. Old GM engaged in “trade” or “commerce” within the meaning of LA. REV. STAT.

§ 51:1402(9).

         3419. The Louisiana Unfair Trade Practices and Consumer Protection Law (“Louisiana

CPL”) makes unlawful “deceptive acts or practices in the conduct of any trade or commerce.”

LA. REV. STAT. § 51:1405(A). Old GM participated in misleading, false, or deceptive acts that

violated the Louisiana CPL. By systematically concealing the defects in Delta Ignition Switch

Vehicles, Old GM engaged in deceptive business practices prohibited by the Louisiana CPL.

         3420. Old GM participated in misleading, false, or deceptive acts that violated the

Louisiana CPL. By concealing the known defects in Plaintiffs’ vehicles, Old GM engaged in

deceptive business practices prohibited by the Louisiana CPL.

         3421. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         3422. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles.




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         3423. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         3424. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Louisiana CPL.

         3425. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         3426. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         3427. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Louisiana CPL.




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         3428. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         3429. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         3430. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         3431. Old GM knew or should have known that its conduct violated the Louisiana CPL.

         3432. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         3433. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         3434. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of




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the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

          3435. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

          3436. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

          3437. As a direct and proximate result of Old GM’s violations of the Louisiana CPL,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.

          3438. Pursuant to LA. REV. STAT. § 51:1409, Plaintiffs seek to recover actual damages

in an amount to be determined at trial; treble damages for Old GM’s knowing violations of the

Louisiana CPL (for which New GM has successor liability); attorneys’ fees; and any other just

and proper relief available under LA. REV. STAT. § 51:1409.

                                            COUNT VIII

             SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT431

          3439. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.



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       Plaintiffs understand that this Court has held that new car purchasers’ claims for fraud by
concealment are barred by the Louisiana Products Liability Act, and assert these claims here
solely for the purpose of preserving the claims for appellate review.



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         3440. This claim is brought on behalf of Louisiana residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         3441. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         3442. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         3443. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         3444. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         3445. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         3446. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         3447. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge




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and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         3448. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         3449. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         3450. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         3451. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.




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          3452. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                             COUNT IX

    SUCCESSOR LIABILITY CLAIM FOR BREACH OF IMPLIED WARRANTY OF
      MERCHANTABILITY/ WARRANTY AGAINST REDHIBITORY DEFECTS
                      (LA. CIV. CODE ART. 2520, 2524)432

          3453. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

          3454. This claim is brought only on behalf of Louisiana residents who are members of

the Delta Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor Liability

Subclass (for the purposes of this Count, “Plaintiffs”).

          3455. At the time Plaintiffs acquired their Delta Ignition Switch Vehicles, those vehicles

had a redhibitory defect within the meaning of LA. CIV. CODE ART. 2520, in that (a) the defects

rendered the use of the Delta Ignition Switch Vehicles so inconvenient that Plaintiffs either

would not have purchased the Delta Ignition Switch Vehicles had they known of the defects, or,

because the defects so diminished the usefulness and/or value of the Delta Ignition Switch

Vehicles such that it must be presumed that the Plaintiffs would have purchased the Delta

Ignition Switch Vehicles, but for a lesser price.




    432
       Plaintiffs understand that this Court has held, albeit it in dicta, that implied warranty
claims are barred by the Louisiana Products Liability Act, and assert these claims here solely for
the purpose of preserving the claims for appellate review.



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            3456. No notice of the defect is required under LA. CIV. CODE ART. 2520, since Old GM

had knowledge of a redhibitory defect in the Delta Ignition Switch Vehicles at the time they were

sold to Plaintiffs.

            3457. Under LA. CIV. CODE ART. 2524, a warranty that the Delta Ignition Switch

Vehicles were in merchantable condition, or fit for ordinary use, was implied by law in the

transactions when Plaintiffs purchased or leased their Delta Ignition Switch Vehicles from Old

GM on or before July 9, 2009.

            3458. The Delta Ignition Switch Vehicles, when sold and at all times thereafter, were

not merchantable and not fit for the ordinary purpose for which cars are used. Specifically, the

Delta Ignition Switch Vehicles were inherently defective in that there were defects in the ignition

switch systems that cause sudden unintended stalling to occur, with the attendant shut down of

power steering and power brakes and the nondeployment of airbags in the event of a collision,

thereby causing an increased likelihood of serious injury or death.

            3459. New GM, as the successor to Old GM, was provided notice of these issues by

numerous complaints filed against it, internal investigations, and by numerous individual letters

and communications sent by Plaintiffs and others before or within a reasonable amount of time

after New GM issued the recall and the allegations of vehicle defects became public.

            3460. As a direct and proximate result of Old GM’s sale of vehicles with redhibitory

defects, and in violation of the implied warranty that the Delta Ignition Switch Vehicles were fit

for ordinary use, Plaintiffs are entitled to either rescission or damages in an amount to be proven

at trial.




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                                             COUNT X

                      SUCCESSOR LIABILITY CLAIM FOR NEGLIGENCE433

          3461. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

          3462. This claim is brought on behalf of Louisiana residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

          3463. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

          3464. Old GM designed, manufactured and sold or otherwise placed in the stream of

commerce Delta Ignition Switch Vehicles, as set forth above.

          3465. Old GM had a duty to design, manufacture, and sell only a product that would be

safe for its intended and foreseeable uses and users, including the use to which its products were

put by Plaintiffs. Old GM breached its duties to Plaintiffs because it was negligent in the design,

development, manufacture, and testing of the Delta Ignition Switch Vehicles it manufactured and

sold on or before July 9, 2009, and New GM is responsible for Old GM’s negligence under the

doctrine of successor liability.

          3466. Old GM was negligent in the design, development, manufacture, testing, and/or

“certification” of the Delta Ignition Switch Vehicles because it knew, or in the exercise of

    433
       Plaintiffs understand that this Court has held that new car purchasers’ claims are barred by
the Louisiana Products Liability Act, and assert these claims here solely for the purpose of
preserving the claims for appellate review.



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reasonable care should have known, that the vehicles equipped with defective ignition systems

pose an unreasonable risk of death or serious bodily injury to Plaintiffs, passengers, other

motorists, pedestrians, and the public at large, because they are susceptible to incidents in which

brakes, power steering, seatbelt pretensioners, and airbags are rendered inoperable.

         3467. Old GM thus “failed to exercise reasonable care in the manufacture of [its

Defective Vehicles]”, in violation of RESTATEMENT (SECOND) OF TORTS § 395 (“A manufacturer

who fails to exercise reasonable care in the manufacture of a chattel which, unless carefully

made, he should recognize as involving an unreasonable risk of causing physical harm to those

who use it for a purpose for which the manufacturer should expect it to be used and to those

whom he should expect to be endangered by its probable use, is subject to liability for physical

harm caused to them by its lawful use in a manner and for a purpose for which it is supplied.”).

         3468. Old GM further breached its duties to Plaintiffs by supplying directly or through a

third person defective Delta Ignition Switch Vehicles to be used by such foreseeable persons as

Plaintiffs when:

         a.       Old GM knew or had reason to know that the vehicles were dangerous or likely to

be dangerous for the use for which they were supplied; and

         b.       Old GM failed to exercise reasonable care to inform customers of the dangerous

condition or of the facts under which the vehicles are likely to be dangerous.

         3469. Old GM had a continuing duty to warn and instruct the intended and foreseeable

users of its vehicles of the defective condition of the vehicles and the high degree of risk

attendant to using the vehicles. Plaintiffs were entitled to know that the vehicles, in their ordinary

operation, were not reasonably safe for their intended and ordinary purposes and uses.




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          3470. Old GM knew or should have known of the defects described herein. Old GM

breached its duty to Plaintiffs because it failed to warn and instruct the intended and foreseeable

users of its vehicles of the defective condition of the vehicles and the high degree of risk

attendant to using the vehicles.

          3471. As a direct and proximate result of Old GM’s negligence, Plaintiffs suffered

damages, for which New GM has successor liability. The damages include overpayment for the

Delta Ignition Switch Vehicles and repair costs, as discussed above.

                                               MAINE

                                              COUNT I

                   VIOLATION OF MAINE UNFAIR TRADE PRACTICES ACT
                          (ME. REV. STAT. ANN. TIT. 5 § 205-A, et seq.)

          3472. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

          3473. This claim is brought on behalf of Maine residents who are members of any of the

following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

          3474. New GM and Plaintiffs are “persons” within the meaning of ME. REV. STAT. ANN.

TIT.   § 206(2).

          3475. New GM is engaged in “trade” or “commerce” within the meaning of ME. REV.

STAT. ANN. TIT. § 206(3).




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         3476. The Maine Unfair Trade Practices Act (“Maine UTPA”) makes unlawful “[u]nfair

methods of competition and unfair or deceptive acts or practices in the conduct of any trade or

commerce….” ME. REV. STAT. ANN. TIT. 5 § 207. New GM participated in misleading, false, or

deceptive acts that violated the Maine UTPA. By concealing the known defects in Plaintiffs’

vehicles, New GM engaged in deceptive business practices prohibited by the Maine UTPA. The

defects in each vehicle include not only the specific defect (e.g., the Delta Ignition Switch), but

also include the defective process through which New GM built cars, a process that included

cost-cutting, minimizing the importance of safety issues, siloing, the depletion of resources

devoted to recognizing and studying safety issues, the failure to follow acceptable engineering

and inventory processes concerning parts management, and the failure to follow a proper FMEA

process. All of these defective processes would be material to a reasonable consumer.

         3477. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         3478. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles.

         3479. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory




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authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         3480. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Maine UTPA.

         3481. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         3482. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         3483. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         3484. New GM knew or should have known that its conduct violated the Maine UTPA.

         3485. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         3486. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles because New GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Defective Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Defective Vehicles, while purposefully




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                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         3487. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         3488. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.

         3489. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         3490. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.




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         3491. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By assuming TREAD Act responsibilities with respect to Old GM vehicles, New GM effectively

undertook the role of manufacturer of those vehicles because the TREAD Act on its face only

applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing duty to all

Defective Vehicle owners to refrain from unfair and deceptive acts or practices under the Maine

UTPA—regardless of when those owners acquired their vehicles.

         3492. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         3493. As a direct and proximate result of New GM’s violations of the Maine UTPA,

Plaintiffs have suffered injury-in-fact and/or actual damage as alleged above. As a direct result

of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.

         3494. Pursuant to ME. REV. STAT. ANN. TIT. 5 § 213, Plaintiffs seek an order enjoining

New GM’s unfair and/or deceptive acts or practices, damages, punitive damages, and attorneys’

fees, costs, and any other just and proper relief available under the Maine UTPA.

         3495. On October 8, 2014, certain Plaintiffs sent a letter complying with ME. REV.

STAT. ANN. TIT. 5, § 213(1-A). Because New GM failed to remedy its unlawful conduct within

the requisite time period, Plaintiffs seek all damages and relief to which Plaintiffs are entitled.




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                                            COUNT II

                                   FRAUD BY CONCEALMENT

         3496. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3497. This claim is brought on behalf of Maine residents who are members of any of the

following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         3498. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         3499. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         3500. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         3501. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         3502. New GM did so in order to falsely assure purchasers, lessees, and owners of the

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to




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consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         3503. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         3504. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         3505. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         3506. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other




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affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         3507. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         3508. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         3509. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.




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                                            COUNT III

                BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                           (ME. REV. STAT. ANN. TIT. 11 § 2-314)

         3510. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3511. This claim is brought only on behalf of Maine residents who are members of any

of the following Subclasses: (i) the Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Subclass; (ii) the Low Torque Ignition Switch Defect Magnuson-Moss and Implied

Warranty Subclass; (iii) the Knee-to-Key Camaro Defect Magnuson-Moss and Implied Warranty

Subclass; (iv) the Side Airbag Defect Magnuson-Moss and Implied Warranty Subclass; and (v)

the Power Steering Defect Magnuson-Moss and Implied Warranty Subclass (collectively for the

purposes of this Count, “Plaintiffs”).

         3512. New GM is a merchant with respect to motor vehicles within the meaning of ME.

REV. STAT. ANN. TIT. 11 § 2-104(1).

         3513. Under ME. REV. STAT. ANN. TIT. 11 § 2-314, a warranty that the Defective

Vehicles were in merchantable condition was implied by law in the transactions when Plaintiffs

purchased or leased their Defective Vehicles from New GM on or after July 10, 2009.

         3514. The Defective Vehicles, when sold and at all times thereafter, were not

merchantable and are not fit for the ordinary purpose for which cars are used.

         3515. The Defective Ignition Switch Vehicles are inherently defective in that there are

defects in the ignition switch systems that cause sudden unintended stalling to occur, with the

attendant shut down of power steering and power brakes and the nondeployment of airbags in the

event of a collision, thereby causing an increased likelihood of serious injury or death.




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         3516. The Power Steering Defect Vehicles are inherently defective in that there are

defects in the vehicles that can cause the loss of power steering assist, resulting in an increased

risk of accident.

         3517. The Side Airbag Defect Vehicles are inherently defective in that there are defects

in the wiring harness connectors that can cause the side impact airbags (SIABs) and seatbelt

pretensioners not to deploy in the event of a collision, thereby causing an increased likelihood of

serious injury or death.

         3518. New GM was provided notice of these issues by numerous complaints filed

against it, internal investigations, and by numerous individual letters and communications sent

by Plaintiffs and others before or within a reasonable amount of time after New GM issued the

recall and the allegations of vehicle defects became public.

         3519. As a direct and proximate result of New GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                            COUNT IV

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         3520. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3521. This claim is brought only on behalf of Maine residents who are members of the

Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).

         3522. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.




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         3523. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         3524. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.

         3525. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         3526. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         3527. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         3528. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two




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series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         3529. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         3530. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         3531. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC

Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         3532. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         3533. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         3534. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.




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         3535. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         3536. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         3537. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable

by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         3538. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         3539. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the




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ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         3540. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         3541. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.

                                            COUNT V

                                    UNJUST ENRICHMENT

         3542. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3543. This claim is brought on behalf of Maine residents who are members of any of the

following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         3544. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         3545. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.




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         3546. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         3547. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         3548. Thus, all Plaintiffs conferred a benefit on New GM.

         3549. It is inequitable for New GM to retain these benefits.

         3550. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         3551. New GM knowingly accepted the benefits of its unjust conduct.

         3552. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                            COUNT VI

                SUCCESSOR LIABILITY CLAIM FOR VIOLATION OF MAINE
                          UNFAIR TRADE PRACTICES ACT
                        (ME. REV. STAT. ANN. TIT. 5 § 205-A, et seq.)

         3553. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3554. This claim is brought on behalf of Maine residents who are members of the Delta

Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count, “Plaintiffs”).




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          3555. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

          3556. Old GM and Plaintiffs are “persons” within the meaning of ME. REV. STAT. ANN.

TIT.   § 206(2).

          3557. Old GM was engaged in “trade” or “commerce” within the meaning of ME. REV.

STAT. ANN. TIT. § 206(3).

          3558. The Maine Unfair Trade Practices Act (“Maine UTPA”) makes unlawful “[u]nfair

methods of competition and unfair or deceptive acts or practices in the conduct of any trade or

commerce….” ME. REV. STAT. ANN. TIT. 5 § 207. Old GM participated in misleading, false, or

deceptive acts that violated the Maine UTPA. By concealing the known defects in Plaintiffs’

vehicles, Old GM engaged in deceptive business practices prohibited by the Maine UTPA.

          3559. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

          3560. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

          3561. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.




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         3562. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Maine UTPA.

         3563. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         3564. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         3565. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         3566. Old GM knew or should have known that its conduct violated the Maine UTPA.

         3567. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         3568. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         3569. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their



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bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         3570. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         3571. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         3572. As a direct and proximate result of Old GM’s violations of the Maine UTPA,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.

         3573. Pursuant to MD. CODE COM. LAW § 13-408, Plaintiffs seek actual damages,

attorneys’ fees, and any other just and proper relief available under the Maine UTPA.

         3574. Pursuant to ME. REV. STAT. ANN. TIT. 5 § 213, Plaintiffs seek damages, punitive

damages, and attorneys’ fees, costs, and any other just and proper relief available under the

Maine UTPA.

         3575. On October 8, 2014, certain Plaintiffs sent a letter complying with ME. REV.

STAT. ANN. TIT. 5, § 213(1-A). Because New GM failed to remedy Old GM’s unlawful conduct

(for which it has successor liability) within the requisite time period, Plaintiffs seek all damages

and relief to which Plaintiffs are entitled.




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                                           COUNT VII

           SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         3576. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3577. This claim is brought on behalf of Maine residents who are members of the Delta

Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count, “Plaintiffs”).

         3578. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         3579. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         3580. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         3581. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         3582. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         3583. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material




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to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         3584. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         3585. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         3586. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         3587. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their




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Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         3588. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         3589. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                             COUNT VIII

                      SUCCESSOR LIABILITY CLAIM FOR BREACH OF
                       IMPLIED WARRANTY OF MERCHANTABILITY
                             (ME. REV. STAT. ANN. TIT. II 2-314)

         3590. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3591. This claim is brought on behalf of Maine residents who are members of the Delta

Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor Liability Subclass (for

the purposes of this Count, “Plaintiffs”).

         3592. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         3593. Old GM was a merchant with respect to motor vehicles within the meaning of

ME. REV. STAT. ANN. TIT. II § 2-104(1).




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         3594. Under ME. REV. STAT. ANN. TIT. II § 2-314, a warranty that the Delta Ignition

Switch Vehicles were in merchantable condition was implied by law in the transactions when

Plaintiffs purchased or leased their vehicles from Old GM on or before July 9, 2009.

         3595. The Delta Ignition Switch Vehicles, when sold and at all times thereafter, were

not merchantable and not fit for the ordinary purpose for which cars are used. Specifically, the

Delta Ignition Switch Vehicles were inherently defective in that there were defects in the ignition

switch systems that cause sudden unintended stalling to occur, with the attendant shut down of

power steering and power brakes and the nondeployment of airbags in the event of a collision,

thereby causing an increased likelihood of serious injury or death.

         3596. New GM, as the successor to Old GM, was provided notice of these issues by

numerous complaints filed against it, internal investigations, and by numerous individual letters

and communications sent by Plaintiffs and others before or within a reasonable amount of time

after New GM issued the recall and the allegations of vehicle defects became public.

         3597. As a direct and proximate result of Old GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                           MARYLAND

                                             COUNT I

          VIOLATIONS OF THE MARYLAND CONSUMER PROTECTION ACT
                      (MD. CODE COM. LAW § 13-101, et seq.)

         3598. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3599. This claim is brought on behalf of Maryland residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition




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Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         3600. New GM and Plaintiffs are “persons” within the meaning of MD. CODE COM.

LAW § 13-101(h).

         3601. The Maryland Consumer Protection Act (“Maryland CPA”) provides that a

person may not engage in any unfair or deceptive trade practice in the sale or lease of any

consumer good. MD. COM. LAW CODE § 13-303. New GM participated in misleading, false, or

deceptive acts that violated the Maryland CPA. By concealing the known defects in Plaintiffs’

vehicles, New GM engaged in deceptive business practices prohibited by the Maryland CPA.

The defects in each vehicle include not only the specific defect (e.g., the Delta Ignition Switch),

but also include the defective process through which New GM built cars, a process that included

cost-cutting, minimizing the importance of safety issues, siloing, the depletion of resources

devoted to recognizing and studying safety issues, the failure to follow acceptable engineering

and inventory processes concerning parts management, and the failure to follow a proper FMEA

process. All of these defective processes would be material to a reasonable consumer.

         3602. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         3603. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material




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fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles.

         3604. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         3605. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Maryland CPA.

         3606. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         3607. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         3608. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         3609. New GM knew or should have known that its conduct violated the Maryland

CPA.




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         3610. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         3611. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles because New GM:

                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         3612. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         3613. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defects. This diminished value is directly

attributed to New GM’s dishonesty and omissions with respect to the quality and safety of the

Defective Vehicles.



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         3614. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         3615. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         3616. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By assuming TREAD Act responsibilities with respect to Old GM vehicles, New GM effectively

undertook the role of manufacturer of those vehicles because the TREAD Act on its face only

applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing duty to all

Defective Vehicle owners to refrain from unfair and deceptive acts or practices under the

Maryland CPA—regardless of when those owners acquired their vehicles.

         3617. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         3618. As a direct and proximate result of New GM’s violations of the Maryland CPA,

Plaintiffs have suffered injury-in-fact and/or actual damage as alleged above. As a direct result

of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.




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         3619. Pursuant to MD. CODE COM. LAW § 13-408, Plaintiffs seek actual damages,

attorneys’ fees, and any other just and proper relief available under the Maryland CPA.

                                            COUNT II

                                   FRAUD BY CONCEALMENT

         3620. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3621. This claim is brought on behalf of all Maryland residents who are members of any

of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         3622. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         3623. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         3624. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         3625. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         3626. New GM did so in order to falsely assure purchasers, lessees, and owners of the

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and




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to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         3627. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         3628. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         3629. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         3630. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have




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continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         3631. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         3632. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         3633. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.




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                                            COUNT III

                BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                             (MD. CODE COM. LAW § 2-314)

         3634. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3635. This claim is brought only on behalf of Maryland residents who are members of

any of the following Subclasses: (i) the Delta Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (ii) the Low Torque Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (iii) the Knee-to-Key Camaro Defect Magnuson-Moss and Implied

Warranty Subclass; (iv) the Side Airbag Defect Magnuson-Moss and Implied Warranty

Subclass; and (v) the Power Steering Defect Magnuson-Moss and Implied Warranty Subclass

(collectively for the purposes of this Count, “Plaintiffs”).

         3636. New GM was a merchant with respect to motor vehicles within the meaning of

MD. COM. LAW § 2-104(1).

         3637. Under MD. COM. LAW § 2-314, a warranty that the Defective Vehicles were in

merchantable condition was implied by law in the transactions when Plaintiffs purchased or

leased their Defective Vehicles from New GM on or after July 10, 2009.

         3638. The Defective Vehicles, when sold and at all times thereafter, were not

merchantable and are not fit for the ordinary purpose for which cars are used.

         3639. The Defective Ignition Switch Vehicles are inherently defective in that there are

defects in the ignition switch systems that cause sudden unintended stalling to occur, with the

attendant shut down of power steering and power brakes and the nondeployment of airbags in the

event of a collision, thereby causing an increased likelihood of serious injury or death.




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         3640. The Power Steering Defect Vehicles are inherently defective in that there are

defects in the vehicles that can cause the loss of power steering assist, resulting in an increased

risk of accident.

         3641. The Side Airbag Defect Vehicles are inherently defective in that there are defects

in the wiring harness connectors that can cause the side impact airbags (SIABs) and seatbelt

pretensioners not to deploy in the event of a collision, thereby causing an increased likelihood of

serious injury or death.

         3642. New GM was provided notice of these issues by numerous complaints filed

against it, internal investigations, and by numerous individual letters and communications sent

by Plaintiffs and others before or within a reasonable amount of time after New GM issued the

recall and the allegations of vehicle defects became public.

         3643. As a direct and proximate result of New GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                            COUNT IV

                                          NEGLIGENCE

         3644. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3645. Plaintiffs bring this Count on behalf of Maryland residents who are members of

any of the following Classes: (i) Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). All claims in this Count are Independent Claims, and challenge only the conduct of

New GM.




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         3646. New GM has designed, manufactured and/ or “certified” and sold or otherwise

placed in the stream of commerce Defective Vehicles as New GM or New GM Certified Pre-

Owned vehicles, as set forth above.

         3647. New GM had a duty to design, manufacture, and/or “certify” only a product that

would be safe for its intended and foreseeable uses and users, including the use to which its

products were put by Plaintiffs. New GM breached its duties to Plaintiffs because it was

negligent in the design, development, manufacture, and testing of the Defective Vehicles it

manufactured and/or sold as Certified Pre-Owned vehicles on or after July 10, 2009, and New

GM is responsible for this negligence.

         3648. New GM was negligent in the design, development, manufacture, testing, and/or

“certification” of the Defective Vehicles because it knew, or in the exercise of reasonable care

should have known, that the vehicles equipped with defective ignition systems, defective wiring

harnesses controlling side airbags and/or defective power steering pose an unreasonable risk of

death or serious bodily injury to Plaintiffs, passengers, other motorists, pedestrians, and the

public at large, because they are susceptible to incidents in which brakes, power steering, seatbelt

pretensioners, and/or airbags are rendered inoperable.

         3649. New GM thus “failed to exercise reasonable care in the manufacture of [its

Defective Vehicles]”, in violation of RESTATEMENT (SECOND) OF TORTS § 395 (“A manufacturer

who fails to exercise reasonable care in the manufacture of a chattel which, unless carefully

made, he should recognize as involving an unreasonable risk of causing physical harm to those

who use it for a purpose for which the manufacturer should expect it to be used and to those

whom he should expect to be endangered by its probable use, is subject to liability for physical

harm caused to them by its lawful use in a manner and for a purpose for which it is supplied.”).




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         3650. New GM further breached its duties to by supplying directly or through a third

person Defective Vehicles to be used by such foreseeable persons as Plaintiffs when:

                  a.   New GM knew or had reason to know that the vehicles were dangerous or

likely to be dangerous for the use for which they were supplied; and

                  b.   New GM failed to exercise reasonable care to inform customers of the

dangerous condition or of the facts under which the vehicles are likely to be dangerous.

         3651. New GM had a continuing duty to warn and instruct the intended and foreseeable

users of its vehicles, including Plaintiffs, of the defective condition of the vehicles and the high

degree of risk attendant to using the vehicles. Plaintiffs were entitled to know that the vehicles, in

their ordinary operation, were not reasonably safe for their intended and ordinary purposes and

uses.

         3652. Pursuant to its ongoing relationship with owners and lessees of Old GM Defective

Vehicles, New GM also had a duty to warn those Plaintiffs of the defects, and inform these

Plaintiffs that their vehicles, in their ordinary operation, were not reasonably safe for their

intended purposes.

         3653. New GM knew or should have known of the defects described herein. New GM

breached its duty to Plaintiffs because it failed to warn and instruct the intended and foreseeable

users of its vehicles of the defective condition of the vehicles and the high degree of risk

attendant to using the vehicles.

         3654. As a direct and proximate result of New GM’s negligence, Plaintiffs suffered

damages, including overpayment at the time of purchase, diminished value, and cost of repair.




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                                             COUNT V

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         3655. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3656. This claim is brought only on behalf of Maryland residents who are members of

the Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).

         3657. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         3658. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         3659. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.




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         3660. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         3661. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         3662. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         3663. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         3664. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         3665. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         3666. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC




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Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         3667. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         3668. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         3669. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         3670. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         3671. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         3672. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable




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by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         3673. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         3674. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         3675. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         3676. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.




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                                             COUNT VI

                                    UNJUST ENRICHMENT434

          3677. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

          3678. This claim is brought on behalf of Maryland residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

          3679. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

          3680. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

          3681. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

          3682. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs



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       Plaintiffs understand that this Court has found that the existence of an express warranty
between New GM and Plaintiffs is a bar to this claim, and are asserting this claim here solely for
the purposes of preserving the claim for appellate purposes.



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of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         3683. Thus, all Plaintiffs conferred a benefit on New GM.

         3684. It is inequitable for New GM to retain these benefits.

         3685. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         3686. New GM knowingly accepted the benefits of its unjust conduct.

         3687. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                            COUNT VII

                      SUCCESSOR LIABILITY CLAIM FOR VIOLATIONS OF
                        THE MARYLAND CONSUMER PROTECTION ACT
                             (MD. CODE COM. LAW § 13-101, et seq.)

         3688. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3689. This claim is brought on behalf of Maryland residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         3690. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         3691. Old GM and Plaintiffs are “persons” within the meaning of MD. CODE COM. LAW

§ 13-101(h).




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         3692. The Maryland Consumer Protection Act (“Maryland CPA”) provides that a

person may not engage in any unfair or deceptive trade practice in the sale or lease of any

consumer good. MD. COM. LAW CODE § 13-303. Old GM engaged in misleading, false, or

deceptive acts that violated the Maryland CPA. By concealing the known defects in Plaintiffs’

vehicles, Old GM engaged in deceptive business practices prohibited by the Maryland CPA.

         3693. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         3694. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         3695. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         3696. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Maryland CPA.

         3697. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         3698. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.




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         3699. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         3700. Old GM knew or should have known that its conduct violated the Maryland CPA.

         3701. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         3702. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         3703. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         3704. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         3705. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of



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the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         3706. As a direct and proximate result of Old GM’s violations of the Maryland CPA,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.

         3707. Pursuant to MD. CODE COM. LAW § 13-408, Plaintiffs seek actual damages,

attorneys’ fees, and any other just and proper relief available under the Maryland CPA.

                                           COUNT VIII

             SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         3708. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3709. This claim is brought on behalf of Maryland residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         3710. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         3711. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         3712. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.




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         3713. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         3714. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         3715. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         3716. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         3717. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.




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         3718. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         3719. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         3720. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         3721. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                            COUNT IX

                      SUCCESSOR LIABILITY CLAIM FOR BREACH OF
                       IMPLIED WARRANTY OF MERCHANTABILITY
                               (MD. CODE COM. LAW § 2-314)

         3722. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.




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         3723. This claim is brought on behalf of Maryland residents who are members of the

Delta Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor Liability

Subclass (for the purposes of this Count, “Plaintiffs”).

         3724. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         3725. Old GM was a merchant with respect to motor vehicles within the meaning of

MD. COM. LAW § 2-104(1).

         3726. Under MD. COM. LAW § 2-314, a warranty that the Delta Ignition Switch Vehicles

were in merchantable condition was implied by law in the transactions when Plaintiffs purchased

or leased their vehicles from Old GM on or before July 9, 2009.

         3727. The Delta Ignition Switch Vehicles, when sold and at all times thereafter, were

not merchantable and not fit for the ordinary purpose for which cars are used. Specifically, the

Delta Ignition Switch Vehicles were inherently defective in that there were defects in the ignition

switch systems that cause sudden unintended stalling to occur, with the attendant shut down of

power steering and power brakes and the nondeployment of airbags in the event of a collision,

thereby causing an increased likelihood of serious injury or death.

         3728. New GM, as the successor to Old GM, was provided notice of these issues by

numerous complaints filed against it, internal investigations, and by numerous individual letters

and communications sent by Plaintiffs and others before or within a reasonable amount of time

after New GM issued the recall and the allegations of vehicle defects became public.




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         3729. As a direct and proximate result of Old GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                            COUNT X

                      SUCCESSOR LIABILITY CLAIM FOR NEGLIGENCE

         3730. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3731. This claim is brought on behalf of Maryland residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         3732. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         3733. Old GM designed, manufactured and sold or otherwise placed in the stream of

commerce Delta Ignition Switch Vehicles, as set forth above.

         3734. Old GM had a duty to design, manufacture, and sell only a product that would be

safe for its intended and foreseeable uses and users, including the use to which its products were

put by Plaintiffs. Old GM breached its duties to Plaintiffs because it was negligent in the design,

development, manufacture, and testing of the Delta Ignition Switch Vehicles it manufactured and

sold on or before July 9, 2009, and New GM is responsible for Old GM’s negligence under the

doctrine of successor liability.

         3735. Old GM was negligent in the design, development, manufacture, testing, and/or

“certification” of the Delta Ignition Switch Vehicles because it knew, or in the exercise of




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reasonable care should have known, that the vehicles equipped with defective ignition systems

pose an unreasonable risk of death or serious bodily injury to Plaintiffs, passengers, other

motorists, pedestrians, and the public at large, because they are susceptible to incidents in which

brakes, power steering, seatbelt pretensioners, and airbags are rendered inoperable.

         3736. Old GM thus “failed to exercise reasonable care in the manufacture of [its

Defective Vehicles]”, in violation of RESTATEMENT (SECOND) OF TORTS § 395 (“A manufacturer

who fails to exercise reasonable care in the manufacture of a chattel which, unless carefully

made, he should recognize as involving an unreasonable risk of causing physical harm to those

who use it for a purpose for which the manufacturer should expect it to be used and to those

whom he should expect to be endangered by its probable use, is subject to liability for physical

harm caused to them by its lawful use in a manner and for a purpose for which it is supplied.”).

         3737. Old GM further breached its duties to Plaintiffs by supplying directly or through a

third person defective Delta Ignition Switch Vehicles to be used by such foreseeable persons as

Plaintiffs when:

         a.       Old GM knew or had reason to know that the vehicles were dangerous or likely to

be dangerous for the use for which they were supplied; and

         b.       Old GM failed to exercise reasonable care to inform customers of the dangerous

condition or of the facts under which the vehicles are likely to be dangerous.

         3738. Old GM had a continuing duty to warn and instruct the intended and foreseeable

users of its vehicles of the defective condition of the vehicles and the high degree of risk

attendant to using the vehicles. Plaintiffs were entitled to know that the vehicles, in their ordinary

operation, were not reasonably safe for their intended and ordinary purposes and uses.




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         3739. Old GM knew or should have known of the defects described herein. Old GM

breached its duty to Plaintiffs because it failed to warn and instruct the intended and foreseeable

users of its vehicles of the defective condition of the vehicles and the high degree of risk

attendant to using the vehicles.

         3740. As a direct and proximate result of Old GM’s negligence, Plaintiffs suffered

damages, for which New GM has successor liability. The damages include overpayment for the

Delta Ignition Switch Vehicles and repair costs, as discussed above.

                                       MASSACHUSETTS

                                             COUNT I

   DECEPTIVE ACTS OR PRACTICES PROHIBITED BY MASSACHUSETTS LAW
                   (MASS. GEN. LAWS CH. 93A, § 1, et seq.)

         3741. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3742. This claim is brought on behalf of Massachusetts residents who are members of

any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque

Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag

Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of this

Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the

conduct of New GM.

         3743. New GM and Plaintiffs are “persons” within the meaning of MASS. GEN. LAWS

ch. 93A, § 1(a).

         3744. New GM engaged in “trade” or “commerce” within the meaning of MASS. GEN.

LAWS ch. 93A, § 1(b).




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         3745. Massachusetts law (the “Massachusetts Act”) prohibits “unfair or deceptive acts

or practices in the conduct of any trade or commerce.” MASS. GEN. LAWS ch. 93A, § 2.

New GM participated in misleading, false, or deceptive acts that violated the Massachusetts Act.

By concealing the known defects in Plaintiffs’ vehicles, New GM engaged in deceptive business

practices prohibited by the Massachusetts Act. The defects in each vehicle include not only the

specific defect (e.g., the Delta Ignition Switch), but also include the defective process through

which New GM built cars, a process that included cost-cutting, minimizing the importance of

safety issues, siloing, the depletion of resources devoted to recognizing and studying safety

issues, the failure to follow acceptable engineering and inventory processes concerning parts

management, and the failure to follow a proper FMEA process. All of these defective processes

would be material to a reasonable consumer.

         3746. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         3747. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles.

         3748. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory




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authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         3749. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Massachusetts Act.

         3750. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         3751. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         3752. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         3753. New GM knew or should have known that its conduct violated the Massachusetts

Act.

         3754. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         3755. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles because New GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Defective Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;




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                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         3756. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         3757. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of these vehicles.

         3758. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         3759. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.




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         3760. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By assuming TREAD Act responsibilities with respect to Old GM vehicles, New GM effectively

undertook the role of manufacturer of those vehicles because the TREAD Act on its face only

applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing duty to all

Defective Vehicle owners to refrain from unfair and deceptive acts or practices under the

Massachusetts Act—regardless of when those owners acquired their vehicles.

         3761. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         3762. As a direct and proximate result of New GM’s violations of the Massachusetts

Act, Plaintiffs have suffered injury-in-fact and/or actual damage as alleged above. As a direct

result of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.

         3763. Pursuant to MASS. GEN. LAWS ch. 93A, § 9, Plaintiffs seek monetary relief against

New GM measured as the greater of (a) actual damages in an amount to be determined at trial

and (b) statutory damages in the amount of $25 for each Plaintiff. Because New GM’s conduct

was committed willfully and knowingly, Plaintiffs are entitled to recover, for each Plaintiff, up to

three times actual damages, but no less than two times actual damages.




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         3764. Plaintiffs also seek an order enjoining New GM’s unfair and/or deceptive acts or

practices, punitive damages, and attorneys’ fees, costs, and any other just and proper relief

available under the Massachusetts Act.

         3765. On October 8, 2014, certain Plaintiffs sent a letter complying with MASS. GEN.

LAWS ch. 93A, § 9(3). Because New GM failed to remedy its unlawful conduct within the

requisite time period, Plaintiffs seek all damages and relief to which they are entitled.

                                            COUNT II

                                   FRAUD BY CONCEALMENT

         3766. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3767. This claim is brought on behalf of Massachusetts residents who are members of

any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque

Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag

Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of this

Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the

conduct of New GM.

         3768. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         3769. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         3770. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.




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         3771. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         3772. New GM did so in order to falsely assure purchasers, lessees, and owners of the

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         3773. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         3774. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.




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         3775. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         3776. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         3777. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         3778. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.




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         3779. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.

                                            COUNT III

                BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                              (ALM GL. CH. 106, § 2-314)

         3780. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3781. This claim is brought only on behalf of Massachusetts residents who are members

of any of the following Subclasses: (i) the Delta Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (ii) the Low Torque Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (iii) the Knee-to-Key Camaro Defect Magnuson-Moss and Implied

Warranty Subclass; (iv) the Side Airbag Defect Magnuson-Moss and Implied Warranty

Subclass; and (v) the Power Steering Defect Magnuson-Moss and Implied Warranty Subclass

(collectively for the purposes of this Count, “Plaintiffs”).

         3782. New GM was a merchant with respect to motor vehicles within the meaning of

ALM GL CH. 106, § 2-104(1).

         3783. Under ALM GL CH. 106, § 2-314, a warranty that the Defective Vehicles were in

merchantable condition was implied by law in the transactions when Plaintiffs purchased or

leased their Defective Vehicles from New GM on or after July 10, 2009.

         3784. The Defective Vehicles, when sold and at all times thereafter, were not

merchantable and are not fit for the ordinary purpose for which cars are used.




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         3785. The Defective Ignition Switch Vehicles are inherently defective in that there are

defects in the ignition switch systems that cause sudden unintended stalling to occur, with the

attendant shut down of power steering and power brakes and the nondeployment of airbags in the

event of a collision, thereby causing an increased likelihood of serious injury or death.

         3786. The Power Steering Defect Vehicles are inherently defective in that there are

defects in the vehicles that can cause the loss of power steering assist, resulting in an increased

risk of accident.

         3787. The Side Airbag Defect Vehicles are inherently defective in that there are defects

in the wiring harness connectors that can cause the side impact airbags (SIABs) and seatbelt

pretensioners not to deploy in the event of a collision, thereby causing an increased likelihood of

serious injury or death.

         3788. New GM was provided notice of these issues by numerous complaints filed

against it, internal investigations, and by numerous individual letters and communications sent

by Plaintiffs and others before or within a reasonable amount of time after New GM issued the

recall and the allegations of vehicle defects became public.

         3789. As a direct and proximate result of New GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                            COUNT IV

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         3790. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.




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         3791. This claim is brought only on behalf of Massachusetts residents who are members

of the Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count,

“Plaintiffs”).

         3792. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         3793. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         3794. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.

         3795. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         3796. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither




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the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         3797. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         3798. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         3799. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         3800. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         3801. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC

Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         3802. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these




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vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         3803. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         3804. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         3805. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         3806. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         3807. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable

by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.




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         3808. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         3809. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         3810. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         3811. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.

                                            COUNT V

                                       UNJUST ENRICHMENT

         3812. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3813. This claim is brought on behalf of Massachusetts residents who are members of

any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque

Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag




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Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of this

Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the

conduct of New GM.

         3814. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         3815. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

         3816. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         3817. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         3818. Thus, all Plaintiffs conferred a benefit on New GM.

         3819. It is inequitable for New GM to retain these benefits.

         3820. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         3821. New GM knowingly accepted the benefits of its unjust conduct.

         3822. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.




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                                            COUNT VI

       SUCCESSOR LIABILITY CLAIM FOR DECEPTIVE ACTS OR PRACTICES
                   PROHIBITED BY MASSACHUSETTS LAW
                     (MASS. GEN. LAWS CH. 93A, § 1, et seq.)

         3823. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3824. This claim is brought on behalf of Massachusetts residents who are members of

the Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         3825. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         3826. Old GM and Plaintiffs are “persons” within the meaning of MASS. GEN. LAWS ch.

93A, § 1(a).

         3827. Old GM engaged in “trade” or “commerce” within the meaning of MASS. GEN.

LAWS ch. 93A, § 1(b).

         3828. Massachusetts law (the “Massachusetts Act”) prohibits “unfair or deceptive acts

or practices in the conduct of any trade or commerce.” MASS. GEN. LAWS ch. 93A, § 2. Old GM

participated in misleading, false, or deceptive acts that violated the Massachusetts Act. By

concealing the known defects in Plaintiffs’ vehicles, Old GM engaged in deceptive business

practices prohibited by the Massachusetts Act.

         3829. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.




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         3830. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         3831. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         3832. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Massachusetts Act.

         3833. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         3834. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         3835. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         3836. Old GM knew or should have known that its conduct violated the Massachusetts

Act.

         3837. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.




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         3838. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         3839. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         3840. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         3841. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.




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         3842. As a direct and proximate result of Old GM’s violations of the Massachusetts Act,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.

         3843. Pursuant to MASS. GEN. LAWS ch. 93A, § 9, Plaintiffs seek monetary relief against

New GM (as Old GM’s successor) measured as the greater of (a) actual damages in an amount to

be determined at trial and (b) statutory damages in the amount of $25 for each Plaintiff. Because

Old GM’s conduct was committed willfully and knowingly, Plaintiffs are entitled to recover, for

each Plaintiff, up to three times actual damages, but no less than two times actual damages.

         3844. Plaintiffs also seek punitive damages, and attorneys’ fees, costs, and any other

just and proper relief available under the Massachusetts Act.

         3845. On October 8, 2014, certain Plaintiffs sent a letter complying with MASS. GEN.

LAWS ch. 93A, § 9(3). Because New GM failed to remedy Old GM’s unlawful conduct within

the requisite time period, Plaintiffs seek all damages and relief to which Plaintiffs are entitled.

                                            COUNT VII

             SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         3846. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3847. This claim is brought on behalf of Massachusetts residents who are members of

the Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         3848. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,




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the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         3849. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         3850. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         3851. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         3852. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         3853. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         3854. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old




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GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         3855. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         3856. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         3857. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         3858. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         3859. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.




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                                           COUNT VIII

                      SUCCESSOR LIABILITY CLAIM FOR BREACH OF
                       IMPLIED WARRANTY OF MERCHANTABILITY
                                (ALM. GL CH. 106, § 2-314)

         3860. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3861. This claim is brought on behalf of Massachusetts residents who are members of

the Delta Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor Liability

Subclass (for the purposes of this Count, “Plaintiffs”).

         3862. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         3863. Old GM was a merchant with respect to motor vehicles within the meaning of

ALM. GL CH. 106, § 2-104(1).

         3864. Under ALM. GL CH. 106, § 2-314, a warranty that the Delta Ignition Switch

Vehicles were in merchantable condition was implied by law in the transactions when Plaintiffs

purchased or leased their vehicles from Old GM on or before July 9, 2009.

         3865. The Delta Ignition Switch Vehicles, when sold and at all times thereafter, were

not merchantable and not fit for the ordinary purpose for which cars are used. Specifically, the

Delta Ignition Switch Vehicles were inherently defective in that there were defects in the ignition

switch systems that cause sudden unintended stalling to occur, with the attendant shut down of

power steering and power brakes and the nondeployment of airbags in the event of a collision,

thereby causing an increased likelihood of serious injury or death.




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         3866. New GM, as the successor to Old GM, was provided notice of these issues by

numerous complaints filed against it, internal investigations, and by numerous individual letters

and communications sent by Plaintiffs and others before or within a reasonable amount of time

after New GM issued the recall and the allegations of vehicle defects became public.

         3867. As a direct and proximate result of Old GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                           MICHIGAN

                                             COUNT I

            VIOLATION OF THE MICHIGAN CONSUMER PROTECTION ACT
                        (MICH. COMP. LAWS § 445.903, et seq.)

         3868. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3869. This claim is brought on behalf of Michigan residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         3870. Plaintiffs are “person[s]” within the meaning of the MICH. COMP. LAWS

§ 445.902(1)(d).

         3871. At all relevant times hereto, New GM was a “person” engaged in “trade or

commerce” within the meaning of the MICH. COMP. LAWS § 445.902(1)(d) and (g).




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         3872. The Michigan Consumer Protection Act (“Michigan CPA”) prohibits “[u]nfair,

unconscionable, or deceptive methods, acts, or practices in the conduct of trade or commerce

….” MICH. COMP. LAWS § 445.903(1). New GM engaged in unfair, unconscionable, or

deceptive methods, acts or practices prohibited by the Michigan CPA, including: “(c)

Representing that goods or services have … characteristics … that they do not have ….;” “(e)

Representing that goods or services are of a particular standard … if they are of another;” “(i)

Making false or misleading statements of fact concerning the reasons for, existence of, or

amounts of price reductions;” “(s) Failing to reveal a material fact, the omission of which tends

to mislead or deceive the consumer, and which fact could not reasonably be known by the

consumer;” “(bb) Making a representation of fact or statement of fact material to the transaction

such that a person reasonably believes the represented or suggested state of affairs to be other

than it actually is;” and “(cc) Failing to reveal facts that are material to the transaction in light of

representations of fact made in a positive manner.” MICH. COMP. LAWS § 445.903(1).

         3873. By concealing the known defects in Plaintiffs’ vehicles, New GM engaged in

deceptive business practices prohibited by the Michigan CPA. The defects in each vehicle

include not only the specific defect (e.g., the Delta Ignition Switch), but also include the

defective process through which New GM built cars, a process that included cost-cutting,

minimizing the importance of safety issues, siloing, the depletion of resources devoted to

recognizing and studying safety issues, the failure to follow acceptable engineering and

inventory processes concerning parts management, and the failure to follow a proper FMEA

process. All of these defective processes would be material to a reasonable consumer.

         3874. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.




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         3875. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles.

         3876. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         3877. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Michigan CPA.

         3878. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         3879. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.




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         3880. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         3881. New GM knew or should have known that its conduct violated the Michigan

CPA.

         3882. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         3883. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles because New GM:

                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         3884. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         3885. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the



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defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.

         3886. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         3887. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         3888. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By assuming TREAD Act responsibilities with respect to Old GM vehicles, New GM effectively

undertook the role of manufacturer of those vehicles because the TREAD Act on its face only

applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing duty to all

Defective Vehicle owners to refrain from unfair and deceptive acts or practices under the

Michigan CPA—regardless of when those owners acquired their vehicles.

         3889. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.




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         3890. As a direct and proximate result of New GM’s violations of the Michigan CPA,

Plaintiffs have suffered injury-in-fact and/or actual damage as alleged above. As a direct result

of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.

         3891. Plaintiffs seek injunctive relief to enjoin New GM from continuing its unfair and

deceptive acts; monetary relief against New GM measured as the greater of (a) actual damages in

an amount to be determined at trial and (b) statutory damages in the amount of $250 for each

Plaintiff; reasonable attorneys’ fees; and any other just and proper relief available under MICH.

COMP. LAWS § 445.911.

         3892. Plaintiffs also seek punitive damages against New GM because it carried out

despicable conduct with willful and conscious disregard of the rights and safety of others.

New GM intentionally and willfully misrepresented the safety and reliability of the Defective

Vehicles, deceived Plaintiffs on life-or-death matters, concealed material facts that only they

knew, and repeatedly promised Plaintiffs that all vehicles were safe—all to avoid the expense

and public relations nightmare of correcting the defects in the Defective Vehicles. New GM’s

unlawful conduct constitutes malice, oppression, and fraud warranting punitive damages.

                                            COUNT II

                                     FRAUD BY CONCEALMENT

         3893. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3894. This claim is brought on behalf of Michigan residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect




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Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         3895. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         3896. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         3897. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         3898. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         3899. New GM did so in order to falsely assure purchasers, lessees, and owners of the

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         3900. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in




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the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         3901. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         3902. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         3903. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         3904. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs as

alleged above. Had they been aware of the concealed defects that existed in the Defective




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Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         3905. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         3906. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.

                                            COUNT III

                BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                            (MICH. COMP. LAWS § 440.2314)

         3907. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3908. This claim is brought only on behalf of Michigan residents who are members of

any of the following Subclasses: (i) the Delta Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (ii) the Low Torque Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (iii) the Knee-to-Key Camaro Defect Magnuson-Moss and Implied

Warranty Subclass; (iv) the Side Airbag Defect Magnuson-Moss and Implied Warranty

Subclass; and (v) the Power Steering Defect Magnuson-Moss and Implied Warranty Subclass

(collectively for the purposes of this Count, “Plaintiffs”).




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         3909. New GM was a merchant with respect to motor vehicles within the meaning of

MICH. COMP. LAWS § 440.2314(1).

         3910. Under MICH. COMP. LAWS § 440.2314, a warranty that the Defective Vehicles

were in merchantable condition was implied by law in the transactions when Plaintiffs purchased

or leased their Defective Vehicles from New GM on or after July 10, 2009.

         3911. The Defective Vehicles, when sold and at all times thereafter, were not

merchantable and are not fit for the ordinary purpose for which cars are used.

         3912. The Defective Ignition Switch Vehicles are inherently defective in that there are

defects in the ignition switch systems that cause sudden unintended stalling to occur, with the

attendant shut down of power steering and power brakes and the nondeployment of airbags in the

event of a collision, thereby causing an increased likelihood of serious injury or death.

         3913. The Power Steering Defect Vehicles are inherently defective in that there are

defects in the vehicles that can cause the loss of power steering assist, resulting in an increased

risk of accident.

         3914. The Side Airbag Defect Vehicles are inherently defective in that there are defects

in the wiring harness connectors that can cause the side impact airbags (SIABs) and seatbelt

pretensioners not to deploy in the event of a collision, thereby causing an increased likelihood of

serious injury or death.

         3915. New GM was provided notice of these issues by numerous complaints filed

against it, internal investigations, and by numerous individual letters and communications sent

by Plaintiffs and others before or within a reasonable amount of time after New GM issued the

recall and the allegations of vehicle defects became public.




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         3916. As a direct and proximate result of New GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                             COUNT IV

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         3917. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3918. This claim is brought only on behalf of Michigan residents who are members of

the Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).

         3919. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         3920. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         3921. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.




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         3922. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         3923. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         3924. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         3925. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         3926. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         3927. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         3928. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC




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Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         3929. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         3930. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         3931. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         3932. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         3933. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         3934. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable




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by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         3935. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         3936. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         3937. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         3938. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.




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                                            COUNT V

                                    UNJUST ENRICHMENT

         3939. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3940. This claim is brought on behalf of Michigan residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         3941. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         3942. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

         3943. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         3944. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         3945. Thus, all Plaintiffs conferred a benefit on New GM.




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         3946. It is inequitable for New GM to retain these benefits.

         3947. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         3948. New GM knowingly accepted the benefits of its unjust conduct.

         3949. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                            COUNT VI

       SUCCESSOR LIABILITY CLAIM FOR VIOLATIONS OF THE MICHIGAN
                      CONSUMER PROTECTION ACT
                     (MICH. COMP. LAWS § 445.903, et seq.)

         3950. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3951. This claim is brought on behalf of Michigan residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         3952. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         3953. At all relevant times hereto, Old GM was a “person” engaged in “trade or

commerce” within the meaning of the MICH. COMP. LAWS § 445.902(1)(d) and (g).

         3954. The Michigan Consumer Protection Act (“Michigan CPA”) prohibits “[u]nfair,

unconscionable, or deceptive methods, acts, or practices in the conduct of trade or commerce

….” MICH. COMP. LAWS § 445.903(1). Old GM engaged in unfair, unconscionable, or




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deceptive methods, acts or practices prohibited by the Michigan CPA, including: “(c)

Representing that goods or services have … characteristics … that they do not have ….;” “(e)

Representing that goods or services are of a particular standard … if they are of another;” “(i)

Making false or misleading statements of fact concerning the reasons for, existence of, or

amounts of price reductions;” “(s) Failing to reveal a material fact, the omission of which tends

to mislead or deceive the consumer, and which fact could not reasonably be known by the

consumer;” “(bb) Making a representation of fact or statement of fact material to the transaction

such that a person reasonably believes the represented or suggested state of affairs to be other

than it actually is;” and “(cc) Failing to reveal facts that are material to the transaction in light of

representations of fact made in a positive manner.” MICH. COMP. LAWS § 445.903(1). By

concealing the known defects in Plaintiffs’ vehicles, Old GM engaged in deceptive business

practices prohibited by the Michigan CPA.

         3955. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         3956. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         3957. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.




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         3958. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Michigan CPA.

         3959. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         3960. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         3961. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         3962. Old GM knew or should have known that its conduct violated the Michigan CPA.

         3963. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         3964. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         3965. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their



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bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         3966. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         3967. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         3968. As a direct and proximate result of Old GM’s violations of the Michigan CPA,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.

         3969. Plaintiffs seek monetary relief against New GM (as successor to Old GM)

measured as the greater of (a) actual damages in an amount to be determined at trial and (b)

statutory damages in the amount of $250 for each Plaintiff; reasonable attorneys’ fees; and any

other just and proper relief available under MICH. COMP. LAWS § 445.911.

                                           COUNT VII

             SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         3970. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.




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         3971. This claim is brought on behalf of Michigan residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         3972. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         3973. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         3974. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         3975. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         3976. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         3977. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         3978. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge




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and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         3979. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         3980. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         3981. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         3982. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.




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         3983. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                           COUNT VIII

                      SUCCESSOR LIABILITY CLAIM FOR BREACH OF
                       IMPLIED WARRANTY OF MERCHANTABILITY
                              (MICH. COMP. LAWS § 440.2314)

         3984. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3985. This claim is brought on behalf of Michigan residents who are members of the

Delta Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor Liability

Subclass (for the purposes of this Count, “Plaintiffs”).

         3986. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         3987. Old GM was a merchant with respect to motor vehicles within the meaning of

MICH. COMP. LAWS § 440.2314(1).

         3988. Under MICH. COMP. LAWS § 440.2314, a warranty that the Delta Ignition Switch

Vehicles were in merchantable condition was implied by law in the transactions when Plaintiffs

purchased or leased their vehicles from Old GM on or before July 9, 2009.

         3989. The Delta Ignition Switch Vehicles, when sold and at all times thereafter, were

not merchantable and not fit for the ordinary purpose for which cars are used. Specifically, the




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Delta Ignition Switch Vehicles were inherently defective in that there were defects in the ignition

switch systems that cause sudden unintended stalling to occur, with the attendant shut down of

power steering and power brakes and the nondeployment of airbags in the event of a collision,

thereby causing an increased likelihood of serious injury or death.

         3990. New GM, as the successor to Old GM, was provided notice of these issues by

numerous complaints filed against it, internal investigations, and by numerous individual letters

and communications sent by Plaintiffs and others before or within a reasonable amount of time

after New GM issued the recall and the allegations of vehicle defects became public.

         3991. As a direct and proximate result of Old GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                          MINNESOTA

                                             COUNT I

      VIOLATION OF MINNESOTA PREVENTION OF CONSUMER FRAUD ACT
                       (MINN. STAT. § 325F.68, et seq.)

         3992. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         3993. This claim is brought on behalf of Minnesota residents who are members of any

of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.




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         3994. The Defective Vehicles constitute “merchandise” within the meaning of MINN.

STAT. § 325F.68(2).

         3995. The Minnesota Prevention of Consumer Fraud Act (“Minnesota CFA”) prohibits

“[t]he act, use, or employment by any person of any fraud, false pretense, false promise,

misrepresentation, misleading statement or deceptive practice, with the intent that others rely

thereon in connection with the sale of any merchandise, whether or not any person has in fact

been misled, deceived, or damaged thereby.” MINN. STAT. § 325F.69(1). New GM participated

in misleading, false, or deceptive acts that violated the Minnesota CFA.

         3996. By concealing the known defects in Plaintiffs’ vehicles, New GM engaged in

deceptive business practices prohibited by the Minnesota CFA. The defects in each vehicle

include not only the specific defect (e.g., the Delta Ignition Switch), but also include the

defective process through which New GM built cars, a process that included cost-cutting,

minimizing the importance of safety issues, siloing, the depletion of resources devoted to

recognizing and studying safety issues, the failure to follow acceptable engineering and

inventory processes concerning parts management, and the failure to follow a proper FMEA

process. All of these defective processes would be material to a reasonable consumer.

         3997. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         3998. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material




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fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles.

         3999. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         4000. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Minnesota CFA.

         4001. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         4002. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         4003. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         4004. New GM knew or should have known that its conduct violated the Minnesota

CFA.




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         4005. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         4006. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles because New GM:

                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         4007. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         4008. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.



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         4009. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         4010. Plaintiffs’ ascertainable loss caused by New GM’s misrepresentations and its

concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         4011. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By assuming TREAD Act responsibilities with respect to Old GM vehicles, New GM effectively

undertook the role of manufacturer of those vehicles because the TREAD Act on its face only

applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing duty to all

Defective Vehicle owners to refrain from unfair and deceptive acts or practices under the

Minnesota CFA—regardless of when those owners acquired their vehicles.

         4012. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         4013. As a direct and proximate result of New GM’s violations of the Minnesota CFA,

Plaintiffs have suffered injury-in-fact and/or actual damage as alleged above. As a direct result

of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.




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         4014. Pursuant to MINN. STAT. § 8.31(3a), Plaintiffs seek actual damages, attorneys’

fees, and any other just and proper relief available under the Minnesota CFA.

         4015. Plaintiffs also seek punitive damages under MINN. STAT. § 549.20(1)(a) given the

clear and convincing evidence that New GM’s acts show deliberate disregard for the rights or

safety of others.

                                            COUNT II

  VIOLATION OF MINNESOTA UNIFORM DECEPTIVE TRADE PRACTICES ACT
                    (MINN. STAT. § 325D.43-48, et seq.)

         4016. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4017. This claim is brought on behalf of Minnesota residents who are members of any

of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         4018. The Minnesota Deceptive Trade Practices Act (“Minnesota DTPA”) prohibits

deceptive trade practices, which occur when a person “(5) represents that goods or services have

sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities that they do not

have or that a person has a sponsorship, approval, status, affiliation, or connection that the person

does not have;” “(7) represents that goods or services are of a particular standard, quality, or

grade, or that goods are of a particular style or model, if they are of another;” and “(9) advertises

goods or services with intent not to sell them as advertised.” MINN. STAT. § 325D.44. In the




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course of the New GM’s business, it systematically concealed the defects in Defective Vehicles

and engaged in deceptive practices by representing that Defective Vehicles have sponsorship,

approval, characteristics, ingredients, uses, benefits, or quantities that they do not have;

representing that Defective Vehicles are of a particular standard, quality, or grade, or that goods

are of a particular style or model, if they are of another; and advertising Defective Vehicles with

intent not to sell them as advertised.

         4019. New GM participated in misleading, false, or deceptive acts that violated the

Minnesota DTPA. By concealing the known defects in Plaintiffs’ vehicles, New GM engaged in

deceptive business practices prohibited by the Minnesota DTPA. The defects in each vehicle

include not only the specific defect (e.g., the Delta Ignition Switch), but also include the

defective process through which New GM built cars, a process that included cost-cutting,

minimizing the importance of safety issues, siloing, the depletion of resources devoted to

recognizing and studying safety issues, the failure to follow acceptable engineering and

inventory processes concerning parts management, and the failure to follow a proper FMEA

process. All of these defective processes would be material to a reasonable consumer.

         4020. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         4021. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles.




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         4022. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         4023. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Minnesota DTPA.

         4024. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         4025. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         4026. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         4027. New GM knew or should have known that its conduct violated the Minnesota

DTPA.

         4028. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.




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         4029. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles because New GM:

                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         4030. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         4031. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.

         4032. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.



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         4033. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         4034. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By assuming TREAD Act responsibilities with respect to Old GM vehicles, New GM effectively

undertook the role of manufacturer of those vehicles because the TREAD Act on its face only

applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing duty to all

Defective Vehicle owners to refrain from unfair and deceptive acts or practices under the

Minnesota DTPA—regardless of when those owners acquired their vehicles.

         4035. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         4036. As a direct and proximate result of New GM’s violations of the Minnesota DTPA,

Plaintiffs have suffered injury-in-fact and/or actual damage as alleged above. As a direct result

of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.

         4037. Pursuant to MINN. STAT. § 8.31(3a) and 325D.45, Plaintiffs seek actual damages,

attorneys’ fees, and any other just and proper relief available under the Minnesota DTPA.




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         4038. Plaintiffs also seek punitive damages under MINN. STAT. § 549.20(1)(a) given the

clear and convincing evidence that New GM’s acts show deliberate disregard for the rights or

safety of others.

                                            COUNT III

                                   FRAUD BY CONCEALMENT

         4039. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4040. This claim is brought on behalf of Minnesota residents who are members of any

of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         4041. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         4042. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         4043. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         4044. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.




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         4045. New GM did so in order to falsely assure purchasers, lessees, and owners of the

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         4046. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         4047. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         4048. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.




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         4049. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         4050. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         4051. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         4052. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.




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                                            COUNT IV

                BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                              (MINN. STAT. § 336.2-314)

         4053. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4054. This claim is brought only on behalf of Minnesota residents who are members of

any of the following Subclasses: (i) the Delta Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (ii) the Low Torque Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (iii) the Knee-to-Key Camaro Defect Magnuson-Moss and Implied

Warranty Subclass; (iv) the Side Airbag Defect Magnuson-Moss and Implied Warranty

Subclass; and (v) the Power Steering Defect Magnuson-Moss and Implied Warranty Subclass

(collectively for the purposes of this Count, “Plaintiffs”).

         4055. New GM was a merchant with respect to motor vehicles within the meaning of

MINN. STAT. § 336.2-104(1).

         4056. Under MINN. STAT. § 336.2-314, a warranty that the Defective Vehicles were in

merchantable condition was implied by law in the transactions when Plaintiffs purchased or

leased their Defective Vehicles from New GM on or after July 10, 2009.

         4057. The Defective Vehicles, when sold and at all times thereafter, were not

merchantable and are not fit for the ordinary purpose for which cars are used.

         4058. The Defective Ignition Switch Vehicles are inherently defective in that there are

defects in the ignition switch systems that cause sudden unintended stalling to occur, with the

attendant shut down of power steering and power brakes and the nondeployment of airbags in the

event of a collision, thereby causing an increased likelihood of serious injury or death.




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         4059. The Power Steering Defect Vehicles are inherently defective in that there are

defects in the vehicles that can cause the loss of power steering assist, resulting in an increased

risk of accident.

         4060. The Side Airbag Defect Vehicles are inherently defective in that there are defects

in the wiring harness connectors that can cause the side impact airbags (SIABs) and seatbelt

pretensioners not to deploy in the event of a collision, thereby causing an increased likelihood of

serious injury or death.

         4061. New GM was provided notice of these issues by numerous complaints filed

against it, internal investigations, and by numerous individual letters and communications sent

by Plaintiffs and others before or within a reasonable amount of time after New GM issued the

recall and the allegations of vehicle defects became public.

         4062. As a direct and proximate result of New GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                            COUNT V

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         4063. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4064. This claim is brought only on behalf of Minnesota residents who are members of

the Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).

         4065. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.




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         4066. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         4067. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.

         4068. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         4069. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         4070. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         4071. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two




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series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         4072. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         4073. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         4074. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC

Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         4075. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         4076. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         4077. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.




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         4078. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         4079. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         4080. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable

by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         4081. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         4082. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the




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ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         4083. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         4084. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.

                                            COUNT VI

                                    UNJUST ENRICHMENT

         4085. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4086. This claim is brought on behalf of Minnesota residents who are members of any

of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         4087. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         4088. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.




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         4089. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         4090. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         4091. Thus, all Plaintiffs conferred a benefit on New GM.

         4092. It is inequitable for New GM to retain these benefits.

         4093. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         4094. New GM knowingly accepted the benefits of its unjust conduct.

         4095. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                           COUNT VII

SUCCESSOR LIABILITY CLAIM FOR VIOLATION OF MINNESOTA PREVENTION
                     OF CONSUMER FRAUD ACT
                     (MINN. STAT. § 325F.68, et seq.)

         4096. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4097. This claim is brought on behalf of Minnesota residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).




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         4098. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         4099. The Old GM Delta Ignition Switch Vehicles constitute “merchandise” within the

meaning of MINN. STAT. § 325F.68(2).

         4100. The Minnesota Prevention of Consumer Fraud Act (“Minnesota CFA”) prohibits

“[t]he act, use, or employment by any person of any fraud, false pretense, false promise,

misrepresentation, misleading statement or deceptive practice, with the intent that others rely

thereon in connection with the sale of any merchandise, whether or not any person has in fact

been misled, deceived, or damaged thereby.” MINN. STAT. § 325F.69(1). Old GM participated

in misleading, false, or deceptive acts that violated the Minnesota CFA. By concealing the

known defects in Plaintiffs’ vehicles, Old GM engaged in deceptive business practices prohibited

by the Minnesota CFA.

         4101. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         4102. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.




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         4103. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         4104. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Minnesota CFA.

         4105. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         4106. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         4107. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         4108. Old GM knew or should have known that its conduct violated the Minnesota

CFA.

         4109. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         4110. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or




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                  d.   Had duties under the TREAD Act and related regulations to
                       disclose and remedy the defects.

         4111. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         4112. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         4113. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         4114. As a direct and proximate result of Old GM’s violations of the Minnesota CFA,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.

         4115. Pursuant to MINN. STAT. § 8.31(3a), Plaintiffs seek actual damages, attorneys’

fees, and any other just and proper relief available under the Minnesota CFA.

         4116. Plaintiffs also seek punitive damages under MINN. STAT. § 549.20(1)(a) given the

clear and convincing evidence that Old GM’s acts (for which New GM has successor liability)




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show deliberate disregard for the rights or safety of others, and to dissuade New GM from

engaging in similarly egregious misconduct in the future.

                                           COUNT VIII

           SUCCESSOR LIABILITY CLAIM FOR VIOLATION OF MINNESOTA
                  UNIFORM DECEPTIVE TRADE PRACTICES ACT
                         (MINN. STAT. § 325D.43-48, et seq.)

         4117. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4118. This claim is brought on behalf of Minnesota residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         4119. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         4120. The Minnesota Deceptive Trade Practices Act (“Minnesota DTPA”) prohibits

deceptive trade practices, which occur when a person “(5) represents that goods or services have

sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities that they do not

have or that a person has a sponsorship, approval, status, affiliation, or connection that the person

does not have;” “(7) represents that goods or services are of a particular standard, quality, or

grade, or that goods are of a particular style or model, if they are of another;” and “(9) advertises

goods or services with intent not to sell them as advertised.” MINN. STAT. § 325D.44. In the

course of Old GM’s business, it systematically concealed the defects in Delta Ignition Switch

Vehicles and engaged in deceptive practices by representing that Delta Ignition Switch Vehicles




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have sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities that they do

not have; representing that Delta Ignition Switch Vehicles are of a particular standard, quality, or

grade, or that goods are of a particular style or model, if they are of another; and advertising

Delta Ignition Switch Vehicles with intent not to sell them as advertised. Old GM participated in

misleading, false, or deceptive acts that violated the Minnesota DTPA. By concealing the known

defects in Plaintiffs’ vehicles, Old GM engaged in deceptive business practices prohibited by the

Minnesota DTPA.

         4121. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         4122. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         4123. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         4124. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Minnesota DTPA.

         4125. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.




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         4126. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         4127. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         4128. Old GM knew or should have known that its conduct violated the Minnesota

DTPA.

         4129. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         4130. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         4131. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.



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         4132. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         4133. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         4134. As a direct and proximate result of Old GM’s violations of the Minnesota DTPA,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.

         4135. Pursuant to MINN. STAT. §§ 8.31(3a) and 325D.45, Plaintiffs seek actual damages,

attorneys’ fees, and any other just and proper relief available under the Minnesota DTPA.

         4136. Plaintiffs also seek punitive damages under MINN. STAT. § 549.20(1)(a) given the

clear and convincing evidence that Old GM’s acts (for which New GM has successor liability)

show deliberate disregard for the rights or safety of others.

                                            COUNT IX

             SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         4137. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4138. This claim is brought on behalf of Minnesota residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).




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         4139. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         4140. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         4141. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         4142. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         4143. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         4144. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         4145. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as




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set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         4146. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         4147. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         4148. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         4149. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         4150. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old




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GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                            COUNT X

                      SUCCESSOR LIABILITY CLAIM FOR BREACH OF
                       IMPLIED WARRANTY OF MERCHANTABILITY
                                (MINN. STAT. § 336.2-314)

         4151. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4152. This claim is brought on behalf of Minnesota residents who are members of the

Delta Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor Liability

Subclass (for the purposes of this Count, “Plaintiffs”).

         4153. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         4154. Old GM was a merchant with respect to motor vehicles within the meaning of

MINN. STAT. § 336.2-104(1).

         4155. Under MINN. STAT. § 336.2-314, a warranty that the Delta Ignition Switch

Vehicles were in merchantable condition was implied by law in the transactions when Plaintiffs

purchased or leased their vehicles from Old GM on or before July 9, 2009.

         4156. The Delta Ignition Switch Vehicles, when sold and at all times thereafter, were

not merchantable and not fit for the ordinary purpose for which cars are used. Specifically, the

Delta Ignition Switch Vehicles were inherently defective in that there were defects in the ignition

switch systems that cause sudden unintended stalling to occur, with the attendant shut down of




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power steering and power brakes and the nondeployment of airbags in the event of a collision,

thereby causing an increased likelihood of serious injury or death.

         4157. New GM, as the successor to Old GM, was provided notice of these issues by

numerous complaints filed against it, internal investigations, and by numerous individual letters

and communications sent by Plaintiffs and others before or within a reasonable amount of time

after New GM issued the recall and the allegations of vehicle defects became public.

         4158. As a direct and proximate result of Old GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                           MISSISSIPPI

                                             COUNT I

                VIOLATION OF MISSISSIPPI CONSUMER PROTECTION ACT
                           (MISS. CODE. ANN. § 75-24-1, et seq.)

         4159. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4160. This claim is brought on behalf of Mississippi residents who are members of any

of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         4161. The Mississippi Consumer Protection Act (“Mississippi CPA”) prohibits “unfair

or deceptive trade practices in or affecting commerce.” MISS. CODE. ANN. § 75-24-5(1). Unfair

or deceptive practices include, but are not limited to, “(e) Representing that goods or services




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have sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities that they do

not have or that a person has a sponsorship, approval, status, affiliation, or connection that he

does not have;” “(g) Representing that goods or services are of a particular standard, quality, or

grade, or that goods are of a particular style or model, if they are of another;” and “(i)

Advertising goods or services with intent not to sell them as advertised.”

         4162. New GM participated in deceptive trade practices that violated the Mississippi

CPA as described herein, including representing that Defective Vehicles have characteristics,

uses, benefits, and qualities which they do not have; representing that Defective Vehicles are of a

particular standard and quality when they are not; and advertising Defective Vehicles with the

intent not to sell them as advertised. The defects in each vehicle include not only the specific

defect (e.g., the Delta Ignition Switch), but also include the defective process through which

New GM built cars, a process that included cost-cutting, minimizing the importance of safety

issues, siloing, the depletion of resources devoted to recognizing and studying safety issues, the

failure to follow acceptable engineering and inventory processes concerning parts management,

and the failure to follow a proper FMEA process. All of these defective processes would be

material to a reasonable consumer.

         4163. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         4164. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material




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fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles.

         4165. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         4166. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Mississippi CPA.

         4167. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         4168. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         4169. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         4170. New GM knew or should have known that its conduct violated the Mississippi

CPA.




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         4171. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         4172. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles because New GM:

                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         4173. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         4174. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.



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         4175. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         4176. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         4177. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By assuming TREAD Act responsibilities with respect to Old GM vehicles, New GM effectively

undertook the role of manufacturer of those vehicles because the TREAD Act on its face only

applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing duty to all

Defective Vehicle owners to refrain from unfair and deceptive acts or practices under the

Mississippi CPA—regardless of when those owners acquired their vehicles.

         4178. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         4179. As a direct and proximate result of New GM’s violations of the Mississippi CPA,

Plaintiffs have suffered injury-in-fact and/or actual damage as alleged above. As a direct result

of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.




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         4180. Plaintiffs’ seek actual damages in an amount to be determined at trial any other

just and proper relief available under the Mississippi CPA.

                                            COUNT II

                                   FRAUD BY CONCEALMENT

         4181. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4182. This claim is brought on behalf of Mississippi residents who are members of any

of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         4183. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         4184. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         4185. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         4186. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         4187. New GM did so in order to falsely assure purchasers, lessees, and owners of the

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and




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to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         4188. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         4189. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         4190. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         4191. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have




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continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         4192. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         4193. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         4194. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.




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                                            COUNT III

                BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                             (MISS. CODE ANN. § 75-2-314)

         4195. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4196. This claim is brought only on behalf of Mississippi residents who are members of

any of the following Subclasses: (i) the Delta Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (ii) the Low Torque Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (iii) the Knee-to-Key Camaro Defect Magnuson-Moss and Implied

Warranty Subclass; (iv) the Side Airbag Defect Magnuson-Moss and Implied Warranty

Subclass; and (v) the Power Steering Defect Magnuson-Moss and Implied Warranty Subclass

(collectively for the purposes of this Count, “Plaintiffs”).

         4197. New GM was a merchant with respect to motor vehicles within the meaning of

MISS. CODE ANN. § 75-2-104(1).

         4198. Under MISS. CODE ANN. § 75-2-314, a warranty that the Defective Switch

Vehicles were in merchantable condition was implied by law in the transactions when Plaintiffs

purchased or leased their Defective Vehicles from New GM on or after July 10, 2009.

         4199. The Defective Vehicles, when sold and at all times thereafter, were not

merchantable and are not fit for the ordinary purpose for which cars are used.

         4200. The Defective Ignition Switch Vehicles are inherently defective in that there are

defects in the ignition switch systems that cause sudden unintended stalling to occur, with the

attendant shut down of power steering and power brakes and the nondeployment of airbags in the

event of a collision, thereby causing an increased likelihood of serious injury or death.




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         4201. The Power Steering Defect Vehicles are inherently defective in that there are

defects in the vehicles that can cause the loss of power steering assist, resulting in an increased

risk of accident.

         4202. The Side Airbag Defect Vehicles are inherently defective in that there are defects

in the wiring harness connectors that can cause the side impact airbags (SIABs) and seatbelt

pretensioners not to deploy in the event of a collision, thereby causing an increased likelihood of

serious injury or death.

         4203. New GM was provided notice of these issues by numerous complaints filed

against it, internal investigations, and by numerous individual letters and communications sent

by Plaintiffs and others before or within a reasonable amount of time after New GM issued the

recall and the allegations of vehicle defects became public.

         4204. As a direct and proximate result of New GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                            COUNT IV

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         4205. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4206. This claim is brought only on behalf of Mississippi residents who are members of

the Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).

         4207. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.




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         4208. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         4209. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.

         4210. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         4211. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         4212. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         4213. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two




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series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         4214. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         4215. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         4216. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC

Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         4217. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         4218. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         4219. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.




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         4220. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         4221. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         4222. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable

by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         4223. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         4224. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the




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ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         4225. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         4226. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.

                                            COUNT V

                                    UNJUST ENRICHMENT

         4227. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4228. This claim is brought on behalf of Mississippi residents who are members of any

of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         4229. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         4230. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.




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         4231. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         4232. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         4233. Thus, all Plaintiffs conferred a benefit on New GM.

         4234. It is inequitable for New GM to retain these benefits.

         4235. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         4236. New GM knowingly accepted the benefits of its unjust conduct.

         4237. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                            COUNT VI

  SUCCESSOR LIABILITY CLAIM FOR VIOLATION OF MISSISSIPPI CONSUMER
                           PROTECTION ACT
                    (MISS. CODE. ANN. § 75-24-1, et seq.)

         4238. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4239. This claim is brought on behalf of Mississippi residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).




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         4240. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         4241. The Mississippi Consumer Protection Act (“Mississippi CPA”) prohibits “unfair

or deceptive trade practices in or affecting commerce.” MISS. CODE. ANN. § 75-24-5(1). Unfair

or deceptive practices include, but are not limited to, “(e) Representing that goods or services

have sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities that they do

not have or that a person has a sponsorship, approval, status, affiliation, or connection that he

does not have;” “(g) Representing that goods or services are of a particular standard, quality, or

grade, or that goods are of a particular style or model, if they are of another;” and “(i)

Advertising goods or services with intent not to sell them as advertised.”

         4242. Old GM participated in deceptive trade practices that violated the Mississippi

CPA as described herein, including representing that Delta Ignition Switch Vehicles have

characteristics, uses, benefits, and qualities which they do not have; representing that Delta

Ignition Switch Vehicles are of a particular standard and quality when they are not; and

advertising Delta Ignition Switch Vehicles with the intent not to sell them as advertised.

         4243. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         4244. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material




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fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         4245. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         4246. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Mississippi CPA.

         4247. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         4248. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         4249. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         4250. Old GM knew or should have known that its conduct violated the Mississippi

CPA.

         4251. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         4252. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;




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                  c.   Made incomplete representations about the safety and
                       reliability of the Delta Ignition Switch Vehicles, while
                       purposefully withholding material facts from Plaintiffs that
                       contradicted these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to
                       disclose and remedy the defects.

         4253. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         4254. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         4255. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         4256. As a direct and proximate result of Old GM’s violations of the Mississippi CPA,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.

         4257. Plaintiffs’ seek actual damages in an amount to be determined at trial any other

just and proper relief available under the Mississippi CPA.




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                                            COUNT VII

           SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         4258. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4259. This claim is brought on behalf of Mississippi residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         4260. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         4261. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         4262. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         4263. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         4264. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         4265. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material




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to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         4266. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         4267. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         4268. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         4269. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their




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Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         4270. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         4271. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                           COUNT VIII

                      SUCCESSOR LIABILITY CLAIM FOR BREACH OF
                       IMPLIED WARRANTY OF MERCHANTABILITY
                               (MISS. CODE ANN. § 75-2-314)

         4272. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4273. This claim is brought on behalf of Mississippi residents who are members of the

Delta Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor Liability

Subclass (for the purposes of this Count, “Plaintiffs”).

         4274. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         4275. Old GM was a merchant with respect to motor vehicles within the meaning of

MISS. CODE ANN. § 75-2-104(1).




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         4276. Under MISS. CODE ANN. § 75-2-314, a warranty that the Delta Ignition Switch

Vehicles were in merchantable condition was implied by law in the transactions when Plaintiffs

purchased or leased their vehicles from Old GM on or before July 9, 2009.

         4277. The Delta Ignition Switch Vehicles, when sold and at all times thereafter, were

not merchantable and not fit for the ordinary purpose for which cars are used. Specifically, the

Delta Ignition Switch Vehicles were inherently defective in that there were defects in the ignition

switch systems that cause sudden unintended stalling to occur, with the attendant shut down of

power steering and power brakes and the nondeployment of airbags in the event of a collision,

thereby causing an increased likelihood of serious injury or death.

         4278. New GM, as the successor to Old GM, was provided notice of these issues by

numerous complaints filed against it, internal investigations, and by numerous individual letters

and communications sent by Plaintiffs and others before or within a reasonable amount of time

after New GM issued the recall and the allegations of vehicle defects became public.

         4279. As a direct and proximate result of Old GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                            MISSOURI

                                             COUNT I

             VIOLATION OF MISSOURI MERCHANDISING PRACTICES ACT
                          (MO. REV. STAT. § 407.010, et seq.)

         4280. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4281. This claim is brought on behalf of Missouri residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition




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Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         4282. New GM and Plaintiffs are “persons” within the meaning of MO. REV. STAT. §

407.010(5).

         4283. New GM engaged in “trade” or “commerce” in the State of Missouri within the

meaning of MO. REV. STAT. § 407.010(7).

         4284. The Missouri Merchandising Practices Act (“Missouri MPA”) makes unlawful

the “act, use or employment by any person of any deception, fraud, false pretense,

misrepresentation, unfair practice, or the concealment, suppression, or omission of any material

fact in connection with the sale or advertisement of any merchandise.” MO. REV. STAT. §

407.020.

         4285. In the course of its business, New GM systematically omitted, suppressed, and

concealed the defects in the Defective Vehicles as described herein. By failing to disclose these

defects or facts about the defects described herein known to it or that were available to New GM

upon reasonable inquiry, New GM deprived consumers of all material facts about the safety and

functionality of their vehicle. By failing to release material facts about the defects, New GM

curtailed or reduced the ability of consumers to take notice of material facts about their vehicle,

and/or it affirmatively operated to hide or keep those facts from consumers. 15 MO. CODE OF

SERV. REG. § 60-9.110. The defects in each vehicle include not only the specific defect (e.g., the

Delta Ignition Switch), but also include the defective process through which New GM built cars,

a process that included cost-cutting, minimizing the importance of safety issues, siloing, the




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depletion of resources devoted to recognizing and studying safety issues, the failure to follow

acceptable engineering and inventory processes concerning parts management, and the failure to

follow a proper FMEA process. All of these defective processes would be material to a

reasonable consumer. Moreover, New GM has otherwise engaged in activities with a tendency

or capacity to deceive. New GM also engaged in unlawful trade practices by employing

deception, deceptive acts or practices, fraud, misrepresentations, unfair practices, and/or

concealment, suppression or omission of any material fact with intent that others rely upon such

concealment, suppression or omission, in connection with the sale of Defective Vehicles.

         4286. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         4287. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Missouri MPA.

         4288. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.




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         4289. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         4290. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         4291. New GM knew or should have known that its conduct violated the Missouri

MPA.

         4292. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         4293. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles because New GM:

                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         4294. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.



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         4295. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.

         4296. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         4297. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         4298. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By assuming TREAD Act responsibilities with respect to Old GM vehicles, New GM effectively

undertook the role of manufacturer of those vehicles because the TREAD Act on its face only

applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing duty to all

Defective Vehicle owners to refrain from unfair and deceptive acts or practices under the

Missouri MPA—regardless of when those owners acquired their vehicles.

         4299. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta




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Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         4300. As a direct and proximate result of New GM’s violations of the Missouri MPA,

Plaintiffs have suffered injury-in-fact and/or actual damage as alleged above. As a direct result

of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.

         4301. New GM is liable to Plaintiffs for damages in amounts to be proven at trial,

including attorneys’ fees, costs, and punitive damages, as well as injunctive relief enjoining

New GM’s unfair and deceptive practices, and any other just and proper relief under MO. REV.

STAT. § 407.025.

                                            COUNT II

                                     FRAUD BY CONCEALMENT

         4302. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4303. This claim is brought on behalf of Missouri residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         4304. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.




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         4305. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         4306. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         4307. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         4308. New GM did so in order to falsely assure purchasers, lessees, and owners of the

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         4309. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.




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         4310. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         4311. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         4312. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         4313. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.




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          4314. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

          4315. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.

                                             COUNT III

                BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                            (MO. REV. STAT. § 400.2-314)435

          4316. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

          4317. This claim is brought only on behalf of Missouri residents who are members of

any of the following Subclasses: (i) the Delta Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (ii) the Low Torque Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (iii) the Knee-to-Key Camaro Defect Magnuson-Moss and Implied

Warranty Subclass; (iv) the Side Airbag Defect Magnuson-Moss and Implied Warranty

Subclass; and (v) the Power Steering Defect Magnuson-Moss and Implied Warranty Subclass

(collectively for the purposes of this Count, “Plaintiffs”).

          4318. New GM was a merchant with respect to motor vehicles within the meaning of

MO. REV. STAT. § 400.2-314(1).



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       Plaintiffs understand that this Court has held that this claim cannot be asserted under
Missouri law unless the Plaintiff’s vehicle has suffered from an actual manifestation of the
defect, and here assert the claim on behalf of Plaintiffs whose vehicles have not suffered from an
actual manifestation solely for the purpose of preserving the claims for appellate review.



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         4319. Under MO. REV. STAT. § 400.2-314, a warranty that the Defective Vehicles were

in merchantable condition was implied by law in the transactions when Plaintiffs purchased or

leased their Defective Vehicles from New GM on or after July 10, 2009.

         4320. The Defective Vehicles, when sold and at all times thereafter, were not

merchantable and are not fit for the ordinary purpose for which cars are used.

         4321. The Defective Ignition Switch Vehicles are inherently defective in that there are

defects in the ignition switch systems that cause sudden unintended stalling to occur, with the

attendant shut down of power steering and power brakes and the nondeployment of airbags in the

event of a collision, thereby causing an increased likelihood of serious injury or death.

         4322. The Power Steering Defect Vehicles are inherently defective in that there are

defects in the vehicles that can cause the loss of power steering assist, resulting in an increased

risk of accident.

         4323. The Side Airbag Defect Vehicles are inherently defective in that there are defects

in the wiring harness connectors that can cause the side impact airbags (SIABs) and seatbelt

pretensioners not to deploy in the event of a collision, thereby causing an increased likelihood of

serious injury or death.

         4324. New GM was provided notice of these issues by numerous complaints filed

against it, internal investigations, and by numerous individual letters and communications sent

by Plaintiffs and others before or within a reasonable amount of time after New GM issued the

recall and the allegations of vehicle defects became public.

         4325. As a direct and proximate result of New GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.




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                                             COUNT IV

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         4326. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4327. This claim is brought only on behalf of Missouri residents who are members of

the Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).

         4328. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         4329. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         4330. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.




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         4331. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         4332. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         4333. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         4334. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         4335. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         4336. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         4337. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC




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Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         4338. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         4339. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         4340. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         4341. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         4342. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         4343. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable




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by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         4344. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         4345. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         4346. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         4347. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.




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                                             COUNT V

                                    UNJUST ENRICHMENT436

          4348. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

          4349. This claim is brought on behalf of all Missouri residents who are members of any

of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

          4350. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

          4351. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

          4352. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

          4353. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs



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       Plaintiffs understand that this Court has held that this claim may not be asserted by
Plaintiffs whose vehicles were purchased under an express warranty, and here assert such claims
solely for the purpose of preserving the issue for appeal.



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of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         4354. Thus, all Plaintiffs conferred a benefit on New GM.

         4355. It is inequitable for New GM to retain these benefits.

         4356. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         4357. New GM knowingly accepted the benefits of its unjust conduct.

         4358. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                            COUNT VI

            SUCCESSOR LIABILITY CLAIM FOR VIOLATION OF MISSOURI
                       MERCHANDISING PRACTICES ACT
                         (MO. REV. STAT. § 407.010, et seq.)

         4359. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4360. This claim is brought on behalf of Missouri residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         4361. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         4362. Old GM and Plaintiffs are “persons” within the meaning of MO. REV. STAT. §

407.010(5).




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         4363. New GM engaged in “trade” or “commerce” in the State of Missouri within the

meaning of MO. REV. STAT. § 407.010(7).

         4364. The Missouri Merchandising Practices Act (“Missouri MPA”) makes unlawful

the “act, use or employment by any person of any deception, fraud, false pretense,

misrepresentation, unfair practice, or the concealment, suppression, or omission of any material

fact in connection with the sale or advertisement of any merchandise.” MO. REV. STAT. §

407.020.

         4365. In the course of its business, Old GM systematically omitted, suppressed, and

concealed the defects in the Delta Ignition Switch Vehicles as described herein. By failing to

disclose these defects or facts about the defects described herein known to it or that were

available to Old GM upon reasonable inquiry, Old GM deprived consumers of material facts

about the safety and functionality of their vehicles. By failing to release material facts about the

defects, Old GM curtailed or reduced the ability of consumers to take notice of material facts

about their vehicles, and/or it affirmatively operated to hide or keep those facts from consumers.

15 MO. CODE OF SERV. REG. § 60-9.110. Moreover, GM otherwise engaged in activities with a

tendency or capacity to deceive. Old GM also engaged in unlawful trade practices by employing

deception, deceptive acts or practices, fraud, misrepresentations, unfair practices, and/or

concealment, suppression or omission of any material fact with intent that others rely upon such

concealment, suppression or omission, in connection with the sale of Delta Ignition Switch

Vehicles.

         4366. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.




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         4367. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         4368. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         4369. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Missouri MPA.

         4370. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         4371. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         4372. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         4373. Old GM knew or should have known that its conduct violated the Missouri MPA.

         4374. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         4375. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:




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                  a.   Possessed exclusive knowledge about the defects in the
                       Delta Ignition Switch Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Delta Ignition Switch Vehicles, while
                       purposefully withholding material facts from Plaintiffs that
                       contradicted these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to
                       disclose and remedy the defects.

         4376. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         4377. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         4378. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         4379. As a direct and proximate result of Old GM’s violations of the Missouri MPA,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.




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         4380. New GM has successor liability to Plaintiffs for damages in amounts to be proven

at trial, including attorneys’ fees, costs, and punitive damages, and any other just and proper

relief under MO. REV. STAT. § 407.025.

                                            COUNT VII

           SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         4381. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4382. This claim is brought on behalf of Missouri residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         4383. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         4384. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         4385. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         4386. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         4387. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.




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         4388. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         4389. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         4390. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         4391. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.




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         4392. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         4393. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         4394. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                           COUNT VIII

                      SUCCESSOR LIABILITY CLAIM FOR BREACH OF
                       IMPLIED WARRANTY OF MERCHANTABILITY
                                (MO. REV. STAT. § 400.2-314)

         4395. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4396. This claim is brought on behalf of Missouri residents who are members of the

Delta Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor Liability

Subclass (for the purposes of this Count, “Plaintiffs”).

         4397. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,




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the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         4398. Old GM was a merchant with respect to motor vehicles within the meaning of

MO. REV. STAT § 400.2-104(1).

         4399. Under MO. REV. STAT § 400.2-314, a warranty that the Delta Ignition Switch

Vehicles were in merchantable condition was implied by law in the transactions when Plaintiffs

purchased or leased their vehicles from Old GM on or before July 9, 2009.

         4400. The Delta Ignition Switch Vehicles, when sold and at all times thereafter, were

not merchantable and not fit for the ordinary purpose for which cars are used. Specifically, the

Delta Ignition Switch Vehicles were inherently defective in that there were defects in the ignition

switch systems that cause sudden unintended stalling to occur, with the attendant shut down of

power steering and power brakes and the nondeployment of airbags in the event of a collision,

thereby causing an increased likelihood of serious injury or death.

         4401. New GM, as the successor to Old GM, was provided notice of these issues by

numerous complaints filed against it, internal investigations, and by numerous individual letters

and communications sent by Plaintiffs and others before or within a reasonable amount of time

after New GM issued the recall and the allegations of vehicle defects became public.

         4402. As a direct and proximate result of Old GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.




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                                           MONTANA

                                             COUNT I

     VIOLATION OF MONTANA UNFAIR TRADE PRACTICES AND CONSUMER
                       PROTECTION ACT OF 1973
                    (MONT. CODE ANN. § 30-14-101, et seq.)

         4403. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4404. This claim is brought on behalf of Montana residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         4405. New GM and Plaintiffs are “persons” within the meaning of MONT. CODE ANN.

§ 30-14-102(6).

         4406. Plaintiffs are “consumer[s]” under MONT. CODE ANN. § 30-14-102(1).

         4407. The sale or lease of the Defective Vehicles to Plaintiffs occurred within “trade

and commerce” within the meaning of MONT. CODE ANN. § 30-14-102(8), and New GM

committed deceptive and unfair acts in the conduct of “trade and commerce” as defined in that

statutory section.

         4408. The Montana Unfair Trade Practices and Consumer Protection Act (“Montana

CPA”) makes unlawful any “unfair methods of competition and unfair or deceptive acts or

practices in the conduct of any trade or commerce.” MONT. CODE ANN. § 30-14-103. By

systematically devaluing safety and concealing a plethora of defects in New GM vehicles and




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Old GM vehicles, New GM engaged in unfair and deceptive acts or practices in violation of the

Montana CPA. The defects in each vehicle include not only the specific defect (e.g., the Delta

Ignition Switch), but also include the defective process through which New GM built cars, a

process that included cost-cutting, minimizing the importance of safety issues, siloing, the

depletion of resources devoted to recognizing and studying safety issues, the failure to follow

acceptable engineering and inventory processes concerning parts management, and the failure to

follow a proper FMEA process. All of these defective processes would be material to a

reasonable consumer.

         4409. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles.

         4410. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.




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         4411. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Montana CPA.

         4412. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         4413. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         4414. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         4415. New GM knew or should have known that its conduct violated the Montana CPA.

         4416. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         4417. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles, because New GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Defective Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Defective Vehicles, while purposefully
                        withholding material facts from Plaintiffs that contradicted
                        these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to disclose and
                        remedy the defects.

         4418. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles



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they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         4419. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.

         4420. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         4421. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         4422. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By contractually assuming TREAD Act responsibilities with respect to Old GM vehicles, New

GM effectively undertook the role of manufacturer of those vehicles because the TREAD Act on

its face only applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing




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duty to all Defective Vehicle owners to refrain from unfair and deceptive acts or practices under

the Montana CPA—regardless of when those owners acquired their vehicles.

         4423. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         4424. As a direct and proximate result of New GM’s violations of the Montana CPA,

Plaintiffs have suffered injury-in-fact and/or actual damage, as alleged above. As a direct result

of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.

         4425. Because New GM’s unlawful methods, acts, and practices have caused Plaintiffs

to suffer an ascertainable loss of money and property, Plaintiffs seek from New GM actual

damages or $500, whichever is greater, discretionary treble damages, reasonable attorneys’ fees,

an order enjoining New GM’s unfair, unlawful, and/or deceptive practices, and any other relief

the Court considers necessary or proper, under MONT. CODE ANN. § 30-14-133.

                                            COUNT II

                                     FRAUD BY CONCEALMENT

         4426. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4427. This claim is brought on behalf of all Montana residents who are members of any

of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect




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Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         4428. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         4429. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         4430. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         4431. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         4432. New GM did so in order to falsely assure purchasers, lessees, and owners of

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         4433. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in




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the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         4434. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         4435. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         4436. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         4437. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs as

alleged above. Had they been aware of the concealed defects that existed in the Defective




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Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         4438. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         4439. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.

                                            COUNT III

                BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                               (MONT. CODE § 30-2-314)

         4440. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4441. This claim is brought only on behalf of Montana residents who are members of

any of the following Subclasses: (i) the Delta Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (ii) the Low Torque Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (iii) the Knee-to-Key Camaro Defect Magnuson-Moss and Implied

Warranty Subclass; (iv) the Side Airbag Defect Magnuson-Moss and Implied Warranty

Subclass; and (v) the Power Steering Defect Magnuson-Moss and Implied Warranty Subclass

(collectively for the purposes of this Count, “Plaintiffs”).




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         4442. New GM was a merchant with respect to motor vehicles under MONT. CODE § 30-

2-104(1).

         4443. Under MONT. CODE § 30-2-314, a warranty that the Defective Vehicles were in

merchantable condition was implied by law in the transactions when Plaintiffs purchased or

leased their Defective Vehicles from New GM on or after July 10, 2009.

         4444. The Defective Vehicles, when sold and at all times thereafter, were not

merchantable and are not fit for the ordinary purpose for which cars are used.

         4445. The Defective Ignition Switch Vehicles are inherently defective in that there are

defects in the ignition switch systems that cause sudden unintended stalling to occur, with the

attendant shut down of power steering and power brakes and the nondeployment of airbags in the

event of a collision, thereby causing an increased likelihood of serious injury or death.

         4446. The Power Steering Defect Vehicles are inherently defective in that there are

defects in the vehicles that can cause the loss of power steering assist, resulting in an increased

risk of accident.

         4447. The Side Airbag Defect Vehicles are inherently defective in that there are defects

in the wiring harness connectors that can cause the side impact airbags (SIABs) and seatbelt

pretensioners not to deploy in the event of a collision, thereby causing an increased likelihood of

serious injury or death.

         4448. New GM was provided notice of these issues by numerous complaints filed

against it, internal investigations, and by numerous individual letters and communications sent

by Plaintiffs and others before or within a reasonable amount of time after New GM issued the

recall and the allegations of vehicle defects became public.




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         4449. As a direct and proximate result of New GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                             COUNT IV

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         4450. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4451. This claim is brought only on behalf of Montana residents who are members of

the Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).

         4452. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         4453. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM ), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         4454. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.




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         4455. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         4456. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         4457. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         4458. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         4459. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         4460. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         4461. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC




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Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         4462. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         4463. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         4464. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         4465. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         4466. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         4467. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable




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by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         4468. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         4469. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         4470. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         4471. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.




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                                            COUNT V

                                    UNJUST ENRICHMENT

         4472. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4473. This claim is brought on behalf of Montana residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         4474. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         4475. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

         4476. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         4477. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         4478. Thus, all Plaintiffs conferred a benefit on New GM.




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         4479. It is inequitable for New GM to retain these benefits.

         4480. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         4481. New GM knowingly accepted the benefits of its unjust conduct.

         4482. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                            COUNT VI

                 SUCCESSOR LIABILITY CLAIM FOR VIOLATIONS OF THE
                       MONTANA CONSUMER PROTECTION ACT
                          (MONT. CODE ANN. § 30-14-101, et seq.)

         4483. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4484. This claim is brought on behalf of Montana residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         4485. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         4486. Old GM and Plaintiffs are “persons” within the meaning of MONT. CODE ANN.

§ 30-14-102(6).

         4487. Plaintiffs are “consumer[s]” under MONT. CODE ANN. § 30-14-102(1).

         4488. The sale or lease of the Delta Ignition Switch Vehicles to Plaintiffs occurred

within “trade and commerce” within the meaning of MONT. CODE ANN. § 30-14-102(8), and




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Old GM committed deceptive and unfair acts in the conduct of “trade and commerce” as defined

in that statutory section.

         4489. The Montana Unfair Trade Practices and Consumer Protection Act (“Montana

CPA”) makes unlawful any “unfair methods of competition and unfair or deceptive acts or

practices in the conduct of any trade or commerce.” MONT. CODE ANN. § 30-14-103. By

systematically devaluing safety and concealing a plethora of defects in Plaintiffs’ vehicles,

Old GM engaged in unfair and deceptive acts or practices in violation of the Montana CPA.

         4490. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         4491. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         4492. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Montana CPA.

         4493. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         4494. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.




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         4495. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         4496. Old GM knew or should have known that its conduct violated the Montana CPA.

         4497. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         4498. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         4499. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         4500. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         4501. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of



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the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         4502. As a direct and proximate result of Old GM’s violations of the Montana CPA,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.

         4503. Because Old GM’s unlawful methods, acts, and practices have caused Plaintiffs to

suffer an ascertainable loss of money and property, Plaintiffs seek from New GM actual damages

or $500, whichever is greater, discretionary treble damages, reasonable attorneys’ fees, an order

enjoining New GM’s unfair, unlawful, and/or deceptive practices, and any other relief the Court

considers necessary or proper, under MONT. CODE ANN. § 30-14-133.

                                            COUNT VII

             SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         4504. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4505. This claim is brought on behalf of Montana residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         4506. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.




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         4507. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         4508. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         4509. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         4510. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         4511. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         4512. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.




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         4513. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         4514. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         4515. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         4516. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         4517. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.




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                                           COUNT VIII

                SUCCESSOR LIABILITY CLAIM FOR BREACH OF IMPLIED
                        WARRANTY OF MERCHANTABILITY
                              (MONT. CODE § 30-2-314)

         4518. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4519. This claim is brought on behalf of Montana residents who are members of the

Delta Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor Liability

Subclass (for the purposes of this Count, “Plaintiffs”).

         4520. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         4521. Old GM was a merchant with respect to motor vehicles within the meaning of

MONT. CODE § 30-2-104(1).

         4522. Under MONT. CODE § 30-2-314, a warranty that the Delta Ignition Switch

Vehicles were in merchantable condition was implied by law in the transactions when Plaintiffs

purchased or leased their Defective Ignition Switch Vehicles from Old GM on or before July 9,

2009.

         4523. The Delta Ignition Switch Vehicles, when sold and at all times thereafter, were

not merchantable and not fit for the ordinary purpose for which cars are used. Specifically, the

Delta Ignition Switch Vehicles were inherently defective in that there were defects in the ignition

switch systems that cause sudden unintended stalling to occur, with the attendant shut down of




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power steering and power brakes and the nondeployment of airbags in the event of a collision,

thereby causing an increased likelihood of serious injury or death.

         4524. New GM, as the successor to Old GM, was provided notice of these issues by

numerous complaints filed against it, internal investigations, and by numerous individual letters

and communications sent by Plaintiffs and others before or within a reasonable amount of time

after New GM issued the recall and the allegations of vehicle defects became public.

         4525. As a direct and proximate result of Old GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                           NEBRASKA

                                            COUNT I

            VIOLATION OF THE NEBRASKA CONSUMER PROTECTION ACT
                         (NEB. REV. STAT. § 59-1601, et seq.)

         4526. Plaintiff incorporates by reference all preceding and succeeding paragraphs as if

set forth fully herein.

         4527. This claim is brought on behalf of Nebraska residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         4528. New GM and Plaintiffs are “person[s]” under the Nebraska Consumer Protection

Act (“Nebraska CPA”), NEB. REV. STAT. § 59-1601(1).




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         4529. New GM’s actions as set forth herein occurred in the conduct of trade or

commerce as defined under NEB. REV. STAT. § 59-1601(2).

         4530. The Nebraska CPA prohibits “unfair or deceptive acts or practices in the conduct

of any trade or commerce.” NEB. REV. STAT. § 59-1602. New GM participated in misleading,

false, or deceptive acts that violated the Nebraska CPA. By concealing the known defects in

Plaintiffs’ vehicles, New GM engaged in deceptive business practices prohibited by the

Nebraska CPA. The defects in each vehicle include not only the specific defect (e.g., the Delta

Ignition Switch), but also include the defective process through which New GM built cars, a

process that included cost-cutting, minimizing the importance of safety issues, siloing, the

depletion of resources devoted to recognizing and studying safety issues, the failure to follow

acceptable engineering and inventory processes concerning parts management, and the failure to

follow a proper FMEA process. All of these defective processes would be material to a

reasonable consumer.

         4531. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         4532. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles.

         4533. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of




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Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         4534. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Nebraska CPA.

         4535. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         4536. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         4537. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         4538. New GM knew or should have known that its conduct violated the Nebraska

CPA.

         4539. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         4540. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles, because New GM:




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                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         4541. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         4542. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.

         4543. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         4544. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased



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or leased Defective Vehicles after the date of New GM’s inception either would have paid less

for their vehicles or would not have purchased or leased them at all.

         4545. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By contractually assuming TREAD Act responsibilities with respect to Old GM vehicles, New

GM effectively undertook the role of manufacturer of those vehicles because the TREAD Act on

its face only applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing

duty to all Defective Vehicle owners to refrain from unfair and deceptive acts or practices under

the Nebraska CPA—regardless of when those owners acquired their vehicles.

         4546. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         4547. As a direct and proximate result of New GM’s violations of the Nebraska CPA,

Plaintiffs have suffered injury-in-fact and/or actual damage, as alleged above. As a direct result

of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.

         4548. Because New GM’s conduct caused injury to Plaintiffs’ property through

violations of the Nebraska CPA, Plaintiffs seek recovery of actual damages, as well as enhanced

damages up to $1,000, an order enjoining New GM’s unfair or deceptive acts and practices, costs

of Court, reasonable attorneys’ fees, and any other just and proper relief available under NEB.

REV. STAT. § 59-1609.




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                                            COUNT II

                                   FRAUD BY CONCEALMENT

         4549. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4550. This claim is brought on behalf of all Nebraska residents who are members of any

of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         4551. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         4552. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         4553. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         4554. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         4555. New GM did so in order to falsely assure purchasers, lessees, and owners of

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to




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consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         4556. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         4557. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         4558. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         4559. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other




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affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         4560. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         4561. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         4562. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.




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                                            COUNT III

                BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                             (NEB. REV. STAT. NEB. § 2-314)

         4563. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4564. This claim is brought only on behalf of Nebraska residents who are members of

any of the following Subclasses: (i) the Delta Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (ii) the Low Torque Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (iii) the Knee-to-Key Camaro Defect Magnuson-Moss and Implied

Warranty Subclass; (iv) the Side Airbag Defect Magnuson-Moss and Implied Warranty

Subclass; and (v) the Power Steering Defect Magnuson-Moss and Implied Warranty Subclass

(collectively for the purposes of this Count, “Plaintiffs”).

         4565. New GM was a merchant with respect to motor vehicles within the meaning of

NEB. REV. STAT. § 2-104(1).

         4566. A warranty that the Defective Vehicles were in merchantable condition was

implied by law under NEB. REV. STAT. § 2-314 in the transactions when Plaintiffs purchased or

leased their Defective Vehicles from New GM on or after July 10, 2009.

         4567. The Defective Vehicles, when sold and at all times thereafter, were not

merchantable and are not fit for the ordinary purpose for which cars are used.

         4568. The Defective Ignition Switch Vehicles are inherently defective in that there are

defects in the ignition switch systems that cause sudden unintended stalling to occur, with the

attendant shut down of power steering and power brakes and the nondeployment of airbags in the

event of a collision, thereby causing an increased likelihood of serious injury or death.




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         4569. The Power Steering Defect Vehicles are inherently defective in that there are

defects in the vehicles that can cause the loss of power steering assist, resulting in an increased

risk of accident.

         4570. The Side Airbag Defect Vehicles are inherently defective in that there are defects

in the wiring harness connectors that can cause the side impact airbags (SIABs) and seatbelt

pretensioners not to deploy in the event of a collision, thereby causing an increased likelihood of

serious injury or death.

         4571. New GM was provided notice of these issues by numerous complaints filed

against it, internal investigations, and by numerous individual letters and communications sent

by Plaintiffs and others before or within a reasonable amount of time after New GM issued the

recall and the allegations of vehicle defects became public.

         4572. As a direct and proximate result of New GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                            COUNT IV

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         4573. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4574. This claim is brought only on behalf of Nebraska residents who are members of

the Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).

         4575. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.




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         4576. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM ), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         4577. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.

         4578. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         4579. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         4580. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         4581. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two




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series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         4582. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         4583. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         4584. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC

Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         4585. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         4586. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         4587. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.




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         4588. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         4589. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         4590. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable

by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         4591. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         4592. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the




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ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         4593. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         4594. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.

                                            COUNT V

                                    UNJUST ENRICHMENT

         4595. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4596. This claim is brought on behalf of Nebraska residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         4597. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         4598. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.




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         4599. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         4600. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         4601. Thus, all Plaintiffs conferred a benefit on New GM.

         4602. It is inequitable for New GM to retain these benefits.

         4603. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         4604. New GM knowingly accepted the benefits of its unjust conduct.

         4605. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                            COUNT VI

                 SUCCESSOR LIABILITY CLAIM FOR VIOLATIONS OF THE
                      NEBRASKA CONSUMER PROTECTION ACT
                            (NEB. REV. STAT. § 59-1601, et seq.)

         4606. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4607. This claim is brought on behalf of Nebraska residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).




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         4608. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         4609. Old GM and Plaintiffs are “person[s]” under the Nebraska Consumer Protection

Act (“Nebraska CPA”), NEB. REV. STAT. § 59-1601(1).

         4610. Old GM’s actions as set forth herein occurred in the conduct of trade or

commerce as defined under NEB. REV. STAT. § 59-1601(2).

         4611. The Nebraska CPA prohibits “unfair or deceptive acts or practices in the conduct

of any trade or commerce.” NEB. REV. STAT. § 59-1602. Old GM engaged in misleading, false,

or deceptive acts that violated the Nebraska CPA. By concealing the known defects in Plaintiffs’

vehicles, Old GM engaged in deceptive business practices prohibited by the Nebraska CPA.

         4612. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         4613. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         4614. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.




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         4615. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Nebraska CPA.

         4616. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         4617. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         4618. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         4619. Old GM knew or should have known that its conduct violated the Nebraska CPA.

         4620. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         4621. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         4622. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their



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bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         4623. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         4624. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         4625. As a direct and proximate result of Old GM’s violations of the Nebraska CPA,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.

         4626. Because Old GM’s conduct caused injury to Plaintiffs’ property through

violations of the Nebraska CPA, Plaintiffs seek recovery of actual damages, as well as enhanced

damages up to $1,000, an order enjoining New GM’s unfair or deceptive acts and practices, costs

of Court, reasonable attorneys’ fees, and any other just and proper relief available under NEB.

REV. STAT. § 59-1609.

                                           COUNT VII

             SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         4627. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.




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         4628. This claim is brought on behalf of Nebraska residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         4629. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         4630. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         4631. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         4632. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         4633. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         4634. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         4635. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge




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and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         4636. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         4637. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         4638. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         4639. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.




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         4640. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                           COUNT VIII

                SUCCESSOR LIABILITY CLAIM FOR BREACH OF IMPLIED
                        WARRANTY OF MERCHANTABILITY
                            (NEB. REV. STAT. NEB. § 2-314)

         4641. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4642. This claim is brought on behalf of Nebraska residents who are members of the

Delta Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor Liability

Subclass (for the purposes of this Count, “Plaintiffs”).

         4643. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         4644. Old GM was a merchant with respect to motor vehicles within the meaning of

NEV. REV. STAT. § 104.2104(1).

         4645. A warranty that the Delta Ignition Switch Vehicles were in merchantable

condition was implied by law in the transactions when Plaintiffs purchased or leased their Delta

Ignition Switch Vehicles from Old GM on or before July 9, 2009.

         4646. The Delta Ignition Switch Vehicles, when sold and at all times thereafter, were

not merchantable and not fit for the ordinary purpose for which cars are used. Specifically, the




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Delta Ignition Switch Vehicles were inherently defective in that there were defects in the ignition

switch systems that cause sudden unintended stalling to occur, with the attendant shut down of

power steering and power brakes and the nondeployment of airbags in the event of a collision,

thereby causing an increased likelihood of serious injury or death.

         4647. New GM, as the successor to Old GM, was provided notice of these issues by

numerous complaints filed against it, internal investigations, and by numerous individual letters

and communications sent by Plaintiffs and others before or within a reasonable amount of time

after New GM issued the recall and the allegations of vehicle defects became public.

         4648. As a direct and proximate result of Old GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                             NEVADA

                                             COUNT I

         VIOLATION OF THE NEVADA DECEPTIVE TRADE PRACTICES ACT
                       (NEV. REV. STAT. § 598.0903, et seq.)

         4649. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4650. This claim is brought on behalf of Nevada residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.




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         4651. The Nevada Deceptive Trade Practices Act (“Nevada DTPA”), NEV. REV. STAT.

§ 598.0903, et seq. prohibits deceptive trade practices. NEV. REV. STAT. § 598.0915 provides

that a person engages in a “deceptive trade practice” if, in the course of business or occupation,

the person: “5. Knowingly makes a false representation as to the characteristics, ingredients,

uses, benefits, alterations or quantities of goods or services for sale or lease or a false

representation as to the sponsorship, approval, status, affiliation or connection of a person

therewith”; “7. Represents that goods or services for sale or lease are of a particular standard,

quality or grade, or that such goods are of a particular style or model, if he or she knows or

should know that they are of another standard, quality, grade, style or model”; “9. Advertises

goods or services with intent not to sell or lease them as advertised”; or “15. Knowingly makes

any other false representation in a transaction.”

         4652. New GM engaged in deceptive trade practices that violated the Nevada DTPA,

including: knowingly representing that Defective Vehicles have uses and benefits which they do

not have; representing that Defective Vehicles are of a particular standard, quality, and grade

when they are not; advertising Defective Vehicles with the intent not to sell or lease them as

advertised; representing that the subject of a transaction involving Defective Vehicles has been

supplied in accordance with a previous representation when it has not; knowingly making other

false representations in a transaction; and concealing the known defects in Plaintiffs’ vehicles.

The defects in each vehicle include not only the specific defect (e.g., the Delta Ignition Switch),

but also include the defective process through which New GM built cars, a process that included

cost-cutting, minimizing the importance of safety issues, siloing, the depletion of resources

devoted to recognizing and studying safety issues, the failure to follow acceptable engineering




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and inventory processes concerning parts management, and the failure to follow a proper FMEA

process. All of these defective processes would be material to a reasonable consumer.

         4653. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         4654. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles.

         4655. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         4656. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Nevada Deceptive Trade Practices Act.

         4657. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.




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         4658. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         4659. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         4660. New GM knew or should have known that its conduct violated the Nevada

Deceptive Trade Practices Act.

         4661. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         4662. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles, because New GM:

                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         4663. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.



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         4664. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.

         4665. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         4666. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         4667. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By contractually assuming TREAD Act responsibilities with respect to Old GM vehicles, New

GM effectively undertook the role of manufacturer of those vehicles because the TREAD Act on

its face only applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing

duty to all Defective Vehicle owners to refrain from unfair and deceptive acts or practices under

the Nevada Deceptive Trade Practices Act—regardless of when those owners acquired their

vehicles.




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         4668. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         4669. As a direct and proximate result of New GM’s violations of the Nevada Deceptive

Trade Practices Act, Plaintiffs have suffered injury-in-fact and/or actual damage, as alleged

above. As a direct result of New GM’s misconduct, all Plaintiffs incurred damages in at least the

form of lost time required to repair their vehicles.

         4670. Accordingly, Plaintiffs seek their actual damages, punitive damages, an order

enjoining New GM’s deceptive acts or practices, costs of Court, attorney’s fees, and all other

appropriate and available remedies under the Nevada Deceptive Trade Practices Act. NEV. REV.

STAT. § 41.600.

                                             COUNT II

                                     FRAUD BY CONCEALMENT

         4671. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4672. This claim is brought on behalf of all Nevada residents who are members of any

of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.




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         4673. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         4674. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         4675. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         4676. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         4677. New GM did so in order to falsely assure purchasers, lessees, and owners of

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         4678. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and




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implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         4679. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         4680. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         4681. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         4682. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all




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Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         4683. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         4684. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.

                                            COUNT III

                BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                             (NEV. REV. STAT. § 104.2314)

         4685. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4686. This claim is brought only on behalf of Nevada residents who are members of any

of the following Subclasses: (i) the Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Subclass; (ii) the Low Torque Ignition Switch Defect Magnuson-Moss and Implied

Warranty Subclass; (iii) the Knee-to-Key Camaro Defect Magnuson-Moss and Implied Warranty

Subclass; (iv) the Side Airbag Defect Magnuson-Moss and Implied Warranty Subclass; and (v)

the Power Steering Defect Magnuson-Moss and Implied Warranty Subclass (collectively for the

purposes of this Count, “Plaintiffs”).

         4687. New GM was a merchant with respect to motor vehicles within the meaning of

NEV. REV. STAT. § 104.2104(1).




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         4688. A warranty that the Defective Vehicles were in merchantable condition was

implied by law in the transactions when Plaintiffs purchased or leased their Defective Vehicles

from New GM on or after July 10, 2009.

         4689. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4690. The Defective Vehicles, when sold and at all times thereafter, were not

merchantable and are not fit for the ordinary purpose for which cars are used.

         4691. The Defective Ignition Switch Vehicles are inherently defective in that there are

defects in the ignition switch systems that cause sudden unintended stalling to occur, with the

attendant shut down of power steering and power brakes and the nondeployment of airbags in the

event of a collision, thereby causing an increased likelihood of serious injury or death.

         4692. The Power Steering Defect Vehicles are inherently defective in that there are

defects in the vehicles that can cause the loss of power steering assist, resulting in an increased

risk of accident.

         4693. The Side Airbag Defect Vehicles are inherently defective in that there are defects

in the wiring harness connectors that can cause the side impact airbags (SIABs) and seatbelt

pretensioners not to deploy in the event of a collision, thereby causing an increased likelihood of

serious injury or death.

         4694. New GM was provided notice of these issues by numerous complaints filed

against it, internal investigations, and by numerous individual letters and communications sent

by Plaintiffs and others before or within a reasonable amount of time after New GM issued the

recall and the allegations of vehicle defects became public.




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         4695. As a direct and proximate result of New GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                             COUNT IV

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         4696. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4697. This claim is brought only on behalf of Nevada residents who are members of the

Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).

         4698. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         4699. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM ), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         4700. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.




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         4701. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         4702. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         4703. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         4704. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         4705. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         4706. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         4707. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC




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Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         4708. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         4709. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         4710. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         4711. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         4712. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         4713. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable




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by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         4714. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         4715. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         4716. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         4717. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.




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                                            COUNT V

                                    UNJUST ENRICHMENT

         4718. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4719. This claim is brought on behalf of Nevada residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         4720. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         4721. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

         4722. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         4723. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         4724. Thus, all Plaintiffs conferred a benefit on New GM.




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         4725. It is inequitable for New GM to retain these benefits.

         4726. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         4727. New GM knowingly accepted the benefits of its unjust conduct.

         4728. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                             COUNT VI

                 SUCCESSOR LIABILITY CLAIM FOR VIOLATIONS OF THE
                     NEVADA DECEPTIVE TRADE PRACTICES ACT
                           (NEV. REV. STAT. § 598.0903, et seq.)

         4729. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4730. This claim is brought on behalf of Nevada residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         4731. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         4732. The Nevada Deceptive Trade Practices Act (“Nevada DTPA”), NEV. REV. STAT.

§ 598.0903, et seq. prohibits deceptive trade practices. NEV. REV. STAT. § 598.0915 provides

that a person engages in a “deceptive trade practice” if, in the course of business or occupation,

the person: “5. Knowingly makes a false representation as to the characteristics, ingredients,

uses, benefits, alterations or quantities of goods or services for sale or lease or a false




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representation as to the sponsorship, approval, status, affiliation or connection of a person

therewith”; “7. Represents that goods or services for sale or lease are of a particular standard,

quality or grade, or that such goods are of a particular style or model, if he or she knows or

should know that they are of another standard, quality, grade, style or model”; “9. Advertises

goods or services with intent not to sell or lease them as advertised”; or “15. Knowingly makes

any other false representation in a transaction.”

         4733. Old GM engaged in deceptive trade practices that violated the Nevada DTPA,

including: knowingly representing that Defective Vehicles have uses and benefits which they do

not have; representing that Defective Vehicles are of a particular standard, quality, and grade

when they are not; advertising Defective Vehicles with the intent not to sell or lease them as

advertised; representing that the subject of a transaction involving Defective Vehicles has been

supplied in accordance with a previous representation when it has not; and knowingly making

other false representations in a transaction.

         4734. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         4735. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         4736. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.




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         4737. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Nevada DTPA.

         4738. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         4739. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         4740. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         4741. Old GM knew or should have known that its conduct violated the Nevada DTPA.

         4742. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         4743. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         4744. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their



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bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         4745. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         4746. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         4747. As a direct and proximate result of Old GM’s violations of the Nevada DTPA,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.

         4748. Accordingly, Plaintiffs seek their actual damages, punitive damages, an order

enjoining New GM’s deceptive acts or practices, costs of Court, attorney’s fees, and all other

appropriate and available remedies under the Nevada Deceptive Trade Practices Act. NEV. REV.

STAT. § 41.600.

                                           COUNT VII

             SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         4749. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.




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         4750. This claim is brought on behalf of Nevada residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         4751. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         4752. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         4753. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         4754. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         4755. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         4756. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         4757. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge




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and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         4758. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         4759. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         4760. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         4761. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.




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         4762. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                           COUNT VIII

                SUCCESSOR LIABILITY CLAIM FOR BREACH OF IMPLIED
                        WARRANTY OF MERCHANTABILITY
                             (NEV. REV. STAT. § 104.2314)

         4763. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4764. This claim is brought on behalf of Nevada residents who are members of the

Delta Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor Liability

Subclass (for the purposes of this Count, “Plaintiffs”).

         4765. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         4766. Old GM was a merchant with respect to motor vehicles within the meaning of

NEV. REV. STAT. § 104.2104(1).

         4767. A warranty that the Delta Ignition Switch Vehicles were in merchantable

condition was implied by law in the transactions when Plaintiffs purchased or leased their Delta

Ignition Switch Vehicles from Old GM on or after July 10, 2009.

         4768. The Delta Ignition Switch Vehicles, when sold and at all times thereafter, were

not merchantable and not fit for the ordinary purpose for which cars are used. Specifically, the




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Delta Ignition Switch Vehicles were inherently defective in that there were defects in the ignition

switch systems that cause sudden unintended stalling to occur, with the attendant shut down of

power steering and power brakes and the nondeployment of airbags in the event of a collision,

thereby causing an increased likelihood of serious injury or death.

         4769. New GM, as the successor to Old GM, was provided notice of these issues by

numerous complaints filed against it, internal investigations, and by numerous individual letters

and communications sent by Plaintiffs and others before or within a reasonable amount of time

after New GM issued the recall and the allegations of vehicle defects became public.

         4770. As a direct and proximate result of Old GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                       NEW HAMPSHIRE

                                             COUNT I

                      VIOLATION OF N.H. CONSUMER PROTECTION ACT
                            (N.H. REV. STAT. ANN. § 358-A:1, et seq.)

         4771. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4772. This claim is brought on behalf of New Hampshire residents who are members of

any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque

Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag

Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of this

Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the

conduct of New GM.




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         4773. New GM and Plaintiffs are “persons” under the New Hampshire Consumer

Protection Act (“New Hampshire CPA”), N.H. REV. STAT. § 358-A:1.

         4774. New GM’s actions as set forth herein occurred in the conduct of trade or

commerce as defined under N.H. REV. STAT. § 358-A:1.

         4775. The New Hampshire CPA prohibits a person, in the conduct of any trade or

commerce, from using “any unfair or deceptive act or practice,” including “but … not limited to,

the following: … (V) Representing that goods or services have … characteristics, … uses,

benefits, or quantities that they do not have;” “(VII) Representing that goods or services are of a

particular standard, quality, or grade, … if they are of another;” and “(IX) Advertising goods or

services with intent not to sell them as advertised.” N.H. REV. STAT. § 358-A:2.

         4776. New GM participated in unfair or deceptive acts or practices that violated the

New Hampshire CPA as described above and below. By systematically devaluing safety and

concealing a plethora of defects in New GM vehicles and Old GM vehicles, New GM engaged in

deceptive business practices prohibited by the CPA, including representing that Defective

Vehicles have characteristics, uses, benefits, and qualities which they do not have; representing

that Defective Vehicles are of a particular standard, quality, and grade when they are not;

advertising Defective Vehicles with the intent not to sell or lease them as advertised;

representing that the subject of a transaction involving Defective Vehicles has been supplied in

accordance with a previous representation when it has not; and engaging in other

unconscionable, false, misleading, or deceptive acts or practices in the conduct of trade or

commerce. The defects in each vehicle include not only the specific defect (e.g., the Delta

Ignition Switch), but also include the defective process through which New GM built cars, a

process that included cost-cutting, minimizing the importance of safety issues, siloing, the




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depletion of resources devoted to recognizing and studying safety issues, the failure to follow

acceptable engineering and inventory processes concerning parts management, and the failure to

follow a proper FMEA process. All of these defective processes would be material to a

reasonable consumer.

         4777. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles.

         4778. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         4779. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the New Hampshire CPA.

         4780. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.




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         4781. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         4782. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         4783. New GM knew or should have known that its conduct violated the New

Hampshire CPA.

         4784. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         4785. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles, because New GM:

                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         4786. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.



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         4787. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.

         4788. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         4789. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         4790. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By contractually assuming TREAD Act responsibilities with respect to Old GM vehicles, New

GM effectively undertook the role of manufacturer of those vehicles because the TREAD Act on

its face only applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing

duty to all Defective Vehicle owners to refrain from unfair and deceptive acts or practices under

the New Hampshire CPA—regardless of when those owners acquired their vehicles.

         4791. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta




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Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         4792. As a direct and proximate result of New GM’s violations of the New Hampshire

CPA, Plaintiffs have suffered injury-in-fact and/or actual damage, as alleged above. As a direct

result of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.

         4793. Because New GM’s willful conduct caused injury to Plaintiffs’ property through

violations of the New Hampshire CPA, Plaintiffs seek recovery of actual damages or $1,000,

whichever is greater, treble damages, costs and reasonable attorneys’ fees, an order enjoining

New GM’s unfair and/or deceptive acts and practices, and any other just and proper relief under

N.H. REV. STAT. § 358-A:10.

                                            COUNT II

                                     FRAUD BY CONCEALMENT

         4794. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4795. This claim is brought on behalf of all New Hampshire residents who are members

of any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque

Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag

Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of this

Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the

conduct of New GM.




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         4796. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         4797. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         4798. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         4799. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         4800. New GM did so in order to falsely assure purchasers, lessees, and owners of

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         4801. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and




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implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         4802. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         4803. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         4804. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         4805. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all




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Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         4806. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         4807. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.

                                            COUNT III

           BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
                       (N.H. REV. STAT. ANN. § 382-A:2-314)

         4808. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4809. This claim is brought only on behalf of New Hampshire residents who are

members of any of the following Subclasses: (i) the Delta Ignition Switch Defect Magnuson-

Moss and Implied Warranty Subclass; (ii) the Low Torque Ignition Switch Defect Magnuson-

Moss and Implied Warranty Subclass; (iii) the Knee-to-Key Camaro Defect Magnuson-Moss and

Implied Warranty Subclass; (iv) the Side Airbag Defect Magnuson-Moss and Implied Warranty

Subclass; and (v) the Power Steering Defect Magnuson-Moss and Implied Warranty Subclass

(collectively for the purposes of this Count, “Plaintiffs”).

         4810. New GM was a merchant with respect to motor vehicles within the meaning of

N.H. REV. STAT. ANN. § 382-A:2-104(1).




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         4811. A warranty that the Defective Vehicles were in merchantable condition was

implied by law under N.H. REV. STAT. ANN. § 382-A:2-314 in the transactions when Plaintiffs

purchased their Defective Vehicles on or after July 10, 2009.

         4812. These vehicles, when sold and at all times thereafter, were not merchantable and

are not fit for the ordinary purpose for which cars are used. Specifically, the Defective Ignition

Switch Vehicles are inherently defective in that there are defects in the ignition switch systems

that cause sudden unintended stalling to occur, with the attendant shut down of power steering

and power brakes and the nondeployment of airbags in the event of a collision.

         4813. New GM was provided notice of these issues by numerous complaints filed

against it, internal investigations, and by numerous individual letters and communications sent

by Plaintiffs before or within a reasonable amount of time after New GM issued the recall and

the allegations of vehicle defects became public.

         4814. As a direct and proximate result of New GM’s breach of the warranties of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                            COUNT IV

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         4815. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4816. This claim is brought only on behalf of New Hampshire residents who are

members of the Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count,

“Plaintiffs”).




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         4817. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         4818. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM ), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         4819. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.

         4820. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         4821. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.




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         4822. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         4823. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         4824. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         4825. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         4826. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC

Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         4827. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness




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bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         4828. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         4829. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         4830. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         4831. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         4832. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable

by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.




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         4833. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         4834. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         4835. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         4836. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.

                                            COUNT V

                                       UNJUST ENRICHMENT

         4837. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4838. This claim is brought on behalf of New Hampshire residents who are members of

any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque

Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag




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Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of this

Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the

conduct of New GM.

         4839. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         4840. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

         4841. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         4842. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         4843. Thus, all Plaintiffs conferred a benefit on New GM.

         4844. It is inequitable for New GM to retain these benefits.

         4845. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         4846. New GM knowingly accepted the benefits of its unjust conduct.

         4847. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.




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                                            COUNT VI

                 SUCCESSOR LIABILITY CLAIM FOR VIOLATIONS OF THE
                    NEW HAMPSHIRE CONSUMER PROTECTION ACT
                         (N.H. REV. STAT. ANN. § 358-A:1, et seq.)

         4848. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4849. This claim is brought on behalf of New Hampshire residents who are members of

the Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         4850. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         4851. Old GM and Plaintiffs are “persons” under the New Hampshire Consumer

Protection Act (“New Hampshire CPA”), N.H. REV. STAT. § 358-A:1.

         4852. Old GM’s actions as set forth herein occurred in the conduct of trade or

commerce as defined under N.H. REV. STAT. § 358-A:1.

         4853. The New Hampshire CPA prohibits a person, in the conduct of any trade or

commerce, from using “any unfair or deceptive act or practice,” including “but … not limited to,

the following: … (V) Representing that goods or services have … characteristics, … uses,

benefits, or quantities that they do not have;” “(VII) Representing that goods or services are of a

particular standard, quality, or grade, … if they are of another;” and “(IX) Advertising goods or

services with intent not to sell them as advertised.” N.H. REV. STAT. § 358-A:2.




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         4854. Old GM participated in unfair or deceptive acts or practices that violated the New

Hampshire CPA as described above and below. By systematically devaluing safety and

concealing a plethora of defects in Old GM vehicles, Old GM engaged in deceptive business

practices prohibited by the CPA, including representing that Defective Ignition Switch Vehicles

have characteristics, uses, benefits, and qualities which they did not; representing that Defective

Ignition Switch Vehicles are of a particular standard, quality, and grade when they were not;

advertising Defective Ignition Switch Vehicles with the intent not to sell or lease them as

advertised; representing that the subject of a transaction involving Defective Ignition Switch

Vehicles had been supplied in accordance with a previous representation when it had not; and

engaging in other unconscionable, false, misleading, or deceptive acts or practices in the conduct

of trade or commerce.

         4855. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         4856. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         4857. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.




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         4858. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the New Hampshire CPA.

         4859. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         4860. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         4861. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         4862. Old GM knew or should have known that its conduct violated the New Hampshire

CPA.

         4863. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         4864. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.




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         4865. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         4866. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         4867. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         4868. As a direct and proximate result of Old GM’s violations of the New Hampshire

CPA, Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has

successor liability.

         4869. Because Old GM’s willful conduct caused injury to Plaintiffs’ property through

violations of the New Hampshire CPA, Plaintiffs seek recovery of actual damages or $1,000,

whichever is greater, treble damages, costs and reasonable attorneys’ fees, an order enjoining

New GM’s unfair and/or deceptive acts and practices, and any other just and proper relief under

N.H. REV. STAT. § 358-A:10.




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                                            COUNT VII

           SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         4870. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4871. This claim is brought on behalf of New Hampshire residents who are members of

the Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         4872. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         4873. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         4874. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         4875. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         4876. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         4877. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material




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to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         4878. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         4879. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         4880. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         4881. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their




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Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         4882. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         4883. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                           COUNT VIII

                SUCCESSOR LIABILITY CLAIM FOR BREACH OF IMPLIED
                        WARRANTY OF MERCHANTABILITY
                         (N.H. REV. STAT. ANN. § 382-A:2-314)

         4884. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4885. This claim is brought on behalf of New Hampshire residents who are members of

the Delta Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor Liability

Subclass (for the purposes of this Count, “Plaintiffs”).

         4886. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         4887. Old GM was a merchant with respect to motor vehicles within the meaning of

N.H. REV. STAT. ANN. § 382-A:2-104(1).




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         4888. A warranty that the Delta Ignition Switch Vehicles were in merchantable

condition was implied by law under N.H. REV. STAT. ANN. § 382-A:2-314 in the transactions

when Plaintiffs purchased their vehicles on or before July 9, 2009.

         4889. The Delta Ignition Switch Vehicles, when sold and at all times thereafter, were

not merchantable and not fit for the ordinary purpose for which cars are used. Specifically, the

Delta Ignition Switch Vehicles were inherently defective in that there were defects in the ignition

switch systems that cause sudden unintended stalling to occur, with the attendant shut down of

power steering and power brakes and the nondeployment of airbags in the event of a collision,

thereby causing an increased likelihood of serious injury or death.

         4890. New GM, as the successor to Old GM, was provided notice of these issues by

numerous complaints filed against it, internal investigations, and by numerous individual letters

and communications sent by Plaintiffs and others before or within a reasonable amount of time

after New GM issued the recall and the allegations of vehicle defects became public.

         4891. As a direct and proximate result of Old GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                          NEW JERSEY

                                             COUNT I

                      VIOLATION OF NEW JERSEY CONSUMER FRAUD ACT
                                (N.J. STAT. ANN. § 56:8-1, et seq.)

         4892. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4893. This claim is brought on behalf of New Jersey residents who are members of any

of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition




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Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         4894. New GM and Plaintiffs are or were “persons” within the meaning of N.J. STAT.

ANN. § 56:8-1(d).

         4895. New GM engaged in “sales” of “merchandise” within the meaning of N.J. STAT.

ANN. § 56:8-1(c), (d).

         4896. The New Jersey Consumer Fraud Act (“New Jersey CFA”) makes unlawful “[t]he

act, use or employment by any person of any unconscionable commercial practice, deception,

fraud, false pretense, false promise, misrepresentation, or the knowing concealment, suppression

or omission of any material fact with the intent that others rely upon such concealment,

suppression or omission, in connection with the sale or advertisement of any merchandise or real

estate, or with the subsequent performance of such person as aforesaid, whether or not any

person has in fact been misled, deceived or damaged thereby…” N.J. STAT. ANN. § 56:8-2.

New GM engaged in unconscionable or deceptive acts or practices that violated the New Jersey

CFA as described above and below, and did so with the intent that Plaintiffs rely upon their acts,

concealment, suppression or omissions.

         4897. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection




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with the sale of the Defective Vehicles. The defects in each vehicle include not only the specific

defect (e.g., the Delta Ignition Switch), but also include the defective process through which

New GM built cars, a process that included cost-cutting, minimizing the importance of safety

issues, siloing, the depletion of resources devoted to recognizing and studying safety issues, the

failure to follow acceptable engineering and inventory processes concerning parts management,

and the failure to follow a proper FMEA process. All of these defective processes would be

material to a reasonable consumer.

         4898. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         4899. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the New Jersey CFA.

         4900. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         4901. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.




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         4902. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         4903. New GM knew or should have known that its conduct violated the New Jersey

CFA.

         4904. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         4905. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles, because New GM:

                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         4906. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         4907. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the



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defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.

         4908. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         4909. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         4910. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By contractually assuming TREAD Act responsibilities with respect to Old GM vehicles, New

GM effectively undertook the role of manufacturer of those vehicles because the TREAD Act on

its face only applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing

duty to all Defective Vehicle owners to refrain from unfair and deceptive acts or practices under

the New Jersey CFA—regardless of when those owners acquired their vehicles.

         4911. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.




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         4912. As a direct and proximate result of New GM’s violations of the New Jersey CFA,

Plaintiffs have suffered injury-in-fact and/or actual damage, as alleged above. As a direct result

of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.

         4913. Plaintiffs are entitled to recover legal and/or equitable relief including an order

enjoining New GM’s unlawful conduct, treble damages, costs and reasonable attorneys’ fees

pursuant to N.J. STAT. ANN. § 56:8-19, and any other just and appropriate relief.

                                             COUNT II

                                     FRAUD BY CONCEALMENT

         4914. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4915. This claim is brought on behalf of all New Jersey residents who are members of

any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque

Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag

Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of this

Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the

conduct of New GM.

         4916. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         4917. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.




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         4918. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         4919. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         4920. New GM did so in order to falsely assure purchasers, lessees, and owners of

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         4921. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.




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         4922. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         4923. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         4924. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         4925. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.




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         4926. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         4927. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.

                                            COUNT III

                BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                             (N.J. STAT. ANN. § 12A:2-314)

         4928. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4929. This claim is brought only on behalf of New Jersey residents who are members of

any of the following Subclasses: (i) the Delta Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (ii) the Low Torque Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (iii) the Knee-to-Key Camaro Defect Magnuson-Moss and Implied

Warranty Subclass; (iv) the Side Airbag Defect Magnuson-Moss and Implied Warranty

Subclass; and (v) the Power Steering Defect Magnuson-Moss and Implied Warranty Subclass

(collectively for the purposes of this Count, “Plaintiffs”).

         4930. New GM was a merchant with respect to motor vehicles within the meaning of

N.J. STAT. ANN. § 12A:2-104(1).

         4931. A warranty that the Defective Vehicles were in merchantable condition was

implied by law under N.J. STAT. ANN. § 12A:2-104(1) in the transactions when Plaintiffs

purchased or leased their Defective Vehicles from New GM on or after July 10, 2009.




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         4932. The Defective Vehicles, when sold and at all times thereafter, were not

merchantable and are not fit for the ordinary purpose for which cars are used.

         4933. The Defective Ignition Switch Vehicles are inherently defective in that there are

defects in the ignition switch systems that cause sudden unintended stalling to occur, with the

attendant shut down of power steering and power brakes and the nondeployment of airbags in the

event of a collision, thereby causing an increased likelihood of serious injury or death.

         4934. The Power Steering Defect Vehicles are inherently defective in that there are

defects in the vehicles that can cause the loss of power steering assist, resulting in an increased

risk of accident.

         4935. The Side Airbag Defect Vehicles are inherently defective in that there are defects

in the wiring harness connectors that can cause the side impact airbags (SIABs) and seatbelt

pretensioners not to deploy in the event of a collision, thereby causing an increased likelihood of

serious injury or death.

         4936. New GM was provided notice of these issues by numerous complaints filed

against it, internal investigations, and by numerous individual letters and communications sent

by Plaintiffs and others before or within a reasonable amount of time after New GM issued the

recall and the allegations of vehicle defects became public.

         4937. As a direct and proximate result of New GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.




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                                             COUNT IV

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         4938. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4939. This claim is brought only on behalf of New Jersey residents who are members of

the Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).

         4940. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         4941. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM ), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         4942. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.




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         4943. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         4944. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         4945. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         4946. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         4947. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         4948. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         4949. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC




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Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         4950. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         4951. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         4952. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         4953. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         4954. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         4955. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable




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by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         4956. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         4957. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         4958. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         4959. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.




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                                            COUNT V

                                    UNJUST ENRICHMENT

         4960. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4961. This claim is brought on behalf of New Jersey residents who are members of any

of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         4962. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         4963. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

         4964. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         4965. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         4966. Thus, all Plaintiffs conferred a benefit on New GM.




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         4967. It is inequitable for New GM to retain these benefits.

         4968. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         4969. New GM knowingly accepted the benefits of its unjust conduct.

         4970. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                            COUNT VI

                 SUCCESSOR LIABILITY CLAIM FOR VIOLATIONS OF THE
                        NEW JERSEY CONSUMER FRAUD ACT
                            (N.J. STAT. ANN. § 56:8-1, et seq.)

         4971. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4972. This claim is brought on behalf of New Jersey residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         4973. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         4974. Old GM and Plaintiffs are or were “persons” within the meaning of N.J. STAT.

ANN. § 56:8-1(d).

         4975. Old GM engaged in “sales” of “merchandise” within the meaning of N.J. STAT.

ANN. § 56:8-1(c), (d).




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         4976. The New Jersey Consumer Fraud Act (“New Jersey CFA”) makes unlawful “[t]he

act, use or employment by any person of any unconscionable commercial practice, deception,

fraud, false pretense, false promise, misrepresentation, or the knowing concealment, suppression

or omission of any material fact with the intent that others rely upon such concealment,

suppression or omission, in connection with the sale or advertisement of any merchandise or real

estate, or with the subsequent performance of such person as aforesaid, whether or not any

person has in fact been misled, deceived or damaged thereby .…” N.J. STAT. ANN. § 56:8-2.

Old GM engaged in unconscionable or deceptive acts or practices that violated the New Jersey

CFA as described above and below, and did so with the intent that Plaintiffs rely upon their acts,

concealment, suppression or omissions.

         4977. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         4978. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         4979. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         4980. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the New Jersey CFA.




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         4981. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         4982. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         4983. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         4984. Old GM knew or should have known that its conduct violated the New Jersey

CFA.

         4985. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         4986. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         4987. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of



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the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         4988. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         4989. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         4990. As a direct and proximate result of Old GM’s violations of the New Jersey CFA,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.

         4991. Plaintiffs are entitled to recover legal and/or equitable relief including an order

enjoining New GM’s unlawful conduct, treble damages, costs and reasonable attorneys’ fees

pursuant to N.J. STAT. ANN. § 56:8-19, and any other just and appropriate relief.

                                            COUNT VII

             SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         4992. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         4993. This claim is brought on behalf of New Jersey residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).




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         4994. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         4995. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         4996. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         4997. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         4998. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         4999. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         5000. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as




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set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         5001. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         5002. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         5003. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         5004. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         5005. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old




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GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                           COUNT VIII

    SUCCESSOR LIABILITY CLAIM FOR BREACH OF IMPLIED WARRANTY OF
                           MERCHANTABILITY
                        (N.J. STAT. ANN. § 12A:2-314)

         5006. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5007. This claim is brought on behalf of New Jersey residents who are members of the

Delta Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor Liability

Subclass (for the purposes of this Count, “Plaintiffs”).

         5008. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         5009. Old GM was a merchant with respect to motor vehicles within the meaning of

N.J. STAT. ANN. § 12A:2-104(1).

         5010. Under N.J. STAT. ANN. § 12A:2-104(1), a warranty that the Delta Ignition Switch

Vehicles were in merchantable condition was implied by law in the transactions when Plaintiffs

purchased or leased their vehicles from Old GM on or before July 9, 2009.

         5011. The Delta Ignition Switch Vehicles, when sold and at all times thereafter, were

not merchantable and not fit for the ordinary purpose for which cars are used. Specifically, the

Delta Ignition Switch Vehicles were inherently defective in that there were defects in the ignition

switch systems that cause sudden unintended stalling to occur, with the attendant shut down of




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power steering and power brakes and the nondeployment of airbags in the event of a collision,

thereby causing an increased likelihood of serious injury or death.

         5012. New GM, as the successor to Old GM, was provided notice of these issues by

numerous complaints filed against it, internal investigations, and by numerous individual letters

and communications sent by Plaintiffs and others before or within a reasonable amount of time

after New GM issued the recall and the allegations of vehicle defects became public.

         5013. As a direct and proximate result of Old GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                         NEW MEXICO

                                             COUNT I

       VIOLATIONS OF THE NEW MEXICO UNFAIR TRADE PRACTICES ACT
                      (N.M. STAT. ANN. §§ 57-12-1, et seq.)

         5014. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5015. This claim is brought on behalf of New Mexico residents who are members of any

of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         5016. New GM and Plaintiffs are or were “person[s]” under the New Mexico Unfair

Trade Practices Act (“New Mexico UTPA”), N.M. STAT. ANN. § 57-12-2.




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         5017. New GM’s actions as set forth herein occurred in the conduct of trade or

commerce as defined under N.M. STAT. ANN. § 57-12-2.

         5018. The New Mexico UTPA makes unlawful “a false or misleading oral or written

statement, visual description or other representation of any kind knowingly made in connection

with the sale, lease, rental or loan of goods or services … by a person in the regular course of the

person’s trade or commerce, that may, tends to or does deceive or mislead any person,” including

but not limited to “failing to state a material fact if doing so deceives or tends to deceive.” N.M.

STAT. ANN. § 57-12-2(D). New GM’s acts and omissions described herein constitute unfair or

deceptive acts or practices under N.M. STAT. ANN. § 57-12-2(D). In addition, New GM’s actions

constitute unconscionable actions under N.M. STAT. ANN. § 57-12-2(E), since they took

advantage of the lack of knowledge, ability, experience, and capacity of Plaintiffs to a grossly

unfair degree.

         5019. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles. The defects in each vehicle include not only the specific

defect (e.g., the Delta Ignition Switch), but also include the defective process through which

New GM built cars, a process that included cost-cutting, minimizing the importance of safety

issues, siloing, the depletion of resources devoted to recognizing and studying safety issues, the

failure to follow acceptable engineering and inventory processes concerning parts management,




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and the failure to follow a proper FMEA process. All of these defective processes would be

material to a reasonable consumer.

         5020. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         5021. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the New Mexico UTPA.

         5022. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         5023. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         5024. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         5025. New GM knew or should have known that its conduct violated the New Mexico

UTPA.




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         5026. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         5027. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles, because New GM:

                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         5028. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         5029. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.



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         5030. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         5031. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         5032. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By contractually assuming TREAD Act responsibilities with respect to Old GM vehicles, New

GM effectively undertook the role of manufacturer of those vehicles because the TREAD Act on

its face only applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing

duty to all Defective Vehicle owners to refrain from unfair and deceptive acts or practices under

the New Mexico UTPA—regardless of when those owners acquired their vehicles.

         5033. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         5034. As a direct and proximate result of New GM’s violations of the New Mexico

UTPA, Plaintiffs have suffered injury-in-fact and/or actual damage, as alleged above. As a

direct result of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost

time required to repair their vehicles.




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         5035. Because New GM’s unconscionable, willful conduct caused actual harm to

Plaintiffs, Plaintiffs seek recovery of actual damages or $100, whichever is greater, discretionary

treble damages, punitive damages, and reasonable attorneys’ fees and costs, as well as all other

proper and just relief available under N.M. STAT. ANN. § 57-12-10.

                                            COUNT II

                                   FRAUD BY CONCEALMENT

         5036. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5037. This claim is brought on behalf of all New Mexico residents who are members of

any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque

Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag

Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of this

Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the

conduct of New GM.

         5038. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         5039. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         5040. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         5041. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.




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         5042. New GM did so in order to falsely assure purchasers, lessees, and owners of

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         5043. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         5044. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         5045. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.




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         5046. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         5047. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         5048. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         5049. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.




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                                            COUNT III

                BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                             (N.M. STAT. ANN. § 55-2-314)

         5050. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5051. This claim is brought only on behalf of New Mexico residents who are members

of any of the following Subclasses: (i) the Delta Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (ii) the Low Torque Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (iii) the Knee-to-Key Camaro Defect Magnuson-Moss and Implied

Warranty Subclass; (iv) the Side Airbag Defect Magnuson-Moss and Implied Warranty

Subclass; and (v) the Power Steering Defect Magnuson-Moss and Implied Warranty Subclass

(collectively for the purposes of this Count, “Plaintiffs”).

         5052. New GM was a merchant with respect to motor vehicles within the meaning of

N.M. STAT. ANN. § 55-2-104(1).

         5053. Under N.M. STAT. ANN. § 55-2-314, a warranty that the Defective Vehicles were

in merchantable condition was implied by law in the transactions when Plaintiffs purchased or

leased their Defective Vehicles from New GM on or after July 10, 2009.

         5054. These vehicles, when sold and at all times thereafter, were not merchantable and

are not fit for the ordinary purpose for which cars are used. Specifically, the Defective Ignition

Switch Vehicles are inherently defective in that there are defects in the ignition switch systems

that cause sudden unintended stalling to occur, with the attendant shut down of power steering

and power brakes and the nondeployment of airbags in the event of a collision.




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         5055. New GM was provided notice of these issues by numerous complaints filed

against it, internal investigations, and by numerous individual letters and communications sent

by Plaintiffs before or within a reasonable amount of time after New GM issued the recall and

the allegations of vehicle defects became public.

         5056. As a direct and proximate result of New GM’s breach of the warranties of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                            COUNT IV

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         5057. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5058. This claim is brought only on behalf of New Mexico residents who are members

of the Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count,

“Plaintiffs”).

         5059. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         5060. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel




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(all of whom were transferred to New GM ), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         5061. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.

         5062. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         5063. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         5064. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         5065. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         5066. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.




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         5067. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         5068. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC

Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         5069. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         5070. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         5071. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         5072. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         5073. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims




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by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         5074. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable

by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         5075. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         5076. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         5077. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         5078. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’




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rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.

                                            COUNT V

                                    UNJUST ENRICHMENT

         5079. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5080. This claim is brought on behalf of New Mexico residents who are members of any

of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         5081. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         5082. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

         5083. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         5084. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs




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of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         5085. Thus, all Plaintiffs conferred a benefit on New GM.

         5086. It is inequitable for New GM to retain these benefits.

         5087. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         5088. New GM knowingly accepted the benefits of its unjust conduct.

         5089. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                            COUNT VI

                 SUCCESSOR LIABILITY CLAIM FOR VIOLATIONS OF THE
                     NEW MEXICO UNFAIR TRADE PRACTICES ACT
                           (N.M. STAT. ANN. §§ 57-12-1, et seq.)

         5090. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5091. This claim is brought on behalf of New Mexico residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         5092. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         5093. Old GM and Plaintiffs are or were “person[s]” under the New Mexico Unfair

Trade Practices Act (“New Mexico UTPA”), N.M. STAT. ANN. § 57-12-2.




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         5094. Old GM’s actions as set forth herein occurred in the conduct of trade or

commerce as defined under N.M. STAT. ANN. § 57-12-2.

         5095. The New Mexico UTPA makes unlawful “a false or misleading oral or written

statement, visual description or other representation of any kind knowingly made in connection

with the sale, lease, rental or loan of goods or services … by a person in the regular course of the

person’s trade or commerce, that may, tends to or does deceive or mislead any person,” including

but not limited to “failing to state a material fact if doing so deceives or tends to deceive.” N.M.

STAT. ANN. § 57-12-2(D). Old GM’s acts and omissions described herein constitute unfair or

deceptive acts or practices under N.M. STAT. ANN. § 57-12-2(D). In addition, Old GM’s actions

constitute unconscionable actions under N.M. STAT. ANN. § 57-12-2(E), since they took

advantage of the lack of knowledge, ability, experience, and capacity of Plaintiffs to a grossly

unfair degree.

         5096. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         5097. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         5098. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.




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         5099. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the New Mexico UTPA.

         5100. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         5101. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         5102. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         5103. Old GM knew or should have known that its conduct violated the New Mexico

UTPA.

         5104. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         5105. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.




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         5106. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         5107. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         5108. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         5109. As a direct and proximate result of Old GM’s violations of the New Mexico

UTPA, Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has

successor liability.

         5110. Because Old GM’s unconscionable, willful conduct caused actual harm to

Plaintiffs, Plaintiffs seek recovery of actual damages or $100, whichever is greater, discretionary

treble damages, punitive damages, and reasonable attorneys’ fees and costs, as well as all other

proper and just relief available under N.M. STAT. ANN. § 57-12-10.




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                                            COUNT VII

           SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         5111. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5112. This claim is brought on behalf of New Mexico residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         5113. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         5114. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         5115. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         5116. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         5117. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         5118. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material




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to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         5119. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         5120. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         5121. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         5122. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their




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Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         5123. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         5124. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                           COUNT VIII

                SUCCESSOR LIABILITY CLAIM FOR BREACH OF IMPLIED
                        WARRANTY OF MERCHANTABILITY
                             (N.M. STAT. ANN. § 55-2-314)

         5125. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5126. This claim is brought on behalf of New Mexico residents who are members of the

Delta Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor Liability

Subclass (for the purposes of this Count, “Plaintiffs”).

         5127. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         5128. Old GM was a merchant with respect to motor vehicles within the meaning of

N.M. STAT. ANN. § 55-2-104(1).




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         5129. Under N.M. STAT. ANN. § 55-2-314, a warranty that the Delta Ignition Switch

Vehicles were in merchantable condition was implied by law in the transactions when Plaintiffs

purchased or leased their vehicles from Old GM on or before July 9, 2009.

         5130. The Delta Ignition Switch Vehicles, when sold and at all times thereafter, were

not merchantable and not fit for the ordinary purpose for which cars are used. Specifically, the

Delta Ignition Switch Vehicles were inherently defective in that there were defects in the ignition

switch systems that cause sudden unintended stalling to occur, with the attendant shut down of

power steering and power brakes and the nondeployment of airbags in the event of a collision,

thereby causing an increased likelihood of serious injury or death.

         5131. New GM, as the successor to Old GM, was provided notice of these issues by

numerous complaints filed against it, internal investigations, and by numerous individual letters

and communications sent by Plaintiffs and others before or within a reasonable amount of time

after New GM issued the recall and the allegations of vehicle defects became public.

         5132. As a direct and proximate result of Old GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                           NEW YORK

                                             COUNT I

                             DECEPTIVE ACTS OR PRACTICES
                               (N.Y. GEN. BUS. LAW §§ 349-350)

         5133. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5134. This claim is brought on behalf of New York residents who are members of any

of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition




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Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         5135. Plaintiffs are “persons” within the meaning of New York General Business Law

(“New York GBL”), N.Y. GEN. BUS. LAW § 349(h).

         5136. New GM is a “person,” “firm,” “corporation,” or “association” within the

meaning of N.Y. GEN. BUS. LAW § 349.

         5137. The New York GBL makes unlawful “[d]eceptive acts or practices in the conduct

of any business, trade or commerce.” N.Y. GEN. BUS. LAW § 349. New GM’s conduct, as

described above and below, constitutes “deceptive acts or practices” within the meaning of the

New York GBL. Furthermore, New GM’s deceptive acts and practices, which were intended to

mislead consumers who were in the process of purchasing and/or leasing the Defective Vehicles,

was conduct directed at consumers.

         5138. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         5139. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles. The defects in each vehicle include not only the specific

defect (e.g., the Delta Ignition Switch), but also include the defective process through which




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New GM built cars, a process that included cost-cutting, minimizing the importance of safety

issues, siloing, the depletion of resources devoted to recognizing and studying safety issues, the

failure to follow acceptable engineering and inventory processes concerning parts management,

and the failure to follow a proper FMEA process. All of these defective processes would be

material to a reasonable consumer.

         5140. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         5141. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the New York GBL.

         5142. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         5143. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         5144. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.




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         5145. New GM knew or should have known that its conduct violated the New York

GBL.

         5146. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         5147. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles, because New GM:

                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         5148. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         5149. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed



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to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.

         5150. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         5151. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         5152. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By contractually assuming TREAD Act responsibilities with respect to Old GM vehicles, New

GM effectively undertook the role of manufacturer of those vehicles because the TREAD Act on

its face only applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing

duty to all Defective Vehicle owners to refrain from unfair and deceptive acts or practices under

the New York GBL—regardless of when those owners acquired their vehicles.

         5153. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         5154. As a direct and proximate result of New GM’s violations of the New York GBL,

Plaintiffs have suffered injury-in-fact and/or actual damage, as alleged above. As a direct result




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of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.

         5155. Because New GM’s willful and knowing conduct caused injury to Plaintiffs,

Plaintiffs seek recovery of actual damages or $50, whichever is greater, discretionary treble

damages up to $1,000, punitive damages, reasonable attorneys’ fees and costs, an order enjoining

New GM’s deceptive conduct, and any other just and proper relief available under N.Y. GEN.

BUS. LAW § 349.

                                            COUNT II

                                     FRAUD BY CONCEALMENT

         5156. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5157. This claim is brought on behalf of New York residents who are members of any

of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         5158. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         5159. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.




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         5160. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         5161. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         5162. New GM did so in order to falsely assure purchasers, lessees, and owners of

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         5163. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.




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         5164. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         5165. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         5166. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         5167. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs, as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.




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         5168. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         5169. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.

                                            COUNT III

                BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                (N.Y. U.C.C. § 2-314)

         5170. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5171. This claim is brought only on behalf of New York residents who are members of

any of the following Subclasses: (i) the Delta Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (ii) the Low Torque Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (iii) the Knee-to-Key Camaro Defect Magnuson-Moss and Implied

Warranty Subclass; (iv) the Side Airbag Defect Magnuson-Moss and Implied Warranty

Subclass; and (v) the Power Steering Defect Magnuson-Moss and Implied Warranty Subclass

(collectively for the purposes of this Count, “Plaintiffs”).

         5172. New GM was a merchant with respect to motor vehicles within the meaning of

N.Y. U.C.C. § 2-104(1).

         5173. Under N.Y. U.C.C. § 2-314, a warranty that the Defective Vehicles were in

merchantable condition was implied by law in the transactions when Plaintiffs purchased or

leased their Defective Vehicles from New GM on or after July 10, 2009.




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         5174. The Defective Vehicles, when sold and at all times thereafter, were not

merchantable and are not fit for the ordinary purpose for which cars are used.

         5175. The Defective Ignition Switch Vehicles are inherently defective in that there are

defects in the ignition switch systems that cause sudden unintended stalling to occur, with the

attendant shut down of power steering and power brakes and the nondeployment of airbags in the

event of a collision, thereby causing an increased likelihood of serious injury or death.

         5176. The Power Steering Defect Vehicles are inherently defective in that there are

defects in the vehicles that can cause the loss of power steering assist, resulting in an increased

risk of accident.

         5177. The Side Airbag Defect Vehicles are inherently defective in that there are defects

in the wiring harness connectors that can cause the side impact airbags (SIABs) and seatbelt

pretensioners not to deploy in the event of a collision, thereby causing an increased likelihood of

serious injury or death.

         5178. New GM was provided notice of these issues by numerous complaints filed

against it, internal investigations, and by numerous individual letters and communications sent

by Plaintiffs and others before or within a reasonable amount of time after New GM issued the

recall and the allegations of vehicle defects became public.

         5179. As a direct and proximate result of New GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.




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                                            COUNT IV

                 VIOLATION OF NEW YORK’S FALSE ADVERTISING ACT
                              (N.Y. GEN. BUS. LAW § 350)

         5180. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5181. This claim is brought on behalf of New York residents who are members of any

of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         5182. New GM was and is engaged in the “conduct of business, trade or commerce”

within the meaning of N.Y. GEN. BUS. LAW § 350.

         5183. N.Y. GEN. BUS. LAW § 350 makes unlawful “[f]alse advertising in the conduct of

any business, trade or commerce.” False advertising includes “advertising, including labeling, of

a commodity … if such advertising is misleading in a material respect,” taking into account “the

extent to which the advertising fails to reveal facts material in light of … representations [made]

with respect to the commodity ….” N.Y. GEN. BUS. LAW § 350-a.

         5184. New GM caused to be made or disseminated through New York, through

advertising, marketing and other publications, statements that were untrue or misleading, and

that were known, or which by the exercise of reasonable care should have been known to New

GM, to be untrue and misleading to consumers including Plaintiffs.




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         5185. New GM has violated § 350 because the misrepresentations and omissions

regarding the defects in the Defective Vehicles, as set forth above, were material and likely to

deceive a reasonable consumer.

         5186. Plaintiffs have suffered an injury, including the loss of money or property, as a

result of New GM’s false advertising. In purchasing or leasing their vehicles, Plaintiffs relied on

the misrepresentations and/or omissions of New GM with respect to the safety and reliability of

the Defective Vehicles. New GM’s representations were false and/or misleading because the

concealed defects and safety issues seriously undermine the value of the Defective Vehicles.

Had Plaintiffs known this, they would not have either not purchased or leased their Defective

Vehicles, or paid less for them.

         5187. Pursuant to N.Y. GEN. BUS. LAW § 350e, Plaintiffs seek monetary relief against

New GM measured as the greater of (a) actual damages in an amount to be determined at trial

and (b) statutory damages in the amount of $500 for each Plaintiff. Because New GM’s conduct

was committed willfully and knowingly, Plaintiffs are entitled to recover three times actual

damages, up to $10,000 each.

         5188. Plaintiffs also seek an order enjoining New GM’s unfair, unlawful, and/or

deceptive practices, attorneys’ fees, and any other just and proper relief available under General

Business Law §§ 349–350.

                                            COUNT V

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         5189. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.




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         5190. This claim is brought only on behalf of New York residents who are members of

the Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).

         5191. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         5192. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM ), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         5193. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.

         5194. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         5195. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.




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         5196. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         5197. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         5198. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         5199. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         5200. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC

Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         5201. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness




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bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         5202. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         5203. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         5204. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         5205. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         5206. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable

by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.




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         5207. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         5208. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         5209. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         5210. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.

                                            COUNT VI

                                       UNJUST ENRICHMENT

         5211. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5212. This claim is brought on behalf of New York residents who are members of any

of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect




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Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         5213. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         5214. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

         5215. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         5216. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         5217. Thus, all Plaintiffs conferred a benefit on New GM.

         5218. It is inequitable for New GM to retain these benefits.

         5219. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         5220. New GM knowingly accepted the benefits of its unjust conduct.

         5221. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.




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                                            COUNT VII

   SUCCESSOR LIABILITY CLAIM FOR VIOLATIONS OF THE NEW YORK GBL
                    (N.Y. GEN. BUS. LAW §§ 349 and 350)

         5222. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5223. This claim is brought on behalf of New York residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         5224. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         5225. Plaintiffs are “persons” within the meaning of New York General Business Law

(“New York GBL”), N.Y. GEN. BUS. LAW § 349(h).

         5226. Old GM is a “person,” “firm,” “corporation,” or “association” within the meaning

of N.Y. GEN. BUS. LAW § 349.

         5227. The New York GBL makes unlawful “[d]eceptive acts or practices in the conduct

of any business, trade or commerce.” N.Y. GEN. BUS. LAW § 349. Old GM’s conduct, as

described above and below, constitutes “deceptive acts or practices” within the meaning of the

New York GBL. Furthermore, Old GM’s deceptive acts and practices, which were intended to

mislead consumers who were in the process of purchasing and/or leasing the Defective Vehicles,

was conduct directed at consumers.




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         5228. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         5229. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         5230. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         5231. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the New York GBL.

         5232. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         5233. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         5234. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         5235. Old GM knew or should have known that its conduct violated the New York

GBL.




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         5236. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         5237. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         5238. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         5239. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         5240. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.



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         5241. As a direct and proximate result of Old GM’s violations of the New York GBL,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.

         5242. Because New GM’s willful and knowing conduct caused injury to Plaintiffs,

Plaintiffs seek recovery of actual damages or $50, whichever is greater, discretionary treble

damages up to $1,000, punitive damages, reasonable attorneys’ fees and costs, an order enjoining

New GM’s deceptive conduct, and any other just and proper relief available under N.Y. GEN.

BUS. LAW § 349.

                                           COUNT VIII

                      SUCCESSOR LIABLITY CLAIM FOR VIOLATION OF
                          NEW YORK’S FALSE ADVERTISING ACT
                                (N.Y. GEN. BUS. LAW § 350)

         5243. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5244. This claim is brought on behalf of New York residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         5245. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         5246. Old GM was engaged in the “conduct of business, trade or commerce” within the

meaning of N.Y. GEN. BUS. LAW § 350.




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         5247. N.Y. GEN. BUS. LAW § 350 makes unlawful “[f]alse advertising in the conduct of

any business, trade or commerce.” False advertising includes “advertising, including labeling, of

a commodity … if such advertising is misleading in a material respect,” taking into account “the

extent to which the advertising fails to reveal facts material in light of … representations [made]

with respect to the commodity ….” N.Y. GEN. BUS. LAW § 350-a.

         5248. Old GM caused to be made or disseminated through New York, through

advertising, marketing and other publications, statements that were untrue or misleading, and

that were known, or which by the exercise of reasonable care should have been known to Old

GM, to be untrue and misleading to consumers and Plaintiffs.

         5249. Old GM violated § 350 because the misrepresentations and omissions regarding

the defects, and Old GM’s systemic devaluation of safety, as set forth above, were material and

likely to deceive a reasonable consumer.

         5250. Plaintiffs have suffered an injury, including the loss of money or property, as a

result of Old GM’s false advertising. In purchasing or leasing their vehicles, Plaintiffs relied on

the misrepresentations and/or omissions of Old GM with respect to the safety and reliability of

the Delta Ignition Switch Vehicles. Old GM’s representations were false and/or misleading

because the concealed defects and safety issues seriously undermine the value of the Delta

Ignition Switch Vehicles. Had Plaintiffs known this, they would not have purchased or leased

their Delta Ignition Switch Vehicles and/or paid as much for them.

         5251. Pursuant to N.Y. GEN. BUS. LAW § 350e, Plaintiffs seek monetary relief against

New GM (as the successor to Old GM) measured as the greater of (a) actual damages in an

amount to be determined at trial and (b) statutory damages in the amount of $500 for each




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Plaintiff. Because Old GM’s conduct was committed willfully and knowingly, Plaintiffs are

entitled to recover three times actual damages, up to $10,000 per Plaintiff.

         5252. Plaintiffs also seek an order enjoining New GM’s unfair, unlawful, and/or

deceptive practices, attorneys’ fees, and any other just and proper relief available under General

Business Law §§ 349–350.

                                            COUNT IX

           SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         5253. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5254. This claim is brought on behalf of New York residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         5255. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         5256. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         5257. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         5258. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.




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         5259. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         5260. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         5261. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         5262. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         5263. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.




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Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         5264. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         5265. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         5266. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                            COUNT X

                SUCCESSOR LIABILITY CLAIM FOR BREACH OF IMPLIED
                        WARRANTY OF MERCHANTABILITY
                                (N.Y. U.C.C. § 2-314)

         5267. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5268. This claim is brought on behalf of New York residents who are members of the

Delta Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor Liability

Subclass (for the purposes of this Count, “Plaintiffs”).




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         5269. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         5270. Old GM was a merchant with respect to motor vehicles within the meaning of

N.Y. U.C.C. § 2-104(1).

         5271. Under N.Y. U.C.C. § 2-314, a warranty that the Delta Ignition Switch Vehicles

were in merchantable condition was implied by law in the transactions when Plaintiffs purchased

or leased their vehicles from Old GM on or before July 9, 2009.

         5272. The Delta Ignition Switch Vehicles, when sold and at all times thereafter, were

not merchantable and not fit for the ordinary purpose for which cars are used. Specifically, the

Delta Ignition Switch Vehicles were inherently defective in that there were defects in the ignition

switch systems that cause sudden unintended stalling to occur, with the attendant shut down of

power steering and power brakes and the nondeployment of airbags in the event of a collision,

thereby causing an increased likelihood of serious injury or death.

         5273. New GM, as the successor to Old GM, was provided notice of these issues by

numerous complaints filed against it, internal investigations, and by numerous individual letters

and communications sent by Plaintiffs and others before or within a reasonable amount of time

after New GM issued the recall and the allegations of vehicle defects became public.

         5274. As a direct and proximate result of Old GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.




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                                       NORTH CAROLINA

                                              COUNT I

                       VIOLATION OF NORTH CAROLINA’S UNFAIR
                       AND DECEPTIVE ACTS AND PRACTICES ACT
                             (N.C. GEN. STAT. § 75-1.1, et seq.)

          5275. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

          5276. This claim is brought on behalf of North Carolina residents who are members of

any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque

Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag

Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of this

Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the

conduct of New GM.

          5277. New GM engaged in “commerce” within the meaning of N.C. GEN. STAT. § 75-

1.1(b).

          5278. The North Carolina Act broadly prohibits “unfair or deceptive acts or practices in

or affecting commerce.” N.C. GEN. STAT. § 75-1.1(a). As alleged above and below, New GM

willfully committed unfair or deceptive acts or practices in violation of the North Carolina Act.

          5279. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

          5280. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material




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fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles. The defects in each vehicle include not only the specific

defect (e.g., the Delta Ignition Switch), but also include the defective process through which

New GM built cars, a process that included cost-cutting, minimizing the importance of safety

issues, siloing, the depletion of resources devoted to recognizing and studying safety issues, the

failure to follow acceptable engineering and inventory processes concerning parts management,

and the failure to follow a proper FMEA process. All of these defective processes would be

material to a reasonable consumer.

         5281. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         5282. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the North Carolina Act.

         5283. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.




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         5284. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         5285. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         5286. New GM knew or should have known that its conduct violated the North Carolina

Act.

         5287. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         5288. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles, because New GM:

                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         5289. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.



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         5290. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.

         5291. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         5292. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         5293. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By contractually assuming TREAD Act responsibilities with respect to Old GM vehicles, New

GM effectively undertook the role of manufacturer of those vehicles because the TREAD Act on

its face only applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing

duty to all Defective Vehicle owners to refrain from unfair and deceptive acts or practices under

the North Carolina Act—regardless of when those owners acquired their vehicles.

         5294. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta




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Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         5295. As a direct and proximate result of New GM’s violations of the North Carolina

Act, Plaintiffs have suffered injury-in-fact and/or actual damage, as alleged above. As a direct

result of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.

         5296. Plaintiffs seek an order for treble their actual damages, an order enjoining

New GM’s unlawful acts, costs of Court, attorney’s fees, and any other just and proper relief

available under the North Carolina Act, N.C. GEN. STAT. § 75-16.

                                            COUNT II

                                     FRAUD BY CONCEALMENT

         5297. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5298. This claim is brought on behalf of North Carolina residents who are members of

any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque

Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag

Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of this

Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the

conduct of New GM.

         5299. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.




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         5300. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         5301. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         5302. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         5303. New GM did so in order to falsely assure purchasers, lessees, and owners of

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         5304. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.




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         5305. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         5306. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         5307. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         5308. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs, as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.




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         5309. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         5310. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.

                                            COUNT III

                BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                             (N.C. GEN. STAT. § 25-2-314)

         5311. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5312. This claim is brought only on behalf of North Carolina residents who are

members of any of the following Subclasses: (i) the Delta Ignition Switch Defect Magnuson-

Moss and Implied Warranty Subclass; (ii) the Low Torque Ignition Switch Defect Magnuson-

Moss and Implied Warranty Subclass; (iii) the Knee-to-Key Camaro Defect Magnuson-Moss and

Implied Warranty Subclass; (iv) the Side Airbag Defect Magnuson-Moss and Implied Warranty

Subclass; and (v) the Power Steering Defect Magnuson-Moss and Implied Warranty Subclass

(collectively for the purposes of this Count, “Plaintiffs”)..

         5313. New GM was a merchant with respect to motor vehicles within the meaning of

N.C. GEN. STAT. § 25-2-104(1).

         5314. Under N.C. GEN. STAT. § 25-2-314, a warranty that the Defective Vehicles were

in merchantable condition was implied by law in the transactions when Plaintiffs purchased or

leased their Defective Vehicles from New GM on or after July 10, 2009.




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         5315. The Defective Vehicles, when sold and at all times thereafter, were not

merchantable and are not fit for the ordinary purpose for which cars are used.

         5316. The Defective Ignition Switch Vehicles are inherently defective in that there are

defects in the ignition switch systems that cause sudden unintended stalling to occur, with the

attendant shut down of power steering and power brakes and the nondeployment of airbags in the

event of a collision, thereby causing an increased likelihood of serious injury or death.

         5317. The Power Steering Defect Vehicles are inherently defective in that there are

defects in the vehicles that can cause the loss of power steering assist, resulting in an increased

risk of accident.

         5318. The Side Airbag Defect Vehicles are inherently defective in that there are defects

in the wiring harness connectors that can cause the side impact airbags (SIABs) and seatbelt

pretensioners not to deploy in the event of a collision, thereby causing an increased likelihood of

serious injury or death.

         5319. New GM was provided notice of these issues by numerous complaints filed

against it, internal investigations, and by numerous individual letters and communications sent

by Plaintiffs and others before or within a reasonable amount of time after New GM issued the

recall and the allegations of vehicle defects became public.

         5320. As a direct and proximate result of New GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.




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                                             COUNT IV

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         5321. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5322. This claim is brought only on behalf of North Carolina residents who are

members of the Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count,

“Plaintiffs”).

         5323. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         5324. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM ), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         5325. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.




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         5326. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         5327. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         5328. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         5329. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         5330. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         5331. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         5332. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC




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Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         5333. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         5334. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         5335. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         5336. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         5337. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         5338. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable




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by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         5339. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         5340. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         5341. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         5342. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.




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                                            COUNT V

                                    UNJUST ENRICHMENT

         5343. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5344. This claim is brought on behalf of North Carolina residents who are members of

any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque

Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag

Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of this

Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the

conduct of New GM.

         5345. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         5346. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

         5347. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         5348. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         5349. Thus, all Plaintiffs conferred a benefit on New GM.




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          5350. It is inequitable for New GM to retain these benefits.

          5351. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

          5352. New GM knowingly accepted the benefits of its unjust conduct.

          5353. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                             COUNT VI

           SUCCESSOR LIABILITY CLAIM FOR VIOLATIONS OF THE NORTH
               CAROLINA UNFAIR AND DECEPTIVE PRACTICES ACT
                          (N.C. GEN. STAT. § 75-1.1, et seq.)

          5354. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

          5355. This claim is brought on behalf of North Carolina residents who are members of

the Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

          5356. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

          5357. Old GM engaged in “commerce” within the meaning of N.C. GEN. STAT. § 75-

1.1(b).

          5358. The North Carolina Act broadly prohibits “unfair or deceptive acts or practices in

or affecting commerce.” N.C. GEN. STAT. § 75-1.1(a). As alleged above and below, Old GM

willfully committed unfair or deceptive acts or practices in violation of the North Carolina Act.




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         5359. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         5360. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         5361. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         5362. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the North Carolina Act.

         5363. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         5364. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         5365. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         5366. Old GM knew or should have known that its conduct violated the North Carolina

Act.




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         5367. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         5368. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         5369. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         5370. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         5371. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.



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         5372. As a direct and proximate result of Old GM’s violations of the North Carolina

Act, Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has

successor liability.

         5373. Plaintiffs seek an order for treble their actual damages, an order enjoining

New GM’s unlawful acts, costs of Court, attorney’s fees, and any other just and proper relief

available under the North Carolina Act, N.C. GEN. STAT. § 75-16.

                                            COUNT VII

           SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         5374. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5375. This claim is brought on behalf of North Carolina residents who are members of

the Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         5376. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         5377. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         5378. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.




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         5379. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         5380. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         5381. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         5382. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         5383. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.




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         5384. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         5385. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         5386. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         5387. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                           COUNT VIII

                SUCCESSOR LIABILITY CLAIM FOR BREACH OF IMPLIED
                        WARRANTY OF MERCHANTABILITY
                             (N.C. GEN. STAT. § 25-2-314)

         5388. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.




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         5389. This claim is brought on behalf of North Carolina residents who are members of

the Delta Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor Liability

Subclass (for the purposes of this Count, “Plaintiffs”).

         5390. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         5391. Old GM was a merchant with respect to motor vehicles within the meaning of

N.C. GEN. STAT. § 25-2-104(1).

         5392. Under N.C. GEN. STAT. § 25-2-314, a warranty that the Delta Ignition Switch

Vehicles were in merchantable condition was implied by law in the transactions when Plaintiffs

purchased or leased their vehicles from Old GM on or before July 9, 2009.

         5393. The Delta Ignition Switch Vehicles, when sold and at all times thereafter, were

not merchantable and not fit for the ordinary purpose for which cars are used. Specifically, the

Delta Ignition Switch Vehicles were inherently defective in that there were defects in the ignition

switch systems that cause sudden unintended stalling to occur, with the attendant shut down of

power steering and power brakes and the nondeployment of airbags in the event of a collision,

thereby causing an increased likelihood of serious injury or death.

         5394. New GM, as the successor to Old GM, was provided notice of these issues by

numerous complaints filed against it, internal investigations, and by numerous individual letters

and communications sent by Plaintiffs and others before or within a reasonable amount of time

after New GM issued the recall and the allegations of vehicle defects became public.




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         5395. As a direct and proximate result of Old GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                        NORTH DAKOTA

                                             COUNT I

            VIOLATION OF THE NORTH DAKOTA CONSUMER FRAUD ACT
                           (N.D. CENT. CODE § 51-15-02)

         5396. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5397. This claim is brought on behalf of North Dakota residents who are members of

any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque

Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag

Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of this

Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the

conduct of New GM.

         5398. New GM and Plaintiffs are “persons” within the meaning of N.D. CENT. CODE §

51-15-02(4).

         5399. New GM engaged in the “sale” of “merchandise” within the meaning of N.D.

CENT. CODE § 51-15-02(3), (5).

         5400. The North Dakota Consumer Fraud Act (“North Dakota CFA”) makes unlawful

“[t]he act, use, or employment by any person of any deceptive act or practice, fraud, false

pretense, false promise, or misrepresentation, with the intent that others rely thereon in

connection with the sale or advertisement of any merchandise….” N.D. CENT. CODE § 51-15-

02. As set forth above and below, New GM committed deceptive acts or practices, with the




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intent that Plaintiffs rely thereon in connection with their purchase or lease of the Defective

Vehicles.

         5401. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         5402. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles. The defects in each vehicle include not only the specific

defect (e.g., the Delta Ignition Switch), but also include the defective process through which

New GM built cars, a process that included cost-cutting, minimizing the importance of safety

issues, siloing, the depletion of resources devoted to recognizing and studying safety issues, the

failure to follow acceptable engineering and inventory processes concerning parts management,

and the failure to follow a proper FMEA process. All of these defective processes would be

material to a reasonable consumer.

         5403. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety




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issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         5404. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the North Dakota CFA.

         5405. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         5406. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         5407. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         5408. New GM knew or should have known that its conduct violated the North Dakota

CFA.

         5409. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         5410. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles, because New GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Defective Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Defective Vehicles, while purposefully
                        withholding material facts from Plaintiffs that contradicted
                        these representations; and/or




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                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         5411. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         5412. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.

         5413. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         5414. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.




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         5415. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By contractually assuming TREAD Act responsibilities with respect to Old GM vehicles, New

GM effectively undertook the role of manufacturer of those vehicles because the TREAD Act on

its face only applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing

duty to all Defective Vehicle owners to refrain from unfair and deceptive acts or practices under

the North Dakota CFA—regardless of when those owners acquired their vehicles.

         5416. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         5417. As a direct and proximate result of New GM’s violations of the North Dakota

CFA, Plaintiffs have suffered injury-in-fact and/or actual damage, as alleged above. As a direct

result of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.

         5418. Further, New GM knowingly committed the conduct described above, and thus,

under N.D. CENT. CODE § 51-15-09, New GM is liable to Plaintiffs for treble damages in

amounts to be proven at trial, as well as attorneys’ fees, costs, and disbursements. Plaintiffs

further seek an order enjoining New GM’s unfair and/or deceptive acts or practices, and other

just and proper available relief under the North Dakota CFA.




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                                            COUNT II

                                   FRAUD BY CONCEALMENT

         5419. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5420. This claim is brought on behalf of North Dakota residents who are members of

any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque

Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag

Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of this

Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the

conduct of New GM.

         5421. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         5422. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         5423. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         5424. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         5425. New GM did so in order to falsely assure purchasers, lessees, and owners of

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to




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consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         5426. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         5427. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         5428. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         5429. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other




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affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         5430. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs, as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         5431. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         5432. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.




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                                            COUNT III

                BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                             (N.D. CENT. CODE § 41-02-31)

         5433. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5434. This claim is brought only on behalf of North Dakota residents who are members

of any of the following Subclasses: (i) the Delta Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (ii) the Low Torque Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (iii) the Knee-to-Key Camaro Defect Magnuson-Moss and Implied

Warranty Subclass; (iv) the Side Airbag Defect Magnuson-Moss and Implied Warranty

Subclass; and (v) the Power Steering Defect Magnuson-Moss and Implied Warranty Subclass

(collectively for the purposes of this Count, “Plaintiffs”).

         5435. New GM was a merchant with respect to motor vehicles.

         5436. A warranty that the Defective Vehicles were in merchantable condition was

implied by law in the transactions when Plaintiffs purchased or leased their Defective Vehicles

from New GM on or after July 10, 2009.

         5437. The Defective Vehicles, when sold and at all times thereafter, were not

merchantable and are not fit for the ordinary purpose for which cars are used.

         5438. The Defective Ignition Switch Vehicles are inherently defective in that there are

defects in the ignition switch systems that cause sudden unintended stalling to occur, with the

attendant shut down of power steering and power brakes and the nondeployment of airbags in the

event of a collision, thereby causing an increased likelihood of serious injury or death.




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         5439. The Power Steering Defect Vehicles are inherently defective in that there are

defects in the vehicles that can cause the loss of power steering assist, resulting in an increased

risk of accident.

         5440. The Side Airbag Defect Vehicles are inherently defective in that there are defects

in the wiring harness connectors that can cause the side impact airbags (SIABs) and seatbelt

pretensioners not to deploy in the event of a collision, thereby causing an increased likelihood of

serious injury or death.

         5441. New GM was provided notice of these issues by numerous complaints filed

against it, internal investigations, and by numerous individual letters and communications sent

by Plaintiffs and others before or within a reasonable amount of time after New GM issued the

recall and the allegations of vehicle defects became public.

         5442. As a direct and proximate result of New GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                            COUNT IV

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         5443. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5444. This claim is brought only on behalf of North Dakota residents who are members

of the Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count,

“Plaintiffs”).




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         5445. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         5446. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM ), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         5447. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.

         5448. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         5449. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.




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         5450. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         5451. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         5452. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         5453. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         5454. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC

Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         5455. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness




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bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         5456. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         5457. Had Plaintifs filed timely claims before the Bar Date, the claims would have been

allowed.

         5458. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         5459. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         5460. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable

by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.




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         5461. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         5462. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         5463. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         5464. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.

                                            COUNT V

                                       UNJUST ENRICHMENT

         5465. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5466. This claim is brought on behalf of North Dakota residents who are members of

any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque

Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag




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Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of this

Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the

conduct of New GM.

         5467. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         5468. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

         5469. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         5470. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         5471. Thus, all Plaintiffs conferred a benefit on New GM.

         5472. It is inequitable for New GM to retain these benefits.

         5473. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         5474. New GM knowingly accepted the benefits of its unjust conduct.

         5475. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.




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                                            COUNT VI

                 SUCCESSOR LIABILITY CLAIM FOR VIOLATIONS OF THE
                       NORTH DAKOTA CONSUMER FRAUD ACT
                              (N.D. CENT. CODE § 51-15-02)

         5476. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5477. This claim is brought on behalf of North Dakota residents who are members of

the Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         5478. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         5479. Old GM and Plaintiffs are “persons” within the meaning of N.D. CENT. CODE §

51-15-02(4).

         5480. Old GM engaged in the “sale” of “merchandise” within the meaning of N.D.

CENT. CODE § 51-15-02(3), (5).

         5481. The North Dakota Consumer Fraud Act (“North Dakota CFA”) makes unlawful

“[t]he act, use, or employment by any person of any deceptive act or practice, fraud, false

pretense, false promise, or misrepresentation, with the intent that others rely thereon in

connection with the sale or advertisement of any merchandise….” N.D. CENT. CODE § 51-15-02.

As set forth above and below, Old GM committed deceptive acts or practices, with the intent that

Plaintiffs rely thereon in connection with their purchase or lease of the Defective Vehicles.




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         5482. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         5483. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         5484. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         5485. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the North Dakota CFA.

         5486. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         5487. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         5488. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         5489. Old GM knew or should have known that its conduct violated the North Dakota

CFA.




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         5490. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         5491. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         5492. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         5493. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         5494. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.



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         5495. As a direct and proximate result of Old GM’s violations of the North Dakota

CFA, Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has

successor liability.

         5496. Further, Old GM knowingly committed the conduct described above, and thus,

under N.D. CENT. CODE § 51-15-09, New GM is liable to Plaintiffs for treble damages in

amounts to be proven at trial, as well as attorneys’ fees, costs, and disbursements. Plaintiffs

further seek an order enjoining New GM’s unfair and/or deceptive acts or practices, and other

just and proper available relief under the North Dakota CFA.

                                            COUNT VII

           SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         5497. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5498. This claim is brought on behalf of North Dakota residents who are members of

the Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         5499. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         5500. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         5501. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.




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         5502. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         5503. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         5504. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         5505. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         5506. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.




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         5507. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         5508. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         5509. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         5510. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                           COUNT VIII

                SUCCESSOR LIABILITY CLAIM FOR BREACH OF IMPLIED
                        WARRANTY OF MERCHANTABILITY
                             (N.D. CENT. CODE § 41-02-31)

         5511. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.




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         5512. This claim is brought on behalf of North Dakota residents who are members of

the Delta Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor Liability

Subclass (for the purposes of this Count, “Plaintiffs”).

         5513. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         5514. Old GM was a merchant with respect to motor vehicles.

         5515. A warranty that the Delta Ignition Switch Vehicles were in merchantable

condition was implied by law in the transactions when Plaintiffs purchased or leased their

vehicles from Old GM on or before July 9, 2009.

         5516. The Delta Ignition Switch Vehicles, when sold and at all times thereafter, were

not merchantable and not fit for the ordinary purpose for which cars are used. Specifically, the

Delta Ignition Switch Vehicles were inherently defective in that there were defects in the ignition

switch systems that cause sudden unintended stalling to occur, with the attendant shut down of

power steering and power brakes and the nondeployment of airbags in the event of a collision,

thereby causing an increased likelihood of serious injury or death.

         5517. New GM, as the successor to Old GM, was provided notice of these issues by

numerous complaints filed against it, internal investigations, and by numerous individual letters

and communications sent by Plaintiffs and others before or within a reasonable amount of time

after New GM issued the recall and the allegations of vehicle defects became public.

         5518. As a direct and proximate result of Old GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.




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                                                OHIO

                                              COUNT I

                VIOLATION OF OHIO CONSUMER SALES PRACTICES ACT
                        (OHIO REV. CODE ANN. § 1345.01, et seq.)

         5519. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5520. This claim is brought on behalf of Ohio residents who are members of any of the

following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         5521. New GM is a “supplier” as that term is defined in OHIO REV. CODE § 1345.01(C).

         5522. Plaintiffs are “consumers” as that term is defined in OHIO REV. CODE

§ 1345.01(D), and their purchases and leases of the Defective Vehicles are “consumer

transactions” within the meaning of OHIO REV. CODE § 1345.01(A).

         5523. The Ohio Consumer Sales Practices Act (“Ohio CSPA”), OHIO REV. CODE

§ 1345.02, broadly prohibits unfair or deceptive acts or practices in connection with a consumer

transaction. Specifically, and without limitation of the broad prohibition, the Act prohibits

suppliers from representing (i) that goods have characteristics or uses or benefits which they do

not have; (ii) that their goods are of a particular quality or grade they are not; and (iii) the subject

of a consumer transaction has been supplied in accordance with a previous representation, if it




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has not. Id. New GM’s conduct as alleged above and below constitutes unfair and/or deceptive

consumer sales practices in violation of OHIO REV. CODE § 1345.02.

         5524. By systematically devaluing safety and concealing a plethora of defects in New

GM and Old GM vehicles, New GM engaged in deceptive business practices prohibited by the

Ohio CSPA, including: representing that Defective Vehicles have characteristics, uses, benefits,

and qualities which they do not have; representing that Defective Vehicles are of a particular

standard, quality, and grade when they are not; representing that the subject of a transaction

involving Defective Vehicles has been supplied in accordance with a previous representation

when it has not; and engaging in other unfair or deceptive acts or practices. The defects in each

vehicle include not only the specific defect (e.g., the Delta Ignition Switch), but also include the

defective process through which New GM built cars, a process that included cost-cutting,

minimizing the importance of safety issues, siloing, the depletion of resources devoted to

recognizing and studying safety issues, the failure to follow acceptable engineering and

inventory processes concerning parts management, and the failure to follow a proper FMEA

process. All of these defective processes would be material to a reasonable consumer.

         5525. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         5526. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles.




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         5527. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         5528. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Ohio CSPA.

         5529. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         5530. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         5531. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         5532. New GM knew or should have known that its conduct violated the Ohio CSPA.

         5533. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         5534. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles, because New GM:




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                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         5535. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         5536. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.

         5537. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         5538. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased



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New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         5539. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By contractually assuming TREAD Act responsibilities with respect to Old GM vehicles, New

GM effectively undertook the role of manufacturer of those vehicles because the TREAD Act on

its face only applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing

duty to all Defective Vehicle owners to refrain from unfair and deceptive acts or practices under

the Ohio CSPA—regardless of when those owners acquired their vehicles.

         5540. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         5541. As a direct and proximate result of New GM’s violations of the Ohio CSPA,

Plaintiffs have suffered injury-in-fact and/or actual damage, as alleged above. As a direct result

of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.

         5542. Plaintiffs seek punitive damages against New GM because New GM’s conduct

was egregious. New GM misrepresented the safety and reliability of millions of vehicles,

concealed myriad defects in millions of New GM vehicles and Old GM vehicles and the

systemic safety issues plaguing New GM, deceived Plaintiffs on life-or-death matters, and




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concealed material facts that only New GM knew, all to avoid the expense and public relations

nightmare of correcting the serious flaw in its culture and in millions of vehicles. New GM’s

egregious conduct warrants punitive damages.

         5543. Plaintiffs specifically do not allege herein a claim for violation of OHIO REV.

CODE § 1345.72.

         5544. New GM was on notice pursuant to OHIO REV. CODE § 1345.09(B) that its actions

constituted unfair, deceptive, and unconscionable practices by, for example, Mason v. Mercedes-

Benz USA, LLC, 2005 Ohio App. LEXIS 3911, at *33 (S.D. Ohio Aug. 18, 2005), and Lilly v.

Hewlett-Packard Co., 2006 U.S. Dist. LEXIS 22114, at *17-18 (S.D. Ohio Apr. 21, 2006).

Further, New GM’s conduct as alleged above constitutes an act or practice previously declared to

be deceptive or unconscionable by rule adopted under division (B)(2) of section 1345.05 and

previously determined by Ohio courts to violate Ohio’s Consumer Sales Practices Act and was

committed after the decisions containing these determinations were made available for public

inspection under division (A)(3) of O.R.C. § 1345.05. The applicable rule and Ohio court

opinions include, but are not limited to: OAC 109:4-3-16; Mason v. Mercedes-Benz USA, LLC,

2005 Ohio 4296 (Ohio Ct. App. 2005); Khouri v. Lewis, Cuyahoga Common Pleas No. 342098

(2001); State ex rel. Montgomery v. Canterbury, Franklin App. No. 98CVH054085 (2000); and

Fribourg v. Vandemark (July 26, 1999), Clermont App. No. CA99-02-017, unreported (PIF #

10001874).

         5545. As a result of the foregoing wrongful conduct of New GM, Plaintiffs have been

damaged in an amount to be proven at trial, and seek all just and proper remedies, including, but

not limited to, actual and statutory damages, an order enjoining New GM’s deceptive and unfair




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conduct, treble damages, court costs and reasonable attorneys’ fees, pursuant to OHIO REV. CODE

§ 1345.09, et seq.

                                            COUNT II

                                   FRAUD BY CONCEALMENT

         5546. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5547. This claim is brought on behalf of Ohio residents who are members of any of the

following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         5548. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         5549. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         5550. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         5551. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         5552. New GM did so in order to falsely assure purchasers, lessees, and owners of

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and




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to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         5553. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         5554. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         5555. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         5556. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have




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continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         5557. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs, as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         5558. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         5559. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.




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                                            COUNT III

                               IMPLIED WARRANTY IN TORT

         5560. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5561. This claim is brought only on behalf of Ohio residents who are members of any of

the following Subclasses: (i) the Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Subclass; (ii) the Low Torque Ignition Switch Defect Magnuson-Moss and Implied

Warranty Subclass; (iii) the Knee-to-Key Camaro Defect Magnuson-Moss and Implied Warranty

Subclass; (iv) the Side Airbag Defect Magnuson-Moss and Implied Warranty Subclass; and (v)

the Power Steering Defect Magnuson-Moss and Implied Warranty Subclass (collectively for the

purposes of this Count, “Plaintiffs”).

         5562. The Defective Vehicles, when sold and at all times thereafter, were not

merchantable and are not fit for the ordinary purpose for which cars are used.

         5563. The Defective Ignition Switch Vehicles are inherently defective in that there are

defects in the ignition switch systems that cause sudden unintended stalling to occur, with the

attendant shut down of power steering and power brakes and the nondeployment of airbags in the

event of a collision, thereby causing an increased likelihood of serious injury or death.

         5564. The Power Steering Defect Vehicles are inherently defective in that there are

defects in the vehicles that can cause the loss of power steering assist, resulting in an increased

risk of accident.

         5565. The Side Airbag Defect Vehicles are inherently defective in that there are defects

in the wiring harness connectors that can cause the side impact airbags (SIABs) and seatbelt




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pretensioners not to deploy in the event of a collision, thereby causing an increased likelihood of

serious injury or death.

         5566. The design, manufacturing, and/or assembly defects existed at the time the

Defective Vehicles containing the defective ignition systems left the possession or control of

New GM.

         5567. Based upon the dangerous product defects, New GM failed to meet the

expectations of a reasonable consumer. The Defective Ignition Switch Vehicles failed their

ordinary, intended use because the ignition systems in the vehicles do not function as a

reasonable consumer would expect. Moreover, the defects present a serious danger to Plaintiffs

that cannot be eliminated without significant cost.

         5568. New GM was provided notice of these issues by numerous complaints filed

against it, internal investigations, and by numerous individual letters and communications sent

by Plaintiffs and others before or within a reasonable amount of time after New GM issued the

recall and the allegations of vehicle defects became public.

         5569. As a direct and proximate result of New GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                            COUNT IV

                                          NEGLIGENCE

         5570. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5571. Plaintiffs bring this Count on behalf of Ohio residents who are members of any of

the following Classes: (i) Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect




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Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). All claims in this Count are Independent Claims, and challenge only the conduct of

New GM.

         5572. New GM has designed, manufactured and/ or “certified” and sold or otherwise

placed in the stream of commerce Defective Vehicles as New GM or New GM Certified Pre-

Owned vehicles, as set forth above.

         5573. New GM had a duty to design, manufacture, and/or “certify” only a product that

would be safe for its intended and foreseeable uses and users, including the use to which its

products were put by Plaintiffs. New GM breached its duties to Plaintiffs because it was

negligent in the design, development, manufacture, and testing of the Defective Vehicles it

manufactured and/or sold as Certified Pre-Owned vehicles on or after July 10, 2009 (hereinafter,

in this Count, “Defective Vehicles”), and New GM is responsible for this negligence.

         5574. New GM was negligent in the design, development, manufacture, testing, and/or

“certification” of the Defective Vehicles because it knew, or in the exercise of reasonable care

should have known, that the vehicles equipped with defective ignition systems, defective wiring

harnesses controlling side airbags and/or defective power steering pose an unreasonable risk of

death or serious bodily injury to Plaintiffs, passengers, other motorists, pedestrians, and the

public at large, because they are susceptible to incidents in which brakes, power steering, seatbelt

pretensioners and/or airbags are rendered inoperable.

         5575. New GM thus “failed to exercise reasonable care in the manufacture of [its

Defective Vehicles]”, in violation of RESTATEMENT (SECOND) OF TORTS § 395 (“A manufacturer

who fails to exercise reasonable care in the manufacture of a chattel which, unless carefully

made, he should recognize as involving an unreasonable risk of causing physical harm to those




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who use it for a purpose for which the manufacturer should expect it to be used and to those

whom he should expect to be endangered by its probable use, is subject to liability for physical

harm caused to them by its lawful use in a manner and for a purpose for which it is supplied.”).

         5576. New GM further breached its duties to Plaintiffs by supplying directly or through

a third person Defective Vehicles to be used by such foreseeable persons as Plaintiffs when:

                  a.   New GM knew or had reason to know that the vehicles were dangerous or

likely to be dangerous for the use for which they were supplied; and

                  b.   New GM failed to exercise reasonable care to inform customers of the

dangerous condition or of the facts under which the vehicles are likely to be dangerous.

         5577. New GM had a continuing duty to warn and instruct the intended and foreseeable

users of its vehicles, including Plaintiffs, of the defective condition of the vehicles and the high

degree of risk attendant to using the vehicles. Plaintiffs were entitled to know that the vehicles,

in their ordinary operation, were not reasonably safe for their intended and ordinary purposes and

uses.

         5578. Pursuant to its ongoing relationship with owners and lessees of Old GM Defective

Vehicles, New GM also had a duty to warn those Plaintiffs of the defects, and inform these

Plaintiffs that their vehicles, in their ordinary operation, were not reasonably safe for their

intended purposes.

         5579. New GM knew or should have known of the defects described herein. New GM

breached its duty to Plaintiffs because it failed to warn and instruct the intended and foreseeable

users of its vehicles of the defective condition of the vehicles and the high degree of risk

attendant to using the vehicles.




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         5580. As a direct and proximate result of New GM’s negligence, Plaintiffs suffered

damages, including overpayment at the time of purchase, diminished value, and cost of repair.

                                             COUNT V

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         5581. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5582. This claim is brought only on behalf of Ohio residents who are members of the

Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).

         5583. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         5584. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM ), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         5585. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.




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         5586. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         5587. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         5588. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         5589. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         5590. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         5591. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         5592. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC




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Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         5593. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         5594. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         5595. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         5596. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         5597. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         5598. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable




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by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         5599. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         5600. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         5601. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         5602. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.




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                                            COUNT VI

                                    UNJUST ENRICHMENT

         5603. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5604. This claim is brought on behalf of Ohio residents who are members of any of the

following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         5605. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         5606. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

         5607. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         5608. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         5609. Thus, all Plaintiffs conferred a benefit on New GM.




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         5610. It is inequitable for New GM to retain these benefits.

         5611. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         5612. New GM knowingly accepted the benefits of its unjust conduct.

         5613. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                           COUNT VII

                SUCCESSOR LIABILITY CLAIM FOR VIOLATIONS OF THE
                      OHIO CONSUMER SALES PRACTICES ACT
                        (OHIO REV. CODE ANN. § 1345.01, et seq.)

         5614. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5615. This claim is brought on behalf of Ohio residents who are members of the Delta

Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count, “Plaintiffs”).

         5616. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         5617. Old GM is a “supplier” as that term is defined in OHIO REV. CODE § 1345.01(C).

         5618. Plaintiffs are “consumers” as that term is defined in OHIO REV. CODE

§ 1345.01(D), and their purchases and leases of the Defective Vehicles are “consumer

transactions” within the meaning of OHIO REV. CODE § 1345.01(A).

         5619. The Ohio Consumer Sales Practices Act (“Ohio CSPA”), OHIO REV. CODE

§ 1345.02, broadly prohibits unfair or deceptive acts or practices in connection with a consumer




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transaction. Specifically, and without limitation of the broad prohibition, the Act prohibits

suppliers from representing (i) that goods have characteristics or uses or benefits which they do

not have; (ii) that their goods are of a particular quality or grade they are not; and (iii) the subject

of a consumer transaction has been supplied in accordance with a previous representation, if it

has not. Id. Old GM’s conduct as alleged above and below constitutes unfair and/or deceptive

consumer sales practices in violation of OHIO REV. CODE § 1345.02.

         5620. By systematically devaluing safety and concealing a plethora of defects in Old

GM vehicles, Old GM engaged in deceptive business practices prohibited by the Ohio CSPA,

including: representing that Delta Ignition Switch Vehicles have characteristics, uses, benefits,

and qualities which they do not have; representing that Delta Ignition Switch Vehicles are of a

particular standard, quality, and grade when they are not; representing that the subject of a

transaction involving Delta Ignition Switch Vehicles has been supplied in accordance with a

previous representation when it has not; and engaging in other unfair or deceptive acts or

practices.

         5621. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         5622. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.




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         5623. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         5624. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Ohio CSPA.

         5625. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         5626. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         5627. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         5628. Old GM knew or should have known that its conduct violated the Ohio CSPA.

         5629. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         5630. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.



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         5631. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         5632. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         5633. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         5634. As a direct and proximate result of Old GM’s violations of the Ohio CSPA,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.

         5635. Plaintiffs seek punitive damages against New GM because Old GM’s conduct

was egregious. Old GM misrepresented the safety and reliability of millions of vehicles,

concealed myriad defects in millions of Old GM vehicles and the systemic safety issues plaguing

Old GM, deceived Plaintiffs on life-or-death matters, and concealed material facts that only

Old GM knew, all to avoid the expense and public relations nightmare of correcting the serious

flaw in its culture and in millions of vehicles. Old GM’s egregious conduct warrants punitive

damages.




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         5636. Plaintiffs specifically do not allege herein a claim for violation of OHIO REV.

CODE § 1345.72.

         5637. Old GM was on notice pursuant to OHIO REV. CODE § 1345.09(B) that its actions

constituted unfair, deceptive, and unconscionable practices by, for example, Mason v. Mercedes-

Benz USA, LLC, 2005 Ohio App. LEXIS 3911, at *33 (S.D. Ohio Aug. 18, 2005), and Lilly v.

Hewlett-Packard Co., 2006 U.S. Dist. LEXIS 22114, at *17-18 (S.D. Ohio Apr. 21, 2006).

Further, Old GM’s conduct as alleged above constitutes an act or practice previously declared to

be deceptive or unconscionable by rule adopted under division (B)(2) of section 1345.05 and

previously determined by Ohio courts to violate Ohio’s Consumer Sales Practices Act and was

committed after the decisions containing these determinations were made available for public

inspection under division (A)(3) of O.R.C. § 1345.05. The applicable rule and Ohio court

opinions include, but are not limited to: OAC 109:4-3-16; Mason v. Mercedes-Benz USA, LLC,

2005 Ohio 4296 (Ohio Ct. App. 2005); Khouri v. Lewis, Cuyahoga Common Pleas No. 342098

(2001); State ex rel. Montgomery v. Canterbury, Franklin App. No. 98CVH054085 (2000); and

Fribourg v. Vandemark (July 26, 1999), Clermont App. No. CA99-02-017, unreported (PIF

#10001874).

         5638. As a result of the foregoing wrongful conduct of Old GM, Plaintiffs have been

damaged in an amount to be proven at trial, and seek all just and proper remedies, including, but

not limited to, actual and statutory damages, an order enjoining New GM’s deceptive and unfair

conduct, treble damages, court costs and reasonable attorneys’ fees, pursuant to OHIO REV. CODE

§ 1345.09, et seq.




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                                           COUNT VIII

           SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         5639. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5640. This claim is brought on behalf of Ohio residents who are members of the Delta

Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count, “Plaintiffs”).

         5641. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         5642. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         5643. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         5644. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         5645. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         5646. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material




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to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         5647. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         5648. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         5649. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         5650. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their




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Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         5651. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         5652. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                             COUNT IX

         SUCCESSOR LIABILITY CLAIM FOR IMPLIED WARRANTY IN TORT

         5653. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5654. This claim is brought on behalf of Ohio residents who are members of the Delta

Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor Liability Subclass (for

the purposes of this Count, “Plaintiffs”).

         5655. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         5656. The Delta Ignition Switch Vehicles, when sold and at all times thereafter, were

not merchantable and not fit for the ordinary purpose for which cars are used. Specifically, the

Delta Ignition Switch Vehicles were inherently defective in that there were defects in the ignition

switch systems that cause sudden unintended stalling to occur, with the attendant shut down of




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power steering and power brakes and the nondeployment of airbags in the event of a collision,

thereby causing an increased likelihood of serious injury or death.

         5657. Based upon the dangerous product defects, Old GM failed to meet the

expectations of a reasonable consumer. The Delta Ignition Switch Vehicles failed their ordinary,

intended use because the ignition systems in the vehicles do not function as a reasonable

consumer would expect. Moreover, the defect presents a serious danger to Plaintiffs that cannot

be eliminated without significant cost.

         5658. New GM, as the successor to Old GM, was provided notice of these issues by

numerous complaints filed against it, internal investigations, and by numerous individual letters

and communications sent by Plaintiffs and others before or within a reasonable amount of time

after New GM issued the recall and the allegations of vehicle defects became public.

         5659. As a direct and proximate result of Old GM’s breach of the implied warranty of

merchantability (for which New GM has successor liability), Plaintiffs have been damaged in an

amount to be proven at trial.

                                            COUNT X

                      SUCCESSOR LIABILITY CLAIM FOR NEGLIGENCE

         5660. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5661. This claim is brought on behalf of Ohio residents who are members of the Delta

Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count, “Plaintiffs”).

         5662. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,




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the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         5663. Old GM designed, manufactured and sold or otherwise placed in the stream of

commerce Delta Ignition Switch Vehicles, as set forth above.

         5664. Old GM had a duty to design, manufacture, and sell only a product that would be

safe for its intended and foreseeable uses and users, including the use to which its products were

put by Plaintiffs. Old GM breached its duties to Plaintiffs because it was negligent in the design,

development, manufacture, and testing of the Delta Ignition Switch Vehicles it manufactured and

sold on or before July 9, 2009, and New GM is responsible for Old GM’s negligence under the

doctrine of successor liability.

         5665. Old GM was negligent in the design, development, manufacture, testing, and/or

“certification” of the Delta Ignition Switch Vehicles because it knew, or in the exercise of

reasonable care should have known, that the vehicles equipped with defective ignition systems

pose an unreasonable risk of death or serious bodily injury to Plaintiffs, passengers, other

motorists, pedestrians, and the public at large, because they are susceptible to incidents in which

brakes, power steering, seatbelt pretensioners and airbags are rendered inoperable.

         5666. Old GM thus “failed to exercise reasonable care in the manufacture of [its

Defective Vehicles],” in violation of RESTATEMENT (SECOND) OF TORTS § 395 (“A manufacturer

who fails to exercise reasonable care in the manufacture of a chattel which, unless carefully

made, he should recognize as involving an unreasonable risk of causing physical harm to those

who use it for a purpose for which the manufacturer should expect it to be used and to those

whom he should expect to be endangered by its probable use, is subject to liability for physical

harm caused to them by its lawful use in a manner and for a purpose for which it is supplied.”).




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         5667. Old GM further breached its duties to Plaintiffs by supplying directly or through a

third person defective Delta Ignition Switch Vehicles to be used by such foreseeable persons as

Plaintiffs when:

                  a.   Old GM knew or had reason to know that the vehicles were dangerous or

likely to be dangerous for the use for which they were supplied; and

                  b.   Old GM failed to exercise reasonable care to inform customers of the

dangerous condition or of the facts under which the vehicles are likely to be dangerous.

         5668. Old GM had a continuing duty to warn and instruct the intended and foreseeable

users of its vehicles, including Plaintiffs, of the defective condition of the vehicles and the high

degree of risk attendant to using the vehicles. Plaintiffs were entitled to know that the vehicles,

in their ordinary operation, were not reasonably safe for their intended and ordinary purposes and

uses.

         5669. Old GM knew or should have known of the defects described herein. Old GM

breached its duty to Plaintiffs because it failed to warn and instruct the intended and foreseeable

users of its vehicles of the defective condition of the vehicles and the high degree of risk

attendant to using the vehicles.

         5670. As a direct and proximate result of Old GM’s negligence, Plaintiffs suffered

damages, for which New GM has successor liability.




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                                           OKLAHOMA

                                              COUNT I

              VIOLATION OF OKLAHOMA CONSUMER PROTECTION ACT
                         (OKLA. STAT. TIT. 15 § 751, et seq.)437

          5671. Plaintiffs reallege and incorporate by reference each paragraph as if set forth

fully herein.

          5672. This claim is brought on behalf of Oklahoma residents who are members of any

of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

          5673. Plaintiffs are “persons” under the Oklahoma Consumer Protection Act

(“Oklahoma CPA”), OKLA. STAT. TIT. 15 § 752.

          5674. New GM is a “person,” “corporation,” or “association” within the meaning of

OKLA. STAT. TIT. 15 § 15-751(1).

          5675. The sale or lease of the Defective Vehicles to Plaintiffs was a “consumer

transaction” within the meaning of OKLA. STAT. TIT. 15 § 752, and New GM’s actions as set

forth herein occurred in the conduct of trade or commerce.

          5676. The Oklahoma CPA declares unlawful, inter alia, the following acts or practices

when committed in the course of business: “mak[ing] a false or misleading representation,

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        Plaintiffs understand that this Court has held that no Plaintiff may bring this claim under
Oklahoma law unless their vehicle has suffered from a manifestation of a defect, and here assert
this claim on behalf of Plaintiffs whose vehicles have not suffered a manifestation solely for the
purposes of preserving the claim for appellate review.



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knowingly or with reason to know, as to the characteristics…, uses, [or] benefits, of the subject

of a consumer transaction,” or making a false representation, “knowingly or with reason to

know, that the subject of a consumer transaction is of a particular standard, style or model, if it is

of another or “[a]dvertis[ing], knowingly or with reason to know, the subject of a consumer

transaction with intent not to sell it as advertised;” and otherwise committing “an unfair or

deceptive trade practice.” See OKLA. STAT. TIT. 15, § 753.

         5677. By systematically devaluing safety and concealing a plethora of defects in New

GM vehicles and Old GM vehicles, New GM engaged in unfair and deceptive business practices

prohibited by the Oklahoma CPA, including: representing that Defective Vehicles have

characteristics, uses, benefits, and qualities which they do not have; representing that Defective

Vehicles are of a particular standard, quality, and grade when they are not; and advertising

Defective Vehicles with the intent not to sell or lease them as advertised; misrepresenting,

omitting and engaging in other practices that have deceived or could reasonably be expected to

deceive or mislead; and engaging in practices which offend established public policy or are

immoral, unethical, oppressive, unscrupulous or substantially injurious to consumers. The

defects in each vehicle include not only the specific defect (e.g., the Delta Ignition Switch), but

also include the defective process through which New GM built cars, a process that included

cost-cutting, minimizing the importance of safety issues, siloing, the depletion of resources

devoted to recognizing and studying safety issues, the failure to follow acceptable engineering

and inventory processes concerning parts management, and the failure to follow a proper FMEA

process. All of these defective processes would be material to a reasonable consumer.

         5678. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.




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New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles.

         5679. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         5680. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Oklahoma CPA.

         5681. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         5682. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         5683. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.




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         5684. New GM knew or should have known that its conduct violated the Oklahoma

CPA.

         5685. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         5686. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles, because New GM:

                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         5687. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         5688. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed



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to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.

         5689. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         5690. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         5691. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By contractually assuming TREAD Act responsibilities with respect to Old GM vehicles, New

GM effectively undertook the role of manufacturer of those vehicles because the TREAD Act on

its face only applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing

duty to all Defective Vehicle owners to refrain from unfair and deceptive acts or practices under

the Oklahoma CPA—regardless of when those owners acquired their vehicles.

         5692. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         5693. As a direct and proximate result of New GM’s violations of the Oklahoma CPA,

Plaintiffs have suffered injury-in-fact and/or actual damage, as alleged above. As a direct result




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of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.

         5694. Plaintiffs seek punitive damages against New GM because New GM’s conduct

was egregious. New GM misrepresented the safety and reliability of millions of New GM

vehicles and Old GM vehicles, concealed myriad defects in millions of New GM vehicles and

Old GM vehicles and the systemic safety issues plaguing New GM, deceived Plaintiffs on life-

or-death matters, and concealed material facts that only it knew, all to avoid the expense and

public relations nightmare of correcting the serious flaw in its culture and in millions of New

GM vehicles and Old GM vehicles. New GM’s egregious conduct warrants punitive damages.

         5695. New GM’s conduct as alleged herein was unconscionable because (1) New GM,

knowingly or with reason to know, took advantage of consumers reasonably unable to protect

their interests because of their age, physical infirmity, ignorance, illiteracy, inability to

understand the language of an agreement or similar factor; (2) at the time the consumer

transaction was entered into, New GM knew or had reason to know that price grossly exceeded

the price at which similar vehicles were readily obtainable in similar transactions by like

consumers; and (3) New GM knew or had reason to know that the transaction New GM induced

the consumer to enter into was excessively one-sided in favor of New GM.

         5696. Because New GM’s unconscionable conduct caused injury to Plaintiffs, Plaintiffs

seek recovery of actual damages, discretionary penalties up to $2,000 per violation, and

reasonable attorneys’ fees, under OKLA. STAT. TIT. 15 § 761.1. Plaintiffs further seeks an order

enjoining New GM’s unfair and/or deceptive acts or practices, and any other just and proper

relief available under the Oklahoma CPA.




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                                            COUNT II

                                   FRAUD BY CONCEALMENT

         5697. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5698. This claim is brought on behalf of Oklahoma residents who are members of any

of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         5699. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         5700. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         5701. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         5702. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         5703. New GM did so in order to falsely assure purchasers, lessees, and owners of

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to




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consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         5704. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         5705. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         5706. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         5707. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other




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affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         5708. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs, as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         5709. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         5710. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.




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                                             COUNT III

                BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                           (12A OKLA. STAT. ANN. § 2-314) 438

          5711. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

          5712. This claim is brought only on behalf of Oklahoma residents who are members of

any of the following Subclasses: (i) the Delta Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (ii) the Low Torque Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (iii) the Knee-to-Key Camaro Defect Magnuson-Moss and Implied

Warranty Subclass; (iv) the Side Airbag Defect Magnuson-Moss and Implied Warranty

Subclass; and (v) the Power Steering Defect Magnuson-Moss and Implied Warranty Subclass

(collectively for the purposes of this Count, “Plaintiffs”).

          5713. New GM was a merchant with respect to motor vehicles.

          5714. A warranty that the Defective Vehicles were in merchantable condition was

implied by law in the transactions when Plaintiffs purchased or leased their Defective Ignition

Switch Vehicles from New GM on or after July 10, 2009.

          5715. The Defective Vehicles, when sold and at all times thereafter, were not

merchantable and are not fit for the ordinary purpose for which cars are used.

          5716. The Defective Ignition Switch Vehicles are inherently defective in that there are

defects in the ignition switch systems that cause sudden unintended stalling to occur, with the



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        Plaintiffs understand that this Court has held that no Plaintiff may bring this claim under
Oklahoma law unless their vehicle has suffered from a manifestation of a defect, and here assert
this claim on behalf of Plaintiffs whose vehicles have not suffered a manifestation solely for the
purposes of preserving the claim for appellate review.



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attendant shut down of power steering and power brakes and the nondeployment of airbags in the

event of a collision, thereby causing an increased likelihood of serious injury or death.

         5717. The Power Steering Defect Vehicles are inherently defective in that there are

defects in the vehicles that can cause the loss of power steering assist, resulting in an increased

risk of accident.

         5718. The Side Airbag Defect Vehicles are inherently defective in that there are defects

in the wiring harness connectors that can cause the side impact airbags (SIABs) and seatbelt

pretensioners not to deploy in the event of a collision, thereby causing an increased likelihood of

serious injury or death.

         5719. New GM was provided notice of these issues by numerous complaints filed

against it, internal investigations, and by numerous individual letters and communications sent

by Plaintiffs and others before or within a reasonable amount of time after New GM issued the

recall and the allegations of vehicle defects became public.

         5720. As a direct and proximate result of New GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                            COUNT IV

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         5721. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5722. This claim is brought only on behalf of Oklahoma residents who are members of

the Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).




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         5723. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         5724. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM ), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         5725. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.

         5726. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         5727. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.




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         5728. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         5729. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         5730. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         5731. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         5732. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC

Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         5733. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness




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bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         5734. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         5735. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         5736. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         5737. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         5738. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable

by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.




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          5739. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

          5740. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

          5741. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

          5742. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.

                                             COUNT V

                                    UNJUST ENRICHMENT439

          5743. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.



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       Plaintiffs understand that this Court has found that the existence of an express warranty
between New GM and Plaintiffs is a bar to this claim, and are asserting this claim here solely for
the purpose of preserving the claim for appellate review.



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         5744. This claim is brought on behalf of Oklahoma residents who are members of any

of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         5745. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         5746. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

         5747. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         5748. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         5749. Thus, all Plaintiffs conferred a benefit on New GM.

         5750. It is inequitable for New GM to retain these benefits.

         5751. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         5752. New GM knowingly accepted the benefits of its unjust conduct.




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         5753. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                            COUNT VI

                 SUCCESSOR LIABILITY CLAIM FOR VIOLATIONS OF THE
                      OKLAHOMA CONSUMER PROTECTION ACT
                            (OKLA. STAT. TIT. 15 § 751, et seq.)

         5754. Plaintiffs reallege and incorporate by reference each paragraph as if set forth

fully herein.

         5755. This claim is brought on behalf of Oklahoma residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         5756. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         5757. Plaintiffs are “persons” under the Oklahoma Consumer Protection Act

(“Oklahoma CPA”), OKLA. STAT. TIT. 15 § 752.

         5758. Old GM is a “person,” “corporation,” or “association” within the meaning of

OKLA. STAT. TIT. 15 § 15-751(1).

         5759. The sale or lease of the Delta Ignition Switch Vehicles to Plaintiffs was a

“consumer transaction” within the meaning of OKLA. STAT. TIT. 15 § 752, and Old GM’s actions

as set forth herein occurred in the conduct of trade or commerce.

         5760. The Oklahoma CPA declares unlawful, inter alia, the following acts or practices

when committed in the course of business: “mak[ing] a false or misleading representation,




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knowingly or with reason to know, as to the characteristics…, uses, [or] benefits, of the subject

of a consumer transaction,” or making a false representation, “knowingly or with reason to

know, that the subject of a consumer transaction is of a particular standard, style or model, if it is

of another or “[a]dvertis[ing], knowingly or with reason to know, the subject of a consumer

transaction with intent not to sell it as advertised;” and otherwise committing “an unfair or

deceptive trade practice.” See OKLA. STAT. TIT. 15, § 753.

         5761. By systematically devaluing safety and concealing a plethora of defects Old GM

vehicles, Old GM engaged in unfair and deceptive business practices prohibited by the

Oklahoma CPA, including: representing that Delta Ignition Switch Vehicles have

characteristics, uses, benefits, and qualities which they do not have; representing that Delta

Ignition Switch Vehicles are of a particular standard, quality, and grade when they are not; and

advertising Delta Ignition Switch Vehicles with the intent not to sell or lease them as advertised;

misrepresenting, omitting and engaging in other practices that have deceived or could reasonably

be expected to deceive or mislead; and engaging in practices which offend established public

policy or are immoral, unethical, oppressive, unscrupulous or substantially injurious to

consumers.

         5762. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.




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         5763. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         5764. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Oklahoma CPA.

         5765. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         5766. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         5767. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         5768. Old GM knew or should have known that its conduct violated the Oklahoma

CPA.

         5769. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         5770. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or




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                  d.   Had duties under the TREAD Act and related regulations to
                       disclose and remedy the defects.

         5771. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         5772. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         5773. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         5774. As a direct and proximate result of Old GM’s violations of the Oklahoma CPA,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.

         5775. Plaintiffs seek punitive damages against New GM because Old GM’s conduct

was egregious. Old GM misrepresented the safety and reliability of millions of Old GM

vehicles, concealed myriad defects in millions of Old GM vehicles and the systemic safety issues

plaguing Old GM, deceived Plaintiffs on life-or-death matters, and concealed material facts that

only it knew, all to avoid the expense and public relations nightmare of correcting the serious




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flaw in its culture and in millions of Old GM vehicles. Old GM’s egregious conduct warrants

punitive damages.

         5776. Old GM’s conduct as alleged herein was unconscionable because (1) Old GM,

knowingly or with reason to know, took advantage of consumers reasonably unable to protect

their interests because of their age, physical infirmity, ignorance, illiteracy, inability to

understand the language of an agreement or similar factor; (2) at the time the consumer

transaction was entered into, Old GM knew or had reason to know that price grossly exceeded

the price at which similar vehicles were readily obtainable in similar transactions by like

consumers; and (3) Old GM knew or had reason to know that the transaction Old GM induced

the consumer to enter into was excessively one-sided in favor of Old GM.

         5777. Because Old GM’s unconscionable conduct caused injury to Plaintiffs, Plaintiffs

seek recovery of actual damages, discretionary penalties up to $2,000 per violation, and

reasonable attorneys’ fees, under OKLA. STAT. TIT. 15 § 761.1. Plaintiffs further seek an order

enjoining New GM’s unfair and/or deceptive acts or practices, and any other just and proper

relief available under the Oklahoma CPA.

                                             COUNT VII

           SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         5778. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5779. This claim is brought on behalf of Oklahoma residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).




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         5780. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         5781. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         5782. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         5783. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         5784. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         5785. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         5786. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as




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set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         5787. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         5788. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         5789. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         5790. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         5791. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old




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GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                           COUNT VIII

                SUCCESSOR LIABILITY CLAIM FOR BREACH OF IMPLIED
                        WARRANTY OF MERCHANTABILITY
                            (12A OKLA. STAT. ANN. § 2-314)

         5792. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5793. This claim is brought on behalf of Oklahoma residents who are members of the

Delta Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor Liability

Subclass (for the purposes of this Count, “Plaintiffs”).

         5794. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         5795. Old GM was a merchant with respect to motor vehicles.

         5796. A warranty that the Delta Ignition Switch Vehicles were in merchantable

condition was implied by law in the transactions when Plaintiffs purchased or leased their

vehicles from Old GM on or before July 9, 2009.

         5797. The Delta Ignition Switch Vehicles, when sold and at all times thereafter, were

not merchantable and not fit for the ordinary purpose for which cars are used. Specifically, the

Delta Ignition Switch Vehicles were inherently defective in that there were defects in the ignition

switch systems that cause sudden unintended stalling to occur, with the attendant shut down of




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power steering and power brakes and the nondeployment of airbags in the event of a collision,

thereby causing an increased likelihood of serious injury or death.

         5798. New GM, as the successor to Old GM, was provided notice of these issues by

numerous complaints filed against it, internal investigations, and by numerous individual letters

and communications sent by Plaintiffs and others before or within a reasonable amount of time

after New GM issued the recall and the allegations of vehicle defects became public.

         5799. As a direct and proximate result of Old GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                            OREGON

                                             COUNT I

         VIOLATION OF THE OREGON UNLAWFUL TRADE PRACTICES ACT
                        (OR. REV. STAT. §§ 646.605, et seq.)

         5800. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5801. This claim is brought on behalf of Oregon residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         5802. New GM is a person within the meaning of OR. REV. STAT. § 646.605(4).

         5803. The Defective Vehicles at issue are “goods” obtained primarily for personal

family or household purposes within the meaning of OR. REV. STAT. § 646.605(6).




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         5804. The Oregon Unfair Trade Practices Act (“Oregon UTPA”) prohibits a person

from, in the course of the person’s business, doing any of the following: “(e) Represent[ing] that

… goods … have … characteristics … uses, benefits, … or qualities that they do not have;

(g) Represent[ing] that … goods … are of a particular standard [or] quality … if they are of

another; (i) Advertis[ing] … goods or services with intent not to provide them as advertised;”

and “(u) engag[ing] in any other unfair or deceptive conduct in trade or commerce.” OR. REV.

STAT. § 646.608(1).

         5805. New GM engaged in unlawful trade practices, including representing that

Defective Vehicles have characteristics, uses, benefits, and qualities which they do not have;

representing that Defective Vehicles are of a particular standard and quality when they are not;

advertising Defective Vehicles with the intent not to sell them as advertised; and engaging in

other unfair or deceptive acts.

         5806. New GM also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression or omission

of any material fact with intent that others rely upon such concealment, suppression or omission,

in connection with the sale of Defective Vehicles. The defects in each vehicle include not only

the specific defect (e.g., the Delta Ignition Switch), but also include the defective process

through which New GM built cars, a process that included cost-cutting, minimizing the

importance of safety issues, siloing, the depletion of resources devoted to recognizing and

studying safety issues, the failure to follow acceptable engineering and inventory processes

concerning parts management, and the failure to follow a proper FMEA process. All of these

defective processes would be material to a reasonable consumer.




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         5807. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         5808. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles.

         5809. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         5810. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Oregon UTPA.

         5811. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.




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         5812. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         5813. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         5814. New GM knew or should have known that its conduct violated the Oregon UTPA.

         5815. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         5816. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles, because New GM:

                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         5817. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.




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         5818. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.

         5819. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         5820. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         5821. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By contractually assuming TREAD Act responsibilities with respect to Old GM vehicles, New

GM effectively undertook the role of manufacturer of those vehicles because the TREAD Act on

its face only applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing

duty to all Defective Vehicle owners to refrain from unfair and deceptive acts or practices under

the Oregon UTPA—regardless of when those owners acquired their vehicles.

         5822. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta




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Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

          5823. As a direct and proximate result of New GM’s violations of the Oregon UTPA,

Plaintiffs have suffered injury-in-fact and/or actual damage, as alleged above. As a direct result

of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.

          5824. Plaintiffs are entitled to recover the greater of actual damages or $200 pursuant to

OR. REV. STAT. § 646.638(1). Plaintiffs are also entitled to punitive damages because New GM

engaged in conduct amounting to a particularly aggravated, deliberate disregard of the rights of

others.

                                             COUNT II

                                     FRAUD BY CONCEALMENT

          5825. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

          5826. This claim is brought on behalf of Oregon residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

          5827. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.




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         5828. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         5829. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         5830. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         5831. New GM did so in order to falsely assure purchasers, lessees, and owners of

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         5832. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.




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         5833. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         5834. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         5835. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         5836. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs, as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.




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         5837. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         5838. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.

                                            COUNT III

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         5839. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5840. This claim is brought only on behalf of Oregon residents who are members of the

Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).

         5841. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         5842. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel




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(all of whom were transferred to New GM ), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         5843. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.

         5844. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         5845. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         5846. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         5847. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         5848. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.




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         5849. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         5850. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC

Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         5851. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         5852. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         5853. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         5854. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         5855. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims




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by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         5856. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable

by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         5857. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         5858. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         5859. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         5860. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’




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rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.

                                            COUNT IV

                                    UNJUST ENRICHMENT

         5861. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5862. This claim is brought on behalf of Oregon residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         5863. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         5864. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

         5865. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         5866. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs




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of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         5867. Thus, all Plaintiffs conferred a benefit on New GM.

         5868. It is inequitable for New GM to retain these benefits.

         5869. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         5870. New GM knowingly accepted the benefits of its unjust conduct.

         5871. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                            COUNT V

                SUCCESSOR LIABILITY CLAIM FOR VIOLATIONS OF THE
                    OREGON UNLAWFUL TRADE PRACTICES ACT
                         (OR. REV. STAT. §§ 646.605, ET SEQ.)

         5872. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5873. This claim is brought on behalf of Oregon residents who are members of the Delta

Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count, “Plaintiffs”).

         5874. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         5875. Old GM is a person within the meaning of OR. REV. STAT. § 646.605(4).

         5876. The Defective Vehicles at issue are “goods” obtained primarily for personal

family or household purposes within the meaning of OR. REV. STAT. § 646.605(6).




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         5877. The Oregon Unfair Trade Practices Act (“Oregon UTPA”) prohibits a person

from, in the course of the person’s business, doing any of the following: “(e) Represent[ing] that

… goods … have … characteristics … uses, benefits, … or qualities that they do not have;

(g) Represent[ing] that … goods … are of a particular standard [or] quality … if they are of

another; (i) Advertis[ing] … goods or services with intent not to provide them as advertised;”

and “(u) engag[ing] in any other unfair or deceptive conduct in trade or commerce.” OR. REV.

STAT. § 646.608(1).

         5878. Old GM engaged in unlawful trade practices, including representing that

Defective Vehicles have characteristics, uses, benefits, and qualities which they do not have;

representing that Defective Vehicles are of a particular standard and quality when they are not;

advertising Defective Vehicles with the intent not to sell them as advertised; and engaging in

other unfair or deceptive acts.

         5879. Old GM also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression or omission

of any material fact with intent that others rely upon such concealment, suppression or omission,

in connection with the sale of Defective Vehicles.

         5880. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         5881. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material




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fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         5882. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         5883. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Oregon UTPA.

         5884. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         5885. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         5886. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         5887. Old GM knew or should have known that its conduct violated the Oregon UTPA.

         5888. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         5889. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while




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                         purposefully withholding material facts from Plaintiffs that
                         contradicted these representations; and/or

                  d.     Had duties under the TREAD Act and related regulations to
                         disclose and remedy the defects.

          5890. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

          5891. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

          5892. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

          5893. As a direct and proximate result of Old GM’s violations of the Oregon UTPA,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.

          5894. Plaintiffs are entitled to recover the greater of actual damages or $200 pursuant to

OR. REV. STAT. § 646.638(1). Plaintiffs are also entitled to punitive damages because New GM

engaged in conduct amounting to a particularly aggravated, deliberate disregard of the rights of

others.




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                                            COUNT VI

           SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         5895. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5896. This claim is brought on behalf of Oregon residents who are members of the Delta

Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count, “Plaintiffs”).

         5897. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         5898. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         5899. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         5900. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         5901. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         5902. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material




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to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         5903. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         5904. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         5905. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         5906. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their




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Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         5907. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         5908. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                        PENNSYLVANIA

                                             COUNT I

       VIOLATION OF THE PENNSYLVANIA UNFAIR TRADE PRACTICES AND
                      CONSUMER PROTECTION LAW
                           (73 P.S. § 201-1, et seq.)

         5909. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5910. This claim is brought on behalf of Pennsylvania residents who are members of

any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque

Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag

Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of this

Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the

conduct of New GM.

         5911. Plaintiffs purchased or leased their Defective Vehicles primarily for personal,

family or household purposes within the meaning of 73 P.S. § 201-9.2.




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         5912. All of the acts complained of herein were perpetrated by New GM in the course

of trade or commerce within the meaning of 73 P.S. § 201-2(3).

         5913. The Pennsylvania Unfair Trade Practices and Consumer Protection Law

(“Pennsylvania CPL”) prohibits unfair or deceptive acts or practices, including: (i)

“Representing that goods or services have … characteristics, …. Benefits or qualities that they

do not have;” (ii) “Representing that goods or services are of a particular standard, quality or

grade … if they are of another;:” (iii) “Advertising goods or services with intent not to sell them

as advertised;” and (iv) “Engaging in any other fraudulent or deceptive conduct which creates a

likelihood of confusion or misunderstanding.” 73 P.S. § 201-2(4).

         5914. New GM engaged in unlawful trade practices, including representing that

Defective Vehicles have characteristics, uses, benefits, and qualities which they do not have;

representing that Defective Vehicles are of a particular standard and quality when they are not;

advertising Defective Vehicles with the intent not to sell them as advertised; and engaging in any

other fraudulent or deceptive conduct which creates a likelihood of confusion or of

misunderstanding.

         5915. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles. The defects in each vehicle include not only the specific

defect (e.g., the Delta Ignition Switch), but also include the defective process through which

New GM built cars, a process that included cost-cutting, minimizing the importance of safety




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issues, siloing, the depletion of resources devoted to recognizing and studying safety issues, the

failure to follow acceptable engineering and inventory processes concerning parts management,

and the failure to follow a proper FMEA process. All of these defective processes would be

material to a reasonable consumer.

         5916. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         5917. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Pennsylvania CPL.

         5918. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         5919. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         5920. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.




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         5921. New GM knew or should have known that its conduct violated the Pennsylvania

CPL.

         5922. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         5923. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles, because New GM:

                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         5924. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         5925. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed



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to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

vehicles.

         5926. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         5927. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         5928. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By contractually assuming TREAD Act responsibilities with respect to Old GM vehicles, New

GM effectively undertook the role of manufacturer of those vehicles because the TREAD Act on

its face only applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing

duty to all Defective Vehicle owners to refrain from unfair and deceptive acts or practices under

the Pennsylvania CPL—regardless of when those owners acquired their vehicles.

         5929. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         5930. As a direct and proximate result of New GM’s violations of the Pennsylvania

CPL, Plaintiffs have suffered injury-in-fact and/or actual damage, as alleged above. As a direct




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result of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.

         5931. New GM is liable to Plaintiffs for treble their actual damages or $100, whichever

is greater, and attorneys’ fees and costs. 73 P.S. § 201-9.2(a). Plaintiffs are also entitled to an

award of punitive damages given that New GM’s conduct was malicious, wanton, willful,

oppressive, or exhibited a reckless indifference to the rights of others.

                                             COUNT II

                                     FRAUD BY CONCEALMENT

         5932. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5933. This claim is brought on behalf of Pennsylvania residents who are members of

any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque

Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag

Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of this

Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the

conduct of New GM.

         5934. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         5935. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         5936. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.




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         5937. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         5938. New GM did so in order to falsely assure purchasers, lessees, and owners of

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         5939. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         5940. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.




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         5941. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         5942. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         5943. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs, as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         5944. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.




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         5945. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.

                                            COUNT III

           BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
                         (13 PA. CONS. STAT. ANN. § 2314)

         5946. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5947. This claim is brought only on behalf of Pennsylvania residents who are members

of any of the following Subclasses: (i) the Delta Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (ii) the Low Torque Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (iii) the Knee-to-Key Camaro Defect Magnuson-Moss and Implied

Warranty Subclass; (iv) the Side Airbag Defect Magnuson-Moss and Implied Warranty

Subclass; and (v) the Power Steering Defect Magnuson-Moss and Implied Warranty Subclass

(collectively for the purposes of this Count, “Plaintiffs”).

         5948. New GM is a merchant with respect to motor vehicles.

         5949. A warranty that the Defective Vehicles were in merchantable condition was

implied by law in the transactions when Plaintiffs purchased or leased their Defective Vehicles

from New GM on or after July 10, 2009.

         5950. The Defective Vehicles, when sold and at all times thereafter, were not

merchantable and are not fit for the ordinary purpose for which cars are used.




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         5951. The Defective Ignition Switch Vehicles are inherently defective in that there are

defects in the ignition switch systems that cause sudden unintended stalling to occur, with the

attendant shut down of power steering and power brakes and the nondeployment of airbags in the

event of a collision, thereby causing an increased likelihood of serious injury or death.

         5952. The Power Steering Defect Vehicles are inherently defective in that there are

defects in the vehicles that can cause the loss of power steering assist, resulting in an increased

risk of accident.

         5953. The Side Airbag Defect Vehicles are inherently defective in that there are defects

in the wiring harness connectors that can cause the side impact airbags (SIABs) and seatbelt

pretensioners not to deploy in the event of a collision, thereby causing an increased likelihood of

serious injury or death.

         5954. New GM was provided notice of these issues by numerous complaints filed

against it, internal investigations, and by numerous individual letters and communications sent

by Plaintiffs and others before or within a reasonable amount of time after New GM issued the

recall and the allegations of vehicle defects became public.

         5955. As a direct and proximate result of New GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                            COUNT IV

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         5956. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.




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         5957. This claim is brought only on behalf of Pennsylvania residents who are members

of the Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count,

“Plaintiffs”).

         5958. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         5959. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM ), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         5960. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.

         5961. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         5962. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither




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the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         5963. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         5964. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         5965. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         5966. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         5967. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC

Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         5968. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these




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vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         5969. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         5970. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         5971. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         5972. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         5973. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable

by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.




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         5974. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         5975. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         5976. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         5977. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.

                                            COUNT V

                                       UNJUST ENRICHMENT

         5978. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5979. This claim is brought on behalf of Pennsylvania residents who are members of

any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque

Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag




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Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of this

Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the

conduct of New GM.

         5980. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         5981. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

         5982. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         5983. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         5984. Thus, all Plaintiffs conferred a benefit on New GM.

         5985. It is inequitable for New GM to retain these benefits.

         5986. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         5987. New GM knowingly accepted the benefits of its unjust conduct.

         5988. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.




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                                            COUNT VI

   SUCCESSOR LIABILITY CLAIM FOR VIOLATIONS OF THE PENNSYLVANIA
      UNFAIR TRADE PRACTICES AND CONSUMER PROTECTION LAW
                         (73 P.S. § 201-1, et seq.)

         5989. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         5990. This claim is brought on behalf of Pennsylvania residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         5991. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         5992. Plaintiffs purchased or leased their Delta Ignition Switch Vehicles primarily for

personal, family or household purposes within the meaning of 73 P.S. § 201-9.2.

         5993. All of the acts complained of herein were perpetrated by Old GM in the course of

trade or commerce within the meaning of 73 P.S. § 201-2(3).

         5994. The Pennsylvania Unfair Trade Practices and Consumer Protection Law

(“Pennsylvania CPL”) prohibits unfair or deceptive acts or practices, including: (i)

“Representing that goods or services have … characteristics, …. Benefits or qualities that they

do not have;” (ii) “Representing that goods or services are of a particular standard, quality or

grade … if they are of another;:” (iii) “Advertising goods or services with intent not to sell them

as advertised;” and (iv) “Engaging in any other fraudulent or deceptive conduct which creates a

likelihood of confusion or misunderstanding.” 73 P.S. § 201-2(4).




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         5995. Old GM engaged in unlawful trade practices, including representing that Delta

Ignition Switch Vehicles have characteristics, uses, benefits, and qualities which they do not

have; representing that Delta Ignition Switch Vehicles are of a particular standard and quality

when they are not; advertising Delta Ignition Switch Vehicles with the intent not to sell them as

advertised; and engaging in any other fraudulent or deceptive conduct which creates a likelihood

of confusion or of misunderstanding.

         5996. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         5997. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         5998. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Pennsylvania CPL.

         5999. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         6000. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.




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         6001. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         6002. Old GM knew or should have known that its conduct violated the Pennsylvania

CPL.

         6003. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         6004. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         6005. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         6006. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.




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         6007. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         6008. As a direct and proximate result of Old GM’s violations of the Pennsylvania CPL,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.

         6009. New GM is liable to Plaintiffs for treble their actual damages or $100, whichever

is greater, and attorneys’ fees and costs. 73 P.S. § 201-9.2(a). Plaintiffs are also entitled to an

award of punitive damages given that Old GM’s conduct was malicious, wanton, willful,

oppressive, or exhibited a reckless indifference to the rights of others.

                                            COUNT VII

             SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         6010. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6011. This claim is brought on behalf of Pennsylvania residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         6012. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.




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         6013. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         6014. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         6015. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         6016. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         6017. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         6018. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.




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         6019. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         6020. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         6021. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         6022. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         6023. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.




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                                           COUNT VIII

                SUCCESSOR LIABILITY CLAIM FOR BREACH OF IMPLIED
                        WARRANTY OF MERCHANTABILITY
                           (13 PA. CONS. STAT. ANN. § 2314)

         6024. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6025. This claim is brought on behalf of Pennsylvania residents who are members of the

Delta Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor Liability

Subclass (for the purposes of this Count, “Plaintiffs”).

         6026. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         6027. Old GM was a merchant with respect to motor vehicles.

         6028. A warranty that the Delta Ignition Switch Vehicles were in merchantable

condition was implied by law in the transactions when Plaintiffs purchased or leased their

vehicles from Old GM on or before July 9, 2009.

         6029. The Delta Ignition Switch Vehicles, when sold and at all times thereafter, were

not merchantable and not fit for the ordinary purpose for which cars are used. Specifically, the

Delta Ignition Switch Vehicles were inherently defective in that there were defects in the ignition

switch systems that cause sudden unintended stalling to occur, with the attendant shut down of

power steering and power brakes and the nondeployment of airbags in the event of a collision,

thereby causing an increased likelihood of serious injury or death.




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         6030. New GM, as the successor to Old GM, was provided notice of these issues by

numerous complaints filed against it, internal investigations, and by numerous individual letters

and communications sent by Plaintiffs and others before or within a reasonable amount of time

after New GM issued the recall and the allegations of vehicle defects became public.

         6031. As a direct and proximate result of Old GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                        RHODE ISLAND

                                             COUNT I

           VIOLATION OF THE RHODE ISLAND UNFAIR TRADE PRACTICES
                      AND CONSUMER PROTECTION ACT
                          (R.I. GEN. LAWS § 6-13.1, et seq.)

         6032. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6033. This claim is brought on behalf of Rhode Island residents who are members of

any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque

Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag

Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of this

Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the

conduct of New GM.

         6034. Plaintiffs are persons who purchased or leased one or more Defective Vehicles

primarily for personal, family, or household purposes within the meaning of R.I. GEN. LAWS § 6-

13.1-5.2(a).

         6035. Rhode Island’s Unfair Trade Practices and Consumer Protection Act (“Rhode

Island CPA”) prohibits “unfair or deceptive acts or practices in the conduct of any trade or




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commerce” including: “(v) Representing that goods or services have sponsorship, approval,

characteristics, ingredients, uses, benefits, or quantities that they do not have”;

“(vii) Representing that goods or services are of a particular standard, quality, or grade …, if

they are of another”; “(ix) Advertising goods or services with intent not to sell them as

advertised”; “(xii) Engaging in any other conduct that similarly creates a likelihood of confusion

or of misunderstanding”; “(xiii) Engaging in any act or practice that is unfair or deceptive to the

consumer”; and “(xiv) Using any other methods, acts or practices which mislead or deceive

members of the public in a material respect.” R.I. GEN. LAWS § 6-13.1-1(6).

         6036. New GM engaged in unlawful trade practices, including: (1) representing that the

Defective Vehicles have characteristics, uses, benefits, and qualities which they do not have; (2)

representing that the Defective Vehicles are of a particular standard and quality when they are

not; (3) advertising the Defective Vehicles with the intent not to sell them as advertised; and (4)

otherwise engaging in conduct that is unfair or deceptive and likely to deceive.

         6037. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         6038. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles. The defects in each vehicle include not only the specific

defect (e.g., the Delta Ignition Switch), but also include the defective process through which

New GM built cars, a process that included cost-cutting, minimizing the importance of safety




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issues, siloing, the depletion of resources devoted to recognizing and studying safety issues, the

failure to follow acceptable engineering and inventory processes concerning parts management,

and the failure to follow a proper FMEA process. All of these defective processes would be

material to a reasonable consumer.

         6039. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         6040. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Rhode Island CPA.

         6041. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         6042. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         6043. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.




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         6044. New GM knew or should have known that its conduct violated the Rhode Island

CPA.

         6045. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         6046. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles, because New GM:

                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         6047. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         6048. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed



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to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

vehicles.

         6049. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         6050. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         6051. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By contractually assuming TREAD Act responsibilities with respect to Old GM vehicles, New

GM effectively undertook the role of manufacturer of those vehicles because the TREAD Act on

its face only applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing

duty to all Defective Vehicle owners to refrain from unfair and deceptive acts or practices under

the Rhode Island CPA—regardless of when those owners acquired their vehicles.

         6052. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         6053. As a direct and proximate result of New GM’s violations of the Rhode Island

CPA, Plaintiffs have suffered injury-in-fact and/or actual damage, as alleged above. As a direct




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result of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.

         6054. Plaintiffs are entitled to recover the greater of actual damages or $200 pursuant to

R.I. GEN. LAWS § 6-13.1-5.2(a). Plaintiffs also seek punitive damages in the discretion of the

Court because of New GM’s egregious disregard of consumer and public safety and its long-

running concealment of the serious safety defects and their tragic consequences.

                                            COUNT II

                                     FRAUD BY CONCEALMENT

         6055. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6056. This claim is brought on behalf of Rhode Island residents who are members of

any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque

Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag

Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of this

Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the

conduct of New GM.

         6057. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         6058. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         6059. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.




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         6060. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         6061. New GM did so in order to falsely assure purchasers, lessees, and owners of

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         6062. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         6063. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.




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         6064. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         6065. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         6066. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs, as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         6067. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.




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         6068. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.

                                            COUNT III

           BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
                           (R.I. GEN. LAWS § 6A-2-314)

         6069. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6070. This claim is brought only on behalf of Rhode Island residents who are members

of any of the following Subclasses: (i) the Delta Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (ii) the Low Torque Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (iii) the Knee-to-Key Camaro Defect Magnuson-Moss and Implied

Warranty Subclass; (iv) the Side Airbag Defect Magnuson-Moss and Implied Warranty

Subclass; and (v) the Power Steering Defect Magnuson-Moss and Implied Warranty Subclass

(collectively for the purposes of this Count, “Plaintiffs”).

         6071. A warranty that the Defective Vehicles were in merchantable condition was

implied by law in the transactions when Plaintiffs purchased or leased their Defective Vehicles

from New GM on or after July 10, 2009.

         6072. The Defective Vehicles, when sold and at all times thereafter, were not

merchantable and are not fit for the ordinary purpose for which cars are used.

         6073. The Defective Ignition Switch Vehicles are inherently defective in that there are

defects in the ignition switch systems that cause sudden unintended stalling to occur, with the




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attendant shut down of power steering and power brakes and the nondeployment of airbags in the

event of a collision, thereby causing an increased likelihood of serious injury or death.

         6074. The Power Steering Defect Vehicles are inherently defective in that there are

defects in the vehicles that can cause the loss of power steering assist, resulting in an increased

risk of accident.

         6075. The Side Airbag Defect Vehicles are inherently defective in that there are defects

in the wiring harness connectors that can cause the side impact airbags (SIABs) and seatbelt

pretensioners not to deploy in the event of a collision, thereby causing an increased likelihood of

serious injury or death.

         6076. New GM was provided notice of these issues by numerous complaints filed

against it, internal investigations, and by numerous individual letters and communications sent

by Plaintiffs and others before or within a reasonable amount of time after New GM issued the

recall and the allegations of vehicle defects became public.

         6077. As a direct and proximate result of New GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                            COUNT IV

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         6078. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6079. This claim is brought only on behalf of Rhode Island residents who are members

of the Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count,

“Plaintiffs”).




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         6080. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         6081. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM ), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         6082. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.

         6083. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         6084. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.




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         6085. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         6086. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         6087. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         6088. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         6089. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC

Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         6090. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness




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bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         6091. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         6092. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         6093. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         6094. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         6095. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable

by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.




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         6096. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         6097. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         6098. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         6099. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.

                                            COUNT V

                                       UNJUST ENRICHMENT

         6100. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6101. This claim is brought on behalf of Rhode Island residents who are members of

any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque

Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag




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Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of this

Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the

conduct of New GM.

         6102. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         6103. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

         6104. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         6105. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         6106. Thus, all Plaintiffs conferred a benefit on New GM.

         6107. It is inequitable for New GM to retain these benefits.

         6108. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         6109. New GM knowingly accepted the benefits of its unjust conduct.

         6110. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.




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                                             COUNT VI

    SUCCESSOR LIABILITY CLAIM FOR VIOLATIONS OF THE RHODE ISLAND
       UNFAIR TRADE PRACTICES AND CONSUMER PROTECTION ACT
                      (R.I. GEN. LAWS § 6-13.1, et seq.)

         6111. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6112. This claim is brought on behalf of Rhode Island residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         6113. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         6114. Plaintiffs are persons who purchased or leased one or more Delta Ignition Switch

Vehicles primarily for personal, family, or household purposes within the meaning of R.I. GEN.

LAWS § 6-13.1-5.2(a).

         6115. Rhode Island’s Unfair Trade Practices and Consumer Protection Act (“Rhode

Island CPA”) prohibits “unfair or deceptive acts or practices in the conduct of any trade or

commerce” including: “(v) Representing that goods or services have sponsorship, approval,

characteristics, ingredients, uses, benefits, or quantities that they do not have”;

“(vii) Representing that goods or services are of a particular standard, quality, or grade …, if

they are of another”; “(ix) Advertising goods or services with intent not to sell them as

advertised”; “(xii) Engaging in any other conduct that similarly creates a likelihood of confusion

or of misunderstanding”; “(xiii) Engaging in any act or practice that is unfair or deceptive to the




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consumer”; and “(xiv) Using any other methods, acts or practices which mislead or deceive

members of the public in a material respect.” R.I. GEN. LAWS § 6-13.1-1(6).

         6116. Old GM engaged in unlawful trade practices, including: (1) representing that the

Delta Ignition Switch Vehicles have characteristics, uses, benefits, and qualities which they do

not have; (2) representing that the Delta Ignition Switch Vehicles are of a particular standard and

quality when they are not; (3) advertising the Delta Ignition Switch Vehicles with the intent not

to sell them as advertised; and (4) otherwise engaging in conduct that is unfair or deceptive and

likely to deceive.

         6117. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         6118. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         6119. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         6120. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Rhode Island CPA.

         6121. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.




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         6122. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         6123. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         6124. Old GM knew or should have known that its conduct violated the Rhode Island

CPA.

         6125. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         6126. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         6127. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.



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         6128. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         6129. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         6130. As a direct and proximate result of Old GM’s violations of the Rhode Island CPA,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.

         6131. Plaintiffs are entitled to recover the greater of actual damages or $200 pursuant to

R.I. GEN. LAWS § 6-13.1-5.2(a). Plaintiffs also seek punitive damages in the discretion of the

Court because of New GM’s egregious disregard of consumer and public safety and its long-

running concealment of the serious safety defects and their tragic consequences.

                                            COUNT VII

             SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         6132. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6133. This claim is brought on behalf of Rhode Island residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         6134. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,




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the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         6135. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         6136. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         6137. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         6138. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         6139. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         6140. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old




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GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         6141. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         6142. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         6143. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         6144. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         6145. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.




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                                           COUNT VIII

                SUCCESSOR LIABILITY CLAIM FOR BREACH OF IMPLIED
                        WARRANTY OF MERCHANTABILITY
                             (R.I. GEN. LAWS § 6A-2-314)

         6146. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6147. This claim is brought on behalf of Rhode Island residents who are members of the

Delta Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor Liability

Subclass (for the purposes of this Count, “Plaintiffs”).

         6148. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         6149. Old GM was a merchant with respect to motor vehicles.

         6150. A warranty that the Delta Ignition Switch Vehicles were in merchantable

condition was implied by law in the transactions when Plaintiffs purchased or leased their

vehicles from Old GM on or before July 9, 2009.

         6151. The Delta Ignition Switch Vehicles, when sold and at all times thereafter, were

not merchantable and not fit for the ordinary purpose for which cars are used. Specifically, the

Delta Ignition Switch Vehicles were inherently defective in that there were defects in the ignition

switch systems that cause sudden unintended stalling to occur, with the attendant shut down of

power steering and power brakes and the nondeployment of airbags in the event of a collision,

thereby causing an increased likelihood of serious injury or death.




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         6152. New GM, as the successor to Old GM, was provided notice of these issues by

numerous complaints filed against it, internal investigations, and by numerous individual letters

and communications sent by Plaintiffs and others before or within a reasonable amount of time

after New GM issued the recall and the allegations of vehicle defects became public.

         6153. As a direct and proximate result of Old GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                      SOUTH CAROLINA

                                             COUNT I

                         VIOLATIONS OF THE SOUTH CAROLINA
                            UNFAIR TRADE PRACTICES ACT
                             (S.C. CODE ANN. § 39-5-10, et seq.)

         6154. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6155. This claim is brought on behalf of South Carolina residents who are members of

any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque

Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag

Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of this

Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the

conduct of New GM.

         6156. New GM is a “person” under S.C. CODE ANN. § 39-5-10.

         6157. The South Carolina Unfair Trade Practices Act (“South Carolina UTPA”)

prohibits “unfair or deceptive acts or practices in the conduct of any trade or commerce ….”

S.C. CODE ANN. § 39-5-20(a). New GM engaged in unfair and deceptive acts or practices and

violated the South Carolina UTPA by systematically devaluing safety and concealing a plethora




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of defects in New GM and Old GM vehicles. The defects in each vehicle include not only the

specific defect (e.g., the Delta Ignition Switch), but also include the defective process through

which New GM built cars, a process that included cost-cutting, minimizing the importance of

safety issues, siloing, the depletion of resources devoted to recognizing and studying safety

issues, the failure to follow acceptable engineering and inventory processes concerning parts

management, and the failure to follow a proper FMEA process. All of these defective processes

would be material to a reasonable consumer.

         6158. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         6159. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles.

         6160. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.




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         6161. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the South Carolina UTPA.

         6162. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         6163. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         6164. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         6165. New GM knew or should have known that its conduct violated the South Carolina

UTPA.

         6166. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         6167. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles, because New GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Defective Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Defective Vehicles, while purposefully
                        withholding material facts from Plaintiffs that contradicted
                        these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to disclose and
                        remedy the defects.




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         6168. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         6169. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.

         6170. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         6171. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         6172. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By contractually assuming TREAD Act responsibilities with respect to Old GM vehicles, New




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GM effectively undertook the role of manufacturer of those vehicles because the TREAD Act on

its face only applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing

duty to all Defective Vehicle owners to refrain from unfair and deceptive acts or practices under

the South Carolina UTPA—regardless of when those owners acquired their vehicles.

         6173. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         6174. As a direct and proximate result of New GM’s violations of the South Carolina

UTPA, Plaintiffs have suffered injury-in-fact and/or actual damage, as alleged above. As a

direct result of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost

time required to repair their vehicles.

         6175. Pursuant to S.C. CODE ANN. § 39-5-140(a), Plaintiffs seek monetary relief against

New GM to recover for their economic losses. Because New GM’s actions were willful and

knowing, Plaintiffs’ damages should be trebled. Id.

         6176. Plaintiffs further allege that New GM’s malicious and deliberate conduct warrants

an assessment of punitive damages because New GM carried out despicable conduct with willful

and conscious disregard of the rights and safety of others, subjecting Plaintiffs to cruel and unjust

hardship as a result. New GM intentionally and willfully misrepresented the safety and

reliability of the Defective Vehicles, deceived Plaintiffs on life-or-death matters, concealed

material facts that only New GM knew, and repeatedly promised Plaintiffs that all vehicles were

safe—all to avoid the expense and public relations nightmare of correcting a deadly flaw in New




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GM and Old GM vehicles. New GM’s unlawful conduct constitutes malice, oppression, and

fraud warranting punitive damages.

         6177. Plaintiffs further seek an order enjoining New GM’s unfair or deceptive acts or

practices.

                                            COUNT II

                VIOLATIONS OF THE SOUTH CAROLINA REGULATION OF
                 MANUFACTURERS, DISTRIBUTORS, AND DEALERS ACT
                           (S.C. CODE ANN. § 56-15-10, et seq.)

         6178. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6179. This claim is brought on behalf of South Carolina residents who are members of

any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque

Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag

Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of this

Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the

conduct of New GM.

         6180. New GM was a “manufacturer” as set forth in S.C. CODE ANN. § 56-15-10, as it

was engaged in the business of manufacturing or assembling new and unused motor vehicles.

         6181. New GM committed unfair or deceptive acts or practices that violated the South

Carolina Regulation of Manufacturers, Distributors, and Dealers Act (“Dealers Act”), S.C. CODE

ANN. § 56-15-30.

         6182. New GM engaged in actions which were arbitrary, in bad faith, unconscionable,

and which caused damage to Plaintiffs and to the public.




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         6183. New GM’s bad faith and unconscionable actions include, but are not limited to:

(1) representing that Defective Vehicles have characteristics, uses, benefits, and qualities which

they do not have, (2) representing that Defective Vehicles are of a particular standard, quality,

and grade when they are not, (3) advertising Defective Vehicles with the intent not to sell them

as advertised, (4) representing that a transaction involving Defective Vehicles confers or

involves rights, remedies, and obligations which it does not, and (5) representing that the subject

of a transaction involving Defective Vehicles has been supplied in accordance with a previous

representation when it has not.

         6184. New GM resorted to and used false and misleading advertisements in connection

with its business. As alleged above, New GM made numerous material statements about the

safety and reliability of the Defective Vehicles that were either false or misleading. Each of

these statements contributed to the deceptive context of New GM’s unlawful advertising and

representations as a whole.

         6185. Plaintiffs bring this action pursuant to S.C. CODE ANN. § 56-15-110(2), as the

action is one of common or general interest to many persons and the parties are too numerous to

bring them all before the court.

         6186. Plaintiffs are entitled to double their actual damages, the cost of the suit, and

attorney’s fees pursuant to S.C. CODE ANN. § 56-15-110. Plaintiffs also seek injunctive relief

under S.C. CODE ANN. § 56-15-110. Plaintiffs also seek treble damages because New GM acted

maliciously.




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                                            COUNT III

           BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
                            (S.C. CODE § 36-2-314)

         6187. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6188. This claim is brought only on behalf of South Carolina residents who are

members of any of the following Subclasses: (i) the Delta Ignition Switch Defect Magnuson-

Moss and Implied Warranty Subclass; (ii) the Low Torque Ignition Switch Defect Magnuson-

Moss and Implied Warranty Subclass; (iii) the Knee-to-Key Camaro Defect Magnuson-Moss and

Implied Warranty Subclass; (iv) the Side Airbag Defect Magnuson-Moss and Implied Warranty

Subclass; and (v) the Power Steering Defect Magnuson-Moss and Implied Warranty Subclass

(collectively for the purposes of this Count, “Plaintiffs”).

         6189. New GM was a merchant with respect to motor vehicles under S.C. CODE § 36-2-

314.

         6190. Under S.C. CODE § 36-2-314, a warranty that the Defective Vehicles were in

merchantable condition was implied by law in the transactions when Plaintiffs purchased or

leased their Defective Vehicles from New GM on or after July 10, 2009.

         6191. The Defective Vehicles, when sold and at all times thereafter, were not

merchantable and are not fit for the ordinary purpose for which cars are used.

         6192. The Defective Ignition Switch Vehicles are inherently defective in that there are

defects in the ignition switch systems that cause sudden unintended stalling to occur, with the

attendant shut down of power steering and power brakes and the nondeployment of airbags in the

event of a collision, thereby causing an increased likelihood of serious injury or death.




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         6193. The Power Steering Defect Vehicles are inherently defective in that there are

defects in the vehicles that can cause the loss of power steering assist, resulting in an increased

risk of accident.

         6194. The Side Airbag Defect Vehicles are inherently defective in that there are defects

in the wiring harness connectors that can cause the side impact airbags (SIABs) and seatbelt

pretensioners not to deploy in the event of a collision, thereby causing an increased likelihood of

serious injury or death.

         6195. New GM was provided notice of these issues by numerous complaints filed

against it, internal investigations, and by numerous individual letters and communications sent

by Plaintiffs and others before or within a reasonable amount of time after New GM issued the

recall and the allegations of vehicle defects became public.

         6196. As a direct and proximate result of New GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                            COUNT IV

                                 FRAUD BY CONCEALMENT

         6197. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6198. This claim is brought on behalf of South Carolina residents who are members of

any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque

Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag

Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of this

Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the

conduct of New GM.




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         6199. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         6200. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         6201. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         6202. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         6203. New GM did so in order to falsely assure purchasers, lessees, and owners of

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         6204. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and




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implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         6205. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         6206. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         6207. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         6208. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs, as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all




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Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         6209. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         6210. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.

                                            COUNT V

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         6211. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6212. This claim is brought only on behalf of South Carolina residents who are

members of the Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count,

“Plaintiffs”).

         6213. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         6214. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full




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evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM ), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         6215. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.

         6216. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         6217. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         6218. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         6219. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         6220. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured




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claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         6221. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         6222. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC

Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         6223. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         6224. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         6225. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         6226. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.




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         6227. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         6228. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable

by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         6229. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         6230. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         6231. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.




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         6232. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.

                                            COUNT VI

                                    UNJUST ENRICHMENT

         6233. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6234. This claim is brought on behalf of South Carolina residents who are members of

any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque

Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag

Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of this

Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the

conduct of New GM.

         6235. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         6236. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

         6237. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.




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         6238. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         6239. Thus, all Plaintiffs conferred a benefit on New GM.

         6240. It is inequitable for New GM to retain these benefits.

         6241. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         6242. New GM knowingly accepted the benefits of its unjust conduct.

         6243. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                            COUNT VII

                 SUCCESSOR LIABILITY CLAIM FOR VIOLATIONS OF THE
                   SOUTH CAROLINA UNFAIR TRADE PRACTICES ACT
                            (S.C. CODE ANN. § 39-5-10, et seq.)

         6244. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6245. This claim is brought on behalf of South Carolina residents who are members of

the Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         6246. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,




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the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         6247. Old GM is a “person” under S.C. CODE ANN. § 39-5-10.

         6248. The South Carolina Unfair Trade Practices Act (“South Carolina UTPA”)

prohibits “unfair or deceptive acts or practices in the conduct of any trade or commerce ….”

S.C. CODE ANN. § 39-5-20(a). Old GM engaged in unfair and deceptive acts or practices and

violated the South Carolina UTPA by systematically devaluing safety and concealing defects in

Delta Ignition Switch Vehicles.

         6249. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         6250. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         6251. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         6252. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the South Carolina UTPA.

         6253. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.




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         6254. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         6255. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         6256. Old GM knew or should have known that its conduct violated the South Carolina

UTPA.

         6257. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         6258. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         6259. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.



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         6260. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         6261. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         6262. As a direct and proximate result of Old GM’s violations of the South Carolina

UTPA, Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has

successor liability.

         6263. Pursuant to S.C. CODE ANN. § 39-5-140(a), Plaintiffs seek monetary relief against

New GM to recover for their economic losses. Because Old GM’s actions were willful and

knowing, Plaintiffs’ damages should be trebled. Id.

         6264. Plaintiffs further allege that Old GM’s malicious and deliberate conduct warrants

an assessment of punitive damages because Old GM carried out despicable conduct with willful

and conscious disregard of the rights and safety of others, subjecting Plaintiffs to cruel and unjust

hardship as a result. Old GM intentionally and willfully misrepresented the safety and reliability

of the Delta Ignition Switch Vehicles, deceived Plaintiffs on life-or-death matters, concealed

material facts that only Old GM knew, and repeatedly promised Plaintiffs that all vehicles were

safe—all to avoid the expense and public relations nightmare of correcting a deadly flaw Delta

Ignition Switch Vehicles. Old GM’s unlawful conduct constitutes malice, oppression, and fraud

warranting punitive damages.




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         6265. Plaintiffs further seek an order enjoining New GM’s unfair or deceptive acts or

practices.

                                           COUNT VIII

  SUCCESSOR LIABLITY CLAIM FOR VIOLATIONS OF THE SOUTH CAROLINA
   REGULATION OF MANUFACTURERS, DISTRIBUTORS, AND DEALERS ACT
                    (S.C. CODE ANN. § 56-15-10, et seq.)

         6266. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6267. This claim is brought on behalf of South Carolina residents who are members of

the Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         6268. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         6269. Old GM was a “manufacturer” as set forth in S.C. CODE ANN. § 56-15-10, as it

was engaged in the business of manufacturing or assembling new and unused motor vehicles.

         6270. Old GM committed unfair or deceptive acts or practices that violated the South

Carolina Regulation of Manufacturers, Distributors, and Dealers Act (“Dealers Act”), S.C. CODE

ANN. § 56-15-30.

         6271. Old GM engaged in actions which were arbitrary, in bad faith, unconscionable,

and which caused damage to Plaintiffs and to the public.

         6272. Old GM’s bad faith and unconscionable actions include, but are not limited to:

(1) representing that Delta Ignition Switch Vehicles have characteristics, uses, benefits, and




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qualities which they do not have, (2) representing that Delta Ignition Switch Vehicles are of a

particular standard, quality, and grade when they are not, (3) advertising Delta Ignition Switch

Vehicles with the intent not to sell them as advertised, (4) representing that a transaction

involving Delta Ignition Switch Vehicles confers or involves rights, remedies, and obligations

which it does not, and (5) representing that the subject of a transaction involving Delta Ignition

Switch Vehicles has been supplied in accordance with a previous representation when it has not.

         6273. Old GM resorted to and used false and misleading advertisements in connection

with its business. As alleged above, Old GM made numerous material statements about the

safety and reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

Each of these statements contributed to the deceptive context of old GM’s unlawful advertising

and representations as a whole.

         6274. Plaintiffs bring this action pursuant to S.C. CODE ANN. § 56-15-110(2), as the

action is one of common or general interest to many persons and the parties are too numerous to

bring them all before the court.

         6275. Plaintiffs are entitled to double their actual damages, the cost of the suit, and

attorney’s fees pursuant to S.C. CODE ANN. § 56-15-110. Plaintiffs also seek injunctive relief

under S.C. CODE ANN. § 56-15-110. Plaintiffs also seek treble damages because New GM acted

maliciously.

                                             COUNT IX

           SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         6276. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.




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         6277. This claim is brought on behalf of South Carolina residents who are members of

the Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         6278. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         6279. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         6280. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         6281. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         6282. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         6283. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         6284. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge




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and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         6285. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         6286. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         6287. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         6288. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable Plaintiffs for damages in an amount to be proven at trial.




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         6289. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                            COUNT X

                SUCCESSOR LIABILITY CLAIM FOR BREACH OF IMPLIED
                        WARRANTY OF MERCHANTABILITY
                               (S.C. CODE § 36-2-314)

         6290. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6291. This claim is brought on behalf of South Carolina residents who are members of

the Delta Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor Liability

Subclass (for the purposes of this Count, “Plaintiffs”).

         6292. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         6293. Old GM was a merchant with respect to motor vehicles under S.C. CODE § 36-2-

314.

         6294. Under S.C. CODE § 36-2-314, a warranty that the Delta Ignition Switch Vehicles

were in merchantable condition was implied by law in the transactions when Plaintiffs purchased

or leased their vehicles from Old GM on or before July 9, 2009.

         6295. The Delta Ignition Switch Vehicles, when sold and at all times thereafter, were

not merchantable and not fit for the ordinary purpose for which cars are used. Specifically, the




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Delta Ignition Switch Vehicles were inherently defective in that there were defects in the ignition

switch systems that cause sudden unintended stalling to occur, with the attendant shut down of

power steering and power brakes and the nondeployment of airbags in the event of a collision,

thereby causing an increased likelihood of serious injury or death.

         6296. New GM, as the successor to Old GM, was provided notice of these issues by

numerous complaints filed against it, internal investigations, and by numerous individual letters

and communications sent by Plaintiffs and others before or within a reasonable amount of time

after New GM issued the recall and the allegations of vehicle defects became public.

         6297. As a direct and proximate result of Old GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                        SOUTH DAKOTA

                                             COUNT I

                    VIOLATION OF THE SOUTH DAKOTA
        DECEPTIVE TRADE PRACTICES AND CONSUMER PROTECTION LAW
                        (S.D. CODIFIED LAWS § 37-24-6)

         6298. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6299. This claim is brought on behalf of South Dakota residents who are members of

any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque

Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag

Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of this

Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the

conduct of New GM.




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         6300. The South Dakota Deceptive Trade Practices and Consumer Protection Law

(“South Dakota CPL”) prohibits deceptive acts or practices, which are defined for relevant

purposes to include “[k]nowingly and intentionally act, use, or employ any deceptive act or

practice, fraud, false pretense, false promises, or misrepresentation or to conceal, suppress, or

omit any material fact in connection with the sale or advertisement of any merchandise,

regardless of whether any person has in fact been misled, deceived, or damaged thereby [.]”

S.D. CODIFIED LAWS § 37-24-6(1). The conduct of New GM as set forth herein constitutes

deceptive acts or practices, fraud, false promises, misrepresentation, concealment, suppression

and omission of material facts in violation of S.D. Codified Laws § 37-24-6 and 37-24-31,

including, but not limited to, New GM’s misrepresentations and omissions regarding the safety

and reliability of the Defective Vehicles, and New GM’s misrepresentations concerning a host of

other defects and safety issues. The defects in each vehicle include not only the specific defect

(e.g., the Delta Ignition Switch), but also include the defective process through which New GM

built cars, a process that included cost-cutting, minimizing the importance of safety issues,

siloing, the depletion of resources devoted to recognizing and studying safety issues, the failure

to follow acceptable engineering and inventory processes concerning parts management, and the

failure to follow a proper FMEA process. All of these defective processes would be material to a

reasonable consumer.

         6301. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         6302. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or




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practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles.

         6303. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         6304. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the South Dakota CPL.

         6305. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         6306. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         6307. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         6308. New GM knew or should have known that its conduct violated the South Dakota

CPL.




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         6309. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         6310. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles, because New GM:

                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         6311. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         6312. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.



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         6313. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         6314. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         6315. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By contractually assuming TREAD Act responsibilities with respect to Old GM vehicles, New

GM effectively undertook the role of manufacturer of those vehicles because the TREAD Act on

its face only applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing

duty to all Defective Vehicle owners to refrain from unfair and deceptive acts or practices under

the South Dakota CPL—regardless of when those owners acquired their vehicles.

         6316. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         6317. As a direct and proximate result of New GM’s violations of the South Dakota

CPL, Plaintiffs have suffered injury-in-fact and/or actual damage, as alleged above. As a direct

result of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.




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         6318. Under S.D. CODIFIED LAWS § 37-24-31, Plaintiffs are entitled to a recovery of

their actual damages suffered as a result of New GM’s acts and practices.

                                            COUNT II

                                   FRAUD BY CONCEALMENT

         6319. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6320. This claim is brought on behalf of South Dakota residents who are members of

any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque

Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag

Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of this

Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the

conduct of New GM.

         6321. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         6322. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         6323. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         6324. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         6325. New GM did so in order to falsely assure purchasers, lessees, and owners of

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and




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to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         6326. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         6327. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         6328. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         6329. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have




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continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         6330. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs, as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         6331. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         6332. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.




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                                            COUNT III

           BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
                        (S.D. CODIFIED LAWS § 57A-2-314)

         6333. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6334. This claim is brought only on behalf of South Dakota residents who are members

of any of the following Subclasses: (i) the Delta Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (ii) the Low Torque Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (iii) the Knee-to-Key Camaro Defect Magnuson-Moss and Implied

Warranty Subclass; (iv) the Side Airbag Defect Magnuson-Moss and Implied Warranty

Subclass; and (v) the Power Steering Defect Magnuson-Moss and Implied Warranty Subclass

(collectively for the purposes of this Count, “Plaintiffs”).

         6335. New GM was a merchant with respect to motor vehicles.

         6336. A warranty that the Defective Vehicles were in merchantable condition was

implied by law in the transactions when Plaintiffs purchased or leased their Defective Vehicles

from New GM on or after July 10, 2009.

         6337. The Defective Vehicles, when sold and at all times thereafter, were not

merchantable and are not fit for the ordinary purpose for which cars are used.

         6338. The Defective Ignition Switch Vehicles are inherently defective in that there are

defects in the ignition switch systems that cause sudden unintended stalling to occur, with the

attendant shut down of power steering and power brakes and the nondeployment of airbags in the

event of a collision, thereby causing an increased likelihood of serious injury or death.




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         6339. The Power Steering Defect Vehicles are inherently defective in that there are

defects in the vehicles that can cause the loss of power steering assist, resulting in an increased

risk of accident.

         6340. The Side Airbag Defect Vehicles are inherently defective in that there are defects

in the wiring harness connectors that can cause the side impact airbags (SIABs) and seatbelt

pretensioners not to deploy in the event of a collision, thereby causing an increased likelihood of

serious injury or death.

         6341. New GM was provided notice of these issues by numerous complaints filed

against it, internal investigations, and by numerous individual letters and communications sent

by Plaintiffs and others before or within a reasonable amount of time after New GM issued the

recall and the allegations of vehicle defects became public.

         6342. As a direct and proximate result of New GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                            COUNT IV

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         6343. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6344. This claim is brought only on behalf of South Dakota residents who are members

of the Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count,

“Plaintiffs”).




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         6345. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         6346. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM ), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         6347. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.

         6348. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         6349. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.




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         6350. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         6351. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         6352. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         6353. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         6354. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC

Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         6355. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness




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bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         6356. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         6357. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         6358. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         6359. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         6360. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable

by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.




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         6361. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         6362. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         6363. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         6364. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.

                                            COUNT V

                                       UNJUST ENRICHMENT

         6365. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6366. This claim is brought on behalf of South Dakota residents who are members of

any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque

Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag




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Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of this

Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the

conduct of New GM.

         6367. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         6368. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

         6369. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         6370. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         6371. Thus, all Plaintiffs conferred a benefit on New GM.

         6372. It is inequitable for New GM to retain these benefits.

         6373. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         6374. New GM knowingly accepted the benefits of its unjust conduct.

         6375. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.




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                                            COUNT VI

       SUCCESSOR LIABILITY CLAIM FOR VIOLATIONS OF THE DECEPTIVE
            TRADE PRACTICES AND CONSUMER PROTECTION LAW
                        (S.D. CODIFIED LAWS § 37-24-6)

         6376. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6377. This claim is brought on behalf of South Dakota residents who are members of

the Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         6378. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         6379. The South Dakota Deceptive Trade Practices and Consumer Protection Law

(“South Dakota CPL”) prohibits deceptive acts or practices, which are defined for relevant

purposes to include “[k]nowingly and intentionally act, use, or employ any deceptive act or

practice, fraud, false pretense, false promises, or misrepresentation or to conceal, suppress, or

omit any material fact in connection with the sale or advertisement of any merchandise,

regardless of whether any person has in fact been misled, deceived, or damaged thereby [.]”

S.D. CODIFIED LAWS § 37-24-6(1). The conduct of Old GM as set forth herein constitutes

deceptive acts or practices, fraud, false promises, misrepresentation, concealment, suppression

and omission of material facts in violation of S.D. Codified Laws § 37-24-6 and 37-24-31,

including, but not limited to, Old GM’s misrepresentations and omissions regarding the safety




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and reliability of the Delta Ignition Switch Vehicles, and Old GM’s misrepresentations

concerning a host of other defects and safety issues.

         6380. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         6381. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         6382. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         6383. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the South Dakota CPL.

         6384. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         6385. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         6386. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.




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         6387. Old GM knew or should have known that its conduct violated the South Dakota

CPL.

         6388. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         6389. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         6390. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         6391. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         6392. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their



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vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         6393. As a direct and proximate result of Old GM’s violations of the South Dakota

CPL, Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has

successor liability.

         6394. Under S.D. CODIFIED LAWS § 37-24-31, Plaintiffs are entitled to a recovery of

their actual damages suffered as a result of New GM’s acts and practices.

                                            COUNT VII

           SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         6395. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6396. This claim is brought on behalf of South Dakota residents who are members of

the Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         6397. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         6398. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         6399. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.




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         6400. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         6401. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         6402. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         6403. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         6404. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.




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         6405. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         6406. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         6407. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         6408. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                           COUNT VIII

                SUCCESSOR LIABILITY CLAIM FOR BREACH OF IMPLIED
                        WARRANTY OF MERCHANTABILITY
                           (S.D. CODIFIED LAWS § 57A-2-314)

         6409. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.




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         6410. This claim is brought on behalf of South Dakota residents who are members of

the Delta Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor Liability

Subclass (for the purposes of this Count, “Plaintiffs”).

         6411. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         6412. Old GM was a merchant with respect to motor vehicles.

         6413. A warranty that the Delta Ignition Switch Vehicles were in merchantable

condition was implied by law in the transactions when Plaintiffs purchased or leased their

vehicles from Old GM on or before July 9, 2009.

         6414. The Delta Ignition Switch Vehicles, when sold and at all times thereafter, were

not merchantable and not fit for the ordinary purpose for which cars are used. Specifically, the

Delta Ignition Switch Vehicles were inherently defective in that there were defects in the ignition

switch systems that cause sudden unintended stalling to occur, with the attendant shut down of

power steering and power brakes and the nondeployment of airbags in the event of a collision,

thereby causing an increased likelihood of serious injury or death.

         6415. New GM, as the successor to Old GM, was provided notice of these issues by

numerous complaints filed against it, internal investigations, and by numerous individual letters

and communications sent by Plaintiffs and others before or within a reasonable amount of time

after New GM issued the recall and the allegations of vehicle defects became public.

         6416. As a direct and proximate result of Old GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.




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                                           TENNESSEE

                                             COUNT I

                VIOLATION OF TENNESSEE CONSUMER PROTECTION ACT
                          (TENN. CODE ANN. § 47-18-101, et seq.)

         6417. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6418. This claim is brought on behalf of Tennessee residents who are members of any

of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         6419. Plaintiffs are “natural persons” and “consumers” within the meaning of TENN.

CODE ANN. § 47-18-103(2).

         6420. New GM is a “person” within the meaning of TENN. CODE ANN. § 47-18-103(2).

         6421. New GM’s conduct complained of herein affected “trade,” “commerce” or

“consumer transactions” within the meaning of TENN. CODE ANN. § 47-18-103(19).

         6422. The Tennessee Consumer Protection Act (“Tennessee CPA”) prohibits “[u]nfair

or deceptive acts or practices affecting the conduct of any trade or commerce,” including but not

limited to: “Representing that goods or services have … characteristics, [or] … benefits … that

they do not have…;” “Representing that goods or services are of a particular standard, quality or

grade… if they are of another;” and “Advertising goods or services with intent not to sell them as

advertised.” TENN. CODE ANN. § 47-18-104. New GM violated the Tennessee CPA by engaging




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in unfair or deceptive acts, including representing that Defective Vehicles have characteristics or

benefits that they did not have; representing that Defective Vehicles are of a particular standard,

quality, or grade when they are of another; and advertising Defective Vehicles with intent not to

sell them as advertised.

         6423. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles. The defects in each vehicle include not only the specific

defect (e.g., the Delta Ignition Switch), but also include the defective process through which

New GM built cars, a process that included cost-cutting, minimizing the importance of safety

issues, siloing, the depletion of resources devoted to recognizing and studying safety issues, the

failure to follow acceptable engineering and inventory processes concerning parts management,

and the failure to follow a proper FMEA process. All of these defective processes would be

material to a reasonable consumer.

         6424. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety




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issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         6425. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Tennessee CPA.

         6426. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         6427. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         6428. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         6429. New GM knew or should have known that its conduct violated the Tennessee

CPA.

         6430. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         6431. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles, because New GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Defective Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Defective Vehicles, while purposefully
                        withholding material facts from Plaintiffs that contradicted
                        these representations; and/or




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                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         6432. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         6433. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.

         6434. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         6435. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.




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         6436. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By contractually assuming TREAD Act responsibilities with respect to Old GM vehicles, New

GM effectively undertook the role of manufacturer of those vehicles because the TREAD Act on

its face only applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing

duty to all Defective Vehicle owners to refrain from unfair and deceptive acts or practices under

the Tennessee CPA—regardless of when those owners acquired their vehicles.

         6437. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         6438. As a direct and proximate result of New GM’s violations of the Tennessee CPA,

Plaintiffs have suffered injury-in-fact and/or actual damage, as alleged above. As a direct result

of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.

         6439. Pursuant to TENN. CODE § 47-18-109(a), Plaintiffs seek monetary relief against

New GM measured as actual damages in an amount to be determined at trial, treble damages as a

result of New GM’s willful or knowing violations, and any other just and proper relief available

under the Tennessee CPA.




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                                            COUNT II

                                   FRAUD BY CONCEALMENT

         6440. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6441. This claim is brought on behalf of Tennessee residents who are members of any

of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         6442. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         6443. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         6444. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         6445. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         6446. New GM did so in order to falsely assure purchasers, lessees, and owners of

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to




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consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         6447. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         6448. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         6449. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         6450. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other




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affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         6451. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs, as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         6452. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         6453. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.




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                                             COUNT III

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         6454. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6455. This claim is brought only on behalf of Tennessee residents who are members of

the Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).

         6456. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         6457. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM ), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         6458. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.




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         6459. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         6460. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         6461. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         6462. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         6463. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         6464. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         6465. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC




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Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         6466. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         6467. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         6468. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         6469. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         6470. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         6471. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable




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by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         6472. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         6473. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         6474. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         6475. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.




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                                            COUNT IV

                                    UNJUST ENRICHMENT

         6476. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6477. This claim is brought on behalf of Tennessee residents who are members of any

of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         6478. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         6479. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

         6480. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         6481. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         6482. Thus, all Plaintiffs conferred a benefit on New GM.




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         6483. It is inequitable for New GM to retain these benefits.

         6484. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         6485. New GM knowingly accepted the benefits of its unjust conduct.

         6486. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                            COUNT V

                 SUCCESSOR LIABILITY CLAIM FOR VIOLATIONS OF THE
                      TENNESSEE CONSUMER PROTECTION ACT
                          (TENN. CODE ANN. § 47-18-101, et seq.)

         6487. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6488. This claim is brought on behalf of Tennessee residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         6489. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         6490. Plaintiffs are “natural persons” and “consumers” within the meaning of TENN.

CODE ANN. § 47-18-103(2).

         6491. Old GM is a “person” within the meaning of TENN. CODE ANN. § 47-18-103(2).

         6492. Old GM’s conduct complained of herein affected “trade,” “commerce” or

“consumer transactions” within the meaning of TENN. CODE ANN. § 47-18-103(19).




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         6493. The Tennessee Consumer Protection Act (“Tennessee CPA”) prohibits “[u]nfair

or deceptive acts or practices affecting the conduct of any trade or commerce,” including but not

limited to: “Representing that goods or services have … characteristics, [or] … benefits … that

they do not have…;” “Representing that goods or services are of a particular standard, quality or

grade… if they are of another;” and “Advertising goods or services with intent not to sell them as

advertised.” TENN. CODE ANN. § 47-18-104. Old GM violated the Tennessee CPA by engaging

in unfair or deceptive acts, including representing that Delta Ignition Switch Vehicles have

characteristics or benefits that they did not have; representing that Delta Ignition Switch Vehicles

are of a particular standard, quality, or grade when they are of another; and advertising Delta

Ignition Switch Vehicles with intent not to sell them as advertised.

         6494. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         6495. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         6496. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         6497. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Tennessee CPA.




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         6498. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         6499. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         6500. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         6501. Old GM knew or should have known that its conduct violated the Tennessee

CPA.

         6502. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         6503. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         6504. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of



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the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         6505. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         6506. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         6507. As a direct and proximate result of Old GM’s violations of the Tennessee CPA,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.

         6508. Pursuant to TENN. CODE § 47-18-109(a), Plaintiffs seek monetary relief against

New GM measured as actual damages in an amount to be determined at trial, treble damages as a

result of Old GM’s willful or knowing violations, and any other just and proper relief available

under the Tennessee CPA.

                                            COUNT VI

             SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         6509. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6510. This claim is brought on behalf of Tennessee residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).




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         6511. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         6512. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         6513. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         6514. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         6515. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         6516. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         6517. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as




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set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         6518. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         6519. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         6520. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         6521. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable Plaintiffs for damages in an amount to be proven at trial.

         6522. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old




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GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                               TEXAS

                                              COUNT I

                      VIOLATIONS OF THE TEXAS DECEPTIVE TRADE
                        PRACTICES—CONSUMER PROTECTION ACT
                           (TEX. BUS. & COM. CODE §§ 17.41, et seq.)

         6523. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6524. This claim is brought on behalf of Texas residents who are members of any of the

following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         6525. Plaintiffs are individuals, partnerships and corporations with assets of less than

$25 million (or are controlled by corporations or entities with less than $25 million in assets).

See TEX. BUS. & COM. CODE § 17.41.

         6526. The Texas Deceptive Trade Practices-Consumer Protection Act (“Texas DTPA”)

provides a private right of action to a consumer where the consumer suffers economic damage as

the result of either (i) the use of false, misleading or deceptive act or practice specifically

enumerated in TEX. BUS. & COM. CODE § 17.46(b); (ii) “breach of an express or implied

warranty”; or (iii) “an unconscionable action or course of action by any person.” TEX. BUS. &

COM. CODE § 17.50(a)(2) & (3).




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         6527. An “unconscionable action or course of action,” means “an act or practice which,

to a consumer’s detriment, takes advantage of the lack of knowledge, ability, experience, or

capacity of the consumer to a grossly unfair degree.” TEX. BUS. & COM. CODE § 17.45(5). As

detailed herein, New GM has engaged in an unconscionable action or course of action and

thereby caused economic damages to Plaintiffs.

         6528. New GM has also breached the implied warranty of merchantability with respect

to Plaintiffs, as set forth in Texas Count III below.

         6529. New GM has also violated the specifically enumerated provisions of TEX. BUS. &

COM. CODE § 17.46(b) by, at a minimum: (1) representing that the Defective Vehicles have

characteristics, uses, benefits, and qualities which they do not have; (2) representing that the

Defective Vehicles are of a particular standard, quality, and grade when they are not;

(3) advertising the Defective Vehicles with the intent not to sell them as advertised; (4) failing to

disclose information concerning the Defective Vehicles with the intent to induce consumers to

purchase or lease the Defective Vehicles.

         6530. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles. The defects in each vehicle include not only the specific

defect (e.g., the Delta Ignition Switch), but also include the defective process through which

New GM built cars, a process that included cost-cutting, minimizing the importance of safety

issues, siloing, the depletion of resources devoted to recognizing and studying safety issues, the




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failure to follow acceptable engineering and inventory processes concerning parts management,

and the failure to follow a proper FMEA process. All of these defective processes would be

material to a reasonable consumer.

         6531. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         6532. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Texas DTPA.

         6533. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         6534. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         6535. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         6536. New GM knew or should have known that its conduct violated the Texas DTPA.




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         6537. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         6538. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles, because New GM:

                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         6539. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         6540. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.



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         6541. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         6542. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         6543. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By contractually assuming TREAD Act responsibilities with respect to Old GM vehicles, New

GM effectively undertook the role of manufacturer of those vehicles because the TREAD Act on

its face only applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing

duty to all Defective Vehicle owners to refrain from unfair and deceptive acts or practices under

the Texas DTPA—regardless of when those owners acquired their vehicles.

         6544. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         6545. As a direct and proximate result of New GM’s violations of the Texas DTPA,

Plaintiffs have suffered injury-in-fact and/or actual damage, as alleged above. As a direct result

of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.




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         6546. As the foregoing allegations demonstrate, New GM, by its misrepresentations and

failure to disclose material facts about the defects in the Defective Vehicles, which resulted in

the deaths and injuries of hundreds, and economically injured millions more. New GM thereby

engaged in acts or practices which, to the detriment of Plaintiffs, took advantage of their lack of

knowledge, ability, experience, and capacity to a grossly unfair degree. In other words, New

GM engaged in unconscionable actions or an unconscionable course of action as to Plaintiffs.

         6547. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose material information. As the result of New GM’s

performance of deceptive practices, and of unconscionable actions and an unconscionable course

of action, as set forth in detail above, Plaintiffs who purchased Defective Vehicles sold as new or

New GM Certified Pre-Owned vehicles after the date of New GM’s inception either would have

paid less for their vehicles or would not have purchased or leased them at all. Under TEX. BUS.

& COM. CODE § 17.50(b)(1), Plaintiffs are entitled to recover such economic damages.

         6548. As set forth above and in Texas Count III below, New GM breached the implied

warranty of merchantability, and engaged in unconscionable actions and an unconscionable

course of action “knowingly,” which means it did so with “actual awareness of the fact of the

act, practice, condition, defect or failure constituting the breach of warranty” and with “actual

awareness, at the time of the act or practice complained of, of the falsity, deception or unfairness

of the act or practice giving rise to the consumer’s claim….” TEX. BUS. & COM. CODE §

17.45(9). Accordingly, pursuant to TEX. BUS. COM. CODE § 17.50(b)(1), Plaintiffs are entitled to

additional damages in an amount up to three times the amount of economic damages.




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          6549. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. New GM’s unlawful acts and practices complained of herein affect the public

interest.

          6550. Pursuant to TEX. BUS. & COM. CODE § 17.50(a)(1) and (b), Plaintiffs seek

monetary relief against New GM measured as actual damages in an amount to be determined at

trial, treble damages for New GM’s knowing violations of the Texas DTPA, and any other just

and proper relief available under the Texas DTPA.

          6551. Alternatively, or additionally, pursuant to TEX. BUS. & COM. CODE § 17.50(b)(3)

& (4), Plaintiffs who purchased vehicles from New GM on or after July 10, 2009 are entitled to

disgorgement or to rescission or to any other relief necessary to restore any money or property

that was acquired from them based on violations of the Texas DTPA or which the Court deems

proper.

          6552. Plaintiffs are also entitled to recover court costs and reasonable and necessary

attorneys’ fees under § 17.50(d) of the Texas DTPA.

          6553. On October 8, 2014, certain Plaintiffs sent a letter complying with TEX. BUS. &

COM. CODE § 17.505(a).

                                             COUNT II

                                  FRAUD BY CONCEALMENT

          6554. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

          6555. This claim is brought on behalf of all Texas residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect




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Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         6556. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         6557. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         6558. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         6559. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         6560. New GM did so in order to falsely assure purchasers, lessees, and owners of

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         6561. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in




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the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         6562. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         6563. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         6564. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         6565. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs, as

alleged above. Had they been aware of the concealed defects that existed in the Defective




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Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         6566. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         6567. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.

                                            COUNT III

           BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
                         (TEX. BUS. & COM. CODE § 2.314)

         6568. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6569. This claim is brought only on behalf of Texas residents who are members of any

of the following Subclasses: (i) the Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Subclass; (ii) the Low Torque Ignition Switch Defect Magnuson-Moss and Implied

Warranty Subclass; (iii) the Knee-to-Key Camaro Defect Magnuson-Moss and Implied Warranty

Subclass; (iv) the Side Airbag Defect Magnuson-Moss and Implied Warranty Subclass; and (v)

the Power Steering Defect Magnuson-Moss and Implied Warranty Subclass (collectively for the

purposes of this Count, “Plaintiffs”).




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         6570. New GM was a merchant with respect to motor vehicles under TEX. BUS. & COM.

CODE § 2.104.

         6571. Under TEX. BUS. & COM. CODE § 2.314, a warranty that the Defective Vehicles

were in merchantable condition was implied by law in the transactions when Plaintiffs purchased

or leased their Defective Vehicles from New GM on or after July 10, 2009.

         6572. The Defective Vehicles, when sold and at all times thereafter, were not

merchantable and are not fit for the ordinary purpose for which cars are used.

         6573. The Defective Ignition Switch Vehicles are inherently defective in that there are

defects in the ignition switch systems that cause sudden unintended stalling to occur, with the

attendant shut down of power steering and power brakes and the nondeployment of airbags in the

event of a collision, thereby causing an increased likelihood of serious injury or death.

         6574. The Power Steering Defect Vehicles are inherently defective in that there are

defects in the vehicles that can cause the loss of power steering assist, resulting in an increased

risk of accident.

         6575. The Side Airbag Defect Vehicles are inherently defective in that there are defects

in the wiring harness connectors that can cause the side impact airbags (SIABs) and seatbelt

pretensioners not to deploy in the event of a collision, thereby causing an increased likelihood of

serious injury or death.

         6576. New GM was provided notice of these issues by numerous complaints filed

against it, internal investigations, and by numerous individual letters and communications sent

by Plaintiffs and others before or within a reasonable amount of time after New GM issued the

recall and the allegations of vehicle defects became public.




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         6577. As a direct and proximate result of New GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                             COUNT IV

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         6578. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6579. This claim is brought only on behalf of Texas residents who are members of the

Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).

         6580. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         6581. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM ), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         6582. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.




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         6583. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         6584. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         6585. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         6586. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         6587. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         6588. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         6589. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC




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Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         6590. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         6591. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         6592. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         6593. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         6594. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         6595. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable




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by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         6596. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         6597. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         6598. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         6599. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.




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                                            COUNT V

                                    UNJUST ENRICHMENT

         6600. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6601. This claim is brought on behalf of Texas residents who are members of any of the

following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         6602. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         6603. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

         6604. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         6605. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         6606. Thus, all Plaintiffs conferred a benefit on New GM.




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         6607. It is inequitable for New GM to retain these benefits.

         6608. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         6609. New GM knowingly accepted the benefits of its unjust conduct.

         6610. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                             COUNT VI

           SUCCESSOR LIABILITY CLAIM FOR VIOLATIONS OF THE TEXAS
            DECEPTIVE TRADE PRACTICES-CONSUMER PROTECTION ACT
                       (TEX. BUS. & COM. CODE §§ 17.41, et seq.)

         6611. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6612. This claim is brought on behalf of Texas residents who are members of the Delta

Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count, “Plaintiffs”).

         6613. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         6614. Plaintiffs are individuals, partnerships and corporations with assets of less than

$25 million (or are controlled by corporations or entities with less than $25 million in assets).

See TEX. BUS. & COM. CODE § 17.41.

         6615. The Texas Deceptive Trade Practices-Consumer Protection Act (“Texas DTPA”)

provides a private right of action to a consumer where the consumer suffers economic damage as

the result of either (i) the use of false, misleading or deceptive act or practice specifically




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enumerated in TEX. BUS. & COM. CODE § 17.46(b); (ii) “breach of an express or implied

warranty”; or (iii) “an unconscionable action or course of action by any person.” TEX. BUS. &

COM. CODE § 17.50(a)(2) & (3).

         6616. An “unconscionable action or course of action,” means “an act or practice which,

to a consumer’s detriment, takes advantage of the lack of knowledge, ability, experience, or

capacity of the consumer to a grossly unfair degree.” TEX. BUS. & COM. CODE § 17.45(5). As

detailed herein, Old GM has engaged in an unconscionable action or course of action and thereby

caused economic damages to Plaintiffs.

         6617. Old GM also breached the implied warranty of merchantability with respect to

Plaintiffs, as set forth in Texas Count VIII below.

         6618. Old GM has also violated the specifically enumerated provisions of TEX. BUS. &

COM. CODE § 17.46(b) by, at a minimum: (1) representing that the Delta Ignition Switch

Vehicles have characteristics, uses, benefits, and qualities which they do not have;

(2) representing that the Delta Ignition Switch Vehicles are of a particular standard, quality, and

grade when they are not; (3) advertising the Delta Ignition Switch Vehicles with the intent not to

sell them as advertised; (4) failing to disclose information concerning the Delta Ignition Switch

Vehicles with the intent to induce consumers to purchase or lease the Delta Ignition Switch

Vehicles.

         6619. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         6620. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or




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practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         6621. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         6622. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Texas DTPA.

         6623. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         6624. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         6625. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         6626. Old GM knew or should have known that its conduct violated the Texas DTPA.

         6627. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         6628. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;




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                  c.   Made incomplete representations about the safety and
                       reliability of the Delta Ignition Switch Vehicles, while
                       purposefully withholding material facts from Plaintiffs that
                       contradicted these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to
                       disclose and remedy the defects.

         6629. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         6630. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         6631. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         6632. As a direct and proximate result of Old GM’s violations of the Texas DTPA,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.

         6633. As the foregoing allegations demonstrate, Old GM, by its misrepresentations and

failure to disclose material facts about the safety and quality of the Delta Ignition Switch

Vehicles, which resulted in the deaths and injuries of hundreds, and economically injured




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millions more. Old GM thereby engaged in acts or practices which, to the detriment of

Plaintiffs, took advantage of their lack of knowledge, ability, experience, and capacity to a

grossly unfair degree. In other words, Old GM engaged in unconscionable actions or an

unconscionable course of action as to Plaintiffs.

         6634. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose material information. As the result of Old GM’s

performance of deceptive practices, and of unconscionable actions and an unconscionable course

of action, as set forth in detail above, Plaintiffs who purchased Old GM Delta Ignition Switch

Vehicles either would have paid less for their vehicles or would not have purchased or leased

them at all. Under TEX. BUS. & COM. CODE § 17.50(b)(1), Plaintiffs are entitled to recover such

economic damages.

         6635. As set forth above and in Texas Count VIII below, New GM breached the implied

warranty of merchantability with respect to Plaintiffs, and engaged in unconscionable actions

and an unconscionable course of action “knowingly,” which means it did so with “actual

awareness of the fact of the act, practice, condition, defect or failure constituting the breach of

warranty” and with “actual awareness, at the time of the act or practice complained of, of the

falsity, deception or unfairness of the act or practice giving rise to the consumer’s claim….”

TEX. BUS. & COM. CODE § 17.45(9). Accordingly, pursuant to TEX. BUS. COM. CODE §

17.50(b)(1), Plaintiffs are entitled to additional damages in an amount up to three times the

amount of economic damages.

         6636. Old GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. Old GM’s unlawful acts and practices complained of herein affect the public

interest.




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         6637. Pursuant to TEX. BUS. & COM. CODE § 17.50(a)(1) and (b), Plaintiffs seek

monetary relief against New GM measured as actual damages in an amount to be determined at

trial, treble damages for Old GM’s knowing violations of the Texas DTPA, and any other just

and proper relief available under the Texas DTPA.

         6638. Alternatively, or additionally, pursuant to TEX. BUS. & COM. CODE § 17.50(b)(3)

& (4), Plaintiffs are entitled to disgorgement or to rescission or to any other relief necessary to

restore any money or property that was acquired from them based on violations of the Texas

DTPA or which the Court deems proper.

         6639. Plaintiffs are also entitled to recover court costs and reasonable and necessary

attorneys’ fees under § 17.50(d) of the Texas DTPA.

         6640. On October 8, 2014, certain Plaintiffs sent a letter complying with TEX. BUS. &

COM. CODE § 17.505(a).

                                            COUNT VII

           SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         6641. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6642. This claim is brought on behalf of Texas residents who are members of the Delta

Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count, “Plaintiffs”).

         6643. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.




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         6644. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         6645. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         6646. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         6647. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         6648. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         6649. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.




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         6650. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         6651. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         6652. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         6653. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         6654. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.




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                                             COUNT VIII

                SUCCESSOR LIABILITY CLAIM FOR BREACH OF IMPLIED
                        WARRANTY OF MERCHANTABILITY
                           (TEX. BUS. & COM. CODE § 2.314)

         6655. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6656. This claim is brought on behalf of Texas residents who are members of the Delta

Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor Liability Subclass (for

the purposes of this Count, “Plaintiffs”).

         6657. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         6658. Old GM was a merchant with respect to motor vehicles under TEX. BUS. & COM.

CODE § 2.104.

         6659. Under TEX. BUS. & COM. CODE § 2.314, a warranty that the Delta Ignition Switch

Vehicles were in merchantable condition was implied by law in the transactions when Plaintiffs

purchased or leased their vehicles from Old GM on or before July 9, 2009.

         6660. The Delta Ignition Switch Vehicles, when sold and at all times thereafter, were

not merchantable and not fit for the ordinary purpose for which cars are used. Specifically, the

Delta Ignition Switch Vehicles were inherently defective in that there were defects in the ignition

switch systems that cause sudden unintended stalling to occur, with the attendant shut down of

power steering and power brakes and the nondeployment of airbags in the event of a collision,

thereby causing an increased likelihood of serious injury or death.




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         6661. New GM, as the successor to Old GM, was provided notice of these issues by

numerous complaints filed against it, internal investigations, and by numerous individual letters

and communications sent by Plaintiffs and others before or within a reasonable amount of time

after New GM issued the recall and the allegations of vehicle defects became public.

         6662. As a direct and proximate result of Old GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                              UTAH

                                             COUNT I

                VIOLATION OF UTAH CONSUMER SALES PRACTICES ACT
                           (UTAH CODE ANN. § 13-11-1, et seq.)

         6663. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6664. This claim is brought on behalf of Utah residents who are members of any of the

following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         6665. New GM is a “supplier” under the Utah Consumer Sales Practices Act (“Utah

CSPA”), UTAH CODE ANN. § 13-11-3.

         6666. Plaintiffs are “persons” under UTAH CODE ANN. § 13-11-3.

         6667. The sale of the Defective Vehicles to Plaintiffs was a “consumer transaction”

within the meaning of UTAH CODE ANN. § 13-11-3.




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         6668. The Utah CSPA makes unlawful any “deceptive act or practice by a supplier in

connection with a consumer transaction” under UTAH CODE ANN. § 13-11-4. Specifically, “a

supplier commits a deceptive act or practice if the supplier knowingly or intentionally: (a)

indicates that the subject of a consumer transaction has sponsorship, approval, performance

characteristics, accessories, uses, or benefits, if it has not” or “(b) indicates that the subject of a

consumer transaction is of a particular standard, quality, grade, style, or model, if it is not.”

UTAH CODE ANN. § 13-11-4. “An unconscionable act or practice by a supplier in connection

with a consumer transaction” also violates the Utah CSPA. UTAH CODE ANN. § 13-11-5.

         6669. New GM committed deceptive acts or practices in the conduct of trade or

commerce, by, among other things, engaging in unconscionable acts, representing that the

Defective Vehicles have characteristics, uses, benefits, and qualities which they do not have; and

representing that the Defective Vehicles are of a particular standard, quality, and grade when

they are not.

         6670. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles. The defects in each vehicle include not only the specific

defect (e.g., the Delta Ignition Switch), but also include the defective process through which

New GM built cars, a process that included cost-cutting, minimizing the importance of safety

issues, siloing, the depletion of resources devoted to recognizing and studying safety issues, the

failure to follow acceptable engineering and inventory processes concerning parts management,




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and the failure to follow a proper FMEA process. All of these defective processes would be

material to a reasonable consumer.

         6671. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         6672. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Utah CSPA.

         6673. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         6674. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         6675. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         6676. New GM knew or should have known that its conduct violated the Utah CSPA.

         6677. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.




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         6678. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles because New GM:

                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         6679. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         6680. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.

         6681. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.



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         6682. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         6683. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By contractually assuming TREAD Act responsibilities with respect to Old GM vehicles, New

GM effectively undertook the role of manufacturer of those vehicles because the TREAD Act on

its face only applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing

duty to all Defective Vehicle owners to refrain from unfair and deceptive acts or practices under

the Utah CSPA—regardless of when those owners acquired their vehicles.

         6684. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         6685. As a direct and proximate result of New GM’s violations of the Utah CSPA,

Plaintiffs have suffered injury-in-fact and/or actual damage, as alleged above. As a direct result

of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.

         6686. Pursuant to UTAH CODE ANN. § 13-11-4, Plaintiffs seek monetary relief against

New GM measured as the greater of (a) actual damages in an amount to be determined at trial




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and (b) statutory damages in the amount of $2,000 for each Plaintiff, reasonable attorneys’ fees,

and any other just and proper relief available under the Utah CSPA.

                                            COUNT II

                                   FRAUD BY CONCEALMENT

         6687. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6688. This claim is brought on behalf of all Utah residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         6689. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         6690. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         6691. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         6692. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         6693. New GM did so in order to falsely assure purchasers, lessees, and owners of

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and




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to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         6694. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         6695. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         6696. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         6697. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have




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continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         6698. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs, as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         6699. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         6700. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.




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                                            COUNT III

           BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
                          (UTAH CODE ANN. § 70A-2-314)

         6701. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6702. This claim is brought only on behalf of Utah residents who are members of any of

the following Subclasses: (i) the Delta Ignition Switch Defect Magnuson-Moss and Implied

Warranty Subclass; (ii) the Low Torque Ignition Switch Defect Magnuson-Moss and Implied

Warranty Subclass; (iii) the Knee-to-Key Camaro Defect Magnuson-Moss and Implied Warranty

Subclass; (iv) the Side Airbag Defect Magnuson-Moss and Implied Warranty Subclass; and (v)

the Power Steering Defect Magnuson-Moss and Implied Warranty Subclass (collectively for the

purposes of this Count, “Plaintiffs”).

         6703. New GM was at all relevant times a merchant with respect to motor vehicles.

         6704. New GM impliedly warranted that its vehicles were of good and merchantable

quality and fit, and safe for their ordinary intended use—transporting the driver and passengers

in reasonable safety during normal operation, and without unduly endangering them or members

of the public. This warranty was implied by law in the transactions when Plaintiffs purchased or

leased their Defective Vehicles from New GM on or after July 10, 2009.

         6705. The Defective Vehicles, when sold and at all times thereafter, were not

merchantable and are not fit for the ordinary purpose for which cars are used.

         6706. The Defective Ignition Switch Vehicles are inherently defective in that there are

defects in the ignition switch systems that cause sudden unintended stalling to occur, with the




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attendant shut down of power steering and power brakes and the nondeployment of airbags in the

event of a collision, thereby causing an increased likelihood of serious injury or death.

         6707. The Power Steering Defect Vehicles are inherently defective in that there are

defects in the vehicles that can cause the loss of power steering assist, resulting in an increased

risk of accident.

         6708. The Side Airbag Defect Vehicles are inherently defective in that there are defects

in the wiring harness connectors that can cause the side impact airbags (SIABs) and seatbelt

pretensioners not to deploy in the event of a collision, thereby causing an increased likelihood of

serious injury or death.

         6709. New GM was provided notice of these issues by numerous complaints filed

against it, internal investigations, and by numerous individual letters and communications sent

by Plaintiffs and others before or within a reasonable amount of time after New GM issued the

recall and the allegations of vehicle defects became public.

         6710. As a direct and proximate result of New GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                            COUNT IV

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         6711. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6712. This claim is brought only on behalf of Utah residents who are members of the

Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).




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         6713. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         6714. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         6715. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.

         6716. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         6717. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.




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         6718. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         6719. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         6720. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         6721. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         6722. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC

Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         6723. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness




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bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         6724. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         6725. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         6726. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         6727. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         6728. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable

by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.




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         6729. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         6730. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         6731. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         6732. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.

                                            COUNT V

                                       UNJUST ENRICHMENT

         6733. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6734. This claim is brought on behalf of Utah residents who are members of any of the

following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect




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Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         6735. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         6736. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

         6737. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         6738. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         6739. Thus, all Plaintiffs conferred a benefit on New GM.

         6740. It is inequitable for New GM to retain these benefits.

         6741. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         6742. New GM knowingly accepted the benefits of its unjust conduct.

         6743. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.




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                                              COUNT VI

                SUCCESSOR LIABILITY CLAIM FOR VIOLATIONS OF THE
                        UTAH CONSUMER PROTECTION ACT
                          (UTAH CODE ANN. § 13-11-1, et seq.)

         6744. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6745. This claim is brought on behalf of Utah residents who are members of the Delta

Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count, “Plaintiffs”).

         6746. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         6747. Old GM is a “supplier” under the Utah Consumer Sales Practices Act (“Utah

CSPA”), UTAH CODE ANN. § 13-11-3.

         6748. Plaintiffs are “persons” under UTAH CODE ANN. § 13-11-3.

         6749. The sale of the Delta Ignition Switch Vehicles to Plaintiffs was a “consumer

transaction” within the meaning of UTAH CODE ANN. § 13-11-3.

         6750. The Utah CSPA makes unlawful any “deceptive act or practice by a supplier in

connection with a consumer transaction” under UTAH CODE ANN. § 13-11-4. Specifically, “a

supplier commits a deceptive act or practice if the supplier knowingly or intentionally: (a)

indicates that the subject of a consumer transaction has sponsorship, approval, performance

characteristics, accessories, uses, or benefits, if it has not” or “(b) indicates that the subject of a

consumer transaction is of a particular standard, quality, grade, style, or model, if it is not.”




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UTAH CODE ANN. § 13-11-4. “An unconscionable act or practice by a supplier in connection

with a consumer transaction” also violates the Utah CSPA. UTAH CODE ANN. § 13-11-5.

         6751. Old GM committed deceptive acts or practices in the conduct of trade or

commerce, by, among other things, engaging in unconscionable acts, representing that the Delta

Ignition Switch Vehicles have characteristics, uses, benefits, and qualities which they do not

have; and representing that the Delta Ignition Switch Vehicles are of a particular standard,

quality, and grade when they are not.

         6752. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         6753. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         6754. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Utah CSPA.

         6755. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         6756. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.




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         6757. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         6758. Old GM knew or should have known that its conduct violated the Utah CSPA.

         6759. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         6760. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         6761. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         6762. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         6763. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of



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the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         6764. As a direct and proximate result of Old GM’s violations of the Utah CSPA,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.

         6765. Pursuant to UTAH CODE ANN. § 13-11-4, Plaintiffs seek monetary relief against

New GM measured as the greater of (a) actual damages in an amount to be determined at trial

and (b) statutory damages in the amount of $2,000 for each Plaintiff, reasonable attorneys’ fees,

and any other just and proper relief available under the Utah CSPA.

                                           COUNT VII

             SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         6766. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6767. This claim is brought on behalf of Utah residents who are members of the Delta

Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count, “Plaintiffs”).

         6768. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         6769. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.




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         6770. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         6771. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         6772. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         6773. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         6774. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.




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         6775. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         6776. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         6777. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         6778. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         6779. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.




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                                             COUNT VIII

                SUCCESSOR LIABILITY CLAIM FOR BREACH OF IMPLIED
                        WARRANTY OF MERCHANTABILITY
                            (UTAH CODE ANN. § 70A-2-314)

         6780. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6781. This claim is brought on behalf of Utah residents who are members of the Delta

Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor Liability Subclass (for

the purposes of this Count, “Plaintiffs”).

         6782. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         6783. Old GM was at all relevant times a merchant with respect to motor vehicles.

         6784. Old GM impliedly warranted that its vehicles were of good and merchantable

quality and fit, and safe for their ordinary intended use—transporting the driver and passengers

in reasonable safety during normal operation, and without unduly endangering them or members

of the public. This warranty was implied by law in the transactions when Plaintiffs purchased or

leased their vehicles from Old GM on or before July 9, 2009.

         6785. The Delta Ignition Switch Vehicles, when sold and at all times thereafter, were

not merchantable and not fit for the ordinary purpose for which cars are used. Specifically, the

Delta Ignition Switch Vehicles were inherently defective in that there were defects in the ignition

switch systems that cause sudden unintended stalling to occur, with the attendant shut down of




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power steering and power brakes and the nondeployment of airbags in the event of a collision,

thereby causing an increased likelihood of serious injury or death.

         6786. New GM, as the successor to Old GM, was provided notice of these issues by

numerous complaints filed against it, internal investigations, and by numerous individual letters

and communications sent by Plaintiffs and others before or within a reasonable amount of time

after New GM issued the recall and the allegations of vehicle defects became public.

         6787. As a direct and proximate result of Old GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                            VERMONT

                                             COUNT I

                      VIOLATION OF VERMONT CONSUMER FRAUD ACT
                             (VT. STAT. ANN. TIT. 9, § 2451 et seq.)

         6788. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6789. This claim is brought on behalf of Vermont residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         6790. New GM is a seller within the meaning of VT. STAT. ANN. TIT. 9, § 2451(a)(c).

         6791. The Vermont Consumer Fraud Act (“Vermont CFA”) makes unlawful “[u]nfair

methods of competition in commerce, and unfair or deceptive acts or practices in commerce.…”




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VT. STAT. ANN. TIT. 9, § 2453(a). New GM engaged in unfair and deceptive acts or practices in

trade or commerce in violation of the Vermont CFA by systematically devaluing safety and

concealing a plethora of defects in New GM vehicles and Old GM vehicles. The defects in each

vehicle include not only the specific defect (e.g., the Delta Ignition Switch), but also include the

defective process through which New GM built cars, a process that included cost-cutting,

minimizing the importance of safety issues, siloing, the depletion of resources devoted to

recognizing and studying safety issues, the failure to follow acceptable engineering and

inventory processes concerning parts management, and the failure to follow a proper FMEA

process. All of these defective processes would be material to a reasonable consumer.

         6792. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         6793. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles.

         6794. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety




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issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         6795. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Vermont CFA.

         6796. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         6797. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         6798. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         6799. New GM knew or should have known that its conduct violated the Vermont CFA.

         6800. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         6801. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles because New GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Defective Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Defective Vehicles, while purposefully
                        withholding material facts from Plaintiffs that contradicted
                        these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to disclose and
                        remedy the defects.



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         6802. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         6803. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.

         6804. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         6805. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         6806. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.




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By contractually assuming TREAD Act responsibilities with respect to Old GM vehicles, New

GM effectively undertook the role of manufacturer of those vehicles because the TREAD Act on

its face only applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing

duty to all Defective Vehicle owners to refrain from unfair and deceptive acts or practices under

the Vermont CFA—regardless of when those owners acquired their vehicles.

         6807. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         6808. As a direct and proximate result of New GM’s violations of the Vermont CFA,

Plaintiffs have suffered injury-in-fact and/or actual damage, as alleged above. As a direct result

of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.

         6809. Plaintiffs are entitled to recover “appropriate equitable relief” and “the amount of

[their] damages, or the consideration or the value of the consideration given by [them],

reasonable attorney’s fees, and exemplary damages not exceeding three times the value of the

consideration given by [them]” pursuant to VT. STAT. ANN. TIT. 9, § 2461(b).

                                            COUNT II

                                     FRAUD BY CONCEALMENT

         6810. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.




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         6811. This claim is brought on behalf of all Vermont residents who are members of any

of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         6812. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         6813. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         6814. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         6815. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         6816. New GM did so in order to falsely assure purchasers, lessees, and owners of

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         6817. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by




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Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         6818. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         6819. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         6820. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         6821. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the




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defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs, as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         6822. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         6823. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.

                                            COUNT III

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         6824. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6825. This claim is brought only on behalf of Vermont residents who are members of

the Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).




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         6826. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         6827. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM ), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         6828. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.

         6829. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         6830. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.




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         6831. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         6832. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         6833. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         6834. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         6835. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC

Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         6836. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness




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bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         6837. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         6838. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         6839. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         6840. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         6841. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable

by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.




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         6842. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         6843. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         6844. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         6845. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.

                                            COUNT IV

                                       UNJUST ENRICHMENT

         6846. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6847. This claim is brought on behalf of Vermont residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect




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Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         6848. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         6849. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

         6850. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         6851. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         6852. Thus, all Plaintiffs conferred a benefit on New GM.

         6853. It is inequitable for New GM to retain these benefits.

         6854. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         6855. New GM knowingly accepted the benefits of its unjust conduct.

         6856. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.




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                                            COUNT V

                 SUCCESSOR LIABILITY CLAIM FOR VIOLATIONS OF THE
                         VERMONT CONSUMER FRAUD ACT
                           (VT. STAT. ANN. TIT. 9, § 2451 et seq.)

         6857. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6858. This claim is brought on behalf of Vermont residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         6859. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         6860. Old GM was a seller within the meaning of VT. STAT. ANN. TIT. 9, § 2451(a)(c).

         6861. The Vermont Consumer Fraud Act (“Vermont CFA”) makes unlawful “[u]nfair

methods of competition in commerce, and unfair or deceptive acts or practices in commerce.…”

VT. STAT. ANN. TIT. 9, § 2453(a). Old GM engaged in unfair and deceptive acts or practices in

trade or commerce in violation of the Vermont CFA by systematically devaluing safety and

concealing a plethora of defects in Delta Ignition Switch Vehicles.

         6862. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         6863. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or




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practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         6864. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         6865. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Vermont CFA.

         6866. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         6867. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         6868. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         6869. Old GM knew or should have known that its conduct violated the Vermont CFA.

         6870. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         6871. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;




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                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         6872. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         6873. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         6874. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         6875. As a direct and proximate result of Old GM’s violations of the Vermont CFA,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.

         6876. Plaintiffs are entitled to recover “appropriate equitable relief” and “the amount of

[their] damages, or the consideration or the value of the consideration given by [them],




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reasonable attorney’s fees, and exemplary damages not exceeding three times the value of the

consideration given by [them]” pursuant to VT. STAT. ANN. TIT. 9, § 2461(b).

                                            COUNT VI

           SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         6877. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6878. This claim is brought on behalf of Vermont residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         6879. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         6880. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         6881. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         6882. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         6883. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.




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         6884. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         6885. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         6886. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         6887. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.




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         6888. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         6889. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         6890. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                            VIRGINIA

                                             COUNT I

                VIOLATION OF VIRGINIA CONSUMER PROTECTION ACT
                          (VA. CODE ANN. §§ 59.1-196, et seq.)

         6891. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6892. This claim is brought on behalf of Virginia residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,




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“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         6893. New GM is a “supplier” under VA. CODE ANN. § 59.1-198.

         6894. The sale of the Defective Vehicles to Plaintiffs was a “consumer transaction”

within the meaning of VA. CODE ANN. § 59.1-198.

         6895. The Virginia Consumer Protection Act (“Virginia CPA”) lists prohibited

“practices” which include: “5. Misrepresenting that goods or services have certain

characteristics;” “6. Misrepresenting that goods or services are of a particular standard, quality,

grade style, or model;” “8. Advertising goods or services with intent not to sell them as

advertised, or with intent not to sell at the price or upon the terms advertised;” “9. Making false

or misleading statements of fact concerning the reasons for, existence of, or amounts of price

reductions;” and “14. Using any other deception, fraud, or misrepresentation in connection with a

consumer transaction.” VA. CODE ANN. § 59.1-200. New GM violated the Virginia CPA by

misrepresenting that Defective Vehicles had certain quantities, characteristics, ingredients, uses,

or benefits; misrepresenting that Defective Vehicles were of a particular standard, quality, grade,

style, or model when they were another; advertising Defective Vehicles with intent not to sell

them as advertised; and otherwise “using any other deception, fraud, false pretense, false

promise, or misrepresentation in connection with a consumer transaction.”

         6896. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         6897. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or




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practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles. The defects in each vehicle include not only the specific

defect (e.g., the Delta Ignition Switch), but also include the defective process through which

New GM built cars, a process that included cost-cutting, minimizing the importance of safety

issues, siloing, the depletion of resources devoted to recognizing and studying safety issues, the

failure to follow acceptable engineering and inventory processes concerning parts management,

and the failure to follow a proper FMEA process. All of these defective processes would be

material to a reasonable consumer.

         6898. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         6899. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Virginia CPA.

         6900. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.




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         6901. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         6902. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         6903. New GM knew or should have known that its conduct violated the Virginia CPA.

         6904. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         6905. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles because New GM:

                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         6906. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.




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         6907. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.

         6908. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         6909. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         6910. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By contractually assuming TREAD Act responsibilities with respect to Old GM vehicles, New

GM effectively undertook the role of manufacturer of those vehicles because the TREAD Act on

its face only applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing

duty to all Defective Vehicle owners to refrain from unfair and deceptive acts or practices under

the Virginia CPA—regardless of when those owners acquired their vehicles.

         6911. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta




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Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         6912. As a direct and proximate result of New GM’s violations of the Virginia CPA,

Plaintiffs have suffered injury-in-fact and/or actual damage, as alleged above. As a direct result

of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.

         6913. Pursuant to VA. CODE ANN. § 59.1-204, Plaintiffs seek monetary relief against

New GM measured as the greater of (a) actual damages in an amount to be determined at trial

and (b) statutory damages in the amount of $500 for each Plaintiff. Because New GM’s conduct

was committed willfully and knowingly, Plaintiffs are entitled to recover, for each Plaintiff, the

greater of (a) three times actual damages or (b) $1,000.

         6914. Plaintiffs also seek an order enjoining New GM’s unfair and/or deceptive acts or

practices, punitive damages, and attorneys’ fees, and any other just and proper relief available

under General Business Law § 59.1-204, et seq.

                                            COUNT II

                                     FRAUD BY CONCEALMENT

         6915. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6916. This claim is brought on behalf of all Virginia residents who are members of any

of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,




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“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         6917. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         6918. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         6919. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         6920. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         6921. New GM did so in order to falsely assure purchasers, lessees, and owners of

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         6922. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to




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disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         6923. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         6924. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         6925. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         6926. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs, as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their




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vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         6927. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         6928. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.

                                            COUNT III

                BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                              (VA. CODE ANN. § 8.2-314)

         6929. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6930. This claim is brought only on behalf of Virginia residents who are members of

any of the following Subclasses: (i) the Delta Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (ii) the Low Torque Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (iii) the Knee-to-Key Camaro Defect Magnuson-Moss and Implied

Warranty Subclass; (iv) the Side Airbag Defect Magnuson-Moss and Implied Warranty

Subclass; and (v) the Power Steering Defect Magnuson-Moss and Implied Warranty Subclass

(collectively for the purposes of this Count, “Plaintiffs”).

         6931. New GM was at all relevant times a merchant with respect to motor vehicles.




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         6932. New GM impliedly warranted that the Defective Vehicles were of good and

merchantable quality and fit, and safe for their ordinary intended use—transporting the driver

and passengers in reasonable safety during normal operation, and without unduly endangering

them or members of the public. This warranty was implied by law in the transactions when

Plaintiffs purchased or leased their Defective Vehicles from New GM on or after July 10, 2009.

         6933. The Defective Vehicles, when sold and at all times thereafter, were not

merchantable and are not fit for the ordinary purpose for which cars are used.

         6934. The Defective Ignition Switch Vehicles are inherently defective in that there are

defects in the ignition switch systems that cause sudden unintended stalling to occur, with the

attendant shut down of power steering and power brakes and the nondeployment of airbags in the

event of a collision, thereby causing an increased likelihood of serious injury or death.

         6935. The Power Steering Defect Vehicles are inherently defective in that there are

defects in the vehicles that can cause the loss of power steering assist, resulting in an increased

risk of accident.

         6936. The Side Airbag Defect Vehicles are inherently defective in that there are defects

in the wiring harness connectors that can cause the side impact airbags (SIABs) and seatbelt

pretensioners not to deploy in the event of a collision, thereby causing an increased likelihood of

serious injury or death.

         6937. New GM was provided notice of these issues by numerous complaints filed

against it, internal investigations, and by numerous individual letters and communications sent

by Plaintiffs and others before or within a reasonable amount of time after New GM issued the

recall and the allegations of vehicle defects became public.




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         6938. As a direct and proximate result of New GM’s breach of the implied warranty of

merchantability, Plaintiffs members have been damaged in an amount to be proven at trial.

                                             COUNT IV

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         6939. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6940. This claim is brought only on behalf of Virginia residents who are members of the

Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).

         6941. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         6942. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         6943. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.




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         6944. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         6945. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         6946. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         6947. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         6948. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         6949. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         6950. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC




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Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         6951. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         6952. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         6953. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         6954. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         6955. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         6956. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable




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by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         6957. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         6958. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         6959. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         6960. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.




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                                             COUNT V

                                    UNJUST ENRICHMENT440

          6961. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

          6962. This claim is brought on behalf of Virginia residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

          6963. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

          6964. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

          6965. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

          6966. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs



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       Plaintiffs understand that this Court has found that the existence of an express warranty
between New GM and Plaintiffs is a bar to this claim, and are asserting this claim here solely for
the purposes of preserving the claim for appellate purposes.



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of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         6967. Thus, all Plaintiffs conferred a benefit on New GM.

         6968. It is inequitable for New GM to retain these benefits.

         6969. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         6970. New GM knowingly accepted the benefits of its unjust conduct.

         6971. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                            COUNT VI

                 SUCCESSOR LIABILITY CLAIM FOR VIOLATIONS OF THE
                       VIRGINIA CONSUMER PROTECTION ACT
                           (VA. CODE ANN. §§ 59.1-196, et seq.)

         6972. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6973. This claim is brought on behalf of Virginia residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         6974. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         6975. Old GM was a “supplier” under VA. CODE ANN. § 59.1-198.




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         6976. The sale of the Delta Ignition Switch Vehicles to Plaintiffs was a “consumer

transaction” within the meaning of VA. CODE ANN. § 59.1-198.

         6977. The Virginia Consumer Protection Act (“Virginia CPA”) lists prohibited

“practices” which include: “5. Misrepresenting that goods or services have certain

characteristics;” “6. Misrepresenting that goods or services are of a particular standard, quality,

grade style, or model;” “8. Advertising goods or services with intent not to sell them as

advertised, or with intent not to sell at the price or upon the terms advertised;” “9. Making false

or misleading statements of fact concerning the reasons for, existence of, or amounts of price

reductions;” and “14. Using any other deception, fraud, or misrepresentation in connection with a

consumer transaction.” VA. CODE ANN. § 59.1-200. Old GM violated the Virginia CPA by

misrepresenting that Delta Ignition Switch Vehicles had certain quantities, characteristics,

ingredients, uses, or benefits; misrepresenting that Delta Ignition Switch Vehicles were of a

particular standard, quality, grade, style, or model when they were another; advertising Delta

Ignition Switch Vehicles with intent not to sell them as advertised; and otherwise “using any

other deception, fraud, false pretense, false promise, or misrepresentation in connection with a

consumer transaction.”

         6978. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         6979. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material




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fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         6980. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         6981. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Virginia CPA.

         6982. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         6983. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         6984. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         6985. Old GM knew or should have known that its conduct violated the Virginia CPA.

         6986. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         6987. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while




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                       purposefully withholding material facts from Plaintiffs that
                       contradicted these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to
                       disclose and remedy the defects.

         6988. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         6989. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         6990. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         6991. As a direct and proximate result of Old GM’s violations of the Virginia CPA,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.

         6992. Pursuant to VA. CODE ANN. § 59.1-204, Plaintiffs seek monetary relief against

New GM measured as the greater of (a) actual damages in an amount to be determined at trial

and (b) statutory damages in the amount of $500 for each Plaintiff. Because Old GM’s conduct




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was committed willfully and knowingly, Plaintiffs are entitled to recover, for each Plaintiff, the

greater of (a) three times actual damages or (b) $1,000.

         6993. Plaintiffs also seek an order enjoining New GM’s unfair and/or deceptive acts or

practices, punitive damages, and attorneys’ fees, and any other just and proper relief available

under General Business Law § 59.1-204, et seq.

                                            COUNT VII

           SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         6994. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         6995. This claim is brought on behalf of Virginia residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         6996. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         6997. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         6998. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         6999. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.




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         7000. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         7001. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         7002. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         7003. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         7004. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.




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Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         7005. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         7006. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable Plaintiffs for damages in an amount to be proven at trial.

         7007. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                           COUNT VIII

                SUCCESSOR LIABILITY CLAIM FOR BREACH OF IMPLIED
                        WARRANTY OF MERCHANTABILITY
                              (VA. CODE ANN. § 8.2-314)

         7008. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         7009. This claim is brought on behalf of Virginia residents who are members of the

Delta Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor Liability

Subclass (for the purposes of this Count, “Plaintiffs”).




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         7010. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         7011. Old GM was at all relevant times a merchant with respect to motor vehicles.

         7012. Old GM impliedly warranted that the Delta Ignition Switch Vehicles were of

good and merchantable quality and fit, and safe for their ordinary intended use—transporting the

driver and passengers in reasonable safety during normal operation, and without unduly

endangering them or members of the public. This warranty was implied by law in the

transactions when Plaintiffs purchased or leased their Delta Ignition Switch Vehicles from Old

GM on or before July 9, 2009.

         7013. The Delta Ignition Switch Vehicles, when sold and at all times thereafter, were

not merchantable and not fit for the ordinary purpose for which cars are used. Specifically, the

Delta Ignition Switch Vehicles were inherently defective in that there were defects in the ignition

switch systems that cause sudden unintended stalling to occur, with the attendant shut down of

power steering and power brakes and the nondeployment of airbags in the event of a collision,

thereby causing an increased likelihood of serious injury or death.

         7014. New GM, as the successor to Old GM, was provided notice of these issues by

numerous complaints filed against it, internal investigations, and by numerous individual letters

and communications sent by Plaintiffs and others before or within a reasonable amount of time

after New GM issued the recall and the allegations of vehicle defects became public.

         7015. As a direct and proximate result of Old GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.




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                                         WASHINGTON

                                             COUNT I

                      VIOLATION OF THE CONSUMER PROTECTION ACT
                           (REV. CODE WASH. ANN. §§ 19.86.010, et seq.)

         7016. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         7017. This claim is brought on behalf of Washington residents who are members of any

of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         7018. New GM committed the acts complained of herein in the course of “trade” or

“commerce” within the meaning of WASH. REV. CODE. WASH. ANN. § 19.96.010.

         7019. The Washington Consumer Protection Act (“Washington CPA”) broadly prohibits

“[u]nfair methods of competition and unfair or deceptive acts or practices in the conduct of any

trade or commerce.” WASH. REV. CODE. WASH. ANN. § 19.96.010. New GM engaged in unfair

and deceptive acts and practices and violated the Washington CPA by systematically devaluing

safety and concealing a plethora of defects in New GM vehicles and Old GM vehicles. The

defects in each vehicle include not only the specific defect (e.g., the Delta Ignition Switch), but

also include the defective process through which New GM built cars, a process that included

cost-cutting, minimizing the importance of safety issues, siloing, the depletion of resources

devoted to recognizing and studying safety issues, the failure to follow acceptable engineering




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and inventory processes concerning parts management, and the failure to follow a proper FMEA

process. All of these defective processes would be material to a reasonable consumer.

         7020. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles.

         7021. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         7022. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Washington CPA.

         7023. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.




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         7024. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         7025. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         7026. New GM knew or should have known that its conduct violated the Washington

CPA.

         7027. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         7028. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles because New GM:

                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         7029. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.



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         7030. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.

         7031. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         7032. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         7033. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By contractually assuming TREAD Act responsibilities with respect to Old GM vehicles, New

GM effectively undertook the role of manufacturer of those vehicles because the TREAD Act on

its face only applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing

duty to all Defective Vehicle owners to refrain from unfair and deceptive acts or practices under

the Washington CPA—regardless of when those owners acquired their vehicles.

         7034. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta




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Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         7035. As a direct and proximate result of New GM’s violations of the Washington CPA,

Plaintiffs have suffered injury-in-fact and/or actual damage, as alleged above. As a direct result

of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.

         7036. New GM is liable to Plaintiffs for damages in amounts to be proven at trial,

including attorneys’ fees, costs, and treble damages, as well as any other remedies the Court may

deem appropriate under REV. CODE. WASH. ANN. § 19.86.090.

                                            COUNT II

                                     FRAUD BY CONCEALMENT

         7037. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         7038. This claim is brought on behalf of all Washington residents who are members of

any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque

Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag

Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of this

Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the

conduct of New GM.

         7039. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.




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         7040. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         7041. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         7042. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         7043. New GM did so in order to falsely assure purchasers, lessees, and owners of

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         7044. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.




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         7045. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         7046. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         7047. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         7048. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs, as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.




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         7049. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         7050. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.ch New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.

                                            COUNT III

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         7051. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         7052. This claim is brought only on behalf of Washington residents who are members of

the Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).

         7053. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         7054. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge




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from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         7055. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.

         7056. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         7057. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         7058. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         7059. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         7060. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured




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claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

          7061. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

          7062. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC

Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

          7063. The Bankruptcy Court found that Plaintiffs members were deprived of Due

Process because they did not receive notice of the defect prior to the passage of the Bar Date, and

the Second Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found

that these vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable

mootness bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of

Appeals vacated the equitable mootness holdings on the grounds that it was not yet ripe for

review.

          7064. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

          7065. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

          7066. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute




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additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         7067. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         7068. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable

by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         7069. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         7070. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.




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         7071. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         7072. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.

                                            COUNT IV

                                    UNJUST ENRICHMENT

         7073. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         7074. This claim is brought on behalf of Washington residents who are members of any

of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         7075. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         7076. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.




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         7077. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         7078. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         7079. Thus, all Plaintiffs conferred a benefit on New GM.

         7080. It is inequitable for New GM to retain these benefits.

         7081. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         7082. New GM knowingly accepted the benefits of its unjust conduct.

         7083. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                            COUNT V

                 SUCCESSOR LIABILITY CLAIM FOR VIOLATIONS OF THE
                     WASHINGTON CONSUMER PROTECTION ACT
                        (REV. CODE WASH. ANN. §§ 19.86.010, et seq.)

         7084. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         7085. This claim is brought on behalf of Washington residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).




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         7086. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         7087. Old GM committed the acts complained of herein in the course of “trade” or

“commerce” within the meaning of WASH. REV. CODE. WASH. ANN. § 19.96.010.

         7088. The Washington Consumer Protection Act (“Washington CPA”) broadly prohibits

“[u]nfair methods of competition and unfair or deceptive acts or practices in the conduct of any

trade or commerce.” WASH. REV. CODE. WASH. ANN. § 19.96.010. Old GM engaged in unfair

and deceptive acts and practices and violated the Washington CPA by systematically devaluing

safety and concealing a plethora of defects in New GM vehicles and Old GM vehicles.

         7089. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         7090. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         7091. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Washington CPA.




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         7092. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         7093. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         7094. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         7095. Old GM knew or should have known that its conduct violated the Washington

CPA.

         7096. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         7097. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         7098. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of



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the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         7099. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         7100. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         7101. As a direct and proximate result of Old GM’s violations of the Washington CPA,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.

         7102. New GM is liable to Plaintiffs for damages in amounts to be proven at trial,

including attorneys’ fees, costs, and treble damages, as well as any other remedies the Court may

deem appropriate under REV. CODE. WASH. ANN. § 19.86.090.

                                            COUNT VI

             SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         7103. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         7104. This claim is brought on behalf of Washington residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).




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         7105. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         7106. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         7107. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         7108. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         7109. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         7110. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         7111. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as




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set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         7112. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         7113. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         7114. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         7115. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         7116. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old




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GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                         WEST VIRGINIA

                                              COUNT I

          VIOLATIONS OF THE CONSUMER CREDIT AND PROTECTION ACT
                         (W. VA. CODE § 46A-1-101, et seq.)

          7117. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

          7118. This claim is brought on behalf of West Virginia residents who are members of

any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque

Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag

Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of this

Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the

conduct of New GM.

          7119. New GM is a “person” under W.VA. CODE § 46A-1-102(31).

          7120. Plaintiff are “consumers,” as defined by W.VA. CODE §§ and 46A-1-102(12) and

46A-6-102(2), who purchased or leased one or more Defective Vehicles.

          7121. New GM engaged in trade or commerce as defined by W. VA. CODE § 46A-6-

102(6).

          7122. The West Virginia Consumer Credit and Protection Act (“West Virginia CCPA”)

prohibits “unfair or deceptive acts or practices in the conduct of any trade or commerce ….”

W. VA. CODE § 46A-6-104. Without limitation, “unfair or deceptive” acts or practices include:

                         (I)    Advertising goods or services with intent not to sell
                                them as advertised;




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                       (K)     Making false or misleading statements of fact
                               concerning the reasons for, existence of or amounts
                               of price reductions;

                       (L)     Engaging in any other conduct which similarly
                               creates a likelihood of confusion or of
                               misunderstanding;

                       (M)     The act, use or employment by any person of any
                               deception, fraud, false pretense, false promise or
                               misrepresentation, or the concealment, suppression
                               or omission of any material fact with intent that
                               others rely upon such concealment, suppression or
                               omission, in connection with the sale or
                               advertisement of any goods or services, whether or
                               not any person has in fact been misled, deceived or
                               damaged thereby;

                       (N)     Advertising, printing, displaying, publishing,
                               distributing or broadcasting, or causing to be
                               advertised, printed, displayed, published, distributed
                               or broadcast in any manner, any statement or
                               representation with regard to the sale of goods or
                               the extension of consumer credit including the rates,
                               terms or conditions for the sale of such goods or the
                               extension of such credit, which is false, misleading
                               or deceptive or which omits to state material
                               information which is necessary to make the
                               statements therein not false, misleading or
                               deceptive;

W. VA. CODE § 46A-6-102(7).

         7123. By systematically devaluing safety and concealing a plethora of defects in New

GM vehicles and Old GM vehicles, New GM engaged in deceptive business practices prohibited

by the West Virginia CCPA, including: (1) representing that the Defective Vehicles have

characteristics, uses, benefits, and qualities which they do not have; (2) representing that the

Defective Vehicles are of a particular standard, quality, and grade when they are not;

(3) advertising the Defective Vehicles with the intent not to sell them as advertised;

(4) representing that a transaction involving the Defective Vehicles confers or involves rights,



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remedies, and obligations which it does not; and (5) representing that the subject of a transaction

involving the Defective Vehicles has been supplied in accordance with a previous representation

when it has not. The defects in each vehicle include not only the specific defect (e.g., the Delta

Ignition Switch), but also include the defective process through which New GM built cars, a

process that included cost-cutting, minimizing the importance of safety issues, siloing, the

depletion of resources devoted to recognizing and studying safety issues, the failure to follow

acceptable engineering and inventory processes concerning parts management, and the failure to

follow a proper FMEA process. All of these defective processes would be material to a

reasonable consumer.

         7124. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         7125. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles.

         7126. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety




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issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         7127. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the West Virginia CCPA.

         7128. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         7129. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         7130. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         7131. New GM knew or should have known that its conduct violated the West Virginia

CCPA.

         7132. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         7133. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles because New GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Defective Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Defective Vehicles, while purposefully
                        withholding material facts from Plaintiffs that contradicted
                        these representations; and/or




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                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         7134. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         7135. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.

         7136. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         7137. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.




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         7138. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By contractually assuming TREAD Act responsibilities with respect to Old GM vehicles, New

GM effectively undertook the role of manufacturer of those vehicles because the TREAD Act on

its face only applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing

duty to all Defective Vehicle owners to refrain from unfair and deceptive acts or practices under

the West Virginia CCPA—regardless of when those owners acquired their vehicles.

         7139. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         7140. As a direct and proximate result of New GM’s violations of the West Virginia

CCPA, Plaintiffs have suffered injury-in-fact and/or actual damage, as alleged above. As a

direct result of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost

time required to repair their vehicles.

         7141. Pursuant to W. VA. CODE § 46A-6-106, Plaintiffs seek monetary relief against

New GM measured as the greater of (a) actual damages in an amount to be determined at trial

and (b) statutory damages in the amount of $200 per violation of the West Virginia CCPA for

each Plaintiff.

         7142. Plaintiffs also seek punitive damages against New GM because New GM carried

out despicable conduct with willful and conscious disregard of the rights and safety of others,

subjecting Plaintiffs to cruel and unjust hardship as a result. New GM intentionally and willfully




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misrepresented the safety and reliability of the Defective Vehicles, deceived Plaintiffs on life-or-

death matters, concealed material facts that only New GM knew, and repeatedly promised

Plaintiffs that all vehicles were safe—all to avoid the expense and public relations nightmare of

correcting a deadly flaw in New GM and Old GM vehicles. New GM’s unlawful conduct

constitutes malice, oppression, and fraud warranting punitive damages.

         7143. Plaintiffs further seek an order enjoining New GM’s unfair or deceptive acts or

practices, restitution, punitive damages, costs of Court, attorney’s fees under W. VA. CODE

§ 46A-5-101, et seq., and any other just and proper relief available under the West Virginia

CCPA.

         7144. On October 8, 2014, certain Plaintiffs sent a letter complying with W. VA. CODE

§ 46A-6-106(b). Because New GM failed to remedy its unlawful conduct within the requisite

time period, Plaintiffs seek all damages and relief to which Plaintiffs are entitled.

                                             COUNT II

                                 FRAUD BY CONCEALMENT

         7145. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         7146. This claim is brought on behalf of West Virginia residents who are members of

any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque

Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag

Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of this

Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the

conduct of New GM.




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         7147. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         7148. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         7149. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         7150. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         7151. New GM did so in order to falsely assure purchasers, lessees, and owners of

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         7152. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and




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implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         7153. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         7154. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         7155. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         7156. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs, as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all




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Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         7157. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         7158. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.

                                            COUNT III

                BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                              (W. VA. CODE § 46-2-314)

         7159. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         7160. This claim is brought only on behalf of West Virginia residents who are members

of any of the following Subclasses: (i) the Delta Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (ii) the Low Torque Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (iii) the Knee-to-Key Camaro Defect Magnuson-Moss and Implied

Warranty Subclass; (iv) the Side Airbag Defect Magnuson-Moss and Implied Warranty

Subclass; and (v) the Power Steering Defect Magnuson-Moss and Implied Warranty Subclass

(collectively for the purposes of this Count, “Plaintiffs”).

         7161. New GM was at all relevant times a seller of motor vehicles under W. VA. CODE

§ 46-2-314, and was also a “merchant” as the term is used in W. VA. CODE § 46A-6-107 and

§ 46-2-314.




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         7162. Under W. VA. CODE § 46-2-314, a warranty that the Defective Vehicles were in

merchantable condition was implied by law in the transactions when Plaintiffs purchased or

leased their Defective Vehicles from New GM on or after July 10, 2009.

         7163. The Defective Vehicles, when sold and at all times thereafter, were not

merchantable and are not fit for the ordinary purpose for which cars are used.

         7164. The Defective Ignition Switch Vehicles are inherently defective in that there are

defects in the ignition switch systems that cause sudden unintended stalling to occur, with the

attendant shut down of power steering and power brakes and the nondeployment of airbags in the

event of a collision, thereby causing an increased likelihood of serious injury or death.

         7165. The Power Steering Defect Vehicles are inherently defective in that there are

defects in the vehicles that can cause the loss of power steering assist, resulting in an increased

risk of accident.

         7166. The Side Airbag Defect Vehicles are inherently defective in that there are defects

in the wiring harness connectors that can cause the side impact airbags (SIABs) and seatbelt

pretensioners not to deploy in the event of a collision, thereby causing an increased likelihood of

serious injury or death.

         7167. New GM was provided notice of these issues by numerous complaints filed

against it, internal investigations, and by numerous individual letters and communications sent

by Plaintiffs and others before or within a reasonable amount of time after New GM issued the

recall and the allegations of vehicle defects became public.

         7168. As a direct and proximate result of New GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.




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                                             COUNT IV

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         7169. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         7170. This claim is brought only on behalf of West Virginia residents who are members

of the Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count,

“Plaintiffs”).

         7171. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         7172. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         7173. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.




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         7174. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         7175. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         7176. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         7177. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         7178. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         7179. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         7180. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC




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Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         7181. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         7182. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         7183. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         7184. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         7185. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         7186. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable




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by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         7187. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         7188. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         7189. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         7190. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.




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                                            COUNT V

                                    UNJUST ENRICHMENT

         7191. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         7192. This claim is brought on behalf of West Virginia residents who are members of

any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque

Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag

Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of this

Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the

conduct of New GM.

         7193. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         7194. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

         7195. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         7196. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         7197. Thus, all Plaintiffs conferred a benefit on New GM.




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          7198. It is inequitable for New GM to retain these benefits.

          7199. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

          7200. New GM knowingly accepted the benefits of its unjust conduct.

          7201. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                             COUNT VI

                 SUCCESSOR LIABILITY CLAIM FOR VIOLATIONS OF THE
                      CONSUMER CREDIT AND PROTECTION ACT
                            (W. VA. CODE § 46A-1-101, et seq.)

          7202. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

          7203. This claim is brought on behalf of West Virginia residents who are members of

the Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

          7204. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

          7205. Old GM was a “person” under W.VA. CODE § 46A-1-102(31).

          7206. Plaintiffs are “consumers,” as defined by W.VA. CODE §§ and 46A-1-102(12) and

46A-6-102(2), who purchased or leased one or more Defective Vehicles.

          7207. Old GM engaged in trade or commerce as defined by W. VA. CODE § 46A-6-

102(6).




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         7208. The West Virginia Consumer Credit and Protection Act (“West Virginia CCPA”)

prohibits “unfair or deceptive acts or practices in the conduct of any trade or commerce ….”

W. VA. CODE § 46A-6-104. Without limitation, “unfair or deceptive” acts or practices include:

                       (I)    Advertising goods or services with intent not to sell
                              them as advertised;

                       (K)    Making false or misleading statements of fact
                              concerning the reasons for, existence of or amounts
                              of price reductions;

                       (L)    Engaging in any other conduct which similarly
                              creates a likelihood of confusion or of
                              misunderstanding;

                       (M)    The act, use or employment by any person of any
                              deception, fraud, false pretense, false promise or
                              misrepresentation, or the concealment, suppression
                              or omission of any material fact with intent that
                              others rely upon such concealment, suppression or
                              omission, in connection with the sale or
                              advertisement of any goods or services, whether or
                              not any person has in fact been misled, deceived or
                              damaged thereby;

                       (N)    Advertising, printing, displaying, publishing,
                              distributing or broadcasting, or causing to be
                              advertised, printed, displayed, published, distributed
                              or broadcast in any manner, any statement or
                              representation with regard to the sale of goods or
                              the extension of consumer credit including the rates,
                              terms or conditions for the sale of such goods or the
                              extension of such credit, which is false, misleading
                              or deceptive or which omits to state material
                              information which is necessary to make the
                              statements therein not false, misleading or
                              deceptive;

W. VA. CODE § 46A-6-102(7).

         7209. By systematically devaluing safety and concealing a plethora of defects in Old

GM vehicles, Old GM engaged in deceptive business practices prohibited by the West Virginia




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CCPA, including: (1) representing that the Delta Ignition Switch Vehicles have characteristics,

uses, benefits, and qualities which they do not have; (2) representing that the Delta Ignition

Switch Vehicles are of a particular standard, quality, and grade when they are not; (3) advertising

the Delta Ignition Switch Vehicles with the intent not to sell them as advertised; (4) representing

that a transaction involving the Delta Ignition Switch Vehicles confers or involves rights,

remedies, and obligations which it does not; and (5) representing that the subject of a transaction

involving the Delta Ignition Switch Vehicles has been supplied in accordance with a previous

representation when it has not.

         7210. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         7211. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         7212. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         7213. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the West Virginia CCPA.

         7214. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.




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         7215. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         7216. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         7217. Old GM knew or should have known that its conduct violated the West Virginia

CCPA.

         7218. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         7219. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         7220. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.



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         7221. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         7222. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         7223. As a direct and proximate result of Old GM’s violations of the West Virginia

CCPA, Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has

successor liability.

         7224. Pursuant to W. VA. CODE § 46A-6-106, Plaintiffs seek monetary relief against

New GM measured as the greater of (a) actual damages in an amount to be determined at trial

and (b) statutory damages in the amount of $200 per violation of the West Virginia CCPA for

each Plaintiff.

         7225. Plaintiffs also seek punitive damages against New GM because Old GM carried

out despicable conduct with willful and conscious disregard of the rights and safety of others,

subjecting Plaintiffs to cruel and unjust hardship as a result. Old GM intentionally and willfully

misrepresented the safety and reliability of the Delta Ignition Switch Vehicles, deceived

Plaintiffs on life-or-death matters, concealed material facts that only Old GM knew, and

repeatedly promised Plaintiffs that all vehicles were safe—all to avoid the expense and public

relations nightmare of correcting a deadly flaw in New GM and Old GM vehicles. New GM’s

unlawful conduct constitutes malice, oppression, and fraud warranting punitive damages.




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         7226. Plaintiffs further seek an order enjoining New GM’s unfair or deceptive acts or

practices, restitution, punitive damages, costs of Court, attorney’s fees under W. VA. CODE

§ 46A-5-101, et seq., and any other just and proper relief available under the West Virginia

CCPA.

                                            COUNT VII

           SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         7227. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         7228. This claim is brought on behalf of West Virginia residents who are members of

the Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         7229. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         7230. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         7231. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         7232. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.




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         7233. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         7234. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         7235. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         7236. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         7237. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.




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Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         7238. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         7239. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         7240. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                           COUNT VIII

                SUCCESSOR LIABILITY CLAIM FOR BREACH OF IMPLIED
                        WARRANTY OF MERCHANTABILITY
                              (W. VA. CODE § 46-2-314)

         7241. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         7242. This claim is brought on behalf of West Virginia residents who are members of

the Delta Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor Liability

Subclass (for the purposes of this Count, “Plaintiffs”).




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         7243. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         7244. Old GM was at all relevant times a seller of motor vehicles under W. VA. CODE

§ 46-2-314, and was also a “merchant” as the term is used in W. VA. CODE § 46A-6-107 and

§ 46-2-314.

         7245. Under W. VA. CODE § 46-2-314, a warranty that the Delta Ignition Switch

Vehicles were in merchantable condition was implied by law in the transactions when Plaintiffs

purchased or leased their vehicles from Old GM on or before July 9, 2009.

         7246. The Delta Ignition Switch Vehicles, when sold and at all times thereafter, were

not merchantable and not fit for the ordinary purpose for which cars are used. Specifically, the

Delta Ignition Switch Vehicles were inherently defective in that there were defects in the ignition

switch systems that cause sudden unintended stalling to occur, with the attendant shut down of

power steering and power brakes and the nondeployment of airbags in the event of a collision,

thereby causing an increased likelihood of serious injury or death.

         7247. New GM, as the successor to Old GM, was provided notice of these issues by

numerous complaints filed against it, internal investigations, and by numerous individual letters

and communications sent by Plaintiffs and others before or within a reasonable amount of time

after New GM issued the recall and the allegations of vehicle defects became public.

         7248. As a direct and proximate result of Old GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.




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                                           WISCONSIN

                                             COUNT I

                            VIOLATIONS OF THE WISCONSIN
                           DECEPTIVE TRADE PRACTICES ACT
                                  (WIS. STAT. § 110.18)

         7249. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         7250. This claim is brought on behalf of Wisconsin residents who are members of any

of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         7251. New GM is a “person, firm, corporation or association” within the meaning of

WIS. STAT. § 100.18(1).

         7252. Plaintiffs are members of “the public” within the meaning of WIS. STAT.

§ 100.18(1). Plaintiffs purchased or leased one or more Defective Vehicles.

         7253. The Wisconsin Deceptive Trade Practices Act (“Wisconsin DTPA”) prohibits a

“representation or statement of fact which is untrue, deceptive or misleading.” WIS. STAT.

§ 100.18(1). By systematically devaluing safety and concealing a plethora of defects in GM-

branded vehicles and Old GM vehicles, New GM engaged in unfair and deceptive acts and

practices and violated the Wisconsin DTPA. The defects in each vehicle include not only the

specific defect (e.g., the Delta Ignition Switch), but also include the defective process through

which New GM built cars, a process that included cost-cutting, minimizing the importance of




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safety issues, siloing, the depletion of resources devoted to recognizing and studying safety

issues, the failure to follow acceptable engineering and inventory processes concerning parts

management, and the failure to follow a proper FMEA process. All of these defective processes

would be material to a reasonable consumer.

         7254. New GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         7255. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles.

         7256. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         7257. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Wisconsin DTPA.




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         7258. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         7259. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         7260. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         7261. New GM knew or should have known that its conduct violated the Wisconsin

DTPA.

         7262. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         7263. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles because New GM:

                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         7264. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for



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repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         7265. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.

         7266. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         7267. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         7268. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By contractually assuming TREAD Act responsibilities with respect to Old GM vehicles, New

GM effectively undertook the role of manufacturer of those vehicles because the TREAD Act on

its face only applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing

duty to all Defective Vehicle owners to refrain from unfair and deceptive acts or practices under

the Wisconsin DTPA—regardless of when those owners acquired their vehicles.




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         7269. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         7270. As a direct and proximate result of New GM’s violations of the Wisconsin DTPA,

Plaintiffs have suffered injury-in-fact and/or actual damage, as alleged above. As a direct result

of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.

         7271. Plaintiffs are entitled to damages and other relief provided for under WIS. STAT.

§ 100.18(11)(b)(2). Because New GM’s conduct was committed knowingly and/or intentionally,

Plaintiffs are entitled to treble damages.

         7272. Plaintiffs also seek court costs and attorneys’ fees under WIS. STAT.

§ 110.18(11)(b)(2).

                                             COUNT II

                                     FRAUD BY CONCEALMENT

         7273. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         7274. This claim is brought on behalf of all Wisconsin residents who are members of

any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque

Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag

Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of this




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Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the

conduct of New GM.

         7275. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         7276. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         7277. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.

         7278. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         7279. New GM did so in order to falsely assure purchasers, lessees, and owners of

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         7280. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to




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disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         7281. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.

         7282. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         7283. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         7284. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs, as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their




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vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         7285. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.

         7286. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.

                                            COUNT III

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         7287. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         7288. This claim is brought only on behalf of Wisconsin residents who are members of

the Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).

         7289. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         7290. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit




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Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         7291. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.

         7292. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         7293. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.

         7294. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         7295. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).




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         7296. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         7297. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         7298. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC

Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         7299. The Bankruptcy Court found that Plaintiffs were deprived of Due Process because

they did not receive notice of the defect prior to the passage of the Bar Date, and the Second

Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found that these

vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable mootness

bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of Appeals

vacated the equitable mootness holdings on the grounds that it was not yet ripe for review.

         7300. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

         7301. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

         7302. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute




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additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

         7303. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

         7304. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable

by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.

         7305. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         7306. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.




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         7307. Accordingly, New GM is liable Plaintiffs for their damages in an amount to be

proven at trial.

         7308. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.

                                            COUNT IV

                                    UNJUST ENRICHMENT

         7309. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         7310. This claim is brought on behalf of Wisconsin residents who are members of any

of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         7311. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         7312. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.




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         7313. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         7314. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         7315. Thus, all Plaintiffs conferred a benefit on New GM.

         7316. It is inequitable for New GM to retain these benefits.

         7317. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         7318. New GM knowingly accepted the benefits of its unjust conduct.

         7319. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.

                                            COUNT V

                 SUCCESSOR LIABILITY CLAIM FOR VIOLATIONS OF THE
                    WISCONSIN DECEPTIVE TRADE PRACTICES ACT
                                 (WIS. STAT. § 110.18)

         7320. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         7321. This claim is brought on behalf of Wisconsin residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).




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         7322. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         7323. Old GM is a “person, firm, corporation or association” within the meaning of

WIS. STAT. § 100.18(1).

         7324. Plaintiffs are members of “the public” within the meaning of WIS. STAT.

§ 100.18(1). Plaintiffs purchased or leased one or more Delta Ignition Switch Vehicles.

         7325. The Wisconsin Deceptive Trade Practices Act (“Wisconsin DTPA”) prohibits a

“representation or statement of fact which is untrue, deceptive or misleading.” WIS. STAT.

§ 100.18(1). By systematically devaluing safety and concealing a plethora of defects in Old GM

vehicles, Old GM engaged in unfair and deceptive acts and practices and violated the Wisconsin

DTPA.

         7326. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         7327. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         7328. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.




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         7329. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Wisconsin CPA.

         7330. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         7331. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         7332. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         7333. Old GM knew or should have known that its conduct violated the Wisconsin

CPA.

         7334. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         7335. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.




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         7336. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.

         7337. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         7338. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         7339. Plaintiffs are entitled to damages and other relief provided for under WIS. STAT.

§ 100.18(11)(b)(2). Because Old GM’s conduct was committed knowingly and/or intentionally,

Plaintiffs are entitled to treble damages.

         7340. Plaintiffs also seek court costs and attorneys’ fees under WIS. STAT.

§ 110.18(11)(b)(2).

                                             COUNT VI

           SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         7341. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.




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         7342. This claim is brought on behalf of Wisconsin residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         7343. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         7344. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         7345. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         7346. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         7347. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         7348. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         7349. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge




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and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old

GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         7350. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         7351. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         7352. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         7353. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.




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         7354. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.

                                           WYOMING

                                             COUNT I

             VIOLATION OF THE WYOMING CONSUMER PROTECTION ACT
                           (WYO. STAT. §§ 40-12-105 et seq.)

         7355. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         7356. This claim is brought on behalf of Wyoming residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect

Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         7357. New GM and Plaintiffs are “persons” within the meaning of WYO. STAT. § 40-12-

102(a)(i).

         7358. The sales of the Defective Vehicles to Plaintiffs were “consumer transactions”

within the meaning of WYO. STAT. § 40-12-105.

         7359. Under the Wyoming Consumer Protection Act (“Wyoming CPA”), a person

engages in a deceptive trade practice when, in the course of its business and in connection with a

consumer transaction it knowingly: “(iii) Represents that merchandise is of a particular standard,




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grade, style or model, if it is not”; “(v) Represents that merchandise has been supplied in

accordance with a previous representation, if it has not…”; “(viii) Represents that a consumer

transaction involves a warranty, a disclaimer of warranties, particular warranty terms, or other

rights, remedies or obligations if the representation is false”; “(x) Advertises merchandise with

intent not to sell it as advertised”; or “(xv) Engages in unfair or deceptive acts or practices.”

WYO. STAT. § 45-12-105.

         7360. By systematically devaluing safety and concealing a plethora of defects in New

GM and Old GM vehicles as described above, New GM violated the Wyoming CPA. New GM

engaged in deceptive trade practices, including (among other things) representing that the

Defective Vehicles are of a particular standard and grade, which they are not; advertising the

Defective Vehicles with the intent not to sell them as advertised; and overall engaging in unfair

and deceptive acts or practices. The defects in each vehicle include not only the specific defect

(e.g., the Delta Ignition Switch), but also include the defective process through which New GM

built cars, a process that included cost-cutting, minimizing the importance of safety issues,

siloing, the depletion of resources devoted to recognizing and studying safety issues, the failure

to follow acceptable engineering and inventory processes concerning parts management, and the

failure to follow a proper FMEA process. All of these defective processes would be material to a

reasonable consumer.

         7361. In the course of its business, New GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

New GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material




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fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of the Defective Vehicles.

         7362. From the date of its inception on July 10, 2009, New GM knew of serious defects

affecting the Defective Vehicles owned or leased by Plaintiffs, because of (i) the knowledge of

Old GM personnel who transferred to New GM; (ii) Old GM documents and databases that

transferred to New GM; (iii) continuous reports, investigations, and notifications from regulatory

authorities; and (iv) ongoing performance of New GM’s TREAD Act obligations, as discussed

above. New GM acquired additional information concerning the serious defects and safety

issues impacting Plaintiffs’ vehicles years ago, but concealed all of that information until its

forced revelation in 2014.

         7363. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, New GM engaged in unfair and

deceptive business practices in violation of the Wyoming CPA.

         7364. In the course of New GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.

         7365. New GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         7366. New GM intentionally and knowingly misrepresented material facts regarding the

Defective Vehicles with the intent to mislead Plaintiffs.

         7367. New GM knew or should have known that its conduct violated the Wyoming

CPA.




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         7368. As alleged above, New GM made material statements about the safety and

reliability of the Defective Vehicles and the New GM brand that were either false or misleading.

         7369. New GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Defective Vehicles because New GM:

                  a.   Possessed exclusive knowledge about the defects in the
                       Defective Vehicles;

                  b.   Intentionally concealed the foregoing from Plaintiffs;

                  c.   Made incomplete representations about the safety and
                       reliability of the Defective Vehicles, while purposefully
                       withholding material facts from Plaintiffs that contradicted
                       these representations; and/or

                  d.   Had duties under the TREAD Act and related regulations to disclose and
                       remedy the defects.

         7370. Because New GM fraudulently concealed the defects in New GM vehicles, New

GM Defective Vehicle owners were deprived of the benefit of their bargain since the vehicles

they purchased were worth less than they would have been if they were free from defects.

Further, Plaintiffs had to spend their time and money to bring their Defective Vehicles in for

repair. Had New GM Defective Vehicle owners been aware of the defects in their vehicles, they

would have either not have bought their Defective Vehicles or would have paid less for them.

         7371. Old GM Defective Vehicle owners were also harmed by New GM’s unfair and

deceptive trade practices since their vehicles were worth less as the result of New GM’s

concealment of, and failure to remedy, the defects. Further, once the truth came out about the

defects, the value of Old GM Defective Vehicles greatly decreased to well-below the value the

vehicles would have had in the absence of the defect. This diminished value is directly attributed

to New GM’s dishonesty and omissions with respect to the quality and safety of the Defective

Vehicles.



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         7372. New GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         7373. Plaintiffs suffered ascertainable loss caused by New GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Plaintiffs who purchased

New GM Defective Vehicles or New GM Certified Pre-Owned Defective Vehicles after the date

of New GM’s inception either would have paid less for their vehicles or would not have

purchased or leased them at all.

         7374. Regardless of the time of purchase or lease, no Plaintiffs would have maintained

and continued to drive their Defective Vehicles had they been aware of New GM’s misconduct.

By contractually assuming TREAD Act responsibilities with respect to Old GM vehicles, New

GM effectively undertook the role of manufacturer of those vehicles because the TREAD Act on

its face only applies to vehicle manufacturers. 49 U.S.C. § 30118(c). New GM had an ongoing

duty to all Defective Vehicle owners to refrain from unfair and deceptive acts or practices under

the Wyoming CPA—regardless of when those owners acquired their vehicles.

         7375. New GM’s violations present a continuing risk to Plaintiffs as well as to the

general public. In particular and as alleged herein, New GM’s purported “fix” for the Delta

Ignition Switch Vehicles and the other Defective Ignition Switch Vehicles is inadequate and

those cars are therefore still defective. New GM’s unlawful acts and practices complained of

herein affect the public interest.

         7376. As a direct and proximate result of New GM’s violations of the Wyoming CPA,

Plaintiffs have suffered injury-in-fact and/or actual damage, as alleged above. As a direct result

of New GM’s misconduct, all Plaintiffs incurred damages in at least the form of lost time

required to repair their vehicles.




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         7377. Pursuant to WYO. STAT. § 40-12-108(a), Plaintiffs seek monetary relief against

New GM measured as actual damages in an amount to be determined at trial, in addition to any

other just and proper relief available under the Wyoming CPA.

         7378. On October 8, 2014, certain Plaintiffs sent a letter complying with WYO. STAT. §§

45-12-109. Because New GM failed to remedy its unlawful conduct within the requisite time

period, Plaintiffs seek all damages and relief to which Plaintiffs are entitled.

                                             COUNT II

                                   FRAUD BY CONCEALMENT

         7379. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         7380. This claim is brought on behalf of all Wyoming residents who are members of

any of the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque

Ignition Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag

Defect Class; and (v) the Power Steering Defect Class (collectively for the purposes of this

Count, “Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the

conduct of New GM.

         7381. New GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         7382. New GM sold Defective Vehicles to Plaintiffs without disclosing the defects, and

took active steps to conceal the defects in the Defective Vehicles from regulators and consumers.

         7383. In order to conceal and suppress the defects from the owners and lessees of the

Defective Vehicles, New GM went so far as to instruct its employees not to use terms that could

notify NHTSA or the public as to the existence of a safety issue.




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         7384. New GM concealed and suppressed the defects in the Defective Vehicles with the

intent to deceive Plaintiffs.

         7385. New GM did so in order to falsely assure purchasers, lessees, and owners of

Defective Vehicles that vehicles they were purchasing, leasing or already owned were safe, and

to avoid the cost and negative publicity of a recall. The concealed information was material to

consumers, both because it concerned the quality and safety of the Defective Vehicles and

because the information played a significant role in the value of the vehicles.

         7386. New GM had a duty to disclose the defects in the Defective Vehicles because they

were known and/or accessible only to New GM; New GM had superior knowledge and access to

the facts; and New GM knew the facts were not known to, or reasonably discoverable, by

Plaintiffs. New GM also had a duty to disclose because it made many affirmative

representations about the safety, quality, and lack of defects in New GM vehicles, as set forth

above, which were misleading, deceptive, and incomplete without the disclosure of the defects in

the Defective Vehicles. Having provided information to Plaintiffs, New GM had the duty to

disclose not just the partial truth, but the entire truth. Finally, New GM had a duty to monitor all

of the Defective Vehicles (including Old GM Vehicles) under the TREAD Act and

implementing regulations, including the duty to promptly notify consumers of known safety

defects.

         7387. New GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost New GM

money, and it did so at the expense of Plaintiffs.




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         7388. On information and belief, New GM has still not made full and adequate

disclosure and continues to defraud Plaintiffs and conceal material information regarding defects

that exist in the Defective Vehicles.

         7389. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Defective Vehicles manufactured by New GM; and/or would not have

continued to own and drive their Old GM Defective Vehicles or would have taken other

affirmative steps. Plaintiffs’ actions were justified. New GM was in exclusive control of the

material facts and such facts were not known to the public, including Plaintiffs.

         7390. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased New GM Defective Vehicles did not get the benefit of their

bargain since the Defective Vehicles were worth less than they would have been without the

defects, and because they own vehicles that diminished in value as a result of New GM’s

concealment of, and failure to timely disclose, the defects. They also incurred repair costs, as

alleged above. Had they been aware of the concealed defects that existed in the Defective

Vehicles, Plaintiffs who purchased New GM Defective Vehicles would have paid less for their

vehicles or would not have purchased or leased them at all; and no Plaintiffs, regardless of the

time of purchase or lease, would have maintained their Defective Vehicle. As alleged above, all

Old GM Defective Vehicles suffer from diminished value attributable to New GM’s dishonesty

and omissions with respect to the quality and safety of these vehicles.

         7391. Accordingly, New GM is liable to Plaintiffs for damages in an amount to be

proven at trial.




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         7392. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich New GM. New

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct in the future, which amount is to be determined according to proof.

                                            COUNT III

           BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
                           (WYO. STAT. §§ 34.1-2-314)

         7393. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         7394. This claim is brought only on behalf of Wyoming residents who are members of

any of the following Subclasses: (i) the Delta Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (ii) the Low Torque Ignition Switch Defect Magnuson-Moss and

Implied Warranty Subclass; (iii) the Knee-to-Key Camaro Defect Magnuson-Moss and Implied

Warranty Subclass; (iv) the Side Airbag Defect Magnuson-Moss and Implied Warranty

Subclass; and (v) the Power Steering Defect Magnuson-Moss and Implied Warranty Subclass

(collectively for the purposes of this Count, “Plaintiffs”).

         7395. New GM was at all relevant times a merchant with respect to motor vehicles.

         7396. Under Wyoming law, a warranty that the Defective Vehicles were in

merchantable condition was implied by law in the transactions when Plaintiffs purchased or

leased their Defective Vehicles from New GM on or after July 10, 2009.

         7397. The Defective Vehicles, when sold and at all times thereafter, were not

merchantable and are not fit for the ordinary purpose for which cars are used.




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         7398. The Defective Ignition Switch Vehicles are inherently defective in that there are

defects in the ignition switch systems that cause sudden unintended stalling to occur, with the

attendant shut down of power steering and power brakes and the nondeployment of airbags in the

event of a collision, thereby causing an increased likelihood of serious injury or death.

         7399. The Power Steering Defect Vehicles are inherently defective in that there are

defects in the vehicles that can cause the loss of power steering assist, resulting in an increased

risk of accident.

         7400. The Side Airbag Defect Vehicles are inherently defective in that there are defects

in the wiring harness connectors that can cause the side impact airbags (SIABs) and seatbelt

pretensioners not to deploy in the event of a collision, thereby causing an increased likelihood of

serious injury or death.

         7401. New GM was provided notice of these issues by numerous complaints filed

against it, internal investigations, and by numerous individual letters and communications sent

by Plaintiffs and others before or within a reasonable amount of time after New GM issued the

recall and the allegations of vehicle defects became public.

         7402. As a direct and proximate result of New GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                            COUNT IV

                           FRAUD BY CONCEALMENT OF THE RIGHT
                      TO FILE A CLAIM AGAINST OLD GM IN BANKRUPTCY

         7403. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.




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         7404. This claim is brought only on behalf of Wyoming residents who are members of

the Delta Ignition Switch Defect Bankruptcy Class (for the purposes of this Count, “Plaintiffs”).

         7405. New GM was aware of the Delta Ignition Switch Defect in millions of vehicles

sold by Old GM from the moment it came into existence upon entry of the Sale Order and Sale

Agreement by which New GM acquired substantially all the assets of Old GM.

         7406. As the Bankruptcy Court found, “[a]s of June 2009, when the entry of the Sale

Order was sought, Old GM had enough knowledge of the Ignition Switch Defect to be required

… to send out mailed recall notices to owners of affected Old GM vehicles.” The Second Circuit

Court of Appeals recently affirmed the Bankruptcy Court’s finding based on its review of the full

evidentiary record that gave rise to that finding. New GM necessarily had this same knowledge

from day one of its existence, as the Bankruptcy Court found that “at least 24 Old GM personnel

(all of whom were transferred to New GM), including engineers, senior managers and attorneys,

were informed or otherwise aware of the defect prior to the Sale Motion.”

         7407. Plaintiffs did not receive notice of the defect prior to the entry of the Sale Order.

No recall occurred, and neither the direct mail notice nor the publication notice sent in

connection with the Sale Motion mentioned the defect.

         7408. In September 2009, the Bankruptcy Court entered the Bar Date Order,

establishing November 30, 2009, as the deadline (the “Bar Date”) for proof of claims to be filed

against Old GM.

         7409. Because New GM concealed its knowledge of the defect, Plaintiffs did not

receive notice of the defect prior to the passage of the Bar Date. No recall occurred, and neither

the direct mail notice nor the publication notice sent in connection with the Bar Date Order

mentioned the defect.




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         7410. In 2011, the Bankruptcy Court approved a Chapter 11 Plan under which the

General Unsecured Creditors’ Trust (“GUC Trust”) would distribute the proceeds of the

bankruptcy sale to, among others, the holders of claims that were ultimately allowed.

         7411. The out-of-pocket consideration provided by New GM for its acquisition of Old

GM consisted of 10% of the post-closing outstanding shares of New GM common stock and two

series of warrants, each to purchase 7.5% of the post-closing shares of New GM (collectively,

the “New GM Securities”).

         7412. Through an “accordion feature” in the Sale Agreement, New GM agreed that it

would provide additional consideration if the aggregate amount of allowed general unsecured

claims exceeded $35 billion. In that event, New GM would be required to issue additional shares

of New GM Common Stock for the benefit of the GUC Trust’s beneficiaries.

         7413. As of September 30, 2014, the total amount of Allowed Claims was

approximately $31.854 billion, and the total amount of Disputed Claims was approximately

$79.5 million.

         7414. As of September 30, 2014, the GUC Trust had distributed more than 89% of the

New GM Securities. After a subsequent November 12 distribution, the total assets of the GUC

Trust were approximately $773.7 million—all or nearly all of which is already slated to pay the

GUC Trust’s expenses and existing beneficiaries of the Trust.

         7415. The Bankruptcy Court found that Plaintiffs members were deprived of Due

Process because they did not receive notice of the defect prior to the passage of the Bar Date, and

the Second Circuit Court of Appeals affirmed this ruling. While the Bankruptcy Court found

that these vehicle owners may seek leave to file late claims, it ruled that the doctrine of equitable

mootness bars Plaintiffs from tapping into the GUC Trust assets. The Second Circuit Court of




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Appeals vacated the equitable mootness holdings on the grounds that it was not yet ripe for

review.

          7416. But for New GM’s fraudulent concealment of the defect, Plaintiffs would have

filed claims against Old GM before the Bar Date.

          7417. Had Plaintiffs filed timely claims before the Bar Date, the claims would have

been allowed.

          7418. Had Plaintiffs’ claims been allowed, the “accordion-feature” of the Sale

Agreement would have been triggered, and New GM would have been required to contribute

additional New GM Securities to the GUC Trust for the benefit of Delta Ignition Switch Defect

Bankruptcy Class Members across the country.

          7419. New GM’s concealment and suppression of the material fact of the Delta Ignition

Switch Defect over the first several months of its existence served to prevent the filing of claims

by Plaintiffs and thereby helped New GM avoid the accordion-feature payments it would

otherwise have had to make.

          7420. New GM had a duty to disclose the Delta Ignition Switch Defect because the

information was known and/or accessible only to New GM who had superior knowledge and

access to the facts, and New GM knew the facts were not known to or reasonably discoverable

by Plaintiffs. These omitted and concealed facts were material because they directly impacted

the safety and the value of the Delta Ignition Switch Vehicles owned or leased by Plaintiffs, who

had a limited period of time in which to file a claim against the manufacturer of the vehicles, Old

GM. New GM also had monitoring and disclosure duties under the TREAD Act and its

implementing regulations that required the disclosure of the defect.




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         7421. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts. Plaintiffs’ actions were

justified. New GM was in exclusive control of the material facts and such facts were not known

to the public, including Plaintiffs.

         7422. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage because they lost their chance to file a claim against Old GM and seek payment from the

GUC Trust (supplemented, if necessary, by the accordion feature). Had they been aware of the

ignition switch defects that existed in their vehicles, Plaintiffs would have timely filed claims

and would have recovered from the GUC Trust.

         7423. Accordingly, New GM is liable to Plaintiffs for their damages in an amount to be

proven at trial.

         7424. New GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud and prevent Plaintiffs from filing proofs of claim, and in reckless disregard of Plaintiffs’

rights and well-being to enrich New GM. New GM’s conduct warrants an assessment of

punitive damages in an amount sufficient to deter such conduct in the future, which amount is to

be determined according to proof.

                                            COUNT V

                                       UNJUST ENRICHMENT

         7425. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         7426. This claim is brought on behalf of Wyoming residents who are members of any of

the following Classes: (i) the Delta Ignition Switch Defect Class; (ii) the Low Torque Ignition

Switch Defect Class; (iii) the Knee-to-Key Camaro Defect Class; (iv) the Side Airbag Defect




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Class; and (v) the Power Steering Defect Class (collectively for the purposes of this Count,

“Plaintiffs”). The claims in this Count are Independent Claims, and challenge only the conduct

of New GM.

         7427. This claim is pleaded in the alternative to any contract-based claims brought on

behalf of Plaintiffs.

         7428. New GM has received and retained a benefit from Plaintiffs and inequity has

resulted.

         7429. New GM has benefitted from selling and leasing the Defective Vehicles, for more

than they were worth as a result of their concealed defects, at a profit, and Plaintiffs have

overpaid for the cars and been forced to pay other costs.

         7430. With respect to the Defective Vehicles purchased before New GM came into

existence that were still on the road after New GM came into existence and as to which New GM

had unjustly and unlawfully determined not to recall, New GM benefitted by avoiding the costs

of a recall and other lawsuits, and further benefitted from its statements about the success of New

GM.

         7431. Thus, all Plaintiffs conferred a benefit on New GM.

         7432. It is inequitable for New GM to retain these benefits.

         7433. Plaintiffs were not aware of the true facts about their Defective Vehicles, and did

not benefit from New GM’s conduct.

         7434. New GM knowingly accepted the benefits of its unjust conduct.

         7435. As a result of New GM’s conduct, the amount of its unjust enrichment should be

disgorged, in an amount according to proof.




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                                            COUNT VI

                 SUCCESSOR LIABILITY CLAIM FOR VIOLATIONS OF THE
                       WYOMING CONSUMER PROTECTION ACT
                            (WYO. STAT. §§ 40-12-105 et seq.)

         7436. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         7437. This claim is brought on behalf of Wyoming residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         7438. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         7439. Old GM and Plaintiffs are “persons” within the meaning of WYO. STAT. § 40-12-

102(a)(i).

         7440. The sales of the Delta Ignition Switch Vehicles to Plaintiffs were “consumer

transactions” within the meaning of WYO. STAT. § 40-12-105.

         7441. Under the Wyoming Consumer Protection Act (“Wyoming CPA”), a person

engages in a deceptive trade practice when, in the course of its business and in connection with a

consumer transaction it knowingly: “(iii) Represents that merchandise is of a particular standard,

grade, style or model, if it is not”; “(v) Represents that merchandise has been supplied in

accordance with a previous representation, if it has not…”; “(viii) Represents that a consumer

transaction involves a warranty, a disclaimer of warranties, particular warranty terms, or other

rights, remedies or obligations if the representation is false”; “(x) Advertises merchandise with




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intent not to sell it as advertised”; or “(xv) Engages in unfair or deceptive acts or practices.”

WYO. STAT. § 45-12-105.

         7442. By systematically devaluing safety and concealing a plethora of defects in Old

GM vehicles as described above, Old GM violated the Wyoming CPA. Old GM engaged in

deceptive trade practices, including (among other things) representing that the Delta Ignition

Switch Vehicles are of a particular standard and grade, which they are not; advertising the Delta

Ignition Switch Vehicles with the intent not to sell them as advertised; and overall engaging in

unfair and deceptive acts or practices.

         7443. Old GM’s actions, as set forth above, occurred in the conduct of trade or

commerce.

         7444. In the course of its business, Old GM concealed the defects in Plaintiffs’ vehicles

as described herein and otherwise engaged in activities with a tendency or capacity to deceive.

Old GM also engaged in unlawful trade practices by employing deception, deceptive acts or

practices, fraud, misrepresentations, or concealment, suppression or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale of Delta Ignition Switch Vehicles.

         7445. Old GM knew of serious defects affecting the Delta Ignition Switch Vehicles

owned or leased by Plaintiffs.

         7446. By failing to disclose and by actively concealing the defects in Plaintiffs’

vehicles, which it marketed as safe, reliable, and of high quality, Old GM engaged in unfair and

deceptive business practices in violation of the Wyoming CPA.

         7447. In the course of Old GM’s business, it willfully failed to disclose and actively

concealed the dangerous risk posed by the defects in Plaintiffs’ vehicles.




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         7448. Old GM’s unfair or deceptive acts or practices were likely to and did in fact

deceive reasonable consumers, including Plaintiffs, about the true safety and reliability of their

vehicles.

         7449. Old GM intentionally and knowingly misrepresented material facts regarding the

Delta Ignition Switch Vehicles with the intent to mislead Plaintiffs.

         7450. Old GM knew or should have known that its conduct violated the Wyoming CPA.

         7451. As alleged above, Old GM made material statements about the safety and

reliability of the Delta Ignition Switch Vehicles that were either false or misleading.

         7452. Old GM owed Plaintiffs a duty to disclose the true safety and reliability of the

Delta Ignition Switch Vehicles, because Old GM:

                  a.    Possessed exclusive knowledge about the defects in the
                        Delta Ignition Switch Vehicles;

                  b.    Intentionally concealed the foregoing from Plaintiffs;

                  c.    Made incomplete representations about the safety and
                        reliability of the Delta Ignition Switch Vehicles, while
                        purposefully withholding material facts from Plaintiffs that
                        contradicted these representations; and/or

                  d.    Had duties under the TREAD Act and related regulations to
                        disclose and remedy the defects.

         7453. Because Old GM fraudulently concealed the defects in the Delta Ignition Switch

Vehicles, Old GM Delta Ignition Switch Vehicle owners were deprived of the benefit of their

bargain since the vehicles they purchased were worth less than they would have been if they

were free from the defects. Had Old GM Delta Ignition Switch Vehicle owners been aware of

the defects in their vehicles, they would have either not bought their Delta Ignition Switch

Vehicles or would have paid less for them.




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         7454. Old GM’s concealment of the defects in Plaintiffs’ vehicles was material to

Plaintiffs.

         7455. Plaintiffs suffered ascertainable loss caused by Old GM’s misrepresentations and

its concealment of and failure to disclose the defects in their vehicles. Had they been aware of

the truth about the Delta Ignition Switch Defect, Plaintiffs either would have paid less for their

vehicles or would not have purchased or leased them at all. Plaintiffs also incurred repair costs,

as alleged above.

         7456. As a direct and proximate result of Old GM’s violations of the Wyoming CPA,

Plaintiffs have suffered injury-in-fact and/or actual damage for which New GM has successor

liability.

         7457. Pursuant to WYO. STAT. § 40-12-108(a), Plaintiffs seek monetary relief against

New GM measured as actual damages in an amount to be determined at trial, in addition to any

other just and proper relief available under the Wyoming CPA.

                                            COUNT VII

             SUCCESSOR LIABILITY CLAIM FOR FRAUD BY CONCEALMENT

         7458. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         7459. This claim is brought on behalf of Wyoming residents who are members of the

Delta Ignition Switch Defect Successor Liability Subclass (for the purposes of this Count,

“Plaintiffs”).

         7460. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,




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the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         7461. Old GM concealed and suppressed material facts concerning the serious safety

defects in Plaintiffs’ vehicles.

         7462. Old GM sold Delta Ignition Switch Vehicles to Plaintiffs without disclosing the

defects, and indeed took active steps to conceal the defects from regulators and consumers.

         7463. In order to conceal and suppress the defects from the owners and lessees of Delta

Ignition Switch Vehicles, Old GM went so far as to instruct its employees not to use terms that

could notify NHTSA or the public as to the existence of a safety issue.

         7464. Old GM concealed and suppressed the defects in the Delta Ignition Switch

Vehicles with the intent to deceive Plaintiffs.

         7465. Old GM did so in order to falsely assure purchasers, lessees, and owners of Delta

Ignition Switch Vehicles that vehicles they were purchasing, leasing or already owned were safe,

and to avoid the cost and negative publicity of a recall. The concealed information was material

to consumers, both because it concerned the quality and safety of the Delta Ignition Switch

Vehicles and because the information played a significant role in the value of the vehicles.

         7466. Old GM had a duty to disclose the defects in the Delta Ignition Switch Vehicles

because they were known and/or accessible only to Old GM; Old GM had superior knowledge

and access to the facts; and Old GM knew the facts were not known to, or reasonably

discoverable, by Plaintiffs. Old GM also had a duty to disclose because it made many

affirmative representations about the safety, quality, and lack of defects in Old GM vehicles, as

set forth above, which were misleading, deceptive, and incomplete without the disclosure of the

defects in the Delta Ignition Switch Vehicles. Having provided information to Plaintiffs, Old




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GM had the duty to disclose not just the partial truth, but the entire truth. Finally, Old GM had

monitoring and disclosure duties under the TREAD Act, as alleged above.

         7467. Old GM actively concealed and/or suppressed these material facts, in whole or in

part, to protect its profits and avoid recalls that would hurt the brand’s image and cost Old GM

money, and it did so at the expense of Plaintiffs.

         7468. Plaintiffs were unaware of these omitted material facts and would not have acted

as they did if they had known of the concealed and/or suppressed facts, in that they would not

have purchased their Delta Ignition Switch Vehicles, or would have paid less for them.

Plaintiffs’ actions were justified. Old GM was in exclusive control of the material facts and such

facts were not known to the public, including Plaintiffs.

         7469. Because of the concealment and/or suppression of the facts, Plaintiffs sustained

damage. Plaintiffs who purchased or leased Old GM Delta Ignition Switch Vehicles did not get

the benefit of their bargain since the Defective Vehicles were worth less than they would have

been without the defects. Had they been aware of the concealed defects that existed in their

Delta Ignition Switch Vehicles, Plaintiffs would have paid less for their vehicles or would not

have purchased or leased them at all, and Plaintiffs sustained repair damages.

         7470. Accordingly, based on the conduct of Old GM for which it has successor liability,

New GM is liable to Plaintiffs for damages in an amount to be proven at trial.

         7471. Old GM’s acts were done maliciously, oppressively, deliberately, with intent to

defraud, and in reckless disregard of Plaintiffs’ rights and well-being to enrich Old GM. Old

GM’s conduct warrants an assessment of punitive damages in an amount sufficient to deter such

conduct by New GM in the future, which amount is to be determined according to proof.




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                                           COUNT VIII

                SUCCESSOR LIABILITY CLAIM FOR BREACH OF IMPLIED
                        WARRANTY OF MERCHANTABILITY
                              (WYO. STAT. §§ 34.1-2-314)

         7472. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set

forth herein.

         7473. This claim is brought on behalf of Wyoming residents who are members of the

Delta Ignition Switch Defect Magnuson-Moss and Implied Warranty Successor Liability

Subclass (for the purposes of this Count, “Plaintiffs”).

         7474. This claim is brought as a successor liability claim, wherein Plaintiffs are suing

New GM for the conduct of Old GM. Under the ruling of the Second Circuit Court of Appeals,

the bankruptcy Sale Order’s “free and clear” provisions do not apply to Plaintiffs, so they are

free to assert this successor liability claim without impediment from the Sale Order.

         7475. Old GM was at all relevant times a merchant with respect to motor vehicles.

         7476. Under Wyoming law, a warranty that the Delta Ignition Switch Vehicles were in

merchantable condition was implied by law in the transactions when Plaintiffs purchased or

leased their vehicles from Old GM on or before July 9, 2009.

         7477. The Delta Ignition Switch Vehicles, when sold and at all times thereafter, were

not merchantable and not fit for the ordinary purpose for which cars are used. Specifically, the

Delta Ignition Switch Vehicles were inherently defective in that there were defects in the ignition

switch systems that permit sudden unintended shutdown to occur, with the attendant shut down

of power steering and power brakes and the nondeployment of airbags in the event of a collision,

thereby causing an increased likelihood of serious injury or death.




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         7478. New GM, as the successor to Old GM, was provided notice of these issues by

numerous complaints filed against it, internal investigations, and by numerous individual letters

and communications sent by Plaintiffs and others before or within a reasonable amount of time

after New GM issued the recall and the allegations of vehicle defects became public.

         7479. As a direct and proximate result of Old GM’s breach of the implied warranty of

merchantability, Plaintiffs have been damaged in an amount to be proven at trial.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

respectfully request that this Court enter a judgment against New GM and in favor of Plaintiffs

and the Classes and Subclasses, and grant the following relief:

         A.       Determine that this action may be maintained as a class action and certify it as

such under Rule 23(b)(2), 23(b)(3), and/or 23(c)(4), or alternatively certify all issues and claims

that are appropriately certified under Rule 23(c)(4); and designate and appoint Plaintiffs as Class

Representatives and Plaintiffs’ chosen counsel as Class Counsel;

         B.       Declare, adjudge, and decree the conduct of New GM as alleged herein to be

unlawful, unfair, and/or deceptive and otherwise in violation of law, enjoin any such future

conduct, and issue an injunction under which the Court will monitor New GM’s response to

problems with the recalls and efforts to improve its safety processes, and will establish by Court

decree and administration under Court supervision a program funded by New GM under which

claims can be made and paid for Defective Vehicle owners and lessees’ out-of-pocket expenses

and costs;

         C.       Award Plaintiffs and Class Members actual, compensatory damages or, in the

alternative, statutory damages, as proven at trial;




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         D.       Award Plaintiffs and the Class Members exemplary damages in such amount as

proven;

         E.       Award damages and other remedies, including, but not limited to, statutory

penalties, as allowed by any applicable law, such as the consumer laws of the various states;

         F.       Award Plaintiffs and the Class Members their reasonable attorneys’ fees, costs,

and pre-judgment and post-judgment interest;

         G.       Award Plaintiffs and Class Members restitution and/or disgorgement of New

GM’s ill-gotten gains relating to the conduct described in this Complaint; and

         H.       Award Plaintiffs and the Class Members such other further and different relief as

the case may require or as determined to be just, equitable, and proper by this Court.




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                                 CERTIFICATE OF SERVICE

         I hereby certify that a true copy of the above document was served upon the attorneys of

record for each other party through the Court’s electronic filing service on September 8, 2017,

which will send notification of such filing to the e-mail addresses registered.


                                                              s/ Steve W. Berman
                                                                     Steve W. Berman




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